        Case: 24-1061          Document: 17       Page: 1   Filed: 12/28/2023
                                            24-1061

         United States Court of Appeals
             for the Federal Circuit
  ALLERGAN USA, INC., ALLERGAN HOLDINGS UNLIMITED CO.,
     ALLERGAN PHARMACEUTICALS INTERNATIONAL LTD.,
     JANSSEN PHARMACEUTICA NV, EDEN BIODESIGN, LLC,
                                        Plaintiffs-Appellants,
                           – v. –
MSN LABORATORIES PRIVATE LTD., MSN PHARMACEUTICALS, INC.,
        SUN PHARMACEUTICAL INDUSTRIES LIMITED,
                                     Defendants-Appellees.

       On Appeal from the United States District Court for the District
       of Delaware in Nos. 1:19-cv-01727-RGA, 1:21-cv-01064-RGA,
               1:21-cv-01065-RGA and 1:20-cv-01479-RGA,
                  Honorable Richard G. Andrews, Judge

                       CORRECTED BRIEF FOR
                      PLAINTIFFS-APPELLANTS
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          Case: 24-1061    Document: 17    Page: 2     Filed: 12/28/2023




                           EXEMPLARY CLAIMS
Claim 40 of U.S. Patent No. 7,741,356
40. A compound selected from the group consisting of
           Case: 24-1061      Document: 17   Page: 3    Filed: 12/28/2023




Appx14483-14484.


Claim 7 of U.S. Patent No. 11,007,179
1. An abuse-deterrent, mono-phasic pharmaceutical tablet comprising:
about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
methoxy-benzoic acid,
about 60-80% by weight silicified microcrystalline cellulose;
crospovidone;
about 5-15% by weight mannitol; and
optionally, a glidant and/or lubricant.

3. The tablet of claim 1, comprising about 65-75% by weight silicified
microcrystalline cellulose, and about 7.5-12.5% by weight mannitol.

4. The tablet of claim 3, comprising about 3-7% by weight crospovidone and a
lubricant.

5. The tablet of claim 4, wherein the lubricant is magnesium stearate present in an
amount of about 0.55-0.95% by weight.

6. The tablet of claim 5, comprising:
           Case: 24-1061     Document: 17    Page: 4    Filed: 12/28/2023




about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
methoxy-benzoic acid;
about 390 mg-450 mg of silicified microcrystalline cellulose;
about 18 mg-42 mg crospovidone;
about 45 mg-75 mg of mannitol; and
about 3.3 mg-5.7 mg of magnesium stearate.

7. The tablet of claim 6, comprising:
about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
methoxy-benzoic acid;
about 390 mg-450 mg of silicified microcrystalline cellulose;
about 30 mg of crospovidone;
about 60 mg of mannitol; and
about 4.5 mg of magnesium stearate.

Appx96-97.


Claim 26 of U.S. Patent No. 11,311,516
1. A pharmaceutical tablet comprising:
about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
methoxy-benzoic acid,
about 60-80% by weight filler;
about 2-8% by weight disintegrant; and
about 10% by weight mannitol.

26. The pharmaceutical tablet of claim 1, comprising:
about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
propionyl]-[(1S)-1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-amino}-methyl)-2-
methoxy-benzoic acid;
           Case: 24-1061    Document: 17    Page: 5    Filed: 12/28/2023




about 390 mg-450 mg silicified microcrystalline cellulose;
about 30 mg crospovidone;
about 60 mg mannitol;
about 4.5 mg magnesium stearate; and
about 18 mg of a film coating,
wherein the nominal weight of the tablet without the film coating is about 600 mg
and the total weight of the tablet is about 618 mg.

Appx205-206.
            Case: 24-1061      Document: 17     Page: 6     Filed: 12/28/2023




                          CERTIFICATE OF INTEREST
Counsel for Allergan USA, Inc., Allergan Holdings Unlimited Co., Allergan
Pharmaceuticals International Ltd., Janssen Pharmaceutica NV, and Eden
Biodesign, LLC certifies the following:

 1. Provide the full names     2. Provide the full names    3. Provide the full names
 of all entities represented   of all real parties in       of all parent corporations
 by undersigned counsel        interest for the entities.   for the entities and all
 in this case.                 Do not list the real         publicly held companies
                               parties if they are the      that own 10% or more
                               same as the entities.        stock in the entities.
 Allergan USA, Inc.,           AbbVie Inc. as real party    AbbVie Inc.
 Allergan Holdings             in interest for Allergan     (for Allergan USA, Inc.,
 Unlimited Co., Allergan       Holdings Unlimited Co.       Allergan Holdings
 Pharmaceuticals               with respect to New          Unlimited Co., Allergan
 International Ltd.,           Drug Application No.         Pharmaceuticals
 Janssen Pharmaceutica         206940 for Viberzi®          International Ltd., and
 NV, and Eden Biodesign,       brand eluxadoline tablets    Eden Biodesign, LLC)
 LLC
                                                            Johnson & Johnson
                                                            (for Janssen
                                                            Pharmaceutica NV)

1.     The names of all law firms and the partners or associates that appeared for the
party now represented for the entities in the originating court or agency or are
expected to appear in this Court (and who have not or will not enter an appearance
in this case) are:
      MORRIS, NICHOLS, ARSHT & TUNNELL LLP: Jack B. Blumenfeld, Jeremy A.
      Tigan
      O’MELVENY & MYERS LLP: Daniel O’Boyle, Carolyn S. Wall, Mark A.
      Hayden, Amy Jing Ying Zhao
      QUINN EMANUEL URQUHART & SULLIVAN, LLP: Peter J. Armenio, P.C.,
      Anne S. Toker, Colleen Tracy James, Sky C. Adams, Allyson E. Parks,
      Amanda K. Antons
      BAKER & HOSTETLER: Jeffrey J. Lyons
           Case: 24-1061     Document: 17     Page: 7   Filed: 12/28/2023




2.    The title and number of any case known to counsel to be pending in this or
any other court or agency that will directly affect or be directly affected by this
court’s decision in the pending appeal. See Fed. Cir. R. 47.4(a)(5) and 47.5(b).

      None

3.     Information required by Federal Rule of Appellate Procedure 26.1(b) and
(c) that identifies organizational victims in criminal cases and debtors and trustees
in bankruptcy cases.

      Not Applicable

                                         Respectfully submitted,

Dated: December 28, 2023                /s/ Eric W. Dittmann
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                Case: 24-1061           Document: 17            Page: 8       Filed: 12/28/2023




                                        TABLE OF CONTENTS

                                                                                                              Page

INTRODUCTION .....................................................................................................1
JURISDICTION.........................................................................................................3
STATEMENT OF ISSUES .......................................................................................3
STATEMENT OF THE CASE ..................................................................................4
I.       BACKGROUND .............................................................................................4
         A.       The Innovative Compound Eluxadoline ...............................................4
         B.       The Claims at Issue ...............................................................................5
                  1.       Claim 40 of the ’356 Patent ........................................................5
                  2.       Claim 26 of the ’516 Patent and Claim 7 of the ’179 Patent ......7
II.      THE PROCEEDINGS BELOW......................................................................8
         A.       Plaintiffs’ Hatch-Waxman Action.........................................................8
         B.       The District Court Declared the Asserted Claims Invalid ....................9
                  1.       Obviousness-Type Double Patenting........................................10
                  2.       Written Description ...................................................................10
SUMMARY OF THE ARGUMENT ......................................................................12
ARGUMENT ...........................................................................................................18
I.       STANDARD OF REVIEW ...........................................................................18
II.      OBVIOUSNESS-TYPE DOUBLE PATENTING DOES NOT
         JUSTIFY TRUNCATING THE TERM OF A FIRST-FILED,
         FIRST-ISSUED PATENT BASED ON ITS OWN PROGENY ..................19
         A.       ODP Prevents Unjustified Extensions of Patent Term .......................20
         B.       The URAA Did Not Change the Fundamental Rule That ODP
                  Restricts Only Unjustified Timewise Extensions of Patent Term ......22
         C.       Cellect Did Not Resolve Whether Later-Filed
                  Patents Can Serve as ODP Reference Patents
                  with Respect to First-Filed, First-Issued Patents ................................25
                  1.       The Patentee in Cellect Waived
                           Any Challenge to the ODP Reference Patents .........................26


                                                          i
               Case: 24-1061            Document: 17           Page: 9       Filed: 12/28/2023




                  2.       The District Court Erred in Treating Cellect as Dispositive ....29
         D.       ODP Cannot Be Applied to Truncate the Term of a First-Filed,
                  First-Issued Patent Based on Later-Filed Family Members ...............31
                  1.       The Term of a First-Filed, First-Issued Patent
                           Establishes the Original Patent Monopoly and
                           Does Not “Extend” the Term of Subsequent Patents ...............31
                  2.       This Court Has Ruled That ODP Should
                           Not Truncate a Statutorily Mandated Term
                           of a First-Filed, First-Issued Patent...........................................38
                  3.       The District Court’s Ruling Violates 35 U.S.C. § 154 .............41
         E.       ODP Should Not Apply to Invalidate Claim 40 of the ’356 Patent ....44
         F.       If Cellect Is Overturned, This Court May Also Reverse.....................46
III.     THE DISTRICT COURT ERRED IN
         FINDING LACK OF WRITTEN DESCRIPTION.......................................47
         A.       The District Court Improperly Treated Claim 26
                  as Containing a “Glidant-Optional” Limitation ..................................47
         B.       The District Court Improperly Added a Functional
                  Requirement to the Invention Based on Extrinsic Evidence...............51
         C.       The District Court Misinterpreted ICU Medical
                  to Impose a Freestanding Written-Description
                  Inquiry into the Necessity of Unclaimed Features ..............................55
         D.       The District Court Improperly Placed the Burden on Plaintiffs to
                  Show That the Specification Disclosed Glidants Were Optional .......58
         E.       The District Court Improperly Conflated the
                  Written-Description and Enablement Requirements ..........................59
         F.       The Specification Discloses Formulations Lacking a Glidant ............60
CONCLUSION ........................................................................................................63




                                                         ii
              Case: 24-1061           Document: 17          Page: 10       Filed: 12/28/2023




                                   TABLE OF AUTHORITIES

                                                                                                     Page(s)

Cases
AbbVie Inc. v. Mathilda & Terence Kennedy Inst. of Rheumatology Tr.,
  764 F.3d 1366 (Fed. Cir. 2014) ........................................................20, 25, 31, 39

Acadia Pharms. Inc. v. Aurobindo Pharma Ltd.,
  C.A. No. 20-985-GBW, 2023 WL 8622048, (D. Del. Dec. 13, 2023)........passim

Alcon Research Ltd. v. Barr Lab’ys, Inc.,
   745 F.3d 1180 (Fed. Cir. 2014) ..............................................................47, 51, 59

Allergan, Inc. v. Sandoz Inc.,
   796 F.3d 1293 (Fed. Cir. 2015) .................................................................... 50, 51

Amgen Inc. v. Hoechst Marion Roussel, Inc.,
  314 F.3d 1313 (Fed. Cir. 2003) .......................................................................... 49

Ariad Pharms., Inc. v. Eli Lilly & Co.,
   598 F.3d 1336 (Fed. Cir. 2010) ..............................................................56, 59, 62

In re Barnett,
    155 F.2d 540 (C.C.P.A. 1946) ............................................................................ 35

In re Braat,
    937 F.2d 589 (Fed. Cir. 1991) ..........................................................21, 22, 41, 46

In re Braithwaite,
    379 F.2d 594 (C.C.P.A. 1967) ...................................................................... 36, 37

Brookhill-Wilk 1, LLC v. Intuitive Surgical, Inc.,
   334 F.3d 1294 (Fed. Cir. 2003) .................................................................... 53, 54

Cadence Pharms. Inc. v. Exela Pharmsci Inc.,
  780 F.3d 1364 (Fed. Cir. 2015) .................................................................... 54, 55

In re Cellect,
    81 F.4th 1216 (Fed. Cir. 2023) ...................................................................passim

In re Chandler,
    319 F.2d 211 (C.C.P.A. 1963) ............................................................................ 35

                                                      iii
               Case: 24-1061            Document: 17           Page: 11        Filed: 12/28/2023




In re Clark,
    97 F.2d 628 (C.C.P.A. 1938) .............................................................................. 35

Cooper Cameron Corp. v. Kvaerner Oilfield Prods., Inc.,
  291 F.3d 1317 (Fed. Cir. 2002) .......................................................................... 53

Crown Packaging Tech., Inc. v. Ball Metal Beverage Container Corp.,
  635 F.3d 1373 (Fed. Cir. 2011) ........................................................56, 59, 60, 62

In re Eckel,
    393 F.2d 848 (C.C.P.A. 1968) ...................................................................... 35, 36

Evans v. Eaton,
  20 U.S. 356 (1822) .............................................................................................. 50

In re Fallaux,
    564 F.3d 1313 (Fed. Cir. 2009) .......................................................................... 28

Genentech, Inc. v. Chiron Corp.,
  112 F.3d 495 (Fed. Cir. 1997) ............................................................................ 49

Gilead Scis., Inc. v. Lee,
   778 F.3d 1341 (Fed. Cir. 2015) .......................................................................... 22

Gilead Scis., Inc. v. Natco Pharma Ltd.,
   753 F.3d 1208 (Fed. Cir. 2014) ...................................................................passim

GlaxoSmithKline LLC v. Banner Pharmacaps, Inc.,
   744 F.3d 725 (Fed. Cir. 2014) ...................................................................... 49, 50

Godfrey v. Eames,
  68 U.S. 317 (1863) .............................................................................................. 35

Honeywell Int’l, Inc. v. United States,
  609 F.3d 1292 (Fed. Cir. 2010) .......................................................................... 62

Hynix Semiconductor Inc. v. Rambus Inc.,
  645 F.3d 1336 (Fed. Cir. 2011) .................................................................... 47, 56

ICU Med., Inc. v. Alaris Med. Sys., Inc.,
  558 F.3d 1368 (Fed. Cir. 2009) ..............................................................55, 56, 57




                                                         iv
               Case: 24-1061            Document: 17           Page: 12        Filed: 12/28/2023




Intra-Cellular Therapies, Inc. v. Iancu,
   938 F.3d 1371 (Fed. Cir. 2019) .......................................................................... 22

Koninklijke Philips Elecs. N.V. v. Cardiac Sci. Operating Co.,
  590 F.3d 1326 (Fed. Cir. 2010) .................................................................... 18, 19

In re Longi,
    759 F.2d 887 (Fed. Cir. 1985) ................................................................21, 42, 43

Markem-Imaje Corp. v. Zipher Ltd.,
  657 F.3d 1293 (Fed. Cir. 2011) .......................................................................... 54

Merck & Co., Inc. v. Kessler,
  80 F.3d 1543 (Fed. Cir. 1996) ............................................................................ 22

Merck Sharp & Dohme Corp. v. Teva Pharms. USA, Inc.,
  217 F. Supp. 3d 782 (D. Del. 2016).................................................................... 37

Miller v. Eagle Mfg. Co.,
   151 U.S. 186 (1894) ............................................................................................ 31

Minerva Surgical, Inc. v. Hologic, Inc.,
  141 S. Ct. 2298 (2021) ........................................................................................ 36

Nalpropion Pharms., Inc. v. Actavis Lab’ys FL, Inc.,
  934 F.3d 1344 (Fed. Cir. 2019) .......................................................................... 19

Novartis AG v. Ezra Ventures LLC,
  909 F.3d 1367 (Fed. Cir. 2018) ...................................................................passim

Novartis Pharms. Corp. v. Breckenridge Pharm. Inc.,
  909 F.3d 1355 (Fed. Cir. 2018) ...................................................................passim

Odiorne v. Amesbury Nail Factory,
  18 F. Cas. 578 (C.C.D. Mass. 1819) .............................................................20, 34

Perez v. Dep’t of Justice,
   480 F.3d 1309 (Fed. Cir. 2007) .......................................................................... 30

In re Peters,
    723 F.2d 891 (Fed. Cir. 1983) ...................................................................... 57, 58




                                                          v
                Case: 24-1061              Document: 17            Page: 13          Filed: 12/28/2023




Petrella v. Metro-Goldwyn-Mayer, Inc.,
   572 U.S. 663 (2014) ............................................................................................ 43

Pfizer, Inc. v. Apotex, Inc.,
   480 F.3d 1348 (Fed. Cir. 2007) .......................................................................... 59

Procter & Gamble Co. v. Teva Pharms. USA, Inc.,
   566 F.3d 989 (Fed. Cir. 2009) ............................................................................ 21

In re Robeson,
    331 F.2d 610 (C.C.P.A. 1964) ............................................................................ 35

SCA Hygiene Prods. Aktiebolag v. First Quality Baby Prods., LLC,
  580 U.S. 328 (2017) ............................................................................................ 43

ScriptPro, LLC v. Innovation Assocs., Inc.,
   762 F.3d 1355 (Fed. Cir. 2014) .......................................................................... 47

ScriptPro LLC v. Innovation Assocs., Inc.,
   833 F.3d 1336 (Fed. Cir. 2016) .................................................................... 57, 61

United States v. Am. Bell Tel. Co.,
  167 U.S. 224 (1897) ................................................................................23, 34, 41

Vas-Cath Inc. v. Mahurkar,
  935 F.2d 1555 (Fed. Cir. 1991) .......................................................................... 49

In re White,
    405 F.2d 904 (C.C.P.A. 1969) ............................................................................ 36

Statutes

35 U.S.C.
   § 101.................................................................................................................... 20
   § 112..............................................................................................................16, 17
   § 120.................................................................................................................... 35
   § 154.............................................................................................................passim
   § 156................................................................................................................5, 44
   § 253(b) ............................................................................................................... 21
   § 282.............................................................................................................. 47, 59
   § 286.................................................................................................................... 43



                                                              vi
              Case: 24-1061           Document: 17          Page: 14        Filed: 12/28/2023




1994 Uruguay Rounds Agreement Act,
   Pub. L. No. 103-465, § 532(a), 108 Stat. 4809 (1994) ................................passim

Leahy-Smith America Invents Act,
   § 3(b)(2), 125 Stat. 285, 287 (2011) ................................................................... 42

Patent Term Guarantee Act of 1999,
   Pub. L. No. 106-113, § 4402, 113 Stat. 1501, 1501A-557 (1999) ..................... 22

Other Authorities
145 Cong. Rec. H6,943-44 (daily ed. Aug. 3, 1999) ............................................... 23

145 Cong. Rec. S13,258-59 (daily ed. Oct. 27, 1999) ............................................. 23

150 Cong. Rec. S7521 (daily ed. June 25, 2004).........................................24, 38, 42

Daniel Kazhdan, Obviousness-Type Double Patenting: Why It Exists
  And When It Applies, 53 AKRON L. REV. 1017, 1046 (2019) ............................. 37

Director’s Response to Cellect, LLC’s Petition for Rehearing En
   Banc, In re Cellect (No. 22-1293) (Dec. 14, 2023) ........................................... 27

H.R. Rep. No. 106-287 (1999) ................................................................................. 23




                                                      vii
           Case: 24-1061     Document: 17        Page: 15   Filed: 12/28/2023




                      STATEMENT OF RELATED CASES

      No other appeals have been taken in this case, and counsel for

Plaintiffs-Appellants Allergan USA, Inc., Allergan Holdings Unlimited Co.,

Allergan Pharmaceuticals International Ltd., Janssen Pharmaceutica NV, and Eden

Biodesign, LLC (collectively, “Plaintiffs”) are aware of no other cases pending in

any court or agency that will directly affect, or be directly affected by, this Court’s

decision in the instant appeal.




                                          viii
           Case: 24-1061      Document: 17      Page: 16    Filed: 12/28/2023




                                  INTRODUCTION
      The district court committed fundamental errors in its invalidity rulings. It

became the first court ever to invalidate a first-filed, first-issued patent for

obviousness-type double patenting (“ODP”) over later-filed, later-issued patents

from the same family, inverting the logic and purpose of ODP. The awarded term

of a first-filed, first-issued patent for an invention defines the original period of

patent monopoly and the inventor’s bargain with the public, establishing when the

public will be free to use that invention. Such a patent does not and cannot extend

the term of later-filed, later-issued continuation patents, regardless of whether

these later patents expire earlier because they did not suffer delay at the U.S. Patent

and Trademark Office (“PTO”).

      The district court’s ruling is contrary to the traditional equitable concerns

that underlie ODP, which cannot be invoked to truncate the statutorily guaranteed

term of a first-filed, first-issued patent over later-filed family members, as this

Court has ruled. Applying ODP in this manner also violates Section 154 of the

Patent Act, which guarantees a minimum statutory term to a diligent applicant.

Nor is there evidence particular to the challenged patent that creates a basis in

equity for shortening its term.

      The district court likewise erred in ruling that the two representative claims

contested at trial—claim 26 of U.S. Patent No. 11,311,516 (“the ’516 patent”) and
           Case: 24-1061     Document: 17      Page: 17    Filed: 12/28/2023




claim 7 of U.S. Patent No. 11,007,179 (“the ’179 patent”)—are invalid for lack of

written description. Claim 26 is a structural, picture-type pharmaceutical tablet

claim. There is no dispute that the specification describes the precise combination

of ingredients of the claimed tablet in the specified amounts. This should have

ended the written-description inquiry for that claim.

      Instead, the district court proceeded to commit legal error by failing to

adhere to the claim language in its written-description analysis. Unlike certain

other claims of the asserted patents, claim 26 in particular does not recite a glidant-

optional limitation, and Plaintiffs are not required to show possession of the

claimed formulation without a glidant. The district court’s analysis of whether

written description support exists for claims in which “a glidant is optional or not

included,” Appx24-25, simply has no applicability to claim 26.

      Regardless, the district court’s analysis of both representative claims reflects

fundamental legal error. For both claim 26 of the ’516 patent and claim 7 of the

’179 patent, the court disregarded that a written-description inquiry begins and

ends with the specification. Focusing almost exclusively on extrinsic evidence, the

district court rewrote the invention by inserting a “sufficient flow characteristics”

requirement that it associated with use of a glidant—a functional limitation found

in neither the claims nor the specification. In doing so, the district court (i) ignored

the claim language as written, (ii) improperly shifted the burden of proving



                                           2
            Case: 24-1061     Document: 17      Page: 18    Filed: 12/28/2023




invalidity from the patent challenger to the patentee (to prove that certain

unclaimed features are “unimportant”), and (iii) improperly conflated the written-

description and enablement requirements. Further, the court ignored the

specification’s teachings, which expressly disclose formulations without glidants.

The district court’s ruling contravenes the law and the intrinsic record.

        This Court should reverse both the ODP and written-description rulings.

                                     JURISDICTION

        The district court had jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a), and issued a final judgment on October 12, 2023. Appx1-4. That same

day, Allergan timely appealed. Appx16303-16306. This Court has jurisdiction

under 28 U.S.C. § 1295(a)(1).

                             STATEMENT OF ISSUES

   1.      Whether, under the ODP doctrine, a later-filed, later-issued, but

           earlier-expiring continuation patent can invalidate the first-filed,

           first-issued patent from that family and truncate that patent’s mandatory

           statutory term.

   2.      Whether the district court erred in finding representative claim 26 of the

           ’516 patent and representative claim 7 of the ’179 patent invalid for lack

           of written description.




                                            3
           Case: 24-1061     Document: 17     Page: 19    Filed: 12/28/2023




                           STATEMENT OF THE CASE

I.   BACKGROUND

      A.     The Innovative Compound Eluxadoline
      Irritable bowel syndrome (“IBS”) is characterized by abdominal discomfort

and unpredictable bowel habits, and its treatment has long represented a

significant, but unmet, medical need. Appx14533. Afflicting approximately 20%

of U.S. adults, IBS impairs quality of life, reduces productivity, and burdens the

health-care system. Appx14533. IBS is often chronic and debilitating.

Appx14579. Because IBS is a “conglomerate of several pathological

mechanisms,” effective therapies have proven difficult to develop. Appx15564.

      The inventors of the patents-in-suit pioneered the development of

eluxadoline, a novel opioid receptor modulator that mitigates the symptoms of

irritable bowel syndrome with diarrhea, or “IBS-D.” Id. Eluxadoline, a mu- and

kappa-opioid agonist and a delta-opioid antagonist, is “thought to regulate

gastrointestinal motility, intestinal secretion, and visceral sensation and provide

central analgesia.” Id. The U.S. Food and Drug Administration (“FDA”)

approved the New Drug Application for Plaintiffs’ eluxadoline-based drug,

VIBERZI®, for treating IBS-D in adults in 2015. Appx4908.




                                          4
           Case: 24-1061     Document: 17     Page: 20    Filed: 12/28/2023




      B.     The Claims at Issue

             1.     Claim 40 of the ’356 Patent

      The inventors filed U.S. Patent Application No. 11/079,647 (“the ’647

application”) on March 14, 2005, initially disclosing, inter alia, their invention of

eluxadoline. Appx14407-14485; Appx4929. The inventors subsequently assigned

the ’647 application to Plaintiff-Appellant Janssen Pharmaceutica N.V.

(“Janssen”). Appx4929. The ’647 application issued on June 22, 2010, as U.S.

Patent No. 7,741,356 (“the ’356 patent”). Appx14408. Claim 40 thereof recites

eight chemical compounds, including eluxadoline. Appx14483.

      To account for PTO delay, the ’356 patent received a patent term adjustment

(“PTA”) of 1,107 days. Appx14485. It also received 1,068 days of patent term

extension (“PTE”) under 35 U.S.C. § 156 to compensate for FDA delay in

approving VIBERZI®. Appx4929. While securing the PTE, Janssen disclaimed all

but 467 days of the ’356 patent’s PTA, thus reducing its PTA-adjusted term to June

24, 2026. Appx4929. The ’356 patent term, inclusive of PTA, is 16 years and

2 days. The ’356 patent was the first-filed, first-issued patent to cover eluxadoline.

Appx4929 (¶ 212).

      Two other patents owned by Janssen are relevant to the ODP issue in this

appeal, U.S. Patent Nos. 8,344,011 (“the ’011 patent”) and 8,609,709 (“the ’709




                                          5
           Case: 24-1061     Document: 17     Page: 21    Filed: 12/28/2023




patent”). Both descend from the ’356 patent and claim the same priority date.

Appx4928-4929.

      The ’011 patent was filed on July 19, 2010, as a divisional of U.S. Patent

No. 7,786,158 (a continuation of the ’356 patent), and issued on January 1, 2013.

Appx44. In the ’011 patent, Janssen pursued certain non-elected inventions from

the ’647 application. Claim 33 of the ’011 patent covers a method administering

eluxadoline or one of seven other compounds. Appx45; Appx4929. Because it

claims priority to the ’356 patent’s filing date and there was no PTO delay during

its prosecution, the ’011 patent expires on March 14, 2025, resulting in a term of

roughly 12 years. Appx4928-4929.

      The ’709 patent was filed on November 30, 2012, as a continuation of the

’011 patent, and issued on December 17, 2013. Appx44. Claim 5 of the

’709 patent is directed to eluxadoline, a species of the genus of compounds

claimed by the ’356 patent. Appx4929. On July 25, 2013, Janssen filed a terminal

disclaimer tying its expiration date to that of the ’356 patent. ’709 patent, cover

page. Because no PTO delay affected its prosecution, the ’709 patent also expires

on March 14, 2025, which provides a patent term of roughly 11 years. Appx4929.




                                          6
           Case: 24-1061     Document: 17      Page: 22   Filed: 12/28/2023




             2.     Claim 26 of the ’516 Patent and Claim 7 of the ’179 Patent
      Two representative claims were tried. The first was claim 26 of the

’516 patent,1 which is recited below:

         26. The pharmaceutical tablet of claim 1, comprising:
            about 75 mg of [eluxadoline];
            about 390 mg-450 mg silicified microcrystalline cellulose;
            about 30 mg crospovidone;
            about 60 mg mannitol;
            about 4.5 mg magnesium stearate; and
            about 18 mg of a film coating,
            wherein the nominal weight of the tablet without the film coating is
            about 600 mg and the total weight of the tablet is about 618 mg.

Appx206. Claim 1, from which claim 26 depends, is directed to a pharmaceutical

tablet containing about 75 mg of the active ingredient eluxadoline and percentage

weights of a filler, a disintegrant, and mannitol. Claim 26 thus narrowly recites a

tablet formulation wherein the weights of eluxadoline, four precise excipients, the

film coating, and the overall tablet are specified.

      Each recited component of claim 26 and its corresponding amount can be

readily identified in the ’516 patent specification, see, e.g., Appx194 (11:23-12:3);

Appx196 (Table 1), which the parties’ experts do not dispute, see, e.g., Appx5942,

Appx5970-5974 (Gemeinhart 227:5-14, 255:9-259:1); Appx6089-6090 (Berkland


1
 Appx4782 (stipulating that claim 26 is representative of claims 6 and 16 of U.S.
Patent No. 11,160,792 (“the ’792 patent”) and claim 29 of the ’516 patent).


                                           7
           Case: 24-1061      Document: 17      Page: 23    Filed: 12/28/2023




374:15-375:19). As confirmed by Defendant-Appellee Sun Pharmaceutical

Industries Limited’s formulation expert, Dr. Richard Gemeinhart, the sole

difference between the tablet formulations of claim 26 and the precise formulations

disclosed in Table 1 of the specification is that the latter include colloidal silica,

Appx5975-5976 (Gemeinhart 260:9-19), a glidant that can improve the flowability

of powder during manufacture, Appx15-16.

      The other representative claim is claim 7 of the ’179 patent,2 which is the

grandparent of the ’516 patent and shares the same specification. Appx12.

Claim 7 recites a mono-phasic pharmaceutical tablet comprising eluxadoline and

various identified ingredients in specified weights, and additionally requires a

functional “abuse-deterrent” property. Claim 7 depends from (inter alia) claim 1,

which expressly recites that “a glidant and/or a lubricant” is “optionally” included.

Appx96-97 (cls. 1, 3-7).

II. THE PROCEEDINGS BELOW

      A.     Plaintiffs’ Hatch-Waxman Action

      In 2019, Sun submitted an Abbreviated New Drug Application (“ANDA”)

seeking FDA approval to manufacture and sell a generic version of VIBERZI®

before the relevant patents expired. Appx4915. On October 8, 2020, Sun sent a



2
 Appx4782 (stipulating that claim 7 is representative of claims 7 and 19 of U.S.
Patent No. 11,090,291 (“the ’291 patent”) and claim 18 of the ’179 patent).


                                            8
           Case: 24-1061     Document: 17     Page: 24    Filed: 12/28/2023




notice letter pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) to Janssen and Allergan

USA, Inc., Allergan Holdings Unlimited Company, and Allergan Pharmaceuticals

International Limited (collectively, “Allergan”), the exclusive licensee of the ’356

patent. Appx4916. Sun contended that the ’356 patent claims are invalid,

unenforceable, and not infringed by the manufacture, use, importation, sale, or

offer for sale of Sun’s ANDA Products. Appx4916.

      On October 29, 2020, Plaintiffs filed a complaint against Sun alleging

infringement of claim 40 of the ’356 patent under 35 U.S.C. § 271(e)(2)(A), and

later consolidated the complaint with a parallel action alleging infringement of the

asserted formulation patents against Sun and other defendants.3 Appx4916-4919.

The parties stipulated that Sun would pursue an ODP defense only against claim 40

of the ’356 patent over certain claims of the ’011 and ’709 patents, Appx4931, and

that Sun’s ANDA Products would infringe all asserted claims, Appx4931-4932.

      B.     The District Court Declared the Asserted Claims Invalid

      After trial, the district court found all claims asserted against Sun to be

invalid. Appx46-47.




3
 The complaints were all later consolidated; the plaintiffs against Sun are
Allergan, Janssen, and Eden Biodesign, LLC.


                                          9
           Case: 24-1061     Document: 17      Page: 25   Filed: 12/28/2023




             1.    Obviousness-Type Double Patenting
      In finding claim 40 of the ’356 patent invalid for ODP, the district court

relied on a recent decision of this Court, In re Cellect, 81 F.4th 1216, 1229 (Fed.

Cir. 2023), petition for reh’g en banc filed (Nov. 13, 2023), for the proposition that

“ODP for a patent that has received PTA, regardless whether or not a terminal

disclaimer is required or has been filed, must be based on the expiration date of the

patent after PTA has been added.” Appx45. The district court considered itself

bound by this rule, for which it found no exception whatsoever, including for

first-filed, first-issued patents. Appx46. Despite ODP’s equitable nature, the court

also ruled that the doctrine “should not [be] influenced by equitable concerns.” Id.

The court invalidated claim 40 of the ’356 patent because its PTA-adjusted

expiration date fell after the expiration of the ’011 and ’709 patents, even though

the ’356 patent was both filed and issued first. Id. The district court did not

identify any evidence of gamesmanship, as Sun proffered none.

             2.    Written Description

      The district court held representative claim 26 of the ’516 patent and claim 7

of the ’179 patent invalid for lack of written description based on its determination

that the “patent specification does not disclose that a formulation would have

sufficient flow characteristics or work without a glidant.” Appx26.




                                          10
           Case: 24-1061     Document: 17      Page: 26   Filed: 12/28/2023




      The district court began its written-description analysis by recognizing that

these claims do “not list a glidant as a limitation,”4 while at the same time noting

that a glidant can be “used to improve the flow characteristics of a powder

mixture.” Appx16. The court then focused on expert testimony and other extrinsic

evidence to find that “a POSA would understand that a formulation needs to have

sufficient flow,” Appx21, because, “without that ability to flow, you won’t have a

good final product,” Appx16. Based on this extrinsic evidence-based finding, the

court evaluated whether Allergan had shown that the patent specification discloses

eluxadoline formulations where a glidant was optional and would either (i) “have

sufficient flow characteristics” or (ii) otherwise “work without a glidant.”

Appx26; Appx6272-6273 (557:20-558:3). The court then ruled that “[n]one of the

formulations disclosed in the patent specification … are made without a glidant,”

and reasoned that “[a] POSA reading the patent specification would not have

understood the patentee to possess a formulation of eluxadoline in which a glidant

is optional.” Appx16. As a result, the district court concluded that “the asserted

claims here lack written description ….” Appx18.5


4
  The court also stated that claim 7 “depends from an independent claim that recites
a glidant-optional limitation.” Appx16.
5
 Sun raised, but later expressly waived, an enablement defense. Appx6287
(572:11-18); Appx16122 n.3. Sun therefore argued only that the asserted claims
are invalid for lack of written description and, in the alternative, for alleged
obviousness (which the district court did not address). Appx9.


                                          11
           Case: 24-1061      Document: 17      Page: 27    Filed: 12/28/2023




                        SUMMARY OF THE ARGUMENT

      1.     ODP is an equitable doctrine designed to prevent a patentee from

extending its exclusive right to an invention through claims in a later-filed,

later-expiring patent that are not patentably distinct from claims in an earlier-filed,

earlier-expiring patent. The district court turned ODP upside down by finding—in

a first-of-its-kind decision—a first-filed, first-issued patent invalid over later-filed,

later-issued, but earlier-expiring patents from the same family that did not even

exist when the former was granted.

      The district court purported to derive a universal, rigid rule that any

earlier-expiring patent can serve as an ODP reference patent from this Court’s

decision in Cellect. As a preliminary matter, this Court has held that expiration

dates alone are not always dispositive. See Novartis Pharms. Corp. v.

Breckenridge Pharm. Inc., 909 F.3d 1355, 1364 (Fed. Cir. 2018) (“Breckenridge”)

(holding that earlier-expiring post-URAA patent could not be used to invalidate

later-expiring pre-URAA patent). Regardless, Cellect did not resolve any question

as to what patents can and cannot serve as ODP reference patents. It certainly did

not address whether a first-filed, first-issued patent can be invalidated by a

later-filed, later-issued, earlier-expiring patent from the same family. Indeed, the

patentee in Cellect waived any challenge as to whether the asserted reference

patents could properly serve as a basis for ODP, instead arguing only (i) a



                                           12
           Case: 24-1061        Document: 17    Page: 28    Filed: 12/28/2023




sweeping legal challenge that ODP can never be invoked to negate a PTA and

(ii) that ODP should not apply in that case on equitable grounds because there was

no strategic manipulation of patent term or risk of separate ownership. Cellect

does not resolve this appeal.

      ODP does not invalidate a first-filed, first-issued patent just because a

later-filed, later-issued patent in the same patent family expires first. The

first-filed, first-issued patent establishes the original patent term for the invention

and the bargain with the public, denoting when the latter is free to use that

invention or obvious variants thereof. The issuance of a first-filed, first-issued

patent does not “extend” (let alone improperly extend) the term of later

continuation patents that did not exist when the first-filed patent issued. Indeed,

there is no previously claimed subject matter to “double patent,” nor any original

monopoly to extend, until the first-filed, first-issued patent issues. Nor is it

possible to file a terminal disclaimer upon issuance of a first-filed, first-issued

patent when a so-called reference patent (or even a later-filed application) does not

yet exist, which underscores that ODP cannot apply in such a circumstance. In

short, the bargain with the public struck by the issuance of the first-filed,

first-issued patent is simply not broken by the issuance of later-filed,

earlier-expiring continuation patents.




                                           13
           Case: 24-1061     Document: 17      Page: 29    Filed: 12/28/2023




      The district court’s reduction of ODP to a mechanical comparison of the

expiration dates of any two commonly owned patents also violates Section 154.

Through that provision, Congress expressly guaranteed diligent applicants a

minimum 17-year term to create harmony with the fixed 17-year terms that

prevailed before the 1994 Uruguay Rounds Agreement Act (“URAA”). Congress

implemented that guarantee by mandating patent term adjustments for PTO delay.

The district court’s ruling violates Section 154 by denying a first-filed, first-issued

patent the full patent term to which it is statutorily entitled. Under the separation

of powers, a judge-made doctrine cannot override legislative mandates.

      To be sure, Congress contemplated the application of ODP, but only where

necessary to prevent unjust extensions of an awarded patent term. Consistent with

the principles espoused in Breckenridge, ODP should therefore not be invoked to

truncate a mandated statutory term—particularly with respect to a first-filed,

first-issued patent. 909 F.3d at 1364 (“At the time the [first-filed, later-expiring]

patent issued, it cannot be said that [patentee] improperly captured unjustified

patent term. The [later-filed, earlier-expiring] patent had not yet issued, and the

[first-filed, later-expiring] patent … was confined to a [statutorily-granted] patent

term.”).

      There is no inequity in preserving the full statutory term of the ’356 patent.

Janssen diligently prosecuted its application, yet PTO examination delays pushed



                                          14
           Case: 24-1061      Document: 17      Page: 30   Filed: 12/28/2023




issuance back 1,107 days. The ’356 patent issued from the first application filed

on any invention disclosed therein, and was the first patent granted from that

family. The full term of that patent thus represents the bargain struck with the

public: It was the single, original patent monopoly establishing when the public

would gain the right to use the invention or obvious variants thereof. The alleged

reference patents, on the other hand, are continuations filed years later, which

expire earlier merely due to the happenstance that the PTO did not delay their

examinations.

      Despite Congress’s guarantee of a minimum 17-year term to the diligent

applicant, upholding the district court’s decision would mean Janssen receives only

14 years, 9 months, and 2 days of statutory patent term. Nothing in ODP doctrine

or this Court’s precedent warrants that unjust result. Indeed, another judge from

the same district recently rejected the district court’s Cellect analysis, correctly

holding that a later-filed patent cannot serve as a reference patent for ODP

purposes. Acadia Pharms. Inc. v. Aurobindo Pharma Ltd., C.A. No. 20-985-GBW,

2023 WL 8622048, at *7 n.4 (D. Del. Dec. 13, 2023). A fortiori, a later-filed,

later-issued continuation patent cannot serve as an ODP reference patent to

invalidate the first-filed, first-issued patent in the family—the circumstance

presented here.




                                           15
           Case: 24-1061     Document: 17     Page: 31    Filed: 12/28/2023




      2.     Assessing the adequacy of written description under 35 U.S.C. § 112

requires a court to evaluate a patent’s specification to determine whether, as of the

patent’s filing date, a person of ordinary skill in the art (“POSA”) would have

understood that the applicant was in possession of the claimed invention.

      The district court began by committing legal error in interpreting the scope

of one of the two representative claims, claim 26 of the ’516 patent. Claim 26 is a

picture-type claim directed to a particular pharmaceutical tablet comprising

specific amounts of eluxadoline, four particular excipients, and a film coating. The

specification expressly discloses that the inventors possessed the recited

formulation, and Sun’s own expert acknowledged that a POSA reading the patent

“could pick out that embodiment [of claim 26].” Appx5973-5974 (Gemeinhart

258:6-259:7). This should have resolved any written-description inquiry with

respect to that claim.

      Instead, the district court committed reversible legal error by requiring

written description of requirements not recited in claim 26. The district court

interpreted that claim to recite “a formulation that does not have a glidant or where

a glidant would be understood as optional,” and found lack of written description

because purportedly the specification did not disclose such a formulation. Appx18.

But claim 26 simply claims a pharmaceutical tablet comprising the recited

components—none of which is a glidant—in precise amounts. It does not recite a



                                         16
           Case: 24-1061     Document: 17      Page: 32    Filed: 12/28/2023




glidant-optional limitation. The ’516 patent therefore need not disclose that the

inventor was in possession of “glidant-optional” formulations, as the district court

incorrectly required.

      With respect to both representative claims, the district court committed

further reversible legal error by requiring the inventive tablets to have certain

allegedly essential functional properties—i.e., “sufficient flow characteristics,”

Appx19—based almost exclusively on extrinsic evidence, and then invalidating the

claims for failing to recite an ingredient (a glidant) that can be associated with that

function. This Court has admonished that Section 112 does not permit courts to

divine unclaimed elements that are purportedly essential to the invention, and then

invalidate claims for lacking such elements. This applies with even greater force

to unclaimed elements sourced from evidence extrinsic to the patent. Here, neither

claim 26 nor claim 7 recites any “flow”-type language, and the specification never

even discusses “flow characteristics” or the necessity of glidants—much less

declares them essential or important to the invention. Nor were “flow properties”

ever discussed in either of the two Markman proceedings below.

      The district court compounded this error by (i) shifting the burden to

Allergan to prove that glidants and sufficient flow were unimportant to the claimed

formulation and (ii) analyzing whether the claimed formulations would “work

without a glidant.” Appx26; Appx21. This former approach is contrary to



                                          17
           Case: 24-1061     Document: 17      Page: 33   Filed: 12/28/2023




precedent of this Court, which makes clear that any burden to show that glidants

are important to the claimed invention should have fallen on Sun. And the latter is

at best a question of enablement—a defense Sun explicitly waived at trial—not

written description.

      Beyond the district court’s multiple legal errors, the specification itself does

not support the district court’s recasting of the invention as a formulation that must

include glidants to achieve sufficient flow characteristics. Instead, the

specification discloses embodiments where eluxadoline may be combined with one

or more of five inert ingredients—only one of which is a glidant. Similar

embodiments can also be found in the originally filed claims, further confirming

that the written-description requirement is met here.

                                   ARGUMENT

I.   STANDARD OF REVIEW
      ODP is a legal issue premised on underlying factual inquiries. Novartis AG

v. Ezra Ventures LLC, 909 F.3d 1367, 1372 (Fed. Cir. 2018) (“Ezra”). When facts

are undisputed, this Court reviews the district court’s ultimate ODP conclusion

without deference. Id. Likewise, the relationship between ODP and

statutory-patent-term mandates is a legal question this Court reviews de novo. Id.

      The determination of claim scope is a legal question reviewed de novo.

Koninklijke Philips Elecs. N.V. v. Cardiac Sci. Operating Co., 590 F.3d 1326, 1336



                                          18
           Case: 24-1061      Document: 17     Page: 34    Filed: 12/28/2023




(Fed. Cir. 2010). Whether a claim lacks written-description support is a fact

question reviewed for clear error. Nalpropion Pharms., Inc. v. Actavis Lab’ys FL,

Inc., 934 F.3d 1344, 1349-50 (Fed. Cir. 2019).

II. OBVIOUSNESS-TYPE DOUBLE PATENTING DOES NOT
    JUSTIFY TRUNCATING THE TERM OF A FIRST-FILED,
    FIRST-ISSUED PATENT BASED ON ITS OWN PROGENY

      The district court misinterpreted this Court’s Cellect decision as establishing

a hard-and-fast rule that, unless a terminal disclaimer is filed, ODP always

invalidates claims that are patentably indistinct from those in any other patent

having an earlier expiration date. See Appx46. ODP, however, does not and

cannot apply to invalidate the claims of a first-filed, first-issued patent based solely

on a later-filed, later-issued, earlier-expiring continuation patent. This is because,

as this Court has held, “[t]he key purpose of [ODP] is to prevent a patent owner

from extending the exclusivity rights over his invention beyond a full patent term.”

Breckenridge, 909 F.3d at 1367.6 By definition, that first patent does not and

cannot extend the term of any later-filed, later-issued continuation patent from that

family. And likewise, a later-filed, later-issued, earlier-expiring continuation

patent does not and cannot extend the term of the first patent.




6
 Unless otherwise noted, all internal citations and quotations have been omitted,
and all emphasis has been added.


                                          19
           Case: 24-1061     Document: 17      Page: 35   Filed: 12/28/2023




      Here, the district court’s perfunctory misapplication of Cellect deprived

Allergan of a statutorily guaranteed, original patent term, and penalized Allergan

merely for applying for and receiving a later continuation patent. ODP cannot be

invoked to truncate such an original patent term in defiance of the minimum

statutory guarantees of Section 154(b). No equitable considerations or other

evidence support this finding. This Court should reverse.

      A.     ODP Prevents Unjustified Extensions of Patent Term
      Section 101 of the Patent Act provides that, “[w]hoever invents or discovers

any new and useful process ... may obtain a patent therefor ....” 35 U.S.C. § 101.

A patent represents a bargain struck with the public: “[I]n exchange for a patent,

an inventor must fully disclose his invention and promise to permit free use of it at

the end of his patent term.” Gilead Scis., Inc. v. Natco Pharma Ltd., 753 F.3d

1208, 1212 (Fed. Cir. 2014) (“Gilead”). ODP thus “ensures that the public gets the

benefit of the invention after the original period of monopoly expires.” AbbVie

Inc. v. Mathilda & Terence Kennedy Inst. of Rheumatology Tr., 764 F.3d 1366,

1373 (Fed. Cir. 2014); see also id. at 1372 (ODP preserves the public’s “‘right to

use the invention at the expiration of the term specified in the original grant’”)

(quoting Odiorne v. Amesbury Nail Factory, 18 F. Cas. 578, 579 (C.C.D. Mass.

1819)).




                                          20
           Case: 24-1061      Document: 17      Page: 36    Filed: 12/28/2023




      The “traditional concern with” ODP is “extending … exclusive rights to an

invention through claims in a later-filed patent that are not patentably distinct from

claims in the earlier[-]filed patent.” Ezra, 909 F.3d at 1374. Accordingly, ODP

“prevent[s] a patent owner from extending his exclusive rights to an invention

through claims in a later-filed patent that are not patentably distinct from claims in

the earlier[-]filed patent.” Procter & Gamble Co. v. Teva Pharms. USA, Inc., 566

F.3d 989, 999 (Fed. Cir. 2009). A patentee may avoid invalidation of such a

later-filed patent by disclaiming any portion of its term that would extend beyond

the original term. See 35 U.S.C. § 253(b); In re Longi, 759 F.2d 887, 894 (Fed.

Cir. 1985).

      ODP was usually simple in application before the URAA; since patents

received a standard 17-year term, a first-filed, first-issued patent for an invention

always expired first. Accordingly, “courts looked at the issuance dates of the

respective patents.” Breckenridge, 909 F.3d at 1362. But issuance date was not

always dispositive pre-URAA; this Court refused to apply ODP to invalidate an

earlier-filed, later-issued patent that extended the term of a later-filed,

earlier-issued patent in certain circumstances where the PTO was solely

responsible for delay. “The rationale behind this proposition [wa]s that an

applicant (or applicants), who files applications for basic and improvement patents

should not be penalized by the rate of progress of the applications through the



                                           21
           Case: 24-1061     Document: 17     Page: 37   Filed: 12/28/2023




PTO, a matter over which the applicant does not have complete control.” In re

Braat, 937 F.2d 589, 593 (Fed. Cir. 1991).

      B.     The URAA Did Not Change the Fundamental Rule That ODP
             Restricts Only Unjustified Timewise Extensions of Patent Term
      In 1994, Congress passed the URAA to, inter alia, “harmonize the term

provision of United States patent law with that of our leading trading partners,”

Merck & Co., Inc. v. Kessler, 80 F.3d 1543, 1547 (Fed. Cir. 1996), by “chang[ing]

the term for a U.S. patent from seventeen years from the patent issue date to twenty

years from the earliest effective filing date,” URAA, Pub. L. No. 103-465,

§ 532(a), 108 Stat. 4809, 4983-85 (1994)). Because the URAA provided patent

term adjustments only in limited situations, “delays in the patent examination

process decrease[d] the length of an applicant’s patent term.” Gilead Scis., Inc. v.

Lee, 778 F.3d 1341, 1344 (Fed. Cir. 2015).

      Congress remedied this problem in the Patent Term Guarantee Act of 1999,

Pub. L. No. 106-113, § 4402, 113 Stat. 1501, 1501A-557 (1999) (codified as

amended at 35 U.S.C. § 154(b)); Intra-Cellular Therapies, Inc. v. Iancu, 938 F.3d

1371, 1374 (Fed. Cir. 2019). First, Congress provided a “[g]uarantee of prompt

patent and trademark office responses” by extending patent term for PTO delays in

taking certain actions. 35 U.S.C. § 154(b)(1)(A). Second, Congress “guaranteed

no more than 3-year application pendency” where the PTO, and not the applicant,

was responsible for delay. 35 U.S.C. § 154(b)(1)(A),(B) (cleaned up). Third,


                                         22
           Case: 24-1061     Document: 17     Page: 38   Filed: 12/28/2023




Congress maintained the URAA’s “[g]uarantee of adjustments for delays due to

derivation proceedings, secrecy orders, and appeals.” 35 U.S.C. § 154(b)(1)(C).

      The statute is thus a regime of mandatory compensation for PTO

examination delays to diligent applicants, continuing Congress’s longstanding

policy of not penalizing patentees for such delays. See, e.g., United States v. Am.

Bell Tel. Co., 167 U.S. 224, 246 (1897). The legislative history buttresses the

statute’s express guarantees. See H.R. Rep. No. 106-287, pt.1, at 32 (1999) (PTAs

are necessary because a diligent patent applicant can “lose years of effective patent

term due to delays in the PTO and other circumstances beyond her control”); id. at

49-50 (1999 amendments “compensate patent applicants for certain reductions in

patent term that are not the fault of the applicant,” and penalize only “those who

purposely manipulate the system”). As a bill co-sponsor explained, the goal was to

“assure a minimum patent term of 17 years from the date a patent is granted” via

the “guarantee that the PTO will extend the patent term as necessary to assure a

term of 17 years from filing for non-dilatory applicants … essentially giv[ing] back

to the non-dilatory patent holder … a guaranteed 17 year patent term.” 145 Cong.

Rec. H6,944 (daily ed. Aug. 3, 1999) (statement of Rep. Rohrbacher).7



7
  See also id. at H6,943 (discussing goal of “extending patent term completely to
compensate for delays … resulting from actions taken by anyone else other than
the patent applicant”); accord 145 Cong. Rec. S13,258-59 (daily ed. Oct. 27,
1999) (statements of Sen. Hatch and Sen. Leahy) (same).


                                         23
           Case: 24-1061     Document: 17      Page: 39    Filed: 12/28/2023




      Congress recognized that patentees may still need to file terminal

disclaimers when a commonly owned, original patent has exhausted the monopoly

for that invention. It therefore provided that “[n]o patent the term of which has

been disclaimed beyond a specified date may be adjusted under this section beyond

the expiration date specified in the disclaimer.” 35 U.S.C. § 154(b)(2)(B). But this

limitation, by its plain language, applies only to a patent whose term “has been

disclaimed”—which could never be required of a first-filed, first-issued patent

based on later-filed patents from the same family. That is, there is no need to even

consider a terminal disclaimer when the first-filed, first-issued patent is granted, as

there are no other then-existing patents in the family to justify a disclaimer. Cf.

Gilead, 753 F.3d at 1216-17 (explaining that, even for copending applications, a

terminal disclaimer is required only “for the later of the two applications”). Here,

the applications resulting in the putative ’011 and ’709 reference patents were not

even pending. Nor does the statute suggest any alteration of the ODP doctrine,

especially not the core principle that ODP guards against only improper extensions

of patent terms.

      This provision is therefore consistent with congressional intent to protect

PTAs from attack based on later-filed, later-issued patents. At the very least, ODP

cannot be twisted to abrogate the original term Congress guaranteed to diligent

applicants, as the district court did. See 150 Cong. Rec. S7521 (daily ed. June 25,



                                          24
           Case: 24-1061     Document: 17      Page: 40   Filed: 12/28/2023




2004) (statement of Sen. Hatch) (“[ODP] can invalidate claims in any later or

concurrently issued patent … determined to represent double patenting with

respect to any of the claims in a first-issued patent.”). Indeed, while this Court has

adjusted the ODP doctrine to the URAA’s application-based framework for

determining patent terms, it has never deviated from the fundamental rule that

ODP only prevents unjustified timewise extensions of statutory term. See, e.g.,

Gilead, 753 F.3d at 1210 (invalidating later-filed patent over earlier-filed patent to

prevent patent monopoly extension by strategic manipulation of priority dates);

AbbVie, 764 F.3d at 1374 (invalidating later-filed, later-issued, later-expiring

patent because patentee was “not entitled to an extra six years of monopoly solely

because it filed a separate application”); Breckenridge, 909 F.3d at 1367 (refusing

to invalidate earlier-filed, earlier-issued pre-URAA patent that did not extend term

of later-filed post-URAA patent, even though the latter expired first).

      C.     Cellect Did Not Resolve Whether Later-Filed
             Patents Can Serve as ODP Reference Patents
             with Respect to First-Filed, First-Issued Patents

      The district court improperly interpreted this Court’s decision in Cellect to

establish a rigid rule that ODP always invalidates claims that are patentably

indistinct from those in any other patent having an earlier expiration date.

Appx45-46. To the contrary, Cellect rejected a broad challenge that ODP can




                                          25
          Case: 24-1061     Document: 17      Page: 41   Filed: 12/28/2023




never limit a statutory PTA adjustment, and applied ODP in a very different

circumstance from that presented here.

             1.    The Patentee in Cellect Waived
                   Any Challenge to the ODP Reference Patents
      The ODP claims in Cellect were factually complex. An annotated

prosecution timeline of the Cellect patents is reproduced below:




      U.S. Patent No. 6,862,036 (“the ’036 patent”) was invoked as a reference

patent for U.S. Patent No. 6,424,369, which in turn was invoked as the reference

patent for U.S. Patent Nos. 6,982,742 and 6,452,626, the latter of which served as

the reference patent for U.S. Patent No. 7,002,621. Cellect, 81 F.4th at 1220. The

Patent Trial and Appeal Board had found that the interplay of this complex web of

patents meant that none could extend past the term of the earliest-expiring




                                         26
           Case: 24-1061     Document: 17      Page: 42   Filed: 12/28/2023




’036 patent, which was effectively deemed to serve as the ODP reference patent

for all challenged patents (two of which were issued after the ’036 patent). Id.

      Notably, the ODP challenge in Cellect did not involve the first-filed,

first-issued patent in the family—U.S. Patent No. 6,275,255 (“the ’255 patent”),

represented in green above—as either a reference or challenged patent. See id. at

1219. This was recently recognized by the PTO. See Director’s Response to

Cellect, LLC’s Petition for Rehearing En Banc at 12 n.2, In re Cellect (No. 22-

1293) (Dec. 14, 2023) (“[T]he challenged claims [in Cellect] are not themselves

‘parent’ claims; rather they are ‘child’ claims that claim priority to the same parent

application, and thus the scenario[]” at issue here is “not implicated.”). Because

the ’255 patent played no part in the analysis, this Court in Cellect did not have the

opportunity to address the present facts.8

      The patentee raised two ODP legal challenges to the Board’s unpatentability

rulings, namely: (i) that ODP cannot be applied “based on the date of expiration of

a patent that includes any duly granted PTA pursuant to 35 U.S.C. § 154”; and

(ii) that “the Board erred in failing to consider the equitable concerns underlying

the finding of ODP” (i.e., that the Cellect patents neither involved any strategic



8
  Cellect did not analyze whether any claims in the four challenged patents were
patentably distinct over any ’255 patent claim. Moreover, the ’255 patent had not
received any PTA, and therefore had the same expiration date as the ’036 reference
patent. See U.S. Patent No. 6,275,255; U.S. Patent No. 6,862,036.


                                          27
           Case: 24-1061     Document: 17      Page: 43    Filed: 12/28/2023




manipulation of patent term nor risked harassment of infringers by separate patent

owners). Cellect, 81 F.4th at 1222, 1229-30.

      Critically, because it brought only these two legal challenges, the patentee in

Cellect never disputed that the reference patents could properly serve as the basis

for finding ODP. A party waives ODP “reference propriety” arguments when they

are not raised, and this Court can subsequently use the unvetted reference in an

ODP determination without addressing its propriety. In re Fallaux, 564 F.3d 1313,

1315 n.1 (Fed. Cir. 2009). Thus, the Court did not resolve any question regarding

the propriety of the asserted ODP reference patents, and certainly not the question

presented here: whether a later-filed, later-issued patent can serve as an ODP

reference against a first-filed, first-issued patent in the same family. As one district

court ruled in distinguishing Cellect, the patentee there “opted not to challenge the

availability of the reference patents being used in and [ODP] challenge, and

‘instead focused its argument on whether or not [ODP] could cut short a grant of

PTA.’” Acadia, 2023 WL 8622048, at *7 (quoting Cellect, 81 F.4th at 1222).

      After finding all challenged claims invalid for ODP over the ’036 patent, the

Cellect Court immediately clarified “that the non-asserted claims in the challenged

patents are entitled to their full term, including the duly granted PTA, unless they

are found to be later-filed obvious variations of earlier-filed, commonly owned

claims.” 81 F.4th at 1230. The Court also repeatedly emphasized that ODP “limits



                                          28
           Case: 24-1061      Document: 17      Page: 44    Filed: 12/28/2023




the term of a patent or, at least, ties later-filed, commonly owned, obvious

variations to the expiration date of an earlier-filed reference patent.” Id. at 1226;

see also id. at 1231 (a “terminal disclaimer [ties] the expiration of the later-filed

claims to the earlier-filed reference claims”). Thus, because the patentee waived

the issue, the Court never had the occasion to determine which “earlier-filed”

patents could be properly used as the basis for finding ODP. Acadia, 2023 WL

8622048, at *7. In all events, the first-filed, first-issued patent in the family was

not at issue.

                2.   The District Court Erred in Treating Cellect as Dispositive

       This case presents a different question of law on different facts. In contrast

to Cellect, this case presents the question of whether the first-filed, first-issued

patent in a family (i.e., the ’356 patent) can be invalidated for ODP over later-filed,

later-issued continuation patents (i.e., the ’011 and ’709 patents).




                                           29
           Case: 24-1061       Document: 17      Page: 45    Filed: 12/28/2023




       In only two paragraphs of its opinion, the district court nonetheless ruled that

Cellect disposed of this case. After quoting the general statement that “‘any

extension past the ODP reference patent’s expiration date constituted an

inappropriate timewise extension for the asserted claims of the challenged

patents,’” the district court declared that Cellect “recognizes no exception to the

rule it announced, whether for first-filed, first-issued claims or otherwise.”

Appx46 (quoting Cellect, 81 F.4th at 1229). But such “[b]road statements in

judicial opinions must be interpreted in light of the issue before the court, and

cannot uncritically be extended to significantly different situations.” Perez v.

Dep’t of Justice, 480 F.3d 1309, 1312 (Fed. Cir. 2007). At a minimum, the district

court’s unsupported “no exception” declaration sits at odds with the reasoning of

this Court’s Breckenridge decision. See Section II.D.2 infra.

       The district court’s reliance on this pronouncement begs the doctrinal

question of whether (i) a later-filed family member can serve as a reference patent

for the first-filed, first-issued patent of that family and (ii) the latter patent’s term

can be regarded as an “extension” of the former. And the district court could not

rely on the above-quoted isolated statement from Cellect while not considering

Cellect’s equally definitive pronouncement—appearing two sentences later—that

“claims in … challenged patents are entitled to their full term, including [any] duly

granted PTA, unless they are found to be later-filed obvious variations of



                                            30
           Case: 24-1061      Document: 17      Page: 46    Filed: 12/28/2023




earlier-filed, commonly owned claims.” Cellect, 81 F.4th at 1230; see Acadia,

2023 WL 8622048, at *7, *7 n.4 (rejecting reliance in decision on appeal on

Cellect given its failure to address the above statement). The question of whether a

later-filed continuation patent can invalidate the first-filed, first-issued patent for

ODP is an open question for this Court to decide on the merits.

      D.     ODP Cannot Be Applied to Truncate the Term of a First-Filed,
             First-Issued Patent Based on Later-Filed Family Members

             1.     The Term of a First-Filed, First-Issued Patent
                    Establishes the Original Patent Monopoly and
                    Does Not “Extend” the Term of Subsequent Patents

      The prohibition on double patenting has always forbade a patentee from

“extend[ing] or prolong[ing] the monopoly beyond the period allowed by law.”

Miller v. Eagle Mfg. Co., 151 U.S. 186, 198 (1894). This Court has repeatedly

affirmed this foundational principle with respect to obvious variants of the

invention in post-URAA ODP cases. See, e.g., AbbVie, 764 F.3d at 1373; Ezra,

909 F.3d at 1374 (“traditional concern” of “extending his exclusive rights” not

implicated where “it is the earlier-filed, earlier-issued” patent “that has the later

expiration date”). No court before the district court in this matter has ever held

that the first-filed, first-issued patent is invalid for ODP simply because a

later-filed patent in the same patent family has an earlier expiration date.

      Determining what constitutes the original patent monopoly that cannot be

extended can sometimes be complex under the URAA, given that the baseline


                                           31
            Case: 24-1061     Document: 17      Page: 47   Filed: 12/28/2023




patent term is defined by the application’s effective filing date. See 35 U.S.C.

§ 154(a)(2). For example, in Gilead, this Court held that an earlier-filed patent

could serve as a reference patent even if it did not issue first. See Acadia, 2023

WL 8622048, at *8. There, the patentee had “crafted a separate ‘chain’ of

applications [with] a later priority date,” resulting in issued patents that were “not

part of the same family of patents and were not before the same patent examiner.”

Gilead, 753 F.3d at 1210. “Because the patents do not claim priority to any

common application, they [would] expire at different times as governed by the

provisions of the [URAA].” Id. Although the later-filed patent issued first, by

virtue of the later application date, it expired 22 months after the term of the

first-filed patent:




Id. at 1210-11; see also id. at 1214. Thus, in Gilead, the applicant had received the

full statutory term to which it was entitled for the first-filed patent, but extended

the monopoly of the invention by pursuing patentably indistinct claims in a

separate application chain.




                                           32
           Case: 24-1061     Document: 17      Page: 48    Filed: 12/28/2023




      The Court noted that, “[i]n the URAA, Congress clearly limited the one

period of exclusivity an inventor can obtain for each of his inventions to twenty

years from the filing date of the earliest application to which the inventor claims

priority—with some limited exceptions.” Id. at 1215. This Court further reasoned

that, post-URAA, looking to “issuance date only” in an ODP analysis would create

perverse incentives for applicants to engage in “significant gamesmanship during

prosecution,” id., including “orchestrat[ing] patent term extensions” and creating

“significant vacillations in an inventor’s period of exclusivity over his invention

and its obvious variants,” id. at 1215-16. As a result, the Court concluded that

“Congress could not have intended to inject the potential to disturb the consistent

application of the doctrine of double patenting by passing the URAA.” Id.

      In doing so, Gilead twice emphasized that its holding was limited to the

circumstances of that case. At the outset of its analysis, the Court stated that it was

deciding only a “narrow question” of “[c]an a patent that issues after but expires

before another patent qualify as a [ODP] reference for that other patent,” and held

only that, “under the circumstances of this case … it can.” Id. at 1211-12, 1217

(“We therefore hold that an earlier-expiring patent can qualify as an [ODP]

reference for a later-expiring patent under the circumstances here.”). The

application of ODP to first-filed, first-issued patents, particularly based on




                                          33
           Case: 24-1061      Document: 17     Page: 49    Filed: 12/28/2023




later-filed patents from the same family, was not at issue in Gilead, which limited

its holding to the facts presented.

      None of Gilead’s analysis applies to first-filed, first-issued patents. See

Acadia, 2023 WL 8622048, at *8. The awarded term of a first-filed, first-issued

patent for an invention is not an extension of any other patent term. There is

literally no previously claimed subject matter to “double patent,” nor any original

monopoly to extend, until the issuance of the first-filed, first-issued patent. Cf.

Gilead, 753 F.3d at 1216-17 (explaining that only “the later of … two

applications” is subject to ODP rejection in the case of copending applications).

The grant of the first-filed, first-issued patent for an invention forms the bargain

between the patentee and the public; the inventor is entitled to the full, original

statutory term as a matter of right, and the public’s inchoate interest in the use of

the invention vests only with the expiration of that original term. See Odiorne, 18

F. Cas. at 579. “As the lawmaking power has prescribed what the public will give,

specified the terms and conditions of purchase, indicated the time and methods of

determining the right of compensation, [the patentee] on his part has an absolute

legal right to avail himself of all the provisions thus made.” Am. Bell Tel. Co., 167

U.S. at 250.

      Nor does it makes sense to view a first-filed, first-issued patent as somehow

extending the term of a future patent that does not even exist at the time of the



                                          34
          Case: 24-1061     Document: 17      Page: 50   Filed: 12/28/2023




grant. Congress codified the PTO’s longstanding continuation practice in Section

120 of the Patent Act. 35 U.S.C. § 120. Pursuant to that provision, parent and

continuing applications “are to be considered as parts of the same transaction, and

both as constituting one continuous application, within the meaning of the law.”

Godfrey v. Eames, 68 U.S. 317, 326 (1863). This Court and its predecessor, in line

with the statute, have long permitted continuation applications to pursue patentably

indistinct claims. The well-settled law of claiming, both before and after the 1952

Patent Act, permits the inventor to “express the same invention in more than one

claim” so long as “undue multiplicity” is avoided. In re Barnett, 155 F.2d 540,

546 (C.C.P.A. 1946) (quoting In re Clark, 97 F.2d 628, 631 (C.C.P.A. 1938)); In

re Chandler, 319 F.2d 211, 225 (C.C.P.A. 1963). This practice allows the patentee

to frame the invention in multiple ways to protect the invention in view of the

vagaries of language and interpretation. Barnett, 155 F.2d at 546.

      This Court’s predecessor approved the practice of terminal disclaimers in

continuation patents (not original patents) to ensure efficient claiming without

extending the original patent monopoly. See In re Robeson, 331 F.2d 610, 614

(C.C.P.A. 1964). Before that time,

      an inventor who discovered an obvious improvement on or obvious
      modification of an invention on which he had already filed a patent
      application could obtain patent protection specific to his new invention
      only by filing a new patent application disclosing both his original and
      his new invention, and abandoning his first application. This procedure



                                         35
           Case: 24-1061      Document: 17     Page: 51    Filed: 12/28/2023




      would result in disclosure to the public of his original invention being
      delayed, perhaps for several years.

In re Eckel, 393 F.2d 848, 857 (C.C.P.A. 1968). With a terminal disclaimer,

the inventor

      may allow his first application to issue, and claim his new invention in
      a separate application having a terminal disclaimer. By this procedure,
      the inventor can obtain no claims which he would not have been entitled
      to under the previous practice. The decisions have, therefore, in no way
      enlarged the scope of patent protection available to the inventor.
      However, they do have the salutary effect of making public the
      inventor’s original disclosure at an earlier date than would have been
      the case under previous practice.

Id.; In re White, 405 F.2d 904, 906 (C.C.P.A. 1969) (same).

      The district court’s rule contravenes ODP’s central purpose. When a

judge-made doctrine applies to a statutory scheme, it “reaches only so far as the

equitable principle long understood to lie at its core.” Minerva Surgical, Inc. v.

Hologic, Inc., 141 S. Ct. 2298, 2302 (2021). The district court’s unwarranted

application of ODP to first-filed, first-issued patents has nothing to do with

equitable prevention of extensions of the original monopoly, nor preserving the

inventor’s bargain with the public. Acadia, 2023 WL 8622048, at *7. “Assuming

dominating claims in his patent, all [the patentee] is getting from this [later-filed]

application—and for only the remainder of the same term—are additional, more

specific claims which would serve as a second line of defense if the dominating

claims should prove to be vulnerable.” In re Braithwaite, 379 F.2d 594, 601


                                          36
           Case: 24-1061     Document: 17      Page: 52    Filed: 12/28/2023




(C.C.P.A. 1967). To dissuade or prevent patentees from prosecuting such

continuation applications “would principally serve to deprive the public of the

knowledge contained in the added disclosures.” Id.

      Original patents often require prolonged examination to ensure patentability

over prior art. Continuation and other related applications, however, may

subsequently have shorter examination times, and therefore may end up expiring

first—even when later-filed and later-issued. Forcing innovators to make the

Hobson’s choice between abandoning later applications, and risking that they may

be used to cut off the terms of first-filed parents upon their issuance—potentially

substantially—cannot be squared with the ODP doctrine. See, e.g., Merck Sharp &

Dohme Corp. v. Teva Pharms. USA, Inc., 217 F. Supp. 3d 782, 787 (D. Del. 2016)

(rejecting the “oddity of using [a continuation patent] as a reference patent to cut

short … the first issued parent patent”); Daniel Kazhdan, Obviousness-Type

Double Patenting: Why It Exists And When It Applies, 53 AKRON L. REV. 1017,

1046 (2019) (“It is common practice for inventors to file continuation applications,

but if continuation applications can commit patent patricide, those continuation

applications may not be worth it.”).

      There is also no risk that a split in ownership could lead to harassment of

patent infringers by multiple owners in this case. See Cellect, 81 F.4th at 1230.

The first-filed, first-issued patent establishes the bargain with the public, and any



                                          37
            Case: 24-1061    Document: 17      Page: 53   Filed: 12/28/2023




later-filed, later-issued continuation patents would properly have terminal

disclaimers as needed. 150 Cong. Rec. S7521 (daily ed. June 25, 2004) (statement

of Sen. Hatch) (“[T]he disclaimer must be filed in the patent with the patentably

indistinct claims and must reference the first-issued patent against which the

disclaimer applies. Thus, the disclaimer only affects the ability to enforce the

disclaimed patent .… while the first-issued patent’s enforceability is unaffected.”).

      ODP only bars unjustified timewise extensions of an original patent

monopoly. It does not authorize a court to truncate the awarded term of a

first-filed, first-issued patent of a family. See Acadia, 2023 WL 8622048, at *7

(“If a later-filed patent is used as a reference, the logic and purpose of [ODP] is

flipped on its head: rather than preventing a patent owner from unjustifiably

extending the term of a patent, [ODP] would operate to cut off a patent term that

would have been valid but for a later-filed patent.”).

             2.     This Court Has Ruled That ODP Should
                    Not Truncate a Statutorily Mandated
                    Term of a First-Filed, First-Issued Patent

      This Court reached a similar result in Breckenridge, rejecting the notion that

ODP can be determined solely by a mechanical comparison of expiration dates.

Breckenridge, 909 F.3d at 1364-66. The district court ignored Breckenridge in its

analysis.




                                          38
           Case: 24-1061      Document: 17      Page: 54    Filed: 12/28/2023




      Breckenridge concerned two commonly owned patents having a shared

priority date that contained patentably indistinct claims. 909 F.3d at 1359. The

first-filed, first-issued patent was governed by pre-URAA law, and received the

statutorily guaranteed 17-year term from the date of issuance. Id. The later-filed,

later-issued patent was governed by the URAA, and so its term was governed by

the effective filing date, which expired before the first-filed pre-URAA patent. Id.

at 1357-58.

      This Court held that the later-filed, later-issued, but earlier-expiring patent

could not be a potentially invalidating ODP reference under these circumstances.

Id. at 1358. “At the time the [earlier-filed] patent issued, it cannot be said that [the

patentee] improperly captured unjustified patent term. The [later-filed] patent had

not yet issued, and the [earlier-filed] patent” was guaranteed a minimum “17-year

patent term.” Id. at 1364. Moreover, the patentee “did not structure the priority

claim of its [later-filed] patent to capture additional patent term beyond the term it

was granted for its [earlier-filed] patent. In fact, the [later-filed] patent’s term

expired before the [earlier-filed] patent’s original 17-year term.” Id. at 1364

(distinguishing Gilead, 753 F.3d 1208, and AbbVie, 764 F.3d 1366). As the Court

explained, ODP does not apply to “truncate the term statutorily assigned to the

[earlier-filed, earlier-issued] patent.” Id. at 1358; see also id. at 1366

(“truncat[ing] any portion of the statutorily-assigned term of a pre-URAA patent



                                           39
           Case: 24-1061     Document: 17      Page: 55   Filed: 12/28/2023




that extends beyond the term of a post-URAA patent would be inconsistent with

the URAA transition statute”).

      The Court held that this approach is consistent with “[t]he key purpose of”

ODP, namely “to prevent a patent owner from extending the exclusivity rights over

his invention beyond a full patent term.” Id. at 1367. And “[h]ere, critically, [the

patentee] did not seek to extend its patent rights over its … invention beyond one

patent term.” Id. Instead, it merely sought to preserve its original period of

monopoly, the first-filed “patent’s statutorily-granted 17-year patent term.” Id. As

the Court noted, “[t]o find that [ODP] applies here because a post-URAA patent

expires earlier would abrogate [the patentee’s] right to enjoy one full patent term

on its invention.” Id.

      Although Breckenridge addressed whether a later-issued, earlier-expiring

post-URAA patent can serve as an ODP reference against an earlier-issued,

later-expiring pre-URAA patent, the rationale of that decision applies equally here.

The first-filed, first-issued ’356 patent is not an extension of another patent term

that impairs the rights of the public, and ODP has no application to shorten a

statutorily guaranteed term. The district court did not even address Breckenridge,

which alone provides a sufficient basis for reversal.




                                          40
           Case: 24-1061     Document: 17      Page: 56    Filed: 12/28/2023




             3.     The District Court’s Ruling Violates 35 U.S.C. § 154
      The district court’s reduction of ODP to a simplistic comparison of the

expiration dates of any two commonly owned patents is not compelled by

precedent and contravenes the purposes of the ODP doctrine. Furthermore, just as

in Breckenridge, it directly contradicts the statute. A first-filed patent and a

later-filed continuation patent have the same effective filing date, and their terms

are both determined by that date, subject to adjustments under Section 154(b). It

has long been a principle of patent law not to penalize the patentee for PTO delay.

See Am. Bell Tel. Co., 167 U.S. at 246 (“if the delay is caused solely through the

negligence or inattention of the tribunal before which the application is pending it

is something for which the applicant is not responsible, and which does not affect

his legal rights”). Even pre-URAA, this Court restricted ODP when a later

improvement patent issued and expired before the basic patent because the

patentee “should not be penalized by the rate of progress of the applications

through the PTO, a matter over which the applicant does not have complete

control.” Braat, 937 F.2d at 593.

      Here, to guarantee the non-dilatory applicant at least a 17-year patent term,

Congress has mandated that the 20-year statutory term from the patent’s effective

filing date be adjusted for PTO delay. Supra at 22-23. Congress would have

understood that the first-filed, first-issued patent, if duly prosecuted without



                                          41
           Case: 24-1061          Document: 17   Page: 57   Filed: 12/28/2023




applicant delay, would (as here) entitle the patent to receive the full statutorily

guaranteed original term. It would further have understood that continuation

applications can be filed years after the effective filing date, and may have short

terms regardless of any applicant or PTO delay. In fact, Congress indisputably

considered these facts with awareness that “[t]he double patenting doctrine can

invalidate claims in any later or concurrently issued patent if those claims are

determined to represent double patenting with respect to any of the claims in a

first-issued patent.” 150 Cong. Rec. S7521 (daily ed. June 25, 2004) (statement of

Sen. Hatch) (“For clarity, any later or concurrently issued patent that creates

double patenting can simply be termed a ‘patentably indistinct patent’ with respect

to the first-issued patent.”).9

       Thus, Congress promulgated 35 U.S.C. § 154(b) knowing that the

first-issued patent could not be challenged for ODP based on any later-issued

patents, and intended for the first-issued patent to retain any duly granted PTA. As

a result, “the present problem is definitively resolved by important legislative

history ... on the effect the legislation would have on the judicially created double




9
  The uncodified AIA § 3(b)(2) incorporates by reference the legislative history of
the CREATE Act, effectively giving it the force of law. Leahy-Smith America
Invents Act, § 3(b)(2), 125 Stat. 285, 287 (2011) (“The [USPTO] shall administer
[35 U.S.C. section 102(c)] in a manner consistent with the legislative history of the
CREATE Act .…”).


                                            42
           Case: 24-1061       Document: 17      Page: 58    Filed: 12/28/2023




patenting doctrine.” Longi, 759 F.2d at 895. It contravenes Section 154 to deny a

first-filed, first-issued patent the full, original patent term to which it is statutorily

entitled simply because a later-filed child patent happens to expire earlier because

the PTO did not delay its examination. Cf. Breckenridge, 909 F.3d at 1366 (“[T]o

require patent holders to truncate any portion of the statutorily-assigned term of a

[first-issued] patent that extends beyond the term of a [later-issued] patent would

be inconsistent with the URAA transition statute.”).

       Applying the district court’s ODP rule in the parent-child context would run

afoul of the separation of powers. In SCA Hygiene Prods. Aktiebolag v. First

Quality Baby Prods., LLC, the Supreme Court rejected application of the equitable

doctrine of laches to bar infringement claims brought within the six-year statute of

limitations of § 286 of the Patent Act. 580 U.S. 328 (2017). The Court found that,

by enacting § 286, Congress “sp[oke] directly” to a claim’s timeliness. Id. at 334.

Thus, allowing a judge-made doctrine to bar an infringement claim brought within

the statutory limitations period would have “give[n] judges a ‘legislation-

overriding’ role that is beyond the Judiciary’s power.” Id. at 335 (quoting Petrella

v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 680 (2014)); see also Ezra, 909 F.3d

at 1375 (“a judge-made doctrine” cannot “cut off a statutorily-authorized time

extension”). So too here, where Congress has mandated a minimum PTA-adjusted

statutory term, 35 U.S.C. § 154(a)(2), (b)(1), and has prescribed the scope of ODP



                                            43
           Case: 24-1061      Document: 17      Page: 59   Filed: 12/28/2023




in the terminal-disclaimer provision, id. §154(b)(2)(B), applying ODP to override

the statutory scheme would impinge upon legislative power. This Court should

refuse to apply ODP here to avoid a constitutional question.

      Congress contemplated ODP would still apply to post-URAA patents, and

rejected PTA adjustments beyond disclaimed terms. See supra at 23-25. Under

Cellect, ODP can apply to a patent having a PTA. For example, if there were a

PTA on a later-filed, later-issued continuation patent that extended beyond the full

statutory term of the parent patent, ODP may invalidate a patentably indistinct

claim in the child patent to avoid an unjustified timewise extension of the original

monopoly, absent a terminal disclaimer. But ODP cannot be invoked to truncate

the statutory term of a first-filed, first-issued patent, and thus deny the patentee the

guaranteed minimum term of exclusive rights over the invention.

      E.     ODP Should Not Apply to Invalidate Claim 40 of the ’356 Patent

      The ’356 patent was the first-filed (March 14, 2005) and first-issued (June

22, 2010) application claiming priority to the ’342 provisional application. Janssen

was a diligent applicant; absent 467 days of PTO delay,10 the patent would have

issued on March 12, 2009, and expired on March 14, 2025, entitling Janssen to a


10
  Janssen was initially granted 1,107 days of PTA (and thus a patent term of
roughly 17 years, 9 months). Sun does not challenge this assessment of PTO
delay. As noted above, Janssen subsequently terminally disclaimed a portion of
that PTA to avoid capping its PTE. ODP does not affect PTE under 35 U.S.C.
§ 156, as Sun acknowledges. See, e.g., Ezra, 909 F.3d at 1375; Appx45 n.10.


                                           44
           Case: 24-1061     Document: 17      Page: 60   Filed: 12/28/2023




statutory term of roughly 16 years. That was the bargain struck with the public;

the public understood when exclusivity would end. ODP does not justify

truncating that awarded term by more than 15 months simply because patents from

later-filed applications will expire earlier (i.e., on March 14, 2025) due to no PTA.

      Here, a PTA was granted only with respect to the first-filed, first-issued

claims in the family (the ’356 patent).11 The subsequent grant of later-filed patents

is irrelevant because they do not qualify as ODP reference patents. Without proper

ODP references, the Court cannot conduct an ODP analysis. There was simply no

attempt to “extend ... exclusive rights to an invention through claims in a later-filed

patent that are not patentably distinct from claims in the earlier-field patent.” Ezra,

909 F.3d at 1374-75 & n.4 (rejecting later-filed patent as an ODP reference patent).

Nor has Sun pointed to any equitable considerations supporting the application of

ODP in this case.

      The grant of the ’356 patent established the original monopoly. Were it not

for PTO delay, the patent would have issued on March 12, 2009, and expired on

March 24, 2025 (the same date on which the ’011 and ’709 patents expired). All




11
  Although the ’356 patent and ’709 patent share a common priority date, the
’709 patent is “later-filed” for ODP purposes because the application from which it
issued was filed after the ’356 patent application. Breckenridge, 909 F.3d at
1357-58 (characterizing patent sharing common priority date as “later-filed” based
on the filing date of the application that led to patent issuance).


                                          45
           Case: 24-1061       Document: 17   Page: 61    Filed: 12/28/2023




the PTA did was shift the days that Allergan lost to PTO delay during prosecution

to the back end of the term.




      This Court should reverse the invalidation of claim 40 of the ’356 patent.

The ’356 patent did not extend the terms of the subsequent ’011 and ’709 patents,

as their respective applications had not even been filed at the time of the ’356

patent’s issuance. Even if this Court were to conclude otherwise, at a minimum,

the allowance of that patent’s full statutory term to compensate for PTO delay is

not an “unjustified” extension of any patent monopoly. Braat, 937 F.3d at 595

(emphasis in original); Acadia, 2023 WL 8622048, at *7.

      F.     If Cellect Is Overturned, This Court May Also Reverse
      For all the foregoing reasons, this Court should reverse the district court’s

ODP ruling notwithstanding Cellect. But if Cellect is overturned, and either this




                                         46
           Case: 24-1061      Document: 17      Page: 62      Filed: 12/28/2023




Court en banc or the Supreme Court holds that ODP cannot restrict a PTA-adjusted

patent term, this would provide an alternative basis for reversal.

III. THE DISTRICT COURT ERRED IN
     FINDING LACK OF WRITTEN DESCRIPTION

      To overcome the statutory presumption of validity, 35 U.S.C. § 282, a patent

challenger has the burden to prove by clear and convincing evidence that a claim

lacks written description. Hynix Semiconductor Inc. v. Rambus Inc., 645 F.3d

1336, 1351 (Fed. Cir. 2011). To do so, the patent challenger must demonstrate that

the patent’s disclosure does not convey to a POSA the inventor’s possession of the

claimed invention as of the priority date. Alcon Research Ltd. v. Barr Lab’ys, Inc.,

745 F.3d 1180, 1190-91 (Fed. Cir. 2014). Assessing this disclosure “requires an

objective inquiry into the four corners of the specification.” Id. Moreover, “[i]t is

common, and often permissible, for particular claims to pick out a subset of the full

range of described features, omitting others.” ScriptPro, LLC v. Innovation

Assocs., Inc., 762 F.3d 1355, 1359 (Fed. Cir. 2014) (“ScriptPro I”).

      The district court disregarded these settled principles and committed several

reversible legal errors in its written-description rulings.

      A.     The District Court Improperly Treated
             Claim 26 as Containing a “Glidant-Optional” Limitation

      The district court committed claim-construction error regarding claim 26 of

the ’516 patent, which is a picture-type claim for a pharmaceutical tablet



                                           47
           Case: 24-1061      Document: 17      Page: 63   Filed: 12/28/2023




comprising specific amounts of eluxadoline, four excipients (i.e., silicified

microcrystalline cellulose, crospovidone, mannitol, and magnesium stearate), and a

film coating. Appx206. As a structural claim, it contains no operational or other

limitations directed to any manufacturing-related properties. See, e.g., Appx5784

(Costello 69:04-10).

      The district court first went astray by interpreting the invention recited in

claim 26 as a tablet “where a glidant is optional or not included.” Appx26; see

also Appx17, Appx18, Appx24, Appx25. Neither party requested any construction

of claim 26, each relying instead on its plain language. Indeed, Plaintiffs

specifically emphasized to the court that “[a]sserted Claim 26 of the ’516 Patent

does not include any [‘glidant-optional’] language; neither it nor the independent

Claim 1 on which it relies recites any limitation relating to colloidal silica or a

glidant.” Appx16107-16108 n.2. The district court likewise acknowledged that

claim 26, unlike other claims in the asserted patents, does “not list a glidant as a

limitation.” Appx16.

      Despite this acknowledgement, the district court committed legal error by

requiring the ’516 patent specification “to disclose a formulation that does not have

a glidant or where a glidant would be understood as optional.” Appx18. But

unlike, for example, claim 1 of the ’179 patent (which is not being asserted), see

Appx96, claim 26 does not contain any limitation regarding the inclusion or not of



                                           48
           Case: 24-1061      Document: 17      Page: 64   Filed: 12/28/2023




glidants; it simply claims any tablet with the recited ingredients in the required

amounts, regardless of what other features are present.

      As such, the ’516 patent does not need to disclose that the inventor was in

possession of such “glidant-optional” formulations. Vas-Cath Inc. v. Mahurkar,

935 F.2d 1555, 1563-64 (Fed. Cir. 1991) (“The invention is, for purposes of the

‘written description’ inquiry, whatever is now claimed.”) (emphasis in original).

An open-ended “comprising” claim like claim 26 simply means that the accused

tablet infringes so long as it has the recited ingredients and weights (i.e., practices

the invention)—whether or not it has a glidant or any other unclaimed feature.

See, e.g., Genentech, Inc. v. Chiron Corp., 112 F.3d 495, 501 (Fed. Cir. 1997)

(“‘Comprising’ … means that the named elements are essential, but other elements

may be added and still form a construct within the scope of the claim.”). By

analogy, by claiming a car comprising a specific type of catalytic converter, an

inventor is not claiming possession of a car without a steering wheel (and the

specification need not describe such a car). But if someone makes a car without a

steering wheel that has the claimed catalytic converter, they infringe.

      Because “the patentee need only describe the invention as claimed,” Amgen

Inc. v. Hoechst Marion Roussel, Inc., 314 F.3d 1313, 1333 (Fed. Cir. 2003), the

inquiry is simply whether the written description “matches the claim scope,”

GlaxoSmithKline LLC v. Banner Pharmacaps, Inc., 744 F.3d 725, 731 (Fed. Cir.



                                           49
           Case: 24-1061     Document: 17      Page: 65   Filed: 12/28/2023




2014). A structural claim that recites no performance property “raises no issue of

insufficient structural, creation-process, or other descriptions to support such a

property.” Id. at 729-30. Here, the proper inquiry should have been whether the

’516 patent specification discloses tablets that include the recited ingredients and

their respective weights. This fulfills the purpose of the written-description

requirement: namely, “to put the public in possession of what the party claims as

his own invention, so as to ascertain if he claim[s anything] that is in common use,

or is already known, and to guard against prejudice or injury from the use of an

invention which the party may otherwise innocently suppose not to be patented.”

Evans v. Eaton, 20 U.S. 356, 434 (1822).

      The ’516 patent specification adequately discloses the invention of claim 26.

It expressly discloses the inventors’ possession of a tablet formulation with the

specified amounts of eluxadoline, the four recited excipients, and the film coating.

See, e.g., Appx194, Appx196 (11:21-12:2, Table 1). Sun’s formulation expert,

Dr. Richard Gemeinhart, admitted as much, confirming that a POSA reading the

patent “could pick out that embodiment [of claim 26].” Appx5968-5974

(Gemeinhart 253:23-259:07). That should have ended the inquiry. See Allergan,

Inc. v. Sandoz Inc., 796 F.3d 1293, 1308-09 (Fed. Cir. 2015) (upholding validity

finding because “the specifications thus disclose the claimed formulation as




                                          50
           Case: 24-1061      Document: 17     Page: 66    Filed: 12/28/2023




characterized by those ingredients, and the skilled artisan would immediately

discern the claimed formulation in that disclosure”).12

      B.     The District Court Improperly Added a Functional
             Requirement to the Invention Based on Extrinsic Evidence

      Even if both claim 26 and representative claim 7 of the ’179 patent were

deemed to recite glidant-optional formulations, the district court’s

written-description analysis as to both claims was legally defective. The district

court erred as a matter of law by requiring written-description support for the

functional property of “sufficient flow characteristics”—a phrase found nowhere in

the intrinsic record—as allegedly “necessary” to the invention. Appx18-19. And

it compounded its error by imposing this requirement based almost exclusively on

extrinsic evidence.

      The district court did not rely on any clear indication in the specification that

the invention had a narrower scope than claimed. See, e.g., Alcon Research, 745

F.3d at 1191 (written description “requires an objective inquiry into the four

corners of the specification”). Instead, the district court relied on extrinsic

evidence to conclude that tablet compositions need “sufficient flow characteristics”

to be manufactured properly. Appx17-18, Appx21. In doing so, the court relied



12
  For purposes of this appeal, Plaintiffs do not contest the district court’s implicit
determination that claim 7 of the ’179 patent, which depends from claim 1,
contains a glidant-optional limitation.


                                          51
            Case: 24-1061     Document: 17     Page: 67    Filed: 12/28/2023




heavily on the testimony of Sun’s expert regarding the general formulation art, see

Appx16; Appx5815-5816 (Gemeinhart 100:23-101:04), finding that (i) a glidant’s

function is to “improve the flow characteristics of a powder mixture” and

(ii) consequently, a “POSA would understand that a glidant would be used when it

was necessary” and is not “an optional excipient,” Appx15-16.

       After improperly looking outside the patent in the first instance, the district

court then considered whether the patent itself supported its new functional

requirement. Perhaps unsurprisingly, the district court determined that a functional

limitation based on evidence outside the patent did not appear inside the patent.

The specification did not expressly discuss “sufficient flow characteristics”

because the district court looked outside the patent to find this functional concept

in the first place.

       From this inverted perspective, the district court attempted to bolster its

“sufficient flow” requirement with support from the specification’s preferred

embodiments. Specifically, the court interpreted the inclusion of a particular

glidant (colloidal silica) in preferred embodiments to mean both that the claimed

formulations must have “sufficient flow,” and that colloidal silica is “necessary” to

achieve that flow. See Appx19 (“[A] POSA would understand that using a glidant

in a formulation would be a signal that it was necessary in order to achieve

sufficient flow properties, unless noted otherwise.”).



                                          52
           Case: 24-1061       Document: 17     Page: 68    Filed: 12/28/2023




      As an initial matter, this Court has disavowed the inquiry that the district

court undertook at Sun’s behest. See, e.g., Cooper Cameron Corp. v. Kvaerner

Oilfield Products, Inc., 291 F.3d 1317, 1323 (Fed. Cir. 2002) (“[W]e did not

announce a new ‘essential element’ test mandating an inquiry into what an

inventor considers to be essential to his invention and requiring that the claims

incorporate those elements”). The district court had no warrant to define the

functional property of “sufficient flow” as essential to the invention, and proceed

to invalidate the structural claim 26 (or the mixed structural/functional claim 7 that

recites a different abuse-deterrent functional limitation that is not tied to

flowability) for failing to recite an ingredient that would supposedly perform the

unclaimed function of generating sufficient flow (i.e., a glidant). Regardless,

neither the specification, claims, nor prosecution history discusses the need for

“sufficient flow,” see, e.g., Appx5967-5968 (Gemeinhart 252:25-253:18), which

alone suffices to reject the district court’s written-description analysis.

      In any event, the district court’s logic is flawed. Even if colloidal silica

enhances flow, this does not mean that a particular formulation would necessarily

lack sufficient flow without it (or be guaranteed to have sufficient flow with that

ingredient). And embodiments—even preferred ones—do not define the invention.

As this Court has explained,

      The statements from the description of the preferred embodiment are
      simply that .… Those statements do not indicate that the invention can

                                           53
           Case: 24-1061     Document: 17      Page: 69   Filed: 12/28/2023




      only be used in such a manner. Absent a clear disclaimer of particular
      subject matter, the fact that the inventor anticipated that the invention
      may be used in a particular manner does not limit the scope to that
      narrow context.

Brookhill-Wilk 1, LLC v. Intuitive Surgical, Inc., 334 F.3d 1294, 1301 (Fed. Cir.

2003).13

      Under the district court’s logic, any tablet formulation invention in any

patent disclosing a glidant would inherently require “sufficient flow

characteristics” to form “a good final product.” Appx16, Appx19. This is not

grounds to incorporate functional limitations into structural claims like claim 26, or

to add unclaimed functional limitations to mixed structural/functional claims like

claim 7. See, e.g., Markem-Imaje Corp. v. Zipher Ltd., 657 F.3d 1293, 1300-01

(Fed. Cir. 2011) (“That [an invention] will only operate if certain elements are

included is not grounds to incorporate those elements into the construction of the

claims.”). Similarly, for written-description purposes, a court may not import

functional limitations into the specification’s description of the invention.

      The district court therefore erred by requiring specification support for an

operational requirement, namely “sufficient flow,” where nothing in the claims or

the intrinsic record warrants any such functional requirement. See, e.g., Cadence


13
  Sun never invoked specification disclaimer, and, in any event, no clear-and-
unequivocal evidence establishes that the specification necessarily requires
glidants, much less “sufficient flow.”


                                          54
           Case: 24-1061      Document: 17      Page: 70   Filed: 12/28/2023




Pharms. Inc. v. Exela Pharmsci Inc., 780 F.3d 1364, 1369 (Fed. Cir. 2015)

(holding “plain and ordinary meaning of ‘buffering agent’ does not include specific

efficacy and concentration limitations,” as there was “nothing in the intrinsic

record to warrant adding requirements of effective concentration or resistance to

material change”).

      C.     The District Court Misinterpreted ICU Medical
             to Impose a Freestanding Written-Description
             Inquiry into the Necessity of Unclaimed Features

      The district court suggested that its approach to the written-description

analysis was justified by ICU Medical, Inc. v. Alaris Medical Systems, Inc., 558

F.3d 1368 (Fed. Cir. 2009). Appx17-18. But ICU Medical does not command a

freestanding inquiry, detached from the specification, into whether a POSA would

regard unclaimed features as necessary to the invention’s operation when the

specification itself does not restrict the invention.

      Rather, unlike the district court, ICU Medical limited its inquiry to the

claims and the four corners of the specification. In ICU Medical, the patented

invention involved “medical valves used in the transmission of fluids to or from a

medical patient, such as when using an IV.” 558 F.3d at 1371. The patent

included claims to valve structures with spikes and without spikes. Id. at 1377.

      This Court found the “spikeless” claims invalid for lack of written

description. Id. at 1379. First, based on the specification, the ICU Medical court



                                           55
           Case: 24-1061      Document: 17      Page: 71   Filed: 12/28/2023




determined that spikeless valves had to perform specific functions, namely

“compression of the preslit seal by a medical implement opens the slit to create a

fluid pathway and decompression of the seal upon removal of the medical

implement closes the seal.” Id. at 1378. This Court also found that the

specification required a spike to accomplish those necessary functions. Relying

entirely on disclosures in the four corners of the specification, the Court found that

“[t]he specification describes the preslit seal as facilitating piercing and resealing,

rather than as eliminating the need for piercing,” and “repeatedly and uniformly

describes the spike as a pointed instrument for the purpose of piercing a seal inside

the valve.” Id. at 1374-75, 1378. No other structure that could have operated

without a spike was disclosed. Id. at 1378. Moreover, in contrast to the present

case, see infra at 61-62, “the asserted spikeless claims were not filed with the

original application,” ICU Medical, 558 F.3d at 1377.

      Thus, ICU Medical simply stands for the proposition that, where the

specification describes a structural component as necessary to the invention, there

is no written description for a claim without that structure. See, e.g., Crown

Packaging Tech., Inc. v. Ball Metal Beverage Container Corp., 635 F.3d 1373,

1382 (Fed. Cir. 2011) (“These claims show, as Ariad recognized many original

claims do, that the applicants had in mind the invention as claimed.”); Hynix, 645

F.3d at 1352 (“the spike was used to pierce a seal inside the valve to effectuate the



                                           56
           Case: 24-1061       Document: 17     Page: 72    Filed: 12/28/2023




invention, and … no other method was disclosed to effectuate the fluid pathway

because the specification describes only medical valves with spikes”); ScriptPro

LLC v. Innovation Assocs., Inc., 833 F.3d 1336, 1341 (Fed. Cir. 2016) (“ScriptPro

II”) (“the [ICU Medical] specification[] clearly limited the scope of the inventions

in ways that the claims clearly did not” because it “describes only medical valves

with spikes and the claims did not include a spike limitation”). Nothing in ICU

Medical supports relying on extrinsic evidence to declare a certain feature of a

preferred embodiment necessary to the invention and invalidating claims on that

basis, as the district court did.

       As this Court held in In re Peters, 723 F.2d 891 (Fed. Cir. 1983), when the

specification itself does not describe a feature as essential or critical to the

invention, a claim does not lack written-description support because it omits

features from certain embodiments of the invention. In Peters, the applicant had

claimed a display device, in which each support wall had a metal tip compressed

between it and the front wall. Id. at 892-94. The question was whether a claim

with no required tip shape was described when the specification’s embodiments all

had tapered tips. Id. at 892-94. In rejecting the written-description challenge, the

Court reasoned that “nothing in the original disclosure indicates or suggests that

the tapered shape of the tips was essential or critical to either the operation or

patentability of the invention,” nor was tip shape used to overcome or distinguish



                                           57
           Case: 24-1061      Document: 17      Page: 73    Filed: 12/28/2023




prior art. Id. at 893-94. Here, the extrinsic evidence did not establish the necessity

of glidants, see Appx6092-6093 (Berkland 377:22-378:16), but regardless,

extrinsic evidence cannot be invoked to redefine the invention described in the

specification. In short, no precedent of this Court supports the district court’s

aberrant analysis.

      D.     The District Court Improperly Placed the Burden on Plaintiffs
             to Show That the Specification Disclosed Glidants Were Optional

      Compounding the above errors, and turning the relevant inquiry on its head,

the district court faulted Allergan because “the specification makes no disclosure

about whether the use of a glidant is unimportant or just an optional component to

include in the disclosed formulations.” Appx21; see also Appx6272-6273 (557:20-

558:3) (“[I]f the spec doesn’t disclose [that the glidant is optional], it doesn’t

matter whether people know that possibility from the prior art, does it?”). In doing

so, the district court improperly “flipped” the burden of proving invalidity.

      Rather than requiring Sun to show that the specification disclosed “sufficient

flow” as critical, and thus restricted the inventive formulations to this unclaimed

feature, the district court instead required Allergan to demonstrate that the

specification disclosed a glidant as “unimportant.” See, e.g., Appx18 (“For all the

formulations disclosed in the specification, a glidant is used without any indication

that it was not required to practice the invention.”); Appx19 (“[A] POSA would

understand that using a glidant in a formulation would be a signal that it was


                                           58
           Case: 24-1061     Document: 17      Page: 74   Filed: 12/28/2023




necessary in order to achieve sufficient flow properties, unless noted otherwise.”).

This was clear legal error. As the patent challenger, Sun maintains the burden of

proving invalidity at all times. 35 U.S.C. § 282; Pfizer, Inc. v. Apotex, Inc., 480

F.3d 1348, 1359-60 (Fed. Cir. 2007).

      E.     The District Court Improperly Conflated the
             Written-Description and Enablement Requirements
      The district court also evaluated whether the specification disclosed a

formulation that would “work.” See, e.g., Appx20 (“[I]n instances where the flow

is not sufficient, a glidant is necessary, not optional.”); Appx26 (“The patent

specification does not disclose that a formulation would have sufficient flow

characteristics or work without a glidant.”). But whether or not an invention

“works” is an analysis of enablement, not written description, and conflating the

two is improper. See, e.g., Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336,

1340 (Fed. Cir. 2010).

      The district court’s inquiry into whether the claim 26 formulations “work”

due to “sufficient flow” during manufacturing is at best a question of enablement.

“[W]ritten description is … not about whether the patentee has proven to the

skilled reader that the invention works, or how to make it work, which is an

enablement issue.” Alcon Research, 745 F.3d at 1191; see also Crown Packaging,

635 F.3d at 1382 (“[Defendant’s] argument here boils down to whether the

specification ‘describe[s] the manner and process of making and using the


                                          59
           Case: 24-1061     Document: 17      Page: 75   Filed: 12/28/2023




invention …. However, [Defendant] has never asserted an enablement challenge

….”). Sun waived any enablement arguments. Appx6287 (572:11-18).

      F.     The Specification Discloses Formulations Lacking a Glidant

      Even apart from its legal errors, the district court committed clear error in

finding that “none of the formulations disclosed in the patent specification of the

asserted patents are made without a glidant.” Appx16.

      Even the “Summary of Disclosure” section makes plain that the inventive

tablet formulation can be composed of eluxadoline and just one (or more) of a total

of five “inert ingredient[s] selected from” SMCC, colloidal silica, mannitol,

crospovidone, and magnesium stearate. See Appx190-191 (4:01-5:27). Sun’s

expert, Dr. Gemeinhart, agreed that a POSA “would read the words ‘an inert

ingredient selected from’ to mean one or more of these excipients,” and that the

“selected from” language envisions embodiments that do not include all of the

listed excipients. Appx5970-5972 (255:09-259:07), Appx5971 (256:3-6);

Appx6092 (Berkland 377:4-21). Sun likewise admits that this “broad disclosure”

includes “hundreds or thousands of formulations.” See Appx15611 (¶¶ 44‑45). Of

these formulations, a glidant (i.e., the colloidal silica) would be found only in

certain of them. Appx6157 (442:5-13), Appx5829 (114:2-6).

      This is confirmed by the “preformulation” portion of the “Description of

Illustrative Embodiments,” which discloses using “one or more pharmaceutical



                                          60
           Case: 24-1061     Document: 17     Page: 76   Filed: 12/28/2023




excipients” to make “formulations of the present disclosure.” Appx194 (12:47-

54); Appx5975 (260:9-19). Once again, only one of these excipients is a glidant.

Appx25. This section also discusses a “homogenous” mixture, i.e., the end result

from “good flow.” Appx5814 (Gemeinhart 99:3-5) (testifying that “[y]ou have to

have good flow so that -- that what enters the tablet die is uniform and

homogenous….”). But as this portion of the specification discloses, only a

“preferred embodiment” need be a “homogenous mixture.” Appx194 (12:47-54).

Accordingly, the specification makes abundantly clear that a glidant, such as

colloidal silica, is “optional,” which Dr. Gemeinhart admitted. Appx5975

(Gemeinhart 260:9-19).

      The original claims of the application leading to the ’179 and ’516 patents

mirror this disclosure. “[O]riginal claims are part of the specification and in many

cases will satisfy the written description requirement.” ScriptPro II, 833 F.3d at

1341. The ’516 patent ultimately claims priority to, and shares a specification

with, U.S. Application No. 13/829,984 (“the ’984 application”). Original claim 1

of the ’984 application recites a “solid pharmaceutical dosage formulation

comprising [eluxadoline] and an inert ingredient selected from [SMCC], colloidal

silicon dioxide, crospovidone, mannitol, and magnesium stearate.” U.S. Patent

Application No. 13/829,984 (claims filed March 14, 2013). Original claim 5 and 6

depend from claim 1 and recite the amount of eluxadoline to be about 75 mg and



                                         61
           Case: 24-1061     Document: 17      Page: 77    Filed: 12/28/2023




100 mg, respectively. Id. In other words, the originally filed claims recite an

invention comprising a tablet formulation containing specific doses of eluxadoline,

where only one or more of five specified excipients is required—further

confirming that the inventors had in mind a formulation without a glidant. Crown

Packaging, 635 F.3d at 1381 (“These claims show, as Ariad recognized many

original claims do, that the applicants had in mind the invention as claimed.”).

      The district court dismissed these express specification disclosures as simply

the “basic idea to create a formulation of eluxadoline with some combination of

excipients in some proportions,” Appx25, and the “basic idea of mixing

eluxadoline with excipients and then subdividing the mixture into dosage amounts

in some form,” Appx24. These specification statements, however, identify the

various embodiments of the invention and demonstrate to a POSA, a formulator,

that there was no reason to limit the claim to any preferred embodiment. See

Honeywell Int’l, Inc. v. United States, 609 F.3d 1292, 1301 (Fed. Cir. 2010) (where

specification referred to “other display transducers” and “a wide variety of display

and vision aid devices,” there was “no reason” to limit the scope of the invention to

an embodiment). Dr. Gemeinhart admitted that these sections described a glidant

as optional and disclosed embodiments without a glidant. Appx5975 (260:9-19),

Appx5970-5974 (255:09-259:07), Appx5971 (256:3-6). The district court clearly

erred in substituting its interpretation for that of a POSA.



                                          62
           Case: 24-1061     Document: 17      Page: 78   Filed: 12/28/2023




        The district court’s written-description analysis cannot stand.

                                  CONCLUSION
      This Court should reverse the judgment as to claim 40 of the ’356 patent,

claim 26 of the ’516 patent (including the claims it represents, i.e., claim 29 of the

’516 patent and claims 6 and 16 of the ’792 patent), and claim 7 of the ’179 patent

(including the claims it represents, i.e., claims 7 and 19 of the ’291 patent and

claim 18 of the ’179 patent).



                                          Respectfully submitted,

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 Dated: December 28, 2023                   Counsel for Plaintiffs-Appellants




                                          63
           Case: 24-1061     Document: 17     Page: 79    Filed: 12/28/2023




                      CERTIFICATE OF COMPLIANCE


      Pursuant to Federal Circuit Rule 32(b)(3) and Federal Rule of Appellate

Procedure 32(g)(1), I hereby certify that the foregoing Principal Brief of Plaintiffs-

Appellants complies with the type-volume limitations in Federal Circuit Rule

32(b)(1), because it contains 13,998 words, excluding the exempted parts under

Federal Rule of Appellate Procedure 32(f) and Federal Circuit Rule 32(b)(2).


      I future certify that this brief complies with the typeface requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6) because the brief was prepared

using Microsoft Word 365 in 14-point Times New Roman font.




                                              /s/ Eric W. Dittmann

                                              Eric W. Dittmann
Case: 24-1061   Document: 17   Page: 80   Filed: 12/28/2023




                     ADDENDUM
           Case: 24-1061   Document: 17   Page: 81   Filed: 12/28/2023




                           TABLE OF CONTENTS



Page No.               Date                Description
Appx1              10/12/2023              Final Judgment
Appx5              9/27/2023               Trial Opinion
Appx73             5/18/2021               U.S. Patent No. 11,007,179
Appx183            4/26/2022               U.S. Patent No. 11,311,516
Appx14407          6/22/2010               U.S. Patent No. 7,741,356
         Case: 24-1061            Document: 17       Page: 82       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 486 Filed 10/12/23 Page 1 of 4 PageID #: 10275




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ALLERGAN USA, INC., ALLERGAN                     )
HOLDINGS UNLIMITED COMPANY and                   )
EDEN BIODESIGN, LLC,                             )
                                                 )
                        Plaintiffs,              )
                                                 )
            v.                                   )    C.A. No. 19-1727 (RGA)
                                                 )    (Consolidated)
MSN LABORATORIES PRIVATE LIMITED,                )
MSN PHARMACEUTICALS, INC., and                   )
SUN PHARMACEUTICAL INDUSTRIES                    )
LIMITED,                                         )
                                                 )
                        Defendants.              )

                                      FINAL JUDGMENT

       This action, having been tried before the Court from November 7 through November 9,

2022, Honorable Richard G. Andrews, District Judge presiding, the evidence and testimony of

witnesses of each side having been heard and a decision having been rendered:
                                               12th day of October 2023, for
       IT IS HEREBY ORDERED AND ADJUDGED this _______

the reasons set forth in the Opinion dated September 27, 2023 (D.I. 483) that:

       1.        Judgment is entered in favor of Defendant Sun Pharmaceutical Industries, Ltd.

(“Sun”) and against Plaintiffs Allergan USA, Inc., Allergan Holdings Unlimited Company,

Allergan Pharmaceuticals International Limited, Janssen Pharmaceutica NV, and Eden Biodesign,

LLC (“Plaintiffs”) on Sun’s counterclaim for invalidity of asserted Claims 7 and 18 of U.S. Patent

No. 11,007,179 (“the ’179 Patent”), asserted Claims 7 and 19 of U.S. Patent No. 11,090,291 (“the

’291 Patent”), asserted Claims 6 and 16 of U.S. Patent No. 11,160,792 (“the ’792 Patent”), and

asserted Claims 26 and 29 of U.S. Patent No. 11,311,516.




                                            Appx1
           Case: 24-1061           Document: 17       Page: 83       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 486 Filed 10/12/23 Page 2 of 4 PageID #: 10276




       2.      Judgment is entered in favor of Sun and against Plaintiffs on Sun’s counterclaim

for invalidity of asserted Claim 40 of U.S. Patent No. 7,741,356.

       3.      Judgment is entered in favor of Defendants MSN Laboratories Private Limited and

MSN Pharmaceuticals, Inc. (together, “MSN”) and against Plaintiffs on MSN’s counterclaim for

invalidity of asserted Claims 11 and 23 of the ’291 Patent, and asserted Claim 27 of the U.S. Patent

No. 11,229,627.

       4.      Judgment is entered in favor of Plaintiffs and against Sun on Sun’s counterclaims

and defenses of unclean hands and patent misuse. (D.I. 444; D.I. 457 at 3:3-4:20.) All other

counterclaims asserted by Sun and/or MSN in this action are hereby dismissed without prejudice

as moot.

       5.      The following Complaints (or Counts of Complaints) alleging patent infringement

against Sun and MSN are hereby dismissed with prejudice as part of this final judgment:

            a. Count 4 of the original Complaint alleging patent infringement by the product

               described in MSN’s ANDA No. 213576 (see PTX-038) of the ’587 and ’632

               Patents (D.I. 1);

            b. Count 5 of the original Complaint alleging patent infringement by the product

               described in Sun’s ANDA No. 213447 (see PTX-070) of the ’587 and ’632 Patents

               (D.I. 1);

            c. Complaint against MSN alleging patent infringement by the product described in

               MSN’s ANDA No. 213576 (see PTX-038) of the ’179 Patent, the ’291 Patent, and

               the ’792 Patent (D.I. 257);




                                                 2



                                             Appx2
         Case: 24-1061            Document: 17            Page: 84       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 486 Filed 10/12/23 Page 3 of 4 PageID #: 10277




             d. Complaint against Sun alleging patent infringement by the product described in

                Sun’s ANDA No. 213447 (see PTX-070) of the ’179 Patent, the ’291 Patent, and

                the ’792 Patent (D.I. 259);

             e. Complaint against MSN alleging patent infringement by the product described in

                MSN’s ANDA No. 213576 (see PTX-038) of the ’627 Patent and the ’516 Patent

                (D.I. 341);

             f. Complaint against Sun alleging patent infringement by the product described in

                Sun’s ANDA No. 213447 (see PTX-070) of the ’627 Patent and the ’516 Patent

                (D.I. 343).

        6.      This Final Judgment resolves all claims and counterclaims asserted in this

consolidated action (19-1727), and in related cases 1:21-cv-1064; 1:22-cv-181; 1:21-cv-1065;

1:22-cv-182; and 1:20-cv-1479.

        7.      The deadline for seeking costs under Fed. R. Civ. P. 54(d) and/or Local Rule 54.1

is hereby stayed until thirty (30) days after: (a) the issuance of any mandate from any appeal taken

in this action; or (b) the date after which the deadline for filing a notice of appeal in this matter has

expired, whichever is later. The parties shall each bear their own attorneys’ fees.

MORRIS, NICHOLS, ARSHT & TUNNELL LLP                   HEYMAN ENERIO GATTUSO & HIRZEL LLP

/s/ Jeremy A. Tigan                                    /s/ Dominick T. Gattuso

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Attorneys for Plaintiffs


                                                   3



                                               Appx3
        Case: 24-1061     Document: 17         Page: 85      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 486 Filed 10/12/23 Page 4 of 4 PageID #: 10278




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                                            Attorneys for Defendants MSN Laboratories
                                            Private Limited and MSN Pharmaceuticals, Inc.
October 11, 2023




              SO ORDERED this _______           October
                               12th day of _____________________, 2023.



                                     /s/ Richard G. Andrews
                                    UNITED STATES DISTRICT JUDGE




                                        4



                                     Appx4
         Case: 24-1061            Document: 17   Page: 86      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 1 of 43 PageID #: 10226



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ALLERGAN USA, INC., ALLERGAN
 HOLDINGS UNLIMITED COMPANY, and
 EDEN BIODESIGN, LLC.,

                Plaintiffs,
                                                     Civil Action No. 19-1727-RGA
       V.
                                                             (consolidated)
 MSN LABORATORIES PRIVATE LIMITED,
 MSN PHARMACEUTICALS INC., and SUN
 PHARMACEUTICAL INDUSTRIES
 LIMITED,

                Defendants.


 ALLERGAN USA, INC. , ALLERGAN
 HOLDINGS UNLIMITED COMPANY,
 ALLERGAN PHARMACEUTICALS and
 JANSSEN PHARMACEUTICA NV,

                Plaintiffs,
                                                     Civil Action No. 20-1479-RGA
        V.

 SUN PHARMACEUTICAL INDUSTRIES
 LIMITED,

               Defendant.


                                       TRIAL OPINION

Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT & TUNNELL LLP,
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                                          Appx5
         Case: 24-1061         Document: 17        Page: 87      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 2 of 43 PageID #: 10227




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 Inc.




 September 27, 2023




                                               2




                                           Appx6
             Case: 24-1061          Document: 17             Page: 88     Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 3 of 43 PageID #: 10228




A~ ~ ~E:

           Allergan brought this action against Sun Phannaceutical Industries Limited ("Sun"), MSN

Laboratories Private Limited and MSN Phannaceuticals Inc. (together, "MSN") for patent

infringement under 35 U.S.C. § 271(e)(2)(A).

           Allergan asserts Sun infringes U.S. Patent Nos. 11 ,007,179 (the"' 179 patent"), 11 ,090,291

(the '"291 patent"), 11,160,792 (the "'792 patent"), 11 ,3 11 ,516 (the"' 516 patent") and 7,741 ,356

(the "' 356 patent"). (D.I. 469, 11 ; D.I. 461 , 114; D.I. 414-1 , Ex. 1, 1113).1 Sun contends the

asserted claims of those patents are invalid. (D.I. 461 , 113-4).

           Allergan asserts MSN infringes U.S. Patent No. 11,229,627 (the "' 627 patent") and the

 '291 patent. (D.I. 461 , 116; D.I. 469, 12). MSN contends the asserted claims of the two patents

 are invalid. (D.I. 461 , 13).

           I held a three-day bench trial. (D.I. 457-459).

           I have considered the parties' post-trial submissions. (D.I. 461 , 462, 468, 469, 471 , 477,

 478). Having considered the documentary evidence and testimony, I make the following findings

 of fact and conclusions oflaw pursuant to Federal Rule of Civil Procedure 52(a).

 I.        BACKGROUND
           Allergan holds New Drug Application ("NDA") No. 206940 for VIBERZI® eluxadoline2

 tablets. "VIBERZI® is approved for the treatment of irritable bowel syndrome with diarrhea

 ("IBS-D") in adults." (D.I. 414-1 , Ex. 1,181).



 1
      References to the docket are to C.A. 19-1727, unless otherwise noted.
 2
   "Eluxadoline is the S,S configuration of the compound having the chemical name 5-( {[2-
 Amino-3- (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-
 ethyl]-amino }- methyl)-2-methoxy benzoic acid." (D.I. 414-1, Ex. 1, 16).

                                                     1




                                                 Appx7
            Case: 24-1061           Document: 17        Page: 89        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 4 of 43 PageID #: 10229




         Sun submitted Abbreviated New Drug Application ("ANDA") No. 213447 under§ 355G)

of the Federal Food, Drug, and Cosmetic Act seeking FDA approval to engage in the commercial

manufacture, market, and sell a generic version of Allergan's VIBERZI® eluxadoline tablets. (D.I.

414-1 , Ex. 1, ,r 107). In doing so, Sun filed "Paragraph IV" certifications pursuant to 21 U.S.C. §

355G)(2)(A)(vii)(IV) for U.S. Patent Nos. 9,675,587 (the '" 587 patent") and 10,188,632 (the "' 632

patent"). (Id. , Ex. 1, ,r,r 107-08). Sun later filed a Paragraph IV certification for the '356 patent.

 (Id. , Ex. 1, ,r 110).

           MSN submitted ANDA No. 213576 under § 355G) of the Federal Food, Drug, and

 Cosmetic Act seeking FDA approval to engage in the commercial manufacture, market, and sell a

 generic version of Allergan' s VIBERZI® eluxadoline tablets. (Id., Ex. 1, ,r 90). In doing so, MSN

 filed Paragraph IV certifications for U.S. Patent Nos. 8,691 ,860 (the '" 860 patent"), 9,115,091 (the

 "' 091 patent"), 9,364,489 (the "'489 patent"), 9,789,125 (the"' 125 patent"), and the ' 587 and ' 632

 patents. (Id., Ex. 1, ,r 90).

          Allergan filed its Complaint against MSN alleging infringement of the ' 860, ' 091 , '489,

 '587, ' 125, and ' 632 patents. (D.I. 1 at 26). On that same day, Allergan filed its Complaint against

 Sun alleging infringement of the '587 and ' 632 patents. (Id.).

          Over the course of the litigation in this case, Allergan filed continuation applications and

 prosecuted patents belonging to the patent family at issue. Allergan later obtained U.S . Patent Nos.

 11 ,007,179 (the "' 179 patent"), 11 ,090,291 (the "'291 patent"), and 11 ,160,792 (the "'792

 patent"), 11 ,229,627 (the "' 627 patent") and 11 ,3 11 ,5 16 (the "' 516 patent") and asserted them

 against Sun and MSN as the patents issued. (See D.I. 414-1, Ex. 1, ,r,r 94-106, 114-129). "The

 '587, ' 632, '179, '291, '792, ' 516, ' 627, and '3 56 patents have been listed for NDA No. 206940

 in the Orange Book." (Id. , Ex. 1, ,r 84 ).

                                                   2




                                               Appx8
           Case: 24-1061           Document: 17           Page: 90         Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 5 of 43 PageID #: 10230




        Allergan filed a separate action alleging infringement of the ' 356 patent by Sun. (C.A. 20-

 1479, D.I. 1). That action was consolidated with this one. (D.I. 365).

        Allergan and Sun stipulated that Sun would infringe the asserted claims of the ' 179, '291 ,

 ' 792, ' 516, and ' 356 patents if the claims are valid (D.I. 409; C.A. No. 20-1479-RGA, D.I. 53).

Allergan and Sun stipulated to the dismissal of claims and counterclaims concerning the ' 587 and

 ' 632 patents. (D.I. 443).

         At trial, the only issues between Allergan and Sun were whether the asserted claims of the

 ' 179, ' 291 , ' 792, ' 516, and ' 356 patents are invalid. Sun argues the asserted claims of the ' 179,

 ' 291 , ' 792, and ' 516 patents are invalid for lack of written description. (D.I. 462 at 5-13). Ifl were

 to find that the asserted claims have sufficient written description, then Sun argues the asserted

 claims of those patents are obvious. (Id. at 21-23). Sun contends that the asserted claim of the ' 356

 patent is invalid for obviousness-type double patenting. (Id. at 23-25).

         Allergan and Sun stipulated that claim 26 of the ' 516 patent and claim 7 of the ' 179 patent

 are representative of the asserted claims of the ' 179, ' 291 , ' 792, and ' 516 patents. (D.I. 433 at 2).

         The relevant claims from the ' 516 patent read as follows:

         1. A pharmaceutical tablet comprising:
         about 75 mg of [eluxadoline],
         about 60-80% by weight filler;
         about 2-8% by weight disintegrant;
         about 10% by weight mannitol.

 (JTX-006, cl. 1).

         26. The pharmaceutical tablet of claim 1, comprising:
         about 75 mg of [eluxadoline] ;
         about 390 mg-450 mg silicified microcrystalline cellulose;
         about 30 mg crospovidone;
         about 60 mg mannitol;
         about 4.5 mg magnesium stearate; and
         about 18 mg of a film coating,

                                                     3




                                                 Appx9
           Case: 24-1061             Document: 17             Page: 91         Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 6 of 43 PageID #: 10231




        wherein the nominal weight of the tablet without the film coating is about 600 mg
        and the total weight of the tablet is about 618 mg.

(JTX-006, cl. 26).

        The relevant claims of the ' 179 patent read as follows :

         1. An abuse-deterrent, mono-phasic pharmaceutical tablet comprising:
         about 75 mg of [eluxadoline],
         about 60-80% by weight silicified microcrystalline cellulose;
         crospovidone;
         about 5-15% by weight mannitol; and
         optionally, a glidant and/or lubricant.

(JTX-002, cl. 1).

         3. The tablet of claim 1, compnsmg about 65-75% by weight silicified
         microcrystalline cellulose, and about 7.5-12.5 % by weight mannitol.

         4. The tablet of claim 3, comprising about 3-7% by weight crospovidone and a
         lubricant.

         5. The tablet of claim 4, wherein the lubricant is magnesium stearate present in an
         amount of about 0.55-0.95% by weight.

         6. The tablet of claim 5, comprising:
         about 75 [eluxadoline] ;
         about 390 mg-450 mg of silicified microcrystalline cellulose;
         about 18 mg-42 mg crospovidone;
         about 45 mg-75 mg of mannitol; and
         about 3.3 mg-5.7 mg of magnesium stearate.

         7. The tablet of claim 6, comprising:
         about 75 mg of [eluxadoline] ;
         about 390 mg-450 mg of silicified microcrystalline cellulose;
         about 30 mg of crospovidone;
         about 60 mg of mannitol; and
         about 4.5 mg of magnesium stearate.

 (JTX-002, cl. 3-7).

         Allergan and MSN stipulated to dismissal of the claims and counterclaims concerning the

 ' 860, ' 091 , '489, ' 125, ' 356, ' 792, ' 179, ' 632, ' 516, and ' 587 patents. (D.I. 353 ; D.I. 452). Allergan


                                                        4




                                                   Appx10
           Case: 24-1061           Document: 17           Page: 92     Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 7 of 43 PageID #: 10232




and MSN stipulated that MSN would infringe the asserted claims of the ' 291 and ' 627 patent if

the claims are valid. (D.I. 408 at 2; 414-1 , Ex. 1, ,r,r 174-75).

         At trial, the only issues between Allergan and MSN were whether the asserted claims of

the ' 627 and ' 291 patents are invalid. MSN argues the asserted claims are invalid for lack of written

 description and lack of enablement. (D.I. 462 at 13-21 ). If I were to find the asserted claims have

 adequate written description and are enabled, then MSN argues the asserted claims are obvious.

 (Id. at 21-23).

         Allergan and MSN stipulated that claim 27 of the ' 627 patent and claim 11 of the '291

 patent are representative of all asserted claims against MSN. (D.I. 432 at 1-2).

         Claim 27 of the '627 patent reads as follows :

         27. A pharmaceutical tablet comprising:
         about 75 mg or about 100 mg of [eluxadoline] ;
         about 60-80% by weight filler;
         about 7.5-12.5% by weight mannitol;
         about 3-7% by weight disintegrant;
         colloidal silicon dioxide; and
         about 0.45-1 % by weight magnesium stearate.

 (JTX-005, cl. 27).

         Claim 11 of the '291 patent reads as follows:

         11 . An abuse-deterrent, mono-phasic pharmaceutical tablet comprising:
         about 75 mg of [eluxadoline] ;
         about 390 mg[-]450 mg filler;
         about 12 mg[-]48 mg disintegrant;
         about 60 mg of mannitol;
         colloidal silica; and
         magnesium stearate.

 (JTX-003, cl. 11).




                                                    5




                                               Appx11
           Case: 24-1061          Document: 17          Page: 93        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 8 of 43 PageID #: 10233




         The asserted patents, except for the ' 356 patent, have a shared specification. (D.I.

469, ,r 10). 3

II.      LEGAL STANDARDS

         A.      Written Description

         The written description requirement contained in 35 U.S.C. § 112 requires that the

 specification "clearly allow persons of ordinary skill in the art to recognize that [the inventor]

 invented what is claimed." Ariad Pharms. , Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

 2010) (en bane) (alteration in original). "In other words, the test for sufficiency is whether the

 disclosure of the application relied upon reasonably conveys to those skilled in the art that the

 inventor had possession of the claimed subject matter as of the filing date." Id. "When determining

 whether a specification contains adequate written description, one must make an ' objective inquiry

 into the four corners of the specification from the perspective of a person of ordinary skill in the

 art. "' Bos. Sci. Corp. v. Johnson &Johnson, 647 F.3d 1353, 1366 (Fed. Cir. 2011) (quotingAriad,

 598 F.3d at 1351). The written description inquiry is a question of fact. Ariad, 598 F.3d at 1351.

         B.      Enablement

         A patent' s "specification must enable the full scope of the invention as defined by its

 claims." Amgen Inc. v. Sanofi, 143 S. Ct. 1243, 1254 (2023). For a patent claim to be enabled, the

 patent specification must "contain a written description of the invention, and of the manner and

 process of making and using it, in such full, clear, concise, and exact terms as to enable any person

 skilled in the art to which it pertains, or with which it is most nearly connected, to make and use

 the same[.]" 35 U.S.C. § l 12(a). "The enablement requirement is met where one skilled in the art,



 3
   Unless otherwise noted, I cite only to the specification of the ' 179 patent (JTX-002) when
 referring to the patent specification of the asserted patents.
                                                    6




                                              Appx12
          Case: 24-1061           Document: 17           Page: 94        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 9 of 43 PageID #: 10234




having read the specification, could practice the invention without 'undue experimentation. '"

Streck, Inc. v. Rsch. & Diagnostic Sys. , Inc., 665 F.3d 1269, 1288 (Fed. Cir. 2012) (citation

omitted); see also Amgen, 143 S. Ct. at 1255 (" (A] specification may call for a reasonable amount

of experimentation to make and use a patented invention. What is reasonable in any case will

depend on the nature of the invention and the underlying art."). Factors for assessing whether a

disclosure would require undue experimentation include:

         (1) the quantity of experimentation necessary, (2) the amount of direction or
         guidance presented, (3) the presence or absence of working examples, (4) the
         nature of the invention, (5) the state of the prior art, (6) the relative skill of those
         in the art, (7) the predictability or unpredictability of the art, and (8) the breadth of
         the claims.

In re Wands , 858 F.2d 731 , 737 (Fed. Cir. 1988).

        "Enablement is a question of law based on underlying facts. " Wyeth & Cordis Corp. v.

Abbott Lab ys, 720 F.3d 1380, 1384 (Fed. Cir. 2013 ). The party challenging validity must prove

 lack of enablement by clear and convincing evidence. Cephalon, Inc. v. Watson Pharms., Inc. , 707

 F.3d 1330, 1336 (Fed. Cir. 2013).

        C.      Obviousness

        A patent claim is invalid as obvious under 35 U.S.C. § 103 "if the differences between the

 claimed invention and the prior art are such that the claimed invention as a whole would have been

 obvious before the effective filing date of the claimed invention to a person having ordinary skill

 in the art to which the claimed invention pertains." 35 U.S.C. § 103; see also KSR Int '! Co. v.

 Teleflex Inc. , 550 U.S. 398, 406-07 (2007). "As patents are presumed valid, a defendant bears the

 burden of proving invalidity by clear and convincing evidence." Shire, LLC v. Amneal Pharms.,

 LLC, 802 F.3d 1301 , 1306 (Fed. Cir. 2015) (cleaned up). "Under§ 103, the scope and content of

 the prior art are to be determined; differences between the prior art and the claims at issue are to

                                                    7




                                               Appx13
          Case: 24-1061           Document: 17          Page: 95        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 10 of 43 PageID #: 10235




 be ascertained; and the level of ordinary skill in the pertinent art resolved. Against this background,

 the obviousness or nonobviousness of the subject matter is determined." KSR, 550 U.S. at 406

 (citations and quotation marks omitted).

        A court is required to consider secondary considerations, or objective indicia of

 nonobviousness, before reaching an obviousness determination, as a "check against hindsight

 bias." See In re Cyclobenzaprine Hydrochloride Extended-Release Capsule Patent Litig., 676 F.3d

 1063, 1078-79 (Fed. Cir. 2012). "Such secondary considerations as commercial success, long felt

 but unsolved needs, failure of others, etc., might be utilized to give light to the circumstances

 surrounding the origin of the subject matter sought to be patented." Graham v. John Deere Co. of

 Kansas City, 383 U.S. 1, 17-18 (1966).

         D.     Obviousness-Type Double Patenting

        "Obviousness-type double patenting is a judicially-created doctrine designed to prevent

 claims in separate applications or patents that do not recite the ' same' invention, but nonetheless

 claim inventions so alike that granting both exclusive rights would effectively extend the life of

 patent protection." In re Hubbell, 709 F.3d 1140, 1145 (Fed. Cir. 2013) (internal quotation marks

 omitted). Under this doctrine, the court must determine "whether the claimed invention in the

 application for the second patent would have been obvious from the subject matter of the claims

 in the first patent, in light of the prior art." In re Langi, 759 F.2d 887, 893 (Fed. Cir. 1985). In

 order to do so, the court applies a two-step analysis: "First, the court construes the claim[s] in the

 earlier patent and the claim[ s] in the later patent and determines the differences. Second, the court

 determines whether those differences render the claims patentably distinct." Abbvie Inc. v.

 Mathilda & Terence Kennedy Inst. of Rheumatology Trust, 764 F.3d 1366, 1374 (Fed. Cir. 2014)



                                                    8




                                               Appx14
             Case: 24-1061           Document: 17           Page: 96        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 11 of 43 PageID #: 10236




 (internal quotation marks omitted). "A later claim that is not patentably distinct from ... an earlier

 claim is invalid for obviousness-type double patenting." Id. (internal quotation marks omitted).

           For a patent to qualify as an obviousness-type double patenting ("ODP") reference, its

 expiration date must fall before that of the challenged patent. Gilead Scis. , Inc. v. Natco Pharma

 Ltd. , 753 F.3d 1208, 1215-17 (Fed. Cir. 2014). "ODP for a patent that has received [patent-term

 adjustment ("PTA")], regardless [of] whether or not a terminal disclaimer is required or has been

 filed, must be based on the expiration date of the patent after PTA has been added." In re Cellect,

 LLC, -         F.4th - -, 2023 WL 5519716, at *9 (Fed. Cir. Aug. 28, 2023).

 III.      WRITTEN DESCRIPTION (SUN)

           A.       Findings of Fact

        1. A person of ordinary skill in the art (POSA) is a person who possesses a Ph.D. in chemistry,
           pharmaceutical sciences, or related disciplines and at least one year' s experience
           formulating pharmaceutical products and the ability to operate independently on
           formulation development activities. (D.I. 461 , ,r,r 19-20; D.I. 469, ,r,r 36-37). Alternatively,
           a POSA may have a lesser degree but would have more than one year of experience
           working in those fields, such that the total level of knowledge would be equivalent. (D.I.
           461 , ,r,r 19-20; D.I. 469, ,r,r 36-37). Furthermore, because drug development involves a
           multidisciplinary approach, a POSA may interface, consult, or work in a group with
           individuals having specialized expertise, for example, a physician with experience in the
           administration, dosing, and efficacy of drugs for the treatment of a particular disease state.
           (D.I. 461 , ,r 19-20; D.I. 469, ,r,r 36-37). 4

        2. The priority date of the ' 179, '291 , ' 792, and '5 16 patents is March 14, 2013. (D.I. 414-1 ,
           Ex. 1, ,r 196).

        3. A POSA would understand that the term "glidant" is a common category of excipient used
           in pharmaceutical formulations. (D.I. 469, ,r 8; D.I. 461 , ,r 22; Tr. 197:11-23:
           (Gemeinhart)). A POSA would understand that a glidant is an agent used to improve the
           flow characteristics of a powder mixture. (D.I. 461 , ,r26; D.I. 469, ,r 8; Tr. 68:20-21 , 69:6-

 4
   Allergan's and Defendants' definitions of POSA differ slightly. "Both [Allergan' s] and
 Defendants' experts agree that their opinions would be the same regardless of whether the Court
 adopts [Allergan's] or Defendants' definition of a POSA." (D.I. 469, ,r 38; see also D.I. 461 , ,r 18).
 Therefore, while I adopt Defendants' definition, I note that adopting Allergan' s definition instead
 would not change my conclusions.

                                                       9




                                                  Appx15
             Case: 24-1061           Document: 17         Page: 97        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 12 of 43 PageID #: 10237




            8 (Costello); Tr. 101:22-102:2, 103:7-8 (Gemeinhart); JTX-023 (Ansel) at 36; JTX-060
            (Remington) at 862; JTX-008 (Armstrong) at 7).

       4. A POSA would understand that in some cases a glidant may be necessary. (JTX-008
          (Armstrong) at 10); Tr. 247:10-18, 312:5-9 (Gemeinhart)). A POSA would understand that
          a glidant would be used when it is necessary. (Tr. 247:10-18 (Gemeinhart); JTX-008
          (Armstrong) at 10). A POSA would not understand that a glidant is, "by definition," an
          optional excipient.

       5. A POSA would recognize that colloidal silica and colloidal silicon dioxide are glidants.
          (Tr. 177:5-8 (Gemeinhart); Tr. 383:22-24 (Berkland)).

       6. None of the formulations disclosed in the patent specification of the asserted patents are
          made without a glidant. (Tr. 141 :13-142: 13 (Gemeinhart); Tr. 421:1-18 (Berkland)).

       7.    The discussion in the patent specification regarding preparing a preformulation
            composition (JTX-002 (' 179 patent) at col. 12:52-67) refers to an overview of the general
            manufacturing process of the invention, not a preliminary testing step. A POSA would not
            understand this paragraph to disclose that a glidant was optional or that the patentee was in
            possession of a glidant-optional formulation.

       8. A POSA reading the patent specification would not have understood that a glidant was an
          optional excipient for practicing the invention.

       9. A POSA reading the patent specification would not have understood the patentee to possess
          a formulation of eluxadoline in which a glidant is optional.

            B.     Conclusions of Law

            Sun asserts there is no written description support for claims that do not require a glidant.

 (D.I. 462 at 5-13). Claim 26 of the ' 516 patent (JTX-006 (' 516 patent), cl. 26) and claim 7 of the

 '1 79 patent do not list a glidant as a limitation. Claim 7 of the ' 179 patent depends from an

 independent claim that recites a glidant-optional limitation. (See , JTX-002 (' 179 patent), cl. 1, 3-

 7).

            A glidant is an agent that is used to improve the flow characteristics of a powder mixture.

 (D.I. 461 , 1 26; D.I. 469, 1 8; Tr. 68 :20-21 , 69 :6-8 (Costello); Tr. 101 :22-102:2, 103:7-8

 (Gemeinhart)). " [W]ithout that ability to flow, you won't have a good final product." (Tr. 101 :2-4




                                                 Appx16
           Case: 24-1061          Document: 17           Page: 98       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 13 of 43 PageID #: 10238




 (Gemeinhart); see generally Tr. 100:16-101:16 (Gemeinhart); Tr. 363 :19-364:3, 366:3-16

 (Berk.land)).

         Sun contends that because the specification only discloses formulations that contain a

 glidant and "nothing in the specification describes, or even suggests, that the inventors possessed

 a formulation without a glidant" (D.I. 462 at 6), the claims are invalid for lack of written

 description. Sun argues that this case is analogous to ICU Med. , Inc. v. Alaris Med. Sys. , Inc., 558

 F.3d 1368 (Fed. Cir. 2009). (D.I. 462 at 6). I agree.

         As of the priority date, eluxadoline, as a compound, was already known in the art. (See

 JTX-024 (Breslin) at 96; Tr. 172:8-22 (Gemeinhart); 472:14-473 :6 (Berk.land)). The inventions of

 the asserted patents are oral formulations of eluxadoline and the processes for preparing and

 administering those formulations . (See, e.g., JTX-002 (' 179 patent) at col. 1:23-28). The patent

 specification, however, only discloses a relatively narrow group of eluxadoline formulations. (Tr.

 421: 1-3 (Berk.land)). In each of those formulations, a glidant (e.g., colloidal silica) is used. (Tr.

 142:3-9 (Gemeinhart); see, e.g. , JTX-002 (' 179 patent) at col. 11:23-12:3, 13: 1-56, 16: 10-17:40).

 The patent specification does not disclose that the patentee possessed a formulation of eluxadoline

 that either lacks a glidant or signaled to a POSA that the inclusion of a glidant in those formulations

 is optional (e.g., that the formulation(s) would have sufficient flow without a glidant).

         I agree with Sun that this case is analogous to ICU Med. , 558 F.3d 1368. In ICU Med. , the

 patent specification only described medical valves with spikes, but the patent claimed medical

 valves without spikes (i.e., spikeless medical valves or "spike-optional" medical valves). Id. at

 1377. The Federal Circuit reasoned that a POSA "would not understand the . .. patents to have

 invented the spikeless medical valve" because "the specification describes only medical valves

 with spikes." Id. at 1378. Just as spikeless claims in ICU Med. lacked adequate written description

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                                               Appx17
           Case: 24-1061           Document: 17          Page: 99       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 14 of 43 PageID #: 10239




 because the specification failed to disclose a spikeless valve, the asserted claims here lack written

 description because the specification fails to disclose a formulation that does not have a glidant or

 where a glidant would be understood as optional.

        For all the formulations disclosed in the patent specification, a glidant is used without any

 indication that it was not required to practice the invention. For example, there is nothing to signal

 to a POSA that without a glidant the formulations would have sufficient flow characteristics. Of

 course, patents are not limited to the specific embodiments disclosed in the specification. But the

 specification here fails to show that the patentee was in possession of a formulation in which the

 inclusion of the glidant was optional. Therefore, I find that a POSA would not understand the

 specification to indicate that a glidant is optional.

         Allergan counters with three arguments. I address each one in turn.

         First, Allergan argues that a POSA would understand that a glidant, "by definition" (D.I.

 469, 1 43), is optional, and therefore the patent specification does not need to explicitly disclose

 that a glidant is optional (see D.I. 468 at 12 ("The shared specification need not have explained to

 a POSA that glidants are optional manufacturing aids; that was already a well-known fact."); see

 also D.I. 468 at 10-12). I understand Allergan to be arguing that a POSA would presume that a

 glidant is not required to practice the invention. Allergan cites for support a pamphlet of

 PROSOL V SMCC, which discloses that a glidant is typically not required when PROSOL V

 SMCC is used (D.I. 468 at 10; D.I. 469, 139 (citing (JTX-025 at 3)), and Desai, which discloses

 that silicified microcrystalline cellulose (SMCC) has "superior flow properties" without the

 addition of a glidant (D.I. 468 at 10; D.I. 469 139 (citing JTX-011 (Desai) at 6)). The asserted

 claims against Sun recite using SMCC as a claim limitation. (JTX-006 ('516 patent), cl. 26; JTX-



                                                    12




                                                Appx18
         Case: 24-1061           Document: 17          Page: 100        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 15 of 43 PageID #: 10240




 002 (' 179 patent), cl. 7). Allergan maintains that a POSA would possess this knowledge and a

 POSA would understand from this knowledge that a glidant is optional in the invention.

        I disagree with Allergan that a POSA would understand that a glidant, by definition, is an

 optional excipient. While a glidant may not be required to produce all pharmaceutical

 formulations, a POSA would understand that a glidant can be necessary in some instances and,

 more importantly, that a glidant is used when it is necessary. (JTX-008 (Armstrong) at 10 ("Almost

 invariably a lubricant must be added, and a glidant and a disintegrating agent included when

 necessary.")). While Dr. Berk.land testified that a glidant is not required for a formulation to form

 (Tr. 364:18-21 , 365 :5-6), he qualified his answer by explaining that "as long as all the ingredients

 mix well, you would not need to add [a glidant]" (Tr. 365 :5-8). This is consistent with Dr.

 Gemeinhart's testimony (Tr. 312:5-9), as well as Armstrong (JTX-008 at 7, 10). I find a POSA

 would generally understand that a glidant can be necessary for some formulations (e.g., those that

 have insufficient flow characteristics or do not mix well) and a POSA would understand that using

 a glidant in a formulation would be a signal that it was necessary in order to achieve sufficient

 flow properties, unless noted otherwise.

        I do not think the PROSOLV SMCC pamphlet (JTX-025), nor Desai (JTX-011) discloses

 that a glidant is optional "by definition." The PROSOLV SMCC pamphlet is not cited to nor

 incorporated into the patent specification. Even if it were, the PROSOL V SMCC pamphlet merely

 discloses that a glidant is not needed under typical uses, not that a glidant is never required when

 PROSOL V SMCC is used. (JTX-025 at 3 (listing "No additional CSD/glidants needed" as a

 "typical" reduction in excipient when used); Tr. 439:2-12 (Berk.land)). Similarly, Desai just

 discloses that SMCC has enhanced flow properties without the addition of a glidant (JTX-011 at

 6 ("Controlled optimal particle size and particle-size distribution ensures superior flow properties

                                                  13




                                              Appx19
            Case: 24-1061         Document: 17          Page: 101        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 16 of 43 PageID #: 10241




 of coprocessed excipients without the need to add glidants.")), but it does not state that a glidant

 is never required when SMCC is used. (JTX-011 (Desai) at 6; Tr. 244:13-20 (Gemeinhart)).

 Therefore, I disagree that a POSA's knowledge about SMCC would lead a POSA to understand

 that a glidant is optional "by definition," let alone optional in the claimed invention.

           Allergan seems to equate something that is sometimes necessary as being optional, but

 those conditions do not mean the same thing. As discussed above, in instances where the flow is

 not sufficient, a glidant is necessary, not optional. Therefore, I do not think Allergan's first

 argument demonstrates that a POSA would understand a glidant to be optional for practicing the

 claimed invention.

           Second, Allergan argues that a glidant is not essential to the invention and that a POSA

 would understand that whether a glidant is included in the formulation is not important to the

 invention. (D.I. 468 at 8-10). Allergan cites In re Peters, 723 F.2d 891 (Fed. Cir. 1983), to argue

 that a formulation without a glidant does not need to be described because the inclusion of a glidant

 is not essential to practicing the invention. Allergan contends the present case is analogous to

 Peters because "no prior art was distinguished or rejection overcome by relying on a glidant as a

 feature, and a POSA would understand that a glidant was unimportant to the invention." (D.I. 468

 at 10).

           But Peters is distinguishable. In Peters, the Federal Circuit determined that there was

 adequate written description for a display device that did not have tapered tips, despite the

 specification only providing examples with tapered tips. The Federal Circuit determined that the

 claims that lacked the tapered tip limitation omitted an "unnecessary limitation." Peters, 723 F.2d

 at 893. The Federal Circuit explained, "Most importantly, one skilled in the art would readily



                                                   14




                                              Appx20
         Case: 24-1061            Document: 17         Page: 102       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 17 of 43 PageID #: 10242




 understand that in practicing the invention it is unimportant whether the tips are tapered, and the

 board erred in determining the contrary." Id. The Federal Circuit further elaborated,

        What is important, says the patent, is that the tips withstand forces of atmospheric
        pressure loading. The teaching of the patent that metal tips permit a less thick
        support member than is possible with the glass support walls of the prior art is not
        affected by whether the metal tips are tapered.

 Id. at 894. Peters is distinguishable because the knowledge of a POSA and the specification

 supported the reasoning that tapered tips were unnecessary.

        As discussed above, I do not believe that a POSA would "readily understand" that

 including a glidant is unimportant in pharmaceutical formulations. Furthermore, the specification

 in Peters explained what was required of the tips (i.e., withstanding forces of atmospheric pressure

 loading) and that the disclosure of tapered metal tips was an example to satisfy that requirement.

 In the present case, however, the specification makes no disclosure about whether the use of a

 glidant is unimportant or just an optional component to include in the disclosed formulations. See

 infra Section III.B.1-2. While a POSA would understand that a formulation needs to have

 sufficient flow, a POSA would not understand that the formulations of the claimed invention would

 have sufficient flow without a glidant based on the disclosure of the patent specification.

 Therefore, I find Peters to be inapposite and I reject Allergan's second argument.

        Third, Allergan contends that the specification describes that a glidant is optional. (D.I.

 468 at 13-14). Allergan cites a paragraph it characterizes as "the description of the ' general

 process"' (JTX-002 (' 179 patent) at col. 12:52-67) and a discussion in the background section that

 describes embodiments that include eluxadoline and only one other excipient (JTX-002 (' 179

 patent) at col. 4:4-5:33). (D.I. 468 at 12).

         1. Preformulation Process Description


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                                                Appx21
         Case: 24-1061           Document: 17          Page: 103        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 18 of 43 PageID #: 10243




        The first paragraph Allergan relies upon recites,

        For preparing formulations of the present disclosure, such as tablets, [eluxadoline]
        is mixed with one or more pharmaceutical excipients to form a solid preformulation
        composition containing, in preferred embodiments, a homogeneous mixture of the
        excipient(s) with the active ingredient. When referring to these preformulation
        compositions as "homogeneous," it is meant that the active ingredient are [sic]
        dispersed evenly throughout the composition so that the composition may be
        readily subdivided into equally effective unit dosage forms such as tablets or
        capsules. This solid preformulation is then subdivided into unit dosage forms of the
        type described above containing from, for example, about 10 to about 200
        milligrams of the active ingredient.

 (JTX-002 (' 179 patent) at col. 12:52-67). The parties dispute the mearung of the term

 "preformulation" in this paragraph, which is relevant to interpreting what this paragraph is

 describing. Before addressing whether this paragraph provides written description of a glidant-

 optional formulation, I must first determine what "preformulation" means in this context.

                a. Meaning of "Preformulation"

        Allergan argues that this paragraph describes the general process for preparing the

 formulations of eluxadoline. Allergan cites to Dr. Gemeinhart' s testimony that this paragraph

 "describes generally preparing formulations of the present disclosure." (D.I. 468 at 13 (citing Tr.

 227: 19-228:4)).

        Sun contends that this paragraph does not describe the process of making formulations

 generally, but instead describes "early-stage research to test whether excipients are compatible

 with the drug." (D.I. 462 at 7). Sun cites to Dr. Gemeinhart' s testimony (Tr. 309:18-310:9) and

 Lieberman (JTX-033 at 21) to show that, to a POSA, the term "preformulation" refers to an initial

 stage of research, not the first step in the manufacturing process.5




 5
   Dr. Berkland offered testimony at trial regarding the meaning of "preformulation" in this
 paragraph. I separately struck that testimony. (D.I. 480).
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                                              Appx22
         Case: 24-1061             Document: 17         Page: 104        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 19 of 43 PageID #: 10244




        I agree with Allergan that this paragraph is describing the general process of making

 formulations, and not an early-stage test. I credit Dr. Gemeinhart' s testimony that a POSA would

 normally understand "preformulation" as an early-stage research test. I, however, think the plain

 language of the specification and the context of this paragraph show that "preformulation" is not

 used in the normal way.

        First, the paragraph recites, "For preparing formulations of the present disclosure . . . ."

 (JTX-002 (' 179 patent) at col. 12:52). This phrase indicates the paragraph is describing a process

 for making the invention, not testing. Second, "preformulation" in this paragraph refers to the

 mixture of eluxadoline with excipients (see id. at col. 12:57-64), not to "preformulation testing"

 or a "preformulation step." Third, I think this paragraph must be considered in context with the

 paragraphs that follow. The paragraphs that follow provide specific examples of preparing

 eluxadoline formulations. (Id. at col. 13 : 1-56). I think a POSA would, therefore, read this

 paragraph as a general overview, and the succeeding paragraphs as specific examples of different

 types of preparation processes.

        Therefore, I agree with Allergan that this paragraph describes the general manufacturing

 process of the invention, not a preliminary testing step.

                b. The Cited Paragraph Does Not Provide Sufficient Written Description

        Allergan argues that because the paragraph describes mixing eluxadoline with one or more

 excipients, it presents the possibility that a formulation does not include a glidant or that a glidant

 is an optional excipient.(D.I. 468 at 13). Therefore, Allergan contends, this paragraph provides

 written description for a formulation where a glidant is optional or not included.

        Sun contends that this paragraph does not disclose a "manufacturing process

 (preformulation or otherwise) where the glidant colloidal silica is optional." (D.I. 462 at 8).

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                                              Appx23
         Case: 24-1061           Document: 17          Page: 105        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 20 of 43 PageID #: 10245




        The hallmark for written description is whether a POSA would understand the patentee to

 possess the claimed invention. See Ariad Pharms. , Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351

 (Fed. Cir. 2010) ("[T]he specification must describe an invention understandable to that skilled

 artisan and show that the inventor actually invented the invention claimed."). I find that a POSA

 would not understand the paragraph to disclose that a glidant is optional nor that the patentee

 possessed formulations in which a glidant is optional or not included.

        Allergan' s position that this paragraph provides sufficient written description goes too far.

 Allergan's interpretation of this paragraph implies that because the paragraph states the invention

 in the broadest possible terms, that is, eluxadoline and any possible combination of excipients, the

 paragraph provides written description for any formulation that is more than pure eluxadoline. The

 content, or the lack thereof, of this paragraph does not support possession of such a broad

 invention. This paragraph just outlines the basic idea of mixing eluxadoline with excipients and

 then subdividing the mixture into dosage amounts in some form. (Tr. 227:15-228:15

 (Gemeinhart)). There is no disclosure of specific combinations or proportions of excipients used.

 As the Federal Circuit has explained, '" [T]he appearance of mere indistinct words in a

 specification or a claim, ... , does not necessarily satisfy' § 112, ,r 1 because it may not both put

 others on notice of the scope of the claimed invention and demonstrate possession of that

 invention." Nuvo Pharms. (Ireland) Designated Activity Co. v. Dr. Reddy's Lab'ys Inc. , 923 F.3d

 1368, 1380 (Fed. Cir. 2019) (quoting Enzo Biochem, Inc. v. Gen-Probe Inc. , 323 F.3d 956, 968-

 69 (Fed. Cir. 2002)). This paragraph fails to do both.

        At most, this paragraph may render making a formulation without a glidant obvious, but

 "a description that merely renders the invention obvious does not satisfy the [written description]

 requirement." Ariad, 598 F.3d at 1352. It is the paragraphs that follow the cited paragraph that

                                                  18




                                              Appx24
          Case: 24-1061           Document: 17          Page: 106        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 21 of 43 PageID #: 10246




 provide an adequate written description for the invention. And those paragraphs uniformly disclose

 eluxadoline formulations with a glidant. (JTX-002 (' 179 patent) at col. 13: 1-56). The cited

 disclosure is not sufficient to demonstrate that the patentee possessed a formulation of eluxadoline,

 or a process for creating a formulation of eluxadoline, where a glidant is optional or not included.

        2. Background of Invention Section

        Allergan argues that Columns 4 and 5 disclose that a glidant is optional. (D.I. 468 at 14

 (citing JTX-002 (' 179 patent) at col. 4:4-5:33 ). A sample portion of the specification recites,

        One embodiment of the disclosure provides a solid pharmaceutical formulation
        comprising [eluxadoline] and an inert ingredient selected from silicified
        microcrystalline cellulose, colloidal silicon dioxide,[ 6 l crospovidone
        (polyvinylpolypyrrolidone; highly cross-linked polyvinylpyrrolidone (PVP)),
        mannitol, and magnesium stearate. In a specific embodiment, this pharmaceutical
        formulation may be substantially or completely free of a separate opioid antagonist,
        such as naloxone. A related embodiment provides a pharmaceutical formulation
        consisting of [eluxadoline] and an inert ingredient selected from silicified
        microcrystalline cellulose, colloidal silicon dioxide, crospovidone, mannitol, and
        magnesium stearate.

 (JTX-002 ('179 patent) at col. 4:4-21).

        Allergan contends that this paragraph, as well as the similar ones that follow, demonstrates

 that a glidant is optional because it describes an embodiment where eluxadoline and only one other

 ingredient, which does not have to be a glidant (i.e., colloidal silicon dioxide), is disclosed. I find

 this paragraph and the ones that follow (JTX-002 (' 179 patent) at col.4:4-5 :33) are insufficient to

 meet the written description requirement for the same reasons as the preformulation paragraph.

 This paragraph just outlines the basic idea to create a formulation of eluxadoline with some

 combination of excipients in some proportions. (See Tr. 113:9-16 (Gemeinhart); Tr. 443:8-20



 6
   "Colloidal silicon dioxide" and "colloidal silica" are both glidants and the terms are used
 interchangeably for each other. (Tr. 177:5-8 (Gemeinhart); Tr. 383 :22-24 (Berk.land); see also
 D.I. 140 at 14).
                                                  19




                                               Appx25
           Case: 24-1061          Document: 17           Page: 107        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 22 of 43 PageID #: 10247




 (Berk.land)). That is not sufficient to demonstrate possession of a formulation where a glidant is

 optional or not included.

          Allergan contends that the specification must be read as a whole, and that these paragraphs

 read with the remaining parts of the specification provides written description for a formulation in

 which a glidant is optional or not included. (D.I. 468 at 14). I disagree. The specification discloses

 examples of formulations that contain a glidant. Actual reduction to practice of a formulation in

 which a glidant is optional or not included is not required, but the specification must at least

 provide constructive reduction to practice of a formulation in which a glidant is optional or not

 included. See Ariad, 598 F.3d at 1352. The patent specification does not disclose that a formulation

 would have sufficient flow characteristics or work without a glidant. I do not think that these

 generic descriptions of mixing eluxadoline with excipients demonstrate that the patentee possessed

 a formulation where a glidant is optional or not included.

          For these reasons, I find that the Sun has shown by clear and convincing evidence that the

 asserted claims of the ' 179, '291 , ' 792, and ' 516 patents are invalid for lack of written

 description.

 IV.      WRITTEN DESCRIPTION (MSN)

          A.      Findings of Fact

       1. The priority date of the ' 627 and ' 291 patents is March 14, 2013. (JTX-003 (' 291 patent);
          JTX-006 (' 627 patent); D.I. 461 , ,r 103 ; D.I. 469, ,r 28).

       2. A POSA would understand that terms "diluent" and "filler" are interchangeable. (Tr.
          215 :15-16 (Gemeinhart); Tr. 360:14-19 (Berk.land)).

       3. A POSA would understand that the term "filler" is a common category of excipient used
          in pharmaceutical formulations. (D.I. 469, ,r 8; D.I. 461 , ,r 22; Tr. 97:19-98:5
          (Gemeinhart)). A POSA would understand that a filler is an inert substance that creates the
          bulk of a dosage form. (D.I. 461 , ,r 23 ; D.I. 469, ,r 8). A POSA would be able to recognize
          examples of fillers. (Tr. 215:23-216:22 (Gemeinhart); Tr. 357:18-358:1 (Berk.land)).

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                                               Appx26
         Case: 24-1061           Document: 17          Page: 108        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 23 of 43 PageID #: 10248




    4. A POSA would understand that the term "disintegrant" is a common category of excipient
       used in pharmaceutical formulations. (D.I. 469, ,r 8; D.I. 461, ,r 22; Tr. 97: 19-98:5
       (Gemeinhart)). A POSA would understand that a disintegrant is a substance added to a
       tablet to facilitate its breakup or disintegration after administration. (D.I. 461 , ,r 25; D.I.
       469, ,r 8). A POSA would be able to recognize examples of disintegrants. (Tr. 215 :23-
       216:22 (Gemeinhart); Tr. 357:18-358:1 (Berk.land)).

    5. A POSA would understand that "U.S. Patent No. 7,741 ,356 to Breslin, et al." is
       incorporated by reference in its entirety. (JTX-002 (' 179 patent) at col. 2:7-8). PCT.
       Application No. WO 2005/090315 (JTX-024) (hereinafter, "Breslin") and "U.S. Patent No.
       7,741 ,356 to Breslin, et al." share the same description. (D.I. 461 at 11 n.2; D.I. 469 at 6
       n.3 ; Tr. 208:21-209:8 (Gemeinhart)). Breslin provides examples of fillers and disintegrants
       that are commonly used in pharmaceutical formulations . (JTX-024 at 64-65).

    6. The patent specification only discloses formulations of eluxadoline that use mannitol,
       silicified microcrystalline cellulose (SMCC), crospovidone, and a glidant. (D.I. 468 at 23;
       D.I. 462 at 14; Tr. 147:8-23 (Gemeinhart); Tr. 464:3-465:8 (Berk.land)).

    7. A POSA would understand the "Function" column of Table 1 in the patent specification to
       describe the role an excipient is performing in the formulation (JTX-002 (' 179 patent) at
       col. 16:28-56), not that any other member of the same functional category could be
       substituted for the excipient. (Tr. 153 :4-154 :19, 155:7-23 (Gemeinhart)).

    8. The claimed genus covers dozens to hundreds of combinations of fillers and disintegrants.
       (See, e.g. , JTX-024 (Breslin) at 64-65 ; JTX-026 (Ansel) at 35-36; JTX-057 (Lachman) at
       30).

    9. The state of the art of creating formulations of eluxadoline with different fillers and
       disintegrants on March 14, 2013, was not so predictable such that disclosing one
       representative species is sufficient for meeting the written description requirement.

    10. A POSA reading the specification would not understand the patentee to have invented a
        formulation that includes using fillers other than mannitol and SMCC.

    11. A POSA reading the specification would not understand the patentee to have invented a
        formulation that includes using a disintegrant other than crospovidone.

    12. The patent specification lacks adequate written description for claims covenng
        formulations using any filler and any disintegrant.




                                                  21




                                              Appx27
          Case: 24-1061          Document: 17          Page: 109        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 24 of 43 PageID #: 10249




        B.      Conclusions of Law

        MSN argues that the asserted claims of the '291 and '627 patents are invalid for lack of

 written description. (D.I. 462 at 13-19; D.I. 471 at 8-12). Allergan contends the asserted claims

 have adequate written description. (D.I. 468 at 18-29).

        1. Incorporation of Breslin into the Patent Specification

        The patent specification incorporates "U.S. Patent No. 7,741,356 to Breslin, et al." by

 reference. (JTX-002 ('179 patent) at col. 2:7-8;7 D.I. 469, ,r 61 ; D.I. 462 at 16). Incorporation by

 reference is "a method for integrating material from various documents into a host document[] ..

 . by citing such material in a manner that makes clear that the material is effectively part of the

 host document as if it were explicitly contained therein." Paice LLC v. Ford Motor Co., 881 F .3d

 894, 906 (Fed. Cir. 2018) (alteration in original) (quoting Advanced Display Sys., Inc. v. Kent State

 Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000)).

        Both parties agree that PCT. Application No. WO 2005/090315 (JTX-024) (hereinafter,

 "Breslin") and "U.S. Patent No. 7,741,356 to Breslin, et al." share the same description. (D.I. 461

 at 11 n.2; D.I. 469 at 6 n.3; Tr. 208:21 -209:8 (Gemeinhart)). The parties dispute the scope of

 incorporation. (D.I. 462 at 16-17; D.I. 468 at 25). Because the test for written description "requires

 an objective inquiry into the four comers of the specification from the perspective of a person of

 ordinary skill in the art," Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir.

 2010), I must first determine which parts of Breslin are incorporated into the patent specification.

        "To incorporate material by reference, the host document must identify with detailed

 particularity what specific material it incorporates and clearly indicate where that material is found



 7
   The '179 patent (JTX-002) is not one of the patents asserted against MSN. As noted above, the
 asserted patents against MSN share a specification with the ' 179 patent. (See supra n.3).
                                                22




                                              Appx28
         Case: 24-1061           Document: 17           Page: 110      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 25 of 43 PageID #: 10250




 in the various documents." Advanced Display, 212 F .3d at 1282. "[T]he standard of one reasonably

 skilled in the art should be used to determine whether the host document describes the material to

 be incorporated by reference with sufficient particularity." Paice, 881 F.3d at 907 (alteration in

 original) (quoting Advanced Display, 212 F.3d at 1283).

       , The patent specification incorporates Breslin with the following sentence,

        [Eluxadoline] is an opioid receptor modulator that effects simultaneous agonism of
        the µ opioid receptor (MOR) and antagonism of the 8 opioid receptor (DOR) and
        may be useful in the treatment and prevention of various mammalian disease states,
        for example pain and gastrointestinal disorders such as diarrheic syndromes,
        motility disorders including post-operative ileus and constipation, and visceral pain
        including post-operative pain, irritable bowel syndrome and inflammatory bowel
        disorders (for example, see U.S. Pat. No. 7,741 ,356 to Breslin, et al. , which is
        incorporated herein in its entirety).

 (JTX-002 (' 179 patent) at col. 1:63-2:8).

        The disputed portion of Breslin recites,

        For preparing solid pharmaceutical compositions such as tablets, the principal
        active ingredient is mixed with a pharmaceutical carrier, e.g. conventional tableting
        ingredients such as diluents, binders, adhesives, disintegrants, lubricants,
        antiadherents and gildants [sic]. Suitable diluents include, but are not limited to,
        starch (i.e. com, wheat or potato starch, which may be hydrolized [sic]), lactose, . .
        . , sucrose, sucrose-based diluents . . . , dextrose, inositol, mannitol, sorbitol,
        microcrystalline cellulose ... , dicalcium phosphate, calcium sulfate dihydrate,
        calcium lactate trihydrate and the like .... Suitable disintegrants include, but are
        not limited to, starches (com, potato, etc.), . . . , sodium starch glycolates,
        pregelatinized starches, clays (magnesium aluminum silicate), celluloses . . . ,
        alginates, pregelatinized starches (i.e. com starch, etc.), gums ... , cross-linked
        polyvinylpyrrolidone and the like.

 (JTX-024 (Breslin) at 64-65).

        MSN argues that, based on the context in which Breslin is cited in the specification, "a

 POSA would understand Breslin to be incorporated only for its discussion about how eluxadoline

 can be used to treat gastrointestinal disorders along with the identification of the eluxadoline

 molecule and its mechanism of action." (D.I. 462 at 16). MSN contends that a POSA would not

                                                   23




                                              Appx29
           Case: 24-1061          Document: 17           Page: 111        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 26 of 43 PageID #: 10251




 understand Breslin's discussion of diluents (i.e., fillers) and disintegrants to be incorporated by

 reference. (Id. ).

         Allergan argues that the excerpted portion of Breslin is incorporated into the patent

 specification because the specification states that Breslin is incorporated in its entirety. (D.I. 468

 at 25; see JTX-002 (' 179 patent) at col. 1:63-2 :8). I agree.

         The specification recites, "for example, see U.S. Pat. No. 7,741 ,356 to Breslin, et al. , which

 is incorporated in its entirety." (JTX-002 (' 179 patent) at col. 2:7-8). The Federal Circuit has

 interpreted similar language as being "broad and unambiguous" that a reference is incorporated in

 its entirety. See Paice, 881 F.3d at 907 (interpreting "which is incorporated herein by this

 reference" to incorporate a patent in its entirety). The sentence here identifies Breslin as the

 specific material to be incorporated (i.e., the entirety of U.S. Pat. No. 7,741 ,356 to Breslin, et al.)

 and where the material can be found (i.e., in U.S. Pat. No. 7,741 ,356 to Breslin, et. al). "Such

 language is plainly sufficient to incorporate [Breslin] in its entirety." Id.

         MSN is correct that the incorporation clause must be read in the context of the specification.

 See Paice , 881 F.3d at 909. But I disagree that the context of the specification limits the scope of

 incorporation. MSN' s argument seems to be that Breslin' s discussion of disintegrants and fillers

 should not be incorporated because the specification does not explicitly reference that discussion

 or apply it to the claims of the invention. (D.I. 462 at 16; D.I. 471 at 11 ). The Federal Circuit,

 however, has cautioned, "The applicability of a document's disclosed features and the

 incorporation of the document itself are distinct concepts, and one does not imply the other." Paice,

 881 F.3d at 908. I think MSN is improperly conflating the two concepts.

          Starting with the incorporation of Breslin, there is nothing in the specification that would

 limit the scope of incorporation. See, e.g. , id. at 907-08 . Statements that limit the extent of

                                                    24




                                               Appx30
          Case: 24-1061           Document: 17          Page: 112        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 27 of 43 PageID #: 10252



 incorporation are typically clearer. See Zenon Env't, Inc. v. US. Filter Corp., 506 F.3d 1370, 1379

 (Fed. Cir. 2007) (finding the phrase "[two identified references], the relevant disclosures of each

 of which are included by reference thereto as if fully set forth herein" as limiting incorporation to

 only relevant disclosures and not the entire documents); Cook Biotech Inc. v. Acell, Inc., 460 F.3d

 1365, 1375-76 (Fed. Cir. 2006) (limiting extent of incorporation to one specific procedure when

 the specification stated "the procedure for preparing intestinal submucosa" was incorporated by

 reference).

        Furthermore, Dr. Gemeinhart testified that a POSA would understand the entirety of

 Breslin to be incorporated into the patent specification. (Tr. 208 :21-210: 10). While Dr. Gemeinhart

 also testified that the context in which Breslin is cited in the specification would lead a POSA to

 read Breslin for its disclosure of eluxadoline as a treatment option (Tr. 320:24-324:8), I think that

 testimony is relevant to the applicability of Breslin's disclosures, not its scope of incorporation.

 See Paice , 881 F.3d at 907-08. Therefore, I find that Breslin is incorporated in its entirety.

        Turning to the issue of whether Breslin' s discussion of disintegrants and fillers applies to

 the claimed invention, I find that it does. Breslin's disclosure of fillers and disintegrants is

 consistent with how a POSA would understand these terms. (See Tr. 215:17-216:22 (Gemeinhart);

 Tr. 357:18-358:1 (Berkland)). Incorporating Breslin's discussion does not improperly expand the

 scope of the claims nor is it contrary to other parts of the specification. Cf Fifth Generation

 Computer Corp. v. Int'! Bus. Machines Corp., 416 F. App'x 74, 80 (Fed. Cir. 2011) ("In light of

 such clear claim language, it is inappropriate to look to the incorporated references to arrive at a

 stretched reading of those claim limitations."); Modine Mfg. Co. v. US. Int'! Trade Comm'n, 75

 F.3d 1545, 1553 (Fed. Cir. 1996) (declining to import a definition from an incorporated reference

 when it was contradicted by other intrinsic evidence), abrogated by Festa Corp. v. Shoketsu

                                                   25




                                               Appx31
         Case: 24-1061            Document: 17             Page: 113   Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 28 of 43 PageID #: 10253



 Kinzoku Kogyo Kabushiki Co., 234 F.3d 558 (Fed. Cir. 2000). I am not persuaded by Dr.

 Gemeinhart' s testimony that a POSA would read Breslin only for its discussion of eluxadoline (Tr.

 320:24-324:8) because, as discussed, Breslin' s disclosure aligns with the patent specification and

 a POSA's understanding of the claim terms.

        Therefore, in evaluating whether there is adequate written description, I will treat Breslin

 (JTX-024) in its entirety as part of the specification.

        2. Lack of Written Description

        As discussed above, eluxadoline was already known as of the priority date of the asserted

 patents. (See JTX-024 (Breslin) at 96; Tr. 172:8-22 (Gemeinhart); 472:14-473:6 (Berkland)). The

 asserted patents cover oral formulations of eluxadoline and the processes for preparing and

 administering those formulations . (See, e.g., JTX-002 (' 179 patent) at col. 1:23-28). The asserted

 claims against MSN cover formulations of eluxadoline that use a "filler" and a "disintegrant" at

 specific amounts or weight percentages. (See JTX-005 (' 627 patent), cl. 27; JTX-003 (' 291 patent),

 cl. 11 ; D.I. 462 at 13 ; D.I. 468 at 18-19). Thus, the asserted claims cover formulations of

 eluxadoline using any filler and any disintegrant with the claimed amounts, which is a broad genus.

         "[W]ritten description of a broad genus requires description not only of the outer limits of

 the genus but also of either a representative number of members of the genus or structural features

 common to the members of the genus, in either case with enough precision that a relevant artisan

 can visualize or recognize the members of the genus." Regents of the Univ. ofMinnesota v. Gilead

 Scis. , Inc., 61 F.4th 1350, 1356 (Fed. Cir. 2023).

         The specification here only discloses formulations made with the same disintegrant

 (crospovidone) and fillers (mannitol and SMCC). (D.I. 468 at 13 ; D.I. 462 at 14; Tr. 147:8-23

 (Gemeinhart); Tr. 464 :3-465:8 (Berkland)). Indeed, the specification is explicit about using these

                                                   26




                                               Appx32
          Case: 24-1061           Document: 17          Page: 114         Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 29 of 43 PageID #: 10254



 specific excipients, not functional groups, as it repeatedly recites using SMCC and crospovidone.

 For example, the Summary of Disclosure section of the specification describes 11 different

 embodiments and each one recites SMCC and crospovidone as potential ingredients. (JTX-002

 (' 179 patent) at col. 4:4-5:46). The specification also discloses five embodiments for preparing

 formulations of eluxadoline. (Id at col. 13 :1-60). Each one uses SMCC and crospovidone. (Id.).

 None of them discuss using other fillers (except for mannitol 8) or other disintegrants. (Id.) .

        The specification further describes "(a]buse deterrent formulations of the present

 invention" as including eluxadoline, a glidant, SMCC, mannitol, and crospovidone. (JTX-002

 (' 179 patent) at col. 11-23-12:3)). In describing the present invention, the patentee referred to using

 a glidant, a common functional category (D.I. 469, 1 8; D.I. 461, 1 22; Tr. 197:11-23:

 (Gemeinhart)), and then provided colloidal silica as a preferred embodiment. (JTX-002 (' 179

 patent) at col. 11 :47-52). Thus, this description of the present invention implies that the patentee

 would refer to functional categories explicitly, instead of through examples, when they intended

 to do so. In contrast to glidant, the patentee did not use a similar descriptive framework for filler

 and disintegrant (e.g., listing "disintegrant" and then providing crospovidone as a preferred

 embodiment). The patentee, instead, specified using SMCC and crospovidone. (Id. at col. 11 :38-

 46; 11 :58-64). I think this supports the conclusion that a POSA would read the specification to

 only disclose a formulation with SMCC and crospovidone, not a formulation using any filler and

 any disintegrant.




 8
  Mannitol is listed as a separate claim limitation. (JTX-003 ('291 patent), cl. 11 ; JTX-
 005 ('627 patent), cl. 27).

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                                               Appx33
          Case: 24-1061           Document: 17           Page: 115        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 30 of 43 PageID #: 10255




        In short, the specification discloses many "embodiments" and each one uses, or lists,

 SMCC and crospovidone as excipients. None of the embodiments recite using fillers or

 disintegrants generally.

        Allergan, however, maintains there is adequate written description because the patent

 specification discloses both common structural features of the claimed genus and a representative

 number of species within the scope of the genus. (D .I. 468 at 19). I disagree.

        a. Common Structural Features

        The specification does not disclose common structural features for fillers and disintegrants.

 As discussed above, the specification only discloses formulations of eluxadoline using SMCC,

 mannitol, crospovidone, and a glidant. Nowhere does the specification inform a POSA what

 structural or chemical properties permits excipients to be viable fillers or viable disintegrants, let

 alone a viable combination of the two, in the claimed invention. Neither does the specification

 disclose that SMCC or crospovidone could be substituted with other fillers and disintegrants,

 respectively.9 I find that a POSA would not understand the patentee to possess the broad genus of

 formulations of eluxadoline that could be made with any filler and any disintegrant based on the

 limited disclosure of the specification.




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    Claims reciting "filler" and "disintegrant" were not part of the original patent that issued. The
 '291 and ' 627 patents were filed on February 21, 2021 , and October 21 , 2021 , respectively. They
 are both continuations of patent applications that trace back to patent application No. 13/829,984,
 which was filed on March 14, 2013. Patent application No. 13/829,984 eventually issued as the
 ' 587 patent. The claims of the ' 587 patent recite SMCC and crospovidone, not "filler" and
 "disintegrant," as limitations. (' 587 patent, cls.1-17). While the ' 587 patent is not part of the trial
 record, I take judicial notice of its content. Anderson v. Kimberly-Clark Corp., 570 F. App'x 927,
 932 n.3 (Fed. Cir. 2014) (" It is also well-established that a court may take judicial notice of
 patents or patent applications.").
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                                               Appx34
          Case: 24-1061           Document: 17           Page: 116        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 31 of 43 PageID #: 10256



        Allergan raises two arguments that common structural features are sufficiently disclosed.

 I address each in turn.

               i.   Disclosure of Excipient "Functions" in Table 1

        Allergan cites Table 1 in the specification. (JTX-002 (' 179 patent) at col. 16:28-56).

 Allergan argues "a POSA would understand the terms ' filler' and ' disintegrant,' as used in Table

 1 of the specification, to reference their respective excipient categories." (D.I. 468 at 21). Allergan

 contends a POSA would read Table 1 to indicate that other excipients belonging to these functional

 categories could be used to practice the invention. Allergan cites for support Dr. Berkland' s

 testimony and comments from the patent examiner of the ' 291 patent, who came to the same

 conclusion. (Id. at 22-23). I disagree that a POSA would read Table 1 this way.

         First, Dr. Gemeinhart testified that a POSA would read the "Function" column in Table 1

 as stating the function of the corresponding component in the formulation, not that any excipient

 that performs that function could be used or substituted for the specific excipient listed. (Tr. 153 :4-

 154: 19, 155:7-23).

         Second, while Dr. Berkland testified to the contrary (Tr. 375:21-376: 12), I think other parts

 of his testimony undercuts his, and Allergan' s, position.

         At trial, I asked Dr. Berkland if a POSA would read Table 1 to provide written description

 support for a claim that, instead of reciting any specific excipients, just recited the generic

 functional categories (e.g., replacing "mannitol" in the claim with "filler"). (Tr. 482: 17-483 :5). As

 part of his answer, Dr. Berkland testified that mannitol has specific characteristics such as that it

 "help[ s] with the breakup of the tablet," that it is a soluble filler, and that it contributes to the

 disintegrating properties of the formulation. (Tr. 483 :6-10). I asked Dr. Berkland whether the

 "special characteristics" of mannitol, as opposed to SMCC, "might make it not subject to just being

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                                               Appx35
          Case: 24-1061           Document: 17          Page: 117        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 32 of 43 PageID #: 10257



 the category." (Tr. 485:13-16). Dr. Berkland testified that was a "fair" statement. (Tr. 485 :17). Dr.

 Berkland further elaborated, "You could potentially select another filler that behaves like mannitol,

 but mannitol really does the job nicely." (Tr. 485 : 17-19).

        I think Dr. Berkland' s testimony about mannitol is inconsistent with his testimony about

 how a POSA would understand Table 1. Mannitol and SMCC are both identified as "Filler" in the

 "Function" category of Table 1. (JTX-002 (' 179 patent) at col. 16:37, 16:43). Dr. Berkland testified

 a POSA would read the "Filler" label for SMCC to mean that other fillers could be used in its

 place. (Tr. 375:21-376:1 2). But he indicated that a POSA would not read the "Filler" label for

 mannitol as referring to the fact that other fillers could be used in place of mannitol because of

 mannitol' s special characteristics. (Tr. 485:13-19). Dr. Berkland further testified that, mannitol

 could potentially be substituted with "another filler that behaves like mannitol." (Tr. 485: 17-29).

 The genus of fillers like mannitol seems narrower than the genus of fillers generally, given

 mannitol' s "special characteristics." (Tr. 485:13-17 (Berkland)).

        Thus, Dr. Berkland' s testimony seems to be that a POSA would read the "Filler" label for

 SMCC to indicate that any filler could be used to replace SMCC, but a POSA would not read

 "Filler" to mean the same thing for mannitol. I don' t think Dr. Berkland's testimony on how a

 POSA would read the labels in Table 1 is credible given the inconsistency as to how he is

 interpreting identical labels in the "Function" column for the different excipients. I think, instead,

 his testimony supports that a POSA would read Table 1 as describing the functions of the different

 excipients listed as this would align with his testimony regarding mannitol. (See Tr. 485 :13-19).

         The patent examiner who examined the ' 291 patent considered how to read Table 1 and

 reached the opposite conclusion. (JTX-050 at 393-94). While a patent examiner is "deemed to

 have experience in the field of the invention" and "act from this viewpoint," In re Sang Su Lee,

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                                               Appx36
          Case: 24-1061            Document: 17           Page: 118      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 33 of 43 PageID #: 10258



 277 F.3d 1338, 1345 (Fed. Cir. 2002), the examiner's determination is not dispositive. At most, it

 may be persuasive. See Cooper Notification, Inc. v. Twitter, Inc. , 867 F. Supp. 2d 485 , 492 (D.

 Del. 2012); TecSec, Inc. v. Int '! Bus. Machines Corp., 763 F. Supp. 2d 800, 817 (E.D. Va. 2011),

 aff'd, 466 F. App'x 882 (Fed. Cir. 2012). I think the testimony ofDrs. Gemeinhart and Berkland

 make it clear that a POSA would read Table 1 to describe the function of the individual excipients

 listed, not that other members of the different functional categories could be used. In weighing the

 patent examiner's comments against the testimony of both experts, I credit the expert testimony.

 I therefore disagree with the patent examiner's conclusion. I find a POSA would not read the

 "Function" column of Table 1 to indicate that other excipients of the same functional category

 could be used. I find a POSA, instead, would read the "Function" column of Table 1 only to

 indicate the function performed by the listed excipient.

        Therefore, I find that Table 1 in the specification does not provide adequate written

 description for using any filler and any disintegrant.

              ii.    Disintegrant and Filler Are Terms of Art

        Allergan argues there is adequate written description because "filler" and "disintegrant"

 are well-known terms of art and a POSA would be able to recognize the members of the two

 categories. (D.I. 468 at 20-22). Allergan contends the specification indicates that the invention is

 not limited to the examples. (D.I. 468 at 27; see, e.g., JTX-002 ('179 patent) at col. 16:3-8 ("The

 examples are not intended to limit the disclosure, . . .. ")).

         Both parties, and their experts, agree that a POSA would understand "filler" and

 "disintegrant" to be terms of art and a POSA would be able to recognize members of both genera.

 (D.I. 462 at 14; D.I. 468 at 20-21; Tr. 215 :17-22 (Gemeinhart); Tr. 359: 19-360: 11 , 361: 17-362: 19



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                                                Appx37
          Case: 24-1061           Document: 17          Page: 119      Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 34 of 43 PageID #: 10259



 (Berkland)). In addition, the specification, by incorporating Breslin by reference, recites numerous

 examples of both types of excipients. See Section IV.B .1 supra.

         I, however, think Allergan' s argument misses the mark. The relevant genus here is neither

 fillers nor disintegrants, but formulations of eluxadoline using any filler and any disintegrant. A

 POSA would know what a filler and a disintegrant refers to, but the question here is whether a

 POSA would recognize that the patentee possessed such a broad genus of formulations from the

 specification. I think not.

         "[T]he hallmark of written description is disclosure." Ariad Pharms., Inc. v. Eli Lilly &

 Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010). The written description requirement does not demand

 "that the specification recite the claimed invention in haec verba," id. at 1352, but "the

 specification must describe an invention understandable to [a] skilled artisan and show that the

 inventor actually invented the invention claimed," id. at 13 51. The specification does not teach

 which properties of fillers and disintegrants would permit other excipients, including combinations

 of fillers and excipients, to be used to practice the invention.

         This Court addressed a similar issue in Lipocine Inc. v. Clarus Therapeutics, Inc., 541 F.

 Supp. 3d 435 (D. Del. 2021). In that case, for a subset of the claims at issue, Lipocine argued the

 written description requirement was satisfied because the claims included "particular classes of

 excipients" like "solubilizer" and "dispersant." Id. at 466, 466 n.20. The Court rejected this

 argument because "there [was] nothing in the specification to indicate that compositions

 containing those particular excipients in varying amounts and in combination with various other

 excipients c[ould] achieve the PK parameters recited by the claims." Id. The Court explained,

         The underlying problem with the claims that require different combinations of
         excipients is that there is no basis from which to conclude that the functional
         limitations of any of those claims will be satisfied, except with respect to the few

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                                               Appx38
          Case: 24-1061          Document: 17          Page: 120        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 35 of 43 PageID #: 10260




         specific formulations that were the subjects of the clinical tests and simulations
         reported in the Data Examples.

 Id. at 467.

         I think the specification here is deficient for similar reasons. Allergan relies on the

 knowledge of a POSA, rather than what is disclosed in the specification, to recognize the common

 structural features of viable fillers and viable disintegrants and understand that they would work

 in place of SMCC and crospovidone, respectively. The specification indicates that the invention is

 not limited to the examples disclosed and that a POSA would recognize other techniques and

 methods could be used (JTX-002 (' 179 patent) at col. 16:3-8), but the specification does not

 disclose that SMCC, as a filler, can be substituted with other fillers and that crospovidone, as a

 disintegrant, can be substituted with other disintegrants. I do not think the "not limited" statement

 is enough to show possession of such a broad genus.

         Breslin, which is incorporated by reference, discloses that active ingredients, generally, can

 be mixed with excipients, including disintegrants and fillers . (JTX-024 at 64). I do not find this

 disclosure provides adequate written description for using any filler or any disintegrant in the

 claimed invention. The portion from Breslin discusses the general idea of mixing an active

 pharmaceutical ingredient with excipients. (Id.). Neither Breslin nor the patent specification

 indicate the patentee possessed formulations where any of the other fillers and disintegrants could

 be used in place of SMCC or crospovidone. See Lipocine, 541 F. Supp. 3d at 463 ("What is lacking

 in the list of excipients is the critical step of showing which of those excipients, in combination

 with other components of the [] formulations, will satisfy the [] limitations of the claims."). The

 patent specification, with Breslin, may make using, or attempting to use, other fillers and

 disintegrants obvious, but "a description that merely renders the invention obvious does not satisfy


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                                              Appx39
          Case: 24-1061          Document: 17          Page: 121        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 36 of 43 PageID #: 10261



 the [written description] requirement." Ariad, 598 F.3d at 1352. I do not find Breslin's disclosure

 sufficient to provide common structural features.

        Therefore, I find that the patent specification does not disclose common structural features

 to provide adequate written description for the asserted claims.

        b. Representative Number of Species

               1.   There Is Only One Representative Species

        Allergan argues that the written description requirement is satisfied because Breslin (JTX-

 024), which is functionally part of the specification, see Paice, 881 F.3d at 906, discloses a variety

 of examples of both fillers and disintegrants. Allergan contends this disclosure provides a

 representative number of species of the filler and disintegrant categories. (D.I. 468 at 24-25).

        I agree with Allergan that Breslin gives examples of fillers and disintegrants. (JTX-024

 (Breslin) at 64-65). That Breslin gives multiple examples of fillers and disintegrants, however,

 does not mean it gives multiple examples of the claimed species (i.e., the combinations of fillers

 and disintegrants that can be used to make formulations of eluxadoline). Breslin says nothing about

 examples of viable combinations of fillers and disintegrants. See Lipocine, F. Supp. 3d at 463 . The

 examples of formulations of eluxadoline in the specification all use SMCC as a filler and

 crospovidone as a disintegrant. Therefore, I find that the patent specification discloses one

 representative species.

              ii.   One Representative Species Is Not Sufficient

        Allergan contends that disclosure of one representative species is sufficient to satisfy the

 written description requirement. (D.I. 468 at 23-24). Allergan cites a handful of cases that found

 one representative species to be sufficient. (D.I. 469 at 24 (citing Allergan Sales, LLC v. Sandoz,

 Inc., 717 F. App 'x 991 , 995 (Fed. Cir. 2017); Hologic, Inc. v. Smith & Nephew, Inc., 884 F.3d

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                                              Appx40
          Case: 24-1061           Document: 17           Page: 122        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 37 of 43 PageID #: 10262



 1357 (Fed. Cir. 2018); In re Hersch/er, 591 F.2d 693,695, 687-98, 700-02 (C.C.P.A. 1979); In re

 Smythe , 480 F.2d 1376, 1383 (C.C.P.A. 1973))).

        Those cases, however, do not stand for the rule that one representative species is always

 sufficient. The level of detail or number of representative species that must be disclosed varies

 with the particular facts of the case. See Ariad, 598 F.3d at 1351-52. The Federal Circuit has "set

 forth a number of factors for evaluating the adequacy of the disclosure, including 'the existing

 knowledge in the particular field, the extent and content of the prior art, the maturity of the science

 or technology, [and] the predictability of the aspect at issue."' Id. at 13 51.

        The facts of the cases Allergan cites, which Allergan does not discuss, illustrate why this

 is not a case where the disclosure of one representative species is sufficient. For example, the

 claimed genus was relatively narrow in Allergan Sales, 717 F. App 'x at 995 (finding disclosure of

 a single species sufficient when genus covered six species), and Hersch/er, 591 F.2d at 701

 (finding disclosure of a single steroid sufficient to describe the subgenus of steroids when the

 great-grandparent application disclosed a broader array of example materials of the larger genus

 and steroids were chemically similar). See Ariad, 598 F.3d at 1351 ("Specifically, the level of

 detail required to satisfy the written description requirement varies depending on the nature and

 scope of the claims and on the complexity and predictability of the relevant technology."). In

 Hologic, the art was well understood and not unpredictable. 884 F.3d at 1361-62. And in Smythe ,

 the C.C.P.A. found sufficient written description because the specification disclosed information

 about the properties and functions of the claimed genus in the specification. 480 F.2d at 1382-83.

         In Lipocine, the Court addressed a similar issue. One of the asserted claims recited a

 formulation comprised "a solubilizer in an amount from about 50-86% by weight of the

 formulation." Lipocine. F. Supp. 3d at 459. The Court determined the claim lacked written

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                                               Appx41
          Case: 24-1061          Document: 17          Page: 123         Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 38 of 43 PageID #: 10263



 description "because the universe of solubilizers is immense, .. . , and the Data Examples

 demonstrate only that a formulation containing two such solubilizers," and a broader category of

 solubilizers, could produce the functional limitation of the claims. Id. I think the present case is

 more similar to Lipocine than the cases Allergan cites.

        In the present case, the genus is broad. Allergan contends there are 63 possible

 combinations based on Ansel (JTX-026 at 35-36) (disclosing nine fillers and seven disintegrants).

 (D.I. 468 at 30). MSN argues there are dozens to hundreds of combinations. (D.I. 462 at 14).

 Breslin, by itself, discloses 12-1 7 examples of fillers and 9-15 examples of disintegrants, while

 also indicating that those lists are not comprehensive. (JTX-024 at 64-65). Breslin supports MSN' s

 characterization that the genus covers dozens to hundreds of combinations. Therefore, I find this

 is hardly a narrow genus.

        In the present case, the art is not so predictable that one representative species is sufficient

 to show possession of the broader genus. The patent specification cautions that "formulations for

 every [eluxadoline] are different and different formulations containing the same [eluxadoline] may

 have very different stability and drug delivery (e.g., pharmacokinetic) properties." (JTX-002 (' 179

 patent) at 1:53-62). Indeed, Dr. Gemeinhart testified this part of the specification would inform a

 POSA that different formulations would have different properties and that "it's an early field. " (Tr.

 111 :8-18, 145:16-146:9, 225:2-8).

        Allergan contends this description in the specification informs a POSA that "[e]ntirely

 different formulation strategies will result in varying characteristics; here, however, there is a

 single limited formulation strategy." (D.I. 468 at 24 n.9). I take Allergan to be arguing that any

 formulation adhering to the claims would not have varying characteristics. I disagree. I think the

 plain words of the specification would apply to formulations that use different excipients than

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                                              Appx42
          Case: 24-1061           Document: 17           Page: 124        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 39 of 43 PageID #: 10264



 those disclosed in the specific examples in the specification (e.g., formulations using different

 fillers, disintegrants, or both). Dr. Gemeinhart' s testimony supports this interpretation. (Tr. 111 :8-

 18, 145:16-146:9, 225 :2-8). Dr. Gemeinhart further testified that substituting fillers and

 disintegrants could have an effect on the manufacturing process as well. (Tr. 157:4-22).

         Allergan maintains that substituting members of functional categories for each other is

 known and their ability to be substituted is predictable. (D.I. 468 at 21-22, 27; D.I. 469, , 59).

 Allergan cites to Babul (JTX-021 at 77) and the testimony ofDrs. Gemeinhart (Tr. 282:21-283 :23 )

 and Berkland (Tr. 357:9-358 :1) to argue that a POSA would know that members of the same

 functional category can be substituted for each other.

         I think Allergan's argument goes too far. While this may not be the most unpredictable of

 chemical and pharmaceutical arts, I think a POSA would consider the patent specification' s

 warning (JTX-002 (' 179 patent) at 1:53-62), would understand that different formulations can have

 different properties, and would be aware that using different excipients could affect the

 manufacturing process. (Tr. 111 :8-18, 145 :16-146:9, 225 :2-8 (Gemeinhart)). I do not think a

 POSA would understand the outcome of replacing multiple excipients to be so predictable that

 disclosure of a single combination of ingredients-a formulation using SMCC as a filler and

 crospovidone as a disintegrant-is sufficient. Therefore, I find the art of substituting fillers and

 disintegrants in formulations of eluxadoline is not so predictable that one representative species is

 sufficient.

         Given the breadth of the genus and level of predictability of the art, I think more than one

 representative species is required to claim the broad genus of formulations of eluxadoline made

 with any disintegrant and any filler. See Lipocine, 541 F. Supp. 3d at 459. Because only one



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                                               Appx43
           Case: 24-1061           Document: 17           Page: 125        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 40 of 43 PageID #: 10265



 representative species is disclosed, I find the patent specification does not disclose a representative

 number of species to provide adequate written description for the asserted claims.

          For these reasons, I find that MSN has met its burden of showing the asserted claims are

 invalid for lack of written description.

 V.       ENABLEMENT (MSN)

          MSN argues that the asserted claims are invalid under 35 U. S.C. § 11 2 for lack of

 enablement. Because I have determined that the asserted claims are invalid under§ 112 for lack

 of written description, I do not address this argument.

 VI.      OBVIOUSNESS (SUN AND MSN)

          Sun and MSN argue that if I were to find the asserted claims have adequate written

 description and are enabled, then the asserted claims are obvious. (D.I. 462 at 21-23). Because I

 have found the asserted claims are invalid under § 11 2 for lack of written description, I do not

 address this argument.

 VII.     OBVIOUSNESS-TYPE DOUBLE PATENTING (SUN)

          A.      Findings of Fact

       1. U.S. Patent Nos. 8,344,011 (the "' 011 patent") and 8,608,709 (the "' 709 patent") and the
          ' 356 patent are commonly owned by and assigned to Janssen Pharmaceutica NV. (D.I. 414-
          1, Ex. 1, , 210). "The ' 709 Patent is a continuation of the ' 011 Patent, which is a divisional
          of U.S. Patent No. 7,786,158, which is a continuation of the ' 356 Patent." (Id. , Ex. 1, ,
          204).

       2. The ' 356, ' 011 , and ' 709 patents are part of the same family with the same priority date.
          The ' 356 patent issued before the ' 011 and ' 709 patents. (Id. , Ex. 1,, 211 ).

       3. The ' 011 and ' 709 patents expire on March 14, 2025. (Id. , Ex. 1, , 2215).

       4. The ' 356 patent was awarded PTA under 35 U.S.C. § 154(b). (Id. , Ex. 1, , 205). "The ' 356
          [p ]atent is entitled to 467 days of [PT A] for Patent Office delays, which when added to
          March 14, 2025, would cause the ' 356 [p]atent to expire on June 24, 2026." (Id. ).



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                                                Appx44
           Case: 24-1061           Document: 17           Page: 126       Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 41 of 43 PageID #: 10266



      5. The '356 patent was issued before the other two patents, but expires after them due to the
         PTA. 10 (Id. , Ex. 1, ,r,[205, 215).

      6. "Claim 40 of the ' 356 [p]atent covers eluxadoline, as well as 7 other compounds." (Id. , Ex.
         1, ,r 207).

      7. "Claim 33 of the ' 011 [p]atent discloses a method of administering eluxadoline." (Id. , Ex.
         1, ,r 208).

      8. "Claim 5 of the ' 709 [p]atent covers eluxadoline." (Id. , Ex. 1, ,r 209).

      9. Claim 40 of the ' 356 patent, claim 5 of the ' 709 patent, and claim 33 of the ' 011 patent are
         not patentably distinct from each other. (Id. , Ex. 1, ,r,r 207-09; D.I. 462 at 24; see D.I. 468
         at 38-40 (failing to argue the claims are patentably distinct).

      10. Claim 40 of the ' 356 patent is invalid.

         B.      Conclusions of Law

         The issue here is a legal one: whether the fact the ' 356 patent expires after the ' 011 and

 ' 709 patents makes it invalid for obviousness-type double patenting over those two patents.

         The Federal Circuit recently addressed the issue of how ODP is applied to a patent that has

 received PTA. "ODP for a patent that has received PTA, regardless whether or not a terminal

 disclaimer is required or has been filed, must be based on the expiration date of the patent after

 PTA has been added." In re Cellect, 2023 WL 5519716, at *9. Allergan argues the present case is

 distinguishable from In re Cellect as this case involves a "first-filed, first-issued patent having a

 [PTA]." (D.I. 482 at 1). Allergan maintains that the distinct facts of this case do not raise the same

 equitable concerns present in In re Cellect, namely the risk of separate ownership or potential for




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    "The ' 356 [p]atent is also entitled to 1,068 days of Patent Term Extension under 35 U.S .C. §
 156, which addresses delays in FDA approval of a claimed drug product. Sun does not contend
 that obviousness-type double patenting applies to shorten Patent Term Extension." (D.I. 414-1 ,
 Ex. 1, ,r 206).

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                                                Appx45
          Case: 24-1061           Document: 17              Page: 127   Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 42 of 43 PageID #: 10267



 gamesmanship, and I should therefore conclude that ODP does not invalidate claim 40 of the '3 56

 patent. (Id. at 2-6).

         The "first-filed, first-issued" distinction is immaterial. When analyzing ODP, a court

 compares patent expiration dates, rather than filing or issuance dates. Gilead, 753 F.3d at 1215-

 17; In re Cellect, 2023 WL 5519716, at *9. Allergan nevertheless proposes that I consider these

 dates, among other facts, as part of a case-by-case review of equitable considerations to determine

 if a patent owner received an unjust time extension and ODP should therefore invalidate a

 challenged claim. (D.I. 482 at 5-6). The court in In re Cellect rejected such analysis, holding that

 ODP depends solely on patent expiration dates and should not influenced by equitable concerns.

 "[A]ny extension past [the ODP reference patent's expiration] date constituted an inappropriate

 timewise extension for the asserted claims of the challenged patents." In re Cellect, 2023 WL

 5519716, at *10. "An applicant's ability to show that it did not engage in gamesmanship in

 obtaining a grant of PTA is not sufficient to overcome a finding that it has received an unjust

 timewise extension of term. Id. at * 11. In re Cellect recognizes no exception to the rule it

 announced, whether for first-filed, first-issued claims or otherwise. I am bound by the Federal

 Circuit' s holding. I have reviewed Allergan's remaining arguments and find them unpersuasive.

 As a result, I apply the rule dictated in In re Cellect.

         As stated above, claim 40 of the '3 56 patent is not patentably distinct from the asserted

 claims of the ' 011 and ' 709 patents. The expiration date of the '356 patent, after addition of PTA,

 falls after the expiration dates of the ' 011 and '709 patents. ODP therefore invalidates the

 challenged claim.

         For these reasons, I find claim 40 of the '356 patent is invalid.



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                                                Appx46
          Case: 24-1061          Document: 17           Page: 128        Filed: 12/28/2023

Case 1:19-cv-01727-RGA Document 483 Filed 09/27/23 Page 43 of 43 PageID #: 10268



 VIII. CONCLUSION

        For the foregoing reasons, I find the asserted claims of the ' 627, '291 , ' 179,'792, and ' 516

 patents invalid for lack of written description. I find the asserted claim of the ' 356 patent to be

 invalid for obviousness-type double patenting. The parties shall submit a final judgment consistent

 with this memorandum opinion within one week.




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                                              Appx47
Case: 24-1061            Document: 17         Page: 129         Filed: 12/28/2023




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                    UNITED STATES DEPARTMENT OF COMMERCE
                          United States Patent and Trademark Office

                                              August 18, 2022

 THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
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    PATENT NUMBER: 11,007,179
    ISSUE DATE: May 18, 2021




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                                                                    Joint Exhibit

                                                                      JTX-002
                                                                    1:19-cv-01727-RGA




                              JTX-002, page 1 of 29

                                     Appx73
       Case: 24-1061                    Document: 17                         Page: 130                     Filed: 12/28/2023



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c12)   United States Patent                                                  (IO) Patent No.:                 US 11,007,179 B2
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            (2013.01); A61K 9/501 (2013.01); A61K 47/26              Abuse deterrent solid dosage formulations containing 5-({
                           (2013.01); A6JP 25/04 (2018.01)           [2-Amino-3-( 4-carbamoyl-2,6-dimethyl-phenyl)-propio-
(58)   Field of Classification Search                                nyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-
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                                                                     the preparation and administration of these formulations.
                        A61K 9/2054; A61K 31/4174; A61K
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       See application file for complete search history.                                30 Claims, 2 Drawing Sheets




                                                  JTX-002, page 2 of 29

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                                                         JTX-002, page 3 of 29

                                                                    Appx75
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                                                     JTX-002, page 4 of 29

                                                                Appx76
               Case: 24-1061                                                             Document: 17                                 Page: 133                      Filed: 12/28/2023



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     U.S. Patent                                                                      May 18, 2021                      Sheet 1 of 2                                        US 11,007,179 B2




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  Case: 24-1061     Document: 17                                                   Page: 134                                            Filed: 12/28/2023




U.S. Patent       May 18, 2021                                      Sheet 2 of 2                                                            US 11,007,179 B2




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                                      JTX-002, page 6 of 29

                                                         Appx78
     Case: 24-1061                      Document: 17                   Page: 135                Filed: 12/28/2023




                                                    US 11,007,179 B2
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    OPIOID RECEPTOR MODULATOR DOSAGE                              receptor (DOR) and may be useful in the treatment and
              FORMULATIONS                                        prevention of various mammalian disease states, for
                                                                  example pain and gastrointestinal disorders such as diarrheic
            CROSS-REFERENCE TO RELATED                            syndromes, motility disorders including post-operative ileus
                       APPLICATIONS                             5 and constipation, and visceral pain including post-operative
                                                                  pain, irritable bowel syndrome and inflammatory bowel
    TI1e present application is a continuation of U.S. patent     disorders (for example, see U.S. Pat. No. 7,741,356 to
application Ser. No. 16/795,044, filed Feb. 19, 2020, cur-        Breslin, et al., which is incorporated herein in its entirety).
rently pending; which is continuation of U.S. patent appli-       Irritable bo~el syndrome is a common functional gastroin-
cation Ser. No. 16/459,947, filed on Jul. 2, 2019, currently 10- testinal disorder that affects approximately 10-15% of the
abandoned; which is a continuation of U.S. application Ser.       population in western countries (Lovell et al., Clin Gastro-
No. 16/213,083, filed on Dec. 7, 2018, currently abandoned;       enterol Hepatol 2012; 10(7):712-21). Irritable bowel syn-
which is a continuation of U.S. patent application Ser. No.       drome is characterized by recurrent abdominal discomfort
 15/588,304 filed on May 5, 2017, now U.S. Pat. No.               and pain associated with altered bowel habits (Drossman D
 10,188,632, granted on Jan. 29, 2019; which is a continua- 15 A, Gastroenterol 2006; 130(5): 1377-1390). Currently irri-
tion of U.S. patent application Ser. No. 13/829,984 filed on      table bowel syndrome subtypes include diarrhea (IBS-D),
Mar. 14, 2013, now U.S. Pat. No. 9,675,587, granted on Jun.       constipation (IBS-C), or mixed constipation and diarrhea
13, 2017. The disclosures of the foregoing references are         (IBS-M). Irritable bowel syndrome can negatively impact
hereby incorporated by reference in their entireties.             individual's quality of life and results in significant direct
                                                               20 and indirect costs (Drossman DA. Rome III The Functional
               FIELD OF THE DISCLOSURE                            GI Disorders. 3rd Edition. Lawrence: Allen Press, Inc. 2006).
                                                                  Current safe and effective phannacologic treatments for
   TI1e present disclosure relates to oral dosage formulations    IBS-D are litnited and include antispasmodics, antidepres-
containing       5-({[2-Amino-3-(4-carbamoy1-2, 6-dimethy1-       sants, antidiarrheal agents, and alosetron (Brandt et al., Am
pheny1)-propionyl]-[ 1-(4-pheny1-4,5-dihydro-1 H-imidazol- 25 J Gastroenterol 2009; 104(Suppl 1):Sl-35).
2-yl)-ethy l]-amino }-methyl)-2-methoxy-benzoic acid, and            Opioid receptors, including mu, delta, and kappa are
processes for the preparation and administration of these         expressed along the gastrointestinal tract and play a key role
formulations.                                                     in regulating gastrointestinal motility, secretion and visceral
                                                                  sensation (Bagnol et al., Neuroscience 1997; 81 (2):579-591;
          BACKGROUND OF THE DISCLOSURE                         30 Dokray G J, Physiology ofEnteric Neuropeptides. In: John-
                                                                  son L R ed. Physiology of the Gastrointestinal Tract 3'-d ed.
   Delivering an active pharmaceutical ingredient (''5-( {[2-     New York: Raven, 1994; 169-209; Bitar et al., Nature 1982;
Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-propionyl]-            297(5861):72-74). Exogenous opioids reduce gastrointesti-
[ 1-(4-phenyl-4,5-dihydro-IH-imidazol-2-yl)-ethyl]-               nal transit through activation of MOR and can treat diarrhea
amino }-methyl)-2-methoxy-benzoic acid") to a patient 35 in acute situations (Holzer P., Regulatory Peptides 2009;
requires more than just identifying a molecule and its use.       155:11-17). Agents that simultaneously activate MOR while
An 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-             antagonizing DOR have differential gastrointestinal effects
propionyl]-[l-( 4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-           and may possess increased analgesic potency compared to
ethyl]-amino }-methyl)-2-methoxy-benzoic acid must be             pure MOR agonists (Ananthan S. Opioid ligands with mixed
formulated for delivery to a patient and this fonnulation (in 40 µ/o opioid receptor interactions: an emerging approach to
addition to the 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-         novel analgesics. AAPS Journal 2006; 8(1):E118-E125;
phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-        Dietis et al., British Journal of Anaesthesia 2009; 103(1):
2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid activ-        38-49). Such a mixed MOR agonist/DOR antagonist profile
ity) is evaluated by regulatory agencies such as the US Food      may offer an advantage in treating both the diarrhea and
and Dmg Administration (FDA) and the European Medi- 45 abdominal pain associated with IBS-D.
cines Agency (EMA). The FDA evaluates the formulation                5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyI-phenyl )-pro-
for, among other properties, delivery properties, stability,      piony l]-[1-( 4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-
consistency, and manufacturing controls. An important fac-        amino }-methyl)-2-methoxy-benzoic acid may be particu-
tor in detennining these properties of a particular formula-      larly useful for reducing pain and diarrhea in patients with
tion is the composition and form of the dosage fommlation 50 irritable bowel syndrome with diarrhea (IBS-D) without
of the 5-({[2-Ainino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-        constipating side effects. In vitro, it reduces contractility in
propiony l]-[1-( 4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-         intestinal tissue and inhibits neurogenically-mediated secre-
ethyl]-amino }-methyl)-2-methoxy-benzoic acid. The for-           tion (Wade et al., Br J Pharmacol 2012; 167(5): 1111-1125).
nmlations for every 5-({[2-Amino-3-(4-carbamoyl-2,6-              In vivo, it reduces gastrointestinal transit and fecal output in
dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H- 55 stressed and non-stressed mice over a wide dose-range
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic           without fully inhibiting gastrointestinal transit (ibid). In
acid are different and different formulations containing the      contrast, lopera1nide had a narrow dose range in the same
same 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-            stressed and non-stressed models and completely prevented
propionyl]-[1-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl),            fecal output in a dose-dependent manner (ibid.).
ethyl]-amino}- methyl)-2-methoxy-benzoic acid may have 60            5-({[2-Amino-3-( 4-carbamoyl-2,6-dimethyl-phenyl)-pro-
very different stability and dmg delivery (e.g., pharmacoki-      pionyl]-[1-(4-phenyl-lh-imidazol-2-yl)-ethyl]-amino }-
netic) properties.                                                methyl)-2-methoxy-benzoic acid and methods of making
   5-({[2-Ainino-3-(4-carbamoyl-2,6-dimethyl-pheny1)-pro-         this molecule are disclosed in U.S. Pat. No. 7,741,356.
pionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-       Example 9 of U.S. Pat. No. 7,741,356 makes the hydrochlo-
amino }- methyl)-2-methoxy-benzoic acid is an opioid 65 ride salt of 5-({[2-an1ino-3-(4-carbamoyl-2,6-dimethyl-phe-
receptor modulator that effects simultaneous agonism of the       nyl)-propionyl]-[ 1-(4-pheny l- lh-hnidazol-2-y1)-ethy]]-
µ opioid receptor (MOR) and antagonism of the o opioid            amino }-methyl)-2-methoxy-benzoic acid. Applicants have




                                                JTX-002, page 7 of 29

                                                          Appx79
      Case: 24-1061                     Document: 17                    Page: 136                Filed: 12/28/2023




                                                    US 11,007,179 B2
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also discovered a process of making the zwitterion of              Amino-3-(4-carbamoy1-2, 6-dimethyl-pheny1)-propionyI]-
 5-({[2-amino-3-( 4-carbamoy1-2, 6-dimethyl-pheny1)-propio-         [ 1-(4-pheny l-4,5-dihydro-1 H-imidazol-2-yl)-ethy l]-
ny l]-[ 1-(4-phenyl-lh-im.idazol-2-yl)-ethyl]-amino }-             amino }-methyl)-2-methoxy-benzoic acid.
methyl)-2-methoxy-benzoic acid and two novel crystals of               One embodiment of the disclosure provides a solid phar-
this zwitterions (for example, see U.S. Patent Publication 5 maceutical formulation comprising 5-({[2-Anlino-3-(4-car-
No. 2011/0263868 to Anzalone, et. al., which is incorporated       banioy1-2, 6-dimethyl-pheny1)-propionyl]-[1-(4-phenyl-4,5-
herein in its entirety).                                           dihydro- l H-imidazol-2-yl)-ethy I]-amino }-methyl)-2-
    Oral administration of 5-({[2-amino-3-(4-carbamoyl-2,6-        methoxy-benzoic acid and an inert ingredient selected from
dimethy1-pheny1)-propionyl]-[ 1-(4-pheny1-1 h-imidazol-2-          silicified miCl'Ocrystalline cellulose, colloidal silicon diox-
y l)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid is effi- 10 ide, crospovidone (polyvinylpolypyrrolidone; highly cross-
cacious in nonnalizing gastrointestinal (GI) motility in           linked polyvinylpyrrolidone (PVP)), mannitol, and magne-
stressed subjects and providing anti-visceral hyperalgesic         sium stearate. In a specific embodiment, this phannaceutical
effects in rats by acting at peripheral opioid receptors in the    formulation may be substantially or completely free of a
gastrointestinal tract. It has also been noted that parenteral     separate opioid antagonist, such as naloxone. A related
administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-di.m- 15 embodiment provides a phamiaceutical fommlation consist-
ethyl-phenyl)-propionyl]-[1-( 4-phenyl-4,5-dihydro-1 H-imi-        ing of 5-({[2-Amino-3-(4-carban1oyl-2,6-dimethyl-phenyl)-
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid          propionyl]-[1-(4-phenyl-4,5-dihydro-1H-imidazol-2-yl)-
results in CNS-related effects in animal models, which is          ethyl]-amino }-methyl)-2-methoxy-benzoic acid and an inert
believed to be due to the mu-opioid receptor ("MOR")               ingredient selected from silicified microcrystalline cellulose,
agonist properties.                                             20 colloidal silicon dioxide, crospovidone, mannitol, and mag-
   111e recent draft guidance issued for industry by the US        nesium stearate.
Food and Drug Administration (Food and Drug Adminis-                   One embodiment of the disclosure provides a solid phar-
tration 2010) for the assessment of abuse potential of drugs       maceutical formulation comprising 5-({[2-Amino-3-(4-car-
provides general instructions for in vitro laboratory assess-      bamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-
ment procedures. This draft guidance states that "infonna- 25 dihydro- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
tion should be obtained on how much drug substance might           methoxy-benzoic acid and inert ingredients including
be released and any changes that could take place in the rate      silicified microcrystalline cellulose, colloidal silicon diox-
of release of the drug from the drug product if it is misused      ide, crospovidone (polyvinylpolypyrrolidone; highly cross-
either intentionally or unintentionally." The guidance farther     linked polyvinylpyrrolidone (PVP)), mmmitol, and magne-
states that the "effects of pH, temperature, and solvent 30 sium stearate. 1n a specific embodiment, this phannaceutical
polarity on disruption of the drng product matrix should be        formulation may be substm1tially or completely free of a
evaluated. Additional experimental variables may include           separate opioid antagonist, such as naloxone. A related
exposure times to the solvent, agitation, varying the surface      embodiment provides a pharmaceutical fonnulation consist-
area (such as from intact to being ground, crushed, or cut         ing of 5-( {[2-Amino-3-(4-carbmnoyl-2,6-dimethyl-phenyl)-
into pieces), and ease of crushing tablets or destroying the 35 propionyl]-[ 1-(4-pheny1-4,5-dihydro-1 H-imidazol-2-y1)-
dosage from matrix." These guidelines pertain to com-              ethyl]-mnino }-methyl)-2-methoxy-benzoic acid, and the
pounds perceived to have any potential for abuse, misuse           inert ingredients silicified microcrystalline cellulose, colloi-
and/or diversion, which include, but are not limited to,           dal silicon dioxide, crospovidone, mannitol, and magnesium
opioid receptor agonists. The goal is to determine the effects     stearate.
that certain fonnulations may have in limiting or preventing 40        One embodiment of the disclosure provides a solid oral
abuse of the active ingredient, in this instance, 5-({[2-          dosage formulation comprising 5-( {[2-Amino-3-(4-carbam-
Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-propionyl]-             oyl-2,6-dimethy1-phenyl)-propionyI]-[ 1-(4-pheny1-4,5-di-
[ 1-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-                hydro- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
amino }-methyl)-2-methoxy-benzoic acid, in order to                methoxy-benzoic acid and an inert ingredient selected from
decrease abuse or diversion of the marketed dosage fomm- 45 silicified microcrystalline cellulose, colloidal silicon diox-
Iations and prevent harm and addiction in the public to the        ide, crospovidone (polyvinylpolypyrrolidone; highly cross-
extent possible.                                                   linked polyvinylpyrrolidone (PVP)), mmmitol, and magne-
   111erefore an abuse liability assessment of oral dosage         situn stearate. In a specific embodiment, this solid oral
formulations of 5-({[2-Amino-3-(4-carbamoyl-2,6-di.m-              dosage formulation may be substantially or completely free
ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imi- 50 of a separate opioid m1tagonist, such as naloxone. A related
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid          embodiment provides a solid oral dosage fonnulation con-
was undertaken to identify oral fonnulation compositions           sisting of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
and characteristics that may provide effective treatment of        nyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro- lH-imidazol-2-
opioid receptor disorders while minimizing or elimination          yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid mid an
potential for abuse or diversion of these oral formulations. 55 inert ingredient selected from silicified nlicrocrystalline cel-
                                                                   lulose, colloidal silicon di.oxide, crospovidone, mannitol,
               SUMMARY OF DISCLOSURE                               and magnesilllll stearate. In these embodiments, the oral
                                                                   dosage fonnulations may be coated, including sugar coated,
   11ie present inventors have discovered solid oral phanna-       gelatin coated, film coated or enteric coated, by standard
ceutical fonnulations of 5-({[2-Amino-3-(4-carbamoyl-2,6- 60 techniques.
dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-di.hydro-1 H-             Another embodiment of the disclosure provides an oral
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic            tablet formulation comprising 5-({[2-Amino-3-(4-carbam-
acid with improved stability and shelf life and unique             oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-di-
physico-chemical features that may deter or limit abuse of         hydro-1 H-imidazol-2-yl)-ethy!]-amino }-methyl)-2-
the active ingredient or di.version of the oral formulations. 65 methoxy-benzoic acid and an inert ingredient selected from
Thus, embodiments provided by this disclosure include an           silicified microcrystalline cellulose, colloidal silicon diox-
abuse deterrent phannaceutical formulation of 5-({[2-              ide, crospovidone (polyvinylpolypyrrolidone, highly cross-




                                                 JTX-002, page 8 of 29

                                                           Appx80
      Case: 24-1061                     Document: 17                   Page: 137               Filed: 12/28/2023




                                                   US 11,007,179 B2
                              5                                                                 6
 linked polyvinylpyrrolidone (PVP)), mannitol, and magne-        include the administration of 5-({[2-Amino-3-(4-carbam-
 sium stearate. In a specific embodiment, this oral tablet       oyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-di-
 formulation may be substantially or completely free of a        hydro- I H-imidazol-2-y1)-ethy!]-amino }-methy1)-2-
 separate opioid antagonist, such as naloxone. A related         methoxy-benzoic acid to the subject in an amount between
 embodiment provides an oral tablet formulation consisting 5 about 50 mg and about 100 mg. In specific embodiments,
 of      5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-       these methods may include the administration of 5-( {[2-
 propionyl]-[1-(4-phenyl-4,5-dihydro-IH-imidazol-2-yl)-          Amino-3-(4-carban1oy1-2, 6-dimethyl-pheny1)-propionyl]-
 ethyl]-amino }-methyl)-2-methoxy-benzoic acid and an inert      [I -(4-phenyl-4,5-dihydro- IH-imidazol-2-yl)-           ethyl]-
 ingredient selected from silicified microcrystalline cellulose, amino }-methyl)-2-methoxy-benzoic acid to the subject in an
 colloidal silicon dioxide, crospovidone, mannitol, and mag- 10 amount of about 75 mg. In specific embodiments, these
 nesium stearate. In these embodiments, the oral tablet for-     methods may include the administration of 5-({[2-Amino-
 mulations may be coated, including sugar coated, gelatin
                                                                 3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-
coated, film coated or enteric coated, by standard tech-
                                                                 phenyl-4,5-dihydro-l H-imidazol-2-yl)-          ethyl]-amino }-
niques.
    Another embodiment of the disclosure provides a film- 15 methyl)-2-methoxy-benzoic acid to the subject in an amount
 coated, oral tablet fonnulation comprising 5-({[2-Amino-3-      of about 100 mg.
 (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phe-           In specific embodiments, these methods may include the
ny1-4,5-dihydro-1 H-imidazol-2-y1)-ethy!]-amino }-methyl)-       administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
 2-methoxy-benzoic acid and an inert ingredient selected         ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imi-
from silicified microcrystalline cellulose, colloidal silicon 20 dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
 dioxide, crospovidone (polyvinylpolypyrrolidone, highly         in a formulation of this disclosure to the subject between two
cross-linked polyvinylpyrrolidone (PVP)), mannitol, and          administrations per day and eight administrations per day. In
magnesium stearate, and a film coating. In a specific            specific embodiments, these methods may include the
embodiment, this film-coated, oral tablet formulation may        administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
be substantially or completely free of a separate opioid 25 ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-l H-imi-
antagonist, such as naloxone. A related embodiment pro-          dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
vides a film-coated, oral tablet formulation consisting of       in a formulation of this disclosure to the subject between two
 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-pro-          administrations per day and six administrations per day. In
pionyl]-[l-(4-phenyl-4,5-dihydro-lH-imidazol-2-             yl)- specific embodiments, these methods may include the
ethyl]-amino }-methyl)-2-methoxy-benzoic acid and an inert 30 administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
ingredient selected from silicified microcrystalline cellulose,  ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-inu-
colloidal silicon dioxide, crospovidone, mannitol, and mag-      dazol-2-yl)-ethyl]-anuno }-methyl)-2-methoxy-benzoic acid
nesium stearate, and a film coating. In these embodiments,       in a formulation of this disclosure to the subject between two
the film coating may be an aqueous film coating.                 admilustrations per day and four administrations per day. In
    A specific embodiment is an abuse deterrent, mono-phasic 35 specific embodiments, these methods may include the
pharmaceutical composition suitable for single dose admin-       admi11istration of 5-({[2-Aniino-3-(4-carbamoyl-2,6-dim-
istration for treating or ameliorating a condition mediated by   ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imi-
an opioid receptor consisting essentially of about 20            dazol-2-yl)-       ethyl]-amino }-methyl)-2-methoxy-benzoic
mg/dose to about 200 mg/dose of 5-({[2-Amino-3-(4-car-           acid in a formulation of tlus disclosure to the subject on a
bamoy1-2,6-dimethy1-pheny1)-propionyl H 1-(4-phenyl-4,5- 40 twice-daily dosing regimen. In specific embodiments, these
dihydro-1 H-imidazol-2-yl)-ethy l]-amino }-methyl)-2-            methods may include the adn1i11istration of 5-({[2-Amino-
methoxy-benzoic acid, from about 60-80% by weight of             3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-
silicified microcrystalline cellulose, from about 2-8% by        phenyl-4,5-dihydro-1 H-imidazol-2-y1)-ethy!]-amino}-
weight of colloidal silica, from about 50-90% by weight of       methyl)-2-methoxy-benzoic acid in a formulation of tins
mannitol, from about 20-50% by weight of crospovidone, 45 disclosure to the subject on a once-daily dosing regimen.
and from about 2-8% by weight of magnesium stearate.                This Summary of the Disclosure is neither intended nor
    Another embodiment provided by this disclosure is a          should it be construed as being representative of the full
method of treating or ameliorating a condition mediated by       extent and scope of the present disclosure. Moreover, ref-
an opioid receptor by administering 5-( {[2-Amino-3-(4-          erences made herein to "tl1e present disclosure," or aspects
carbamoy1-2, 6-dimethyl-pheny1)-propionyI]-[ 1-(4-pheny1- 50 thereof, should be understood to mean certain embodiments
4,5-dihydro-1 H-imidazol-2-y!)-ethyl ]-amino }-methyl)-2-        of the present disclosure and should not necessarily be
methoxy-benzoic acid in a solid oral formulation of this         construed as limiting all embodiments to a particular
disclosure to a subject in need of such treatment. In a specific description. The present disclosure is set forth in various
embodiment, this administration may be made in the               levels of detail in tl1e Summary of the Disclosure as well as
absence of the separate or concurrent administration of an 55 in the attached drawings and the Description of Embodi-
opioid antagonist, such as naloxone. In specific embodi-         ments and no limitation as to the scope of the present
ments, these methods may include the administration of           disclosure is intended by either the inclusion or non-inclu-
5-({[2-Amino-3-(4-carbamoy1-2,6-dimethyl-pheny1)-pro-            sion of elements, components, etc. in this Summary of the
pionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyJ]-      Disclosure. Additional aspects of the present disclosure will
amino }-methyl)-2-methoxy-benzoic acid to the subject in an 60 become more readily apparent from the Description of
amount between 20 mg and 200 mg.                                 Embodiments, particularly when taken together with the
    In specific embodiments, these methods may include the       drawings.
administration of 5-({[2-Aniino-3-(4-carbamoyl-2,6-dim-
ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-IH-imi-                 BRIEF DESCRIPTION OF DRAWINGS
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid 65
to the subject in an amount between about 10 mg and about           FIG. 1 depicts the manufacturing process for 75-mg and
125 mg. In specific embodiments, these methods may               I 00-mg oral tablets of the present disclosure.




                                                JTX-002, page 9 of 29

                                                          Appx81
       Case: 24-1061                     Document: 17                    Page: 138                 Filed: 12/28/2023




                                                    US 11,007,179 B2
                               7                                                                   8
   FIG. 2, shows representative time course plots of cumu-             c) 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
lative percent recovery of active ingredient under different              propionyl]-[ (1 S)-1-(4-phenyl-4,5-dihydro- IH-imida-
extraction conditions: A, ground vs. whole tablet; B, 25° C.              zol-2-yl)- ethyl]-amino }-methyl)-2-methoxy-benzoic
vs. 95° C.; C, water vs. 0.lM HCI.                                        acid, and/or
                                                                       d) 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
             DESCRIPTION OF ILLUSTRATIVE                                  nyl)-propionyl]-[(l S)-1-(4-phenyl-4,5-dihydro-IH-
                                                                          im.ida,;_ol-2-y1)-ethy!]-amino }-methy1)-2-methoxy-ben-
                       EMBODIMENTS
                                                                          zoic acid, as well as
                                                                       e) a hydrobromic, hydriodic, perchloric, sulfuric, nitric,
    The present disclosure is drawn to solid dosage fonnula-
                                                                          phosphoric, acetic, propionic, glycolic, lactic, succinic,
tions containing 5-({[2-Amino-3-(4-carbamoyl-2,6-dim- lO                  maleic, fumaric, malic, tartaric, citric, benzoic, man-
ethy1-pheny1)-propionyl]-[1-(4-phenyl-4,5-dihydro-l H-imi-                delic, methanesulfonic, hydroxyethanesulfonic, benze-
dazol-2-yl )-ethyl ]-amino }-methyl)-2-methoxy-benzoic acid               nesulfonic, oxalic, pamoic, 2-naphthalenesulfonic,
that deter or minimize the abuse or diversion of these                    p-toluenesulfonic, cyclohexanesulfamic, salicylic, sac-
formulations, as well as processes for the preparation and                charinic or trifluoroacetic acid salt of any one of these
                                                                 15
administration of these fommlations.                                      compounds, or
    For the purposes of this disclosure, reference to "5-( { [2-       f) a benzathine, chloroprocaine, choline, diethanolamine,
Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-propionyl]-                    ethylenediamine, meglumine, procaine, alumimun, cal-
 [1-(4-phenyl-4,5-dihydro-IH-imidazol-2-yl)-ethyl]-                       cium, lithium, magnesium, potassium, sodium, or zinc
amino }-methyl)-2-methoxy-benzoic acid" also means "5- 20                 salt of any one of these compounds.
 [[[-2-amino-3-[ 4-(aminocarbonyl)-2,6-dimethylphenyl]- l-             Similarly, reference to "5-({[2-Amino-3-(4-carbamoyl-2,
oxopropyl]-[l-(4-phenyl-l H-imidazol-2-yl)ethyl]amino]              6-dimethy1-pheny1)-propionyl]-[1-( 4-pheny1-4,5-dihydro-
methyl]-2-methoxybenzoic acid", and it is intended that the         l H-imidazol-2-yl )-ethyl]-amino }-methyl)-2-methoxy-ben-
two chemical names can be used interchangeably. Reference           zoic acid" or the "active ingredient" specifically includes a
to the "active ingredient" includes 5-({[2-Amino-3-(4-car- 25 compound having the chemical stmcture:
bamoy1-2,6-dimethy1-pheny1)-propionyl]-[ 1-(4-phenyl-4,5-
dihydro- l H-imidazol-2-yl)-ethyl]-an1ino }-methyl)-2-
methoxy-benzoic acid, and pharmaceutically acceptable
enantiomers, diastereomers, racemates, zwitterions, and
salts thereof.                                                   30
    Because      5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
pheny1)-propiony!]-[ 1-(4-pheny1-4,5-dihydro-l H-imidazol-                                                                    and/or
2-y l)-ethy l]-amino }-methyl)-2-methoxy-benzoic          acid
includes at least two chiral centers, it may exist as diaste-
                                                                 35
reomers. These isomers may be separated by conventional
teclmiques such as preparative chromatography and may be
prepared in racemic fonn or as individual diasteromers by
either stereospecific synthesis or by resolution. The com-
pounds may, for example, be resolved into their component 40               0
diasteromers by standard teclmiques, such as the fomiation                             0       OMe
of stereoisomeric pairs by salt formation with an optically




                                                                                 Me N~jyO
active acid, such as (-)-di-p-toluoyl-D-tartaric acid and/or
(+)-di-p-toluoyl-L-tartaric acid followed by fractional crys-                    HO~
tallization and regeneration of the free base. The compounds 45                                #     Me                       and/or
may also be resolved by fonnation of stereoisomeric esters
or amides, followed by chromatographic separation and                                                               ¾s
removal of the chiral auxiliary. Alternatively, the compounds
may be resolved using a chiral HPLC column. It is to be
understood that all stereoisomers, racemic mixtures, diaste- 50                I~                    0

reomers and enantiomers are encompassed within the scope            H2N
of any reference to "5-({[2-Amino-3-(4-carbamoyl-2,6-di-
methyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro- l H-                   0
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic                                0       OMe
acid" or the "active ingredient" in this disclosure.             55
    For example, reference to "5-({[2-Amino-3-(4-carbam-
oy1-2,6-dimethyl-pheny1)-propiony!]-[ 1-(4-phenyl-4,5-di-                        HO~
                                                                                                                    ~ J, and/or

                                                                                 Me N~yO
hydro- l H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-                                            #     Me
methoxy-benzoic acid" or the "active ingredie11t"
specifically includes:                                           60
    a) 5-({[2-Amino-3-(4-carban1oyl-2,6-dimethyl-phenyl)-
      propionyl]-[ 1-(4-phenyl-4,5-dihydro-l H-imidazol-2-
      yl)-ethyl]-an1ino }-methyl)-2-methoxy-benzoic acid,                      I~                    0

   b) 5-({[ (2S)-2-Amino-3-( 4-carbamoyl-2,6-dimethyl-phe-          H2N
      nyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro- IH-imida-       65
      zol-2-yl)- ethyl]-amino }-methyl)-2-methoxy-benzoic                  0
      acid,




                                                 JTX-002, page 10 of 29

                                                            Appx82
      Case: 24-1061                     Document: 17                   Page: 139                Filed: 12/28/2023




                                                    US 11,007,179 B2
                              9                                                                  10
                          -continued                                   The term "therapeutically effective amount," as used
                     0       OMe                                    herein, refers to that amount of the therapeutic agent suffi-
                                                                    cient to treat or ameliorate the disease or disorder, as



                                           yO
                                                                    described above. For example, for the given parameter, a
                                                                 5 therapeutically ·effective amount will show an increase or
                                                                    decrease of at least about 5%, 10%, 15%, 20%, 25%, 30%,
                             #       Mo                             40%, 50%, 60%, 70%, 80%, 90%, or 100%. Therapeutic

                                 N
                                    ~N
                                           ~ h      ~               efficacy can also be expressed as "-fold" increase or
                                                                   decrease. For example, a therapeutically effective amount
                                                                10 can have at least a 1.2-fold, 1.5-fold, 2-fold, 5-fold, or more
                                           HN
                                      0
                                                                   effect over a control value. Therapeutic efficacy related to
                                                                   irritable bowel syndrome, preferably diarrhea-predominant
                                                                   irritable bowel syndrome, can be expressed in measurements
                                                                   of worst abdominal pain (WAP) or stool consistency score
                                                                15 (Bristol Stool Scale or BSS).
                                                                       The tem1 "solid dosage fonnulation" as used herein
                                                                   includes tablets, capsules, pills and like and may be present
 as well as a hydrobromic, hydriodic, perchloric, sulfuric,        as conventional or extended-release compositions.
 nitric, phosphoric, acetic, propionic, glycolic, lactic, suc-         The terminology used herein is for describing particular
cinic, maleic, fomaric, malic, tartaric, citric, benzoic, man- 20 embodiments and is not intended to be limiting. As used
delic, methanesulfonic, hydroxyethanesulfonic, benzene-            herein, the singular forms "a," "and" and "the" include
 sulfonic,     oxalic,     pamoic,       2-naphthalenesulfonic,    plural referents unless the content and context clearly dictate
p-toluenesulfonic, cyclohexanesulfamic, salicylic, saccha-         otherwise. Thus, for example, a reference to "a marker"
rinic or trifluoroacetic acid salt, or a benzathine, chloropro-    includes a combination of two or more such markers. Unless
caine, choline, diethanolainine, ethylenediamine, meglum- 25 defined otherwise, all scientific and technical tenns are to be
ine, procaine, aluminum, calcium, lithium, magnesium,              understood as having the same meaning as commonly used
potassium, sodium, or zinc salt of any one of these chemical       in the art to which they pertain. For the purposes of the
strnctures.                                                        present disclosure, the following terms are defined below.
    As used in this disclosure, the tem1s "subject," "patient,"       Also, the use of "or" means "and/or" unless stated oth-
"individual," etc. are not intended to be limiting and can be 30 erwise. Similarly, "comprise," "comprises," "comprising,"
generally interchanged. That is, an individual described as a      "include," "includes," and "including" are interchangeable
"patient" does not necessarily have a given disease, but may       and not intended to be limiting.
be merely seeking medical advice.                                     It is to be further understood that where descriptions of
    As used herein, the terms "treat" and "prevent" are not        various embodiments use the tenn "comprising," those
intended to be absolute terms. Treatment can refer to any 35 skilled in the art would understand that in some specific
delay in onset, reduction in the frequency or severity of          instances, an embodiment can be alternatively described
symptoms, amelioration of symptoms, improvement in                 using language "consisting essentially of' or "consisting
patient comfort and/or gastrointestinal function, etc. The         of."
effect of treatment can be compared to an individual or pool          In some embodiments related to the treatment of opioid
of individuals not receiving a given treatment, or to the same 40 receptor related disorders, the dose of 5-({[2-Amino-3-(4-
patient prior to, or after cessation of, treatment.                carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-
    The term "prevent" or "ameliorate" refers to a decrease in     4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
the occurrence of opioid receptor disease or disorder symp-        methoxy-benzoic acid that can be incorporated into the
toms in a patient. The prevention or amelioration may be           formulations of the present disclosure depends on the
complete (no detectable symptoms) or partial, such that 45 desired treatment dosage to be administered and can range
fewer symptoms are observed than would likely occur                from about 20 mg to about 200 mg of 5-({[2-Amino-3-(4-
absent treatment.                                                  carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-
    The phrase "opioid receptor related disorders" refers to       4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-amino }-methy1)-2-
various mammalian disease states including, for example,           methoxy-benzoic acid. In other embodiments, the dose of
pain and gastrointestinal disorders such as diarrheic syn- 50 the active ingredient can range from about 10 mg to about
dromes, motility disorders including post-operative ileus          125 mg. In some embodiments, the dose of the active
and constipation, and visceral pain including post-operative       ingredient in the formulations of this disclosure is between
pain, irritable bowel syndrome and inflammatory bowel              about 10 mg and about 200 mg, e.g., 10 mg, 15 mg, 20 mg,
disorders, as described in greater detail in U.S. Pat. No.         25 mg, 30 mg, 35 mg, 40 mg, 45 mg, 50 mg, 55 mg, 60 mg,
7,741,356 to Breslin, et al., which is incorporated herein in 55 65 mg, 70 mg, 7 5 mg, 80 mg, 85 mg, 90 mg, 95 mg, 100 mg,
its entirety.                                                      105 mg, 110 mg, 115 mg, 120 mg, 125 mg, 130 mg, 135 mg,
   The term "abusive" or "abusive manner" refers to uses of        140mg, 145mg, 150mg, 155mg, 160mg, 165mg, 170mg,
the formulations of this disclosure beyond oral adininistra-       175 mg, 180 mg, 185 mg, 190 mg, 195 mg, or 200 mg of
tion, such as by injecting or snorting.                            5-({[2-Amino-3-(4-carbamoy1-2, 6-dimethyl-phenyl)-pro-
   The term "abuse deterrent", as used herein, refers to a 60 pionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-
formulation of the present invention which possesses               ainino }-methyl)-2-methoxy-benzoic acid. In one embodi-
physico-cheinical characteristics that allow the therapeutic       ment, the dose is about 75 mg of 5-({[2-Amino-3-(4-
use of the opioid receptor modulator active ingredient by          carbamoyl-2,6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny 1-
oral adininistration to a subject in need of such treatment        4,5-dihydro-1 H-imidazol-2-yl)-ethyl ]-ainino }-methy1)-2-
with very limited potential for abuse or misuse of the 65 methoxy-benzoic acid. In another embodiment, the dose is
formulation, i.e., by extracting and ingesting the active          about 100 mg of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
ingredient by snorting or injection.                               ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imi-




                                                JTX-002, page 11 of 29

                                                          Appx83
      Case: 24-1061                     Document: 17                    Page: 140                Filed: 12/28/2023




                                                    US 11,007,179 B2
                              11                                                                 12
 dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic                      preferred embodiment, about 0.65%-0.85% by weight
 acid. In another embodiment, the dose is about 50 mg of                   of magnesium stearate, in another preferred embodi-
 5-( {[2-Amino-3-(4-carbamoy1-2,6-dimethy1-pheny1)-pro-                    ment, about 0.75% by weight of magnesium stearate.
 pionyl ]-[ 1-(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-                 In some embodiments, the abuse deterrent solid phanna-
 ethyl]-aniino }-methyl)-2-methoxy-benzoic acid. In yet 5 ceutical dosage formulations are coated with a film coating.
another embodiment, the dose is about 150 mg of 5-({[2-              In some embodiments, the coating is a water-soluble, pH-
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-                independent film coating. Such coating allows for immedi-
 [I-(4-phenyl-4,5-dihydro- lH-imidazol-2-yl)-ethyl]-
                                                                     ate disintegration for fast, active release of the contents of
amino }-methyl)-2-methoxy-benzoic acid. In yet another
                                                                     the solid dosage formulation. One such co1lllllercially avail-
embodiment, the dose is about 37.5 mg of 5-({[2-Amino- 10
3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-               able coating useful in the solid dosage formulations of the
phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-amino }-                 present disclosure is Opadry(®), and preferably Opadry
methyl)-2-methoxy-benzoic acid.                                      II(®) In specific embodiments, the abuse deterrent solid
    Dose proportionality occurs when increases in the admin-         phamiaceutical dosage formulations include a film coating
istered dose are accompanied by proportional increases in a 15 present in an amount of from about 0.5-5.5% by weight film
pharmacokinetic parameter. The dosage fonnulations of the            coating, preferably from about 1-5% by weight film coating,
present disclosure are preferably designed as a dose propor-         in one preferred embodiment, about 2-4% by weight film
tional formulation in the range of 25 mg to 100 mg of the            coating, in another preferred embodiment, about 3% by
active ingredient 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-               weight film coating.
ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-          20      In some instances, opioid receptor agonist drugs have
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic              been formulated and marketed with an opioid antagonist
acid.                                                                (such as the opioid antagonist naloxone), to render the
    Abuse deterrent formulations of the present invention            formulation abuse resistant. The present invention is also
include solid phamiaceutical dosage formulations contain-            based, at least in part, on the surprising discovery, that the
ing:                                                            25 formulations of the present disclosure have abuse deterrent
    from about 5-20% by weight of 5-({[2-Amino-3-(4-car-            characteristics. For example, such formulation is non-tam-
       banioy1-2, 6-dimethyl-pheny1)-propionyl]-[1-(4-phe-          perable thereby limiting case of isolation and purification of
       nyl-4,5-dihydro-1 H-imidazol-2-y1)-ethyl]-an1ino }-           5-( {[2-Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-pro-
       methyl )-2-methoxy-benzoic acid, preferably from             pionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-
       about 10-15% by weight of 5-({[2-Amino-3-(4-car- 30
                                                                    amino }-methyl)-2-methoxy-benzoic acid from the fonnula-
       ban1oy1-2, 6-dimethyl-phenyl)-propionyl]-[1-(4-phe-
       nyl-4,5-dihydro-1 H-imidazol-2-y1)-ethyl]-an1ino }-          tion. Thus, in specific embodiments of the present
       methyl )-2-methoxy-benzoic acid, preferably about            disclosure, the formulations are substantially free of nalox-
       12.5% by weight of 5-({[2-Amino-3-(4-carbamoyl-2,            one. In related embodiments of the present disclosure, the
       6-dimethy1-pheny1)-propionyl ]-[ 1-(4-pheny1-4,5-di-     35
                                                                    formulations are completely free of naloxone. Such fornm-
       hydro-1 H-imidazol-2-yl )-ethy l]-amino }-methyl)-2-         lations are advantageous because they can provide effective
       methoxy-benzoic acid;                                        abuse deterrence in the absence of naloxone.
   from about 60-80% by weight of silicified microcrystal-             The fonnulations can also optionally include an inert
       line cellulose (USP Silicified Microcrystalline Cellu-       pharniaceutically acceptable dissolution-rate-modifying
       lose; intimately associated microcrystalline cellulose 40 agent, a pharmaceutically acceptable plasticizer, a pham1a-
       and colloidal silicon dioxide particles; in a preferred      ceutically acceptable coloring agent (e.g., FD&C Blue #1) a
       example, high density silicified microcrystalline cellu-     pharmaceutically acceptable opacifier (e.g., titanium diox-
       lose "HD-90"); preferably from about 65-75% by               ide), pharmaceutically acceptable anti-oxidant (e.g., tocoph-
      weight of silicified microcrystalline cellulose, prefer-      erol acetate), a pharmaceutically acceptable preservative,
      ably about 71% by weight of silica fine microcrystal- 45 flavorants (e.g., saccharin and peppennint), neutralizing
       line cellulose;                                              agents (e.g., sodilllll hydroxide), buffering agents (e.g.,
   from about 0.45-1.0% by weight of a glidant, e.g., col-         monobasic, or tribasic sodium phosphate), or combinations
      loidal silica, preferably from about 0.55-0.95% by           thereof. Preferably, these components are individually pres-
      weight of colloidal silica, in one preferred embodiment,      ent at no more than about 1% of the final weight of the
      about 0.65%-0.85% by weight of colloidal silica, in 50 formulation, but the amount may vary depending on the
      another preferred embodiment, about 0.75% by weight          other components of the fonnulation.
      of colloidal silica;                                             For preparing fonnu]ations of the present disclosure, such
   from about 1-20% by weight of mannitol (mannitol,               as tablets, 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
      USP), preferably from about 5-15% by weight of               nyl)-propiony l]-[ 1-(4-pheny1-4,5-dihydro-1 H-imidazol-2-
      mannitol, in one preferred embodiment, about 7.5%- 55 y l)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid                   is
      12.5% by weight of mannitol, in another preferred            mixed with one or more phannaceutical excipients to fonn
      embodiment, about I 0% by weight of mannitol;                a solid preformulation composition containing, in preferred
   from about 2-8% by weight of crospovidone (highly               embodiments, a homogeneous mixture of the excipient(s)
      cross-linked modification of polyvinylpyrrolidone            with the active ingredient. When referring to these prefor-
      (PVP)), preferably from about 3-7% by weight of 60 mulation compositions as "homogeneous," it is meant that
      crospovidone, in one preferred embodiment, about             the active ingredient are dispersed evenly throughout the
      4-6% by weight of crospovidone, in another preferred         composition so that the composition may be readily subdi-
      embodiment, about 5% by weight of crospovidone;              vided into equally effective unit dosage forms such as tablets
      and,                                                         or capsules. This solid preformulation is then subdivided
   from about 0.45-1% by weight of magnesium stearate 65 into unit dosage forms of the type described above contain-
      (Magnesium Stearate USP), preferably from about              ing from, for example, about 10 to about 200 milligrams of
      0.55-0.95% by weight of magnesium stearate, in one           the active ingredient.




                                                JTX-002, page 12 of 29

                                                           Appx84
      Case: 24-1061                      Document: 17                     Page: 141                Filed: 12/28/2023




                                                     US 11,007,179 B2
                              13                                                                    14
    According to one embodiment, a solid dosage fommlation           pain, structural or soft tissue injury related pain, pain related
of the present disclosure is prepared by:                            to inflammation, progressive disease related pain, neuro-
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             pathic pain and acute pain such as caused by acute injury,
        phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro-lH-imi-          trauma or surgery, and chronic pain such as caused by
        dazol-2-yl)-ethy ]]-amino }-methyl)-2-methoxy-benzoic 5 neuropathic pain conditions, diabetic peripheral neuropathy,
       acid with the phanuaceutically acceptable inert excipi-       post-herpetic neuralgia, trigeminal neuralgia, post-stroke
       ents silicified microcrystalline cellulose, mannitol, col-    pain syndromes or cluster or migraine headaches. The active
        loidal silica and crospovidone;                              ingredient in the formulations of the present disclosure are
    ii) comilling the above blend with the addition of mag-          preferably useful for treating or ameliorating abdominal
       nesium stearate;                                           10 pain. Examples of gastrointestinal disorders intended to be
    iii) compressing the dry blend into suitably sized tablets,      within the scope of this invention include, but are not limited
        or filling into capsules.                                    to, diarrheic syndromes, motility disorders such as irritable
   According to another embodiment, a solid dosage fomm-             bowel syndrome including diarrhea-predominant, constipa-
lation is prepared using direct compression, by:                     tion-predominant or alternating irritable bowel syndrome,
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl- 15 and visceral pain and diarrhea associated with infla=atory
       phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imi-         bowel disease including ulcerative colitis and Crohn's dis-
       dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic          ease.
       acid with the phamrnceutically acceptable inert excipi-          Examples of gastrointestinal disorders where -( {[2-
       ents silicified microcrystalline cellulose, mannitol, col-    Arn.ino-3-(4-carbamoy1-2, 6-dimethyl-phenyl)-propionyl ]-
       loidal silica, and crospovidone;                           20 [1-(4-phenyl-4,5-dihydro- lH-imidazol-2-yl)-ethyl]-
   ii) lubricating the blend by the addition of magnesium            amino }-methyl)-2-methoxy-benzoic acid may be useful
        stearate;                                                    include constipation-predominant irritable bowel syndrome,
   iii) compressing the blend into suitably sized tablets.           post-operative ileus and constipation, including but not
   According to another embodiment, capsules may be for-             limited to the constipation associated with treatment of
mulated by:                                                       25 chronic pain with opiates. Modulation of more than one
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             opioid receptor subtype is also useful as follows: a com-
       phenyl)-propiony1]-[ 1-(4-phenyl-4,5-dihydro- lH-imi-         pound that is a mixed mu OR agonist and delta OR antago-
       dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic          nist could have antidiarrheal properties without being pro-
       acid with the phannaceutically acceptable inert excipi-       foundly constipating. A compound that is a mixed mu OR
       ents silicified microcrystalline cellulose, mannitol, col- 30 agonist and delta OR agonist are useful in cases of severe
       loidal silica, and crospovidone;                              diarrhea that are refractory to treatment with pure nm OR
   ii) lubricating the blend by the addition of magnesium            agonists, or has additional utility in treating visceral pain
       stearate,                                                     associated with inflammation and diarrhea.
   iii) filling the blend into capsule shells.                          The daily dose of a solid dosage formulation of the
   According to another embodiment, capsules may also be 35 present disclosure may be a dose that is therapeutically
formulated by:                                                       effective for the treatment of irritable bowel syndrome,
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             preferably diarrhea-predominant irritable bowel syndrome,
       phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-lH-imi-           wherein a patient has an average decrease of daily WAP
       dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic          scores from the patient's baseline WAP (for example a
       acid with the phamrnceutically acceptable inert excipi- 40 baseline WAP score of .:3.0 (on a 0-10 numerical rating
       ents silicified microcrysta1line cellulose, mannitol, col-    scale, where O indicates no pain and 10 worst pain imagin-
       loidal silica, and crospovidone;                              able) of about .:10%, preferably a decrease in WAP score of
   ii) comilling the above blend,                                    about .:20%, more preferably a decrease in WAP score of
   iii) adding magnesium stearate to lubricate the blend,            about .:30%. The daily dose of a dosage fonnulation of the
   iv) filling the blend into capsule shells.                     45 present disclosure may be a dose that is therapeutically
   According to another embodiment, capsules may also be             effective for the treatment of irritable bowel syndrome,
formulated by:                                                       preferably diarrhea-predominant irritable bowel syndrome,
   i) blending 5-({[2-Amino-3-(4-carbamoy1-2, 6-dimethy]-            wherein a patient achieves an average BSS score (wherein 1
       phenyl )-propiony!]-[ 1-(4-pheny1-4, 5-dihydro-1 H-imi-       equals hard, lumpy stools and 7 equals watery, liquid stools)
       dazol-2-yl )-ethy1]-amino }-methyl)-2-methoxy-benzoic 50 of between 2 and 5, preferably 3 or 4.
       acid with the phannaceutica11y acceptable inert excipi-          The daily dose of a solid dosage formulation of the
       ents silicified microcrystalline cellulose, mannitol, col-    present disclosure may be varied over a wide range from
       loidal silica, and crospovidone;                              about 20 mg to about 7000 mg of the active ingredient per
   ii) comilling the above blend,                                    adult human per day; preferably the dose will be in the range
   iii) adding magnesium stearate to lubricate the blend,         55 of from about 50 mg to about 2100 mg of the active
   iv) compressing the blend into tablets.                           ingredient per adult human per day. For oral administration,
   In these embodiments of preparing the dosage formula-             the formulations are preferably provided in the fom1 of
tions of this disclosure, the tablets or capsules may be film        film-coated tablets containing about 75, about 100 or about
coated and/or packaged in bulk or unit-dosage packaging              200 milligrams, more preferably about 75 or about 100
(i.e. blister packaging).                                         60 milligrams, of the active ingredient for the symptomatic
   The active ingredient in the formulations of the present          adjustment of the dosage to the subject to be treated.
disclosure are useful opioid receptor modulators. In particu-        Advantageously, dosage formulations of the present disclo-
lar, certain compounds are opioid receptor agonists useful in        sure may be administered in a single daily dose or the total
the treatment or amelioration of conditions such as pain and         daily dosage may be administered in divided doses of two,
gastrointestinal disorders. Examples of pain intended to be 65 three or four tin1es daily. If administered twice daily, each
within the scope of the present invention include, but are not       dose may be administered at about 6 hours to about 12 hours
limited to, centrally mediated pain, peripherally mediated           apart per day, preferably about 8 hours to about 12 hours




                                                 JTX-002, page 13 of 29

                                                            Appx85
       Case: 24-1061                        Document: 17                       Page: 142                   Filed: 12/28/2023




                                                         US 11,007,179 B2
                                 15                                                                        16
apart per day, preferably about 10 hours to about 12 hours          examples, which are included merely for the purposes of
apart per day, preferably about 10 hours apart per day, or          illustration of certah1 aspects of the embodiments of the
preferably about 12 hours apart per day. In these preferred         present disclosure. The examples are not intended to lhnit
embodiments, the total daily dose is administered twice             the disclosure, as one of skill in tl1e art would recogiiize from
daily.                                                            5 the above teachings and the following examples that other
    In certain embodiments, these methods may include the           tecluiiques and methods can satisfy the claims and can be
administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-              employed without departing from the scope of the claimed
ethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro-l H-imi-          disclosure.
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
in a fonnulation of this disclosure to the subject on an 10                                         EXAMPLES
every-other-day (qod) dosing regimen, or on a thrice-weekly
dosing regimen, or on a twice-weekly dosing regimen, or on                Example I-Description and Composition of Two
a once-weekly dosing regimen.                                                            Formulations of Disclosure
    In certain embodiments, these methods may include the
administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim- 15
                                                                    Description of the Dosage Fonn
ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-l H-imi-
                                                                       The active ingredient, 5-({[2-Amino-3-(4-carbamoyl-2,6-
dazol-2-yl)-ethyl]-arnino }-methyl)-2-methoxy-benzoic acid
in a fonnulation of this disclosure to the subject on a                    dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-di-
twice-monthly dosing regimen, or on a once-monthly dosing                  hydro- lH-imidazol-2-y1)-ethyl]-amino }-metl1y1)-2-
regimen.                                                         20        methoxy-benzoic acid was formulated as 75-mg and
    In certain embodiments, these methods may include the                  100-mg film-coated tablets. The fonnulation was com-
administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-                     posed of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
ethyl-phenyl)-propionyl]-[l-( 4-phenyl-4,5-dihydro-l H-inii-               phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro- lH-hni-
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid                  dazol-2-y1)-ethyl]-aniino }-methy1)-2-methoxy-benzoic
in a fonnulation of this disclosure to the subject on an 25                acid and the inactive components listed in Table 1.
as-needed (pm) dosing regimen.                                      Composition
    Tims, an embodiment provided by this disclosure is a
method of treating or ameliorating an opioid receptor related                                         TABLE I
disorder by administering a formulation oftliis disclosure to
a subject in need of such treatment. In one embodiment, tliis 30                      Composition of Tablets. 75-mg and 100-mg
admhiistration may be made in the absence of the separate                                                          Strength (label claim)
or concurrent administration of the opioid antagonist nalox-
one. In specific embodiments, these metl1ods may include               Component and                             75 mg               100 mg
tl1e administration of 5-({[2-Aniino-3-(4-carbamoyl-2,6-di-
                                                                       Quality Standard                   Quantity             Quantity
methyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-lH-           35      (and Grade)           Function    per mg       %      per mg       %
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
acid to the subject in an amount between about 20 mg and              Active ingredient         Active       75        12.5      100       12.5
                                                                           Silicified            Filler     426        71.0      568       71.0
about 200 mg, preferably about 75, about 100 or about 200              Microcrystalline
milligrams, more preferably about 75 or about 100 milli-              cellulose (HD90)
grams.                                                           40     (NF, Ph. Eur.)
   In anotl1er embodiment, tliis administration may be made            Colloidal silica         Glidant       4.5       0.75        6       0.75
                                                                        (NF, Ph. Eur.)
in the absence of, prior to or concurrent with, the adminis-               Mannitol              Filler      60        10.0        80      10.0
tration of food. In one embodiment, 5-( {[2-Amino-3-(4-                (USP, Ph. Eur.)
carbamoy1-2, 6-dimetl1yl-pheny1)-propionyI]-[ 1-(4-pheny1-              Crospovidone         Disintegrant    30         5.0       40        5.0
4,5-dihydro-I H-imidazol-2-y l)-ethyl ]-amino}-methyl )-2-       45     (PolyP XL!O)
                                                                        (NF, Ph. Eur.)
methoxy-benzoic acid is admhiistered to the subject with             Magnesium stearate        Lubricant      4.5       0.75        6       0.75
one or more daily meals, more preferably witl1 breakfast and            (NF, Ph. Eur.)
dinner.                                                                Nominal Tablet                       600       100        800      100
   Another embodiment of the disclosure relates to any of                   Weight
                                                                             II 85Fl 8422 Film coat                                24       3.0
the formulations of tliis disclosure for use in the treatment or 50 Opadry(Company
                                                                                                             18         3.0

amelioration of a condition mediated by an opioid receptor,             Specification)
for example, any pain and gastrointestinal disorders dis-                   Purified          Film coat        a                    a

closed herein, preferably such as diarrheic syndromes,                   water, USP             solvent
motility disorders including post-operative ileus and consti-                Total                          618                  824
pation, and visceral pain including post-operative pain, 55
irritable bowel syndrome and inflammatory bowel disorders.          ~ernoved during processing
   Another embodiment of the disclosure relates to the use of
any of the formulations of this disclosure in the preparation
of a medicament for the treatment or amelioration of a                     Example 2-Description of One Manufacturing
condition mediated by an opioid receptor, for example pain 60                          Process (and Process Controls)
and gastrointestinal disorders disclosed herein, such as diar-
rheic syndromes, motility disorders including post-operative        The flow chart for the method of manufacture for the 75-
ileus and constipation, and visceral pah1 including post-         and 100-mg oral tablets is presented in FIG. 1.
operative pah1, irritable bowel syndrome and hiflammatory         Description of the Manufacturing Process of FIG. 1
bowel disorders.                                               65 I. Screen silicified niicrocrystalline cellulose, mannitol,
   TI1e disclosure now being generally described will be            crospovidone and colloidal silica through a 20 mesh
more readily understood by reference to the following               screen and magnesium stearate through a 30 mesh screen.




                                                     JTX-002, page 14 of 29

                                                                 Appx86
      Case: 24-1061                        Document: 17                      Page: 143                  Filed: 12/28/2023




                                                        US 11,007,179 B2
                                      17                                                                 18
 2. Transfer the following into a 650-L tote bin: half of the                 amino }-methyl)-2-methoxy-benzoic acid does not produce
    silicified microcrystalline cellulose, all of the active ingre-           CNS effects that are prototypic of abused drugs. However,
    dient, mannitol, colloidal silica, crospovidone, and the                  parenteral administration does appear to produce these
    remaining half of silicified microcrystalline cellulose.                  effects. Typically, when this pattern of effects is observed in
    Blend at 12 rpm for 10 minutes. Add the magnesium 5 animals, it is recommended to conduct a human laboratory
    stearate, blend at 12 rpm for 5 minutes and sample.                       abuse potential study using both the therapeutic route (i.e.,
3. Compress the tablets using a Stoke 34D tablet press or                     oral), as well as the IV route, which would represent a "worst
    similar with a speed of 35-45 rpm. Collect samples                        case scenario."
    throughout the compression run.                                              In addition the recommendation to conduct in vitro stud-
4. Prepare the coating suspension by dispersing the Opadry 10 ies to determine the ease and feasibility of preparing 5-({
    II 85F18422 in water and mixing. Apply the coating                         [2-Amino-3-(4-carbamoyl-2,6-dimethy1-phenyl)-propio-
    suspension with a spray gun at 300 g/min in a 48 inch                     nyl]-[1-(4-phenyl-4,5-dihydro- lH-imidazol-2- yl)-ethyl]-
    Accela Cota coater with following parameters:                             amino }-methyl)-2-methoxy-benzoic acid for abuse through
                                                                              alternative routes of administration such as injection or
                                     TABLE 2                               15 snorting (e.g., in vitro extractability/tamperability studies).
                                                                              This is consistent with the draft "Guidance for Industry:
                             Tablet Coating Parameters                        Assessment ofAbuse Potential ofDrugs" (FDA, 2010). This
                Coating Parameter                             Setting
                                                                              example discloses the findings of such in vitro extractability/
                                                                              tamperability studies.
                   No. of Baffles                                4         20    Based on the FDA guidance, a series of in vitro laboratory
             Number of Spray Guns                                4            assessment studies were designed to explore the abuse
                 Spray Apparatus                         Schlick  (Module
                                                    9347-1535 with pattern    potential of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
                                                         and atomization      phenyl)-propiony!]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-
                                                           adjustments)       2-y l)-ethy l]-amino }-methyl)-2-methoxy-benzoic acid. Spe-
            Nozzle Diameter/Air Cap                  1.2 mm/Air Cap 4 mm   25 cific areas that were identified for laboratory assessment
                 Delivery System                         Peristalic Pump
                             0
              Gun to Bed Distance                         9" (8-11")          were as follows:
                                  0
            Set Point Delivery Rate                        300 ,"50              Physical manipulations and pretreatment effects
                                                          g/min/4 Guns           Aqueous and organic solvent extractions
                         0
                    Pan Speed                            4.5 (4-8) rpm           Syringeability assessments
                  Atomizing Air"                            30 ± 5 psi
                    Pattern Air"                            25 ± 5 psi     30    Simulated smoking assessments
              Inlet Air Temperature
                              0
                                                            60 ± 10° C.          Laboratory experiments were targeted toward outcomes
                Air Volume (Inlet)°                      1500 ± 500 cfm       that could produce tampered product suitable for adminis-
Guideline only-adjust as required to achieve a suitable coating process
                                                                              tration by alternate routes of administration including injec-
                                                                              tion, intranasal administration and smoking. Experiment
5. Cool the tablets and store in tared, labeled high density 35 design began with a consideration of the physical and
    polyethylene (HDPE) containers lined with double poly-                    chemical properties of the 5-({[2-Amino-3-(4-carbamoyl-2,
    ethylene bags with twist ties.                                            6-dimethy1-phenyl)-propiony!]-[ 1-(4-pheny1-4,5-dihydro-
6. Prepare final packaging in ACLAR blisters or HDPE                          l H-imidazol-2-yl)-ethyl ]-amino }-methyl)-2-methoxy-ben-
    bottles.                                                                  zoic acid and formulation excipients. The solubility profile
                                                                           40 of the 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
       Example 3-Abuse Liability Assessment of Oral                           propionyl]-[1-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-
                                   Formulation                                ethyl]-amino }-methyl)-2-methoxy-benzoic acid has been
                                                                              characterized as ranging from "slightly soluble" (1-10
   An abuse liability assessment was undertaken in rhesus                     mg/mL) in water to "sparingly soluble" 10-33 mg/mL in
monkeys to determine the doses and systemic exposure 45 acidic pH2 buffered solutions to "freely soluble" (100-1000
levels following acute intravenous administration of 5-( {[2-                 mg/mL) in O. lN Na OH solution. Consequently, a core group
Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-propionyl ]-                       oflaboratory assessments were directed toward experiments
[ 1-(4-phenyl-4,5-dihydro- lH-irn.idazol-2-yl)-ethyl]-                        that characterized the "extractability" of the 5-({[2-Amino-
amino }-methyl)-2-methoxy-benzoic acid that would                             3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-
provide a discriminative stimulus in morphine-conditioned 50 phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-amino }-
monkeys and positive reinforcing effects (self-achuinistra-                   methyl)-2-methoxy-benzoic acid from the formulation
tion) in heroin-conditioned monkeys. The dmg discrimina-                      matrix. The formulation tested was the 7 5 mg and 100 mg
tion studies revealed that morphine-trained monkeys dis-                      tablets described in Example 1, Table 1.
criminated between saline at an IV dose of .e:10 mg/kg of                        The first phase of the study consisted of assessing the
5-({[2-Amino-3-(4-carbamoyl-2,6-dimethy1-pheny1)-pro-                      55 formulation for ease of physical manipulation (e.g., crush-
pionyl]-[l -(4-phenyl-4,5-dihydro-1 H-imidazol-2-y1)-ethyl]-                  ing, film coating removal, and pretreatments), extractability
amino }-methyl)-2-methoxy-benzoic acid. Self-administra-                      with selected aqueous and organic solvents, effects of fil-
tion studies revealed that in monkeys conditioned to self-                    tration on assay results, simulated smoking experiments, and
administer heroin,                  5-( {[2-Amino-3-(4-carbamoyls2,6-         syringeability.
dimethyl-phenyl)-propionyl]-[l-( 4-phenyl-4,5-dihydro-lH- 60                     It was detenuined that first phase assessments of physical
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic                       manipulations (cutting/crushing/grinding assessments, pre-
acid (3.2 mg/kg/IV infusion) provided reinforcement for                       treatment by freezing and heating, and coating removal), and
self-achninistration. However, 1 mg/kg did not produce a                      simulated smoking experiments provided a clear and com-
signal in either morphine- or heroin-conditioned primates.                    plete body of data on these topics and no further assessments
   Thus, at least in animals, oral administration of 5-({[2- 65 were needed. The first phase assessments of extraction
Amino-3-(4-carbamoy1-2, 6-dimethyl-phenyl)-propionyl]-                        provided a basis for a second, formal phase study of extrac-
[ 1-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-                           tions from this formulation.




                                                    JTX-002, page 15 of 29

                                                               Appx87
       Case: 24-1061                      Document: 17                      Page: 144                 Filed: 12/28/2023




                                                      US 11,007,179 B2
                               19                                                                     20
    All assessments of these tablet formulations were per-         Effects of Filtration on 5-({[2-Amino-3-(4-carbamoyl-2,6-
 formed with the 100 mg 5-( {[2-Amino-3-(4-carbamoyl-2,6-          dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro-l H-
 dimethyl-phenyl)-propionyl]-[l-( 4-phenyl-4,5-dihydro-l H-        imidazol-2-yl )-ethy!]-amino }-methy1)-2-methoxy-benzoic
 imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic           acid Extractability
 acid dosage tablet (total tablet weight=824 mg) with the 5           With the suspicion that tmfiltered extractions might be a
 exception of physical manipulation experiments and the            combination of true extracted (dissolved) 5-({[2-Amino-3-
 Time Course study which were perfonned with the 75 mg             (4-carbamoy1-2,6-dimethyl-phenyI)-propiony l]-[1-(4-phe-
 strength tablet. The two dosage strengths are dose propor-        nyl-4,5-dihydro-l H-imidazol-2-yl)-ethy!]-amino }-methyl)-
 tional in relation to excipients (common blend) and have the      2-methoxy-benzoic acid and suspensions of m1dissolved
 same coating.                                                  10 material, additional extractions were perfonned to detennine
    To assure production ofreliable, accurate data, the experi-    the effect of filtration. Extracts were first filtered through
 mental design oflaboratory protocols included the following       0.45 ~un PTFE filters prior to HPLC analysis. Single whole
 elements: use of sufficient replicates to assess method vari-     and ground tablets were extracted at 25° C. with 10 mL
                                                                   solvent for 15, 30 and 60 minutes with water, acetone,
 ability; inclusion of controls for comparison where appro-
                                                                15 isopropyl alcohol, ethanol, pH 2.0 buffer, pH 4.0 buffer, pH
 priate, investigation over a broad range of chemical and
                                                                   7.0 buffer, pH 10.0 buffer.
 physical conditions, verification of analytical methods; and      Result Summary and Discussion
 use of independent laboratories to whom validated method-            Addition of the filtration step reduced recoveries for all
 ologies had been transferred.                                     solvents. The greatest decreases were observed with the
    A. Physical Manipulations and Pretreatments                 20 organic solvents. A comparison of the% 5-({[2-Amino-3-
    The ease of cutting and crushing of the tablets was            (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phe-
 assessed with a range of readily available household items        nyl-4,5-dihydro-1 H-imidazol-2-y l)-ethyl]-an1ino }-methyl)-
 including razor blades, spoons, pliers, tablet crnshers, ham-     2-methoxy-benzoic acid extracted for grom1d tablets at 60
mer, rolling pin, and mortar and pestle. The effect of tablet      minutes (25° C. with 10 mL solvent) is shown in Table 3,
pretreatment by freezing at -20° C. or heating at 100° C. was 25 below. Clearly, undissolved particles led to falsely increased
also assessed. Coating removal was assessed by rubbing             estimates of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
tablets with wet paper towels.                                     phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-
Result Summary and Discussion                                      2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic                    acid
    Although the tablets were slightly difficult to "crack",       recovery and considerable scatter in individual determina-
crushing could readily be accomplished with a variety of 3o tions.
common household tools. Freezing or oven heating of the
tablets did not affect tablet "crnshability." Coating removal                                      TABLE 3
could be accomplished easily with a wet paper towel.
    B. Extractions                                                                   Comparison of the% 5-({[2-Amino-3-
Solvent Extraction                                              35              (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
                                                                                  [l-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-
    Experiments designed to simulate preparation of the tab-                    ethyl]-amino }-methyl)-2-methoxy-benzoic acid
lets for injection were conducted by extracting a single                                  extracted from '1round tablets
powdered or intact tablet at 25° C. with 10 mL of solvent for
                                                                                                    % Recovery,          % Recovery,
15, 30 and 60 minutes with aqueous- and organic-based
                                                                                Solvent               Unfiltered           Filtered
solvents (water, 0.lM HCI, ethanol, hexane, pH 2.0 buffer, 40
pH 4.0 buffer, pH 7.0 buffer, pH 10.0 buffer, saline, 10%                        Water                    63                  38
ethanol, acetone, and isopropyl alcohol). The water and                         Acetone                   30                   2
                                                                           Isopropyl Alcohol              80                   0
ethanol extractions were repeated at 95° C.                                     Ethanol                   52                   5
Result Summary and Discussion                                                 pH 2 Buffer               103                   36
    Percent recoveries of 5-({[2-Amino-3-(4-carbamoyl-2,6- 45                 pH 4 Buffer                 58                  12
dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-                     pH 7 Buffer                 81                  22
                                                                             pH 10 Buffer               100                   33
imidazol-2- yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
acid for solvent extractions at 25° C. were variable with
solvent type. Aqueous-based solvents were more efficient              C. Syringeability
than non-polar organic solvents (e.g., hexane). Acidic and 50         Experiments were conducted to determine the syringe-
basic solvents were more efficient than water or ethanol.          ability of tablet extracts. These assessments were performed
Unusual high recoveries of 5-({[2-Amino-3-(4-carbamoyl-            on the remainder of solutions (following aliquot removal for
2,6-dimethyl-phenyl)-propiony]]-[ 1-(4-phenyl-4, 5-dihydro-        determination of% 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
1H-imidazol-2-yl)-ethyl ]-amino }-methyl)-2-methoxy-ben-           ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imi-
zoic acid were observed unexpectedly for isopropyl alcohol 55 dazol-2-yl)-              ethyl]-ainino }-methyl)-2-methoxy-benzoic
(80% at 60 minutes/25° C. grolllld tablet) and water (118%         acid recovery) produced in the first phase extractions at 25°
at 60 minutes/95° C.). It was noted that these experiments         C. Solutions were aspirated into disposable syringes
were conducted with unfiltered aliquots leading to the sus-        equipped with 25 gauge needles.
picion that un-dissolved particles of 5-({[2-Amino-3s(4-           Result Smnmary and Discussion
carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl- 60          All solutions were successfully loaded into disposable
4,5-dihydro-1 H-imidazol-2-y ])-ethyl ]-amino }-methyl)-2-         syringes equipped with a 25 gauge needle indicating that
methoxy-benzoic acid were being transferred and dissolved          extracted solutions offered no resistance to syringeability.
in the HPLC media during analysis, thereby falsely raising           D. Simulated Smoking Assessment
the trne percent of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-              Simulated smoking of the active ingredient was assessed
ethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro-1 H-imi- 65 by heating ground or intact tablets in a test tube fitted with
dazol-2-yl)-ethyl]-an1ino }-methyl)-2-methoxy-benzoic acid         an apparatus that collected vaporized 5-({[2-Amino-3-(4-
undergoing dissolution (extraction).                               carbamoyl-2,6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1-




                                                   JTX-002, page 16 of 29

                                                              Appx88
      Case: 24-1061                       Document: 17                     Page: 145                 Filed: 12/28/2023




                                                       US 11,007,179 B2
                               21                                                                     22
 4,5-dihydro-1 H-imidazol-2-y!)-ethyl ]-amino }-methyl )-2-        of solvent for 10 minutes. The extractions were shaken on an
 methoxy-benzoic acid. As heat from a heating block was            orbital shaker at 100 rpm, and then aliquots were removed
 applied to the sealed test tube, air was drawn through the        and filtered with 0.45 ~un PTFE filters for HPLC analysis.
 tube and over the surface of the heated product. The air          The solvents utilized in these assessments were water,
 exited through a collector cartridge (Cl 8 Sep-Pak cartridge) 5 saline, vinegar, 0.lM HCI, 10% ethanol, 40% ethanol, pH
 situated over the heated product. Product was heated to 225°      2.0 buffer, pH 4.0 buffer, pH 7.0 buffer, and pH 10.0 buffer.
 C. until the material was charred (usually approximately 5        Results were expressed in Table 4 below as % recovery (%
 minutes). Samples were heated for a total of 10 minutes. In       label claim) and as concentration (mg/mL).
 addition, pure 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-          Result Summary and Discussion
 phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-lH-imidazol- 10
 2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid was
                                                                                                TABLE 4
 treated in the same manner. The capacity for the apparatus
 to collect vaporized 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-               Summarv of mean results (n = 6) is shown in the table below.
ethyl-pheny1)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imi-
dazol-2-yl)-       ethyl]-amino }-methyl)-2-methoxy-benzoic 15                                  %            %        Cone.        Cone.
                                                                                           Recovery, Recovery, (mg/mL), (mg/mL),
acid was verified with a series of tests involving passing a      Solvent       ° C. Temp Ground           Intact     Ground       Intact
 standard solution of 5-({[2-Amino-3-(4-carbamoyl-2,6-di-
methyl-phenyl)-propionyl]-[1-( 4-phenyl-4,5-dihydro-1 H-          Water             25         22.1         16.4        2.2         1.6
                                                                                    95        39.9          38.7        4.0         3.9
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic           Saline            25         13.7         17.0        1.4         1.7
acid through the cartridge, and testing for "breakthrough" 20                       95        38.9          61.4        3.9         6.1
with serially co1111ected cartridges. Recoveries of standard      Vinegar           25         80.0         24.2        8.0         2.4
amounts of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-                                95        77.7          77.9        7.8         7.8
                                                                  0.lMHCI           25        33.5          50.1        3.3         5.0
phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-lH-imidazol-                            95        65.4          59.6        6.5         6.0
2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid refer-        10% Ethanol       25         19.3         12.6        1.9         1.3
ence material trapped by the collector were essentially 25                          95        80.9          70.8        8.1         7.1
quantitative. Heating ground and intact tablets with a torch      40% Ethanol       25        23.9          27.9        2.4         2.8
                                                                                    95        91.6          64.6        9.2         6.5
to extremely high temperatures was also attempted followed        pH 2 Buffer       25        56.1          32.7        5.6         3.3
by collection of vaporized material with a bubbler collector.                       95        67.5          73.2        6.8         7.3
Result Summary and Discussion                                     pH 4 Buffer       25          8.8          8.1        0.9         0.8
    Browning and charring was evident when tablets and 30                           95        27.8          24.2        2.8         2.4
                                                                  pH 7 Buffer       25        10.8          14.7        1.1         1.5
ground product were heated to 225° C. in the heating block                          95        41.3         40.0         4.1         4.0
or to extreme heat with a torch. No detectable 5-({[2-            pH 10 Buffer      25        38.5          38.3        3.9         3.8
Amino-3-(4-carbamoyl-2, 6-dimethy1-pheny1)-propionyl ]-                             95        83.9          65.4        8.4         6.5
[ 1-(4-pheny l-4,5-dihydro- l H-imidazol-2-yl)-ethy l]-
amino }-methyl)-2-methoxy-benzoic acid was vaporized 35
                                                                      Although there was considerable variability among rep-
from ground or intact tablets when heated by either method.
                                                                  licates, generally, the average amount of 5-({[2-Amino-3-
Only extremely minor traces of 5-({[2-Amino-3-(4-carbam-
                                                                  (4-carbamoyl-2,6-dimethy1-phenyI)-propiony l]-[1-(4-phe-
oy1-2,6-dimethyl-pheny1)-propiony!]-[ 1-(4-pheny1-4,5-di-
hydro- l H-imidazol-2-yl )-ethy l]-amino }-methyl)-2-             nyl-4,5-dihydro-1 H-imidazol-2-y1)-ethy!]-amino }-methyl)-
methoxy-benzoic acid were vaporized when pure 5-({[2- 40 2-methoxy-benzoic acid release (% recovery) was
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-             comparable between ground and intact tablets. As expected,
[ 1-(4-pheny1-4,5-dihydro-lH-imidazol-2-yl)-ethy!]-               extraction at near boiling conditions (95° C.) increased drug
amino }-methyl)-2-methoxy-benzoic acid was heated under           release. The most efficient solvents for extraction (<50%) of
the same conditions. Mass balance analysis was attempted          ground tablets at 25° C. were vinegar and pH 2 buffer. At
by analyzing the remaining 5-({[2-Amino-3-(4-carbamoyl- 45 elevated temperature, the solvents that allowed >50% recov-
2,6-dimethy I-phenyl )-propiony l]-[ 1-(4-pheny1-4,5-dihydro-     ery for ground product were vinegar, 0.lM HCI, 10%
1H-imidazol-2-y l)-ethyl]-an1i110 }-methy1)-2-methoxy-ben-        ethanol, 40% ethanol, pH 2 buffer, and pH 10 buffer. Extract
zoic acid in the heated test tubes. Generally, 5-({[2-Amino-      concentrations of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-             ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imi-
phenyl-4,5-dihydro- lH-imidazol-2-yl)-ethyl]-amino }-          50 dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
methyl)-2-methoxy-benzoic acid recoveries from the heated         from ground and intact tablets across all conditions ranged
tube were low likely indicating that heating under these          from 0.8 mg/mL to 9.2 mg/mL.
conditions produced thermal decomposition of the 5-( {[2-             F. Organic Solvent Extraction
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-                 This series of extractions was performed in a similar
[1-(4-phenyl-4,5-dil1ydro-1H-imidazol-2-yl)-ethyl]-            55 manner as the aqueous solvent extractions previously
amino }-methyl)-2-methoxy-benzoic acid. Consequently, it          described. Ground and intact tablets were extracted in 10 mL
seems safe to conclude that smoking is not a viable route of      of solvent for 10 minutes on an orbital shaker at 100 rpm.
administration for the 5-({[2-Amino-3-(4-carbamoyl-2,6-           Aliquots were removed and filtered with 0.45 ~n PTFE
dimethy1-phenyl)-propionyl ]-[1-(4-pheny1-4,5-dihydro-lH-         filters for HPLC analysis. The solvents utilized in these
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic 60 assessments were 95% ethanol, isopropyl alcohol, acetone
acid.                                                             and hexane.
    E. Aqueous Solvent Extraction                                 Result Summary and Discussion
    Small volume extractions were conducted with various              Organic solvent extraction of tablets was inefficient
household solvents and buffers to simulate extraction pro-        (<10%) across all conditions. The most efficient solvent
cedures that might be used for preparation of solutions for 65 utilized in this assessment was 95% ethanol that provided an
injection. Extractions were perfonned on six replicates of        average% recovery of 8.2% 5-({[2-Amino-3-(4-carbamoyl-
ground and intact tablets at 25° C. and 95° C. with 10 mL         2,6-dimethy1-pheny1)-propionyl]-[ 1-(4-pheny1-4,5-dihydro-




                                                  JTX-002, page 17 of 29

                                                              Appx89
      Case: 24-1061                       Document: 17                    Page: 146                    Filed: 12/28/2023




                                                     US 11,007,179 B2
                              23                                                                       24
lH-imidazol-2- yl)-ethyl]-amino }-methyl)-2-methoxy-ben-                                         TABLE 5
zoic acid (range, 6.0%-10.3%).
                                                                                     Mean extraction efficiencies of active
   G. Syringe Evaluation                                                           ingredient in extraction assessment
   Extracted solutions remaining from the aqueous extrac- 5                            Number
tions were assessed for syringeability. In this assessment, a                         of Tablet             %          Concentration,
10 mL syringe fitted with a 25 gauge needed was utilized to              Solvent     Equivalents        Recovery          mg/mL
withdraw as much of the remaining 7 mL volume of                          Water           2                41.2             8.2
extracted solution as possible into the syringe. A cotton ball                            4                22.4             9.0
was used to filter the solution by inserting the needle in the 10       0.lMHCl           2                76.8            15.4
                                                                                          4                46.1            18.5
cotton ball during aspiration of the solution. The volume of
solution successfully aspirated into the syringe was esti-
mated and an aliquot was tested to determine the milligram           It would appear that both water and 0.lM HCI have nearly
amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethy1-phe-           reached capacity for dissolution of the 5-({[2-Amino-3-(4-
ny l)-propionyl]-[ 1-(4-phenyl-4,5-dihydro- l H-imidazol-2-    15
                                                                  carbamoyl-2,6-dimethyl-pheny1)-propiony!]-[ 1-(4-pheny1-
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid loaded          4,5-dihydro-l H-imidazol-2-y l)- ethyl]-amino }-methyl)-2-
into the syringe.                                                 methoxy-benzoic acid under the two tablet equivalent
Result Summary and Discussion                                     extraction condition at 95° C. The effect of doubling the
   Of the remaining 7 mL volume of solution remaining 20 amount of potentially extractable 5-({[2-Amino-3-(4-car-
from extraction of a powdered tablet, the typical volume that     bamoy1-2, 6-dimethy1-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-
could be loaded into a 10 mL syringe fitted with a 25 gauge       dihydro- l H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
needle (cotton ball filtration) was 4-5 mL of solution. Thus,     methoxy-benzoic acid to four equivalents provided nearly
the loss of available solution ranged from approximately          equal concentrations of 5-({[2-Amino-3-(4-carbamoyl-2,6-
30% to 43% in this simulated assessment of preparing a 25 dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-l H-
solution for intravenous injection. The absolute amount of        inlidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
5-({[2-Amino-3-(4-carbamoy1-2,6-dimethyl-pheny1)-pro-             acid in both water and acid solution. At the same time, %
pionyl]-[l -(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]-      recovery for the 4 tablet condition was approximately one-
amino }-methyl)-2-methoxy-benzoic acid varied with the            half of the two tablet condition indicating each solvent had
                                                               30 reached a capacity limiting condition.
type of solvent. Overall, there was no evidence of resistance
to syringeability in these assessments.                                I. Large Volume Extraction
  H. Multiple Tablet Extraction                                         Given that the 5-({[2-Anlino-3-(4-carbamoyl-2,6-dim-
    This initial series of extractions was designed to assess the    ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-l H-imi-
                                                                  35 dazol-2-yl)-        ethyl]-amino }-methyl)-2-methoxy-benzoic
extraction efficiency of selected aqueous-based solvents for
                                                                     acid exhibits limited solubility in some solvents, extraction
preparation of tablets for injection. The extractions were
                                                                     with a larger volume nlight be attempted by individuals
performed with water and 0.lM HCI on ground tablets with             attempting to isolate the 5-({[2-Amino-3-(4-carbamoyl-2,6-
equivalent weight of 2 and 4 tablets. The extraction was             dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-dihydro-l H-
conducted with 10 mL of solvent for 10 nlinutes on an 4o inlidazol-2-yl )-ethy l]-anlino }-methyl)-2-methoxy-benzoic
orbital shaker at 100 rpm at 95° C. Following extraction,            acid for administration by non-intended routes. This extrac-
aliquots were removed and filtered with 0.45 µm PTFE                 tion assessment was perfonned with ground and intact
filters for HPLC analysis. The rationale for the design of this      tablets. Extractions were conducted with 30 mL volume of
study was that individuals might attempt to extract a larger 45 solvents (water, 0.lM HCI, 10% ethanol, and 95% ethanol)
dose of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-                at 25° C. for 10 minutes and 24 hours on an orbital shaker
nyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro- l H-imidazol-2-           at 100 rpm, then filtered with a 0.45 µm PTFE filter for
                                                                     HPLC analysis.
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid through
the use of heat, larger volumes and possibly use of acidic           Result Summary and Discussion
media. Although 10 mL volume is large for injection pur- 50             The mean extraction efficiencies and concentration of
poses, it is plausible that such a volume nlight be attempted,       5-({[2-Anlino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-pro-
especially given the limited solubility of the 5-({[2-Anlino-        piony l]-[ l -(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]-
                                                                     amino }-methyl)-2-methoxy-benzoic acid in this extraction
3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-
                                                                     assessment are shown in Table 6 below.
phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-anlino }-             55
methyl)-2-methoxy-benzoic acid. Also, it should be noted                                            TABLE 6
that although injection of a llighly acid solution (0.lM HCI)
                                                                                          Extraction efficiencies of active
would likely result in discomfort and tissue injury, some                               imrredient in extraction assessment
individuals may attempt such procedures.                          60
                                                                                                 %             %         Cone.       Cone.
Result Summary and Discussion                                                     Extraction Recovery,      Recovery,   (mg/mL),   (mg/mL),
                                                                        Solvent     Time      Ground         Intact      Ground      Intact
   The mean extraction efficiencies and concentration of
5-( {[2-Anlino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-pro-                 Water      10 min       19.8           0.9        0.7        0.03
                                                                                   24 hr        22.1          18.4        0.8        0.7
pionyl]-[l-( 4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]- 65                                                           2.3        0.1
                                                                      0.lMHCI      10 min       67.6           2.9
amino }-methyl)-2-methoxy-benzoic acid in this extraction                          24 hr        68.1          35.9        2.5        1.3
assessment are shown in Table 5.




                                                 JTX-002, page 18 of 29

                                                            Appx90
      Case: 24-1061                                      Document: 17                       Page: 147                     Filed: 12/28/2023




                                                                        US 11,007,179 B2
                                        25                                                                                 26
                             TABLE 6-continued                                                                   TABLE 7-continued
                        Extraction efficiencies of active
                      ingredient in extraction assessment                                                        Extraction efficiencies of
                                                                                                         active ingredient in extraction assessment
                              %                   %            Cone.       Cone.    5
                Extraction Recovery,           Recovery,     (mg/mL),    (mg/mL),
   Solvent        Time      Ground              Intact        Ground       Intact                                           %           %        Cone.   Cone.

 10% Ethanol        10 min       26.7            5.1           0.9         0.2                                   Ex-        Re-        Re-       (mg/    (mg/
                    24 hr        28.8           47.7           1.1         1.8                     Temp.,      traction   covery,    covery,     mL),    mL),
 95% Ethanol        10 min       27.0            0.06          0.9         0.0      10
                    24 hr        29.9            5.8           1.1         0.2           Solvent    o   C.      Time      Ground      Intact    Ground   Intact


                                                                                         OMHCI      25         JO min      100.6       86.2       20.l   17.2
    There was little difference in percent recovery of 5-({[2-
                                                                                 95     10 min     90.2     102.3   18.1     20.5
Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-propionyl]-
                                                                  15             25     24 hr      91.8      95.J   18.4     19.0
[ 1-(4-phenyl-4,5-dihydro- lH-imidazol-2-yl)-ethyl]-
amino }-methyl)-2-methoxy-benzoic acid from the ground                           95     24 hr      79.1      83.9   15.8     16.8
tablet following a 10 minute extraction period as compared
to extending the extraction period to 24 hours. In contrast,
extraction of intact tablets for 10 minutes was considerably 20         Increasing the extraction temperature from 25° C. to 95°
less efficient than for 24 hours. It is likely that the increased    C. enhanced recovery and solubility of the 5-({[2-Amino-
surface area of the ground material was responsible for the          3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-
rapidness of the 10 minute extraction outcome. All concen-           phenyl-4,5-dihydro-1 H-imidazol-2-yl)-        ethyl]-amino }-
trations of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-            methyl)-2-methoxy-benzoic acid in water and saline;
nyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro- lH-imidazol-2-         25 however extending extraction time did not appear to extract
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid in the             additional drug. Concentration of 5-({[2-Amino-3-(4-car-
different solvent extracts were consistently <3 mg/mL.               bamoy1-2, 6-dimethy1-pheny1)-propionyl]-[1-(4-phenyl-4,5-
                                                                     dihydro- l H-imidazol-2-yl )-ethy l]-amino }-methyl)-2-
   J. Small Volume Extraction
                                                                     methoxy-benzoic acid in water and saline was consistently
   Smaller volume extractions are coll1lll.only used by indi- 30 <10 mg/mL. The use of 0.lM HCI substantially enhanced
viduals attempting to prepare a solution for i1zjection. Water       recovery (nearly quantitative) and concentration of 5-( {[2-
and saline are commonly used solvents for injection and              Amino-3-(4-carbamoy1-2, 6-dimethyl-pheny1)-propiony I]-
were included in this study. Although it seems unlikely that         [1-(4-phenyl-4,5-dihydro- lH-imidazol-2-yl)-ethyl]-
0.lM HCI would be used as a solvent because of it toxic
                                                                     amino }-methyl)-2-methoxy-benzoic acid in solution
effects, it was included as a "worst-case scenario" in con- 35
                                                                     although extraction for 24 hr at 95° C. appeared to produce
sideration of tl1e solubility properties of the 5-({[2-Amino-
3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-                loss of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
phenyl-4,5-dihydro-1 H-imidazol-2-y1)-ethy!]-amino}-                 nyl)- propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-
methy1)-2-methoxy-benzoic acid in the tablets. This                  yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid (de-
extraction assessment was performed with ground and intact 40 composition). Concentrations of 5-({[2-Amino-3-(4-
tablets. Extractions were conducted with 5 mL volume of              carbamoyl-2,6-dimethyl-pheny1)-propiony!]-[ 1-(4-pheny1-
solvents (water, saline, and 0.lM HCI) at 25° C. and 95° C.          4,5-dihydro-1 H-imidazol-2-y1)-ethyl]-am.ino }-methy1)-2-
for 10 minutes and 24 hours on an orbital shaker at 100 rpm,         methoxy-benzoic acid in the acid extracts were in the range
tl1en filtered with a 0.45 µm PTFE filter for HPLC analysis.         of 16-21 mg/mL.
Result Summary and Discussion                                         45    K. Filter Evaluation
   The mean extraction efficiencies and concentration of                    With the discovery that suspensions of material contain-
5-({[2-Amino-3-(4-carbamoy1-2,6-dimethy1-pheny1)-pro-                    ing 5-({[2-Amino-3-(4-carban1oyl-2,6-dimethyl-phenyl)-
pionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-             propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-im.idazol-2-yl)-
amino }-methyl)-2-methoxy-benzoic acid in this extraction                ethyl]-an1ino }-methyl)-2-methoxy-benzoic          acid     were
                                                                      50
assessment are shown in Table 7 below.                                   falsely elevating measures of drug release and recovery, an
                                                                         assessment was performed to determine how different types
                               TABLE 7                                   of filtration systems might affect drug release measurements.
                         Extraction efficiencies of                      Extractions were perfonned on ground and intact tablets.
                active ingredient in extraction assessment            55 Extractions were conducted with 5 mL volume of solvent
                                                                         (water, 0.lM HCI, 10% ethanol and 95% ethanol) at 25° C.
                                     %           %      Cone.  Cone.
                         Ex-        Re-         Re-      (mg/   (mg/
                                                                         for 10 minutes on an orbital shaker at 100 rpm. Following
           Temp.,     traction    covery,     covery,    mL),  mL),      extraction, extracts were filtered as follows: unfiltered (con-
 Solvent    o C.        Time      Ground       Intact   Ground Intact    trol); 0.45 ~un PTFE filter; cotton ball filter; cigarette filter;
  Water      25        10 min       16.2        16.4      3.2    3.3  60 and coffee paper filter.
               95       lOmin           34.7          32.4       6.9        6.5        Result Summary and Discussion
               25       24 hr           17.1          17.2       3.4        3.5
               95       24 hr           28.3          25.9       5.7        5.2          The mean extraction efficiencies and concentration of
 Saline        25       10 min          16.9          17.5       3.4        3.5        5-({[2-Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-pro-
               95       10 min          46.2          41.0       9.2        8.2
               25       24 hr           17.6          17.7       3.5        3.6     65 pionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-
               95       24hr            24.1          23.5       4.8        4.7        amino }-metl1yl)-2-methoxy-benzoic acid in this extraction
                                                                                       assessment are shown in Table 8 below.




                                                                 JTX-002, page 19 of 29

                                                                             Appx91
       Case: 24-1061                         Document: 17                        Page: 148                     Filed: 12/28/2023




                                                         US 11,007,179 B2
                                 27                                                                            28
                             TABLE 8                                               filtration. Since the 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
                                                                                   ethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-dihydro-1 H-imi-
     Extraction efficiencies of active inru-edient in extraction assessment        dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
                                     %             %          Cone.     Cone.      exhibits considerably greater solubility in 0.IM HCl, there
                                 Recovery, Recovery, (mg/mL), (mg/mL), 5 were not suspended particles that would have been filtered
    Solvent       Filter Type     Ground        Intact      Ground      Intact     out. It should be noted that this somewhat uuusual behavior
     Water        Unfiltered        49.1         61.9           9.8     12.4       (forming particle suspensions in solvents with limited solu-
                   0.45 µm          16.5        16.9            3.3      3.4       bility for the 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
                  PTFE filter                                                      phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-
                 Cotton Ball        18.2         16.8           3.6      3.4   lO 2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid) adds
                   Cigarette        18.5         16.9           3.7      3.4
                     Filter                                                        a source of considerable variability that would be highly
                 Coffee Filter      16.8         17.1           3.4      3.4       dependent upon conditions employed during extraction.
   0.lM HCl       Unfiltered        74.3        83.2           14.9     16.6       This unique property of the formulation is not expected to be
                   0.45 µm          76.7        87.4           15.3     17.5
                 PTFE filter
                                                                                   easily discoverable by individuals that might attempt extrac-
                 Cotton Ball        56.6        86.3           11.3     17.3   l5 tion with common household solvents.
                   Cigarette        37.6        82.8            7.5     16.6          The sustained amount of time that an extraction solvent is
                     Filter                                                        in contact with a fonnulation can substantially influence
                 Coffee Filter      63.2        85.3           12.6     17.1
                                                                                   how much active is released (and dissolved in the extraction
 10% Ethanol Unfiltered             90.7        76.4           18.1     15.3
                   0.45 µm          22.4        23.5            4.5      4.7       solvent). This is particularly true for actives that exhibit
                 PTFE filter                                                   2 0 limited solubility in the chosen solvent. Review of data
                 Cotton Ball        24.0        23.7            4.8      4.8       generated in the study involving extraction with 30 mL of
                   Cigarette        24.9        24.4            5.0      4.9
                                                                                   solvent for 10 minutes and 24 hours generally indicated
                     Filter
                                    22.6        22.9            4.5      4.6       greater variability (% RSD) for the shorter extraction time
 95% Ethanol Unfiltered             62.0          0.1         12.4       0.03      compared to the 24 hour extraction. To assess the influence
                   0.45 µm           7.3          0.1           1.5      0.02  25 to extraction time, a detailed time course study was con-
                 PTFE filter
                 Cotton Ball        26.7          0.04          5.3      0.01
                                                                                   ducted to detennine the impact of extraction time on data
                   Cigarette        16.0          0.02          3.2      0.0       variability and on percent recovery of the 5-({[2-Amino-3-
                     Filter                                                        (4-carbamoy1-2,6-dimethy1-pheny1)-propionyl]-[ 1-(4-phe-
                Coffee Filter       10.4          0.03          2.1      0.01      nyl-4,5-dihydro-I H-imidazol-2-yl)-ethyl]-amino }-methyl)-
                                                                               30 2-methoxy-benzoic acid from the tablets.
    Filtration had a substantial effect on apparent drug release                      Extractions were perfonned on single grmmd and intact
in extractions with solvents that exhibit limited solubility                       tablets (75 mg strength). Extractions were conducted with
(i.e. water, 10% ethanol, 95% ethanol) for the 5-( {[2-                            22.5 mL volume of solvent (water, 0. IM HCl, vinegar, and
Alnino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-                             pH 7 buffer) at 25° C. and 95° C. on an orbital shaker at I 00
[1-(4-phenyl-4,5-dihydro- lH-irnidazol-2-yl)-ethyl]-                           35 rpm. A 2 mL aliquot was withdrawn at each time point. The
amino }-methyl)-2-methoxy-benzoic acid. Without filtration,                        time points were as follows: 10, 20, 30, 45 and 60 minutes,
the evidence appears persuasive that particle suspension was                       4, 12, and 24 hours. Extracts were filtered with a 0.45 µ111
the cause of these differences. When suspensions were                              PTFE filter for HPLC analyses.
prepared for assay by HPLC, the 5-({[2-Alnino-3-(4-car-                            Result Summary and Discussion
bamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-                       40     The mean extraction efficiencies of 5-({[2-Alnino-3-(4-
dihydro-lH-imidazol-2-yl)-                    ethyl]-amino }-methyl)-2-            carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-
methoxy-benzoic acid became soluble in the HPLC mobile                             4,5-dihydro-l H-imidazol-2-yl)-ethyl]-an1ino }-methyl)-2-
phase and this accounted for the elevated "readings" (mea-                         methoxy-benzoic acid over time and % RSD (11=6
surements). In contrast, extraction with 0.IM HCl showed                           replicates) in this extraction assessment are shown in the
little difference in drug release and recovery with or without                     Table 9, below.
                                                                                                 TABLE 9
                                                                             Extraction efficiencies of active ingredient over time

                                                                                                     Time Vessel

                                                                    10      20      30            45                       4           12      24
                                                                  minutes minutes minutes       minutes       Hour      Hours         Hours   Hours

                                                                   Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
                                                                     (l-(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]-amino)-methyl)-2-
                                                                    metho:..-y-benzoic acid released label claim (%) Water Ground-25° C.

                                                           Mean 27.21       30.10     31.45      33.55       35.51       44.16        53.07   59.37
                                                           RSD ,0, 28.6     21.7      19.0       21.7        16.3        15.7         13.5    11.0

                                                                   Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
                                                                     (l-(4-phenyl-4,5-dihydro- l H-imidazol-2-yl )-ethy!]-amino}-methy1)-2-
                                                                     methoxy-benzoic acid released label claim (A) Water Whole-25° C.

                                                           Mean     2.04    12.59     18.75      20.86       25.40       36.81        51.21   55.07
                                                           RSD     43.8     63.7      32.8       38.2        24.6        11.8          4.6     4.0




                                                      JTX-002, page 20 of 29

                                                                  Appx92
       Case: 24-1061                              Document: 17                           Page: 149   Filed: 12/28/2023




                                                                US 11,007,179 B2
                                     29                                                              30
                                 TABLE 9-continued
                   Extraction efficiencies of active infl.redient over time

                                             Time Vessel

         10      20      30             45                        4            12      24
       minutes minutes minutes        minutes        Hour       Hours         Hours   Hours

        Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
          [1-(4-pheny l-4,5-dihydro-1 H-imidazol-2-yl )-ethyl]-amino}-methyl)-2-
         methoxy-benzoic acid released label claim (%) Water Ground-95° C.

Mean     5 6.90    64.63    70.42         75.04      81.27       91.07        94.43    94.42
RSD      45.1      33.9     26.6          20.6       14.4         4.4          3.6      3.0

        Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
          [1-(4-pheny l-4,5-dihydro-1 H-imidazol-2-yl )-ethyl]-amino }-methyl)-2-
         methoxy-benzoic acid released label claim (%) Water Whole-95° C.

Mean     80.78     83.66    84.16         87.39      89.43       93.21        93.11    93.32
RSD       6.5       5.8      5.1           5.1        4.8         3.3          3.9      3.0

        Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
           [1-(4-pheny l-4,5-dihydro-1 H-imidazol-2-y l)-ethyl]-amino }-methyl)-
       2-methoxy-benzoic acid released label claim(%) 0.lM HCl Ground-25° C.

Mean     87.33     89.02    91.07         93.50      92.99       97.84    101.50      101.39
RSD      30.5      30.2     24.7          17.2       18.3         7.3       1.9         2.0

       Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
         [l-(4-pheny l-4,5-dihydro- lH-imidazol-2-yl )-ethyl]-amino }-methyl)-2-
       methoxy-benzo ic acid released label claim(%) 0.lM HCl Whole-25° C.

Mean     2.69      14.32    31.30         35.88      59.16       77.52    101.48      102.69
RSD     51.7       72.2     44.5          21.8       19.5         9.4       1.9         2.8

       Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-pheny)-propionyl]-
         [1-(4-pheny1-4,5-dihydro- l H-imidazol-2-yl )-ethyl]-amino}-methyl)-2-
       methoxy-benzoic acid released label claim(%) 0.lM HCI Ground-95° C.

Mean    99.59      95.96    97.03         96.96      97.30       94.15        86.08    77.39
RSD      1.9        2.1      2.0           2.2        2.3         2.3          2.4      2.5

       Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
         l-(4-pheny1-4,5-dihydro-1 H-imidazo l-2-yl)-ethyl ]-amino}-methy 1)-2-
       methoxy-benzoic acid released label claim(%) 0.lM HCI Whole-95° C.

Mean    48.15      71.95    81.70         89.30      93.49      100.44        93.17    82.24
RSD     17.7        8.3      5.1           4.6        2.9         3.1          1.8      2.6

       Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
         [1-(4-pheny1-4,5-dihydro-lH-imidazol-2-yl )-ethyl]-amino}-methyl)-2-
        methoxy-benzo ic acid released label claim (%) Vmegar Ground-25° C.

Mean    88.42      88.76    90.61         91.82      93.93       98.38    100.89      101.12
RSD      3.6        4.2      3.3           4.3        5.3         2.5       1.8         1.4

       Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
         (1 -(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl )-ethyl]-amino}-methyl)-2-
        methoxy-benzoic acid released label claim (%) Vinegar Whole-25° C.

Mean    17.12      18.23    20.04         35.03      42.72       58.04    101.52      105.46
RSD    207.3      171.5    158.6          97.4       67.5        36.9       5.3         2.7

       Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
         [1-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-ethyl]-amino)-methyl)-2-
        methoxy-benzoic acid released label claim (%) Vinegar Ground-95° C.

Mean    94.28      98.54   100. 73     101.69       103.65      105.12    104.81      102.88
RSD     11.0        8.6      7.3         5.4          4.6         4.0       4.5         4.4

        Amount of 5-({ [2-Amino-3-(4-carbamoyl-2,6-dimethyl-pheny)-propionyl]-
          [1 -(4-pheny1-4,5-dihydro-1 H-imidazol-2-yl )-ethyl]-amino}-methyl)-2-
         methoxy-benzoic acid released label claim (%) Vinegar Whole-95° C.

Mean    40.62      55.03    83.87         91.96      97.91      111.12    111.29      109.85
RSD      4.1        8.9     23.7          16.5       10.8         4.7       4.5         5.6




                                                             JTX-002, page 21 of 29

                                                                         Appx93
        Case: 24-1061                             Document: 17                         Page: 150   Filed: 12/28/2023




                                                                US 11,007,179 B2
                                    31                                                             32
                                   TABLE 9-continued

                   Extraction efficiencies of active ingredient over time

                                               Time Vessel

          10       20        30           45                      4          12       24
        minutes minutes minutes       minutes         Hour      Hours       Hours    Hours

        Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
          [1-(4-phenyl-4,5-dihydro- lH-imidazol-2-yl )-ethyl]-amino }-methy1)-2-
         methoxy-benzoic acid released label claim (%) pH 7 Ground-25° C.

 Mean    39.81    44.07    47.83         50.48        52.76     59.47       68.50    76.49
 RSD      7.5     10.7     16.1          15.7         15.1      14.4         8.8      7.9

        Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
          [1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl )-ethyl ]-amino}-me thy 1)-2-
          methoxy-benzoic acid released label claim (%) pH 7 Whole-25° C.


 Mean     3.50     6.21      9.15        10.25        13.68     22.74       42.44    54.14
 RSD     32.5     67.3      65.5         41.9         15.7      18.7        16.3     10.0

        Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
           (4-pheny1-4,5-dihydro-1 H-imidazo 1-2-yl )-ethyl ]-amino}-methy 1)-2-
         methoxy-benzoic acid released label claim (%) pH 7 Ground-95° C.


 Mean    58.27    77.50    82.71         87.58        90.99     98.74       98.87    96.37
 RSD     23.3     13.8       9.6          5.7          4.3       5.4         4.9      5.0

        Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
          [l-(4-pheny1-4,5-dihydro- l H-imidazo 1-2-yl )-ethyl]-amino }-methy1)-2-
           methoxy-benzoic acid released label claim (%) pH 7 Whole-95° C.

 Mean   51.73     67.29    74.12         77.83        81.70     97 .02   100.80      97 .68
 RSD    17.1       4.3      7.4           2.4          2.8       4.0       3.4        3.5




   An analysis of the mean % RSD from these data across          different extraction conditions are shown in FIG. 2. The
the four solvents is shown in the Table 10 below.                abbreviations used in the plots are as follows:
                                                                 Gr=ground tablet; Wh=whole, intact tablet.
                          TABLE 10                            40 General observations from these time course data include
                                                                 the following:
                 Mean % RSD across the four solvents
                                                                    With short extraction times (e.g., 10 minutes), ground
                 Mean       Mean            Mean     Mean              tablets are more efficiently extracted than whole tablets
                %RSD       %RSD           %RSD       %RSD           With extended extraction time (e.g., 24 hours), there is
                 25° C.     25° C.         95° C.    95° C.   45
    Time, hr    Ground      Whole         Ground     Whole
                                                                       little difference in extractability of 5-({[2-Amino-3-(4-
                                                                       carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-
       0.17       17.6       83.8           20.3      11.4             phenyl-4,5-dihydro-1 H-imidazol-2-yl)-ethyl]-amino }-
       0.33       16.7       93.7           14.6       6.8
       0.5        15.8       75.4            11.4     10.3             methyl)-2-methoxy-benzoic acid from grmmd versus
       0.75       14.7       49.8             8.5      7.2    50
                                                                       whole tablets
       1          13.8       31.8             6.4      5.3          Extraction under heated conditions (e.g., 95° C.) substan-
       4          10.0       19.2             4.0      3.8
      12           6.5        7.0             3.9      3.4
                                                                       tially increases % recovery at shorter extraction times
      24           5.6        4.9             3.7      3.7          Acidic solvents are more efficient in extracting 5-( {[2-
                                                                       Amino-3-( 4-carbamoyl-2,6-dimethyl-phenyJ)-propio-
                                                              55       nyl]-[l-(4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-
   In general, there was greater variability in extraction of          ethyl]-amino }-methyl)-2-methoxy-benzoic acid than
the      5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-             water or pH neutral solvents
propionyl]-[1-( 4-phenyl-4,5-dihydro-lH-imidazol-2-yl)-             L. Investigations of Multiple Tablet Extractions
ethyl]-amino }-methyl)-2-methoxy-benzoic acid from )he              In addition to extractions of multiple tablets, additional
tablets with shorter times and at the lower extraction tem- 60 experiments were conducted to detennine the optimal con-
perature (25° C.) compared to 95° C. Also, there was less        ditions for preparation of multiple tablets for injection.
variability in extraction of the ground tablet at 25° C.         Initially, attempts were made to identify the correct combi-
compared to the whole tablet.                                    nation(s) of solvent and ground tablets that would yield the
   Representative time course plots of cumulative percent        most concentrated recoverable solution of 5-({[2-Amino-3-
recovery of 5-({[2-Arn.ino-3-(4-carbamoyl-2,6-dimethyl- 65 ( 4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phe-
phenyl)-propiony J]-[ 1-(4-pheny1-4,5-dihydro-1 H-imidazol-      nyl-4,5-dihydro-1 H-imidazol-2-y1)-ethyl]-amino }-methyl)-
2-y l)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid under       2-methoxy-benzoic acid from tablets. Based on these initial




                                                              JTX-002, page 22 of 29

                                                                         Appx94
      Case: 24-1061                      Document: 17                        Page: 151                       Filed: 12/28/2023




                                                        US 11,007,179 B2
                              33                                                                             34
assessments, a study was designed in which extractions were                                      TABLE 11-continued
conducted with powdered tablets at 25° C. and 95° C. with
                                                                                          Extraction efficiencies and concentrations
the equivalent of four tablets. The extractions were con-                                     of 5-({[2-Amino-3-(4-carbamoyl-
ducted for 10 minutes, one hour, and 12 hours with 10 mL                              2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-
of water, vinegar, O.lM HCI, and saline. The extraction vials        5                    dihydro- lH-imidazol-2-yl)-ethyl]-amino}-
                                                                                          methyl)-2-methoxy-benzoic acid over time
were shaken on an orbital shaker at 200 rpm. Following
extraction, extracts were filtered with a 0.45 µm PTFE filter                                         %             Cone.       %           Cone.
for HPLC analyses.                                                                      Extraction Recovery,      (mg/mL),   Recovery,    (mg/mL),
                                                                            Solvent       Time      25° C.         25° C.     95° C.       95° C.
Result Summary and Discussion                                                                                                     --
                                                                     10 - - - - - -        ---------------                      13.7
                                                                          0.lM HCl       10 min    18.0       7.2     34.3
   The mean extraction efficiencies and concentrations of                                 1 hr     39.7     15.9      70.2      28.1
5-( {[2-Amino-3-(4-carbamoy1-2,6-dimethy1-phenyI)-pro-                                   12 hr     88.3     35.3      90.6      36.3
pionyl ]-[ 1-(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]-
amino }-methyl)-2-methoxy-benzoic acid over time in this                   These data suggest that the maximal concentration of
extraction assessment are shown in Table 11 below. Data for 15 5-({[2-Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-pro-
the four solvents are listed in order from lowest (water) to            piony l]-[ l -(4-phenyl-4,5-dihydro-l H-imidazol-2-yl)-ethyl]-
highest polarity and acidity (O.lM HCI).                                amino }-methyl)-2-methoxy-benzoic acid that can be
                                                                        extracted with water and saline is approximately 4 mg/mL at
                               TABLE 11                                 room temperature (e.g., 25° C.) and approximately IO
                                                                     20 mg/mL under near boiling conditions (e.g., 95° C.). Further,
                                                                        there appeared to be little difference in maximal concentra-
                Extraction efficiencies and concentrations
                                                                        tions with water and saline regardless of extraction time. Use
                    of 5-( {[2-Amino-3-(4-carbamoyl-                    of an acidic solvent such as vinegar and the highly acidic
            2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-           solvent, O.lM HCI led to the production of more concen-
                dihydro- lH-imidazol-2-yl)-ethyl]-amino}-            25 trated extracts of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-

               methyl)-2-methoxy-benzoic acid over time
                                                                        ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-4,5-dihydro-l H-imi-
                                                                        dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
                                                                        with maximal values of approximately 36 mg/mL being
                                %         Cone.         %     Cone.     achieved with a 12 hour extraction period. There was both
               Extraction Recovery, (mg/mL), Recovery, (mg/mL), 30 time and temperature dependence on concentration with
                                                      95° C.  95° C.
                                                                        these two solvents. With vinegar, maximal concentrations
   Solvent       Time         25° C.      25° C.
                                                                        over the 10 minute and one hour extraction period were
                                                                        approximately 2-11 mg/mL at 25° C. and 6-19 mg/mL,
    Water       10 min          8.1         3.3        24.2     9.7     respectively. With O.lM HCI, maximal concentrations over
                  1 hr          9.5         3.8        23.6     9.4  35
                                                                        the IO minute and one hour extraction period were approxi-
                12 hr           8.9         3.6        25.1    10.0
                                                                        mately 7-16 mg/mL at 25° C. and 14-28 mg/mL, respec-
                                                                        tively. Given these maximal concentrations, ru1 estimate of
    Saline      10 min          8.9         3.5        18.5     7.4     the required volume of extracted 5-({[2-Amino-3-(4-car-
                  1 hr          9.8         3.9        22.3     8.9     brunoy1-2, 6-dimethy1-phenyl)-propionyl ]-[ 1-(4-phenyl-4,5-
                12 hr           9.8         3.9        24.1     9.6     dihydro- l H-imidazol-2-yl)-ethy!]-amino }-methy1)-2-
                                                                     40 methoxy-benzoic acid that would deliver 350 mg of 5-( {[2-
   Vinegar      10 min          5.6         2.2        16.0     6.4
                                                                        Amino-3-(4-carbrunoy1-2, 6-dimethyl-pheny1)-propionyl]-
                  1 hr         27.7        11.1        48.0    19.2     [1-(4-phenyl-4,5-dihydro-IH-imidazol-2-yl-ethyl]-runino }-
                12 hr          78.8        31.5        79.5    31.8     methyl)-2-methoxy-benzoic acid by injection is shown in
                                                                        Table 12 below.
                                                                                        TABLE 12
                                               Estimate of the required volume of extracted 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
                                               propionyl ]-[1-(4-phenyl-4,5-dihydro-l H-imidazol-2-y1)-ethyl]-amino }-methyl)-2-methoxy-benzoic
                                                                acid that would deliver 350 mg of active ingredient by injection.

                                                                                         Injection Volume                      Injection Volume
                                                                                        (mL) Required for                     (mL) Required for
                                                                                        350 mg of 5-( {[2-                    350 mg of 5-({[2-
                                                                                            Amino-3-(4-                           Amino-3-(4-
                                                                                          carbamoyl-2,6-                        carbamoyl-2,6-
                                                                                        dimethyl-phenyl)-                      dimethyl-phenyl)-
                                                                                         propionyl]-[1-(4-                     propionyl]-[1-(4-
                                                                                            phenyl-4,5-                           phenyl-4,5-
                                                                                            dihydro-lH-                           dihydro- lH-
                                                                                          imidazol-2-yl)-                       imidazol-2-yl)-
                                                                                          ethyl]-amino}-                        ethyl]-amino }-
                                                                          Cone.              methyl)-2-         Cone.              methyl)-2-
                                                          Extraction     (mg/mL),        methoxy-benzoic       (mg/mL),        methoxy-benzoic
                                               Solvent      Time          25° C.           acid at 25° C.       95° C.           acid at 95° C.

                                                Water       10 min         3.3                106.1                 9.7                36.1
                                                             1 hr          3.8                 92.1                 9.4                37.2
                                                            12 hr          3.6                 97.2                10                  35.0




                                                 JTX-002, page 23 of 29

                                                             Appx95
      Case: 24-1061                           Document: 17                          Page: 152         Filed: 12/28/2023




                                                            US 11,007,179 B2
                                  35                                                                  36
                                       TABLE 12-continued

   Estimate of the required volume of extracted 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
   propionyl]-[ 1-(4-phenyl-4,5-dihydro-1 H-imidazol-2-yl )-ethyl]-amino}-methy1)-2-methoxy-benzoic
                    acid that would deliver 350 mg of active ingredient by injection.

                                            Injection Volume                      Injection Volume
                                           (mL) Required for                     (mL) Required for
                                           350 mg of 5-({[2-                     350 mg of 5-({[2-
                                               Amino-3-(4-                           Amino-3-(4-
                                             carbamoyl-2,6-                        carbamoyl-2,6-
                                           dimethyl-phenyl)-                     dimethyl-phenyl)-
                                            propionyl]-[1-(4-                     propionyl]-[1-(4-
                                               phenyl-4,5-                           phenyl-4,5-
                                               dihydro- lH-                          dihydro-lH-
                                             imidazol-2-yl)-                       imidazol-2-yl)-
                                             ethyl]-amino }-                       ethyl]-amino }-
                              Cone.             methyl)-2-          Cone.             methyl)-2-
              Extraction    (mglmL),        methoxy-benzoic       (mgimL),        methoxy-benzoic
   Solvent      Time         25° C.           acid at 25° C.       95° C.           acid at 95° C.

   Saline       10 min         3.5               100.0                7.4               47.3
                 1 hr          3.9                89.7                8.9               39.3
                12 hr          3.9                89.7                9.6               36.5
  Vinegar       10 min         2.2               159.1                6.4               54.7
                 1 hr         11.1                31.5               19.2               18.2
                12 hr         31.5                11.1               31.8               11.0
  0.lMHCl       10 min         7.2                48.6               13.7               25.5
                 1 hr         15.9                22.0               28.1               12.5
                12 hr         35.3                 9.9               36.3                9.6




     Typical opioid ilzjection volumes are generally in the 1-3       What is clailned is:
mL range but plausibly could be as high as IO mL. Assmning            1. An abuse-deterrent, mono-phasic pharmaceutical tablet
that a 350 mg injected dose of 5-({[2-Amino-3-(4-carbam-           comprising:
oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-4,5-di-        35    about 75 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
                                                                         dimethyl-pheny1)-propionyI]-[ (I S)-1-(4-phenyl-I H-
hydro- I H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
                                                                         imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
methoxy-benzoic acid would be required to produce a
                                                                         zoic acid,
euphoric effect, it does not appear feasible that tablets could       about 60-80% by weight silicified microcrystalline cellu-
be prepared for injection with sufficient content of 5-( {[2- 40         lose;
Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-propionyl]-                crospovidone;
[ I -(4-pheny l-4,5-dihydro- I H-imidazol-2-yl)-ethy I]-              about 5-15% by weight mmmitol; and
amino }-methyl)-2-methoxy-benzoic acid when using                     optionally, a glidm1t and/or lubricant.
typical i11jection solvents (water, saline). Although a suffi-        2. The tablet of claim 1, wherein extraction of the tablet
ciently concentrated solution of 5-({[2-Amino-3-(4-carbam- 45 with water or saline at 25° C. for 12 hours results in a
oyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-4,5-di-           concentration of 5-({[ (2S)-2-Amino-3-(4-carbamoyl-2, 6-di-
hydro- I H-in1idazol-2-yl)-ethy!]-amino }-methy1)-2-               methyl-pheny l)-propionyl]-[ (1 S)-1-( 4-phenyl-l H-imidazol-
methoxy-benzoic acid by extraction does appear to be               2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid of
possible through the use of vi11egar and O.IM HCI, it is           less than or approximately 4 mg/ml.
unlikely that many individuals would be willing to accept 50          3. The tablet of claim 1, comprising about 65-75% by
the potential toxic risks that these solvents present.             weight silicified microcrystalline cellulose, and about 7 .5-
    The foregoil1g examples of the present disclosure have         12.5% by weight mamlitol.
been presented for purposes of illustration and description.          4. The tablet of claim 3, comprising about 3-7% by weight
Furthermore, these examples are not intended to limit the          crospovidone and a lubricm1t.
disclosure to the form disclosed herein. Consequently, varia- 55      5. The tablet of claim 4, wherein the lubricm1t is magne-
tions and modifications commensurate with the teachings of         sium stearate present in m1 amount of about 0.55-0.95% by
the description of the disclosure, and the skill or knowledge      weight.
of the relevant art, are withi11 the scope of the present             6. The tablet of claim 5, comprising:
disclosure. The specific embodiments described in ,the                about 75 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
examples provided herein are intended to further explai11 the 60         dimethyl-phenyl)-propionyl]-[(I S)-1-(4-phenyl-l H-
best mode known for practicing the disclosure and to enable              imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
others skilled in the art to utilize the disclosure in such, or          zoic acid;
other, embodiments and with various modifications required            about 390 mg-450 mg of silicified microcrystalline cel-
by the particular applications or uses of the present disclo-            lulose;
sure. It is intended that the appended claims be constrned to 65      about 18 mg-42 mg crospovidone;
include alternative embodiments to the extent permitted by            about 45 mg-75 mg of mannitol; and
the prior art.                                                        about 3.3 mg-5.7 mg of magnesium stearate.




                                                         JTX-002, page 24 of 29

                                                                    Appx96
      Case: 24-1061                     Document: 17                    Page: 153               Filed: 12/28/2023




                                                    US 11,007,179 B2
                             37                                                                  38
   7. The tablet of claim 6, comprising:                               about 520 mg-600 mg of silicified microcrystalline cel-
   about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-                   lulose;
      dimethyl-phenyl)-propionyl]-[(1S)-l-(4-phenyl-l H-              about 24 mg-56 mg crospovidone;
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-            about 60 mg-100 mg ofmaimitol; and
      zoic acid;                                                      about 4.4 mg-7.6 mg of magnesium stearate.
   about 390 mg-450 mg of silicified microcrystalline cel-            18. The tablet of claim 17, comprising:
      lulose;                                                         about 100 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   about 30 mg of crospovidone;                                          dimethyl-pheny1)-propiony!]-[ (1 S)-1-(4-pheny1-1 H-
   about 60 mg of mannitol; and                                          iniidazol-2-y l)-ethy l]-amino }-methyl)-2-methoxy-ben-
                                                                10
   about 4.5 mg of magnesium stearate.                                    zoic acid;
   8. The tablet of claim 3, comprising a glidant, wherein the        about 520 mg-600 mg of silicified niicrocrystalline cel-
glidant is colloidal silicon dioxide present in an amount of             lulose;
about 0.55-0.95% by weight.                                           about 40 mg of crospovidone;
   9. The tablet of claim 8, comprising:                        15    about 80 mg of maimitol; ai1d
   about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-               about 6 mg of magnesium stearate.
      dimethy1-pheny1)-propionyl]-[ ( 1S)-1-( 4-phenyl-l H-           19. The tablet of claim 14, comprising a glidant, wherein
      imidazol-2-yl)-ethyl]-amino }-methy1)-2-methoxy-ben-         the glidai1t is colloidal silicon dioxide present in an amount
      zoic acid;                                                   of about 0.55-0.95% by weight.
   about 390 mg-450 mg of silicified rn.icrocrystalline eel- 20       20. The tablet of claim 19, comprising:
      lulose;                                                         about 100 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   crospovidone;                                                         dimethyl-phenyl)-propionyl]-[(l S)-1-(4-phenyl-l H-
   about 45 mg-75 mg of maimitol; and                                    imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
   about 3.3 mg-5.7 mg of colloidal silicon dioxide.                     zoic acid;
   10. The tablet of claim 9, comprising:                       25
                                                                      about 520 mg-600 mg of silicified microcrystalline cel-
   about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-                  lulose;
      dimethyl-phenyl)-propionyl]-[(1S)-l-(4-phenyl-l H-              crospovidone;
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
                                                                      about 60 mg-100 mg of marn1itol; and
      zoic acid;
   about 390 mg-450 mg of silicified microcrystalline eel- 30         about 4.4 mg-7.6 mg of colloidal silicon dioxide.
      lulose;                                                         21. The tablet of claim 20, comprising:
   crospovidone;                                                      about 100 mg of 5-(=[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   about 60 mg of maimitol; ai1d                                         dimethyl-phenyl)-propionyl]-[(l S)-1-(4-phenyl-l H-
   about 4.5 mg of colloidal silicon dioxide.                            iniidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
                                                                35       zoic acid;
   11. The tablet of claim 3, comprising about 3%-7% by
weight crospovidone, a glidant and a lubricant.                       about 520 mg-600 mg of silicified microcrystalline cel-
   12. An abuse-deterrent, mono-phasic phannaceutical tab-               lulose;
let comprising:                                                       crospovidone;
   about 100 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6- 40           about 80 mg of maimitol; and
      dimethyl-phenyl)-propionyl]-[(lS)-1-(4-phenyl-l H-              about 6 mg of colloidal silicon dioxide.
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-            22. The tablet of claim 14, comprising about 3%-7% by
      zoic acid,                                                   weight crospovidone, a glidant and a lubricant.
   about 60-80% by weight silicified microcrystalline cellu-          23. The tablet of claim 22, wherein the glidant is colloidal
      lose,                                                     45 silicon dioxide ai1d the lubricant is magnesium stearate.
   crospovidone,                                                      24. The tablet of claim 23, comprising:
   about 5-15% by weight mannitol, and
                                                                      100 mg of 5-({[(2S)-2-Aniino-3-(4-carbamoyl-2,6-dim-
   optionally a glidant and/or a lubricai1t.
                                                                         ethyl-phenyl)-propionyl]-[ (1 S)-1-(4-phenyl- lH-imida-
   13. The tablet of claim 12, wherein extraction of the tablet
                                                                         zol-2-y1)-ethy!]-amino}-methyl)-2-methoxy-benzoic
with water or saline at 25° C. for 12 hours results in a 50
                                                                         acid;
concentration of 5-({[(2S)-2-Amino-3-(4-carbainoyl-2,6-di-
methyl-phenyl)-propionyl]-[(lS)-l-( 4-phenyl-l H-imidazol-            about 65-75% by weight silicified microcrystalline cellu-
2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid of                   lose;
less thai1 or approximately 4 mg/ml.                                  about 4-6% crospovidone;
   14. The tablet of claim 12, comprising about 65-75% by 55          about 7.5-12.5% by weight marniitol; and
weight silicified microcrystalline cellulose, and about 7.5-          colloidal silicon dioxide ai1d magnesium stearate.
12.5% by weight mannitol.                                             25. The tablet of claim 23, comprising:
   15. The tablet of claim 14, comprising about 3-7% by               about 100 mg of 5-({[(2S)-2-Aniino-3-(4-carbamoyl-2,6-
weight crospovidone and a lubricant.                                     dimethyl-phenyl)-propionyl]-[(l S)-1-(4-phenyl-l H-
   16. The tablet of claim 15, wherein the lubricant is 60               imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
magnesium stearate present in an amount of about 0.55-                   zoic acid;
0.95% by weight.
                                                                      about 520 mg-600 mg of silicified microcrystalline cel-
   17. The tablet of claim 6, comprising:
                                                                         lulose;
   about 100 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
      dimethyl-phenyl)-propionyl]-[(l S)-1-(4-phenyl-l H-       65
                                                                      about 24 mg-56 mg of crospovidone;
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-            about 60 mg-100 mg of maimitol; and
      zoic acid;                                                      colloidal silicon dioxide ai1d magnesium stearate.




                                                JTX-002, page 25 of 29

                                                           Appx97
     Case: 24-1061                      Document: 17                   Page: 154              Filed: 12/28/2023




                                                    US 11,007,179 B2
                              39                                                               40
  26. The tablet of claim 25, comprising about 100 mg of              29. The tablet of claim 27, comprising:
5-({ [(2S )-2-Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-             about 75 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
propionyl]-[ (l S)-1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-                dimethyl-phenyl)-propiony!]-[(1 S)-1-(4-pheny1-1 H-
amino }-methyl)-2-methoxy-benzoic acid;                                 imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
   about 520 mg-600 mg of silicified microcrystalline eel- 5            zoic acid;
      lulose;                                                         about 390 mg-450 mg of silicified microcrystalline cel-
   about 40 mg of crospovidone;                                         lulose;
   about 80 mg of mannitol; and                                       about 18 mg-42 mg of crospovidone;
                                                                      about 45 mg-75 mg of mannitol; and
   colloidal silicon dioxide and magnesium stearate.
                                                                 10   colloidal silicon dioxide and magnesium stearate.
   27. The tablet of claim 11, wherein the glidant is colloidal
                                                                      30. The tablet of claim 29, comprising:
silicon dioxide and the lubricant is magnesium stearate.
                                                                      about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   28. The tablet of claim 27, comprising:
   75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dim-                   dimethyl-pheny1)-propionyI]-[ (1 S )-1-(4-pheny1-1 H-
                                                                        imidazol-2-y l)-ethy l]-amino }-methyl)-2-methoxy-ben-
      ethy1-pheny1)-propiony I]-[ (1 S )-1-(4-pheny 1-1 H-imida-
      zol-2-y l)-ethy l]-amino }-methyl)-2-methoxy-benzoic       15     zoic acid;
                                                                      about 390 mg-450 mg of silicified microcrystalline cel-
      acid;
                                                                        lulose;
   about 65-75% by weight silicified microcrystalline cellu-
      lose;                                                           about 30 mg of crospovidone;
                                                                      about 60 mg of mamutol; and
   about 4-6% crospovidone;
   about 7.5-12.5% by weight mannitol; and                       20   colloidal silicon dioxide and magnesium stearate.
   colloidal silicon dioxide and magnesium stearate.                                    * * * * *




                                                JTX-002, page 26 of 29

                                                           Appx98
              Case: 24-1061                  Document: 17                Page: 155               Filed: 12/28/2023




                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : ll,007,179B2                                                                                      Page 1 of 1
APPLICATION NO.             : 17/066072
DATED                       : May 18, 2021
INVENTOR(S)                 : Tim Costello et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         In the Claims

         In Claim 17 (at Column 37, Line 63), please delete:
         "The tablet of claim 6"
         And replace with:
         --The tablet of claim 16--

         In Claim 21 (at Column 38, Line 32), please delete:
         "about 100 mg of 5-( [(2S)-2-Amino-3-(4-carbamoyl-2,6-dim -"
         And replace with:
         --about 100 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-dim- --




                                                                                     Signed and Sealed this
                                                                                   Fifth Day of October, 2021

                                                                              D._//~
                                                                                                   Drew Hirshfeld
                                                                                     Pe,forming the Functions and Duties of the
                                                                              Under Secreta,y of Commerce for Intellectual Property and
                                                                              Director of the United States Patent a,1d Trademark Office




                                                    JTX-002, page 27 of 29

                                                              Appx99
Case: 24-1061   Document: 17     Page: 156   Filed: 12/28/2023




                   JTX-002, page 28 of 29

                        Appx100
              Case: 24-1061   Document: 17     Page: 157   Filed: 12/28/2023




PT0-1683
(Rev. 7-96)


                                 JTX-002, page 29 of 29

                                      Appx101
Case: 24-1061          Document: 17          Page: 158         Filed: 12/28/2023




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                UNITED STATES DEPARTMENT OF COMMERCE
                    United States Patent and Trademark Office

                                             August 18, 2022

  THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM
  THE RECORDS OF THIS OFFICE OF:


   PATENT NUMBER: 11,311,516
   ISSUE DATE: April 26, 2022




                   By Authority of the
                   Under Secretary of Commerce for Intellectual Property
                   and Director of the United States Patent and Trademark Office

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                                                     / u--J-L--
                                                  Miguel Tarver
                                                  Certifying Officer




                                                                   Joint Exhibit

                                                                       JTX-006
                                                                   1: 19-cv-01727-RGA




                             JTX-006, page 1 of 27

                                   Appx183
       Case: 24-1061                    Document: 17                      Page: 159                     Filed: 12/28/2023



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                                                                                              US011311516B2


c12)   United States Patent                                               (10) Patent No.:                  US 11,311,516 B2
       Costello et al.                                                    (45) Date of Patent:                  *Apr. 26, 2022

(54)   OPIOID RECEPTOR MODULATOR DOSAGE                              (56)                       References Cited
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(72)   Inventors: Tim Costello, Rockville, MD (US);                        5,574,159 A          ll/1996    Chang et al.
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                  (BE); Philip Erna H. Heyns, Beerse                       6,528,522 B2          3/2003    Shih et al.
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(73)   Assignee: Allergan Holdings Unlimited                               7,994,206 B2          8/2011    Anzalone et al.
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(*)    Notice:      Subject to any disclaimer, the term ofthis             8,691,860 B2          4/2014    Anzalone et al.
                    patent is extended or adjusted under 35                8,772,325 B2          7/2014    Breslin et al.
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                    This patent is subject to a tenninal dis-              9,205,076 B2         12/2015    Breslin et al.
                    claimer.                                               9,364,489 B2          6/2016    Anzalone et al.
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(21)   Appl. No.: 17/481,874                                               9,700,542 B2          7/2017    Breslin et al.
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(22)   Filed:       Sep. 22, 2021                                         ll,007,179 B2          5/2021    Costello et al.
                                                                          ll,090,291 B2          8/2021    Costello et al.
(65)                  Prior Publication Data                              11,160,792 B2         11/2021    Costello et al.
                                                                          11,229,627 B 1         1/2022    Costello et al.
       US 2022/0008394 Al           Jan. 13, 2022                      2005/0203143 Al           9/2005    Breslin et al.
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                Related U.S. Application Data
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                                                                     8(1): Ell8-El25 (2006).
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     A61K 3114174            (2006.01)                               mu and kappa opioid receptors in rat gastrointestinal tract," Neu-
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     A61K 9128               (2006.01)                               Primary Examiner - Mark V Stevens
     A61P 25104              (2006.01)
                                                                     (74) Attorney, Agent, or Firm Foley Hoag LLP
(52) U.S. Cl.
     CPC ............ A61K 3114174 (2013.01); A61K 9/20
                 (2013.01); A61K 9/2004 (2!)13.01); A61K             (57)                         ABSTRACT
               912018 (2013.01); A61K 912027 (2013.01);
                                                                     Abuse deterrent solid dosage formulations containing 5-({
                     A61K 912054 (201'3.0l); A61K 912866
                                                                     [2-Amino-3-(4-carbamoyl-2,6-dimethy1-phenyl)-propio-
          (2013.01); A61K 91501 (2013.01); A61K 47126
                         (2013.01); A61P 25104 (2018.01)             nyl ]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-
                                                                     methyl)-2-methoxy-benzoic acid, and processes for the
(58) Field of Classification Search                                  preparation and administration of these formulations.
     CPC ........ A61K 9/2004; A61K 47/26; A61K 9/20;
                                             A61K 9/2018
     See application file for complete search history.                                 30 Claims, 2 Drawing Sheets




                                                JTX-006, page 2 of 27

                                                        Appx184
       Case: 24-1061                           Document: 17                     Page: 160                 Filed: 12/28/2023




                                                            US 11,311,516 B2
                                                                       Page 2


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                                                        JTX-006, page 3 of 27

                                                                 Appx185
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                                                      JTX-006, page 4 of 27

                                                               Appx186
  Case: 24-1061               Document: 17              Page: 162         Filed: 12/28/2023




U.S. Patent                 Apr. 26, 2022         Sheet 1 of 2              US 11,311,516 B2




                                            Figure 1
      Process Step                             Component                     In-process Control



                                    Silicified MCC (20 mesh screened)
 Load into 650-L tote bin                     Active ingredient
 and blend at 12 RPM for               Mannitol (20 mesh screened)
        10 minutes                  Colloidal Silica (20 mesh screened
                                    Crospovidone (20 mesh screened)


  Blend at 12 RPM for 5                     Magnesium stearate
         minutes                            (30 mesh screened)


                                                                         Blend homogeneity, moisture
         Sample
                                                                          bulk densit , article size


   Tablet Compression
 6.93 x 17.34 mm oblong                                                  Average weight, individual
         (75 mg)                                                         weight, thickness, friability,
 7.62 x 19.05 mm oblong                                                         disintegration
        (100 mg)


     Tablet Coating
    48 in Accela Cota
   60 ± 10°C Inlet Air
                                      Opadry II 85Fl8422 in water         Coated tablet weight gain
 4X50 g/min/gun delivery
           rate
   Pan Speed 4-8 RPM


   Testing and Release



       Packaging




                                    JTX-006, page 5 of 27

                                            Appx187
  Case: 24-1061     Document: 17                                      Page: 163                                    Filed: 12/28/2023




U.S. Patent       Apr. 26, 2022                          Sheet 2 of 2                                                US 11,311,516 B2


                                                    Figure 2
                       -ioo ·~,.            Cumulative Water Extraction
                                              Ground v. Whole Tablet
                        80 ..

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                               0                                10                                20
                                                            Homs


                                            Cumulative Water Extraction
                                                   25Cv. 95C




                          20 {                                          """Water-Gr-95C
                            0 .: ...............................,................................,............ .
                                        0                       10                             20
                                                            Hours


                                             Cumulative Extraction
                                              Waterv. 0.11\'l HCJ
                        120




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                              •                                   ...... 0.1M HCt-Gr--25C
                            0 .; ...............................,................................,............ .
                                        0                       10                             20
                                                            Hours




                              JTX-006, page 6 of 27

                                            Appx188
     Case: 24-1061                      Document: 17                   Page: 164                Filed: 12/28/2023




                                                    US 11,311,516 B2
                              1                                                                   2
    OPIOID RECEPTOR MODULATOR DOSAGE                               gastrointestinal disorders such as diarrheic syndromes,
              FORMULATIONS                                         motility disorders including post-operative ileus and consti-
                                                                   pation, and visceral pain including post-operative pain,
            CROSS-REFERENCE TO RELATED                             irritable bowel syndrome and inflallllllatory bowel disorders
                        APPLICATIONS                            5 (for example, see U.S. Pat. No. 7,741,356 to Breslin, et al.,
                                                                   which is incorporated herein in its entirety). Irritable bowel
   This application is a continuation of U.S. patent applica-      syndrome is a common functional gastrointestinal disorder
tion Ser. No. 17/211,274, filed Mar. 24, 2021; which is a          that affects approximately 10-15% of the population in
continuation of U.S. patent application Ser. No. 17/066,072,       western countries (Lovell et al., Clin Gastroenterol Hepatol
filed Oct. 8, 2020; which is a continuation of U.S. patent 10 2012; 10(7):712-21). Irritable bowel syndrome is character-
application Ser. No. 16/795,044, filed Feb. 19, 2020; which        ized by recurrent abdominal discomfort and pain associated
is a continuation of U.S. patent application Ser. No. 16/459,      with altered bowel habits (Drossman D A, Gastroenterol
947, filed Jul. 2, 2019; which is a continuation of U.S. patent    2006; 130(5):1377-1390). Currently irritable bowel syn-
application Ser. No. 16/213,083, filed Dec. 7, 2018; which is      drome subtypes include diarrhea (IBS-D), constipation
a continuation of U.S. patent application Ser. No. 15/588, 15 (IBS-C), or mixed constipation and diarrhea (IBS-M). Irri-
304, filed May 5, 2017; which is a continuation of U.S.            table bowel syndrome can negatively impact individual's
patent application Ser. No. 13/829,984, filed Mar. 14, 2013.       quality of life and results in significant direct and indirect
The disclosures of the foregoing references are hereby             costs (Drossman D A. Rome III The Functional GI Disor-
incorporated by reference in their entireties.                     ders. 3rd Edition. Lawrence: Allen Press, Inc, 2006). Current
                                                                20 safe and effective pharm.acologic treatments for IBS-D are
                FIELD OF THE DISCLOSURE                            limited and include antispasmodics, antidepressants, antidi-
                                                                   arrheal agents, and alosetron (Brandt et al., Am J Gastroen-
   The present disclosure relates to oral dosage formulations      terol 2009; 104(Suppl 1):Sl-35).
containing        5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-           Opioid receptors, including mu, delta, and kappa are
phenyl)-propionyl]-[ 1-(4-pheny1-1 H-imidazol-2-yl)-ethyl]- 25 expressed along the gastrointestinal tract and play a key role
amino }-methyl)-2-methoxy-benzoic acid, and processes for          in regulating gastrointestinal motility, secretion and visceral
the preparation and administration of these formulations.          sensation (Bagnol et al., Neuroscience 1997; 81 (2):579-591;
                                                                   Dokray G J, Physiology ofEnteric Neuropeptides. In: John-
          BACKGROUND OF THE DISCLOSURE                             son LR ed. Physiology of the Gastrointestinal Tract. 3 rd ed.
                                                                30 New York: Raven, 1994; 169-209; Bitar et al., Nature 1982;
   Delivering an active pharmaceutical ingredient (''5-( {[2-      297(5861):72-74). Exogenous opioids reduce gastrointesti-
Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-propionyl]-             nal transit through activation of MOR and can treat diarrhea
[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-         in acute situations (Holzer P., Regulatory Peptides 2009;
methoxy-benzoic acid") to a patient requires more than just        155: 11-17). Agents that simultaneously activate MOR while
identifying a molecule and its use. An 5-( {[2-Amino-3-(4- 35 antag01J.izing DOR have differential gastrointestinal effects
carbamoy1-2, 6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1-          and may possess increased analgesic potency com.pared to
1H-im.idazol-2-y1)-ethyl]-amino }-m.ethyl)-2-methoxy-ben-          pure MOR agonists (Ananthan S. Opioid ligands with mixed
zoic acid must be formulated for delivery to a patient and         µ/o opioid receptor interactions: an emerging approach to
this formulation (in addition to the 5-({[2-Amino-3-(4-            novel analgesics. AAPS Journal 2006; 8(1):El18-E125;
carbamoy1-2, 6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1- 40 Dietis et al., British Journal of Anaesthesia 2009; 103(1):
1H-imidazol-2-y l)-ethyl]-amino }-methyl)-2-methoxy-ben-           38-49). Such a mixed MOR agonist/DOR antagonist profile
zoic acid activity) is evaluated by regulatory agencies such       may offer an advantage in treating both the diarrhea and
as the US Food and Drug Administration (FDA) and the               abdominal pain associated with IBS-D.
European Medicines Agency (EMA). The FDA evaluates                    5-({[2-Amino-3-(4-carbamoyl-2,6-dimethy!-phenyl )-pro-
the formulation for, among other properties, delivery prop- 45 pionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-am.ino }-
erties, stability, consistency, and manufacturing controls. An     methyl)-2-methoxy-benzoic acid may be particularly useful
important factor in detennining these properties of a par-         for reducing pain and diarrhea in patients with irritable
ticular formulation is the composition and form of the             bowel syndrome with diarrhea (IBS-D) without constipating
dosage fonnulation of the 5-({[2-Amino-3-(4-carbamoyl-2,           side effects. In vitro, it reduces contractility in intestinal
6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl- lH-imidazol- so tissue and inhibits neuroge1J.ically-mediated secretion (Wade
2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid. The           et al., Br J Pharmacol 2012; 167(5):1111-1125). In vivo, it
formulations for every 5-({[2-Amino-3-(4-carbamoyl-2,6-            reduces gastrointestinal transit and fecal output in stressed
dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-imidazol-2-           and non-stressed mice over a wide dose-range without fully
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid are dif-         inhibiting gastrointestinal transit (ibid.). In contrast, loper-
ferent and different fonnulations containing the same 5-({ 55 amide had a narrow dose range in the same stressed and
[2-Amino-3-(4-carbamoyl-2,6-dimethyl-pheny1)-                      non-stressed models and completely prevented fecal output
propiony1]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-        in a dose-dependent manner (ibid.).
methyl)-2-m.ethoxy-benzoic acid may have very different               5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-pro-
stability and drug delivery (e.g., phannacol9netic) proper-        piony l]-[ 1-(4-phenyl-1 H-inJ.idazol-2-yl)-ethyl]-an1ino }-
ties.                                     <                     60 methyl)-2-m.ethoxy-benzoic acid and methods of making
   5-({[2-AnJ.ino-3-(4-carbamoyl-2,6-dilnethyl-phenyl)-pro-        this molecule are disclosed in U.S. Pat. No. 7,741,356.
pionyl]-[1-(4-phenyl-1 H-im.idazol-2-yl)-ethyl]-amino }-           Example 9 of U.S. Pat. No. 7,741,356 makes the hydrochlo-
methyl)-2-methoxy-benzoic acid is an opioid receptor               ride salt of 5-({[2-amino-3-(4-carbamoyl-2,6-dim.ethyl-phe-
modulator that effects simultaneous agonism. of the ~t opioid      nyl)-propionyl]-[ 1-(4-phenyl- lH-imidazol-2-y1)-ethyl]-
receptor (MOR) and antago1J.ism of the o opioid receptor 65 am.ino}-methyl)-2-methoxy-benzoic acid. Applicants have
(DOR) and may be useful in the treatment and prevention of         also discovered a process of making the zwitterion of
various mammalian disease states, for example pain and             5-({[2-amino-3-( 4-carbamoyl-2,6-dimethyl-pheny1)-propio-




                                                 JTX-006, page 7 of 27

                                                         Appx189
      Case: 24-1061                     Document: 17                    Page: 165                Filed: 12/28/2023




                                                    US 11,311,516 B2
                               3                                                                  4
 nyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-                    One embodiment of the disclosure provides a solid phar-
 methy 1)-2-methoxy-benzoic acid and two novel crystals of           maceutical fomrnlation comprising 5-({[2-Amino-3-(4-car-
 this zwitterions (for example, see U.S. Patent Publication          bamoyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-
 No. 2011/0263868 to Anzalone, et. al., which is incorporated        imidazol-2-yl)-ethy!]-amino }-methy1)-2-methoxy-benzoic
 herein in its entirety).                                         5 acid and an inert ingredient selected from silicified micro-
    Oral administration of 5-({ [2-amino-3-(4-carbamoyl-2,6-         crystalline cellulose, colloidal silicon dioxide, crospovidone
 dimethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imidazol-2-            (polyvinylpolypyrrolidone; highly cross-linked polyvi-
 yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid is effi-          nylpyrrolidone (PVP)), mannitol, and magnesium stearate.
 cacious in nomializing gastrointestinal (GI) motility in            In a specific embodiment, this phannaceutical formulation
 stressed subjects and providing anti-visceral hyperalgesic 10 may be substantially or completely free of a separate opioid
 effects in rats by acting at peripheral opioid receptors in the     antagonist, such as naloxone. A related embodiment pro-
 gastrointestinal tract. It has also been noted that parenteral      vides a phamiaceutical fonnulation consisting of 5-( {[2-
 administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-              Amino-3-(4-carbamoyl-2, 6-dimethyl-pheny1)-propiony1]-
 ethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imidazol-2-yl)-           [1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-am.ino }-methyl)-2-
 ethyl]-amino }-methyl)-2-methoxy-benzoic acid results in 15 methoxy-benzoic acid and an inert ingredient selected from
 CNS-related effects in animal models, which is believed to          silicified microcrystalline cellulose, colloidal silicon diox-
 be due to the mu-opioid receptor ("MOR") agonist proper-            ide, crospovidone, mannitol, and magnesium stearate.
ties.                                                                   One embodiment of the disclosure provides a solid phar-
    TI1e recent draft guidance issued for industry by the US        maceutical fonnulation comprising 5-({[2-Amino-3-(4-car-
 Food and Drng Administration (Food and Drng Adminis- 20 bamoy1-2, 6-din1ethyl-pheny1)-propionyl]-[ 1-(4-phenyl- l H-
tration 2010) for the assessment of abuse potential of drngs        imidazol-2-yl )-ethy1]-amino }-methyl)-2-methoxy-benzoic
provides general instrnctions for in vitro laboratory assess-       acid and inert ingredients including silicified microcrystal-
ment procedures. This draft guidance states that "[i]nfonna-         line cellulose, colloidal silicon dioxide, crospovidone (poly-
tion should be obtained on how much drng substance might            vinylpolypyrrolidone; highly cross-linked polyvinylpyrroli-
be released and any changes that could take place in the rate 25 done (PVP)), mannitol, and magnesium stearate. In a
of release of the drug from the drng product if it is misused        specific embodiment, this phannaceutical formulation may
either intentionally or unintentionally." The guidance farther      be substantially or completely free of a separate opioid
states that the "effects of pH, temperature, and solvent            antagonist, such as naloxone. A related embodiment pro-
polarity on disrnption of the drng product matrix should be         vides a phannaceutical fonnulation consisting of 5-({[2-
evaluated. Additional experimental variables may include 30 Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
exposure times to the solvent, agitation, varying the surface       [l-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
area (such as from intact to being ground, crnshed, or cut          methoxy-benzoic acid, and the inert ingredients silicified
into pieces), and ease of crnshing tablets or destroying the        microcrystalline cellulose, colloidal silicon dioxide,
dosage from matrix." These guidelines pertain to com-               crospovidone, mannitol, and magnesium stearate.
potmds perceived to have any potential for abuse, misuse 35             One embodiment of the disclosure provides a solid oral
and/or diversion, which include, but are not limited to,            dosage formulation comprising 5-({[2-Amino-3-(4-carbam-
opioid receptor agonists. The goal is to determine the effects      oyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-imi-
that certain formulations may have in limiting or preventing        dazol-2-yl)-ethy!]-amino }-methy1)-2-methoxy-benzoic acid
abuse of the active ingredient, in this instance, 5-({[2-           and an inert ingredient selected from silicified microcrys-
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-            40 talline cellulose, colloidal silicon dioxide, crospovidone
[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-          (polyvinylpolypyrrolidone; highly cross-linked polyvi-
methoxy-benzoic acid, in order to decrease abuse or                 nylpyrrolidone (PVP)), mannitol, and magnesium stearate.
diversion of the marketed dosage fomrnlations and prevent           In a specific embodiment, this solid oral dosage fomrnlation
harm and addiction in the public to the extent possible.            may be substantially or completely free of a separate opioid
    Therefore an abuse liability assessment of oral dosage 45 antagonist, such as naloxone. A related embodiment pro-
formulations of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-                vides a solid oral dosage formulation consisting of 5-( {[2-
ethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imidazol-2-yl)-           Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
ethy1]-amino}-methyl)-2-methoxy-benzoic acid was under-             [1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
taken to identify oral formulation compositions and                 methoxy-benzoic acid and an inert ingredient selected from
characteristics that may provide effective treatment of opioid 50 silicified microcrystalline cellulose, colloidal silicon diox-
receptor disorders while minimizing or elimination potential        ide, crospovidone, mannitol, and magnesium stearate. In
for abuse or diversion of these oral formulations.                  these embodiments, the oral dosage formulations may be
                                                                    coated, including sugar coated, gelatin coated, film coated or
                SUMMARY OF DISCLOSURE                               enteric coated, by standard techniques.
                                                                 55     Another embodiment of the disclosure provides an oral
   TI1e present inventors have discovered solid oral pharma-        tablet formulation comprising 5-({[2-Amino-3-(4-carbam-
ceutical formulations of 5-({[2-Amino-3-(4-carbamoyl-2,6-           oyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-imi-
dimethyl-phenyl)-propionyl]-[l-( 4-phenyl-lH-imidazol-2-            dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid with              and an inert ingredient selected from silicified microcrys-
improved stability and shelf life and unique physico-chemi- 60 talline cellulose, colloidal silicon dioxide, crospovidone
cal features that may deter or limit abuse of the active            (polyvinylpolypyrrolidone; highly cross-linked polyvi-
ingredient or diversion of the oral formulations. Thus,             nylpyrrolidone (PVP)), mannitol, and magnesium stearate.
embodiments provided by this disclosure include an abuse            In a specific embodiment, this oral tablet fonnulation may be
deterrent pharmaceutical formulation of 5-({[2-Amino-3-(4-          substantially or completely free of a separate opioid antago-
carbamoy1-2, 6-dimethyl-phenyl)-propionyI]-[ 1-(4-pheny1- 65 nist, such as naloxone. A related embodiment provides an
1H-imidazol-2-yl)-ethyl]-am.ino }-methy1)-2-methoxy-ben-            oral tablet formulation consisting of 5-({[2-Amino-3-(4-
zoic acid.                                                          carbamoyl-2,6-dimethyl-pheny1)-propiony1]-[ 1-(4-pheny1-




                                                 JTX-006, page 8 of 27

                                                         Appx190
     Case: 24-1061                     Document: 17                  Page: 166                Filed: 12/28/2023




                                                  US 11,311,516 B2
                              5                                                                6
 1H-imidazol-2-y1)-ethyl]-amino }-methy1)-2-methoxy-ben-          ethyl]-ainino }-methyl)-2-methoxy-benzoic acid to the sub-
 zoic acid and an inert ingredient selected from silicified       ject in an amount of about 75 mg. In specific embodiments,
 microcrystalline cellulose, colloidal silicon dioxide,           these methods may include the administration of 5-({[2-
 crospovidone, mannitol, and magnesium stearate. In these         Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
 embodiments, the oral tablet formulations may be coated, 5 [1-(4-phenyl- IH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
 including sugar coated, gelatin coated, film coated or enteric   methoxy-benzoic acid to the subject in an amount of about
 coated, by standard techniques.                                   100 mg.
    Another embodiment of the disclosure provides a film-            In specific embodiments, these methods may include the
 coated, oral tablet formulation comprising 5-({[2-Amino-3-       administration    of 5-({[2-Atnino-3-(4-carbainoyl-2,6-dim-
                                                                  ethyl-phenyl)-propionyl]-[1-(4-phenyl-IH-imidazol-2-yl)-
 (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phe- 10
                                                                  ethyl]-ainino }-methyl)-2-methoxy-benzoic acid in a fomm-
 ny1-1 H-imidazol-2-y1)-ethy!]-amino }-methyl)-2-methoxy-         lation of this disclosure to the subject between two
 benzoic acid and an inert ingredient selected from silicified    administrations per day and eight administrations per day. In
 microcrystalline cellulose, colloidal silicon dioxide,           specific embodiments, these methods may include the
 crospovidone (polyvinylpolypyrrolidone; highly cross-            administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
 linked polyvinylpyrrolidone (PVP)), mannitol, and magne- 15 ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-
 sium stearate, and a film coating. In a specific embodiment,     ethyl]-ainino }-methyl)-2-methoxy-benzoic acid in a fonnu-
 this film-coated, oral tablet formulation may be substantially   lation of this disclosure to the subject between two
or completely free of a separate opioid antagonist, such as       administrations per day and six administrations per day. In
naloxone. A related embodiment provides a film-coated, oral       specific embodiments, these methods may include the
tablet formulation consisting of 5-({[2-Amino-3-(4-carbam- 20 administration of 5-({[2-Atnino-3-(4-carbamoyl-2,6-dim-
oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imi-          ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-lH-imidazol-2-yl)-
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid         ethyl]-amino }-methyl)-2-methoxy-benzoic acid in a fonnu-
and an inert ingredient selected from silicified microcrys-       lation of this disclosure to the subject between two
talline cellulose, colloidal silicon dioxide, crospovidone,       administrations per day and four administrations per day. In
mannitol, and magnesium stearate, and a film coating. In 25 specific embodiments, these methods may include the
these embodiments, the film coating may be an aqueous film        administration of 5-({[2-Atnino-3-(4-carbamoyl-2,6-dim-
coating.                                                          ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-lH-imidazol-2-yl)-
    A specific embodiment is an abuse deterrent, mono-phasic      ethyl]-aiuino }-methyl)-2-methoxy-benzoic acid in a fonuu-
pharmaceutical composition suitable for single dose admin-        lation of this disclosure to the subject on a twice-daily
istration for treating or ameliorating a condition mediated by 30 dosing regimen. In specific embodiments, these methods
an opioid receptor consisting essentially of about 20             may include the administration of 5-({[2-Atnino-3-(4-car-
mg/dose to about 200 mg/dose of 5-({[2-Amino-3-(4-car-            bamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-l H-
bamoy1-2,6-dimethy1-pheny1)-propionyl]-[ 1-(4-phenyl-1 H-         imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic           acid in a formulation of this disclosure to the subject on a
acid, from about 60-80% by weight of silicified microcrys- 35 once-daily dosing regimen.
talline cellulose, from about 2-8% by weight of colloidal            This Summary of the Disclosure is neither intended nor
silica, from about 50-90% by weight of mannitol, from             should it be construed as being representative of the full
about 20-50% by weight of crospovidone, and from about            extent and scope of the present disclosure. Moreover, ref-
2-8% by weight of magnesium stearate.                             erences made herein to "the present disclosure," or aspects
    Another embodiment provided by this disclosure is a 40 thereof, should be understood to mean certain embodiments
method of treating or ameliorating a condition mediated by        of the present disclosure and should not necessarily be
an opioid receptor by administering 5-({[2-Amino-3-(4-            construed as limiting all embodiments to a particular
carbamoyl-2, 6-dimethyl-phenyl)-propionyl]-[ 1-(4-pheny1-         description. The present disclosure is set forth in various
 l H-imidazol-2-y l)-ethyl]-amino }-methyl)-2-methoxy-ben-        levels of detail in the Summary of the Disclosure as well as
zoic acid in a solid oral fonnulation of this disclosure to a 45 in the attached drawings and the Description of Embodi-
subject in need of such treatment. In a specific embodiment,      ments and no limitation as to the scope of the present
this administration may be made in the absence of the             disclosure is intended by either the inclusion or non-inclu-
separate or concurrent administration of an opioid antago-        sion of elements, components, etc. in this Summary of the
nist, such as naloxone. In specific embodiments, these            Disclosure. Additional aspects of the present disclosure will
methods may include the administration of 5-({[2-Amino- 50 become more readily apparent from the Description of
3-(4-carbamoyl-2,6-dimethy1-phenyl)-propiony!]-[ 1-(4-            Embodiments, particularly when taken together with the
pheny l-l H-imidazol-2-y l)-ethy l]-amino }-methyl)-2-            drawings.
methoxy-benzoic acid to the subject in an amount between
20 mg and 200 mg.                                                          BRIEF DESCRIPTION OF DRAWINGS
    hl specific embodiments, these methods may include the 55
administration of 5-({[2-Atnino-3-(4-carbamoyl-2,6-dim-              FIG. 1 depicts the manufacturing process for 75-mg and
ethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-          100-mg oral tablets of the present disclosure.
ethyl]-amino }-methyl)-2-methoxy-benzoic acid to the sub-            FIG. 2, shows representative time course plots of cumu-
ject in an amount between about 10 mg and,,<1bout 125,pig.        lative percent recovery of active ingredient under different
In specific embodiments, these methq?s may include the 60 extraction conditions: A, ground vs. whole tablet; B, 25° C.
administration of 5-({[2-Atnino-3-(4-carbamoyl-2,6-dim-           vs. 95° C.; C, water vs. 0.lM HCI.
ethy1-pheny1)-propionyl]-[1-(4-phenyl-1 H-iinidazol-2-y1)-
ethyl]-amino }-methyl)-2-methoxy-benzoic acid to the sub-                    DESCRIPTION OF ILLUSTRATIVE
ject in an an1ount between about 50 mg and about 100 mg.                                 EMBODIMENTS
In specific embodiments, these methods may include the 65
administration of 5-({[2-A.mino-3-(4-carbamoyl-2,6-dim-              The present disclosure is drawn to solid dosage formula-
ethyl-phenyl)-propionyl]-[l-( 4-phenyl-lH-imidazol-2-yl)-         tions containing 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-




                                               JTX-006, page 9 of 27

                                                       Appx191
      Case: 24-1061                     Document: 17                    Page: 167                Filed: 12/28/2023




                                                    US 11,311,516 B2
                              7                                                                   8
ethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-                  p-toluenesulfonic, cyclohexanesulfamic, salicylic, sac-
ethyl]-amino }-methyl)-2-methoxy-benzoic acid that deter or               charinic or trifluoroacetic acid salt of any one of these
minimize the abuse or diversion of these formulations, as                 compounds, or
well as processes for the preparation and administration of            f) a benzathine, chloroprocaine, choline, diethanolamine,
these fonnulations.                                               5
                                                                          ethylenediamine, meglumine, procaine, alumimm1, cal-
   For the purposes of this disclosure, reference to "5-( { [2-           cium, lithium, magnesium, potassium, sodiun1, or zinc
Amino-3-(4-carbamoyl-2, 6-dimethyl-pheny1)-propionyl ]-                   salt of any one of these compounds.
[ 1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
                                                                       Similarly, reference to "5-({[2-Amino-3-(4-carbamoyl-2,
methoxy-benzoic acid" also means "5-[[[-2-amino-3-[4-
                                                                 10 6-dimethyl-phenyl)-propionyl]-[1-( 4-phenyl-lH-imidazol-
(aminocarbonyl)-2,6-dimethylphenyl]-1-oxopropyl][-1-(4-
                                                                    2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid" or
phenyl-lH-imidazol-2-yl)ethyl]amino]methyl]-2-
                                                                    the "active ingredient" specifically includes a compound
methoxybenzoic acid", and it is intended that the two
                                                                    having the chemical stmcture:
chemical names can be used interchangeably. Reference to
the "active ingredient" includes 5-({[2-Amino-3-(4-carbam- 15
oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imi-
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
acid, and pharmaceutically acceptable enantiomers, diaste-
reomers, racemates, zwitterions, and salts thereof.
   Because       5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl- 20
                                                                                                                             and/or
phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-
amino }-methyl)-2-methoxy-benzoic acid includes at least
two chiral centers, it may exist as diastereomers. These
isomers may be separated by conventional techniques such
as preparative chromatography and may be prepared in 25
racemic fonn or as individual diasteromers by either stereo-
specific synthesis or by resolution. The compounds may, for
example, be resolved into their component diasteromers by
standard techniques, such as the fonnation of stereoisomeric
pairs by salt fonnation with an optically active acid, such as 30
(-)-di-p-toluoyl-D-tartaric acid and/or (+)-di-p-toluoyl-L-
tartaric acid followed by fractional crystallization and regen-
eration of the free base. The compounds may also be
resolved by fonnation of stereoisomeric esters or amides, 35
followed by chromatographic separation and removal of the
chiral auxiliary. Alternatively, the compounds may be
resolved using a chiral HPLC column. It is to be understood
that all stereoisomers, racemic mixtures, diastereomers and
                                                                                                                             and/or
enantiomers are encompassed within the scope of any ref- 40
erence to "5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
nyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-
amino }-methyl)-2-methoxy-benzoic acid" or the "active
                                                                                                    0
ingredient" in this disclosure.
   For example, reference to "5-({[2-Amino-3-(4-carbam-
oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imi-
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic                       0
acid" or the "active ingredient" specifically includes:
   a) 5-({ [2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
      propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-        50
      amino }-methyl)-2-methoxy-benzoic acid,
   b) 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
      nyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-
      ethyl]-amino }-methyl)-2-methoxy-benzoic acid,
   c) 5-({[2-Amino-3-(4-carbanrnyl-2,6-dimethyl-phenyl)- 55
      propionyl]-[ (1 S)-1-(4-phenyl-1 H-imidazol-2-yl)-
      ethyl]-amino }-methyl)-2-methoxy-benzoic acid, and/
      or                                                                                                                     and/or
   d) 5-({[ (2S)-2-Amino-3-(4-carbamoyl-2,6~dimethyl-phe-
      nyl)-propionyl]-[(1 S)-1-(4-phenyl-;;lH-imidazol-2-yl)- 60
      ethyl]-amino }-methyl)-2-methoxy~benzoic acid, as
      well as
   e) a hydrobromic, hydriodic, perchloric, sulfuric, nitric,
      phosphoric, acetic, propionic, glycolic, lactic, succinic,
      maleic, fumaric, malic, tartaric, citric, benzoic, man- 65
      delic, methanesulfonic, hydroxyethanesulfonic, benze-
      nesulfonic, oxalic, pamoic, 2-naphthalenesulfonic,




                                                JTX-006, page 10 of 27

                                                         Appx192
      Case: 24-1061                     Document: 17                   Page: 168                Filed: 12/28/2023




                                                    US 11,311,516 B2
                              9                                                                  10
                          -continued                                  The tem1 "therapeutically effective amount," as used
                     0       OMe                                   herein, refers to that amount of the therapeutic agent suffi-
                                                                   cient to treat or ameliorate the disease or disorder, as
                                                                   described above. For example, for the given parameter, a


                             #
                                 N~
                                     Me   y0•         ¾-
                                                                5 therapeutically effective amount will show an increase or
                                                                   decrease of at least about 5%, 10%, 15%, 20%, 25%, 30%,
                                                                   40%, 50%, 60%, 70%, 80%, 90%, or 100%. Therapeutic
                                                                   efficacy can also be expressed as "-fold" increase or
                                                                   decrease. For example, a therapeutically effective amount
                                          HN A                  10 can have at least a 1.2-fold, 1.5-fold, 2-fold, 5-fold, or more
                                                                   effect over a control value. Therapeutic efficacy related to
                                     0
                                                                   irritable bowel syndrome, preferably diarrhea-predominant
                                                                   irritable bowel syndrome, can be expressed in measurements
                                                                   of worst abdominal pain (WAP) or stool consistency score
                                                                15 (Bristol Stool Scale or BSS).
         0
                                                                      The tenn "solid dosage fonnulation" as used herein
                                                                   includes tablets, capsules, pills and like and may be present
as well as a hydrobromic, hydriodic, perchloric, sulfuric,         as conventional or extended-release compositions.
nitric, phosphoric, acetic, propionic, glycolic, lactic, suc-         The terminology used herein is for describing particular
cinic, maleic, fumaric, malic, tartaric, citric, benzoic, man- 20 embodiments and is not intended to be limiting. As used
delic, methanesulfonic, hydroxyethanesulfonic, benzene-            herein, the singular forms "a," "and" and "the" include
sulfonic,      oxalic,     pamoic,       2-naphthalenesulfonic,    plural referents unless the content and context clearly dictate
p-toluenesulfonic, cyclohexanesulfa1nic, salicylic, saccha-        otherwise. Thus, for exan1ple, a reference to "a marker"
rinic or trifluoroacetic acid salt, or a benzathine, chloropro-    includes a combination of two or more such markers. Unless
caine, choline, diethanolamine, ethylenediamine, meglum- 25 defined otherwise, all scientific and technical terms are to be
ine, procaine, aluminum, calcium, lithium, magnesium,              understood as having the same meaning as conm10nly used
potassium, sodium, or zinc salt of any one of these cheinical      in the art to which they pertain. For the purposes of the
structures.                                                        present disclosure, the following tenns are defined below.
   As used in this disclosure, the tenns "subject," "patient,"        Also, the use of "or" means "and/or" unless stated oth-
"individual," etc. are not intended to be limiting and can be 30 erwise. Similarly, "comprise," "comprises," "comprising,"
generally interchanged. That is, an individual described as a      "include," "includes," and "including" are interchangeable
"patient" does not necessarily have a given disease, but may       and not intended to be limiting.
be merely seeking medical advice.                                     It is to be further understood that where descriptions of
   As used herein, the terms "treat" and "prevent" are not         various embodiments use the tenn "comprising," those
intended to be absolute tenns. Treatment can refer to any 35 skilled in the art would understand that in some specific
delay in onset, reduction in the frequency or severity of          instances, an embodiment can be alternatively described
symptoms, amelioration of symptoms, improvement in                 using language "consisting essentially of' or "consisting
patient comfort and/or gastrointestinal function, etc. The         of."
effect of treatment can be compared to an individual or pool          In some embodiments related to the treatment of opioid
of individuals not receiving a given treatment, or to the same 40 receptor related disorders, the dose of 5-({[2-Ainino-3-(4-
patient prior to, or after cessation of, treatment.                carbamoyl-2,6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1-
   The tenn "prevent" or "ameliorate" refers to a decrease in      1H-iinidazol-2-yl )-ethy l]-amino }-methyl)-2-methoxy-ben-
the occurrence of opioid receptor disease or disorder symp-        zoic acid that can be incorporated into the formulations of
toms in a patient. The prevention or amelioration may be           the present disclosure depends on the desired treatment
complete (no detectable symptoms) or partial, such that 45 dosage to be administered and can range from about 20 mg
fewer symptoms are observed than would likely occur                to about 200 mg of 5-({[2-Ainino-3-(4-carbamoyl-2,6-dim-
absent treatment.                                                  ethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imidazol-2-yl)-
   The phrase "opioid receptor related disorders" refers to        ethyl]-ainino }-methyl)-2-methoxy-benzoic acid. In other
various mammalian disease states including, for example,           embodiments, the dose of the active ingredient can range
pain and gastrointestinal disorders such as diarrheic syn- 50 from about 10 mg to about 125 mg. In some embodiments,
dromes, motility disorders including post-operative ileus          the dose of the active ingredient in the formulations of this
and constipation, and visceral pain including post-operative       disclosure is between about IO mg and about 200 mg, e.g.,
pain, irritable bowel syndrome and inflammatory bowel              10 mg, 15 mg, 20 mg, 25 mg, 30 mg, 35 mg, 40 mg, 45 mg,
disorders, as described in greater detail in U.S. Pat. No.         50 mg, 55 mg, 60 mg, 65 mg, 70 mg, 75 mg, 80 mg, 85 mg,
7,741,356 to Breslin, et al., which is incorporated herein in 55 90 mg, 95 mg, 100 mg, 105 mg, llO mg, 115 mg, 120 mg,
its entirety.                                                      125mg, 130mg, 135mg, 140mg, 145mg, 150mg, 155mg,
   The term "abusive" or "abusive manner" refers to uses of        160mg, 165 mg, 170mg, 175mg, 180mg, 185 mg, 190mg,
the formulations of this disclosure beyond oral administra-        195 mg, or 200 mg of 5-({[2-Ainino-3-(4-carbamoyl-2,6-
tion, such as by injecting or snorting.                            dimethyl-pheny1)-propionyl]-[l -(4-phenyl-l H-imidazol-2-
   The term "abuse deterrent", as used herein, refers to a 60 yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid. In one
formulation of the present invention which possesses               embodiment, the dose is about 75 mg of 5-({[2-Amino-3-
physico-chemical characteristics that allow the therapeutic        (4-carbamoyl-2,6-dimethy1-phenyl)-propionyl]-[ 1-(4-phe-
use of the opioid receptor modulator active ingredient by          nyl-l H-imidazol-2-yl)-ethyl ]-an1ino }-methyl)-2-methoxy-
oral administration to a subject in need of such treatment         benzoic acid. In another embodiment, the dose is about 100
with very limited potential for abuse or misuse of the 65 mg of 5-({[2-Ainino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
formulation, i.e., by extracting and ingesting the active          propionyl]-[ 1-(4-phenyl- l H-imidazol-2-yl)-ethyl]-aniino }-
ingredient by snorting or injection.                               methyl)-2-methoxy-benzoic acid. In another embodin1ent,




                                                JTX-006, page 11 of 27

                                                         Appx193
     Case: 24-1061                     Document: 17                   Page: 169                Filed: 12/28/2023




                                                   US 11,311,516 B2
                             11                                                                 12
the dose is about 50 mg of 5-({[2-Amino-3-(4-carbamoyl-               In some embodiments, the abuse deterrent solid pharma-
2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-lH-imida-           ceutical dosage formulations are coated with a film coating.
zol-2-y1)-ethyl]-amino }-methy1)-2-methoxy-benzoic acid.          In some embodiments, the coating is a water-soluble, pH-
In yet another embodiment, the dose is about 150 mg of             independent film coating. Such coating allows for innnedi-
5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-pro-          5 ate disintegration for fast, active release of the contents of
pionyl]-[l-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-            the solid dosage fommlation. One such conn11ercially avail-
methyl)-2-methoxy-benzoic acid. In yet another embodi-            able coating usefol in the solid dosage formulations of the
ment, the dose is about 37.5 mg of 5-({[2-Amino-3-(4-             present disclosure is Opadry®, and preferably Opadry II®.
carbamoy1-2, 6-dimethyl-phenyl)-propionyl]-[ 1-(4-pheny1-         In specific embodiments, the abuse deterrent solid pharma-
                                                               10 ceutical dosage fommlations include a film coating present
1H-imidazol-2-y1)-ethyl]-amino }-methy1)-2-methoxy-
                                                                  in all amount offrom about 0.5-5.5% by weight film coating,
benzoic acid.
                                                                  preferably from about 1-5% by weight film coating, in one
   Dose proportionality occurs when increases in the admin-
                                                                  preferred embodiment, about 2-4% by weight film coating,
istered dose are accompanied by proportional increases in a       in another preferred embodiment, about 3% by weight film
pharmacokinetic parameter. Tiie dosage fonnulations of the 15 coating.
present disclosure are preferably designed as a dose propor-         In some instances, opioid receptor agonist drugs have
tional formulation in the range of 25 mg to 100 mg of the         been fonnulated al1d marketed with an opioid antagonist
active ingredient 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-            (such as the opioid antagonist naloxone), to render the
ethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-          fonnulation abuse resistant. The present invention is also
ethyl]-amino }-methyl)-2-methoxy-benzoic acid.                 20 based, at least in part, on the surprising discovery, that the
   Abuse deterrent formulations of the present invention          formulations of the present disclosure have abuse deterrent
include solid pharmaceutical dosage formulations contain-         characteristics. For example, such formulation is non-tam-
ing:                                                              perable thereby limiting ease of isolation alld purification of
   from about 5-20% by weight of 5-({[2-Amino-3-(4-car-           5-({[2-Amino-3-(4-carban1oyl-2, 6-dimethy1-phenyl)-pro-
      bamoy1-2, 6-dimethy1-pheny1)-propionyl]-[ 1-(4-phe-      25 pionyl]-(1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-alnino }-
      nyl-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-            methyl)-2-methoxy-benzoic acid from the formulation.
      methoxy-benzoic acid, preferably from about 10-15%          Thus, in specific embodiments of the present disclosure, the
      by weight of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-           formulations are substantially free of naloxone. In related
      ethyl-phenyl)-propionyl]-[l-(4-phenyl-1 H-imidazol-2-       embodiments of the present disclosure, the formulations are
      yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid, 30 completely free of naloxone. Such formulations are advan-
      preferably about 12.5% by weight of 5-({[2-Amino-3-         tageous because they Call provide effective abuse deterrence
      (4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-         in the absence of naloxone.
      phenyl-l H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-            The formulations Call also optionally include an inert
      methoxy-benzoic acid;                                       pharmaceutically acceptable dissolution-rate-modifying
   from about 60-80% by weight of silicified microcrystal- 35 agent, a pharmaceutically acceptable plasticizer, a phanna-
      line cellulose (USP Silicified Microcrystalline Cellu-      ceutically acceptable coloring agent (e.g., FD&C Blue #1),
      lose; intimately associated microcrystalline cellulose      a phannaceutically acceptable opacifier (e.g., titanium diox-
      and colloidal silicon dioxide particles; in a preferred     ide), pharmaceutically acceptable anti-oxidal1t (e.g., tocoph-
      example, high density silicified microcrystalline cellu-    erol acetate), a pharmaceutically acceptable preservative,
      lose "HD-90"); preferably from about 65-75% by 40 flavorants (e.g., saccharin and peppem1int), neutralizing
      weight of silicified microcrystalline cellulose, prefer-    agents (e.g., sodium hydroxide), buffering agents (e.g.,
      ably about 71% by weight of silica fine microcrystal-       monobasic, or tribasic sodium phosphate), or combinations
      line cellulose;                                             thereof. Preferably, these components are individually pres-
   from about 0.45-1.0% by weight of a glidant, e.g., col-        ent at no more than about 1% of the final weight of the
      loidal silica, preferably from about 0.55-0.95% by 45 formulation, but the amount may vary depending on the
      weight of colloidal silica, in one preferred embodiment,    other components of the fonnulation.
      about 0.65%-0.85% by weight of colloidal silica, in            For preparing fonnulations of the present disclosure, such
      another preferred embodiment, about 0.75% by weight         as tablets, 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
      of colloidal silica;                                        nyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-
   from about 1-20% by weight of mannitol (mannitol, 50 amino}-methyl)-2-methoxy-benzoic acid is mixed with one
      USP), preferably from about 5-15% by weight of              or more pharmaceutical excipients to form a solid prefor-
      malmitol, in one preferred embodiment, about 7.5%-          mulation composition containing, in preferred embodi-
      12.5% by weight of mannitol, in al1other preferred          ments, a homogeneous mixture of the excipient(s) with the
      embodiment, about 10% by weight of mannitol;                active ingredient. When referring to these preformulation
   from about 2-8% by weight of crospovidone (highly 55 compositions as "homogeneous," it is meant that the active
      cross-linked modification of polyvinylpyrrolidone           ingredient are dispersed evenly throughout the composition
      (PVP)), preferably from about 3-7% by weight of             so that the composition may be readily subdivided into
      crospovidone, in one preferred embodiment, about            equally effective unit dosage fom1s such as tablets or cap-
      4-6% by weight of crospovidone, in another preferred        sules. Tilis solid preformulation is then subdivided into unit
      embodiment, about 5% by weight of crospovidone; 60 dosage fom1s of the type described above containing from,
      and,                                 ,                      for example, about 10 to about 200 milligrams of the active
   from about 0.45-1 % by weight of magnesium stearate            ingredient.
      (Magnesium Stearate USP), preferably from about                According to one embodiment, a solid dosage formulation
      0.55-0.95% by weight of magnesium stearate, in one          of the present disclosure is prepared by:
      preferred embodiment, about 0.65%-0.85% by weight 65           i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
      of magnesium stearate, in another preferred embodi-               phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-
      ment, about 0.75% by weight of magnesium stearate.                ethyl]-alnino }-methyl)-2-methoxy-benzoic acid with




                                               JTX-006, page 12 of 27

                                                        Appx194
      Case: 24-1061                      Document: 17                    Page: 170                Filed: 12/28/2023




                                                    US 11,311,516 B2
                              13                                                                   14
        the phamiaceutically acceptable inert excipients: silici-    post-herpetic neuralgia, trigeminal neuralgia, post-stroke
        fied microcrystalline cellulose, mannitol, colloidal         pain syndromes or cluster or migraine headaches. The active
        silica and crospovidone;                                     ingredient in the formulations of the present disclosure are
    ii) comilling the above blend with the addition of mag-          preferably useful for treating or ameliorating abdominal
        nesium stearate;                                           5 pain. Examples of gastrointestinal disorders intended to be
    iii) compressing the dry blend into suitably sized tablets,      within the scope of this invention include, but are not lin1ited
        or filling into capsules.                                    to, diarrheic syndromes, motility disorders such as irritable
    According to another embodiment, a solid dosage formu-           bowel syndrome including diarrhea-predominant, constipa-
lation is prepared using direct compression, by:                     tion-predominant or alternating irritable bowel syndrome,
    i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl- 10 and visceral pain and diarrhea associated with inflallllllatory
        phenyl)-propionyl]-[ 1-(4-phenyl- lH-imidazol-2-yl)-         bowel disease including ulcerative colitis and Crohn's dis-
        ethyl]-amino }-methyl)-2-methoxy-benzoic acid with           ease.
        the pharmaceutically acceptable inert excipients silici-        Examples of gastrointestinal disorders where -({[2-
        fied microcrystalline cellulose, ma1mitol, colloidal         Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
        silica, and crospovidone;                                 15 [1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
    ii) lubricating the blend by the addition of magnesium           methoxy-benzoic acid may be useful include constipation-
        stearate;                                                    predominant irritable bowel syndrome, post-operative ileus
    iii) compressing the blend into suitably sized tablets.          and constipation, including but not limited to the constipa-
   According to another embodiment, capsules may be for-             tion associated with treatment of chronic pain with opiates.
mulated by:                                                       20 Modulation of more than one opioid receptor subtype is also
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             useful as follows: a compoimd that is a mixed mu OR
        phenyl)-propionyl]-[1-(4-phenyl- lH-imidazol-2-yl)-          agonist and delta OR antagonist could have antidiarrheal
        ethyl]-amino }-methyl)-2-methoxy-benzoic acid with           properties without being profoundly constipating. A com-
        the phamiaceutically acceptable inert excipients silici-     pound that is a mixed mu OR agonist and delta OR agonist
        fied microcrystalline cellulose, mannitol, colloidal 25 are useful in cases of severe diarrhea that are refractory to
        silica, and crospovidone;                                    treatment with pure mu OR agonists, or has additional utility
   ii) lubricating the blend by the addition of magnesium            in treating visceral pain associated with inflammation and
        stearate,                                                    diarrhea.
   iii) filling the blend into capsule shells.                          The daily dose of a solid dosage formulation of the
   According to another embodiment, capsules may also be 30 present disclosure may be a dose that is therapeutically
formulated by:                                                       effective for the treatment of irritable bowel syndrome,
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-din1ethyl-            preferably diarrhea-predominant irritable bowel syndrome,
       phenyl)-propionyl]-[l-(4-phenyl- lH-imidazol-2-yl)-           wherein a patient has an average decrease of daily WAP
        ethyl]-amino }-methyl)-2-methoxy-benzoic acid with           scores from the patient's baseline WAP (for example a
       the phannaceutically acceptable inert excipients silici- 35 baseline WAP score of "'3.0 (on a 0-10 numerical rating
        fled microcrystalline cellulose, mannitol, colloidal         scale, where O indicates no pain and 10 worst pain imagin-
        silica, and crospovidone;                                    able) of about "'10%, preferably a decrease in WAP score of
   ii) comilling the above blend,                                    about "'20%, more preferably a decrease in WAP score of
   iii) adding magnesium stearate to lubricate the blend,            about "'30%. The daily dose of a dosage fonnulation of the
   iv) filling the blend into capsule shells.                     40 present disclosure may be a dose that is therapeutically
   According to another embodiment, capsules may also be             effective for the treatment of irritable bowel syndrome,
formulated by:                                                       preferably diarrhea-predominant irritable bowel syndrome,
   i) blending 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             wherein a patient ayhieves an average BSS score (wherein 1
       phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-            equals hard, lumpy stools and 7 equals watery, liquid stools)
       ethyl]-amino }-methyl)-2-methoxy-benzoic acid with 45 of between 2 and 5, preferably 3 or 4.
       the phannaceutically acceptable inert excipients silici-         The daily dose of a solid dosage formulation of the
       fied microcrystalline cellulose, mannitol, colloidal          present disclosure may be varied over a wide range from
        silica, and crospovidone;                                    about 20 mg to about 7000 mg of the active ingredient per
   ii) comilling the above blend,                                    adult human per day; preferably the dose will be in the range
   iii) adding magnesium stearate to lubricate the blend,         50 of from about 50 mg to about 2100 mg of the active
   iv) compressing the blend into tablets.                           ingredient per adult human per day. For oral administration,
   In these embodiments of preparing the dosage fonnula-             the formulations are preferably provided in the fonn of
tions of this disclosure, the tablets or capsules may be film        film-coated tablets containing about 75, about 100 or about
coated and/or packaged in bulk or unit-dosage packaging              200 milligrams, more preferably about 75 or about 100
(i.e. blister packaging).                                         55 milligrams, of the active ingredient for the symptomatic
   The active ingredient in the fonnulations of the present          adjustment of the dosage to the subject to be treated.
disclosure are useful opioid receptor modulators. In particu-        Advantageously, dosage formulations of the present disclo-
lar, certain compounds are opioid receptor agonists useful in        sure may be administered in a single daily dose or the total
the treatment or amelioration of conditions such as pain,and         daily dosage may be administered in divided doses of two,
gastrointestinal disorders. Examples o(pain intended to be 60 three or four times daily. If administered twice daily, each
within the scope of the present inventio11 include, but are not      dose may be administered at about 6 hours to about 12 hours
limited to, centrally mediated pain, peripherally mediated           apart per day, preferably about 8 hours to about 12 hours
pain, structural or soft tissue injury related pain, pain related    apart per day, preferably about 10 hours to about 12 hours
to inflammation, progressive disease related pain, neuro-            apart per day, preferably about 10 hours apart per day, or
pathic pain and acute pain such as caused by acute injury, 65 preferably about 12 hours apart per day. In these preferred
trauma or surgery, and chronic pain such as caused by                embodiments, the total daily dose is administered twice
neuropathic pain conditions, diabetic peripheral neuropathy,         daily.




                                                 JTX-006, page 13 of 27

                                                          Appx195
          Case: 24-1061                     Document: 17                        Page: 171                 Filed: 12/28/2023




                                                       US 11,311,516 B2
                                 15                                                                        16
       In certain embodiments, these methods may include the           for example, any pain and gastrointestinal disorders dis-
    administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-             closed herein, preferably such as diarrheic syndromes,
    ethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-imidazol-2-yl)-           motility disorders including post-operative ileus and consti-
    ethyl]-amino }-methyl)-2-methoxy-benzoic acid in a formu-          pation, and visceral pain including post-operative pain,
    lation of this disclosure to the subject on an every-other-day 5 irritable bowel syndrome and inflanllllatory bowel disorders.
    (qod) dosing regimen, or on a thrice-weekly dosing regimen,           A11other embodiment of the disclosure relates to the use of
    or on a twice-weekly dosing regin1en, or on a once-weekly          any of the formulations of this disclosure in the preparation
    dosing regimen.                                                    of a medicament for the treatment or amelioration of a
       In certain embodiments, these methods may include the           condition mediated by an opioid receptor, for example pain
    administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim- 10 and gastrointestinal disorders disclosed herein, such as diar-
    ethyl-phenyl)-propionyl ]-[1-(4-phenyl-l H-imidazol-2-y1)-         rheic syndromes, motility disorders including post-operative
    ethy l]-amino }-methyl)-2-methoxy-benzoic acid in a fonnu-         ileus and constipation, and visceral pain including post-
    lation of this disclosure to the subject on a twice-monthly        operative pain, irritable bowel syndrome and inflammatory
    dosing regimen, or on a once-monthly dosing regimen.               bowel disorders.
       In certain embodiments, these methods may include the 15           The disclosure now being generally described will be
    administration of 5-({[2-Amino-3-(4-carbamoy1-2, 6-dim-            more readily understood by reference to the following
    ethyl-pheny l)-propionyl]-[l -(4-phenyl-l H-imidazol-2-yl)-        examples, which are included merely for the purposes of
    ethyl]-amino }-methyl)-2-methoxy-benzoic acid in a fomm-           illustration of certain aspects of the embodiments of the
    lation of this disclosure to the subject on an as-needed (pm)      present disclosure. The examples are not intended to limit
    dosing regimen.                                                 20
                                                                       the disclosure, as one of skill in the art would recognize from
       Thus, an embodiment provided by this disclosure is a            the above teachings and the following examples that other
    method of treating or ameliorating an opioid receptor related      techniques and methods can satisfy the claims and can be
    disorder by administering a formulation of this disclosure to      employed without departing from the scope of the claimed
    a subject in need of such treatment. In one embodiment, this       disclosure.
    administration may be made in the absence of the separate 25
    or concurrent administration of the opioid antagonist nalox-
    one. In specific embodiments, these methods may include                                       EXAMPLES
    the administration of 5-({[2-Amino-3-(4-carbamoyl-2,6-di-
    methyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imidazol-2-                  Example I-Description and Composition of Two
    yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid to the 30                            Fonnulations of Disclosure
    subject in an amount between about 20 mg and about 200
    mg, preferably about 75, about 100 or about 200 milligrams,
                                                                       Description of the Dosage Fonn
    more preferably about 75 or about 100 1nilligrams.
       In another embodiment, this administration may be made             The active ingredient, 5-( {[2-Alnino-3-(4-carbamoyl-2,6-
    in the absence of, prior to or concurrent with, the adminis- 35          dimethyl-phenyl)-propionyl]-[l-(4-phenyl-l H-imida-
    tration of food. In one embodiment, 5-({[2-Alnino-3-(4-                  zol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
    carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-                 acid was formulated as 75-mg and 100-mg film-coated
    lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-                      tablets. The formulation was composed of 5-({[2-
    benzoic acid is administered to the subject with one or more             Amino-3-(4-carbamoy1-2,6-dimethyl-pheny1)-propio-
    daily meals, more preferably with breakfast and dinner.         40       ny l]-[ l -(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-
       A11other embodiment of the disclosure relates to any of               methyl)-2-methoxy-benzoic acid and the inactive
    the formulations of this disclosure for use in the treatment or          components listed in Table 1.
    amelioration of a condition mediated by an opioid receptor,        Composition
                                                                                               TABLE 1
                                                                                 Composition of Tablets. 75-mg and 100-mg

                                                                                                                        Strength !label claim)

                                                                                                                     75 mg               lOOm<>

                                                        Component and Quality Standard (and                      Quantity            Quantity
                                                        Grade)                                       Function    per mg       %      per mg       %

                                                        Active ingredient                             Active       75        12.5      100       12.5
                                                        Silicified Microcrystalline cellulose (HD90)   Filler     426        71.0      568       71.0
                                                        (NF, Ph. Eur.)
                                                        Colloidal silica (NF, Ph. Eur.)               Glidant       4.5       0.75       6        0.75
                                                        Mannitol (USP, Ph. Eur.)                       Filler      60        10.0       80       10.0
                                                        Crospovidone (PolyP XLlO) (NF, Ph. Eur.) Disintegrant      30         5.0       40        5.0
                                                        Magnesium stearate (NF, Ph. Eur.)            Lubricant      4.5       0.75       6        0.75
                                                        Nominal Tablet Weight                                     600       100        800      100
                                                        Opadry II 85Fl 8422                          Film coat     18         3.0       24        3.0
                                                        (Company Specification)
                                                                                                                     a                   a
                                                        Purified water, USP                          Film coat
                                                        solvent

                                                        Total                                                     618                  824

                                                        °Removed during processing




I                                                   JTX-006, page 14 of 27

                                                                Appx196
      Case: 24-1061                          Document: 17                        Page: 172                   Filed: 12/28/2023




                                                          US 11,311,516 B2
                                 17                                                                          18
      Example 2-Description of One Manufacturing                                  methoxy-benzoic acid (3.2 mg/kg/IV infusion) provided
             Process (and Process Controls)                                       reinforcement for self-administration. However, 1 mg/kg did
                                                                                  not produce a signal in either morphine- or heroin-condi-
   TI1e flow chart for the method of manufacture for the 75-                      tioned primates.
and 100-mg oral tablets is presented in FIG. 1.                                      Thus, at least in animals, oral administration of 5-( {[2-
Description of the Manufacturing Process of FIG. 1.                               Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
I. Screen silicified microcrystalline cellulose, mannitol,                        [1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
   crospovidone and colloidal silica through a 20 mesh                            methoxy-benzoic acid does not produce CNS effects that are
                                                                                  prototypic of abused drngs. However, parenteral adminis-
   screen and magnesium stearate through a 30 mesh screen.
                                                                               10 tration does appear to produce these effects. Typically, when
2. Transfer the following into a 650-L tote bin: half of the
                                                                                  this pattern of effects is observed in animals, it is recom-
   silicifiedmicrocrystalline cellulose, all of the active ingre-
                                                                                  mended to conduct a human laboratory abuse potential study
   dient, mannitol, colloidal silica, crospovidone, and                    the
                                                                                  using both the therapeutic route (i.e., oral), as well as the IV
   remaining half of silicified microcrystalline cellulose.
                                                                                  route, which would represent a "worst case scenario."
   Blend at 12 rpm for 10 minutes. Add the magnesimn                                 In addition the recollllllendation to conduct in vitro stud-
                                                                               15
   stearate, blend at 12 rpm for 5 minutes and sample.                            ies to determine the ease and feasibility of preparing 5-({
3. Compress the tablets using a Stoke 34D tablet press or
                                                                                  [2-Amino-3-(4-carbamoyl-2,6-dimethyI-phenyl )-propio-
   similar with a speed of 35-45 rpm. Collect samples
                                                                                  nyl]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-an1ino }-
   throughout the compression nm.
                                                                                  methyl)-2-methoxy-benzoic acid for abuse through
4. Prepare the coating suspension by dispersing the Opadiy
                                                                               20 alternative routes of administration such as injection or
   II 85F18422 in water and mixing. Apply the coating                             snorting (e.g., in vitro extractability/tamperability studies).
   suspension with a spray gun at 300 g/min in a 48 inch
                                                                                  This is consistent with the draft "Guidance for Industry:
   Accela Cota coater with following parameters:
                                                                                  Assessment ofAbuse Potential ofDrngs" (FDA, 2010). This
                                                                                  example discloses the findings of such in vitro extractability/
                                     TABLE 2                                   25 tamperability studies.
                             Tablet Coating Parameters                               Based on the FDA guidance, a series ofin vitro laboratory
                                                                                  assessment studies were designed to explore the abuse
Coating Parameter                     Setting                                     potential of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
No. of Baffles                        4                                           phenyl)-propionyl]-[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-
Number of Spray Guns                  4                                        30 amino }-methyl)-2-methoxy-benzoic acid. Specific areas
Spray Apparatus                       Schlick (Module 9347-1535 with pattern      that were identified for laboratory assessment were as fol-
                                      and atomization adjustments)                lows:
Nozzle Diameter/Air      Cap          1.2 mm/Air    Cap   4 mm
Delivery System                       Peristalic Pump                                Physical manipulations and pretreatment effects
Gun to Bed Distancea                  9" (8-11")                                     Aqueous and organic solvent extractions
Set Point Delivery Ratea                300 ± 50 g/min/4 Guns                  35    Syringeability assessments
Pan Speeda                            4.5 (4-8) rpm                                  Simulated smoking assessments
Atomizing Air'                           30±5psi
Pattern Air"                             25±5psi                                     Laboratory experiments were targeted toward outcomes
Inlet Air Temperaturea                   60 ± 10° C.                              that could produce tampered product suitable for adminis-
Air Volume (Inlett                    1500 ± 500 cfm                              tration by alternate routes of administration including injec-
                                                                               40 tion, intranasal administration and smoking. Experiment
Guideline only - adjust as required to achieve a suitable coating process
                                                                                  design began with a consideration of the physical and
5. Cool the tablets and store in tared, labeled high density                      chemical properties of the 5-({[2-Amino-3-(4-carbamoyl-2,
   polyethylene (HDPE) containers lined with double poly-                         6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-
   ethylene bags with twist ties.                                                 2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid and
6. Prepare final packaging in ACLAR blisters or HDPE 45 formulation excipients. The solubility profile of the 5-({[2-
   bottles.                                                                       Amino-3-(4-carban1oyl-2,6-dimethyl-phenyl)-propionyl]-
                                                                                  [1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
       Example 3-Abuse Liability Assessment of Oral                               methoxy-benzoic acid has been characterized as ranging
                                   Formulation                                    from "slightly soluble" (1-10 mg/mL) in water to "sparingly
                                                                               50 soluble" 10-33 mg/mL in acidic pH2 buffered solutions to
   An abuse liability assessment was undertaken in rhesus                         "freely soluble" (100-1000 mg/mL) in 0.lN NaOH solution.
monkeys to determine the doses and syste1nic exposure                             Consequently, a core group of laboratory assessments were
levels following acute intravenous administration of 5-( { [2-                    directed toward experiments that characterized the "extract-
Amino-3-(4-carbamoy1-2, 6-dimetl1y1-pheny1)-propionyl ]-                          ability" of the 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
[ 1-(4-phenyl- lH-imidazol-2-yl)-etl1yl]-amino }-methyl)-2- 55 phenyl)-propionyl]-[ 1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-
methoxy-benzoic acid that would provide a discriminative                          amino }-methyl)-2-methoxy-benzoic          acid     from      the
stimulus in morphine-conditioned monkeys and positive                             formulation matrix. The fonnulation tested was the 7 5 mg
reinforcing effects (self-administration) in heroin-condi-                        and 100 mg tablets described in Example 1, Table 1.
tioned monkeys. TI1e drug discrimination stµdies revealed                            The first phase of tl1e sh1dy consisted of assessing the
that morphine-trained monkeys disc;riminated between 60 formulation for ease of physical manipulation (e.g., crnsh-
saline at an IV dose of ;;:10 mg/kg of5-({[2-Amino-3-(4-                          ing, film coating removal, and pretreatments), extractability
carbamoyl-2, 6-dimethyl-pheny1)-propionyI]-[ 1-(4-pheny1-                         with selected aqueous and organic solvents, effects of fil-
l H-ilnidazol-2-y l)-ethyl]-amino }-methyl)-2-methoxy-ben-                        tration on assay results, simulated smoking experiments, and
zoic acid. Self-administration studies revealed that in                           syringeability.
monkeys conditioned to self-administer heroin, 5-({[2- 65                            It was detennined that first phase assessments of physical
Amino-3-(4~carbamoyl-2,6-dimethyl-phenyl)-propionyl]-                             manipulations ( cutting/crnshing/grinding assessments, pre-
[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-                          treatment by freezing and heating, and coating removal), and




                                                      JTX-006, page 15 of 27

                                                                Appx197
      Case: 24-1061                       Document: 17                      Page: 173                 Filed: 12/28/2023




                                                      US 11,311,516 B2
                               19                                                                     20
simulated smoking experiments provided a clear and com-            nyl-lH-imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-
plete body of data on these topics and no further assessments      benzoic acid undergoing dissolution (extraction).
were needed. The first phase assessments of extraction
provided a basis for a second, formal phase study of extrac-            Effects of Filtration on 5-({[2-Amino-3-(4-carbam-
tions from this formulation.                                    5       oy1-2, 6-dimethyl-pheny1)-propiony!]-[ 1-(4-pheny1-
   All assessments of these tablet formulations were per-                    1H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
formed with the 100 mg 5-({[2-Amino-3-(4-carbamoyl-2,6-                          methoxy-benzoic Acid Extractability
dimethyl-phenyl)-propionyl]-[1-( 4-phenyl-lH-imidazol-2-
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid dosage              With the suspicion that unfiltered extractions might be a
tablet (total tablet weight=824 mg) with the exception of 10 combination of true extracted (dissolved) 5-({[2-Amino-3-
physical manipulation experiments and the Time Course              (4-carbamoyl-2,6-dimethy1-pheny1)-propionyl]-[ 1-(4-phe-
study which were performed with the 75 mg strength tablet.         nyl-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-
The two dosage strengths are dose proportional in relation to      benzoic acid and suspensions of undissolved material,
excipients (C0llllll0n blend) and have the same coating.           additional extractions were performed to determine the
   To assure production ofreliable, accurate data, the experi- 15
                                                                   effect of filtration. Extracts were first filtered through 0.45
mental design oflaboratory protocols included the following
                                                                   µm PTFE filters prior to HPLC analysis. Single whole and
elements: use of sufficient replicates to assess method vari-
                                                                   ground tablets were extracted at 25° C. with 10 mL solvent
ability; inclusion of controls for comparison where appro-
priate; investigation over a broad range of chemical and           for 15, 30 and 60 minutes with water, acetone, isopropyl
                                                                                                                  buffer, pH 7.0 buffer,
physical conditions; verification of analytical methods; and 20 alcohol, ethanol, pH 2.0 buffer, pH 4.0
use of independent laboratories to whom validated method-          pH 10.0 buffer.
ologies had been transferred.                                      Result Summary and Discussion
   A. Physical Manipulations and Pretreatments                        Addition of the filtration step reduced recoveries for all
   The ease of cutting and crushing of the tablets was             solvents. The greatest decreases were observed with the
assessed with a range of readily available household items 25 organic solvents. A comparison of the percentage of 5-( {[2-
including razor blades, spoons, pliers, tablet crushers, ham-      Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
mer, rolling pin, and mortar and pestle. The effect of tablet      [1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
pretreatment by freezing at -20° C. or heating at 100° C. was      methoxy-benzoic acid extracted for ground tablets at 60
also assessed. Coating removal was assessed by rubbing             minutes (25° C. with 10 mL solvent) is shown in Table 3,
tablets with wet paper towels.                                  30 below. Clearly, undissolved particles led to falsely increased
Result Sullllllary and Discussion                                  estimates of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-
   Although the tablets were slightly difficult to "crack",        phenyl)-propionyl]-[1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-
crushing could readily be accomplished with a variety of           amino }-methyl)-2-methoxy-benzoic acid recovery and con-
common household tools. Freezing or oven heating of the            siderable scatter in individual determinations.
tablets did not affect tablet "crushability." Coating removal 35
could be accomplished easily with a wet paper towel.                                             TABLE 3
   B. Extractions                                                     Comparison of the percentage of 5-({[2-Amino-3-(4-carbamoyl-2,6-
Solvent Extraction                                                     dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-imidazo l-2-yl)-ethyl]-
   Experiments designed to simulate preparation of the tab-          amino}-methyl)-2-methoxy-benzoic acid extracted from cround tablets
lets for injection were conducted by extracting a single 40
                                                                                                     % Recovery,            % Recovery,
powdered or intact tablet at 25° C. with 10 mL of solvent for                 Solvent                  Unfiltered              Filtered
15,  30  and  60  minutes  with  aqueous-   and organic-based
solvents (water, 0.lM HCI, ethanol, hexane,     pH  2.0 buffer,                Water                       63                     38
                                                                              Acetone                      30                      2
pH 4.0 buffer, pH 7.0 buffer, pH 10.0 buffer, saline, 10%                                                  80                      0
                                                                         Isopropyl Alcohol
ethanol, acetone, and isopropyl alcohol). The water and 45                    Ethanol                      52                      5
ethanol extractions were repeated at 95° C.                                 pH 2 Buffer                   103                     36
Result Summary and Discussion                                               pH 4 Buffer                    58                     12
                                                                            pH  7 Buffer                   81                     22
   Percent recoveries of 5-({[2-Amino-3-(4-carbamoyl-2,6-                                                                         33
                                                                           pH 10 Buffer                   100
dimethyl-phenyl)-propionyl]-[1-( 4-phenyl-1 H-imidazol-2-
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid for sol- 50
vent extractions at 25° C. were variable with solvent type.           C. Syringeability
Aqueous-based solvents were more efficient than non-polar             Experiments were conducted to determine the syringe-
organic solvents (e.g., hexane). Acidic and basic solvents         ability of tablet extracts. These assessments were performed
were more efficient than water or ethanol. Unusual high            on the remainder of solutions (following aliquot removal for
recoveries of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl- 55 determination of percentage of 5-({[2-Amino-3-(4-carbam-
phenyl)-propionyl]-[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-        oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imi-
amino }-methyl)-2-methoxy-benzoic acid were observed               dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
unexpectedly for isopropyl alcohol (80% at 60 minutes/25°          recovery) produced in the first phase extractions at 25° C.
C., ground tablet) and water (118% at 60 minutes/95° C.). It       Solutions were aspirated into disposable syringes equipped
was noted that these experiments wc~re conducted with 60 with 25 gauge needles.
unfiltered aliquots leading to the suspicion that un-dissolved     Result Summary and Discussion
particles of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-                All solutions were successfully loaded into disposable
pheny1)-propiony!]-[ 1-(4-phenyl-1 H-imidazol-2-yl )-ethy!]-       syringes equipped with a 25 gauge needle indicating that
amino }-methyl)-2-methoxy-benzoic acid were being trans-           extracted solutions offered no resistance to syringeability.
ferred and dissolved in the HPLC media during analysis, 65            D. Simulated Smoking Assessment
thereby falsely raising the true percent of 5-({[2-Amino-3-           Simulated smoking of the active ingredient was assessed
(4-carbamoyl-2,6-dimethyl-phenyl )-propiony!]-[ 1-(4-phe-          by heating ground or intact tablets in a test tube fitted with




                                                   JTX-006, page 16 of 27

                                                             Appx198
      Case: 24-1061                      Document: 17                     Page: 174                 Filed: 12/28/2023




                                                      US 11,311,516 B2
                               21                                                                    22
 an apparatus that collected vaporized 5-({[2-Amino-3-(4-        orbital shaker at 100 rpm, and then aliquots were removed
carbamoyl-2, 6-dimethyl-pheny1)-propiony!]-[ 1-(4-phenyl-        and filtered with 0.45 µm PTFE filters for HPLC analysis.
 1H-imidazol-2-y l)-ethyl]-amino }-methyl)-2-methoxy-ben-        The solvents utilized in these assessments were water,
zoic acid. As heat from a heating block was applied to the       saline, vinegar, 0.lM HCI, 10% ethanol, 40% ethanol, pH
sealed test tube, air was drawn through the tube and over the 5 2.0 buffer, pH 4.0 buffer, pH 7.0 buffer, and pH 10.0 buffer.
surface of the heated product. The air exited through a          Results were expressed in Table 4 below as % recovery (%
collector cartridge (C18 Sep-Pak cartridge) situated over the    label claim) and as concentration (mg/mL).
heated product. Product was heated to 225° C. until the          Result Summary and Discussion
material was charred (usually approximately 5 minutes).
Samples were heated for a total of 10 minutes. In addition, 10                                 TABLE 4
pure 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-           --------------------
propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-               Summary of mean results (n = 6) is shown in the table below.
methyl)-2-methoxy-benzoic acid was treated in the same                                         %            %         Cone.       Cone.
manner. The capacity for the apparatus to collect vaporized                               Recovery, Recovery, (mg/mL), (mg/mL),
5-({[2-Amino-3-(4-carbamoyl-2,6-dimethy1-pheny1)-pro-         15     Solvent   ° C. Temp Ground           Intact     Ground       Intact
pionyl]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-               Water        25        22.1          16.4        2.2         1.6
methyl)-2-methoxy-benzoic acid was verified with a series                          95        39.9          38.7        4.0         3.9
of tests involving passing a standard solution of 5-( {[2-            Saline       25         13.7         17.0        1.4         1.7
Amino-3-(4-carbamoy1-2, 6-dimethyl-pheny1)-propionyl ]-                            95        38.9          61.4        3.9         6.1
                                                                     Vinegar       25        80.0          24.2        8.0         2.4
[ 1-(4-phenyl-1H-in1idazol-2-yl)-ethyl]-amino }-methyl)-2- 20                      95        77.7          77.9        7.8         7.8
methoxy-benzoic acid through the cartridge, and testing for         0.lM HCl       25        33.5          50.1        3.3         5.0
"breakthrough" with serially connected cartridges. Recov-                          95         65.4         59.6        6.5         6.0
eries of standard amounts of 5-({[2-Amino-3-(4-carbamoyl-         10% Ethanol      25         19.3         12.6        1.9         1.3
                                                                                   95        80.9          70.8        8.1         7.1
2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-lH-imida-           40% Ethanol      25        23.9          27.9        2.4         2.8
zol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid 25                         95        91.6          64.6        9.2         6.5
reference material trapped by the collector were essentially       pH 2 Buffer     25        56.1          32.7        5.6         3.3
                                                                                   95        67.5          73.2        6.8         7.3
quantitative. Heating ground and intact tablets with a torch
                                                                   pH 4 Buffer     25          8.8          8.1        0.9         0.8
to extremely high temperatures was also attempted followed                         95        27.8          24.2        2.8         2.4
by collection of vaporized material with a bubbler collector.      pH 7 Buffer     25        10.8          14.7        1.1         1.5
Result Summary and Discussion                                 30                   95        41.3          40.0        4.1         4.0
   Browning and charring was evident when tablets and             pH 10 Buffer     25        38.5          38.3        3.9         3.8
                                                                                   95        83.9          65.4        8.4         6.5
ground product were heated to 225° C. in the heating block
or to extreme heat with a torch. No detectable 5-( {[2-
Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-propionyl ]-              Although there was considerable variability among rep-
[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2- 35 licates, generally, the average amount of 5-({[2-Amino-3-
methoxy-benzoic acid was vaporized from ground or intact         (4-carbamoy1-2,6-dimethy1-phenyl)-propionyl]-[ 1-(4-phe-
tablets when heated by either method. Only extremely minor       nyl-1 H-imidazol-2-y1)-ethyl]-amino }-methyl)-2-methoxy-
traces of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-          benzoic acid release (% recovery) was comparable between
nyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-           ground and intact tablets. As expected, extraction at near
amino }-methyl)-2-methoxy-benzoic acid were vaporized 40 boiling conditions (95° C.) increased drug release. The most
when pure 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-              efficient solvents for extraction (>50%) of ground tablets at
phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-        25° C. were vinegar and pH 2 buffer. At elevated tempera-
amino }-methyl)-2-methoxy-benzoic acid was heated under          ture, the solvents that allowed >50% recovery for ground
the same conditions. Mass balance analysis was attempted         product were vinegar, 0. lM HCI, 10% ethanol, 40% ethanol,
by analyzing the remaining 5-({[2-Amino-3-(4-carbamoyl- 45 pH 2 buffer, and pH 10 buffer. Extract concentrations of
2,6-dimethy I-phenyl )-propiony!]-[ 1-(4-pheny1-1 H-imida-       5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-pro-
zol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid in       pionyl]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-
the heated test tubes. Generally, 5-({[2-Amino-3-(4-carbam-      methyl)-2-methoxy-benzoic acid from ground and intact
oyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imi-         tablets across all conditions ranged from 0.8 mg/mL to 9.2
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid 50 mg/mL.
recoveries from the heated tube were low likely indicating           F. Organic Solvent Extraction
that heating under these conditions produced thermal                This series of extractions was performed in a similar
decomposition of the 5-({[2-Amino-3-(4-carbamoyl-2,6-di-         manner as the aqueous solvent extractions previously
methyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-imidazol-2-           described. Ground and intact tablets were extracted in 10 mL
yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid. Conse- 55 of solvent for 10 minutes on an orbital shaker at 100 rpm.
quently, it seems safe to conclude that smoking is not a         Aliquots were removed and filtered with 0.45 µ111 PTFE
viable route of administration for the 5-({[2-Amino-3-(4-        filters for HPLC analysis. The solvents utilized in these
carbamoy1-2, 6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1-        assessments were 95% ethanol, isopropyl alcohol, acetone
1H-imidazol-2-yl)-ethyl]-amino }-methy1)-2-methoxy-b~n-          and hexane.
zoic acid.                                                    60 Result Summary and Discussion
   E. Aqueous Solvent Extraction                                     Organic solvent extraction of tablets was inefficient
   Small volume extractions were conducted with various          (<10%) across all conditions. The most efficient solvent
household solvents and buffers to simulate extraction pro-       utilized in this assessment was 95% ethanol that provided an
cedures that might be used for preparation of solutions for      average% recovery of 8.2% 5-({[2-Amino-3-(4-carbamoyl-
injection. Extractions were performed on six replicates of 65 2,6-dimethyl-phenyI)-propiony!]-[ 1-(4-phenyl-1 H-imida-
ground and intact tablets at 25° C. and 95° C. with 10 mL        zol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
of solvent for 10 minutes. The extractions were shaken on an     (range, 6.0%40.3%).




                                                  JTX-006, page 17 of 27

                                                           Appx199
      Case: 24-1061                             Document: 17                          Page: 175              Filed: 12/28/2023




                                                               US 11,311,516 B2
                                    23                                                                           24
    G. Syringe Evaluation                                                                       TABLE 5-continued
    Extracted solutions remaining from the aqueous extrac-
                                                                       Mean extraction efficiencies of active ingredient in extraction assessment
tions were assessed for syringeability. In this assessment, a
 IO mL syringe fitted with a 25 gauge needed was utilized to                             Number of Tablet                           Concentration,
withdraw as much of the remaining 7 mL volume of 5                        Solvent           Equivalents          % Recovery            mg/mL
extracted solution as possible into the syringe. A cotton ball
                                                                        0.lMHCI                   2                   76.8               15.4
was used to filter the solution by inserting the needle in the                                    4                   46.1               18.5
cotton ball during aspiration of the solution. The volume of
 solution successfully aspirated into the syringe was esti-
                                                                  10     It would appear that both water and 0.lM HCI have nearly
mated and an aliquot was tested to detennine the milligram
                                                                     reached capacity for dissolution of the 5-({[2-Amino-3-(4-
amount of 5-({ [2-Amino-3-( 4-carbamoyl-2,6-dimethyl-phe-
                                                                     carbamoyl-2,6-dimethyl-pheny1)-propionyl]-[ 1-(4-pheny1-
nyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-
                                                                     1H-imidazol-2-yl)-ethy!]-amino }-methy1)-2-methoxy-ben-
amino }-methyl)-2-methoxy-benzoic acid loaded into the
                                                                     zoic acid under the two tablet equivalent extraction
syringe.
                                                                  15 condition at 95° C. The effect of doubling the amount of
Result Sullllllary and Discussion
    Of the remaining 7 mL volume of solution remaining               potentially extractable 5-({[2-Amino-3-(4-carbamoyl-2,6-
from extraction of a powdered tablet, the typical volume that        dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-imidazol-2-
could be loaded into a 10 mL syringe fitted with a 25 gauge          yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid to four
needle (cotton ball filtration) was 4-5 mL of solution. Thus,        equivalents provided nearly equal concentrations of 5-({[2-
                                                                  20
the loss of available solution ranged from approximately             Amino-3-(4-carban10y1-2, 6-dimethyl-phenyl)-propionyI]-
30% to 43% in this simulated assessment of preparing a               [ 1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
solution for intravenous injection. The absolute amount of           methoxy-benzoic acid in both water and acid solution. At the
5-({ [2-Amino-3-(4-carbamoy1-2,6-dimethy1-phenyl)-pro-               same time, % recovery for the 4 tablet condition was
pionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-               approximately one-half of the two tablet condition indicat-
                                                                  25
methyl)-2-methoxy-benzoic acid varied with the type of               ing each solvent had reached a capacity limiting condition.
solvent. Overall, there was no evidence of resistance to                I. Large Volume Extraction
syringeability in these assessments.                                    Given that the 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
    H. Multiple Tablet Extraction                                    ethyl-phenyl)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-
    This initial series of extractions was designed to assess the 30 ethyl]-amino }-methyl)-2-methoxy-benzoic acid exhibits
extraction efficiency of selected aqueous-based solvents for         limited solubility in some solvents, extraction with a larger
preparation of tablets for injection. The extractions were           volume might be attempted by individuals attempting to
performed with water and 0.lM HCI on ground tablets with             isolate the 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
equivalent weight of 2 and 4 tablets. The extraction was             nyl)-propionyl]-[ 1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-
conducted with 10 mL of solvent for 10 minutes on an 35 amino }-methyl)-2-methoxy-benzoic acid for administration
orbital shaker at 100 rpm at 95° C. Following extraction,            by non-intended routes. This extraction assessment was
aliquots were removed and filtered with 0.45 ~tm PTFE                perfonned with ground and intact tablets. Extractions were
filters for HPLC analysis. The rationale for the design of this      conducted with 30 mL volume of solvents (water, 0. lM HCI,
study was that individuals might attempt to extract a larger         10% ethanol, and 95% ethanol) at 25° C. for 10 minutes and
dose of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe- 40 24 hours on an orbital shaker at 100 rpm, then filtered with
nyl)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-             a 0.45 ~tm PTFE filter for HPLC analysis.
amino }-methyl)-2-methoxy-benzoic acid through the use of            Result Summary and Discussion
heat, larger volumes and possibly use of acidic media.                  The mean extraction efficiencies and concentration of
Although 10 mL volume is large for injection purposes, it is         5-({ [2-Amino-3-(4-carbamoy1-2, 6-dimethy1-phenyl)-pro-
plausible that such a volmne might be attempted, especially          piony l]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-
                                                                  45
given the limited solubility of the 5-({[2-Amino-3-(4-car-           methyl)-2-methoxy-benzoic acid in this extraction assess-
bamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-( 4-phenyl-1 H-            ment are shown in Table 6 below.
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic
acid. Also, it should be noted that although injection of a                                            TABLE 6
highly acid solution (0.lM HCI) would likely result in 50
                                                                          Extraction efficiencies of active ingredient in extraction assessment
discomfort and tissue injury, some individuals may attempt
such procedures.                                                                                       %            %          Cone.       Cone.
Result Summary and Discussion                                                         Extraction Recovery, Recovery, (mg/mL), (mg/mL),
   The mean extraction efficiencies and concentration of                 Solvent         Time       Ground        Intact      Ground       Intact
5-({ [2-Amino-3-(4-carbamoy1-2,6-dimethy1-phenyl)-pro-            55      Water        10 min         19.8         0.9          0.7         0.03
pionyl]-[1-( 4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-                                24 hr          22.1        18.4          0.8         0.7
methyl)-2-methoxy-benzoic acid in this extraction assess-              0.lM HCI        10 min         67.6         2.9          2.3         0.1
ment are shown in Table 5.                                                             24 hr          68.1        35.9          2.5         1.3
                                                                                   10% Ethanol   10 min   26.7         5.1     0.9       0.2
                                                                                                 24 hr    28.8        47.7     1.1       1.8
                               TABLE 5                                        60   95% Ethanol   10 min   27.0         0.06    0.9       0.0
                                                                                                 24 hr    29.9         5.8     1.1       0.2
 Mean extraction efficiencies of active ingredient in extraction assessment

                 Number of Tablet                          Concentration,          There was little difference in percent recovery of 5-({[2-
   Solvent         Equivalents           % Recovery           mg/mL              Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
    Water                 2                  41.2                8.2          65 [1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
                          4                  22.4                9.0             methoxy-benzoic acid from the ground tablet following a 10
                                                                                 minute extraction period as compared to extending the




                                                          JTX-006, page 18 of 27

                                                                       Appx200
       Case: 24-1061                       Document: 17                          Page: 176                      Filed: 12/28/2023




                                                        US 11,311,516 B2
                                25                                                                              26
extraction period to 24 hours. In contrast, extraction of intact                   Increasing the extraction temperature from 25° C. to 95°
tablets for 10 minutes was considerably less efficient than for                 C. enlmnced recovery and solubility of the 5-({[2-Amino-
24 hours. It is likely that the increased surface area of the                   3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-
ground material was responsible for the rapidness of the 10                     phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-
minute extraction outcome. All concentrations of 5-( {[2- 5
                                                                                methoxy-benzoic acid in water and saline; however
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-
[ 1-(4-phenyl-IH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-                       extending extraction time did not appear to extract addi-
methoxy-benzoic acid in the different solvent extracts were                     tional drng. Concentration of 5-( {[2-Amino-3-(4-carbam-
consistently <3 mg/mL.                                                          oyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl- lH-imi-
    J. Small Volume Extraction                                               10 dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid
    Smaller volume extractions are commonly used by indi-                       in water and saline was consistently <l 0 mg/mL. The use of
viduals attempting to prepare a solution for injection. Water
                                                                                0.lM HCI substantially enhanced recovery (nearly quanti-
and saline are commonly used solvents for injection and
were included in this study. Although it seems unlikely that                    tative) and concentration of 5-({[2-Amino-3-(4-carbamoyl-
0.lM HCI would be used as a solvent because of it toxic 15 2,6-dimethy1-phenyl)-propionyl]-[1-(4-pheny1-1 H-imida-
effects, it was included as a "worst-case scenario" in con-                     zol-2-y1)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid in
sideration of the solubility properties of the 5-({[2-Amino-                    solution although extraction for 24 hr at 95° C. appeared to
3-(4-carbamoyl-2,6-dimethy1-phenyl)-propionyl]-[ 1-(4-
pheny1-1 H-imidazol-2-y1)-ethyl]-amino }-methyl)-2-                             produce loss of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
methoxy-benzoic acid in the tablets. This extraction                            ethyl-phenyl)-propionyl]-[1-( 4-phenyl-1 H-imidazol-2-yl)-
                                                                             20
assessment was performed with ground and intact tablets.                        ethyl]-amino }-methyl)-2-methoxy-benzoic acid ( decompo-
Extractions were conducted with 5 mL volume of solvents                         sition). Concentrations of 5-({[2-Amino-3-(4-carbamoyl-2,
(water, saline, and 0.lM HCI) at 25° C. and 95° C. for 10
minutes and 24 hours on an orbital shaker at 100 rpm, then                      6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-
filtered with a 0.45 µm PTFE filter for HPLC analysis.                          2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid in the
Result Summary and Discussion                                                25 acid extracts were in the range of 16-21 mg/mL.
   The mean extraction efficiencies and concentration of
                                                                                   K. Filter Evaluation
5-( {[2-Amino-3-(4-carbamoy1-2,6-dimethy1-phenyl)-pro-
pionyl ]-[ 1-(4-phenyl-1H-imidazol-2-yl)-ethyl]-an1ino }-                          With the discovery that suspensions of material contain-
methyl)-2-methoxy-benzoic acid in this extraction assess-                       ing 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-
ment are shown in Table 7 below.                                             30 propionyl]-[1-(4-phenyl-l H-imidazol-2-yl)-ethyl]-an1ino }-
                                                                                methyl)-2-methoxy-benzoic acid were falsely elevating
                                  TABLE 7                                       measures of drug release and recovery, an assessment was
     Extraction efficiencies of active ingredient in extraction assessment      perfonned to determine how different types of filtration
                                                                             35
                                                                                systems might affect drug release measurements. Extrac-
                         Ex-         %        % Re-       Cone.       Cone.     tions were performed on ground and intact tablets. Extrac-
            Temp., traction Recovery, coveiy, (mg/mL), (mg/mL),
Solvent       o C.      Time      Ground      Intact     Ground       Intact    tions were conducted with 5 mL volume of solvent (water,
                                                                                0.lM HCI, 10% ethanol and 95% ethanol) at 25° C. for 10
Water          25      10 min        16.2       16.4        3.2         3.3
               95      10 min       34.7       32.4         6.9         6.5     minutes on an orbital shaker at 100 rpm. Following extrac-
               25       24 hr        17.1      17.2         3.4         3.5  40 tion, extracts were filtered as follows: unfiltered (control);
               95       24 hr       28.3       25.9         5.7         5.2     0.45 µm PTFE filter; cotton ball filter; cigarette filter; and
Saline         25      lOmin         16.9      17.5         3.4         3.5
               95      10 min       46.2       41.0         9.2         8.2     coffee paper filter.
            25     24 hr      17.6      17.7      3.5        3.6
            95     24 hr      24.1      23.5      4.8        4.7
                                                                            Result Summary and Discussion
0.lM        25    10 min     100.6      86.2     20.1       17.2       45     The mean extraction efficiencies and concentration of
HCl         95    10 min      90.2     102.3     18.1       20.5
                                                                            5-({ [2-Amino-3-(4-carbamoy1-2, 6-dimethy1-pheny1)-pro-
            25     24 hr      91.8      95.1     18.4       19.0
            95     24 hr      79.1      83.9     15.8       16.8            piony l]-[1-(4-phenyl-IH-imidazol-2-yl)-ethyl]-amino }-
                                                                            methyl)-2-methoxy-benzoic acid in this extraction assess-
                                                                            ment are shown in Table 8 below.

                                                                                                   TABLE 8
                                                                       Extraction efficiencies of active ingredient in extraction assessment

                                                                                                        %             %           Cone.          Cone.
                                                                                                    Recovery,      Recovery,     (mg/mL),      (mg/mL),
                                                             Solvent            Filter Type          Ground         Intact        Ground         Intact

                                                             Water               Unfiltered            49.1           61.9           9.8         12.4
                                                                            0.45 µm PTFE filter        16.5           16.9           3.3          3.4
                                                                                Cotton Ball            18.2           16.8           3.6          3.4
                                                                               Cigarette Filter        18.5           16.9           3.7          3.4
                                                                                Coffee Filter          16.8           17.1           3.4          3.4
                                                           0.lMHCl               Unfiltered            74.3           83.2          14.9         16.6
                                                                            0.45 µm PTFE filter        76.7           87.4          15.3         17.5
                                                                                Cotton Ball            56.6           86.3          11.3         17.3
                                                                               Cigarette Filter        37.6           82.8           7.5         16.6
                                                                                Coffee Filter          63.2           85.3          12.6         17.1
                                                          10% Ethanol            Unfiltered            90.7           76.4          18.1         15.3
                                                                            0.45 µm PTFE filter        22.4           23.5           4.5          4.7




                                                    JTX-006, page 19 of 27

                                                              Appx201
      Case: 24-1061                               Document: 17                                 Page: 177                      Filed: 12/28/2023




                                                                     US 11,311,516 B2
                                      27                                                                                        28
                                   TABLE 8-continued
             Extraction efficiencies of active ingredient in extraction assessment

                                              %                  %            Cone.          Cone.
                                           Recovery,       Recovery,         (mg/mL),      (mg/mL),
   Solvent           Filter Type            Ground              Intact        Ground         Intact

                    Cotton Ball              24.0               23.7            4.8          4.8
                   Cigarette Filter          24.9               24.4            5.0          4.9
                                             22.6               22.9            4.5          4.6
95% Ethanol          Unfiltered              62.0                0.1           12.4          0.03
                0.45 µm PTFE filter           7.3                0.1            1.5          0.02
                    Cotton Ball              26.7                0.04           5.3          O.Ql
                   Cigarette Filter          16.0                0.02           3.2          0.0
                    Coffee Filter            10.4                0.03           2.1          0.01

                                                                                      15

   Filtration had a substantial effect on apparent drug release       The sustained amount of time that an extraction solvent is
in extractions with solvents that exhibit limited solubility       in contact with a fonnulation can substantially influence
(i.e., water, 10% ethanol, 95% ethanol) for the 5-({[2-            how much active is released (and dissolved in the extraction
Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-              solvent). This is particularly true for actives that exhibit
                                                                20
[1-(4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-methyl)-2-           limited solubility in the chosen solvent. Review of data
methoxy-benzoic acid. Without filtration, the evidence             generated in the study involving extraction with 30 mL of
appears persuasive that particle suspension was the cause of       solvent for 10 minutes and 24 hours generally indicated
these differences. When suspensions were prepared for assay        greater variability (% RSD) for the shorter extraction time
by HPLC, the 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-             compared to the 24 hour extraction. To assess the influence
                                                                25
phenyl)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-        to extraction time, a detailed time course study was con-
amino }-methyl)-2-methoxy-benzoic acid became soluble in           ducted to detennine the impact of extraction time on data
the HPLC mobile phase and this accounted for the elevated          variability and on percent recovery of the 5-({[2-Amino-3-
"readings" (measurements). In contrast, extraction with            (4-carbamoy1-2,6-dimethyl-pheny1)-propionyl]-[ 1-(4-phe-
0.lM HCI showed little difference in drug release and              nyl-1 H-imidazol-2-y1)-ethyl]-amino}-methyl)-2-methoxy-
                                                                30
recovery with or without filtration. Since the 5-({[2-Amino-       benzoic acid from the tablets.
3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-                Extractions were perfonned on single ground and intact
pheny1-1 H-imidazol-2-y1)-ethy!]-amino }-methyl )-2-               tablets (75 mg strength). Extractions were conducted with
methoxy-benzoic acid exhibits considerably greater                 22.5 mL volume of solvent (water, 0.lM HCI, vinegar, and
solubility in 0.lM HCI, there were not suspended particles         pH 7 buffer) at 25° C. and 95° C. on an orbital shaker at 100
                                                                35
that would have been filtered out. It should be noted that this    rpm. A 2 mL aliquot was withdrawn at each time point. The
somewhat unusual behavior (fom1ing particle suspensions in         time points were as follows: 10, 20, 30, 45 and 60 minutes,
solvents with limited solubility for the 5-({[2-Amino-3-(4-        4, 12, and 24 hours. Extracts were filtered with a 0.45 µm
carbamoy1-2, 6-dimethyl-pheny1)-propiony!]-[ 1-(4-pheny1-          PTFE filter for HPLC analyses.
1H-imidazol-2-y1)-ethyl]-amino }-methy1)-2-methoxy-ben-            Result Sullllllary and Discussion
                                                                40
zoic acid) adds a source of considerable variability that             The mean extraction efficiencies of 5-({[2-Amino-3-(4-
would be highly dependent upon conditions employed dur-            carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-
ing extraction. This unique property of the formulation is not     1H-imidazol-2-yl)-ethyl]-an1ino }-methyl)-2-methoxy-ben-
expected to be easily discoverable by individuals that might       zoic acid over time and % RSD (11=6 replicates) in this
attempt extraction with common household solvents.                 extraction assessment are shown in the Table 9, below.
                                                                                                          TABLE 9
                                                                                      Extraction efficiencies of active ingredient over time

                                                       Time          10           20             30          45                         4       12      24
                                                       Vessel      minutes      minutes        minutes     minutes       Hour        Hours     Hours   Hours

                                                            Amount of 5-({ [2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-
                                                          imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim (%) Water
                                                                                                 Ground-25° C.
                                                       Mean      27.21       30.10       31.45      33.55         35.51     44.16       53.07      59.37
                                                       RSD       28.6        21.7        19.0       21.7          16.3      15.7         13.5      11.0
                                                            Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl- lH-
                                                           imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim (%) Water
                                                                                                  Who le- 25 ° C.
                                                       Mean       2.04       12.59       18.75      20.86         25.40     36.81       51.21      55.07
                                                       RSD      43.8         63.7        32.8       38.2          24.6      11.8          4.6       4.0
                                                            Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-
                                                           imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim (%) Water
                                                                                                 Ground-95° C.
                                                       Mean      56.90       64.63       70.42      75.04         81.27     91.07        94.43     94.42
                                                       RSD       45.1        33.9        26.6       20.6          14.4       4.4          3.6       3.0
                                                            Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[l-(4-phenyl-lH-
                                                           imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim (%) Water
                                                                                                  Whole-95° C.




                                                                JTX-006, page 20 of 27

                                                                             Appx202
    Case: 24-1061                             Document: 17                         Page: 178             Filed: 12/28/2023




                                                             US 11,311,516 B2
                                 29                                                                      30
                                      TABLE 9-continued

                         Extraction efficiencies of active ingredient over time

Time       10           20          30          45                         4        12          24
Vessel   minutes     minutes      minutes     minutes       Hour        Hours      Hours       Hours

Mean      80.78         83.66        84.16       87.39      89.43       93.21        93.11       93.32
RSD        6.5            5.8         5.1         5.1         4.8        3.3          3.9         3.0
     Amount of 5-({ [2-Amino-3-(4-carbamoyl-2 ,6-dimethy1-phenyl)-propionyl   ]-[1-(4-phenyl-1 H-
    imidazol-2-y l)-ethy l]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%) 0.lM
                                            HCl Ground-25° C.
Mean      87.33         89.02        91.07       93.50      92.99       97.84       101.50      101.39
RSD       30.5          30.2         24.7        17.2       18.3         7.3          1.9         2.0
     Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-
    imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%) 0.lM
                                            HCI Whole-25° C.
Mean       2.69         14.32        31.30       35.88      59.16       77.52       101.48      102.69
RSD       51.7          72.2         44.5        21.8       19.5         9.4          1.9         2.8
     Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
    imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%) 0.lM
                                            HCI Ground-95° C.
Mean      99.59         95.96        97 .03      96.96      97.30       94.15        86.08       77.39
RSD        1.9            2.1         2.0         2.2         2.3        2.3          2.4         2.5
     Amount of 5-({ [2-Amino-3-(4-carbamoyl-2,6-dimethy1-phenyl)-propionyl]-[1-(4-phenyl-1 H-
    imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%) 0.lM
                                            HCI Whole-95° C.
Mean      48.15         71.95        81.70       89.30      93.49      100.44        93.17       82.24
RSD       17.7            8.3         5.1         4.6         2.9        3.1          1.8         2.6
     Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
         imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim
                                       (%) Vinegar Ground-25° C.
Mean      88.42         88.76        90.61       91.82      93.93       98.38       100.89      101.12
RSD        3.6            4.2         3.3         4.3         5.3        2.5          1.8         1.4
     Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-
       imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%)
                                         Vmegar Whole-25° C.
Mean      17.12        18.23       20.04        35.03      42.72      58.04      101.52      105.46
RSD      207.3        171.5       158.6         97.4       67.5       36.9          5.3        2.7
     Amount of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
       imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%)
                                        Vinegar Ground-95° C.
Mean      94.28        98.54      100.73      101.69      103.65     105.12      104.81      102.88
RSD       11.0          8.6         7.3          5.4        4.6        4.0          4.5        4.4
     Amount of 5-({ [2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
       imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim (%)
                                         Vmegar Whole-95° C.
Mean      40.62        55.03       83.87        91.96      97.91     111.12       111.29     109.85
RSD        4.1          8.9        23.7         16.5       10.8         4.7         4.5        5.6
     Amount of 5-({[2-Amino-3-(4"carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1H-
    imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid released label claim(%) pH 7
                                            Ground-25° C.
Mean      39.81        44.07       47.83        50.48      52.76      59.47        68.50      76.49
RSD        7.5         10.7        16.1         15.7       15.1       14.4          8.8        7.9
     Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
    imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim(%) pH 7
                                            Whole-25° C.
Mean       3.50         6.21        9.15        10.25      13.68      22.74        42.44      54.14
RSD       32.5         67.3        65.5         41.9       15.7       18.7         16.3       10.0
     Amount of 5-( {[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
    imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim(%) pH 7
                                            Ground-95° C.
Mean      58.27        77.50       82.71        87.58_     90.99      98. 74       98.87      96.37
RSD       23.3         13.8         9.6          5.7        4.3         5.4         4.9        5.0
     Amount of 5-({ [2-Amino-3-(4-carbamoyl::2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-
    imidazol-2-yl)-ethyl]-amino}-methyl)-2-methoxy-benzoic acid released label claim(%) pH 7
                                            Whole-95° C.
Mean      51.73        67.29       74.12        77.83      81.70      97.02       100.80      97.68
RSD       17.1          4.3          7.4         2.4        2.8         4.0         3.4        3.5




                                                        JTX-006, page 21 of 27

                                                                   Appx203
     Case: 24-1061                     Document: 17                          Page: 179                      Filed: 12/28/2023




                                                   US 11,311,516 B2
                             31                                                                             32
  An analysis of the mean % RSD from these data across                    nyl]-[1-( 4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-
the four solvents is shown in the Table 10 below.                         methyl)-2-methoxy-benzoic acid than water or pH
                                                                          neutral solvents
                          TABLE 10                                     L. Investigations of Multiple Tablet Extractions
                                                                  5    In addition to extractions of multiple tablets, additional
                Mean % RSD across the four solvents                 experiments were conducted to determine the optimal con-
            Mean % RSD Mean % RSD Mean % RSD Mean % RSD             ditions for preparation of multiple tablets for injection.
  Time, hr 25° C. Ground 25° C. Whole 95° C. Ground 95° C. Whole    Initially, attempts were made to identify the correct combi-
                                                                    nation(s) of solvent and ground tablets that would yield the
    0.17        17.6         83.8           20.3         11.4
                                                                 10 most concentrated recoverable solution of 5-({[2-Amino-3-
    0.33        16.7         93.7            14.6         6.8
    0.5         15.8         75.4            11.4       10.3        (4-carbamoy1-2,6-dimethyl-pheny1)-propionyl]-[1 -(4-phe-
    0.75        14.7         49.8             8.5         7.2       nyl-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-
    1           13.8         31.8             6.4         5.3       benzoic acid from tablets. Based on these initial
    4           10.0         19.2             4.0         3.8
   12            6.5          7.0             3.9         3.4
                                                                    assessments, a study was designed in which extractions were
   24            5.6          4.9             3.7         3.7    15 conducted with powdered tablets at 25° C. and 95° C. with
                                                                    the equivalent of four tablets. The extractions were con-
                                                                    ducted for 10 minutes, one hour, and 12 hours with 10 mL
   In general, there was greater variability in extraction of       of water, vinegar, 0.lM HCI, and saline. The extraction vials
the     5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phenyl)-           were shaken on an orbital shaker at 200 rpm. Following
propionyl]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }- 20 extraction, extracts were filtered with a 0.45 ~un PTFE filter
methyl)-2-methoxy-benzoic acid from the tablets with                for HPLC analyses.
shorter times and at the lower extraction temperature (25°          Result Summary and Discussion
C.) compared to 95° C. Also, there was less variability in             The mean extraction efficiencies and concentrations of
extraction of the ground tablet at 25° C. compared to the           5-( {[2-Amino-3-(4-carban1oyl-2,6-dimethyl-phenyl)-pro-
whole tablet.                                                    25 pionyl]-[1-( 4-phenyl-1H-imidazol-2-yl)-ethyl]-an1ino }-
   Representative time course plots of cumulative percent           methyl)-2-methoxy-benzoic acid over time in this extraction
recovery of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-               assessment are shown in Table 11 below. Data for the four
phenyl)-propionyl]-[1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-          solvents are listed in order from lowest (water) to highest
amino }-methyl)-2-methoxy-benzoic acid under different              polarity and acidity (0.lM HCI).
                                                                                          TABLE 11
                                                          Extraction efficiencies and concentrations of 5-({[2-Amino-3-(4-carbamoyl-
                                                  2 ,6-dimethyl-phenyl )-propiony!]-[ 1-(4-phenyl-1 H-imidazol-2-y!)-ethyl]-amino }-methyl)-2-
                                                                               methoxy-benzo ic acid over time

                                                                                    %               Cone.              %               Cone.
                                                                Extraction      Recovery,         (mg/mL),          Recovery,        (mg/mL),
                                                  Solvent         Time            25° C.           25° C.            95° C.           95° C.

                                                   Water           10 min           8.1               3.3             24.2               9.7
                                                                    1 hr            9.5               3.8             23.6               9.4
                                                                   12 hr            8.9               3.6             25.1              10.0
                                                   Saline          10 min           8.9               3.5             18.5               7.4
                                                                    1 hr            9.8               3.9             22.3               8.9
                                                                   12 hr            9.8               3.9             24.1               9.6
                                                  Vmegar           10 min           5.6               2.2             16.0               6.4
                                                                    1 hr           27.7              11.1             48.0              19.2
                                                                   12 hr           78.8              31.5             79.5              31.8
                                                 0.lM HCl          10 min          18.0               7.2             34.3              13.7
                                                                    1 hr           39.7              15.9             70.2              28.1
                                                                   12 hr           88.3              35.3             90.6              36.3


                                                                 50
extraction conditions are shown in FIG. 2. The abbreviations            These data suggest that the maximal concentration of
used in the plots are as follows:                                    5-( {[2-Amino-3-(4-carbanioyl-2,6-dimethyl-phenyl)-pro-
Gr=ground tablet; Wh=whole, intact tablet.                           pionyl]-[1-( 4-phenyl-lH-imidazol-2-yl)-ethyl]-amino }-
General observations from these time course data include             methyl)-2-methoxy-benzoic acid that can be extracted with
the following:                                                    55 water and saline is approximately 4 mg/mL at room tem-
   With short extraction times (e.g., 10 minutes), ground            perature (e.g., 25° C.) and approximately 10 mg/mL under
     tablets are more efficiently extracted than whole tablets       near boiling conditions (e.g., 95° C.). Further, there
   With extended extraction time (e.g., 24 hours), there is          appeared to be little difference in maximal concentrations
     little difference in extractability of 5-(.{[2-Amino-:?':(4-    with water and saline regardless of extraction time. Use of
     carbamoyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-            60 an acidic solvent such as vinegar and the highly acidic
     phenyl-1 H-imidazol-2-y1)-ethyl]-ainino}-methyl)-2-             solvent, 0.lM HCl led to the production of more concen-
     methoxy-benzoic acid from ground versus whole                   trated extracts of 5-({[2-Amino-3-(4-carbamoyl-2,6-dim-
     tablets                                                         ethyl-phenyl)-propionyl]-[1-(4-phenyl-lH-imidazol-2-yl)-
  Extraction under heated conditions (e.g., 95° C.) substan-         ethyl]-amino }-methyl)-2-methoxy-benzoic       acid    with
     tially increases % recovery at shorter extraction times 65 maximal values of approximately 36 mg/mL being achieved
  Acidic solvents are more efficient in extracting 5-( {[2-          with a 12 hour extraction period. There was both time and
     Amino-3-(4-carbamoy1-2, 6-dimethyl-phenyl)-propio-              temperature dependence on concentration with these two




                                               JTX-006, page 22 of 27

                                                            Appx204
      Case: 24-1061                              Document: 17                            Page: 180   Filed: 12/28/2023




                                                               US 11,311,516 B2
                                     33                                                              34
solvents. With vinegar, maximal concentrations over the 10   of the relevant art, are within the scope of the present
minute and one hour extraction period were approximately     disclosure. The specific embodiments described in the
2-11 mg/mL at 25° C. and 6-19 mg/mL, respectively. With      examples provided herein are intended to further explain the
0.lM HCI, maximal concentrations over the 10 minute and      best mode known for practicing the disclosure and to enable
one hour extraction period were approximately 7-16 mg/mL 5 others skilled in the art to utilize the disclosure in such, or
at 25° C. and 14-28 mg/mL, respectively. Given these         other, embodiments and with various modifications required
maximal concentrations, an estimate of the required volume   by the particular applications or uses of the present disclo-
of extracted 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-       sure. It is intended that the appended claims be construed to
pheny1)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethy!]-  include alternative embodiments to the extent pennitted by
amino }-methyl)-2-methoxy-benzoic acid that would deliver 10 the prior art.
350 mg of 5-({[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-         What is claimed is:
nyl)-propionyl]-[1-(4-phenyl- lH-imidazol-2-yl)-ethyl]-         1. A pharmaceutical tablet comprising:
amino }-methyl)-2-methoxy-benzoic acid by injection is          about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
shown in Table 12 below.                                           dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-

                                          TABLE 12
         Estimate of the required volume of extracted 5-({[2-Amino-3-(4-carbamoyl-
  2,6-dimethy1-pheny1)-propionyl]-[l -(4-phenyl- l H-imidazol-2-yl)-ethy!]-amino }-methyl)-2-
      methoxv-benzoic acid that would deliver 350 mg of active ingredient bv injection.

                                           Injection Volume                 Injection Volume
                                          (mL) Required for                (mL) Required for
                                          350 mg of 5-({[2-                350 mg of 5-({[2-
                                              Amino-3-(4-                      Amino-3-(4-
                                            carbamoyl-2,6-                   carbamoyl-2,6-
                                          dimethyl-phenyl)-                dimethyl-phenyl)-
                                           propionyl]-[1-(4-                propionyl]-[1-(4-
                                              phenyl-lH-                       phenyl-lH-
                                            imidazol-2-yl)-                  imidazol-2-yl)-
                                            ethyl]-amino }-                  ethyl]-amino}-
                             Cone.             methyl)-2-        Cone.          methyl)-2-
              Extraction   (mg/mL),        methoxy-benzoic     (mg/mL),     methoxy-benzoic
  Solvent       Time        25° C.           acid at 25° C.     95° C.        acid at 95° C.

   Water        10 min         3.3              106.1             9.7             36.1
                 1 hr          3.8               92.1             9.4             37.2
                12 hr          3.6               97.2            10               35.0
   Saline       10 min         3.5              100.0             7.4             47.3
                 1 hr          3.9               89.7             8.9             39.3
                12 hr          3.9               89.7             9.6             36.5
  Vinegar       10 min         2.2              159.1             6.4             54.7
                 1 hr         11.1               31.5            19.2             18.2
                12 hr         31.5               11.1            31.8             11.0
 0.lM HCI       10 min         7.2               48.6            13.7             25.5
                 1 hr         15.9               22.0            28.1             12.5
                12 hr         35.3                9.9            36.3              9.6



   Typical opioid injection volumes are generally in the 1-3            imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
mL range but plausibly could be as high as 10 mL. Assmning 45           zoic acid,
that a 350 mg injected dose of 5-( {[2-Amino-3-(4-carbam-            about 60-80% by weight filler;
oyl-2,6-dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl- lH-imi-           about 2-8% by weight disintegrant; and
dazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic acid            about 10% by weight mannitol.
would be required to produce a euphoric effect, it does not          2. The tablet of claim 1, comprising about 65-75% by
appear feasible that tablets could be prepared for injection 50 weight filler.
with sufficient content of 5-({[2-Amino-3-(4-carbamoyl-2,
                                                                     3. The tablet of claim 2, further comprising a glidant.
6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl- lH-imidazol-
2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic      acid when        4. The tablet of claim 3, wherein the glidant is co11oidal
using typical injection solvents (water, saline). Although a      silica.
sufficiently concentrated solution of 5-({[2-Amino-3-(4-car- 55      5. The tablet of claim 4, wherein the colloidal silica is
bamoyl-2,6-dimethyl-phenyl)-propionyl]-[1-(4-phenyl-1 H-          present in an amount of about 0.55-0.95% by weight.
imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic              6. The tablet of claim 2, further comprising a lubricant,
acid by extraction does appear to be possible through the use     wherein the lubricant is magnesium stearate.
of vinegarand 0 .1 M HCI, it is mtlikely that mqny individuals       7. The tablet of claim 6, wherein the magnesium stearate
would be willing to accept the potential)oxic risks that these 60 is present in an amount of about 0.45-1.0% by weight.
solvents present.                         "
                                                                     8. The tablet of claim 3, further comprising a lubricant,
   The foregoing examples of the present disclosure have
                               of illustration and description.   wherein   the lubricant is magnesium stearate.
been presented for   purposes
Furthennore, these examples are not intended to limit       the      9. The  tablet of clain1 8, wherein the magnesium stearate
disclosure to the form disclosed herein. Consequently, varia- 65 is present in an amount of about 0.45-1.0% by weight.
tions and modifications commensurate with the teachings of           10. The tablet of claim 1, wherein the disintegrant is
the description of the disclosure, and the skill or knowledge     crospovidone.




                                                          JTX-006, page 23 of 27

                                                                        Appx205
     Case: 24-1061                      Document: 17                   Page: 181              Filed: 12/28/2023




                                                    US 11,311,516 B2
                              35                                                               36
  11. A pharmaceutical tablet comprising:                             26. The phannaceutical tablet of claim 1, comprising:
   about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-               about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
      dimethyl-phenyl)-propionyl]-[(lS)-1-(4-phenyl-1 H-                dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-              imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
      zoic acid;                                                  5     zoic acid;
   about 390 mg 450 mg filler;                                        about 390 mg-450 mg silicified microcrystalline cellu-
   about 12 mg 48 mg disintegrant;                                      lose;
   about 60 mg of mam1itol;                                           about 30 mg crospovidone;
   colloidal silica; and                                              about 60 mg mannitol;
   magnesium stearate.                                           10
                                                                      about 4.5 mg magnesium stearate; and
    12. The tablet of claim 11, wherein the filler is silicified
                                                                      about 18 mg of a film coating,
microcrystalline cellulose, and the disintegrant is crospovi-
                                                                      wherein the nominal weight of the tablet without the film
done.
                                                                        coating is about 600 mg and the total weight of the
    13. A pharmaceutical tablet comprising:
   about 100 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6- 15             tablet is about 618 mg.
      dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-             27. The pharmaceutical tablet of claim 26, consisting of:
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-            about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
      zoic acid,                                                        dimethyl-pheny1)-propionyI]-[ (1 S)-1-(4-phenyl-1 H-
   about 60-80% by weight filler;                                       iniidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
   about 2-8% by weight disintegrant; and                        20     zoic acid;
   about 10% by weight mannitol.                                      about 426 mg silicified niicrocrystalline cellulose;
   14. The tablet of claim 13, comprising about 65-75% by             about 30 mg crospovidone;
weight filler.                                                        about 60 mg mannitol;
   15. The tablet of claim 14, farther comprising a glidant.          about 4.5 mg magnesium stearate; and
   16. The tablet of claim 15, wherein the glidant is colloidal 25    about 18 mg of a film coating,
silica.                                                               wherein the nominal weight of the tablet without the film
   17. The tablet of claim 16, wherein the colloidal silica is          coating is about 600 mg and the total weight of the
present in an amount of about 0.55-0.95% by weight.                     tablet is about 618 mg.
   18. The tablet of claim 14, farther comprising a lubricant,        28. The phannaceutical tablet of claim 23, comprising:
wherein the lubricant is magnesium stearate.                     30
                                                                      about 100 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   19. The tablet of claim 18, wherein the magnesium                    dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-
stearate is present in an amount of about 0.45-1.0% by
                                                                        imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
weight.
                                                                        zoic acid;
   20. The tablet of claim 15, further comprising a lubricant,
wherein the lubricant is magnesium stearate.                     35
                                                                      about 520 mg-600 mg of filler;
   21. The tablet of claim 20, wherein the magnesium                  about 56 mg of disintegrant;
stearate is present in an amom1t of about 0.45-1.0% by                about 80 mg of mannitol;
weight.                                                               about 16 mg of colloidal silica;
   22. The tablet of claim 13, wherein the disintegrant is            about 8 mg of magnesimn stearate; and
crospovidone.                                                    40   about 24 mg of a film coating,
   23. A pharmaceutical tablet comprising:                            wherein the nominal weight of the tablet without the film
   about 100 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6-                coating is about 800 mg and the total weight of the
      dimethyl-phenyl)-propionyl]-[(lS)-1-( 4-phenyl-1 H-               tablet is about 824 mg.
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-            29. The pharmaceutical tablet of claim 13, comprising:
      ~c ~~                                                      ~    about 100 mg of 5-( {[(2S)-2-Amino-3-(4-carbamoyl-2,6-
   about 520 mg-600 mg of filler;                                       dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-
   about 16 mg-64 mg of disintegrant;                                   imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
   about 80 mg of mannitol;                                             zoic acid;
   colloidal silica; and                                              about 520 mg-600 mg of silicified microcrystalline cel-
   magnesium stearate.                                           50     lulose;
   24. The tablet of claim 23, wherein the filler is silicified       about 40 mg of crospovidone;
microcrystalline cellulose, and the disintegrant is crospovi-         about 80 mg of mannitol;
done.                                                                 about 6 mg of magnesimn stearate; and
   25. The phannaceutical tablet of claim 11, comprising:             about 24 mg of a film coating,
   about 75 mg of 5-({[(2S)-2-Amino-3-(4-carbamoyl-2,6- 55            wherein the nominal weight of the tablet without the film
      dimethyl-phenyl)-propionyl]-[(lS)-1-(4-phenyl-1 H-                coating is about 800 mg and the total weight of the
      imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-              tablet is about 824 mg.
      zoic acid;                                                      30. The pharmaceutical tablet of claim 29, consisting of:
   about 390 mg-450 mg filler;                                        about 100 mg of 5-({[(2S)-2-Aniino-3-(4-carbamoyl-2,6-
   about 42 mg disintegrant;                                     60     dimethyl-phenyl)-propionyl]-[(1 S)-1-(4-phenyl-1 H-
   about 60 mg mannitol;                                                imidazol-2-yl)-ethyl]-amino }-methyl)-2-methoxy-ben-
   about 12 mg colloidal silica;                                        zoic acid;
   about 6 mg magnesium stearate; and                                 about 568 mg of silicified microcrystalline cellulose;
   about 18 mg of a film coating,                                     about 40 mg of crospovidone;
   wherein the nominal weight of the tablet without the film 65       about 80 mg of mannitol;
      coating is about 600 mg and the total weight of the             about 6 mg of magnesimn stearate; and
      tablet is about 618 mg.                                         about 24 mg of a film coating,




                                                JTX-006, page 24 of 27

                                                          Appx206
  Case: 24-1061                   Document: 17              Page: 182   Filed: 12/28/2023




                                              US 11,311,516 B2
                         37                                             38
wherein the nominal weight of the tablet without the film
  coating is about 800 mg and the total weight of the
  tablet is about 824 mg.
                   * * * * *




                                          JTX-006, page 25 of 27

                                                   Appx207
Case: 24-1061   Document: 17     Page: 183   Filed: 12/28/2023




                   JTX-006, page 26 of 27

                        Appx208
              Case: 24-1061   Document: 17     Page: 184   Filed: 12/28/2023




PT0-1683
(Rev. 7-96)


                                 JTX-006, page 27 of 27

                                      Appx209
Case: 24-1061           Document: 17                 Page: 185              Filed: 12/28/2023




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                   UNITED STATES DEPARTMENT OF COMIVlERCE
                       United States Patent and Trademark Office


                                                         January 13, 2020

     THIS IS TO CERTIFY THAT ANNEXED HERETO IS A TRUE COPY FROM:
     THE RECORDS OF THIS OFFICE OF;




     U.S, PATENT: 7J41,356
     ISSUE DATE: June 221 2()10




                             By Autlwrity of the
                             Under Secretary of Commerce for lnteHedual Property
                             and Director ofthe United Stat/"P.atent and Trademark Office


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                                                                                  Plaintiff's Exhibit
                                                                                     PTX-007
                                                                                   1:19-cv-01727-RGA




                                                                                                          VIB-PAT00000001
                               PTX-007, page 1 of 79

                                     Appx14407
       Case: 24-1061                         Document: 17                            Page: 186                        Filed: 12/28/2023



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                                                                                                         US0077 413 56B2


(12)    United States Patent                                                         (JO) Patent No.:                        US 7,741,356 B2
        Breslin et al.                                                               (45) Date of Patent:                              Jun.22,2010

( 54)    COMPOUNDS AS OPIOID RECEPTOR                                           WO           WO 031092688 A2              11/2003
         MODULATORS                                                                                  OTHER PUBLICAI'IONS
                                                                                Dufour E, et al; "Synthesis of amidrazones using an engineered
(75)     Inventors: Henry J. Breslin, Lansdale, PA (US);
                                                                                papain nitriie hydra1ase", Elsevier Science Publishers, Amsterdam,
                    Chaozhong Cai, N. Wales, PA (US);                           NL, vol. 433, No. 1-2, Aug. 14, 1998, pp. 78-82.
                    Wei He, Audubon, PA (US); Robert W.                         Hipskind P, et al "3-Aryl-1,2-diacetamidopropane Derivatives as
                    Kavash, Glenside, PA (US)                                   Novel and Potent NK-1 Receptor Antagonists", Belstein Institute For
                                                                                Organic Chemistry, Frankfurt-Main, DE; XP002330617, Database
(73)     Assignee: Janssen Pharmaceutica N.V., Beerse                           accession No. BR.i"J: 7491912 abstract, J. Med. Chem., vol. 39, No. 3,
                   (BE)                                                         1996, pp. 736-748.
                                                                                Tam J, et al, "Design and Synthesis of a Multi-Detachable
( *)     Notice:      Subject to any disclaimer, the term of this               Benzhydrylamine-Resin for Solid Phase Peptide Synthesis", Frank-
                      patent is extended or adjusted under 35                   furt-Main, DE: XP002330618, Database accession No. BRN:
                      U.S.C. 154(b) by 1009 days.                               5166497 abstract, Tetrahedron Lett., , vol. 22, No. 30, 1981, pp.
                                                                                2851-2854.
                                                                                Santi, D, "Tyrosyl Transfer Ribonucleic Acid Synthetase from
(21)     Appl. No.: 11/079,647
                                                                                Escherichia coli B. i\nalysis of Tyrosine and Adenosine
                                                                                5-Triphospate Binding Sites", Belstein Institute For Organic Chem-
(22)     Filed:       Mar. 14, 2005                                             istry,, Frankfmt-Main, DE; XP002330619, Database accession No.
                                                                                BR.i"J: 7278453 abstract, J. Med.'Chem., vol. 16, No. 3, 1973, pp.
(65)                      Prior Publication Data                                273-280.
         US 2005/0203143 Al             Sep. 15,2005                            Search report for International Appl. No. PCT/lJS2005/008339.
                                                                                * cited by examiner
                   Related U.S. Application Data
                                                                                Primary Examiner-Rei-Tsang Shiao
(60)     Provisional application No. 60/553,342, filed on Mar.                  Assistant Examiner--Joseph R Kosack
         15, 2004.
                                                                                (57)                           ABSTRACT
(51)     Int. Cl.
         A61K 31/4174                 (2006.01)                                 ·n1e present invention is directed to novel opioid receptor
         A61K 31/4178                                                           modulators ofFonnula (I).
                                      (2006.01)
         cow 233/64                   (2006.01)
(52)     U.S. Cl. ..................... 514/396; 514/397; 548/335.5                                                                                Formula (I)
(58)     Field of Classification Search ................. 514/396,
                                                                                                          R2                Rl
                                                514/397; 548/335.5
         See application file for complete search history.                                  R6 R\,N

(56)                      References Cited
                                                                                                                           Rs
                   U.S. PATENT DOCUMENTS                                               R4                  L

                                                                                               N
        6,013,658 A   *    1/2000 Lau et al. .................... 514/364                   R"/' 'Rb



              FOREIGN PATENT DOCUMENTS                                          The invention further relates to methods for preparing: such
                                                                                compounds. pharmaceutical compositions containing them,
EP               1 055 665 A         11/2000                                    and their use in the treatment of disorders that may be ame-
WO            WO96.122997 Al          8/1996                                    liorated or treated by the modulation of opioid receptors.
WO            WO 02/36116 A2          5/2002
WO          WO 03/033486 A            4/2003                                                      43 Claims, 3 Drawing Sheets




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                                                      PTX-007, page 2 of 79

                                                               Appx14408
 Case: 24-1061            Document: 17                    Page: 187                Filed: 12/28/2023




U.S. Patent            Jun.22,2010                Sheet l of 3                        US 7,741,356 B2




   Figure 1

       Recording
                                                       distensions@4 min intervals
                    minutes

               distension pressures:~ 40 60 80 40 60 80 40 60 80
               ( mmHg)        imraco tooic       EMG recordings
                           balloon positioned (distension time 20 sec)
       Zymosan treatment
           0             hours                        4               5               6

          t1.5 ml zymosan A                          trecord         t                t
                                                                                          record
                                                                         treat with
           (25 mg/ml in 30% EtOH)                                        compound
           intracoloriic administration




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                                                                                                   VI B-PAT00000003
                                  PTX-007, page 3 of 79

                                        Appx14409
 Case: 24-1061                 Document: 17                   Page: 188                 Filed: 12/28/2023




U.S. Patent                 Jun. 22, 2010              Sheet 2 of 3                       US 7,741,356 B2




  Figure 2.
    4    ---compound 18
                (30 mg/kg i.p.; N=5)




            I
    J




              ...




    n     t--'
        C2. Z 0                20             40              60                           100      120
                                        time post-administration (min)




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                                                                                                     VI B-PAT00000004
                                       PTX-007, page 4 of 79

                                             Appx14410
 Case: 24-1061               Document: 17                   Page: 189                 Filed: 12/28/2023




U.S. Patent               Jun.22,2010                Sheet 3 of 3                       US 7,741,356 B2




   Figure 3.
            4

                                             **
            3


     -
     Ch

     C
     :::,
            2
                                                                               -Compound 18
                                                                                       (30 mg/kg i.p.)

                                                                                          n=S
            1


            0
                    Control 2            Zymosan            Compound18

                ** = P < 0.01 vs. Control 2
                *** = P < 0.001 vs. Zymosan




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                                                                                                   VI B-PAT00000005
                                    PTX-007, page 5 of 79

                                           Appx14411
    Case: 24-1061                       Document: 17                     Page: 190                  Filed: 12/28/2023




                                                      US 7,741,356 B2
                               1                                                                     2
        COMPOUNDS AS OPIOID RECEPTOR                                 pain (post operative pain, irritable bowel syndrome, and
               MODULATORS                                            inflammatory bowel disorders) (Pierre J.M. Riviere and Jean-
                                                                     Louis Junien, "Opioid receptors: Targets for new gastrointes-
           CROSS-REFERENCE TO RELATED                                tinal drug development" Drug Development, 2000, pp. 203-
                  APPLICATIONS                                       238).
  'TI1is Application claims priority to U.S. Provisional Patent       Around the same time the opioid receptors were identified,
Application No. 60/553,342, filed Mar. 15, 2004, which is          the enkephalins were identified as a set of endogenous opioid
hereby incorporated by reference in its entirety.                  ligands (D.S. Fries, "Analgesics", in Principles ofMedicinal
                                                                10 Chemistry, 4th ed.; W. 0. Foye; T. L. Lemke, and D. A.
        STATEMENT REGARDING FEDERALLY                              Williams, Eds.; Williams and Wilkins: Baltimore, Md., 1995;
     SPONSORED RESEARCH OR DEVELOPMENT                             pp. 247-269). Schiller discovered that truncating the original
                                                                   pentapeptide enkephalins to simplified dipeptides yielded a
   The research and development of the invention described         series of compounds that maintained opioid activity (Schiller,
below was not federally sponsored.                              15
                                                                   P. WO 96/06855). However one potential drawback cited for
               FIELD OF THE INVENTION                              such compounds is the likelihood of their inherent instability
                                                                   (P. W. Schiller et al., Int. J. Pept. Protein Res. 1993, 41 (3), pp.
   The present invention is directed to novel opioid receptor      313-316).
modulators of Fomrnla (I). The invention further relates to 20        More recently, a series of opioid pseudopeptides contain-
methods for preparing such compounds, phannaceutical               ing heteroaromatic or heteroaliphatic nuclei were disclosed,
compositions containing them, and their use in the treatment       however this series is reported showing a different functional
of opioid modulated disorders.                                     profile than that described in the Schiller works. (L. H. Laz-
                                                                   arns et al., Peptides 2000, 21, pp. 1663-1671).
          BACKGROUND OF THE INVENTION                           25
                                                                      Most recently, works around morphine related strnctures
                                                                   were reported by Wentland, et al, where carboxamido mor-
   ]be opioid receptors were identified in the mid-l 970's, and
were quickly categorized into three sub-sets of receptors (nm,     phine derivatives and it's analogs were prepared (M. P. Went-
delta and kappa). More recently the original three types of        land et al., Biorg. }vfed. Chem. Letters 2001, 11, pp. 1717-
receptors have been further divided into sub-types. Also 30 1721; M. P. Wentland et al., Biorg. Med. Chem. Letters 2001,
known is that the family of opioid receptors are members of        11, pp. 623-626). Wentland found that substitution for the
the G-protein coupled receptor (GPCR) super-family. More           phenol moiety of the morphine related strnctures with a pri-
physiologically pertinent are the well established facts that      mary carboxamide led ag~here from equal activities up to
opioid receptors are found throughout the central and periph-      40 fold reduced activities, depending on the opioid receptor
eral nervous system of many man1malian species, including 35 and the carboxamide. It was also revealed that any additional
humans, and that modulation of the respective receptors can        N-substitutions on the carboxamide significantly diminished
elicit numerous, albeit different, biological effects, both        the desired binding activity.
desirable and undesirable (D.S. Fries, "Analgesics", in Prin-         Compounds of the present invention have not been previ-
ciples of Medicinal Chemistry, 4th ed.; W. 0. Foye, T. L.          ously disclosed and are believed to provide advantages over
Lemke, and D. A Williams, Eds.; Williams and Wilkins: 40 related compounds by providing improved pharmacological
Baltimore, Md., 1995; pp. 247-269; J. V. Aldrich, "Analge-
                                                                   profiles.
sics", Burger's Medicinal Chemistry and Drug Discovery, 5'h
Edition, Volume 3: Therapeutic Agents, John Wiley & Sons,             Opioid receptor modulators, agonists or antagonists are
Inc., 1996, pp. 321-441). In the most current literature, the      useful in the treatment and prevention of various mammalian
likelihood ofheterodimerization of the sub-classes of opioid 45 disease states, for example pain and gastrointestinal disorders
receptors has been reported, with respective physiological         such as diarrheic syndromes, motility disorders including
responses yet undetermined (Pierre J. M. Riviere and Jean-         post-operative ileus and constipation, and visceral pain
Louis Junien, "Opioid receptors: Targets for new gastrointes-      including post-operative pain, irritable bowel syndrome and
tinal drug development", Drug Development 2000, pp. 203-           inflammatory bowel disorders.
238).                                                           50     It is an object of the present invention to provide opioid
   A couple biological effects identified for opioid modula-       receptor modulators. It is a further object of the invention to
tors have led to many useful medicinal agents. Most signifi-       provide opioid receptor agonists and opioid receptor antago-
cant are the many centrally acting mu opioid agonist modu-         nists. It is an object of the present invention to provide opioid
lators marketed as analgesic agents to attenuate pain (e.g.,       receptor ligands that are selective for each type of opioid
morphine), as well as peripherally acting mu agonists to 55 receptor, mu, delta and kappa. It is a further object of the
regulate motility (e.g., loperamide). Currently, clinical stud-
                                                                   present invention to provide opioid receptor ligands that
ies are continuing to evaluate medicinal utility of selective
                                                                   modulate two or three opioid recL']Jtor types, mu, delta and
delta, mu, and kappa modulators, as well as compounds pos-
sessing combined sub-type modulation. It is envisioned such        kappa, simultaneously. It is an object of the invention to
explorations may lead to agents with new utilities, or agents 60 provide certain instant compounds that are also useful as
with minimized adverse side effects relative to currently          intermediates in preparing new opioid receptor modulators. It
available agents (examples of side effects for morphine            is also an object of the invention to provide a method of
includes constipation, respiratory depression, and addiction       treating or ameliorating a condition mediated by an opioid
potential). Some new GI areas where selective or mixed             receptor. And, it is an object of the invention to provide a
opioid modulators are currently being L"Valuated includes 65 useful phannaceutical composition comprising a compound
potential treatment for various diarrheic syndromes, motility      of the present invention useful as an opioid receptor modula-
disorders (post-operative ileus, constipation), and visceral       tor.



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                                                PTX-007, page 6 of 79

                                                       Appx14412
       Case: 24-1061                         Document: 17                       Page: 191                    Filed: 12/28/2023




                                                           US 7,741,356 B2
                                    3                                                                         4
                  SUMMARY OF THE INVENTION

      The present invention is directed to compounds of Formula                                                                                a-1
(I)


                                                           Formula(])
                            R2          R
                                         3                                                                                                     a-2




        R4
             R6
                  Rl
                   '-N
                         ¼  L
                                        Rs
                                                                        10




                                                                                                                                               a-3
                  N
             R"_.,.. '-Rb                                               15

                                                                                                             and
wherein:
                                                                                                                                                a-4
   R 1 is selected from the group consisting of hydrogen,
      C 1 _6 alkyl, cycloalkyl, heterocyclyl, aryl(C 1 _6 )alkyl, and 20
      heteroaryl(C 1 _6 )alkyl; wherein aryl of aryl(C 1 _6 )alkyl is
                                                                                  ✓ ~                .RJ

      optionally fused to a heterocyclyl or cycloalkyl;                           1 ,LY
   and wherein the cycloalkyl and heterocyclyl of R 1 are                                   N'-I-=~
      optionally substituted with C 1 _6 alkyl, hydroxy(C 1_6 )                             Rs
      alkyl, C 1 _6 alkoxy, hydroxy, cyano. amino, C 1 _6 alky- 25
      ]amino, (C 1 _6 alkylhamino, halogen, carboxy, aryl(C 1_6 )
                                                                            wherein
      alkoxycarbonyl, C 1 _6 alkoxycarbonyl, aminocarbonyl,
                                                                            A-B is selected from the group consisting ofN- C, C ·· N,
      C 1_6 alkylaminocarbonyl, (C 1 _6 alkylhaminocarbonyl,
                                                                                N--N and C------C;
      or aminosulfonyl;
   and, wherein C 1 _6 alkyl ofR 1 is optionally substituted with 30        D-E is selected from the group consisting ofO--C, S- ----C.
      one to three substituents independently selected from                     andO-N;
      the group consisting ofC 1 _6 alkoxy, aryl, cycloalkyl, het-       R 3 is one to two substituents independently selected from the
      erocyclyl, hydroxy, cyano, amino, C 1 _6 alkylamino,                  group consisting of C 1 _6 alkyl, aryl, aryl(C 1_6 )alkyl, aryl
               alkyl) 2 an1ino, halogen, and carboxy;                       (C 2 _6 )alkenyl, aryl(C;_ 6 Talkynyl, heteroaryl, heteroaryl
   and wherein tl1e aryl and heteroaryl portion of aryl(C 1_6 ) 35          (C 1 _6 )alkyl, heteroaryl(C 2 _6 )alkenyl, heteroaryl(C 2 _6 )
      alkyl and heteroaryl(C 1 _6 )alkyl are optionally substi-             alkynyl, an1ino, C 1 _6 alkylamino, (C: 1 _6 alkyl) 2 amino, ary-
      tuted wiili one to three R 11 substituents independently              lamino, heteroarylamino, aryloxy, heteroaryloxy, and
      selected from the group consisting of C 1 _6 a]kyl; hydroxy           halogen;
      (C L- 6 )alkyl; C 1_6 alkoxy; aryl(C 1_6 )alkyl; aryl(C: 1_6 )     wherein the aryl and heteroaryl portion of R3 are optionally
      alkoxy; aryl; heteroaryl optionally substituted with 40               substituted with one to five substituents independently
      C 1_4alkyl; cycloalkyl; heterocyclyl; aryloxy; heteroary-             selected from the group consisting of C 1 _6 alkyl, hydroxy
      loxy; cycloalkyloxy; heterocyclyloxy; amino; C 1 _6 alky-             (C 1_6 )alkyl, C 1 _6 alkoxy, aryl(C 1 _6 )alkyl, aryl(C: 1_6 )alkoxy,
      lamino; (C: 1_6 alkyl) 2 an1ino; C: 3 _6 cycloalkylaminocarbo-        aryl, aryloxy. heteroaryl(C 1 _6 )alkyl, heteroaryl(C 1_6 )
      nyl;              hydroxy(C 1 _6 )         alkylaminocarbonyl;        alkoxy, heteroaryl, heteroaryloxy, arylamino, heteroary-
      arylaminocarbonyl wherein aryl is optionally subsli- 45               lamino, amino, C 1_6 alkylamino, (C 1_6 alkyl) 2 amino, car-
      tuted with carboxy or C 1 _8 alkoxycarbonyl; heterocy-                boxy(C1_6)alkylamino,           carboxy,        C 1_6 alkylcarbonyl,
      clylcarbonyl; carboxy; C: 1_6alkoxycarbonyl; C 1_6 alkyl-             C 1_6 alkoxycarbonyl, C 1 _6 alkylcarbonylamino, aminocar-
      carbonyl; C 1 _6 alkylcarbonylamino; aminocarbonyl;                   bonyl. C 1_6 alkylaminocarbonyl, (C 1 _6 alkyl) 2 aminocarbo-
      C 1 _6 alkylaminocarbonyl; (C 1 _6 alkyl)iaminocarbonyl;              nyl, carboxy(C 1 _6 ) alkylaminocarbonyl, cyano, halogen,
      cyano; halogen; trifluoromethyl; trifluoromethoxy; or so              trifluoromethyl, trifluoromethoxy. hydroxy, C 1_6 alkylsul-
      hydroxy;                                                              fonyl, C: 1_6alkylsulfonylamino, -C(O)--NH--CH(-
R 2 is selected from the group consisting of hydrogen.                      Rc)--C(O)--NH2, and C 1 _6 alk-yl;
   C 1 _8 alkyl, hydroxy(C 1_8 ) alkyl, aryl(C 1_6 )alkoxy(C 1 _6 )      wherein C: 1_6alkyl ofR 3 is optionally substituted with a sub-
   alkyl, or aryl(C 1_8 )alkyl;                                             stituent selected from tile group consisting of hydroxy,
   wherein the aryl portion of the aryl-containing substituents 55          carboxy, C 1 _4alkoxycarbonyl, amino. C 1 _6 alkylamino,
      ofR2 are optionally substituted vvith one to two substitu-            (C: 1 _6 alkylhamino, aminocarbonyl, (C 1_4)alkylaminocar-
      ents independently selected from the group consisting of              bonyl, di(C 1 _4 )alkylaminocarbonyl, aryl, heteroaryl, ary-
      cl-6alkyl, cl-6alkoxy, hydroxy, amino, cl-6alkylamino,                lamino, heteroarylamino, aryloxy, heteroaryloxy, aryl
      (C: 1 _6 alkyl) 2 amino, aminocarbonyl, C 1_6alkylaminocar-           (C 1_4)alkoxy, and heteroaryl(C 1_4)alkoxy;
      bonyl, (C 1_6alkyl) 2 aminocarbonyl, cyano, fluoro, 60 Re is selected from tl1e group consisting of hydrogen,
      chloro, bromo, trifluoromethyl, and trifluoromethoxy;                 C 1_6 alky1,     C 1_6 alky lcarbony1,        C 1 _6 alkoxycarbonyl,
      and wherein alkyl and alkoxy substituents of aryl are                 C 1 _6 alkylcarbonylamino, aryl(C 1 _6 )alkyl, heteroaryl(C 1_6)
      optionally substituted wiili hydroxy, amino, C 1_6alky-               alkyl, aryl, and heteroaryl;
      lamino, (C: 1 _6 alkyl) 2 amino, or aryl;                          R4 is aryl or heteroaryl; wherein R4 is optionally substituted
A is selected from the group consisting of aryl, ring system 65             with one to five substituents independently selected from
   a-1, a-2, a-3, and a-4, optionally substituted with R 3 and              the group R41 ; wherein R41 is (C 1 _6 ) alkyl, (C: 1_6 )alkoxy,
   Rs·                                                                      aryl(C 1 _6 )alkoxy, aryl(C 1 _6 )alkylcarbonyloxy, heteroaryl



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                                                                                                                                          VI B-PATOOOOOOO?
                                                     PTX-007, page 7 of 79

                                                             Appx14413
    Case: 24-1061                         Document: 17                       Page: 192                  Filed: 12/28/2023




                                                         US 7,741,356 B2
                                5                                                                         6
   (C 1_6 )alk.-ylcarbonyloxy, heteroaryl, hydroxy, halogen,                   bony], C 1_6 alkoxycarbonyl, aminocarbonyl, C 1_6 alky-
   aminosulfonyl, formylamino, aminocarbonyl, C 1_6alky-                       laminocarbonyL (Ci_ 6 alkyl) 2 aminocarbonyL and an1i-
   laminocarbonyl, (C 1 _ 6 alkyl) 2 aminocarbonyl, heterocy-                  nosulfonyl;
   clylcarbonyl, carboxy, or cyano; and wherein C 1_6 alkyl is              furthem1ore, wherein the cycloalkyl and heterocyclyl ofR 1
   optionally substituted with amino, C 1_6 alkylamino, or 5                   are optionally substituted with one to two substituents
   (C 1_6 alkyl) 2 amino; and wherein the aryl portion of aryl                 independently selected from the group consisting of
   (C 1 _6 )alkykarbonyloxy is optionally substituted with one                 C 1_6 alkyl, hydroxy(C 1_6 )alkyl, C 1_6 alkoxy, hydroxy,
   to four substituents independently selected from the group                  cyano, amino, C 1_6 alkylamino, (C 1_6 alkyl) 2 amino, trif-
   consisting of (C 1_6 )alkyl, (C 1_6 )alkoxy, halogen, cyano,                luoromethyl,       carboxy,      aryl(C 1 _6 )alkoxycarbonyl,
   amino, and hydroxy;                                          10             C 1_6 alkoxycarbonyl, aminocarbonyl, C 1 _6 alkylami-
R 5 is a substituent on a nitrogen atom contained in ring A                    nocarbonyl. (C 1 _6 alkyl) 2 aminocarbonyl, and aminosul-
   selected from the group consisting of hydrogen, C 1_4 alkyl,                fonyl;
   and aryl;                                                                furthem1ore, wherein the aryl and heteroaryl portion of the
R6 is selected from the group consisting of hydrogen and                       R 1 substituents aryl(C 1 _6 )alkyl and heteroaryl(C 1_6 )
   C: 1_6 alkyl;                                                               alk.-yl, are optionally substituted with one to three R 11
                                                                15

R7 is selected from the group consisting of hydrogen and                      substituents independently selected from the group con-
   C: 1_6 alkyl;                                                              sisting of C 1_6 alkyl; hydroxy(C 1_6 )alkyl; C 1_6 alkoxy;
Ra and Rb are substituents independently selected from the                    c6-10aryl(C l-6)alk.-yl; c6-10aryl(C l-6)alkoxy; C5_10aryl;
   group consisting of hydrogen and C 1_6alkyl; or, when Ra                   heteroaryl optionally substituted with one to two sub-
                                                                20
   and Rb are other than hydrogen, Ra and Rh are optionally                   stituents independently selected from the group consist-
   taken together with the nitrogen to which they are both                    ing ofC 1_4 alkyl, C 1 -4alkoxy, and carboxy; cycloalkyl;
   attached to fonn a five to eight membered monocyclic ring;                 heterocyclyl; C 6 _10 aryloxy; heteroaryloxy: cycloalky-
Lis selected from the group consisting of 0. S, and N(R");                    loxy; heterocyclyloxy; amino; C 1 _6 alkylan1ino; (C 1 _6
   wherein Rd is hydrogen, C: 1_6 alkyl, or aryl:                             alkylhamino; C 3 _6 cycloalkylaminocarbonyl; hydroxy
                                                                25
                                                                              (Cl-6) alkylaminocarbonyl; C 6 _ 10arylaminocarbonyl
and pharmaceutically acceptable enantiomers, diastere-                        wherein C 6 _10aryl is optionally substituted with carboxy
omers. racemates. and salts thereof.                                          or C 1_4 alkoxycarbonyl; heterocyclylcarbonyl; carboxy:
  ]11e present invention is also directed to compounds of                     C 1_6 alkylcarbonyloxy; Cr 1 _6 alkoxycarbonyL C 1_6 alkyl-
Formula (I)                                                                   carbonyl; C 1 _6 alkylcarbonylamino; aminocarbonyl;
                                                                      30
                                                                              C 1_6 alkylaminocarbonyl; (C 1_6 alk-yl) 2 atninocarbonyl;
                                                                              cyano; halogen; trifluoromethyl: trifluoromethoxy; and
                                                        Formula (I)           hydroxy;
                        R2          RJ                                     provided that no more'than one R 11 substituent is selected
               RI                                                     JS      from the group consisting of C 6 _ 10aryl(Ci_ 6 )alkyl;
            R6   'N                                                           C 6 _ 10aryl(C 1_6 )alkoxy; C 6 _ 10aryl; heteroaryl optionally
                                   Rs
                                                                              substituted with one to two substituents independently
     R4                 L                                                     selected from the group consisting of C 1_4 alkyl,
                                                                              C 1_4 alkoxy, and carboxy; cycloalkyl; heterocyclyl;
                N
                                                                      40      C 6_10aryloxy; heteroaryloxy; cycloalkyloxy; C 6 _10 ary-
           R"/ '-Rb
                                                                              laminocarbonyl, heterocyclylcarbonyl; and heterocy-
                                                                              clyloxy;
                                                                         R2 is hydrogen, C 1_8 alk-yl, hydroxy(C 1_8 )alkyl, C 6 _ 10 aryl
wherein:
                                                                           (C 1_6 )alkoxy(C 1_6 )alkyl, or C 6 _10aryl(C 1_8 )alkyl;
  R1 is selected from the group consisting of hydrogen,
                                                                      45   wherein the C 6 _10 aryl group in the C 6 _10aryl-containing
     C: 1_6alkyl, cycloalkyl, heterocyclyl, aryl(C 1_6)alk.-yl, and
                                                                              substituents ofR 2 are optionally substituted with one to
     heteroaryl(C: 1_6 )alkyl; wherein when R 1 is phenyl(C 1_6)
                                                                              two substituents independently selected from the group
     alkyl, phenyl is optionally fused to a heterocyclyl or
                                                                              consisting of C 1 _6 alkyl, C 1_6 alkoxy, hydroxy, amino,
     cycloalkyl;
                                                                              C 1_6 alkylamino, (C 1_6 alkylhamino. aminocarbonyl,
  wherein when R 1 is C 1_2alkyl, said C 1_2alkyl is optionally 50            C 1_6 alk.-ylatninocarbonyl, (C 1_6 alk.-yl) 2 aminocarbonyl,
     substituted with one to two substituents independently                   cyat1O. fluoro, chloro, bromo, trifluoromethyl, and trif-
     selected from the group consisting of C 1_6 alkoxy, aryl,                luoromethoxy: and, wherein the C 1_6 alk.-yl and
     cycloalkyl, heterocyclyl, hydroxy, cyano, amino,                         C 1_6 alkoxy substituents of aryl are optionally substi-
     C 1_6 alkylamino, (C 1_6 alkyl) 2 amino, trifluoromethyl,                tuted with hydroxy, amino, C l- 6 alkylatnino, (C 1_6 alkyl) 2
     and carboxy;                                                     55      amino, orCl-6 aryl:
                                 1
  and further, wherein when R is C 3 _6 alkyl, said C 3 _6 alk.-yl is
                                                                         A is selected from the group consisting of aryl, ring system
     optionally substituted with one to three substituents                 a-1, a-2. a-3, and a-4, optionally substituted with R3 and
     independently selected from the group consisting of
     C 1 _6 alkoxy, aryl, cycloalkyl, heterocyclyl, hydroxy,
                                                                           R5:
     cyano, amino, C 1_6 alkylamino, (C 1_6 alk-yl) 2 amino, trif- 60
     luoromethyl, and carboxy;                                                                                                            a-1
     wherein the cycloalkyl andheterocyclyl ofC 1_2 alk.-yl and
     C3 _6alkyl are optionally substituted with one to two sub-
     stituents independently selected from the group consist-
     ing of cl-6alkyl, hydroxy(C1-6)alkyl, cl-6alkoxy, 65
     hydroxy, cyano, amino, C 1_6 alkylamino, (C 1_6 alkyl) 2
     amino, trifluoromethyl, carboxy, aryl(C 1 _6 )alkoxycar-



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                                                                                                                                    VI B-PAT00000008
                                                  PTX-007, page 8 of 79

                                                          Appx14414
    Case: 24-1061                            Document: 17                          Page: 193                     Filed: 12/28/2023




                                                              US 7,741,356 B2
                                   7                                                                              8
                                                                                 R4 is C 6 _10aryl or a heteroaryl selected from the group con-
                                     -continued                                      sisting offuryl, thienyl, pyrrolyl, oxazolyl, thiazolyl, imi-
                                                                          a-2        dazolyl, pyrazolyl, pyridinyl, pyrirnidinyl, pyrazinyl,
                                                                                     indolyl, isoindolyl, indolinyl, benzofuryl, benzothienyl,
                                                                                     benzimidazolyl, benzthiazolyl, benzoxazolyl, quinoliz-
                                                                                     inyl, quinolinyl, isoquinolinyl and quinazolinyl;
                                                                                     wherein R4 is optionally substituted with one to three R41
                                                                          a-3            substituents independently selected from the group con-
     ✓ ✓N                                                                                sisting of (C 1 _6 )alkyl optionally substituted with amino,

        I"{ y
                                   R3
                                                                                         C 1 _6 alkylamino, or (C 1 _6 alkyl) 2an1ino; (C 1 _6 )alkoxy;
                                        and                                              phenyl(C 1 _6 )alkoxy;        phenyl(C 1 _6 )alkylcarbonyloxy
                   F-G                                                                   wherein the Cl-6 alk1 1 is optionally substituted• with
                                                                          a-4            amino; a non fused 5-membered-heteroaryl (C 1 -6)alky-
     ✓              ,c-..._      ,R3
                                                                              15
                                                                                         lcarbonyloxy; a non fused 5-membered-heteroaryl;
                                                                                         hydroxy; halogen; aminosulfonyl; formylamino; ami-
       I\,?(                                                                             nocarbonyl; C 1 _6 alkylaminocarbonyl wherein C 1 _6 alkyl
                N+~   Rs
                                                                                         is optionally substituted with amino, C 1_6 alkylamino, or
                                                                                         (C 1 _6 alk-yl)zamino; (C 1_6 alkyl)zaminocarbonyl wherein
                                                                                         each C 1 _6 alkyl is optionally substituted with amino,
                                                                              20         C 1 _6 alkylamino, or (C 1 _6 alkyl) 2 amino; heterocyclylcar-
   wherein                                                                               bonyl whereinheterocyclyl is a 5-7 membered nitrogen-
   A-Bis selected from the group consisting ofN------C, C---N,                           containing ring and said·heterocyclyl is attached to the
      N----N and C----C;                                                                 carbonyl carbon via a nitrogen atom; carboxy; or cyano:
   D-E is selected from the group consisting of 0------C, S--C,                          and wherein the phenyl portion of phenyl(C: 1 _6 ) alkyl-
      and 0----N;                                                             25         carbonyloxy is optionally substituted with (C 1 _6 )alkyl
   F-G is selected from the group consisting of N-0 and                                  (C 1 _6 )alkoxy, halogen, cyano, amino, or hydroxy;
      C-0:                                                                           provided that no more than one R41 is (C 1 _6 )alkyl substi-
 3
R is one to two substituents independently selected from the                             tuted with C 1 _6 alkylamino or(C 1_6 alkyl) 2amino; amino-
   group consisting of C 1 _6 alkyl, aryl, aryl(C 1 _6 )alkyl, aryl                      sulfonyl; formylamino; aminocarbonyl; C 1 _6 alkylami-
   (C 2 _6 )alkenyl, aryl(C 2_6 )alkynyl, heteroaryl, heteroaryl 30                      nocarbonyl;                      (C 1 _6 alkyl) 2 aminocarbonyl;
   (C 1 _6 )alk-yl, heteroaryl(C 2 _6 )alkenyl, heteroaryl(C 2 _6 )                      heterocyclylcarbonyl; hydroxy; carboxy; or a phenyl- or
   alk1 nyL amino, C 1 _6 alkylamino, (C 1 _6 alkyl) 2 amino, ary-                       heteroaryl-containing substih1ent;
   lamino, heteroarylamino, aryloxy, heteroaryloxy, trifluo-                     R5 is a substituent on a nitrogen atom of ring A selected from
   romethyl, and halogen;                                                             the group consisting of hydrogen and C 1 _4 alkyl;
   wherein the aryl, heteroaryl and the aryl and heteroaryl of 35 R6 ishydrogenorC 1 _6 alkyl;
      aryl(C 1 _6 )alkyl, aryl(C 2 _6 )alkenyl, aryl(C 2 _6 )alk1 nyl,              7
                                                                                 R is hydrogen or C 1 _6 alkyl;
      heteroaryl(C 1 _6 )alkyl, heteroaryl(C: 2 _6 ) alkenyl, het-               Ra and R6 are independently selected from the group consist-
      eroaryl(C2_6)alkynyL arylamino, heteroarylamino, ary-                           ing of hydrogen, C 1 _6 alkyl, and C 1 _6 alkoxycarbonyl; alter-
      loxy, and heteroaryloxy, are optionally substituted with                        natively, when Ra and Rb are each other tl1an hydrogen, Ra
      one to five fluoro substituents or one to three substituents 40                 andR6 are optionally taken together with the nitrogen atom
      independently selected from the group consisting of                             to which they are both attached to form a five to eight
      C 1 _6 alkyl, hydroxy(C 1 _6 )alkyl, C 1 _6 alkoxy, C 6 _10aryl              . membered monocyclic ring;
      (C: 1 _6 ) alkyl, C 6 _ 10aryl(C 1 _6 )alkoxy, C 6 _10aryl, C 6 _10ary-    L is selected from the group consisting of 0, S, and N(Rd)
      loxy, heteroaryl(C 1_6 )alkyl, heteroaryl(C 1 _6 )alkoxy, het-                  wherein Rd is hydrogen or C 1 _6 alkyl;
      eroaryl,                  heteroaryloxy,            C 6 _10arylamino, 45
      heteroarylamino, amino, C 1 _6 alkylamino, (C 1 _6 alkyl) 2                and pharmaceutically acceptable enantiomers, diastere-
      amino, carboxy(C: 1 _6 ) alkylamino, carboxy, C 1 _6 alkyl-                omers, racemates, and salts thereof.
      carbonyl,            C 1 _6 alkoxycarbonyl,     C 1 _6 alkylcarbony-            Illustrative of the invention is a phannaceutically accept-
      lamino, aminocarbonyl, C 1 _6 alkylaminocarbonyL (C 1 _6                   able carrier and any of the compounds described above.
      alk1 1) 2 aminocarbonyl, carboxy(C 1 _6 )alkylaminocarbo- 50                    The present invention is also directed to methods for pro-
      nyl, cyano, halogen, trifluoromethyl, trifluoromethoxy,                    ducing the instant compounds of Formula (I) and phamiaceu-
      hydroxy, C 1 _6 alkylsulfonyl, and C 1 _6 alkylsulfony-                    tical compositions and medicaments thereof.
      lamino; provided that no more than one such substituent                         111e present invention is further directed to methods for
                                                       3
      on the aryl or heteroaryl portion of R is selected from                    treating opioid modulated disorders such as pain and gas-
      the group consisting of C 6 _ 10aryl(C 1 _6 )alk-yl, C 6 _10aryl 55 trointestinal disorders. Compounds of the present invention
      (C 1 _6 )alkoxy, C6 _10aryl, C 6 _10aryloxy, heteroaryl(C 1 _6 )           are believed to provide advantages over related compounds
      alkyl, heteroaryl(C 1 _6 )alkoxy, heteroaryl, heteroary-                   by providing improved pharmacological profiles. Further
      loxy, C 6 _ 10 arylamino, and heteroarylamino;                             specific embodiments of preferred compounds are provided
   and wherein C 1 _6 alkyl, and C 1 _6 alkyl of aryl(C 1 _6 )alkyl and          hereinafter.
      heteroaryl(C: 1 _6 ) alkyl is optionally substituted with a 60
      substituent selected from the group consisting of                                    BRIEF DESCRIPTION OF THE DRAWlNGS
      hydroxy,            carboxy, C 14alkoxycarbonyl, amino,
      C 1 _6 a1kylamino, (C 1 _6 alkyl)2 an1ino, aminocarbonyl,                       FIG. 1 shows a schematic of the protocol to detem1ine
      (C 1 _4 )alkylan1inocarbonyl, di(C 1 _4 )alkylaminocarbo-                  visceral hyperalgesia in rats.
      nyl, aryl, heteroaryl, arylan1ino, heteroarylamino, ary- 65                     FIG. 2 and FIG. 3 each show the effect in rat of Cpd 18 on
      loxy, heteroaryloxy, aryl(C 1 -4)alkoxy, and heteroaryl                    the hyperalgesic response to colorectal balloon distention
      (C 1 _4 )alkoxy;                                                           following zymosan.



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                                                                                                                                                VI B-PAT00000009
                                                      PTX-007, page 9 of 79

                                                               Appx14415
    Case: 24-1061                         Document: 17                       Page: 194                  Filed: 12/28/2023




                                                         US 7,741,356 B2
                                9                                                                        10
    DETAILED DESCRIPTION OF THE INVENTION                                     Embodiments of the present invention include those com-
                                                                           pounds wherein R2 is selected from the group consisting of
   Embodiments of the present invention include those com-                 hydrogen and C 1 _4 alkyl.
pounds wherein R 1 is selected from the group consisting of                   Embodiments of the present invention include those com-
hydrogen, C 1 _6 alkyl, aryl(C 1 _4 )alkyl, and heteroaryl(C 1 -4) 5 pounds wherein R2 is hydrogen or methyl.
alkyl;                                                                        Embodiments of the present invention include those com-
wherein the aryl and heteroaryl portion of aryl(C 1 -4)alkyl and           pounds wherein ring A is a-1.
   heteroaryl(C 1_4 )alkyl are optionally substituted with one to             Embodiments of the present invention include those com-
   three R 11 substituents independently selected from the                 pounds wherein A-B of ring a-1 is selected from the group
   group consisting ofC 1 _6 alkoxy; heteroaryl optionally sub- 10 consisting ofN---C and O~N.
   stituted with one to two substituents independently                        Embodiments of the present invention include those com-
   selected from the group consisting of C 1_4 alk-yl,                     pounds whereinA-B of ring a-11 is N---C.
   C 1 _4 alkoxy, and carboxy; carboxy; C 1 -4alkoxycarbonyl;                 Embodiments of the present invention include those com-
   C 1 _4 alkoxycarbony loxy; aminocarbony1; C 1 _4 alkylami-              pounds wherein R3 is one to two substituents independently
   nocarbony l; C 3 _6 cycloalkylaminocarbonyl; hydroxy(C 1 _6 ) 15 selected from the group consisting ofC 1_6 alkyl, halogen, and
   alkylaminocarbonyl; C 6 _10arylaminocarbonyl wherein                    aryl; wherein aryl is optionally substituted with one to three
   C6 _10aryl is optionally substituted with carboxy or                    substituents independently selected from the group consist-
   C 1 _4 alkoxycarbonyl; heterocyclylcarbonyl; cyano; halo-               ing of halogen, carboxy, aminocarbonyl, C 1 _3 alkylsulfony-
   gen; trif1uoromethoxy; or hydroxy; provided that no more                lamino, cyano, hydroxy, an1ino, C 1 _3 alkylamino, and (C 1_
                 11
   than one R is heteroaryl (optionally substituted with one 20 Jalkyl) 2 amino.
   to two C 1 _4 alkyl substituents); C 6 _10arylaminocarbonyl                Embodiments of the present invention include those com-
   wherein C 6 _10aryl is optionally substituted with carboxy or           pounds wherein R3 is one to two substituents independently
   C 1 _4 alkoxycarbonyl; or heterocyclylcarbonyl.                         selected from the group consisting of C 1 _3 alk-yl, bromo, and
   Embodiments of the present invention include those com-                 phenyl; wherein phenyl is optionally substituted with one to
pounds wherein R 1 is selected from the group consisting of 25 three substituents independently selected from the group con-
C 6 _10aryl(C 1 -4)alkyl, pyridinyl(C 1 -4) alkyl, and furanyl(C 1 _4 )    sisting of chloro, tluoro, iodo, carboxy, aminocarbonyl, and
alk-yl; wherein C 6 _10aryl, pyridinyl, and furanyl are optionally         cyano.
substituted with one to three R 11 substituents independently                 Embodiments of the present invention include those com-
selected from the group consisting of C 1 _3 alkoxy; tetrazolyl;           pounds wherein R3 is one to two substituents independently
carboxy; C 1 _4 alkoxycarbonyl; aminocarbonyl; C 1_4 alkylami- 30 selected from the group consisting of methyl and phenyl:
nocarbonyL C3 _6 cycloalk-ylaminocarbonyl; hydroxy(C 1 -4)                 wherein phenyl is optionally substituted with one to three
alkylaminocarbonyl;            C 6 _10arylaminocarbonyl     wherein        substituents independently selected from the group consist-
C 6 _10aryl is optionally substituted with carboxy or                      ing of chloro and carbo;,r.y. _
C 1 _4 alkoxycarbonyl; morpholin-4-ylcarbonyl; cyano; halo-                   Embodiments of the present invention include those com-
                                                                                                             3
gen; and trifluoromethoxy; provided that that no more than 35 pounds wherein at least one R substituent is phenyl.
         11
one R is C 6 _10arylaminocarbonyl.                                            Embodiments of the present invention include those com-
    Embodiments of the present invention include those com-                pounds wherein R3 is a substituent selected from the group
pounds wherein R 1 is selected from the group consisting of                consisting of methyl and phenyl optionally substituted with
phenyl(C 1 _3 )alkyl, pyridinyl(C 1 _3 )alkyl, and furanyl(C 1_3 )         one to two substituents independently selected from the
alkyl; wherein phenyl, pyridinyl, and furanyl are optionally 40 group consisting of chloro and carboxy.
substituted with one to three R 11 substituents independently                 Embodiments of the present invention include those com-
sek'Cted from the group consisting ofC 1 _3 alkoxy; tetrazolyl,            pounds wherein R4 is C 6 _10aryl optionally substituted with
C3 _6 cycloalkylaminocarbony1; hydroxy( C 1 _4 )alk-y laminocar-           one to three R41 substituents independently selected from the
bonyl; C 6 _10 arylaminocarbonyl wherein C6 _10myl is option-              group consisting of (C 1_3 )alkyl, (C 1_6 )alkoxy, phenyl(C 1 _6 )
ally substituted with carboxy or C 1 _4 alkoxycarbonyl: mor- 45 alkoxy; hydroxy; halogen; formylamino; aminocarbonyl;
pholin-4-ylcarbonyl; chloro; fluoro; trifluoromethoxy;                     C 1 _6 alk-ylaminocarbonyl; (C 1 _6 alkyl)2 aminocarbonyl; het-
C 1 -4alkoxycarbonyl; and carboxy; provided that that no more              erocyclylcarbonyl wherein heterocyclyl is a 5-7 membered
than one R 11 is C 6 _ 10arylaminocarbonyl.                                nitrogen-containing ring and said heterocyclyl is attached to
    Embodiments of the present invention include those com-                the carbonyl carbon via a nitrogen atom; carboxy; and cyano:
                                                                                                                   41
pounds wherein R 1 is phenylmethyL pyridinylmethyl, or so provided that no more than one R substituent is formy-
furanylmethyl; wherein phenyl, pyridinyl, and foranyl are                  lamino, aminocarbonyl, C 1 _6 alkylaminocarbonyl, (C 1 _6
optionally substituted with one to three R 11 substituents inde-           alkyl) 2 aminocarbonyl, heterocyclylcarbonyl, hydroxy, car-
pendently selected from the group consisting of methoxy;                   boxy, or a phenyl-containing substituent.
tetrazolyl; cyclopropylaminocarbonyl; (2-hydroxyeth-1-yl)                     Embodiments of the present invention include those com-
                                                                                                4                                         41
aminocarbonyl; methoxycarbonyl; phenylaminocarbonyl 55 pounds wherein R is phenyl substituted with one to three R
wherein phenyl is optionally substituted with carboxy: mor-                substituents    independently  selected  from the group consist-
pholin-4-y lcarbonyl; and carboxy; provided that that no more              ing of (C 1_3 )alkyl, (C 1 _3 )alkoxy, phenyl(C 1 _3 ) alkoxy,
than one R 11 is phenylaminocarbonyl.                                      hydroxy, C 1_6 alkylaminocarbonyl, and aminocarbonyl; pro-
    Embodiments of the present invention include those com-                vided that no more than one R.41 substitutent is aminocarbo-
                      2                                                 60 nyl, C 1 _6 alk-ylaminocarbonyl, hydroxy, or a phenyl-contain-
pounds wherein R is a substituent selected from the group
consisting of hydrogen, C 1 _4 alkyl, hydroxy(C1-4)alkyl, and              ing substitnent.
phenyl(C 1 _6 )alkoxy(C 1 -4)alkyl;                                           Embodiments of the present invention include those com-
                                                                           pounds wherein R4 is phenyl substituted at the4-position with
wherein said phenyl is optionally substituted with one to two              hydroxy, C 1_3 alkylaminocarbonyl, or aminocarbonyl, and
substituents independently selected from the group consist- 65 optionally substituted with one to two substituents indepen-
ing of C 1 _3 alkyl, C 1 _3 alkoxy, hydroxy, cyano, fluoro, chloro,        dently selected from the group consisting of methyl, meth-
bromo, trifluoromethyl, and trifluoromethoxy.                              oxy, and benzyloxy.



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                                                                                                                                    VI B-PATOOOOOO 10
                                                 PTX-007, page 10 of 79

                                                          Appx14416
    Case: 24-1061                           Document: 17                        Page: 195                    Filed: 12/28/2023




                                                            US 7,741,356 B2
                                 11                                                                           12
   Embodiments of the present invention include those com-                       C 6 _10aryl is optionally substituted with carboxy or
pounds wherein R4 is phenyl substituted at the 4-position with                   C 1 _4 alkoxycarbonyl; heterocyclylcarbonyl; cyano; halo-
hydroxy, C 1 _3 alkylaminocarbonyl, or aminocarbonyl, and                        gen; trifluoromethoxy; and hydroxy; provided that no more
optionally substituted with one to two methyl substituents.                      than one R 11 is heteroaryl (optionally substituted with one
   Embodiments of the present invention include those com- s                     to two C 1 -4alkyl substituents); C 6 _ 10arylaminocarbonyl
pounds wherein R4 is phenyl substituted at the 4-position with                   wherein C 6 _10 aryl is optionally substituted with carboxy or
hydroxy, C 1 _3 alkylaminocarbonyl, or aminocarbonyl, and                        C 1 -4alkoxycarbonyl; or heterocyclylcarbonyl;
                                                                               2
substituted at the 2- and 6-positions with methyl substituents.             R is selected from the group consisting of hydrogen,
   Embodiments of the present invention include those com-                       C 1 _4 alkyl, hydroxy(C 1 _4 ) alkyl, and phenyl(C 1 _6 )alkoxy
pounds wherein Rs is hydrogen or methyl.                                 10      (C 1 -4)alkyl;
   Embodiments of the present invention include those com-                  wherein said phenyl is optionally substituted with one to two
pounds wherein Rs is hydrogen.                                                   substituents independently selected from the group con-
   Embodiments of the present invention include those com-                       sisting ofC 1 _3 alkyl, C 1 _3 alkoxy, hydroxy, cyano, fluorine,
pounds wherein R6 is hydrogen or methyl.                                         chlorine, bromine,. trifluoromethyl, and trifluoromethoxy;
   Embodiments of the present invention include those com- 15 R 3 is one to two substituents independently selected from the
pounds wherein R 6 is hydrogen.                                                  group consisting ofC 1 _6 alk')'I, halogen, and aryl; wherein
   Embodiments of the present invention include those com-                       aryl is optionally substituted with one to three substituents
                      7
pounds wherein R is hydrogen or methyl.                                          in.dependently selected from the group consisting of halo-
   Embodiments of the present invention include those com-                       gen, carboxy, aminocarbonyl, C,_ 3 alkylsulfonylamino,
                      7
pounds wherein R is hydrogen.                                            20      cyan.o, hydroxy, amino, C 1 _3 alkylamino, and (C 1_3 alkyl)
   Embodiments of the present invention include those com-                       ,amino;
pounds wherein Ra and R" are independently selected from                    R -is C 6 _;oaryl optionally substituted with one to three R41
                                                                               4

the group consisting of hydrogen and C 1 _3 alkyl; or, when R"                   substituents in.dependently selected from the group con-
and R" are each other than hydrogen or Cl -6alkoxycarbonyl,                      sisting of (C 1 _3 )alkyl, (C 1 _6 ) alkoxy, phenyl(C 1 _6 )alkoxy;
Ra and R" are optionally taken together with the nitrogen 25                     hydroxy;         halogen;       fonnylarnino;       an1inocarbonyl;
atom to which they are both attached to form a five to seven                     C 1 _6 alkylaminocarbonyl; (C 1 _6 alkylhaminocarbonyl; het-
membered monocyclic ring.                                                        erocyclykarbonyl whereinheterocyclyl is a 5-7 membered
    Embodiments of the present invention include those com-                      nitrogen-containing ring and said heterocyclyl is attached
pounds wherein Ra and R" are independently hydrogen or                           to the carbonyl carbon via a nitrogen atom; carboxy; and
methyl.                                                                  30      cyano;
   Embodiments of the present invention include those com-
                                                                            provided        that no more than one R41 substituent is formy-
pounds wherein Ra and R6 are each hydrogen.
                                                                            lamino, aminocarbonyL C 1 _6 alkylaminocarbonyl, (C 1 _6 alkyl)
   Embodiments of the present invention include those com-
                                                                            2 aminocarbonyl, heternc)'cfylcarbonyl, hydroxy, carboxy, or
pounds wherein L is 0.
                                                                            a phenyl-containing substituent.
   Embodiments of the present invention include those com- 35 5
                                                                            R is hydrogen or methyl;
pounds that are present in their RR, SS, RS, or SR configu-
                                                                            Ra and Rb are independently hydrogen or C 1 _3 alkyl; or, when
ration.
                                                                                 Ra and R" are each other than hydrogen, Ra and Rb are
   Embodiments of the present invention include those com-
                                                                                 optionally taken together with the nitrogen atom to which
pounds that are present in their S,S configuration.
                                                                                 they are both attached to form a five to seven memben.'C!
   An aspect of the present invention includes compounds of 40
                                                                                 monocyclic ring;
Formula (Ia):
                                                                            and pharmaceutically acceptable enantiomers, diastere-
                                                                            omers, racemates, and salts thereof.
                                                            Formula (la)         An.other aspect of the present invention is directed to a
                                                                         45 compound ofFonnula (Ia) wherein:
                                                                            R 1 is selected from the group consisting of C 6 _10aryl(C 1-4)
                                                                                 alkyl, pyridinyl(C 1 .4 ) alkyl, and furanyl(C 1 -4)alkyl:
                                                                                 wherein C 6 _10aryl, pyridinyl, and furanyl are optionally
                                                                                 substituted with one to three Ru substituents indepen-
                                                                         so      dently selected from the group consisting of C 1 _3 alkoxy;
                                                                                 tetrazolyl; carboxy: C 1 _3 alkoxycarbonyl: aminocarbonyl;
                                                                                 C 1 _4 alky laminocarbony1;             C 1 _3 alkylaminocarbonyl;
                                                                                 C 3 _6 cycloalky>lan.1inocarbonyl; hydroxy(C 1 -4) alkylami-
                                                                                 nocarbonyl; C 6 _ 10arylaminocarbonyl wherein C 6 _ 10aryl is
wherein:                                                                 55      optionally substituted with carboxy or C 1 _4 alkoxycarbo-
  1
R is selected from the group cons1stmg of hydrogen,                              nyl; morpholin.-4-ylcarbonyl; cyano: halogen; and trifluo-
   C 1 _6 alkyl, aryl(C 1 _4 )alkyl, and heteroaryl(C 1 -4)alkyl;                romethoxy; provided thatnomorethanone R 11 is C 6 _ 10ary-
wherein the aryl andheteroaryl portion ofaryl(C 1 -4)alkyl and                   lanlinocarbonyl;
   heteroaryl(C 1 _4 ) alkyl are optionally substituted with one            R 2 is hydrogen or C 1 -4alkyl;
                 11                                                            3
   to three R substituents in.dependently selected from the 60 R is one to two substituents independently selected from the
   group consisting ofC 1 _6 alkoxy; heteroaryl optionally sub-                  group consisting ofC 1 _3 alkyl, bromo, and phenyl; wherein
    stituted with one to two substituents independently                          phenyl is optionally substituted with one to three substitu-
    selected from the group consisting of C 1_4 alky>l,                          ents in.dt.,'Pendently selected from the group consisting of
   C 1 _4 alkoxy, and carboxy: carboxy; C 1-4alkoxycarbony-                      chloro, fluoro, carboxy, aminocarbonyl, and cyano;
                                                                               4
   loxy; C 1 _4 alkoxycarbonyl; arninocarbonyl; C 1 -4alkylarni- 65 R is phenyl substituted with one to three R41 substituents
   nocarbonyl; C 3 _6 cycloalkylaminocarbonyl; hydroxy(C 1 _6 )                  independently selected from the group consisting of
   alkylaminocarbonyl; C 6 _10arylaminocarbonyl wherein                          (C 1 _3 )alky>l, (C 1 _3 )alkoxy, phenyl(C 1 _3 ) alkoxy, hydroxy,



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                                                                                                                                           VIB-PAT00000011
                                                   PTX-007, page 11 of 79

                                                             Appx14417
    Case: 24-1061                        Document: 17                        Page: 196                    Filed: 12/28/2023




                                                         US 7,741,356 B2
                               13                                                                         14
    C 1 _6 alkylaminocarbonyl, and aminocarbonyl; provided                  ally substituted with one to two substituents independently
    that no more than one R4 t is aminocarbonyl, C 1_6 alkylami-            selected from the group consisting of methy 1, methoxy, and
    nocarbonyl, hydroxy, or a phenyl-containing substituent;                benzyloxy;
  5
R is hydrogen;                                                            5
                                                                        R is hydrogen;
Ra and R6 are independently hydrogen or methyl;                         Ra and R6 are each hydrogen;
and pharmaceutically acceptable enantiomers, diastere-                  and phannaceutically acceptable enantiomers, diastere-
    omers, racemates, and salts thereof.
                                                                            omers, racemates, and salts thereof.
    Another aspect of the present invention is directed to a
compound of Formula (Ia) wherein:                                           Another embodiment is directed to compounds of Formula
R 1 is selected from the group consisting of phenyl(C 1 _3 )alkyl, 10 (lb):
    pyridinyl(C 1 _3 )alkyl, and furanyl(C 1 _3 )alkyl; wherein phe-
    nyl, pyridinyl, and furanyl are optionally substituted with                                                               Fonnula (lb)
    one to three R 11 substituents independently selected from
    the group consisting of C: 1 _3 alkoxy; tetrazolyl, C3 _6 cy-
    cloalky laminocarbonyI; hydroxy( C 1 -4)alky laminocarbo- 15
    nyl; C 6 _10 arylaminocarbonyl wherein C 6 _10 aryl is option-
    ally substituted with carboxy or C 1 -4alkoxycarbonyl;
    morpholin-4-ylcarbonyl; chloro; fluoro; trifluoromethoxy;
    and carboxv-
R2 is hydroge~'or methyl;                                            20
R' is one to two substituents independently selected from the
    group consisting of methyl and phenyl; wherein phenyl is
    optionally substituted with one to three substituents inde-
    pendently selected from the group consisting of chloro and          wherein in one embodiment of this invention the variables are
    carboxy;                                                         25 as previously defined. In another embodiment of the present
  4
R is phenyl substil1!ted at the 4-position with hydroxy,                inventionLisoxygenandR 1 , R2 , R3 -1, R3 - 2 , R5 , R", Rh, and
    C: 1 _3 alkylaminocarbonyl, or aminocarbonyl, and option-           R41 are dependently selected from the group consisting of:


                                                                                     lABLE l
                                        Cpd R'                      RJ       R3-l                 R-'-'   R'    R41                 Ra/Rb

                                              2-Arninocarbonyl-     methyl   phenyl                       H     2,6-dimethyl-4-     l-1
                                              phenylmethyl                                                      an1inocarbonyl
                                              2-Cyano-phenyl        methyl   phenyl                       H     2,6-dimethyl-4-     H
                                              methyl                                                            aminocarbonyl
                                              2-Bromo-phenyl        methyl   phenyl                       H     2,6-dimethyl-4-     H
                                              methyl                                                            aminocarbonyl
                                          4   3-Carboxy-4-          methyl   phenyl               l-l     H     4-aniinocarbonyl    H
                                              me!hoxy-phenyl
                                              methyl
                                              3-Carboxy-4-          H        phenyl               H       !-I   4-arninoca.rbonyl   H
                                              methoxy-phenyl
                                              methyl
                                              3-Carboxy-4-          H        phenyl               H       !-I   2.6-dimethyl-4-     H
                                              methoxy-phenyl                                                    runinocarbonyl
                                              methyl
                                              3-Methoxycarbonyl-    H        phenyl               ]-]     H     2.6-dimethyl-4-     H
                                              4-metho:x-y-                                                      aminocarbony I
                                              phenylmetl1y I
                                          8   3-(lH-tetra.zol-5-    methyl    phenyl              H       H     2.6-dimethyl-4·     H
                                              yl)-4-methoxy·                                                    aminocarhonyl
                                              phenylmethy!
                                          9   3-Metlioxycarbonyl-   methyl    phenyl              H       H     2,6-dimethyl-4-
                                              phenylmethyl                                                      amin ocarbo ny l
                                         10   3-Methoxy             methyl    naphlhalen-1-yl     H       H     2,6-dimetltyl-4-    H
                                              carbonyl-                                                         aminocarbonyl
                                              phenylmethyl
                                         11   3-Carboxy-            methyl    naphthalen-1-yl     H       H     2.6-dimethyl-4-     H
                                              phenylmethy l                                                     aminocarbonyl
                                         12   3-Carboxy-            methyl   4-chlorophenyl       Me      H     2,6-dimethyl-4-     H
                                              phenylmett1yl                                                     aminocarbonyl
                                         13   4-Carboxy-            methyl    naphtl1alen-l -yl   H       H     2,6-dimethyl-4-     H
                                              phenylmelhyl                                                      aminocarbonyl
                                         14   3-Methoxy-4-          methyl    phenyl              H       H     2,6-dimethyl-4-     H
                                              carboxy-                                                          aminocarbonyl
                                              phenylmethyl
                                         15   3,4-Dihydroxy-        methyl    phenyl              H       H     2.6-dimcthyl-4-     H
                                              phenylmethyl                                                      hydroxy
                                         16   Piperidin-4-yl        methyl    phenyl              H       H     2,6-dimethyl-4-     H
                                              methyl                                                            hydroxy




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                                                                                                                                          VI B-PATOOOOOO 12
                                                 PTX-007, page 12 of 79

                                                          Appx14418
     Case: 24-1061                        Document: 17                             Page: 197          Filed: 12/28/2023




                                                             US 7,741,356 B2
                                15                                                                    16
                                      TABLE I-continued
Cpd RI                   R2            R'•-1                  R'-2   R' R41                   Ra/Rb

17    3-Methoxy          methyl       phenyl                  H      l!    2,6-dimethyl-4-    H
      carbonyl-4-                                                          aminocarbonyl
      methoxy-
      phenylmethyl
18    3-Carboxy-4-       methyl        phenyl                 H      H     2,6-dimethyl-4-    H
      methoxy-                                                             aminocarbonyl
      phenylmethyl
19    3,4-Dime1hoxy-     methyl        3-bromophcnyl          H      H     2,6-dimethyl-4-    H
      phenylmethyl                                                         aminocarbonyl
20    3A-Dimethoxy-      methyl        3-carboxypbeny I       H      H     2,6-dimethyl-4-    !I
      phenylmethyl                                                         aminocarbonyl
21    3,4-Dimetboxy-     benzyloxy-    phenyl                 H      H     2,6-diriethyl-4-   ll
      phenylmethyl       methyl                                            hydroxy
23    3 ,4-Dimethoxy-    methyl        3-aminocarbonyl        H      H     2,6-dimethyl-4-    H
      phenylmethyl                     phenyl                              aminocarbonyl
24    3,4-Dimethoxy-     methyl        3-cyilllophenyl        H      H     2,6-dimethyl-4-    H
      phenylmethyl                                                         aminocarbonyl
25    Isopropyl          H             quinoxalin-8-yl        Me     H     2,6-dimet,½yl-4-   H
                                                                           hydroxy
26    3,4-Dimethoxy-     methyl        2-bromophenyl          H      H     2,6-dimethyl-4-    H
      phenylmethyl                                                         arninocarbonyl
27    3,4-Dimethoxy-     methyl        2-cyanophenyl          H      H     2,6-dimethyl-4-    II
      phenylmethyl                                                         arr1inocarbonyl
28    3,4-Dimethoxy-     methyl        2-aniinocarbonyl       H      H     2,6-dimethyl+      H
      phenylmethyl                     phenyl                              arninocarbonyl
29    3,4-Dimethoxy-     methyl        2-carboxyphenyl        H      H     2,6-dimethyl-4-    H
      phenylmethyl                                                         aminocarbonyl
30    3,4-Dibenzyloxy-   methyl        phenyl                 H      H     2,6-dimethyl-4-    H
      phenylmethyl                                                         hydroxy
31    [ 1,3jbenzo        methyl        pheuyl                 H      H     2,6-dimethyl, 4-   H
      dioxal-5-yl                                                          hydroxy
32    4-Methoxy-         methyl        phenyl                 H      H     2,6-dimethyl-4-    I!
      phenylmethyl                                                         hydroxy
33    3-Methoxy-         methyl        phenyl                 fl     H     2,6-dimethyi-4-    H
      phenylmethyl                                                         hydroxy
34    2 ,4-Dimethoxy-    met11yl       phenyl                 H      H     2,6-dimethyl+      H
      phenylmethyl                                                         hydroxy
35    3,4-Dimethoxy-     H             phenyl                 H      H     2,6-dimethyl-4-    Jj
      phenylmethyl                                                         hydroxy
36    Isopropyl          H             4-methylcarbonyl       H      H     2,6-dimethyl-4-    H
                                       phenyl                              hydroxy
37    Isopropyl          H             3-fluoro. 4-           Me     H     2,6-dimethyl-4-    H
                                       carboxy-phenyl                      hydroxy
38    Isopropyl          H             2-phcnyl-              Me     l-1   2,6-dimethyl-4-    H
                                       ethylen-1-yl                        hydroxy
39    lsopropvl          H             4-hydroxymethyl        Me     H     2-6-dimett,yl-4-   H
                                       phenyl                              hydroxy
40    Benzhydryl         H             phenyl                 H      H     2,6-dimethyl-4-    H
                                                                           hydroxy
41    lsopropyl          H             4-cya,'lophenyl        Me     H     2,6-dimethyl-4-    H
                                                                           hydroxy
42    Benzyl             methyl        4-trifluoromet11yl     H      H     2,6-dimethyl-4-    H
                                       phenyl                              aminocarbonyl
43    Isopropyl          H             3-trifluoromethoxy     Me     H     2,6-dimethyl-4-    H
                                       phenyl                              hydroxy
44    Isopropyl          H             4-trifluoromet11oxy    Me     H     2,6-dimethyl-4-    H
                                       phenyl                              hydroxy
45    Isopropyl          H             3-methanesulfonyl      Me     H     2,6-dimethyl+      H
                                       aminophenyl                         hydroxy
46    Isopropyl          H             4-(2-carboxyethy!J     Me     H     2,6-dimethyl-4-    H
                                       phenyl                              hydroxy
47    Isopropyl          H             3-amino-5-             Me     H     2,6-dimethyl-4-    II
                                       carboxyphenyl                       hydroxy
48 3-Carboxy-            methyl        phenyl                 H      H     2,6-dimethyl-4-    H
   phenylmethyl                                                            hydroxy
49 4-Carboxy-            methyl        phenyl                 H      H     2,6-dimethyl-4-    H
   phcnylmethyl                                                            carboxy
50 4-Carboxy-            methyl        phenyl                 H      H     2,6-dimethyl-4-    H
   phenylmethyl                                                            aminocarbonyl
51 4-Methoxy             methyl        phenyl                 H      H     2,6-dimethyl-4-    H
      carbonyl-                                                            arninocarbonyl
      phenylmetJ1yl
52    3-Methoxy          methyl        phenyl                 H      H     2,6-dimethyl-4-    H
      carbonyl-                                                            hydroxy
      phenylmethyl
 53   1-Benzyloxy        methyl        phenyl                 H      H     2,6-dimethyl-4-    H
      carbonyl·                                                            hydroxy




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                                                                                                                   VI B-PATOOOOOO 13
                                                  PTX-007, page 13 of 79

                                                             Appx14419
     Case: 24-1061                            Document: 17                         Page: 198           Filed: 12/28/2023




                                                              US 7,741,356 B2
                                  17                                                                   18
                                         'TABLE I-continued
Cpd R'                     R2            R-'·'                 R'-2   R'   R4'                 R"!Rb

     piperadin-4-yl
     methyl
54   Furan-2-yl            methyi        phenyl                H      H    2,6-dimethyl-4-     H
     methyl                                                                hydroxy
55   Furan-3-yl            methyl        phenyl                H      H    2, 6-dirnethy1-4-   H
     methyl                                                                hydroxy
56   Cyclobexyl            methyl        phenyl                H      H    2,6-dimethyl-4-     H
     methyl                                                                hydroxy
57   Pyridin-4-yl          methyl        phenyl                H      H    2,6-dimethyl-4-     H
     methyl                                                                hydroxy
58   Benzyl                methyl        4-chlorophenyl        Me     H    2,6-dimethyl-4-     H
                                                                           arninocarbonyl
59    Benzyl               methyl        3-fluorophenyl        H      .H   2,6-dimethyl-4-     H
                                                                           aminocarbonyl
60    Isopropyl            H             3-cyanophenyl         Me     H    2,6-ciimethyl-4-    H
                                                                           hydroxy
61    Isopropyl            H             2.5-difluorophenyl    Me     H    2,6-dimethyl-4-     H
                                                                           hydroxy
62    Isopropyl            H             4-methanesulfonyl     Me     H    2,6-dimethyl-4-     H
                                         phenyl                            hydroxy
64    Benzyl               benzyloxy     phenyl                H      H    2 ,6-dimethy l-4-   H
                           methyl                                          aminocarbonyl
65    Isopropyl            H             Br                    Me     H    2,6-dimethyl-4-     H
                                                                           hydroxy
66    Isopropyl            H             4-dimethyla.mino      Me     H    2,6-dimetbyl-4-     H
                                         phenyl                            hydroxy
67    Isopropyl            H             3-dimethylamino       Me     H    2,6-dimethyl-4-     H
                                         carbonylphenyl                    hydroxy
68    Isopropyl            H             3-hydroxyphenyl       Me     H    2,6-dimethyl-4-     H
                                                                           hydroxy
69    lsopropyl            H             4-aminocarbonyl       Me     H    2,6-dimethyl-4-     H
                                         phenyl                            hydroxy
70    lsopropyl            H             3-chlorophenyl        Me     H    2,6-dimethyl-4-     H
                                                                           hydroxy
71    Isopropyl            II            2,4-difluorophenyl    Me     H    2,6-dimethyl-4-     H
                                                                           hydroxy
72    lsopropyl            H             J-methanesulfonyl     Me     H    2.6-dimethyl-4-     H
                                         phenyl                            hydroxy
73    lsopropyl            H             3-aminocarbonyi       Me     H    2,6-dimothyl-4-     H
                                         phenyl                            hydroxy
74    Benzyl               methyl        4-trifluoromethyl     Me     H    2,6-dimethyl-4-     H
                                         phenyl                            aminocarb~nyl
75    3 ,4-Dimcthoxy-      methyl        phenyl                H      H    2,6-dimethyl-4-     !I
      phenylmethyl                                                         aminocarbonyl
76    Benzyl               methyl        4-fluorophenyl        H      H    2,6-dirnothyl-4-    H
                                                                           an1inoca.rhonyl
Tl    4-Dimethyla.rnino-   methyl        phenyl                H      Me 2,6-dimethyl-4-       H
      phenylmethyl                                                       hydroxy
78    4-Methyiarnino-      methyl        phenyl                H      H 2,6-dirnethyl-4-       H
      phenylrnethyl                                                      hydroxy
79    4-Methy!carbonyl     methyl        phenyl                H      H 2,6-dimethyl-4-        H
      amino-phenyl                                                       hydroxy
      methyl
80    4-Carboxy-           methyl        phenyl                H      H    2,6-dimethyl-4-     H
      phenylmethy I                                                        hydroxy
81    4-Hydroxy-           methyl        phenyl                H      H    2,6-dimethyl-4-     H
      phenylmethyl                                                         hydroxy
83    Benzyl               methyl        4-fluorophenyl        H      H    2,6-dimethyl-4-     H
                                                                           hydroxy
84    Isopropyl            methyl        4-fluorophenyl        H      H    2,6-dimethyl-4-     H
                                                                           hydroxy
85    Isopropyl            hydroxy       phenyl                H      H    2,6-dimethyl-4-     H
                           methyl                                          a.minocarbonyl
86    Isopropyl            H             phenyl                H      H    2,6-dimethyl, 4-    H
                                                                           aminocarbonyl
87    3,4-Dichloro-        H             phenyl                H      H    2,6-dimethyl-4-     H
      phenylmethyl                                                         hydroxy
88    4-Methylcarbonyl     methyl        phenyl                H      H    2,6-dimethyl-4-     H
      oxy-phenyl                                                           hydroxy
      methyl
89    4-Metboxy            methyl        phenyl                H      H    2,6-dimethyl-4-     H
      carbonyl-                                                            hydroxy
      phenylmethyl
90    3-Aminocarbonyl-     methyl        phenyl                H      H    2,6-dimethyl-4-     H
      phenylmcthy I                                                        hydroxy
91    3-Cyano-phenyl       methyl        phenyl                H      H    2,6-dimethyl-4-     H
      methyl                                                               hydroxy




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                                                                                                                    VI B-PATOOOOOO 14
                                                    PTX-007, page 14 of 79

                                                              Appx14420
   Case: 24-1061                         Document: 17                              Page: 199        Filed: 12/28/2023




                                                           US 7,741,356 B2
                               19                                                                   20

                                     TA.BLE !-continued
Cpd R'                  R2           R3-l                   R3-2   Rs R41                   Ra/Rb

 92 Pyridin-3-yl        methyl       phenyl                 H      H     2,6-dimethyl-4-    II
    methyl                                                               hydroxy
 93 Pyridin-2-yl        methyl       phenyl                 H      H     2,6-dimethyl-4-    H
    methyl                                                               hydroxy
 94 1-(R)-Phenylethyl   H            phenyl                 H      ]-!   2,6-dimethyl-4-    H
                                                                         aminocarbonyl
 95 1-(S)-Phenylethyl   H            phenyl                 H      H     2,6-dimethyl-4-    H
                                                                         aminocarbonyl
 96 2-Methoxy-          methyl       phenyl                 H      H     2.6-dimethyl-4-    H
      phenylmethyl                                                       hydroxy
 97 2,6-Dichloro-       methyl       phenyl                 H      H     2,6-dimethyl-4-    H
    phenylmethy 1                                                        hydroxy
 98 3-Pbenoxy-          mefoyl       phenyl                 H      H     2,6-dimethyl-4-    H
    phenylmethy l                                                        hydroxy
 99 Naphthalen-1-yl-    methyl       phenyl                 H      H     2,6-dimethyl-4-    H
    methyl                                                               hydroxy
100 Naphthalen-2-yl-    methyl       phenyl                 H      H     2,6-dimethyl-4-    I-I
    methyl                                                               hydroxy
101 3-Bromo-phenyl      methyl        phenyl                H      H     2,6-dimethyl-4-    I-l
    methyl                                                               hydroxy
102 3,4-Dimethoxy-      methyl        phenyl                I-I    I-l   2,6-dimethyl-4-    H
    phenylmethyl                                                         hydroxy
103 2,4-Dichloro-       methyl        phenyl                I-I    I-l   2,6-dimethyl-4-    I-l
    phenylmethy I                                                        hydroxy
104 Benzyl              isobutyi      phenyl                I-I    H     2,6-dimethyl-4-    I-l
                                                                         hydroxy
105 Benzyl              benzyl        phenyl                H      H     2,6-dirnethyl-4-   H
                                                                         hydroxy
106 Benzyl              isopropyl     phenyl                I-I    H     2,6-dirnethyl-4-   H
                                                                         hydroxy
107 Berrzyl             H             phenyl                I-I    H     2,6-dirnethyl-4-   H
                                                                         amirrocarbonyl
108 3-Phenyi            methyl        phenyl                H      H     2,6-dimetliyl-4-   H
    prop-1--yl                                                           aminocarbonyl
109 2-Pheny!ethyl       methyl        phenyl                I-I    H     2,6-dimethyl-4-    H
                                                                         aminocarbonyl
111 1-Phenylethyl       methyl        phenyl                H      I-I   2,6-dimetliyl-4-   I-I
    diastereomer A                                                       runinocarbonyl
112 1-Phenylethyl       methyl        phenyl                H      H     2,6-dirnethyl-4-   H
    diasteromer B                                                        aminocarbo □yl
114 Beirzyl             methyl        phenyl                H      H     2,6-dimethyl-4-    H
                                                                         aminocarbonyl
115 Isopropyl           H             4-biphenyl            Me     H     2.6-dimethyl-4-    H
                                                                         hydroxy
116 lsopropyl           H             3-tluorophenyl        Me     I-I   2,6-dimethyl-4-    H
                                                                         hydroxy
117 Isopropyl           H             2-tluorophenyl        Me     I-I   2,6-dimethyl-4-    I-I
                                                                         hydroxy
118 lsopropyl           hydroxy       phenyl                II     H     2,6-dimethyl-4-    H
                        methyl                                           hydroxy
119 H                   hydroxy       phenyl                H      H     2,6-dimetliyl-4-   H
                        methyl                                           hydroxy
120 Isopropyl           3-(arnino     phenyl                H      H     2,6-dimethyl-4-    H
                        motl1yl)                                         hydroxy
                        phenyl
                        methyl
121 Isopropyl           3-amino       phenyl                H      If    2,6-dimethyl-4-    H
                        carbonyl                                         hydroxy
                        phenyl
                        methyl
122 Isopropyl           3-cyano       phenyl                I-I    H     2,6-dimethyl-4-    H
                        phenyl                                           hydroxy
                        methyl
123 Isopropyl           H             4-carboxyphenyl       Me     I-I   2,6-dimethyl-4-    H
                                                                         hydroxy
124 Isopropyl           H             pyridin-3-yl          Me     I-I   2,6-dimethyl-4-    H
                                                                         hydroxy
125 Isopropyl           H             4-methoxyphenyl       Me     I-I   2,6-dimethyl-4-    H
                                                                         hydroxy
126 Isopropyl           H             3,5-diflnorophenyl    Me     I-I   2,6-dimethyl-4-    H
                                                                         hydroxy
127 Cyclohexyl          methyl        phenyl                H       H    2,6-dimethyl-4-    H
                                                                         aminoca.rbonyl
129 Carboxymethyl       H             phenyl                H      H     2,6-dimethyl-4-    H
                                                                         hydroxy
130 Isopropyl           H             3-hydroxymethyl       Me     H     2,6-dimethyl-4-    H
                                      phenyl                             hydroxy




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                                                                                                                 VI B-PATOOOOOO 15
                                                   PTX-007, page 15 of 79

                                                           Appx14421
  Case: 24-1061                          Document: 17                               Page: 200         Filed: 12/28/2023




                                                           US 7,741,356 B2
                                 21                                                                   22

                                      "!ABLE I-continued
Cpd Rl                  R2            R3--l                 R3--2   Rs R41                    RaiR"

131 Isopropyl           H             pyrimidin-5-yl        Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
132 Isopropyl           H             py11midin-5-yl        Me      H    4-hydroxy            H
133 Isopropyl           H             3-carboxypheny I      Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
134 Isopropyl           H             3-biphenyl            Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
135 Isopropyl           H             2-metlioxyphenyl      Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
136 Isopropyl           benzyl        phenyl                H       H    3-aminocarbonyl      H
137 Isopropyl           isopropyl     phenyl                ll      H    3-aminocarbonyl      H
138 Isopropyl           benzyloxy     phenyl                H       H    2,6-dimethyl-4-      H
                        methyl                                           hydroxy
139 Isopropyl           isobutyl      phenyl                H       H    2,6-dimethyl-4-[2-   H
                                                                         (2,6-dimethy!-4-
                                                                         hydroxyphenyl)-
                                                                         1-amino-
                                                                         cthylcarbonxyloxy
                                                                         ]phenyl
140 Isopropyl           isobutyl      phenyl                H       II   2,6-dimetbyl-4-      I-I
                                                                         hydroxy
141 Isopropyl           H             3,5-dichlorophenyl    Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
142 Isopropyl           H             3-metboxyphenyl       Me      H    2,6-dimelhyl-4-      H
                                                                         hydroxy
143 Isopropyl           methyl        phenyl                H       H    2,6-dimethyl-4-      H
                                                                         aminocarbonyl
145 Isopropyl           H             2-biphenyl            Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
146 Isopropyl           H             th.iophen-3-yl        Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
147 Isopropyl           H             4-chlorophenyl        Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
148 Isopropyl           H             3-methy!ca.rbonyl     Me      II   2,6-dimetbyl-4-      H
                                      aminophenyl                        hydroxy
149 Isopropyl           H             4-trifluoromethyl     .\rte   H    2,6-dimetbyl-4-      H
                                      phenyl                             hydroxy
150 lsopropyl           H             naphthalen-2-yl       Me      H    2.6-dimethyl-4-      H
                                                                         hydroxy
151 Isopropyl           H             2-trifluorometl1yl    Me      H    2,6-dimelhyl-4-      H
                                      phenyl                             hydroxy
152   Isopropyl         H             thiophen-3-yl         Me      H    4-hydroxy            H
153   Isopropyl         H             pyridin-3-yl          Me      H    4-hydroxy            H
154   Isopropyl         H             phenyl                Me      H    4-bydro~y            H
155   Isopropyl         H             2-chlorophenyl        Me      H    2,6-dimetbyl-4-      H
                                                                         bydro~y
156 Isopropyl           H             naphthalen-1-yl       Me      H    2,6-dimethyl-4-      H
                                                                         hydroxy
157 lsopropyl           benzyl        phenyl               H        H    3-cyano              H
158 Isopropyl           benzyl        phenyl               H        H    4-hydroxy            H
159 lsopropyl           benzyl        phenyl               ll       H    2,6-dimethyl-4-      H
                                                                         hydroxy
160 Isopropyl           isopropyl     phenyl                H       H    3-c·yano             H
161 Isopropyl           isopropyl     phenyl                H       H    4-hydroxy            H
162 Isopropyl           isopropyl     phenyl               H        H    2,6-dimethyl-4-      H
                                                                         hydroxy
163 lsopropyl           H             4-fiuorophenyl       Me       H    2,6-dimethyl-4-      H
                                                                         hydroxy
164 Isopropyl           H             3,5-bis-             Me       H    2,6-dimethyl-4-      H
                                      trifiuorometl1yl                   hydroxy
                                      phenyl
165 lsopropyl           H             2-methylphenyl       Me       H    2,6-dimethyl-4-      H
                                                                         hydroxy
166 Isopropyl           H             phenyl               Me       H    2,6-dimethyl-4-      H
                                                                         hydroxy
167 2-Dimelhylamino-    H             phenyl               H        H    2,6-dimethyl-4-      H
    l-methyl-eth-1-yl                                                    hydroxy
168 Methyl              isobutyl      phenyl               H        H    3-aminocarbonyl      H
169 Methyl              isobutyl      phenyl               H        H    3-cyano              H
170 Ethyl               isopropyl     phenyl               H        H    2,6-dimethyl-4-      1-l
                                                                         hydroxy
171 Methyl              isopropyl     phenyl               H        H    4-hydroxy            H
172 H                   3-amino       phenyl               H        H    2,6-dimethyl-4-      l!
                        carbonyl                                         hydroxy
                        phenyl
                        methyl




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                                                                                                                   VI B-PATOOOOOO 16
                                                   PTX-007, page 16 of 79

                                                           Appx14422
  Case: 24-1061                         Document: 17                         Page: 201            Filed: 12/28/2023




                                                      US 7,741,356 B2
                                23                                                                24
                                      TABLE I-continued
Cpd RI                 R2             R3-I             R-3-2   R'    R"I                  R"!Rb

173 H                  3-cyano        phenyl           H       H     2,6-dirnethyl-4-     H
                       phenyl                                        hydroxy
                       methyl
174 Methyl             isobutyl       phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
175 H                  benzyloxy      phenyl           H       H     2.6-dimethyl-4-      H
                       methyl                                        hydroxy
176 H                  isobutyl       phenyl           H       I!    2,6-dimethyl-4-      H
                                                                     hydroxy
177 H                  benzyl         phenyl           H       I!    2,6-dimethyl-4-      H
                                                                     hydroxy
178 Isopropyl          I!             phenyl           H       H     2,6-dimethyl-4-      H
                                                                     aminocarbonyl
179 Methyl             methyl         phenyl           H       H     2,6--dimethyl-4-     H
                                                                     morpholin-1-
                                                                     ylcarbooyl
181   Methyl           methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     ethyl
                                                                     aminocarbonyl
183 Methyl             methyl         phenyl           H       H     2.6-dimethyl-4-      H
                                                                     methyl
                                                                     aminocarbonyl
185 H                  isopropyl      phenyl           H       H     3-aminocarbonyl      H
186 H                  1sopropyi      phenyl           H       H     3-cyano              H
187 H                  isopropyl      phenyl           H       H     2,6-dimetbyl-4-      H
                                                                     hydroxy
188 H                  isopropy!      phenyl           H       H     4-hydroxy            H
189 Methyl             methyl         phenyl           H       H     4-aminosulfonyl      H
190 Cyclohexyl         H              phenyl           H       H     2.6-dimethyl-4-      H
                                                                     hydroxy
191 Cyclohexyl         H              phenyl           H       H     4-hydroxy            H
192 Cyclopropyl        I!             phenyl           H       H     2,6-dimethyl-4-      H
      methyl                                                         hydroxy
193 Cyclopropy I       H              phenyl           H       H     4-hydroxy            H
    methyi
194 Isopropyl          H              phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
195 Isopropyl          H              phenyl           H       I-l   4-hydroxy            H
196 Methyl             methyl         phenyl           H       H     2,6-dimethyl-4-      1-l
                                                                     aminocarbonyl
197 Ethyl              methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     arninocarbonyl
198 Methyl             1-l            phenyl           H       H     4-hydroxy            H
199 Methyl             H              phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
202 Methyl             methyl         phenyl           H       H     4-an1inocarbo ny I   H
204 Methyl             methyl         benzyl           H       H     4-hydroxy            1-l
205 Methyl             methyl         benzyl           H       H     2,6-dimethyl-4-      II
                                                                     hydroxy
207 Methyl             methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
2(!9 H                 methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
211   Methyl           methyl         phenyl           H       H     4-hydroxy            H
213   H                methyl         phenyl           H       1-l   4-hydroxy            I!
215   Ethyl            methyl         phenyl           H       H     4-bydroxy            H
216   Ethyl            methyl         phenyl           H       I-l   2,6-dimethyl-4-      H
                                                                     hydroxy
218 Benzyl             methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
219 Benzyl             methyl         phenyl           H       H     4-hydroxy            1-l
224 lsopropyl          methyl         phenyl           H       H     2,6-dimethyl-4-      H
                                                                     hydroxy
225 !sopropyl          methyl         phenyl           H       l-I   4-hydroxy            I-l
226 2-Carboxy-phenyl   methyl         phenyl           H       H     2.6-dimethyl-4-      H
    methyl                                                           aminocarbonyJ
227 3-Carboxy-phenyl   methyl         phenyl           H       H     2,6-dimethyl-4-      H
    methyl                                                           aminoca.rbonyl
229 2-Bromo-4,5-       methyl         phenyl           H       H     2.6-dimethyl-4-      H
    dimethoxy-                                                       arninocarbonyl
    phenylmethyl
230 2-Carbo>--y-4.5-   methyl         phenyl           H       I-l   2,6-dimethyl-4-      H
      dimethoxy-                                                     arninocarbonyl
      phenylmcU1yl
~31 3-Carboxy-4-       methyl         phenyl           H       ll    H                    II
      methoxy-phenyl
      methyl




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                                                                                                               VI B-PATOOOOOO 17
                                               PTX-007, page 17 of 79

                                                      Appx14423
       Case: 24-1061                            Document: 17                        Page: 202           Filed: 12/28/2023




                                                              US 7,741,356 B2
                                      25                                                                26
                                             TABLE I-continued
    Cpd R'                     R2            RJ--1             R'-2   Rs    R4l                Ra/Rb

    232 3-Carboxy-4-           methyl        phenyl            H      H     2,6-dimethyl       H
         methoxy-phenyl
         methyl
    233 3-Methoxycarl>onyl-    methyl        phenyl            H      H     2,6-dimethyl       H
         4-methoxy-
         pbenylmethyl
    234 3,4-Dimethoxy-         methyl        phenyl            H      H     2,6-dimethyl-4-    H
         pbenylmethyl                                                       imidazol-2-yl
    236 3 ,4-Dirnethoxy-       methyl        phenyl            H      H     2,6-dimethyl       H
         phenylmethyl
    237 3-Carboxy-4-           methyl        4-chloropheny     H      H     2,6-dimethyl-4-    H
         methoxy-pbenyl                                                     a1ninocarbonyl
         methyl
    238 3-Carboxy, 4-          methyl        4-fluorophenyl    H      ]-]   2,6-dimethyl-4-    H
         mothoxy-pbenyl                                                     arninocarbonyl
         methyl
    239 3-Carboxy-4-           methyl        4-chlorophenyl    Me     H     2,6-dimethyl-4-    H
         metboxy-phenyl                                                     aminocarbonyl
         methyl
    240 4--Carboxy-phenyl      methyl        4-chlorophenyl    Me     H     2,6-dimethyl-4-    H
         methyl                                                             runinocarbonyl
    241 3-Carboxy-4-           methyl        4-chlorophenyl    Cl     H     2,6-dimethyl-4-    H
         methoxy-pbenyl                                                     runinocarbonyl
         methyl
    242 3-(IH-tetrazol-5-      methyl        phenyl            H      ]-]   2,6-dimethyl-4-    H
         ylJ-phenylmethyl                                                   arninocarbonyl
    243 3-Carboxy-4-           methyl        phenyl            H      ]-]   2,6-dimethyl-4-    H
         trifluoromethoxy-                                                  aminocarbonyl
         phenylmethyl
    244 Bis-J,4-               methyl        phenyl            H      H     2,6-dimethyl-4-    H
         trifluoromethoxy-                                                  .1111inocarbonyl
         phenylmethyl
    245 3-Carboxy-phenyl       methyl        phenyl            H      H     2,6-dimethyl-4-    H
         methyl                                                             aminocarbonyl
    246 Quinolin-4-yl          methyl        phenyl            H      H     2,6-dimethyl-4-    H
         methyl                                                             hydroxy
    247 4-Methoxy              methyl        phenyl            H      H     2,6-dimethyl-4-    H
         naphthalen-1-yl                                                    hydroxy
         methyl
    248 4-Trifluoromethoxy-    methyl        phenyl            H      H     2,6-dimethyl-4-    H
         phenylmethyl                                                       hydroxy
    249 4-Trifluoromethyl-     methyl        phenyl            H      H     2,6-dimethyl-4-    H
         phenylmethyl                                                       hydroxy
    250 4-Jsopropyloxy-        methyl        phenyl            H      H     2,6-dimethyl-4-    H
         phenylmethyl                                                       hydroxy
    251 3-Ethoxyphenyl-        methyl        phenyl            H      H     2,6-dimethyl-4-    H
         methyl                                                             hydroxy
    252 5-Methoxycarbonyl-     methyl        phenyl            H      H     2,6-dimethyl-4-    H
         pyridin-2-ylmet.hyl                                                aminocarbonyl
    253 5-C:rrboxy-            methyl        phenyl            H      H     2,6-dimethyl-4-    H
         pyridin-2-ylmethyl                                                 aminocarbonyl
    254 6-Carboxy-             methyl        phenyl            H      H     2,6-dimethyl-4-    H
         pyridin-3-ylmethyl                                                 aminocarbonyl
    25.5 6-Methoxycarl>onyl-   methyl        phenyl            H      H     2,6-dimethyl-4-    H
         pyridin-3-ylmethyl                                                 aminocarbonyl
    256 5-Carboxy-             methyl        phenyl            H      H     2,6-dimethyl-4-    H
         furan-2-ylmethyl                                                   aminocarbonyl
    257 5-Methoxycarbonyl-     methyl        phenyl            H      H     2,6-dimethyl-4-    H
         furan-2-ylmethyl                                                   aminocarbonyt
    258 3,4-Dimethoxy-         hydroxy       phenyl            H      H     2,6-dimethyl-4-    H
         phenylmethyl          methyl                                       aminocarbonyl
    259 Benzyl                 hydroxy       phenyl            Il     H     2,6-dimethyl-4-    H
                               methyl                                       aminocarbonyl
    260 3-Carboxy-4-           methyl        phenyl            H      H     2,6-dimethyl-4-    H
        methoxy-phenyl                                                      hydroxy
        methyl
    261 3-Ouboxy-4-            methyl        phenyl            H      H     4-hydroxy          H
        methoxy-phenyl
        methyl
    262 3-Carboxy-4-           methyl        phenyl            H      H     4-hydroxy          H/Me
        methoxy-phenyl
        methyl
    263 3-Carboxy-4-           H             phenyl            H      H     4-hydroxy          H
        methoxy-phenyl
        methyl




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                                                                                                                     VI B-PATOOOOOO 18
                                                        PTX-007, page 18 of 79

                                                              Appx14424
       Case: 24-1061                              Document: 17                          Page: 203         Filed: 12/28/2023
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                                                                US 7,741,356 B2
                                        27                                                                28
                                               TABLE I-continued
     Cpd R'                     R2             R3-l              R'-2   Rs    R41                 R"!Rb

     264 3-Carboxy-4-           H              phenyl            H      H     4-hydroxy           H/Me
         methoxy-phenyl
         methyl
     265 3-Carboxy-4-           H              phenyl            H      H     2,6-dimethyl-4-     H
         methoxy-phenyl                                                       hydroxy
         methyl
     266 3-Methoxycarbonyl •    methyl         phenyl            H      H     H                   H
         4-methoxy-
         phenylmethyl
     267 3-(l H-tetrazol-5-     methyl         phenyl            H      H     4-aminocarbonyl     H
         yl)-phenylmethyl
     268 3-Methoxycarbonyl-     methyl         phenyl            H      H     2,6-dimethyl-4-     H
         4-methoxy-                                                           hydroxy
         phenylmethyl
     269 3-Methoxycarbonyl      methyl         phenyl            H      H     4-arninocarbonyl    H
     270 3-Carboxy              methyl         phenyl            H      H     4-aminocarbonyl     H
     271 3-Methoxycarbonyl      H              phenyl            H      H     2,6-dimethyl-4-     fl
                                                                              amlnocarbony1
     272 3-Carboxy              I-l            phenyl            H      I-l   2,6-dimethyl-4-     H
                                                                              aminocarbonyl
     274   3-Carboxy-4-         methyl         phenyl            H      H     4-benzyloxy         H/Me
           methoxy-
           phenylmethyl
     275   3-Carboxy-4-         methyl         phenyl            H      H     4-aminocarbonyl     H
           methoxy-
           phenylmethyl
     277   3-Carboxy-phenyl     methyl         4-chlorophenyl    Me     H     4-aminocarbonyl     H
     279   3-Methoxycarbonyl-   methyl         phenyl            H      H     4-hydroxy           H
           4-mel:hoxy-
           phenylrnethyl
     286   5-Metboxycarbonyl-   methyl         phenyl            H      H     2,6-dimethyl-4-     I-I
           furan-2-ylmethyl                                                   hydroxy
     287   5-Carboxy-furan-     methyl         phenyl            H      H     2,6-dimethyl-4-     H
           2-ylmethyl                                                         hydroxy
     288   3-Carboxy-4-         methyl         3-bromophenyl     H      H     2,6-dimethyl-4-     H
           methoxy-                                                           arninocarbonyl
           phenylmethy l
     289   3-Carboxy-4-         methyl         4-iodophenyl      H      H     2,6-dimet.liyl-4-   H
           methoxy-                                                           runinocarbo11yl
           phenylmethyl
     290   3-Carboxy-4-         methyl         2-bromophenyi     H      H     2,6-dimethyl-4-     H
           methoxy-                                                           aminocarbonyl
           phenylmethyl
     291   3-Carboxy-4-         methyl         4-bromophenyl     H      H     2,6-dimethyl-4-     H
           methoxy-                                                           arninocarbonyl
           phenylmethyl
     292   3-Carboxy-4-         methyl         phenyl            H      H     2 .6-dimet.liy l    H
           methoxy-
           phenylmethyl
     293   3-Carboxy-4-         methyl         4-chlorophenyl    met    H     4-bydroxy           H
           methoxy-                                              hyl
           phenylmcthyl
     295   3-Aminocarbonyl-     methyl         phenyl            H      H     2,6-dimethyl-4-     H
           4-methoxy                                                          an1inoca.rbonyl
           phenylmethyl
     296   3-(Morpholin-4-      methyl         phenyl            H      H     2,6-dimethyl-4-     H
           ylcs.rbonyl)-4-                                                    arninocarbonyl
           methoxy
           phenylmethyl
     297   -3-Aminocs.rbonyl-   methyl         phenyl            H      H     4-hydroxy           H
           4-mcthoxy-
           phenylrnethy l
     298   3-(Morpholin-4-      methyl         phenyl            H      H     4-hydroxy           H
           ylcarbonyl)-4-
           methoxy-
           pbenylmethyl
     299   3-(2-Hydroxy         methyl         phenyl            H      H     2,6-dimethyl-4-     H
           eth-1-yl-                                                          aminocarbonyl
           aminocarbonyl )-4-
           methoxy
         phenylmetl1yl
     300 3-(Cyclopropyl         methyl         phenyl            H      H     2,6-dimethyl-4-     H
         aminocarbonyl )-4-                                                   arninocarbonyl
         methoxy-
         pbenylmetbyl
     301 3-(Phenylamino         methyl         phenyl            H      H     2,6-dimethyl-4-     H
         cs.rbonyl)-4-                                                        aminocarbonyl




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                                                                                                                       VI B-PATOOOOOO 19
                                                         PTX-007, page 19 of 79

                                                                Appx14425
    Case: 24-1061                             Document: 17                       Page: 204             Filed: 12/28/2023




                                                            US 7,741,356 B2
                                     29                                                                30
                                            1ABLE I-continued
 Cpd Rl                       R?            R3-l             R3-2    R'   R41               R"IR"

        methoxy-
        phenylmethyl
 303    5-Methoxycarbonyl-    methyl        phenyl           H       H    4-aminocarbonyl   H
        furan-2-ylmethyl
 304    5-Carboxy-furan-      methyl        phenyl           H       H    4-aminocarhonyl   H
        2-ylmetbyl
 305    3-(Pbenylamino        methyl        phenyl           H       H    2,6-dimcthyl-4-   H
        carbonyl)-4-                                                      hydroxy
        methoxy-
        phenylmethyl
 306    3-(3-carboxyphenyl    methyl        phenyl           H       H    2,6-dimethyl-4-   H
        aminocarbonyl J-4-                                                hydroxy
        methoxy-
        phenylmetl1yl
 307    3-(lH-Tetrazol-5-     mell1yl       phenyl           H       H    2,6-dimethyl-4-   H
        yl )-4-methoxy-                                                   hydroxy
        phenyimethyl
 308    3-(4-Carboxypbenyl    methyl        phenyl           H       H    2,6-dimethyl-4-   H
        aminocarbonyl 1-4-                                                hydroxy
        melboxy-
        pheny!methy l
 309    3-(2-t-Butyl-         methyl        phenyl           H       H    2,6-dimethyl-4-   H
        tetrazol-5-yl)-4-                                                 aminocarbonyl
        methoxy-
        phenylmelhy!
 310    3-Methoxycarl,onyl-   methyl        phenyl           H       H    2,6-dimetbyl-4-   Me1hoxy
        4-methoxy-                                                        aminocarbonyl     carbonyl
        phenylmethyi
 3] 1   2-Methoxycarhonyl-    methyl        phenyl           H      H     2,6-dimethyl-4-   I!
        pyridin-4-ylmethyl                                                runinocarbouyl
 3] 2   4-Methoxycarbonyl-    methyl        phenyl           H      H     2,6-dimethyl-4-   H
        pyridin-2-ylmethyl                                                aminocarbonyl
 313    6-Methoxycarbonyl-    methyl        phenyl           H      H     2,6-dimethyl-4-   H
        pyridin-2-ylmethyl                                                arninocarbonyl
 315    3-Methoxycarhonyl-    methyl        phenyl           H      H     2,6-dimethyl-4-   Methoxy
        4-methoxy-                                                        ,uninocarbonyl    carbonyl
        phenylmcthyl
 3] 6   2-Carboxy-pyridin-    methyl        phenyl           II     I{    2.6-dimethyl-4-   H
        4-ylmeti,yl                                                       runinocarbonyl
 31 7   6-Carhoxy-pyridin-    methyl        phenyl           H      H     2,6-dimethyl-4-   H
        2-ylmethyl                                                        aminocarbonyl



                                                                          40
  Exemplified compounds of the present invention include
compounds of Formula (Ic):



                                                                          45




                                                           Formula (le)
                                                                          50




                                                                          55




                                                                          6U




wherein in one embodiment of this invention the variables are
as previously defined. In another embodiment of the present 65
invention Lis OandR 1 , R 2 , R3 - 1 , R3 - 2 , R 5 , Ra, Rh,andR41 are
dependently selected from the group consisting of:



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                                                                                                                    VI B-PAT00000020
                                                     PTX-007, page 20 of 79

                                                             Appx14426
  Case: 24-1061                              Document: 17                              Page: 205   Filed: 12/28/2023




                                                             us 7,741,356 B2
                                31                                                                 32
                                      TABLEll
Cpd R'                   R2          R.3-1            R3-2   R'    R4'                  Ra/Rb

 22   3,4-Dimetl.Joxy-   benzyioxy phenyl             ]-]    H     2,6-dimethy!-4-       H
      phenylmethyl       methyl                                    hydro>.-y
 63 Isopropyl            hydroxy   phenyl             H      ]-]   2,6-dimetl,yl-4-      1-l
                         methyl                                    hydroxy
 82 Isopropy!            me1J1yl   4-fluorophenyl     1-l     H    2,6-dimethyl-4-       H
                                                                   hydroxy
l lU 2-Phenyletliyl      metl1yl     phenyl           H      I-I   2,6-dimethyl-4-       H
                                                                   aminocarbonyl
113 Benzyl               methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   aminocarbonyl
128 Cyclohexyl           methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   arninocarbonyl
144 Methyl               methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   aminocarbonyl
180 Methyl               methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   (morpholin-4-
                                                                   ylcarbonyl)
182 Methyl               methyl      phenyl           H      H     2,6-dirnetl1yl-4-     H
                                                                   ethylamino
                                                                   carbonyl
184 Methyl               methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   methylarnino
                                                                   carbonyl
203 Metl1yl              metl1yl     phenyl           ll      H    4-aminocarbonyl       H
206 Methyl               methyl      phenyl           H       H    2,6-dimethyl-4-       II
                                                                   hydroxy
20~ H                    methyl      phenyl           1-l    H     2,6-dimethyl-4-       H
                                                                   hydroxy
210   Methyl             methyl      phenyl           H      1-l   4-hydroxy             !-]

212   1-l                methyl      phenyl           H      1-l   4-hydroxy             1-l
214   Ethyl              methyl      phenyl           1-l    H     4-hydroxy             H
217   Ethyl              methyl      phenyl           H      H     2,6-dimethyl-4-       H
                                                                   hydroxy
220 Benzyl               methyl      phenyl           H      1-l   2,6-dimethyl-4-       H
                                                                   hydroxy
221 Benzyl               methyl      phenyl           1-l    1-l   4-hydroxy             1-l
222 lsopropyl            methyl      phenyl           1-l    1-l   4-hydroxy             1-l
2~3 Isopropyl            methyl      phenyl           H      1-l   2,6-dimethyl-4-       1-l
                                                                   hydroxy
228 3-Carboxy-phenyl     methyl      4-chlorophenyl   Me      H    2,6-dimethyl-4-       H
    methyl                                                         aminocasbonyl
276 3-Carboxy-phenyl     methyl      4-chlorophenyl   Me     1-l   4-aminocarbonyl       H
278 3-Carboxy-4-         metliyl     4-chlorophenyl   Me     1-l   2,6-Jimethyl-4-       1-l
      methoxy-                                                     aminoca.rbonyl
    phenylmethyl
28U 3-Methoxyca.rbonyl- methyl       phenyl           H       H    2,6-dimethyl-4-       1-l
    4-methoxy-                                                     aminocarbonyl
    phenylmethyl
281 3-Methoxycarbonyl- methyl        phenyl           II     H     4-aminoca.rbonyl      1-l
    4-methoxy-
    phenylmethyl
282 3-Carboxy-4-         methyl      phenyl           I!      H    2,6-dimethyl-4-       H
    methoxy-                                                       aminocarbonyl
    phenylmetl1yl
283 3-Carboxy-4-         metl.Jyl    phenyl           1-l    1-l   4-an1i11ocarbonyl     1-l
    methoxy-
    phenylmethyl
294 3-Carboxy-4-         methyl      4-chlorophenyl   Me      H    4-hydroxy             I-l
    methoxy-
    phenylmethyl
314 6-Methoxycarbonyl-   methyl      phenyl           1-l    H     2,6-dimethyl-4-       H
    pyridin-2-ylmethyl                                             aminocarbonyl
318 3-Carboxy-4-         methyl      4-chlorophenyl   H      H     4-runinocarbonyl      1-l
    methoxy-
    phenylmethyl




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                                                                                                                VI B-PAT00000021
                                                  PTX-007, page 21 of 79

                                                             Appx14427
      Case: 24-1061                   Document: 17                              Page: 206                     Filed: 12/28/2023




                                                         US 7,741,356 B2
                              33                                                                               34
   Another embodiment is directed to compositions com-
prised ofa compound of Formula (Id):
                                                                                                                                         Formula (le)


                                                        Fonnula (Id)   5




                                                                       10




                                                                            wherein in one embodiment of this invention the variables are
                                                                       15   as previously defined. In another embodiment of the present
                                                                            invention Lis O and R 1, R2 , R3 • 1, R3 - 2 , R5, Ra, Rb, and R.41 are
wherein in one embodiment of this invention the variables are
                                                                            dependently selected from the group consisting of:
as previously defined. ln another embodiment of the present
invention Lis oxygen and R 1, R2 , R 3 - 1 , R3 - 2 , R5 , Ra, Rb, and            TABLE IV
R41 are dependently selected from the group consisting of: 20 - - - - - - - - - - - - - - - -
                                                                                                              R.,_,    R.l-2   Rs R-11
                                                                             Cpd R 1               R2                                          R"!Rb

                       TABLEilI                                              284 3-Methoxy-        methyl     phenyl    H      H 4-amino-       H
                                                                                 carbonyl-                                       carbonyl
Cpd   Rl          R2        R3-1     R3--2   Rs   R41         Ra/Rb              4-methoxy-
                                                                                 phenylmethyl
273               methyl    phenyl    H      H    4-amino-     H       25
                                                                             285 3-Ca.rboxy-4-     methyl     phenyl    H      H 4-amino-       H
                                                  casbonyl                       methoxy-                                        carbonyl
      metJ1yl
                                                                                 phenylmethyl


  Exemplified compounds of the present invention include                      A further embodiment of the present invention includes
compounds of Formula (Ie ):                                                 representative compounds shown in Table V:


                                                                                                  TABLEY
                                                               Cpd

                                                                4




                                                                                                        NH2


                                                                                0




                                                                                0




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                                                                                                                                            VI B-PAT00000022
                                                  PTX-007, page 22 of 79

                                                             Appx14428
Case: 24-1061               Document: 17                   Page: 207                Filed: 12/28/2023




                                          US 7,741,356 B2
                   35                                                               36
                TABLE V -continued
Cpd




            0

12




            0

18




      H2N


            0

20




            0




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                                                                                                 VI B-PAT00000023
                                  PTX-007, page 23 of 79

                                          Appx14429
   Case: 24-1061                      Document: 17                     Page: 208                Filed: 12/28/2023




                                                     US 7,741,356 B2
                             37                                                                  38
                          TABLE V-continned
   Cpd

    75




                0

   227




                0




   TI1e compounds of the present invention may also be             the selection and preparation of suitable prodrug derivatives
present in the form of pharmaceutically acceptable salts. For      are described, for example, in "Design of Prodn.gs", ed. H.
use in medicine, the salts of the compounds of this invention      Bundgaard, Elsevier, 1985.
                                                                40
refer to non-toxic "pharmaceutically acceptable salts" (Ref           Where the compounds according to this invention have at
International J Phann., 1986, 33, 201-217; J Phann. Sci.,          least one chiral center, they may accordingly exist as enanti-
1997 (January), 66, l, l ). Other salts may, however, be useful    omers. Where the compounds possess two or more chiral
in the preparation of compounds according to this invention        centers, they may additionally exist as diastereomers. Where
or of their pharmaceutically acceptable salts. Representative 45 the processes for the preparation of the compounds according
organic or inorganic acids include, but are not limited to,        to the invention give rise to mixtures of stereoisomers, these
hydrochloric, hydrobromic, hydriodic, perchloric, sulfuric,        isomers may be separated by conventional techniques such as
nitric, phosphoric, acetic, propionic, glycolic, lactic, suc-      preparative chromatography. The compounds may be pre-
cinic, maleic, fumaric, malic, tartaric, citric, benzoic, man-     pared in racemic form or as individual enantiomers or dias-
delic, methanesulfonic, hydroxyethanesulfonic, benzene- 50 teromers by either stereospecific synthesis or by resolution.
sulfonic,      oxalic,     pamoic,      2-naphthalenesulfonic,     The compounds may, for example, be resolved into their
p-toluenesulfonic, cyclohexanesulfamic, salicylic, saccha-         component enantiomers or diasteromers by standard tech-
rinic or trifluoroacetic acid. Representative organic or inor-     niques, such as the formation of stereoisomeric pairs by salt
ganic bases include, but are not limited to, basic or cationic     formation with an optically active aci4 such as (-)-di-p-
salts such as benzathine, chloroprocaine, choline, diethano- 55 toluoyl-D-tartaric acid and/or (+)-di-p-toluoyl-L-tartaric acid
!amine, ethylenediamine, meglumine, procaine, aluminum,            followed by fractional crystallization and regeneration of the
calcium, lithium, magnesium, potassium, sodium and zinc.           free base. The compounds may also be resolved by formation
   The present invention includes within its scope prodrugs of     of stereoisomeric esters or amides, followed by chromato-
the compounds of this invention. In general, such prodrugs         graphic separation and removal of the chiral auxiliary. Alter-
will be functional derivatives of the compounds which are 60 natively, the compounds may be resolved using a chiral
readily convertible in vivo into the required compound. Thus,      HPLC column. It is to be understood that all stereoisomers,
in the methods of treatment of the present invention, the term     racemic mixtures, diastereomers and enantiomers thereof are
"administering" shall encompass the treatment of the various       encompassed within the scope of the present invention.
disorders described with the compound spt->eifically disclosed        During any of the processes for preparation of the com-
or with a compound which may not be specifically disclosed, 65 pounds of the present invention, it may be necessary and/or
but which converts to the specified compound in vivo after         desirable to protect sensitive or reactive groups on any of the
administration to the subject. Conventional procedures for         molecules concerned. This may be achieved by means of



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                                                                                                                          VI B-PAT00000024
                                             PTX-007, page 24 of 79

                                                     Appx14430
    Case: 24-1061                       Document: 17                     Page: 209                  Filed: 12/28/2023




                                                       US 7,741,356 B2
                              39                                                                    40
conventional protecting groups, such as those described in            oxygen or sulfur; wherein, optionally, the ring contains zero
Protective Groups in Organic Chemistrv. ed. J. F. W.                  to one unsaturated bonds, and, optionally, when the ring is of
McOmie, Plenum Press, 1973; and T. W. 6reene & P. G. M.               6 or 7 members, it contains up to two unsaturated bonds. The
Wuts, Protective Groups in Organic Synthesis, John Wiley &            tem1 "heterocyclyl" includes a 5 to 7 membered monocyclic
Sons, 1991. Ibe protecting groups may be removed at a                 heterocyclic ring fused to a benzene ring (benzo fused het-
convenient subsequent stage using methods known in the art.           erocyclyl), a 5 or 6 memberedheteroaryl ring (containing one
    Furthermore, some of the crystalline forms for the com-           of 0, Sor N and, optionally, one additional nitrogen), a 5 to 7
pounds may exist as polymorphs and as such are intended to            membered cycloalkyl or cycloalkenyl ring, a 5 to 7 membered
be included in the present invention. In addition, some of the        heterocyclyl ring (of the same definition as above but absent
compounds may form solvates with water (i.e., hydrates) or 10 the option of a further fused ring) or fused with the carbon of
common organic solvents, and such solvates are also intended          attachment of a cycloalkyl, cycloalkenyl or heterocyclyl ring
to be encompassed within the scope of this invemion.                  to form a spiro moiety. For instant compounds of the inven-
    In general. under standard nomenclature mies used                 tion, the carbon atom ring members that fom1 the heterocyclyl
throughout this disclosure, the terminal portion of the desig-        ring are fully saturated. Other compounds of the invention
nated side chain is described first followed by the adjacent 15 may have a partially saturated heterocyclyl ring. The tem1
functionality toward the point of attachment. Thus, for               "heterocyclyl" also includes a 5 to 7 membered monocyclic
example, a "phenylC 1 -C 6 alkylamidoC 1 -C 6 alkyl" substituent      heterocycle bridged to form bicyclic rings. Such compounds
refers to a group of the formula:                                     are not considered to be fully aromatic and are not referred to
                                                                      as heteroaryl compounds. Examples ofheterocyclyl groups
                                                                   20 include, and are not limited to, pyrrolinyl (including 2H-pyr-
                                                                      role, 2-pyrrolinyl or 3-pyrrolinyl), pyrrolidinyl, 2-imidazoli-
                                                                      nyl, imidazolidinyl, 2-pyrazolinyl, pyrazolidinyl, piperidinyl,
                                                                      morpholinyl, thiomorpholinyl and piperazinyl.
                                                                         The term "aryl" refers to an unsaturated, aromatic mono-
                                                                   25 cyclic ring of 6 carbon members or to an unsaturated, aro-
                                                                      matic polycyclic ring of from 10 to 14 carbon members.
    It is intended that the definition of any substituent or vari-    Examples of such aryl rings include, and are not limited to,
able at a particular location in a molecule be independent of         phenyl, naphthalenyl or anthracenyl. Preferred aryl groups
its definitions elsewhere in that molecule. It is understood that     for the practice of this invention are phenyl and naphthalenyl.
substituents and substitution patterns on the compounds of 30            The term "heteroaryl" refers to an aromatic ring of 5 or 6
this invention can be selected by one of ordinary skill in the art    members wherein the ring consists of carbon atoms and has at
to provide compounds that are chemically stable and that can          least one heteroatom member. Suitable heteroatoms include
be readily synthesized by techniques known in the art as well         nitrogen, oxygen or sulfyr.jn the case of 5 membered rings,
as those methods set forth herein.                                    the heteroaryl ring contains one member of nitrogen, oxygen
   An "independently" selected substituent refers to a group 35 or sulfur and, in addition, may contain up to three additional
of substituents, wherein the substituents may be different.           nitrogens. In the case of 6 membered rings, the heteroary1ring
Therefore, designated numbers of carbon atoms (e.g. C 1 _8 )          may contain from one to three nitrogen atoms. For the case
shall refer independently to the number of carbon atoms in an         wherein the 6 membered ring has three nitrogens, at most two
alkyl or cycloalkyl moiety or to the alkyl portion of a larger        nitrogen atoms are adjacent. Optionally, the heteroaryl ring is
substituent in which alkyl appears as its prefix root.             40 fused to a benzene ring (benzo fused heteroaryl), a 5 or 6
   As used herein, unless otherwise noted, "alkyl" whether            membered heteroaryl ring (containing one of 0, Sor N and,
used alone or as part of a substituent group refers to straight       optionally, one additional nitrogen), a 5 to 7 membered
and branched carbon chains having 1 to 8 carbon atoms or any          cycloalkyl ring or a 5 to 7 membered heterocyclo ring (as
number within this range. The term "alkoxy" refers to an              defined supra but absent the option of a further fused ring).
~-Oalky'l substituent group, wherein alkyl is as defined supra. 45 Examples ofheteroaryl groups include, and are not limited to,
Similarly, the terms "alkenyl" and "alkynyl" refer to straight        fury], thienyl, pyrrolyl, oxazolyl, thiazolyl, imidazolyl, pyra-
and branched carbon chains having 2 to 8 carbon atoms or any          zolyl, isoxazolyl. isothiazolyl, oxadiazolyl, triazolyl, thiadia-
number within this rnnge, wherein an alkenyl chain has at             zolyl, pyridinyl, pyridazinyl, pyrimidinyl or pyrazinyl: fused
least one double bond in the chain and an alkynyl chain has at        heteroaryl groups include indolyl, isoindolyl, indolinyl, ben-
least one triple bond in the chain. A.n alkyl and alkoxy chain so zofuryl, benzothienyl, indazolyl, benzimidazolyl, benzthiaz-
may be substituted on a carbon atom. In substituent groups            olyl, benzoxazolyl, benzisoxazolyl, benzothiadiazolyl, ben-
with multiple alkyl groups such as (C 1 _6 alkyl)iamino- the          zotriazolyl, quinolizinyl, quinolinyl, isoquinolinyl or
C 1 _6 alkyl groups of the dialkylamino may be the same or            quinazolinyl.
different.                                                               111eterm "arylalkyl" means analky'I group substituted with
    The term "cycloalkyl" refers to saturated or partially unsat- 55 an aryl group (e.g., benzyl, phenethyl). Similarly, the term
urated, moncyclic or polycyclic hydrocarbon rings of from 3           "arylalkoxy" indicates an alkoxy group substituted with an
to 14 carbon atom members. Examples of such rings include,            aryl group (e.g., benzyloxy).
and are not limited to cyclopropyl, cyclobutyl, cyclopentyl,             The tem1 "halogen" refers to fluorine, chlorine, bromine
cyclohexyl, cycloheptyl and adamantyl. Alternatively, the             and iodine. Substituents that are substituted with multiple
cycloalkyl ring may be fused to a benzene ring (benzo fused 60 halogens are substituted in a manner that provides com-
cycloalkyl), a 5 or 6 membered heteroaryl ring (containing            pounds, which are stable.
one of 0, Sor N and, optionally, one additional nitrogen) to             Whenever the term "alkyl" or "aryl" oreitheroftheirprefix
form a heteroaryl fused cycloalkyl.                                   roots appear in a name of a substituent (e.g., arylalkyl, alky-
    The tenn "heterocyclyl" refers to a nonaromatic cyclic ring       lamino) it shall be interpreted as including those limitations
of 5 to 7 members in which 1 to 2 members are nitrogen, or a 65 given above for "alk.y'I" and "aryl." Designated numbers of
nonaromatic cyclic ring of 5 to 7 members in which zero, one          carbon atoms (e.g., C 1 -C 6 ) shall refer independently to the
or two members are nitrogen and up to two members are                 number of carbon atoms in an alkyl moiety or to the alkyl



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                                                                                                                              VI B-PAT00000025
                                               PTX-007, page 25 of 79

                                                       Appx14431
     Case: 24-1061                           Document: 17                          Page: 210                     Filed: 12/28/2023




                                                             US 7,741,356 B2
                                  41                                                                             42
portion of a larger substituent in which alkyl appears as its                          tions of some of these pharmaceutically acceptable carriers
prefix root. For alkyl, and alkoxy substituents the designated                         may be found in The Handbook of Pharmaceutical Excipi-
number of carbon atoms includes all of the independent mem-                            ents, published by the American Pharmaceutical Association
ber included in the range specified individually and all the                           and the Pharmaceutical Society of Great Britain.
combination of ranges within in the range specified. For                                  Methods of formulating pharmaceutical compositions
example C 1 _6 alkyl would include methyl, ethyl, propyl,                              have been described in numerous publications such as Phar-
butyl, pentyl and hexyl individually as well as sub-combina-                           maceutical Dosage Fonns: Tablets, Second Edition, Revised
tions thereof(e.g. C 1_2 , C 1_3 , C 1_4 , C 1 _5 , C 2 _6 , C 3 _6 , C4 _6 , C 5 _6 , and Expanded, Volumes 1-3, edited by Lieberman et al: Phar-
C2 _5 , etc.).                                                                         maceutical Dosage Forms: Parenteral Medications, Volumes
   The tenn "therapeutically effective amount" as used iO 1-2, edited by Avis et al; and Pharmaceutical Dosage Rmns:
herein, means that amount of active compound or pharma-                                Disperse Systems, Volumes 1-2, edited by Lieberman et al;
ceutical agent that elicits the biological or medicinal response                       published by Marcel Dekker, Inc.
in a tissue system, animal or human that is being sought by a                             In preparing a pharmaceutical composition of the present
researcher, veterinarian, medical doctor or other clinician,                           invention in liquid dosage form for oral, topical and
which includes alleviation of the symptoms of the disease or 15 parenteral administration, any of the usual phamiaceutical
disorder being treated.                                                                media or excipients may be employed. Thus, for liquid dos-
   The novel compounds of the present invention are useful                             age forms, such as suspensions (i.e. colloids, emulsions and
opioid receptor modulators. In particular, certain compounds                           dispersions) and solutions, suitable carriers and additives
are opioid receptor agonists useful in the treatment or ame-                           include, but are not limited to, pharmaceutically acceptable
lioration of conditions such as pain and gastrointestinal dis- 20 welting agents, dispersants, flocculation agents, thickeners,
orders. Examples of pain intended to be within the scope of                            pH control agents (i.e. buffers), osmotic agents, coloring
the present invention include, but are not limited to, centrally                       agents, flavors, fragrances, preservatives (i.e. to control
mediated pain, peripherally mediated pain, structural or soft                          microbial growth, etc.) and a liquid vehicle may be employed.
tissue injury related pain, pain related to inflammation, pro-                         Not all of the components listed above will be required for
gressive disease related pain, neuropathlc pain and acute pain 25 each liquid dosage fonn.
such as caused by acute injury, trauma or surgery and chronic                             In solid oral preparations such as, for example, dry pow-
pain such as caused by neuropathic pain conditions, diabetic                           ders for n .>constitution or inhalation, granules, capsules,
peripheral neuropathy, post-herpetic neuralgia, trigeminal                             caplets, gelcaps, pills and tablets (each including immediate
neuralgia, post-stroke pain syndromes or cluster or migraine                           release, timed release and sustained release formulations),
headaches. Examples of gastrointestinal disorders intended 30 suitable carriers and additives include but are not limited to
to be within the scope of this invention include, but are not                          diluents, granulating agents, lubricants, binders, glidants, dis-
limited to, diarrheic syndromes, motility disorders such as                            integrating agents and the like. Because of their ease of
diarrhea-predominant, or alternating irritable bowel syn-                              administration, tablets l;JJ.ld capsules represent the most
drome, and visceral pain and diarrhea associated with inflam-                          advantageous oral dosage unit fonn, in vvfach case solid phar-
matory bowel disease including ulcerative colitis and Crohn' s 35 maceutical carriers are obviously employed. If desired, tab-
disease.                                                                               lets may be sugar coated, gelatin coated, film coated or enteric
   Examples of gastrointestinal disorders where opioid recep-                          coated by standard techniques.
tor ("OR") antagonists are useful include constipation-pre-                               The phannaceutical compositions herein will contain, per
dominant irritable bowel syndrome, post-operative ileus and                            dosage unit, e.g., tablet, capsule, powder, injection, teaspoon-
constipation, including but not limited to the constipation 40 ful and the like, an amount of the active ingredient necessary
associated with treatment of chronic pain with opiates. Modu-                          to deliver an effective dose as described above. The pham1a-
lation of more than one opioid receptor subtype is also useful                         ceutical compositions herein will contain, per unit dosage
as follows: a compound that is a mixed mu OR agonist and                               unit, e.g., tablet, capsule, powder, injection, suppository, tea-
delta OR antagonist could have anti diarrheal properties with-                         spoonful and the like, of from about O.Dl mg/kg to about 300
out being profoundly constipating. A compound that is a 45 mg/kg (preferably from about O.Dl mg/kg to about 100
mixed mu OR agonist and delta OR agonist are useful in cases                           mg/kg; and, more preferably, from about 0.01 mg/kg to about
of severe diarrhea that are refractory to treatment with pure                          30 mg/kg) and may be given at a dosage offrom about 0.01
mu OR agonists, or has additional utility in treating visceral                         mg/kg/day to about 300 mg/kg/day (preferably from about
pain associated with inflan1mation and diarrhea.                                       O.Dl mg/kg/day to about JOO mg/kg/day and more preferably
   Accordingly, a compound of the present invention may be 50 from about 0.01 mg/kg/day to about 30 mg/kg/day). Prefer-
administered by any conventional route of administration                               ably, the method for the treatment of conditions that may be
including, but not limited to oral, nasal, pulmonary, sublin-                          mediated by opioid receptors described in the present inven-
gual, ocular, transdermal, rectal, vaginal and parenteral (i.e.                        tion using any of the compounds as defined herein, the dosage
subcutaneous, intramuscular, intradennal, intravenous etc.).                           form will contain a pharmaceutically acceptable carrier con-
It is currently preferred that the compounds of the present 55 taining between from about 0.01 mg to about JOO mg; and,
invention be administered via modes of administration other                            more preferably, from about 5 mg to about 50 mg of the
than pulmonary or parenteral administration. However, the                              compound, and may be constituted into any form suitable for
preferred compounds provided in 1able IV may be adminis-                               the mode of administration selected. The dosages, however,
tered via pulmonary or parenteral modes of administration.                             may be varied depending upon the requirement of the sub-
   To prepare the pharmaceutical compositions of this inven- 60 jects, the severity of the condition being treated and the com-
tion, one or more compounds of Formula (I) or salt thereof as                          pound being employed. The nse of either daily administration
the active ingredient, is intimately admixed with a pharma-                            or post-periodic dosing may be employed.
ceutical carrier according to conventional phamiaceutical                                 Preferably these compositions are in unit dosage forms
compounding techniques, which carrier may take a wide vari-                            from such as tablets, pills, capsules, dry powders for recon-
ety of forms depending of the form of preparation desired for 65 stitution or inhalation, granules, lozenges, sterile solutions or
administration (e.g. oral or parenteral). Suitable pharmaceu-                          suspensions, metered aerosol or liquid sprays, drops, or sup-
tically acceptable carriers are well known in the art. Descrip-                        positories for administration by oral, intranasal, sublingual,



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                                                                                                                                               VI B-PAT00000026
                                                     PTX-007, page 26 of 79

                                                               Appx14432
    Case: 24-1061                       Document: 17                      Page: 211                 Filed: 12/28/2023




                                                       US 7,741,356 B2
                               43                                                                   44
 intraocular, transdermal, rectal, vaginal, dry powder inhaler        ingredient of the present invention. The tablets or pills con-
 or other inhalation or insufllation means.                           taining the novel compositions may also be formulated in
    For preparing solid pharmaceutical compositions such as           multilayer tablets or pills to provide a sustained or provide
 tablets, the principal active ingredient is mixed with a phar-       dual-release products. For example, a dual release tablet or
 maceutical carrier, e.g. conventional tableting ingredients          pill can comprise an inner dosage and an outer dosage com-
 such as diluents, binders, adhesives, disintegrants, lubricants,     ponent, the latter being in the fom1 of an envelope over the
 antiadherents and gildants. Suitable diluents include, but are       former. 111e two components can be separated by an enteric
 not limited to, starch (i.e. com, wheat, or potato starch, which     layer, which serves to resist disintegration in the stomach and
 may be hydrolized), lactose (granulated, spray dried or anhy-        permits the inner component to pass intact into the duodenum
 drous), sucrose, sucrose-based diluents (confectioner's 10 or to be delayed in release. A variety of materials can be used
 sugar; sucrose plus about 7 to 10 weight percent invert sugar;       for such enteric layers or coatings, such materials including a
 sucrose plus about 3 weight percent modified dextrins;               number of polymeric materials such as shellac, cellulose
 sucrose plus invert sugar, about 4 weight percent invert sugar,      acetate (i.e. cellulose acetate phthalate, cellulose acetate tri-
about 0.1 to 0.2 weight percent cornstarch and magnesium              metllitate), polyvinyl acetate phthalate, hydroxypropyl meth-
 stearate), dextrose, inositol, mannitol, sorbitol, microcrystal- 15 ylcellulose phthalate, hydroxypropyl methylcellulose acetate
 line cellulose (i.e. AYICELTM microcrystalline cellulose             succinate, methacrylate and ethylacrylate copolymers, meth-
 available from FMC Corp.), dicalcium phosphate, calcium              acrylate and methyl methacrylate copolymers and the like.
sulfate dihydrate, calcium lactate trihydrate and the like. Suit-     Sustained release tablets may also be made by film coating or
able binders and adhesives include, but are not limited to            ,vet granulation using slightly soluble or insoluble substances
acacia gum, guar gum, tragacanth gum, sucrose, gelatin, glu- 20 in solution (which for a wet granulation acts as the binding
cose, starch, and cellulosics (i.e. methylcellulose, sodium           agents) or low melting solids a molten fonn (which in a wet
carboxymethylcellulose, ethylcellulose, hydroxypropylm-               granulation may incorporate,the active ingredient). These
ethylcellulose, hydroxypropylcellulose, and the like), water          materials include natural and synthetic polymers waxes,
soluble or dispersible binders (i.e. alginic acid and salts           hydrogenated oils, fatty acids and alcohols (i.e. beeswax,
thereof~ magnesium aluminum silicate, hydroxyethylcellu- 25 carnauba wax, cetyl alcohoL cetylstearyl alcohol, and the
lose [i.e. TYLOSETM available from Hoechst Celanese],                 like), esters of fatty acids metallic soaps, and other acceptable
polyethylene glycol, polysaccharide acids, bentonites, poly-          materials that can be used to granulate, coat, entrap or other-
vinylpyrrolidone, polymethacrylates and pregelatinized                wise limit the solubility of an active ingredient to achieve a
starch) and the like. Suitable disintegrants include, but are not     prolonged or sustained release product.
limited to, starches (com, potato, etc.), sodium starch glyco- 30        The liquid fonns in which the novel compositions of the
!ates, pregelatinized starches, clays (magnesium aluminum             present invention may be incorporated for administration
silicate), celluloses (such as crosslinked sodium carboxym-           orally or by injection include, but are not limited to aqueous
ethylcellulose and microcrystalline cellulose), alginates,            solutions, suitably flavoce<lsyrups, aqueous or oil suspen-
pregelatinized starches (i.e. com starch, etc.), gums (i.e. agar,     sions, and flavored emulsions with edible oils such as cotton-
guar, locust bean, karaya, pectin, and tragacanth gum), cross- 35 seedoiL sesame oil, coconut oil or peanut oil, as well as elixirs
linked polyvinylpyrrolidone and the like. Suitable lubricants        and similar pharmaceutical vehicles. Suitable suspending
and antiadherents include, but are not limited to, stearates         agents for aqueous suspensions, include synthetic and natural
(magnesium, calcium and sodium), stearic acid, talc waxes,           gums such as, acacia, agar, alginate (i.e. propylene alginate,
stearowet, boric acid, sodium chloride, DL-leucine, carbo-            sodium alginate and the like), guar, karaya, locust bean, pec-
wax 4000, carbowax 6000, sodium oleate, sodium benzoate, 40 tin, tragacanth, and xanthan gum, cellulosics such as sodium
sodium acetate, sodium lauryl sulfate, magnesium lauryl sul-         carboxymethylcellulose, methylcellulose, hydroxymethyl-
fate and the like. Suitable gildants include, but are not limited    cellulose, hydroxyethylcellulose, hydroxypropyl cellulose
to, talc, cornstarch, silica (i.e. CAB-O-SIL™ silica available       and hydroxypropyl methylcellulose, and combinations
from Cabot, SYLOID™ silica available from W. R. Grace/               thereot~ synthetic polymers such as polyvinyl pyrrolidone,
Davison, andAEROSIL™ silica available from Degussa) and 45 carbomer (i.e. carboxypolymethylene), and polyethylene
the like. Sweeteners and flavorants may be added to chewable         glycol; clays such as bentonite, hectorite, at!apulgite or sepio-
solid dosage forms to improve the palatability of the oral           lite; and other pharmaceutically acceptable suspending
dosage fom1. Additionally, colorants and coatings may be             agents such as lecithin, gelatin or the like. Suitable surfactants
added or applied to the solid dosage form for ease of identi-        include but are not limited to sodium docusate, sodium lauryl
fication of the drug or for aesthetic purposes. These carriers 50 sulfate, polysorbate, octoxynol-9. nonoxynol-10, polysor-
are formulated with the pharmaceutical active to provide an          bate 20, polysorbate 40, polysorbate 60, polysorbate 80, poly-
accurate, appropriate dose of the phannaceutical active with         oxamer 188, polyoxamer235 and combinations thereof. Suit-
a therapeutic release profile.                                       able deflocculating or dispersing agent include
    Generally these carriers are mixed with the pharmaceutical       pharmaceutical grade lecithins. Suitable flocculating agent
active to fonn a solid preformulation composition containing 55 include but are not limited to simple neutral electrolytes (i.e.
a homogeneous mixture of the pharmaceutical active of the            sodium chloride, potassium, chloride, and the like), highly
present invention, or a phannaceutically acceptable salt             charged insoluble polymers and polyelectrolyte species,
thereof. Generally the preformulation will be formed by one          water soluble divalent or trivalent ions (i.e. calcium salts,
of three common methods: (a) wet granulation, (b) dry granu-         alums or sulfates, citrates and phosphates (which can be used
lation and (c) dry blending. When referring to these prefor- 60 jointly in fonnulations as pH buffers and flocculating agents).
mulation compositions as homogeneous, it is meant that the           Suitable preservatives include but are not limited to parabens
active ingredient is dispersed evenly thronghout the compo-          (i.e. methyl, ethyl, n-propyl and n-butyl), sorbic acid, thime-
sition so that the composition may be readily subdivided into        rosal, quaternary ammonium salts, benzyl alcohol, benzoic
equally effective dosage forms such as tablets, pills and cap-       acid, chlorhexidine gluconate, phenylethanol and the like.
sules. This solid prefommlation composition is then subdi- 65 There are many liquid vehicles that may be used in liquid
vided into unit dosage forms of the type describt.->d above          phamrnceutical dosage fonns, however, the liquid vehicle
containing from about 0.1 mg to about 500 mg of the active           that is used in a particular dosage form must be compatible



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                                                                                                                               VI B-PAT00000027
                                               PTX-007, page 27 of 79

                                                        Appx14433
    Case: 24-1061                       Document: 17                      Page: 212                 Filed: 12/28/2023




                                                         US 7,741,356 B2
                               45                                                                   46
 with the suspending agent(s). For example, nonpolar liquid               Abbreviations used in the instant specification, particularly
 vehicles such as fatty esters and oils liquid vehicles are best       the Schemes and Examples, are as follows:
 used with suspending agents such as low HLB (Hydrophile-              BO(>cctert-butoxycarbonyl
 Lipophile Balance) surfactants, stearalkonium ht.,>ctorite,           BuLi=n-butyllithiurn
 water insoluble resins, water insoluble film forming polymers
                                                                       CBZ=benzyloxycarbonyl
 and the like. Conversely, polar liquids such as water, alcohols,
                                                                      Cpd or Cmpd= compound 0

 polyols and glycols are best used with suspending agents such
 as higher HLB surfactants, clays silicates, gums, water              dday/days
 soluble cellulosics, water soluble polymers and the like.            DIPEA diisopropylethylamine
    Furthermore, compounds of the present invention can be 10 DPPF= 1, ! '-bis( diphenylphosphino )ferrocene
 administered in an intranasal dosage form via topical use of          DPPP= 1,3-Bis(diphenylphosphino )propane
 suitable intranasal vehicles or via transdermal skin patches,        EDCI or EDC=l-[3-( dimethylan1ino )propyl]-3-ethylcarbo-
 the composition of which are well known to those of ordinary             diimide hydrochloride
 skill in that art. To be administered in the form of a transder-     EtOAc ethyl acetate
                                                                                   0



 mal delivery system, the administration ofa therapeutic dose 15 EtOH=ethanol
 will, of course, be continuous rather than intermittent              lFhour/hours
 throughout the dosage regimen.                                       HMDS=l,1,3,3-Hexamethyld isilazane
    Compounds of this invention may be administered in any
                                                                      HOBt/HOBT hydroxybenzotiazole
                                                                                       00

 of the foregoing compositions and dosage regimens or by
 means of those compositions and dosage regimens estab- 20 M=molar
 lished in the art ,vhenever treatment of disorders that may be       MeCN=acetonitrile
mediated or ameliorated by opioid receptors for a subject in          MeOH=methanol
 need thereof.                                                        min """minutes
    The daily dose of a pharmaceutical composition of the             PyBOP=Benzotriazol-1-y1-oxy-tris-pyrrolidinophospho-
 present invention may be varied over a wide range from about 25          nium hexatluorophosphate
0.1 mg to about 7000 mg per adult human per day; most                 rt/RT"" room temperature
                                                                               0




preferably the dose will be in the range of from about 0. 7 mg        TEA. tritluoroacetic acid
                                                                           0


to about 2100 mg per adult human per day. For oral admin-
                                                                      Off1ritlate
istration, the compositions are preferably provided in the
form of tablets containing, O.OL 0.05, 0.1, 0.5, 1.0, 2.5, 5.0, 30 Ts"'1osyl
 10.0, 15.0, 25.0, 50.0, 100,150,200, 250and 500milligrams
of the active ingredient for the symptomatic adjustment of the                           SYNTHETIC METllODS
dosage to the subject to be treated. An effective amount of the
drug is ordinarily supplied at a dosage level of from about              Represent'itive compounds of the present invention can be
0.01 mg/kg to about 300 mg/kg of body weight per day. 35 synthesized in accordance with the general synthetic methods
Preferably, the range is from about 0.01 mg/kg to about 100          described below and are illustrated more particularly in the
mg/kg of body weight per day; and, most preferably, from              schemes that follow. Since the schemes are an illustration, the
about O.Ql mg/kg to about 30 mg/kg of body weight per day.           invention should not be construed as being limited by the
Advantageously, a compound of the present invention may be           chemical reactions and conditions expressed. The preparation
administered in a single daily dose or the total daily dosage 40 of the various starting materials used in the schemes is well
may be administered in divided doses of two, three or four           within the skill of persons versed in the art.
times daily.                                                             The following schemes describe general synthetic methods
    Optimal dosages to be administered may be readily deter-         whereby intermediate and target compounds of the present
mined by those skilled in the art, and will vary with the            invention may be prepared. Additional representative com-
particular compound used, the mode of administration, the 45 pounds and stereoisomers, racemic mixtures, diasteromers
strength of the preparation, and the advancement of the dis-         and enantiomers thereof can be synthesized using the inter-
ease condition. In addition, factors associated with the par-        mediates prepared in accordance to the general schemes and
ticular subject being treated, including subject age, weight,        other materials, compounds and reagents known to those
diet and time of administration. will result in the need to          skilled in the art. All such compounds, stereoisomers. rncemic
adjust the dose to an appropriate therapeutic level.              50 mixtures, diasteromers and enantiomers thereof are intended
    Representative IUPAC names for the compounds of the              to be encompassed within the scope of the present invention.
present invention were derived using the AutoNom version                 Certain intennediates and compounds of the present inven-
2.l nomenclature software program provided by Beilstein              tion may be prepared according to the process outlined in
Informationssysteme.                                                 Scheme A below.




                                                     OXOH
                                                    HN          R2
                                                     I
                                                     CBZ(BOC)
                                                          A·3




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                                                                                                                               VI B-PAT00000028
                                               PTX-007, page 28 of 79

                                                         Appx14434
      Case: 24-1061                         Document: 17                     Page: 213           Filed: 12/28/2023




                                                              US 7,741,356 B2
                                  47                                                             48
                                                                    -continued


                                       OXNH00
,:x:~
                                                                                       Ri

                 1-\n1juoketone
                                                               RJ                 rl,
  I
                   Coupling
                                       HN
                                        I
                                              R2
                                                         RJ              or
                                                                       NH10Ac
                                                                                  NxN:R'
  CBZ(BOC)                             CBZ(BOC)                                  HN         R-
       A-1
                                                   A-2                            I
                                                                                  CBZ(BOC)

                                                                                      A-4
                                                                                                               A-5

                                                                                        -CBZ
                                                                                       (BOC)
                                                                                      1



                                                                                      A-6




                                       OXNH00
R',:x:~
      I
      CBZ(BOC)
                 Amino ketone
                  Coupling        Rl
                                    '-N
                                       I
                                              R2

                                       CBZ(BOC)
                                                     RJ
                                                               R3                                7Bz
                                                                                                  (BOC)




                                                                                                              A-10
          A-7
                                                   A-8




    A carboxylic acid of the fomrnla A-1, available either      sodium borohydride or sodium triacetoxyborohydride, pro-
commercially or prepared by reported protocols in the scien-    vide compounds of formula A-10.
tific literature, may be coupled to an a-aminoketone using         Alternatively, a compound of fornmla A-3 may be con-
standard peptide coupling conditions with a coupling agent so densed with a dicarbonyl compmmd of the formula
such as EDCI and an additive such as HOBt to provide a          RiC-ccccO) 2 R3 and an amine of the formula H2 N~R5 upon
compound of formula A-2. CompoundA-2 may be condensed           healing in acetic acid to afford a compound of the fommla
with an amine of the fonnula H2N-----R5 or ammonium acetate     A-4. When compound A-3 is protected with a BOC group, a
and cyclized upon heating in acetic acid to a compound of       by-product offonnulaA-5 may be produced. Compounds of
                                                             55
formula A-4.                                                    fonnulaA-4 or A-5 may be treated with a hydride source such
    The protecting group of compound A-4 may be removed         as lithium aluminum hydride to give certain compounds of
using conditions known to those skilled in the art that are     formula A-IO.
appropriate for the particular protecting group to afford a       Similarly, a compound of formula A-7 may be coupled to
compound of the formula A-6. For instance, hydrogenation in 60 an a-aminoketone as described above for compounds of for-
the presence of a palladium catalyst is one method for the      mula A-1 to yield the corresponding compounds of formula
removal of a CBZ protecting group, whereas treatment with       A-8. A compound of formula A-8 may then be cyclized in the
an acid such as TFA is effective for a BOC group deprotec-      presence of an amine of formula H2 N-----R 5 or ammonium
tion.                                                           acetate and subsequently deprotected as described above to
   A compound of formula A-6 may be substituted using 65 arrive at compounds of fonnula A-10.
reductive amination with an appropriately substituted alde-       Certain compounds of the present invention may be pre-
hyde or ketone in the presence of a hydride source, such as     pared according to the process outlined in Scheme B below.



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                                                                                                                     VI B-PAT00000029
                                               PTX-007, page 29 of 79

                                                              Appx14435
       Case: 24-1061                                     Document: 17                           Page: 214               Filed: 12/28/2023




                                                                              us 7,741,356 82
                                                 49                                                                     50

                                                                                    Sch=B

                                                              Reduc1ive                                                      R2         N~        RJ
                                                          Amination

                                                          Iwhen R
                                                                                                          R5a removal
                                                                                                                         Ri,.>-Z5
                                                                                                                          it            ~
                                                                     5
                                                                      " •


                                                                                                                                  B-9
                                                                                         B-8


                                      lJn-BuLi
                                                         O}-Z)R3
                                                                                                                             l
                                                                                     (when one or
                                                         R2               f
                                                                          R5 or5a
                                                                                     both R3 ~ H)                                   Reductive
                                                                                                                                    A.Jnination
             B-1                                                       B-2                                    B-3




                                                                                                            Coupling
                                              Pd                                                             Reaction
                                        Cross-Coupling
                                             Reactions

                                                                                                                                  B-4




                                                                                         B-5




                       R2              N---/RJ

                                                         Deprotection
  R6          R1,N>-(N~R3                                 when R5a
                                         I
                                         Rs or Sa
R4                          0

            _,,..N,
       R'             Rb
                                B-6                                                                 B-7
             R5•~ a N-protecting group,
                   more particularly,
             R 5' ~ SEM, MOM or the like




   More specifically, a compow1d of formula B-1 (wherein           a compound of formula B-5 through a transition metal-cata-
the imidazole nitrogen is substin1ted with R 5 , as defined        lyzed cross coupling reaction to afford compounds of formula
              5                                                 50
herein, or R a, a nitrogen protecting group such as SEM,           B-6. Suitable palladium catalysts include palladium tetrakis
MOM, or the like) may be deprotonated with an organome-            triphenylphosphine and the like. Suitable Lewis acids for the
tallic base such as n-butyllithium and then treated with a         reaction include boronic acids and the like. Compounds pro-
suitably substituted amide to yield a compound of fommla           tectedwithR 5 amaybedeprotectedunderaci dicconditionsto
B-2.                                                            ss yield compounds of fonnula B-7.
   Compound B-2 may be brominated to yield a mixture of
regioisomers of fomrnla B-3. A compound of formula B-3                In a similar manner, an intermediate B-2 when optionally
may be further elaborated via a reductive amination with an        protected with. R 5 a may be reductively alkylated using meth-
amine of the formula H2 N~R 1 in the presence of a hydride         ods described above to give a compolllld of formula B-8,
                                                                                                               5
source as described in Scheme A to afford a compound of 60 followed by removal of protecting group R a using conditions
formula B-4.                                                       described herein to yield a compound of formula B-9.
   The amine of a compound of formula B-4 may be coupled              One skilled in the art will recognize that substituent L
with a suitable carboxylic acid under standard peptide cou-        (depicted as O in the fommlae of Scheme B) may be further
pling conditions with a coupling agent such as EDCI and an         elaborated to Sor N(Rd) of the present invention using con-
additive such as HOBt to yield compounds of formula B-5. 65 ventional, known chemical methods.
   Certain R 3 substituents of the present invention in which a       Certain compounds of the present invention may be pre-
carbon atom is the point of attachment may be introduced into      pared according to the process outlim.,>d in Scheme C below.



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                                                                                                                                                   VI B-PAT00000030
                                                                  PTX-007, page 30 of 79

                                                                               Appx14436
           Case: 24-1061                                        Document: 17                                Page: 215                Filed: 12/28/2023

r
                                                                                      US 7,741,356 B2
                                                  51                                                                                     52
                                                                            Specifically, a compound of formula D-1 may be treated
                                                                         with trifluoromethanesulfonic anhydride to afford the triflate
                                                                         compound of formula D-2. A compound of formula D-2 may
                                                                         be converted to a compound of formula D-4 by a variety
                       HO         :
                                                                         chemical routes which utilize conventional chemical meth-
                                     7
                                                                         ods known to those skilled in the art. For example, the bro.mo
                    R6

                                                                         L<_
                                       R"                N~RJ
                                  N,.-                                   group of a compound of formula D-2 may undergo a carboxy-
                                   1
                                                  2                      lation reaction via an initial carbonylation under a carbon
                                                R,

                                                                        T
                         R4       Rb                                     monoxide atmosphere in the presence of an appropriate pal-
          A-10,             C-1                                      10 ladium catalyst and DPPF, followed by an aqueous basic
        B-8. or B-9                                         oR'          worknp to afford a compound offomrnla D-3. Subsequently,
                           Coupling             R'
                                                                        the carboxyl group may be converted to a substituent ofR41 a
                                                            R'
                                                R6               R'     of formula D-4 using standard peptide coupling conditions.
                                                            N,.-        Alternatively, a compound of formula D-4 may be directly
                                                             1          prepared   via a carbonylation of compound of formula D-2,
                                                     R4     Rb       15
                                                                        followed by treatment with HMDS, or a primary or secondary
                                                        C-2             amine.
                                                                            The compound of formula D-5, known or prepared by
        More specifically, a compound of formula A-10, B-8, or          known methods, may be treated with EDC in the presence of
     B-9 may be elaborated to a compound of formula C-2 through 20 copper (I) chloride to afford the corresponding alkene of
     coupling with a suitable carboxylic acid under standard pep-       formula D6. A compound of fommla D-6 may then undergo
                                                                        a Heck reaction with a compound of formula D-4 in the
     tide coupling conditions as described above. One skilled in
                                                                        presence ofan appropriate pailadium catalyst and phosphino
     the art will recognize that substituent L in a compound of
                                                                        ligand to afford a compound of formula D7. Subsequent
     formula C-2(depicted as 0) may be converted to Sor N(Rd) of        hydrogenation of the alkenyl substituent using standard
     the present invention using conventional, known chemical 25 hydrogen reduction methods affords a
                                                                                                                 compound of fonnula
     methods.                                                           D-8.
        Suitably substituted carboxylic acids of the present inven-        Scheme E demonstrntes an alternative method for prepar-
     tion may either be commercially available or prepared by           ing intermediate D-7 of the present invention. A compound of
     reported protocols in the scientific literature. Several chemi-    formula E-1 may be elaborated to a compound offommla E-4
     cal routes for preparing certain compounds of fonnula C -1         using the appropriately adapted synthetic steps described in
     are outlined below in Schemes D and E.                             Scheme D. One skilled in the art will recognize that this


                                                                                          Sclierrnill



                                                                                          ~44]
                                                                                     HO        u              Br
                                                                                               D-3                 ~oupling



        ROy~"                              Triflation                                       Carbonylation          R 4 1 "'fa
                                                                                                                        I
                                                                                                                         '°'a
                                                                                                                              R4'

                                                                                                                                ~
                 ~Br                                                                                                          #'    Br

                 D-1                                                   D-2                                              D-4



                                          Dehydration
                                                                                             C-C Coupling                                     Hydrogenation
                                                                                                   D-4


                  D-5                                                     D-6                                                       D-7
                                                                       R41a


                                                                                                            ORDJ   Hydrolysis                               OH

                                                                                                        0                                     0         0
                                                                                                D-8                                               D-9
    R41 .a = aminocarbonyl, C 1__ 6'11kyhm1inocarbonyl, or (C 1 -6■ lky1h~minoc■rbonyl;
    RDJ ~ H, C,_,all,-1, or aryl(Ci-,;)alkyl




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                                                                                                                                                            VI B-PAT00000031
                                                                          PTX-007, page 31 of 79

                                                                                      Appx14437
    Case: 24-1061                       Document: 17                         Page: 216                 Filed: 12/28/2023




                                                       US 7,741,356 B2
                              53                                                                       54
transformation may be achieved by manipulation of the reac-                  A compound of formula E-4 may participate in a Horner-
tion sequence. A compound of formula E-4 may be converted                 Wadsworth-Emmons reaction with a compound of formula
to its corresponding nitrile via an aromatic nuclcophilic dis-            E-7 in the presence of an organometallic base such as n-bu-
placement reaction with cyanide anion. One skilled in the art             tyllithiium to afford a compound of formula D-7. This inter-
will recognize that a nitrile substituent is a viable synthon for         mediate may be further elaborated as described in Scheme D,
a substituent of R41 a.                                                   herein.




                                                                                         R4l


                                                                            Cly, OH
                                                              CMOOe,>"i;;,/        il    E-3
                                                                                                     ~erl,,c,io,



                                                         Clu'I/4_R41
                                                                 "                                   Cly.'3/,tl
                                                                                                        .l,yR'
                                                                                     Carbonylation

                                                                     .#      OTf

                            E-1                                     E-2                                                  0
                                                                                                                   E-4




                                                 Hydrolysis    R
                                                                4


                                                                    Y,
                                                                    GyR•
                                                                               R4l




                                                                                                        E-7
                                                                                                                             Cpd D-7



                                                                                     0
                                  E-5                                          E-6



                                                                            Certain compounds of the present invention may be pre-
                                                                          pared according to the process outlined in Scheme F below .
                                                                     40                              .Sdieme_F




                                                                     45


                                                                                                                      Ester
                                                                                                                   Hydrolysis

                                                                     50




                                                                                               F-1
                                                                     55




                                                                     60




                                                                     65
                                                                                                                             F-2




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                                                                                                                                       VI B-PAT00000032
                                               PTX-007, page 32 of 79

                                                        Appx14438
    Case: 24-1061                          Document: 17                           Page: 217                 Filed: 12/28/2023




                                                                 US 7,741,356 B2
                                 55                                                                         56
                                                                                Certain substitutents of R 11 may be installed via a palla-
                            -continued                                       dium catalyzed coupling reaction with an X-substituted pre-
                                                                             cursor. For example, a compound of formula F-5 wherein Xis
                                                                             iodide, bromide, tosylate, triflate, or the like may be treated
                                                                             with Zn(CN) 2 in the presence of palladium tetrakis triph-
                                              Nitrile
                                            to Amide                         enylphosphine to give a compound of formula F-6 wherein
                                           Conversion                        R 11 is cyano.
                                                                                Treatment of a compound of formula F-5 with Pd(OAc) 2
                                                                          10
                                                                             and a ligand such as 1,1-bis(diphenylphosphino)ferrocene
                                                                             under a carbon monoxide atmosphere provides a compound
                                                                             of formula F-6 wherein R 11 is a carboxy substituent.
                                                                                The palladium catalyzed couplings described above may
                                                                             also be used to install cyano, carboxy, and alkoxycarbonyl
                F-3                                                                                              3
                                                                          15 substituents onto an aryl ring at R •


                                                                                                SPECIFIC EXAMPLES

                                                                                Specific compounds which are representative of this inven-
                                                                             tion were prepared as per the following examples and reaction
                                                                             sequences; the examples and the diagrams depicting the reac-
                                                                             tion sequences are offered by way of illustration, to aid in the
                                                                             understanding of the invention and should not be construed to
                                                                             limit in any way the invention set forth in the claims which
                                                                             follow thereafter. The instant compounds may also be used as
                                                                             intermediates in subsequent examples to produce additional
                                                                             compounds of the present invention. No attempt has been
                                                      F-4                    made to optimize the yields obtained in any of the reactions.
                                                                             One skilled in the art would know how to increase such yields
                                                                          30 through routine variations in reaction times, temperatures.
                                                                             solvents and/or reagents.
                                                                                Reagents were purchased from commercial sources.
                                                     Pd Coupling
                                                 functionalization           Nuclear magnetic resonanee (NMR) spectra for hydrogen
                                                                             atoms were measured in the indicated solvent with (TMS) as
                                                                          35
                                                                             the internal standard on a Bruker Biospin, Inc. DPX-300 (300
                                                                             MHz) spectrometer. The values are expressed in parts per
                                                                             million down field from TMS. ·111e mass spectra (MS) were
                                                                             determined on a Micromass Platform LC spectrometer or an

                      F-5
                                                                          40   ~~~:~a~~ a~~:~!:~:~te;e:~~~~!s e::t~:ro!~~li~~:~
                                                                             either a CEM Discover or a Personal Chemistry Smith Syn-
         X~I,Br, -OTs. -OTf
                                           Rll
                                                                             thesizer microwave instrument. Stereoisomeric compounds
                                                                             may be characterized as racemic mixtures or as separate




                                     YN>-<~xR·
                                          "'                                 diastereomers and enantiomers thereof using X-ray crystal-
                                                                          45 lography and other methods known to one skilled in the art.
                                                                      1      Unless otherwise noted, the materials used in the examples
                                                                             were obtained from readily available commercial suppliers or
                                 6
                                                                             synthesized by standard methods known to one skilled in the
                              R~7·                          N        RJ
                                                                             art of chemical synthesis. The substituent groups, which vary
                                                            I             50
                                                                             between examples, are hydrogen unless otherwise noted.
                            R4                   L          Rs

                                        N
                                                                                                       Example 1
                                     R·/' 'Rb
                                                F-4                                 2-Amino-3-(4-hydroxy-2,6-dimethyl-pbenyl)-N-
                                                                          55
                              R 11 - CN, - C 02 H, -alkoxycarbonyl                isopropyl-N-[1-( 4-phenyl- l H-imidazol-2-yl)-ethy l]-
                                                                                                     propionamide

   More specifically, a compound of fonnula F-1, wherein
R 11 is an alkoxycarbonyl as defined above, may be saponified
                                                              60
to its corresponding acid, a compound of formula F-2.
   A compound of formula F-3 wherein R 11 is a cyano sub-
stituent may be elaborated to its corresponding aminocarbo-
nyl, compound F-4 by treatment with hydrogen peroxide in
the presence of hydroxide anion. Similarly, when R3 is a 65
cyano-substituted aryl ring, it may be treated as described                                            la
above to form an aminocarbonyl-substituted aryl ring.



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                                                                                                                                     VI B-PAT00000033
                                                      PTX-007, page 33 of 79

                                                                 Appx14439
     Case: 24-1061                      Document: 17                     Page: 218                 Filed: 12/28/2023




                                                       US 7,741,356 B2
                               57                                                                  58
                                                                     (2H, d), 5.13 (2H, d), 5.40 (lH, m), 7.03 (JH, m), 7.36 (5H.
                                                                    m), 7.50 (2H, m), 7.63 (lH, m), 7.97(2H. m).
                                                                        MS(ES+): 341.l (100%).
                                                                        B. [1-( 4-Phenyl-lH-imidazol-2-yl)-ethyl]-carbamic acid
                                                                 5 benzyl ester. To a suspension of [ 1-(2-oxo-2-phenyl-ethylcar-
                                                                    bamoyl)-ethyl]-carbamic acid benzyl ester (2.60 g, 7.64
                                                                    mmol) in xylene (60 mL) was add1.,>d NH4 OAc (10.3 g, 134
                                                                    mmol) and HOAc (5 mL). The resulting mixture was heated
                                                                    at reflux for 7 h. After being cooled to room temperature,
                         lb                                     1o brine was added and the mixture was separated. The aqueous




            n/~•:P       ~
                         H
                           le
                                                                    phase was extracted with EtOAc, and the combined organic
                                                                    phases were dried over Na 2 SO4 overnight. After filtration and
                                                                    concentration, the residue was purified by colul11ll chroma-
                                                                    tography on silica gel (eluent, EtOAc:hexane-1: 1) to give the
                                                                15 title compound (2.33 g, 95% ). 1H NMR (300 MHz, CDC1 3 ):
                                                                    6 l.65 (3H, d), 5.06 (lH, 111), 5.14 (2H, q), 5.94 (IF!, d), 7.32
                                                                    (l0H, m), 7.59 (2H, d). MS(ES+): 322.2 (100%).
                                                                        C. 1-(4-Phenyl-lH-imidazol-2-yl)-ethylamine. To a solu-




         ~~~:P
                                                                    tion of [ I-(4-phenyl-l H-imidazol-2-yl)-ethyl]-carbamic acid
                                                               20 benzyl ester (1.5 g, 4.67 mmol) in methanol (25 mL) was
                                                                    added 10% palladium on carbon (0.16 g). The mixture was
                                                                    shaken in a hydrogenation apparatus at rt under a hydrogen
                                                                    atmosphere (10 psi) for 8 h. Filtration followed by evapora-
                             ~I                                     tion to dryness under reduced pressure gave the crude product
                               Id
                                                               25 1-(4-Phenyl-lH-imidazol-2-yl)-ethylamine (0.88 g, 100%).
                                                                    1
                                                                      H NMR (300 MHz, CDC1 3 ): Ii 1.53 (3H, d), 4.33 (IH, q),
                                                                    7.23 (3H, m), 7.37 (2H, m), 7.67 (2H, 111). MS(ES+): 188.1
                                                                    (38%).
                                                                       D.       Isopropyl-[ 1-( 4-phenyl-l lI-imidazol-2-yl)-ethyl]-
                                                               30 amine. 1-(4-Phenyl-lH-imidazol-2-yl)-ethylamine (0.20 g,
                                                                    1.07 rnmol) and acetone (0.062 g, 1.07 11111101) were mixed in
                                                                    1,2-dichloroethane ( 4 mL), followed by the additionofNaBH
                                                                    (OAc h (0 .34 g, 1. 61 m1110J).J11e resulting mixture was stirred
 HO                                                                at rt for 3 h. The reaction was quenched with saturated
                                                               35 NaHCO 3 solution. The mixture was extracted with EtOAc
                                le
                                                                   and the combined extracts were dried over Na2 SO4 . Filtration



                                       I)
                                                                   followed by evaporation to dryness under reduced pressure
                                                                   gave the crude isopropyl-[ 1-(4-phenyl-lH-imidazol-2-yl)-

                  ~)"<'                                0
                                                                   ethyl]-amine (0.23 g, 100%) which was used for the next
                                                               40 reaction without further purification. 1 H NMR (300 MHz,
                                                                   CDCU: Ii 1.10 (3H, d), 1.18 (3H, d), 1.57 (3H, d), 2.86 (IH,
                                0
                                      U        •2
                                                  F3C
                                                      )l_  OH
                                                                   m), 4.32 (lH, m), 7.24 (2H, m), 7.36 (2H, m), 7.69 (2H, m).
                                                                   MS(ES+): 230.2 (1000/o).
                                                                       E. (2-( 4-Hydroxy-2,6-dimethyl-phenyl)-1-{isopropyl-[1-
HO                                                             45 (4-phenyl- l H-imidazol-2-yl)-ethyl]-carbamoyl }-ethyl)-car-

                                lf                                 bamic acid tert-butyl ester. Into a solution of 2-tert-Butoxy-
                                                                   carbonylamino-3-( 4-hydroxy-2,6-dimethyl-phenyl)-
                                                                   propionic acid (0.18 g, 0.6 rnmol) in DMF (7 mJ,) was added
    A. [ 1-(2-Oxo-2-pheny1-ethylcarbamoyl)-ethy l j-carbami c      isopropyl-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amine
acid benzyl ester. To a solution of commercially available so (0.11 g, 0.5 mmol), 1-hydroxybenzotriazole (0.22 g, 1.6
N-a-CBZ-L-alanine (2.11 g, 9.5 mmol) in dichloromethane            mmol) and 1-[3-(dimethylamino )propyl]-3-ethylcarbodiim-
(50 mL) was added 2-aminoacetophenone hydrochloride                ide hydrochloride (0.12 g, 0.6 mmol). The resulting mixture
(1.62 g, 9.5 mmol). The resulting solution was cooled to 0° C.     was stirred under an Argon atmosphere at rt overnight. The
and N-methylmorpholine (1.15 g, 11 mmol), 1-hydroxyben-            reaction mixture was extracted with EtOAc and the combined
zotriazole (2.55 g, 18.9 mmol) and 1-[3-(dimethylamino) 55 organic extracts were washed sequentially with saturated
propyl]-3-ethylcarbodiimide hydrochloride (2.35 g. 12.3            aqueous NaHCO 3 solution, IN HCI, saturated aqueous
m1110!) in that order were added tmder an Argon atmosphere.        NaHCO 3 solution, and brine. The organic phase was then
The reaction mixture was warmed to room temperature and            dried over MgSO4 , filtered, and the filtrate was concentrated
stirred overnight. The reaction was quenched by addition of        under reduced pressure. The resulting residue was purified by
saturated aqueous NaHCO 3 solution; the separated organic 60 flash colul11ll chromatography (eluent: EtOAc) to afford the
phase was washed with 2N citric acid, saturated NaHCO 3            product (2-( 4-hydroxy-2,6-dimethyl-phenyl)-l-{isopropyl-
solution and brine, then dried over MgSO4 overnight. After         [l-(4-phenyl-1 H-imidazol-2-yl )-ethyl]-carbamoyl }-ethyl)-
filtration and concentration, the residue was purified by col-     carbamic acid tert-butyl ester (0.13 g, 50%). MS(ES+): 521.5
mnn chromatography on silica gel (eluent, EtOAc:hexane-1:          (100%).
1) to give the pure product: [ 1-(2-oxo-2-phenyl-ethylcarbam- 65       F. 2-Amino-3-( 4-hydroxy-2,6-dimethyl-phenyl)-N-iso-
oyl)-ethyl]-carbamic acid benzyl ester (2.68 g, 83%). 1 H          propyl-N-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-propiona-
NMR (300 MHz, CDC1 3 ): 6 1.46 (3H, d), 4.39 (JH, m), 4. 75        mide. A solution of (2-(4-hydroxy-2,6-dirnethyl-phenyl)-1-



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                                                                                                                             VI B-PAT00000034
                                               PTX-007, page 34 of 79

                                                        Appx14440
     Case: 24-1061                      Document: 17                     Page: 219              Filed: 12/28/2023




                                                     US 7,741,356 B2
                               59                                                                60
{isopropyl-[ 1-(4-phenyl- l H-imidazol-2-yl)-ethyl]-                1-(2-oxo-2-phenyl-ethylcarbamoyl)-propyl ]-carbamic acid
carbamoyl }-ethyl)-carbamic acid tert-butyl ester (0.13 g,          tert-butyl ester (Cpd 2a), 1.89 g (50%) of [2-methyl-1-(4-
0.25 mmol) in trifluoroacetic acid (5 mL) was stirred at rt for     phenyl-l-H-imidazol-2-yl)-propyl]-carban1ic acid tert-butyl
2 h. Upon removal of the solvents, the residue was purified by      ester (Cpd 2b), and 0.60 g of a mixture ofN-[2-methyl-1-( 4-
preparative LC and lyophilized to give the TFA salt of the title 5 phenyl- IH-imidazol-2-yl)-propyl]-acetamide (Cpd 2c)
                                          1
                                                                                                                               and
compound as a white powder (0.042 g). H NMR (300 MHz,               acetamide.
CDC1 3 ): o 0.48 (3H, d), 1.17 (3H, d), 1.76 (3H, d), 2.28
(6H, s), 3.19 (2H, m), 3.74 (lH, m), 4.70 (IH, m), 4.82 (IH,           Cpd 2c was purified by dissolving it in hot CH 3 CN and
q), 6.56 (2H, s), 7.45 (4H, m), 7.74 (2H, m). MS(ES""): 421.2       cooling to 0° C. Collection of the precipitate by suction fil-
(100%).                                                          10 trationafforded0.21 g (7%) ofN-[2-methyl-1-(4-phenyl-l H-
                                                                    imidazol-2-yl)-propyl]-acetamide, Cpd 2c, as a white powder
                           Example 2                                (HPLC: 100%@254 nm and 214 nm). 1 H NMR (300 MHz,
                                                                    CDC1 3 ): o 7.63 (2H, br s), 7.33 (2H, t, J=7.5 Hz), 7.25-7.18
                                                                    (2H, m), 4.78 (IH, br s), 2.35 (IH, hr m), 2.02 (3H, s), 1.03
     Methyl-[2-methyl-1-(4-phenyl- l H-imidazol-2-yl)-
                                                                 15 (3H, d, J=6.7 Hz), 0.87 (3H, d, J=6.7 Hz); MS (ES+) (relative
                      propyl]-amine and                             intensity): 258.3 (100) (M+l).
                                                                       C. Methyl-[2-methyl-1-( 4-phenyl- l H-imidazol-2-yl)-pro-
      Ethyl-[2-methyl-1-( 4-phenyl-1 H-imidazol-2-yl)-
                                                                    py l]-amine. A solution of [2-methyl-1-( 4-phenyl-l-H-imida-
                         propyl ]-amine
                                                                    zol-2-yl)-propyl]-carbamic acid tert-butyl ester (0.095g, 0.30




t oyij_JLU
    A
           ~
            0


                         2a
                                    o




                    2b                                              2c




                          2d                                               2e


                                                               50
   A.     [2-Methyl-1-(2-oxo-2-phenyl-ethylcarbamoyl)-pro-         mmol) in THF (2.0 mL) was added dropwise over IO min to
pyl ]-carbamic acid tert-butyl ester. Compound 2a was pre-         a refluxing 1.0 M solution of LiAlH 4 in THF (3.0 mL). The
pared according to Example I using the appropriate reagents,       reaction was maintained at reflux for 2 h, cooled to room
starting materials and methods known to those skilled in the       temperature, and quenched by sequential treatment with 0.11
art.                                                            55
                                                                   mL of cold water (5° C.), 0.11 mL of 15% NaOH in aqueous
   B.     [2-Methyl-1-(4-phenyl- l-H-imidazol-2-yl)-propyl]-       solution, and 0.33 mL of cold water (5° C.). The resultant
carbamic acid tert-butyl ester. Following the procedure            solid was removed by suction filtration and the filtrate (pH
described in Example 1 for the conversion of Compound la to        8-9) was extracted three times with EtOAc. The combined
Compound 1b, and using the appropriate reagents and meth-          organic fractions were dried over MgSO4 , filtered, and con-
ods known to those skilled in the art, [2-methyl-1-(4-phenyl-   60
                                                                   centrated to afford 0.58 g (84%) of methyl-[2-methyl-1-(4-
 l-H-imidazol-2-yl)-propyl]-c arbamic acid tert-butyl ester,
                                                                   phenyl-!H-imidazol-2-yl)-pro pyl]-amine as a light yellow
Cpd 2b, was prepared.
                                                                   oil (HPLC: 97%@254 nm and 214 nm). 1 H NMR (300 MHz,
Subsequent to workup, the crude product mixture was sub-           CDC1 3 ): o7.69 (2H, d, J,7.4 Hz), 7.36 (2H, t, J=7.6Hz), 7.26
jected to flash silica gel chromatography (eluents: CH 2 Cl 2 , 65 (IH, s), 7.25-7.20 (lH, m), 3.62 (IH, d, 1=6.3 Hz), 2.35
followed by 4:1 CH 2 CI/Et2 O, then EtOAc). Processing of          (3H, s), 2.06 (IH, m), 0.99 (3H, d, J=6.7 Hz), 0.89 (3H, d,
the fractions afforded 1.08 g (27%) ofrecovered [2-methyl-.        J= 6.7 Hz);
                                                                     0




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                                                                                                                          VI B-PAT00000035
                                              PTX-007, page 35 of 79

                                                      Appx14441
    Case: 24-1061                       Document: 17                     Page: 220                 Filed: 12/28/2023




                                                       us 7,741,356 82
                               61                                                                  62
    MS (ES+) (relative intensity): 230.2 (100) (M+l).             be substituted for Cpd 1 d of Example 1 and elaborated to
    D. Ethyl-[2-methyl-1-(4-phenyl-1 H-imidazol-2-y 1)-pro-       compounds of the present invention with the appropriate
pyl]-amine. A solution of N-[2-methyl-1-( 4-phenyl-l H-imi-       reagents, starting materials and purification methods known
dazol-2-yl)-propyl]-acetamide (0.077g, 0.30 mmol) in THF          to those skilled in the art.
(2.0 mL) was added dropwise over 10 min to a refluxing 1.0 5
M solution of LiAIH 4 in THF (3.0 mL). The reaction was
                                                                                             Example4
maintained at reflux for 11 h, cook'C! to rt, and quenched by
sequential treatment with 0.11 mL of cold water (5° C.), 0.11
mL of 15% NaOH in aqueous solution, and 0.33 mL of cold                 1-[ 4-(4-Fluoro-phenyl)-lH-imidazol-2-yl]-ethy-
water (5° C.). The resultant solid was removed by suction JO                                   lamine
filtration and the filtrate (pH 8-9) was extracted three times
with EtOAc. The combim.'C! organic fractions were dried over
MgSO4 , filtered, and concentratt.'C! to afford 0.069 g of a 5: 1
mixture (determined by 1 H NMR) of ethyl-[2-methyl-1-(4-
phenyl-1 H-imidazol-2-yl)-propyl]-amine and recovered Cpd 15
2c as a colorless oil (HPLC: peaks overlap). 1 H NMR (300
MHz, CDCl 3 ): o 7.67 (2H, br s), 7.35 (2H, t, J=7.6 Hz),
7.26-7.17 (2H, m), 3.72 (IH, d, J=6.0 1-lz), 2.56 (2H, dq,
J=l3.0, 7.1 Hz), 2.05 (IH, m), 1.08 (3H, t, J=7.l Hz), 0.97
(3H,d, J=6.7 Hz), 0.89 (3H, d, J=6.7 Hz); MS (ES+) (relative 20
intensity): 244.2 (100) (M+ l ). This sample was of sufficient
quality to use in the next reaction without further purification.
   Methyl-[2-methyl-1-(4-phenyl- l H-imidazol-2-y 1)-pro-
pyl]-amine and ethyl-[2-methyl-1-( 4-phenyl-lH-imidazol-2-
yl)-propyl]-amine may be substituted for Cpd 1d of Example 25
l and elaborated to compounds of the present invention with
the appropriate reagents, starting materials and purification
methods known to those skilled in the art.

                          Example 3                              30
                                                                        A.      {1-[4-( 4-Fluoro-phenyl)-lH-imidazol-2-yl]-ethyl }-
    (3,4-Dimethoxy-benzyl)-[ 1-(4-phenyl- lH-imidazol-               carbamic acid tert-butyl ester. A mixture of ammonium
                   2-yl)-ethylJ-amine                                acetate (19.3 g, 250 rnm~)ltand glacial HOAc (35 mL) was
                                                                     stirred mechanically and heated to about 100° C. to give a
                                                                 35 colorless solution in 5-10 min. After cooling to rt, a solid
                                                                     mixture of N-t-BOC-L-Alaninal (commercially available
                                                                     from Aldrich) and 4-fluorophenyl glyoxal hydrate was added
                                                                     in portions while stirring to give a yellow mixture. The result-
                                                                     ing mixture was heated at 100° C. for approximately 2 h
                                                                 40
                                                                     before cooling to rt. The mixture was cooled to 0-5C. then
                                                                     basified by dropwise addition of cone. NH4 OH (25 mL ), H2 O
                                                                     (25 mL), and EtOAc (40 mL), and additional cone. NH 4 OH
                                                                     (50 mL) to render the mixture alkaline. The phases were
                                                                 45 separated and the aqueous phase was re-extracted with
                                                                     EtOAc. The combined organic phases were filtered through
                                                                    dicalite to remove an orange solid and were washed with
A solution of 1-(4-phenyl-1 H-imidazol-2-yl)-ethylamine              saturated aqueous NaCl. The organic phase was then dried
(0.061 g, 0.33 mmol) of Example Land 0.55 g (0.33 mmol)             over MgSO4 , filtered, and concentrated under reduced pres-
of3,4-dimethoxybenzaldehyde in 5 mL of anhydrous metha- so sure to give 4.27
                                                                                         g of an orange-brown residue. The residue
nol was stirred at room temperature for I hand then cooled to
                                                                    was dissolved in a solution ofMeCN (22 mL) and DMSO (3
about 0-10° C. in an ice bath for 1 h. Ihe reaction was treated
carefully with 0.019 g (0.49 rnmol)ofsodium borohydride in          mL) then purified by preparative HPLC on a Kromasil lOu
one portion and maintained at about 0-10° C. for 21 h. Cold         Cl8 250x50 mm column, eluting with a 35:65 MeCN:H 2 O
2M aqueous HCI was added dropwise (30 drops), the mixture 55 gradient. The pure fractions were combined and lyophilized
was stirred for 5 min, and then partially concentrated in vacuo     to give 1.77 g of the product as a yellow-white powder (42%;
unheatL'C!. The residual material was taken up in EtOAc to          TFA salt). MS: m/z 306.l (MH+).
yield a suspension that was treated with 5 mL of cold 3M                B. 1-[ 4-(4-Fluoro-phenyl)-1 H-imidazol-2-ylJ-ethylamine.
aqueous NaOH and stirred vigorously until clear. The phases         { 1-[4-(4-Fluoro-phenyl)-1 H-imidazol-2-yl]-ethyl }-car-
were separated and the aqueous layer was extracted three 60
                                                                    bamic acid tert-butyl ester may be BOC-deprotected using
times additional with EtOAc. The combined extracts were
dried over MgSO4 , filtered, and concentrated to afford 0.11 g      the procedure described in Example l for the conversion of
of (3,4-dimethoxy-benzyl)-[ l-(4-phenyl-lH-imidazol-2-yl)-          Cpd 1e to Cpd 1f. Upon completion of the BOC-deprotection,
ethyl]-amine as a light yellow oil (HPLC: 87% @254 nm and           the resulting amine may be substituted for Cpd 1c of Example
66% @214 nm). MS (ES+) (relative intensity): 338.1 (100) 65 1 and elaborated to compounds of the present invention with
(M +1). This sample was of sufficient quality to use in the next    the appropriate reagents, starting materials and purification
reaction without further purification. The title compound may       methods known to those skilled in the art.



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                                                                                                                             VI B-PAT00000036
                                               PTX-007, page 36 of 79

                                                       Appx14442
     Case: 24-1061                       Document: 17                      Page: 221                             Filed: 12/28/2023




                                                      US 7,741,356 B2
                                 63                                                                              64
                             Example 5                                  Compound Sb may be substituted for Cpd 1d ofExample 1
                                                                      and elaborated to compounds of the present invention with
        Isopropyl-[ 4(5)-phenyl-1-(2-trimethylsilanyl-                the appropriate reagents, starting materials and purification
       ethoxymethyl )-1 H-imidazol-2-ylmethyl]-amine                  methods known to those skilled in the art.
                 (mixture of regioisomers)
                                                                                                      Example 6

                                                                           2-Amino-3-(4-hydroxy-phenyl)-N-isopropyl-N-(5-
                                                                          methyl-4-phenyl-lH-imidazo l-2-ylmethyl)-propiona-
                                                                 10                   mide Trifluoroacetate (1 :2)




            5a

       Mixture of regioisomers




                                         Sb
                                                                             Mixtures ofr<:gic,is01ners
                                                                                      Me
                                                                 30
                                                                                        ~                    Nx~fr(Br1
    A. Cpd Sa Regioisomers. Into a cooled solution of 4(5)-
phenyl-1-(2-trimethylsilanyl-ethoxymethyl)-1 H-imidazole                          Me        ~~ I
(1et. Lett. 1986, 27(35), 4095-8) (7.70 g, 28.l mmol) in dry                                              _<i,i            Br(Y!e)
THF (60 mL) was added n-butyllithium (2.5 Min hexane,
                                                                 35
22.5 mL, 56.2 mmol) at -78° C. under N 2 • The resulting



                                                                                                             ~
mixture was stirred at - 78° C. for 1 h, followed by the addi-
tion of DMF (4.35 mL, 56.2 mmol). After being stirred at
- 78° C. for an additional hour, the reaction was warmed to
room temperature and stirred overnight. The reaction was 40                                               Me-Si-Me
quenched by the addition of saturated aqueous NaHCO, solu-
                                                                                                                  Me
                                                                                                                      I
tion and extracted with EtOAc. The combined oi-ganic
extracts were dried over Na 2 SO4 . After filtration and evapo-                                                   6b
ration, the residue was purified by flash column chromatog-
raphy (eluent: EtOAc:hexane, 1:9) to give 4(5)-phenyl-1-(2- 45
trimethylsilanyl-ethoxymethyl)-1 H-imidazole-2-
                                                                                                    AMe
                                                                                                                           NXMe(Br)
                                                                                               Me           N~                 I
carbaldehyde (5.11 g, 60'1/c,) as a mixture ofregioisomers. 1 H
NMR (300 MHz, CDC1 3 ): ll 0.00 (9H, s), 2.98 (2H, t), 3.62                                             <     N
                                                                                                                  0
                                                                                                                                     Br(MeJ


                                                                                                      y LI
(2H, t), 5.83 (2H, s), 7.36 (lH, m), 7.44 (2H, m), 7.65 (HI, s),                                                      0
7.86 (2H, 111). MS(ES+): 303.0 (42%).                            50    Me....,,.,.,.o
   B. Cpd Sb Regioisomers. Isopropylamine (0.18 g, 3 mmol)
and a regioisomeric mixture of 4( 5)-phenyl-1-(2-trimethylsi-
lanyl-ethoxymethyl)- l H-imidazole-2-carbaldehyde (0.91 g,
                                                                          /\
                                                                         Me Me                      ~XO
                                                                                                    Me

                                                                                                            Me
                                                                                                                          Me-Si-Me
                                                                                                                               I
3 mmol) were mixed in 1,2-dichloroethane (10 mL), followed                                                                     Me
                                                                                                            6c
by addition of sodiun1 triacetoxyborohydride (0.95 g, 4.5 55                                    Me
mmol). The resulting mixture was stirred at room temperature                                    I.     NXPh(Me)
for 5 h. 'llie reaction was quenched with saturated aqueous
NaHCO3 solution. The resultant mixture was extracted with
                                                                                               Me/',.N~                        I
EtOAc and the combined organic phases were dried over                                   ~O                                <N         Me(Ph)
Na 2 SO4 . After filtration and concentration, the residue was 60
purified by flash colunm chromatography (eluent: CH 2 Cl 2 :
CH 3 0H, 7:3) to give isopropyl-[4(5)-phenyl-1-(2-trimethyl-           Me....,,.,.,.o
                                                                                        N            hH~yo o~
                                                                           /\                       M~
silany l-ethoxymethyl)-1 H-imidazol-2-y lmethy ]]-amine                  Me Me                      "\,/O
(0.70 g, 68%) as a mixture ofregioisomers. 1 H NMR (300                                           M(\                     Me-Si-Me
                                                                                                     Me                        I
MHz, CDCl 3): 6 0.00 (9H, s), 0.94 (2H, t), 1.11 (6H, d), 2.89 65                                                              Me
(lH, m), 3.56 (2H, t), 3.94 (2H, s), 5.39 (2H, s), 7.25 (2H, m),                                            6d
7.37 (2H, 111), 7.76 (2H, d). MS(ES+): 346.6 (75%).



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                                                                                                                                              VI B-PAT00000037
                                               PTX-007, page 37 of 79

                                                       Appx14443
     Case: 24-1061                       Document: 17                    Page: 222                Filed: 12/28/2023




                                                      US 7,741,356 B2
                                65                                                                66
                                                                      and concentrated under a stream of N 2 • The residue was
                          -contin-Pued                                dissolved in a small amount of EtOAc and flash chromato-
                  Me                                                  graphed on a silica gel column (Eluent: 5%-25% EtOAc/

             Me
                  A    N~
                                 N                               5
                                                                      hexane). The desired fractions were concentrated under
                                                                      reduced pressure to yield 55 mg (61 %) as regioisomeric mix-
                               HN      Me                             ture of Cpd 6d, which was used without further purification
                         0                                            (TLC: 25% EtOAc/hexane Rr0.3; HPLC: 100% at 254 nm;
                                               •2                     88% at 214 nm, 6.50 min).
HO
                                                                 10      E. 2-Amino-3-( 4-hydroxy-phenyl)-N-isopropyl-N-(5-me-
                        6e                                           thyl-4-phenyl-1 H-imidazol-2-ylmethyl)-propionamide Trif-
                                                                     luoroacetate (1:2). Trifluoroacetic acid (l mL) was added to
    A. Cpd 6a Regioisomers. Bromine (1.17 mL, 22.76 mmol)            the Cpd 6d regioisomers (55 mg, 0.081 mmol) at room tem-
was added slowly to an ice cooled regioisomeric mixture of           perature. After 6 h, the excess TFA was removed under a
                                                                  15
4(5)-methyl-1-(2-trimethylsilanyl-ethoxymethyl)-I H-imi-             stream ofN 2 • The residue was dissolved in a small amount of
dazole-2-carbaldehyde (5.47 g, 22.76 mmol; JOC, 1986, 51             acetonitrile and purified by preparative HPLC on a YMC C 18
(10), 1891-4) in CHCl 3 (75 mL). The reaction was warmed to           l 00x20 mm column. The purest fractions were combined and
rt after 1.5 h, and then was stirred an additional 1 h. The          lyophilized to give 37 mg (74%) of the title compound as a
reaction mixture was then extracted with saturated aqueous 20 white lyophil (TLC: 5:1 CHC:1 :MeOH Rj-0.55, homoge-
                                                                                                       3
NaHCO 3 , and the organic phase was then dried over Na 2 SO4 ,       neous; HPLC: 100'¼, at 214 nm; HP LC/MS: m/z 393 (MH+)).
filtered, and concentrated under reduced pressure to give 7.46        1
                                                                        H NMR (MeOH-d4 ) o 0.85"0.9 (d, 3H), 1.2-1.25 (d, 3H),
g of crude material. This material was vacuum distilled (bp
 127-135° C.; 1 mm Hg) to yield 3.16 g (43%) ofa regioiso-           2.45 (s, 3H), 3.05-3.1 (t, 2H), 4.0-4.15 (m, lH), 4.55-4.6 (d,
meric mixture, Cpd 6a, as a yellow liquid, which was used             lH), 4.7-4.85 (m, 2H), 6.65-6.7 (d, 2H), 6.95-7.0 (d, 2H),
                                                                  25
without further purification. 1 H NMR (CDCl 3 ) o O (S, 91I),        7.45-7.6 (m, SH).
0.9-1.0 (t, 2H), 2.35 (s, 3H), 3.5-3.6 (t, 2H), 5.8 (s, 2H), 9.75
(s,lH).                                                                                         Example 7
    B. Cpd 6b Regioisomers. Isopropyl amine (0.30 g, 5 mmol)
in 1,2-dichloroethane (2 mL) was added to a 5° C. solution of 30            (3,4-Dicbloro-benzyl)-(4-phenyl-1 H-imidazol-2-
regioisomers Cpd 6a (0.96 g, 3 mmol) in 1,2-dichloroethane                       ylmethyl)-amine Trifluoroacetale (1 :2)
(70 mL). After stirring il1r 5 min, sodium triacetoxyborohy-
dride (1.80 g, 8.5 11111101) was added neat to the reaction
mixtnre. The mixture was gradually warmed to rt and stirred
for 24 h. At this time, an additional portion of sodium triac- 35
etoxyborohydride (0.60g, 2.8 mmol) was added and the reac-
tion was stirred an additional 16 h. The reaction was then
cooled to approximately 10° C. and treated while stirring with
saturated aqueous NaHCO3 . After stirring for 15 min, the
layers were separated and the organic phase was dried over 40
Na 2 SO4 , filtered, and concentrated under reduced pressure to
give 1.20 g (T. W. 1.09 g) of a regioisomeric mixture, Cpd 6b,
as a yellow oil which was used directly without further puri-
fication.
   C. Cpd 6c Regioisomers. Isobutyl chloroformate (0.43 g, 45
3.15 mrnol) was added neat to a 0° C. solution containing
2-tert-butoxycarbonylarnino-3-( 4-tert-butox y-pheny1)-pro-
pionic acid (1.21 g, 3.6 mum!; Advanced Chem Tech), N-me-
thylmorpholine (362 µL, 3.3 11111101), and CH 2 Cl 2 (60 mL).
After stirring 1.5 h, Cpd 6b (1.09 g, 3 mmol) was added to the so Using the procedure described in Example 5 and substituting
reaction mixture. The reaction mixture was then warmed to            3,4-dichloro-benzylamine for isopropylamine,             (3,4-
room temperature and stirred for 16 h. The reaction mixture          dichloro-benzyl)-[ 4( 5)-phenyl-1-(2-trimethylsilanyl-
was then adsorbed on silica gel, and flash chromatographed           ethoxymethyl)- l H-imidazol-2-ylmethyl]-amine was pre-
on a silica gel column eluting with 25% ethyl acetate/hexane.        pared as a pair ofregioisomers. A sample (95 mg, 0.21 mmol)
The desired fractions were combined and concentrated under 55 of this compound was dissolved in TFA (3 mL) at room
reduced pressure to give 715 mg (35%) of regioisomers of
                                                                     temperature. After 2 h the mixture was concentrated under a
Cpd 6c as a clear oil (TLC: 25% EtOAc/hexane RJ=b 0 _3 ,
                                                                     stream of nitrogen. The residue was purified by reverse phase
homogeneous; HPLC: 100% at 254 and 214 nm, 7.51 min).
                                                                     HPLC, the purest fractions were combined and lyophilized to
    D. Cpd 6d Regioisomers. To the regioisomers of Cpd 6c
                                                                     yield desired product (3,4-dichloro-benzyl)-(4-phenyl-lH-
(90 mg, 0.132 mmol) in 1,2-dimethoxyethane (2 mL) was 60
                                                                     imidazol-2-ylmethyl)-amine as an off white lyophil.
added phenyl boronic acid (32.2 mg, 0.26 mmol) followed by
2M Na 2 COiaq) (0.53 mL, 1.06 mmol). The resulting mix-                  Following the procedure described in Example 1, substi-
ture was degassed with N 2 for 5 min and then palladium              tuting (3,4-dichloro-benzyl)-(4(5)-phenyl-lH-imidazol-2-
tetrakis triphenylphosphine (53 mg, 0.046 mrnol) was added           ylmethyl)-amine for Cpd 1 d, compounds of the present
neat. The reaction vessel was capped and warmed to 80° C. 65 invention may be synthesized with the appropriate reagents,
for 14 b with rapid stirring. After cooling to room temperature      starting materials, and purification methods known to those
the mixture was dried over MgSO4 , flltered through dicalite,        skilled in the art.



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                                                                                                                           VI B-PAT00000038
                                               PTX-007, page 38 of 79

                                                       Appx14444
    Case: 24-1061                           Document: 17                Page: 223                Filed: 12/28/2023




                                                        US 7,741,356 B2
                             67                                                                  68
                          Example 8                                tion and evaporation, the residue was purified by flash column
                                                                   chromatography (eluent: EtOAc-hexane: 3:7) to give the
    (S )-2-tert-Butoxycarbonylamino-3-(2 ,6-dimethy1-4-            desired product (9.74 g, 99%) as a clear oil; 1 H NMR (300
       trifluoromethanesulfony lpheny l)-propionic acid            MHz, CDCl 3 ): o 1.36 (9H, s), 2.39 (6H, s), 3.06 (2H, d, 1°7.7
                        methyl ester                             5
                                                                   Hz), 3.64 (3H, s), 4.51-4.59 (lH, m), 5.12 (lH, d, J=8.5 Hz),
                                                                   6.92 (2H, s); MS (ES+) (relative intensity): 355.8 (100)
                                                                   (M-Boct.
                                                                      13. (S )4 -(2-tert-Butoxycarbonylamino-2-methoxycarbon-
                                                                10 ylethyl)-3,5-dimethylbenzoic acid. To a suspension of (S)-2-
                                                                   tert-butoxycarbonylamino-3-(2,6-dimethyl-4-trifluo-
                                                                   romethanesulfonylphenyl)-propionic acid methyl ester (9.68
                                                                   g, 21.3 mmol), K2 CO 3 (14.1 g, 0.102 mo!), Pd(OAc) 2 (0.48 g,
                                                                15 2.13 mmol) and 1,1'-bis(diphenylphosphino)ferrocene (2.56
                                                                   g, 4.47 mmol) in DMF (48 mL) was bubbled in gaseous CO
                                                                   for 15 min. The mixture was heated to 60° C. for 8 h with a CO
                    Sa
                                                                   balloon. The cool mixture was partitioned between NaHCO,
                                                                20
                                                                   and EtOAc, and filtered. The aqueous layer was separated,
                                                                   acidified with 10% citric acid aqueous solution, extracted
                                            ,.,.Me                 with EtOAc, and finally dried over Na2 SO4 . Filtration and
                     Me                 0
                                                                   concentration of the filtrate resulted in a residue. The residue
                                                                   was recrystallized from EtOAc-hexanes to afford the desired
                                                                25
                                                                   product (7.05 g, 94%); 1 H NMR (300 MHz, CDC1 3 ): o 1.36
       HO                          NH                              (9H, s), 2.42 (6H, s), 3.14 (2H, J=7.4 Hz), 3.65 (3H, s),
                             Me         'BOC
                                                                   4.57-4.59 (lH, m), 5.14 (lH, d, J=8.6 Hz), 7.75 (2H, s);
             0                                                     MS(ES+) (relative intensity): 251.9 (100) (M-Boct.
                             Sb                                 30
                                                                      C. (S)-2-tert-Butoxycarbonylamino-3-( 4-carbamoyl-2,6-
                                                                   dimethylphenyl)propionic acid methyl ester. Into a stirring
                                                                   solution of (S )-4-(2-tertabutoxycarbonylamino-2-methoxy-
                                            ,.,.Me                 carbony lethy l)-3 ,5-dimethyl benzoic acid (3.00 g, 8.54
                     Me                 0                       35
                                                                   mrnol), PyBOP (6.68 g, 12.8 mmol) and HOBt (l.74 g, 12.8
                                                                   mrnol) in DMF (36 mL) was added DIPEA (5.96 rnL, 34.2
                                                                   rnmol) and NH4 CI (0. 92 g, 17 .1 mmol). The resulting mixture
                                                                   was stirred at rl for 40 min before being partitioned between
                                                                40 aqueous NH Cl solution and EtOAc. The separated organic
                                                                                 4

             0                                                     phase was washed sequentially with 2N citric acid aqueous
                              8c                                   solution, saturated aqueous NaHCO 3 solution, and brine, then
                                                                   dried over Na 2 SO4 overnight. After filtration and concentra-
                                                                45 tion, the residue was purified by flash column chromatogra-
                                                                   phy (eluent: EtOAc) to give the product. (3.00 g, 100%); 1 H
                                                                   NMR (300 MHz, CDC1 3 ): o 1.36 (9H, s), 2.39 (6H, s), 3.11
                                                                   (2H, J=7.2 Hz), 3.65 (3H, s), 4.53-4.56 (lH, rn), 5.12 (JH, d,
                                                                   J 8.7 Hz), 5.65 (lH, hrs), 6.09 (lH, br s), 7.46 (2H, s);
                                                                50
                                                                   MS(ES+) (relative intensity): 250.9 (100) (M-Boct.
                                                                       D. (S)-2-tert-Butoxycarbonylamino-3-(4-carbamoyl-2,6-
                                                                    dimethylphenyl)propionic acid. Into an ice-cooled solution
                                                 8d                 of methyl ester from Step C (2.99 g, 8.54 mmol) in THF (50
                                                                 55 mL) was added an aqueous LiOH solution (IN, 50 mL) and
                                                                    stirred at 0° C. Upon consumption of the starting materials,
   A. (S )-2-tert-Butoxycarbony lamino-3-(2, 6-dimethyl-4-          the organic solvents were removed and the aqueous phase was
trifluoromethanesulfonylpheny I)-propionic acid methyl              neutralized with cooled IN HCl at 0° C., and extracted with
ester. Into a cool solution ofBoc-L-(2,6-diMe)Tyr-OMe (7.0
                                                                    EtOAc, and dried over Na 2 SO4 overnight. Filtration and
g. 21.6 mmol; Sources: Chiramer or RSP AminoAcid.Ana- 60
                                                                    evaporation to dryness led to the title acid (S )-2-tert-butoxy-
logues) and N-phenyltrifluoromethanesulfonimide (7.9 g,
                                                                    carbony lamino-3-( 4-carbamoyl-2,6-dirnethylpheny l)propi-
22.0 mmol) in dichloromethane (60 rnL) was added triethy-
lamine (3.25 mL, 23.3 mmol). The resulting solution was             onic acid (2.51 g, 87%); 1H NMR (300 MHz, DMSO-d6 ): o
stirred at 0° C. for 1 hand slowly warmed lo rt. Upon comple-       1.30 (9H, s), 2.32 (6H, s), 2.95 (lH, dd, J=8.8, 13.9 Hz), 3.10
tion, the reaction was quenched by addition of water. The 65 (IH, dd, J~6.2, 14.0 Hz), 4.02-4.12 (lH, m), 7.18-7.23 (2H,
separated organic phase was washed with 1 N NaOH aqueous            m), 7.48 (2H, s), 7.80 (]H, s);
solution, water and dried over Na 2 SO4 overnight. After filtra-       MS(ES+) (relative intensity): 236.9 (6) (M-Boct.



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                                                                                                                           VI B-PAT00000039
                                                     PTX-007, page 39 of 79

                                                         Appx14445
     Case: 24-1061                    Document: 17                    Page: 224                 Filed: 12/28/2023




                                                   US 7,741,356 B2
                               69                                                               70
                         Example 9                                 dimethoxybenzaldehyde, 2-methoxy-5-{[l-(4-phenyl-1 H-
                                                                   imidazol-2-yl)-ethylamino ]-methyl }-benzoic acid methyl
    5-({ [2-Amino-3-( 4-carbamoyl-2,6-dimethyl-ph enyl)-           ester was prepared.
     propionyl ]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-           B. 5-( {[2-tert-Butoxycarbonyl methyl-3-(4-carbamoyl-2.
           amino }-methyl)-2-methoxy-benzoic acid              5
                                                                 6-dimethyl-phenyl)-propiony l H 1-(4-phenyl-1 H-imidazol-
                                                                 2-yl)-ethyl]-amino }-methyl)-2-methoxy-benzoic           acid
                                                                 methyl ester. Using the procedure of Example 1 for the con-
                                                                 version of Cpd ld to Cpd le, substituting 2-methoxy-5-{ll-
                                                              JO (4-phenyl-lf-!-imidazol-2-yl)- ethylamino]-methyl}-benzoic
                                                                 acid methyl ester for Cpd 1 d and substituting 2-tert-Butoxy-
                                                                 carbony lamino-3-( 4-carbamoyl-2,6-dimethy1-pheny1-propi-
                                                                 onic acid of Example 8 for 2-tert-Butoxycarbonylamino- 3-
                                                                 (4-hydroxy-2,6-dimethyl-phen yl)-propionic acid, Cpd 9a
                                                              15
                                                                 was prepared.
                                                                      C. 5-( {[2-tert-butoxycarbonylamino -3-(4-carbamoyl-2,6-
                                                                   dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl-l H-imidazol-2-
                                                                   yl)-ethyl ]-amino }-methyl)-2-methoxy-benzoi c acid. 5-( {[2-
                                                               20 tert-Butoxycarbonyl methy 1-3-(4-carbamoy 1-2, 6-dimethy1-
                                                                   pheny l)-propiony l]-[ 1-(4-phe11yl- l H-imidazol-2-yl)-ethyl]-
                                                                   amino }-methyl)-2-methoxy-benzoi c acid methyl ester was
                                                                   dissolved in an ice-chilled (0-10° C.), mixed solvent system
                                                               25 of THF (10 mL) and MeOH (5 mL). A LiOH.Hz()/water
                                                                  suspension (2.48 M; 3.77 mL) was added dropwise, then the
                                                                  reaction was allowed to warm to room temperature and stirred
                                                                  overnight. The resulting mixture was cooled in an ice bath and
                                                              30 the basic solution was neutralized with 2N citric acid until
                                                                  slightly acidic. The mixture was concentrated under reduced
                                                                  pressure to remove the volatile materials, after which time the
                                                                  remaining aqueous phase was extracted with EtOAc (3x26
                                                              35 mL). These combined organic phases were dried over
                                                                  MgSO4 , filtered, and concentrated under reduced pressure to
                                                                  give 2.26 g (146% of theory) of pale yellowish white solid.
                                                                  This crude material was dissolved in a 10% MeOH/CHiC] 2
                                                              40
                                                                  solution and adsorbed onto 30 g of silica. The adsorbed mate-
                                                                  rial was divided and chromatographed on an ISCO normal
                          9b                                      phase column over two runs, using a 40 g Redi-Sep column
                                                                  for both runs. The solvent system was a gradient MeOH/
                                                                  CH 2 Cl 2 system as follows: Initial 100% CH 2 Cl 2 , 98%-92%
                                                              45
                    0          OMe                                over 40 min; 90% over 12 min, and then 88% over 13 min.
                                                                  The desired product eluted cleanly between 44-61 min. The
                                                                  desired fractions were combined and concentrated under
                                                                  reduced pressure to yield 1.74 g (113% of theory) of 5-( {[2-
                                                              50 tert-butoxycarbonylamino-3-( 4-carbamoyl-2,6-dimethyl-
                                                                  phenyl)-propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl ]-
                                                                  amino }-methyl)-2-methoxy-benzoi c acid, Cpd 9b, as a white
                                                                  solid.
                                                              55
                                                                    D. 5-( {[2-Amino-3-(4-carbamoyl-2 ,6-dimethyl-phenyl)-
                                                                 propionyl]-[l-( 4-phenyl-l H-imidazol-2-yl)-ethyl]-amin o }-
                                                                 methyl)-2-methoxy-benzoic acid. A portion of Cpd 9b
                                                                 (0.27g, 0.41 rnmol) was dissolved in EtOAc (39 mL)/THF (5
         0
                                                              60 mL), filtered, and subsequently treated with gaseous HCl for
                                9c
                                                                 15 min. After completion of the HCl addition, the reaction
                                                                 was slowly warmed to room temperature and a solid precipi-
  A. 2-Methoxy-5{[1-( 4-phenyl-l H-imidazol-2-yl)-ethy-          tate formed. After 5 h the reaction appeared >97% complete
lamino]-methyl}-benzoic acid methyl ester. Using the proce-   65 by LC (@214 nm; 2.56 min.). The stirring was continued over
dures described for Example 3, substituting 5-formyl-2-          3 d, then the solid was collected and rinsed with a small
methoxy-benzoic acid methyl ester (WO 02/22612) for 3,4-         amount of EtOAc. The resulting solid was dried under high



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                                                                                                                          VI B-PAT00000040
                                            PTX-007, page 40 of 79

                                                    Appx14446
    Case: 24-1061                    Document: 17                   Page: 225                Filed: 12/28/2023




                                                  US 7,741,356 B2
                            71                                                               72
vacuum under refluxing toluene for 2.5 h to yield 0.19 g                                Example 11
(71 %) of desired Cpd 9c as a white solid di-HCl salt.
                                                                     3-( {[2-Amino-3-(4-hydroxy-2,6-dimethy I-phenyl)-
                        Example 10                                   propionyl]-[ 1-(4-phenyl- l H-imidazol-2-yl)-ethyl]-
                                                                                amino }-methyl)-benzamide




                                                             20




     HO

                                                             25




    A. 4-{[ 1-(4-Phenyl-1 H-imidazol-2-yl)-ethylamino]-me- 30
thyl}-benzoic acid methyl ester. Using the procedure
described for Example 3, substituting 4-formyl-benzoic acid
methyl ester for 3,4-dimethoxybenzaldehyde, 4-{ll-( 4-phe-
nyl-l H-imidazol-2-yl)-ethylamino ]-methyl }-benzoic acid
methyl ester was prepared.                                       35

    B.     4-( {[2-Amino-3-(4-hydroxy-2,6-dimethyl-phenyl)-
propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl )-ethyl]-amino }-
methyl )-benzoic acid methyl ester. 4-{[1-(4-phenyl-lH-imi-
dazol-2-yl )-ethy!amino ]-methyl }-benzoic acid methyl ester
was substituted for Cpd Id of Example I and elaborated
according to the procedure of Example 1 to prepare the prod-
uct.
    C.     4-( {[2-Amino-3-(4-hydroxy-2,6-dimethyl-phenyl)-
propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-
methyl)-benzoic acid. A solution of 4-( {[2-amino-3-(4-hy-
droxy-2,6-dimethyl-phenyl)-propionyl]-[ 1-( 4-phenyl-1 H-
imidazol-2-yl)-ethyl]-amino }-methyl)-benzoic acid methyl
ester (TFA salt), (0.043 g, 0.067 mmol) in 5 mL ofTHF was
cooled in an ice bath. A cold (5-10° C.) 3M aqueous solution 50
of LiOH (5 mL) was added and the reaction mixture was
stirred vigorously while cold. Chilled (5-lOC) 2M aqueous
HCI (7.5 mL) was added dropwise to neutralize the mixture
was stirred for 5 min, and then partially concentrated in vacuo
                                                                 55
unheated. The resultant aqueous suspension was extracted
seven times with EtOAc. The extracts were dried over
Na 2 SO4 , filtered, and concentrated to afford 0.030 g of 4-( {
[2-amino-3-(4-hydroxy-2, 6-dimethyl-pheny1)-propionyI]-
[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-methyl)-         60
benzoic acid as a white powder. The material was taken up in
EtOH and treated with 1 M HCI in Et2 O. The solution was
concentrated and the residue was triturated with CH 3 CN. A
0.021 g (53%) sample of 4-({[2-amino-3-(4-hydroxy-2,6-                A. 3-{[ 1-(4-phenyl-lH-imidazol-2-yl)-ethylamino ]-me-
dimethyl-phenyl)-propionyl]-[ 1-(4-phenyl- l H-imidazol-2- 65 thyl}-benzonitrile. Using the procedure described for
yl)-ethyl]-amino }-methyl)-benzoic acid was collected as its        Example 3, substituting 3-formyl-benzonitrile for 3,4-
HCI salt. MS (ES+) (relative intensity): 513.2 (100) (M+l).         dimethoxybenzaldehyde, the product was prepared.



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                                                                                                                      VI B-PAT00000041
                                            PTX-007, page 41 of 79

                                                   Appx14447
    Case: 24-1061                       Document: 17                     Page: 226                   Filed: 12/28/2023




                                                      US 7,741,356 B2
                              73                                                                     74
   B.    [1-{ (3-Cyano-benzyl)-[l-(4-phenyl-lH-imidazol-2-
yl)-ethyl]-carbamoyl}-2-(4-hydroxy-2,6-dimethyl-phenyl)-                                      -continued
                                                                                     OMe
ethyl]-carbamic acid tert-butyl ester. 3-{[1-(4-phenyl-lH-
imidazol-2-yl )-ethy!amino J-methy l }-benzonitrile    was
substituted for Cpd ldofExample 1 and elaborated according
to the procedure of Example 1 to prepare the product.
   C. [1-{ (3-Carbamoyl-benzyl)-[ 1-(4-phenyl- lH-imidazol-
2-yl)-ethyl]-carbamoyl}-2-(4-hydroxy-2,6-dimethyl-phe-
nyl)-ethyl]-carbamic acid tert-butyl ester. A solution of [1-{ 10
(3-cyano-benzyl)-[ 1-(4-phenyl- lH-imidazol-2-y 1)-ethyl]-
carbamoyl }-2-( 4-hydroxy-2,6-dimethyl-phenyl)-ethyl]-
carbamic acid tert-butyl ester (0.070 g, 0.121111110!) in 3 mL of
EtOH was treated with 1.0 mL of 30% hydrogen peroxide                                          12d
followed immediately by 0.1 mL of a 6M aqueous solution of 15
NaOH. The reaction mixture was stirred vigorously for 18 h
and quenched by pouring into chilled (5-IOC) water. TI1e
aqueous solution was extracted five times with Et 2 0 and the
combined extracts were dried over MgSO4 , filtered, and con-
                                                                  20
centrated to provide 0.051 g of [1-{ (3-carbamoyl-benzyl)-[ 1-
(4-phenyl-1 H-imidazol-2-yl)-ethyl J-carbamoyl }-2-(4-hy-
droxy-2,6-dimethy l-phenyl)-ethyl]-carbamic acid tert-butyl
ester as a colorless residue (HPLC: 84% @254 nm and 77%
@214 nm). MS (ES+) (relative intensity): 612.5 (100) (M+l). 25
This sample was of sufficient quality to use in the next reac-
tion without further purification.
   D.      3-( {[2-Amino-3-(4-hydroxy-2,6-dirnethyl-phenyl)-
propionyl]-[ 1-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-amino }-
methyl )-benzamide. [1-{ (3-carbamoyl-benzyl)-[1-(4-phe- 30
nyl-1 H-imidazol-2-yl )-ethyl J-carbamoyl }-2-(4-hydroxy-2,
6-dimethyl-phenyl)-ethyl]-carbamic acid tert-butyl ester may
be BOC-deprotected using the procedure described in
Example 1 for the conversion of Cpd le to Cpd lfto provide
                                                                  35
the title compound.

                          Example 12

     4-{ 2-Amino-2-[ { 1-[4-(2-cyano-phenyl)-l H-imida-           40
      zol-2-yl ]-ethyl }-(3,4-dimethoxy-benzyl)-carbam-
             oyl]-ethyl }-3,5-dimethyl-benzamide
                                                                                             12f



                                                                  45




                                                                  50

                       12a




                                                                  55

                                                                             0

                                                                                                          12g
                       12b
                                                                  60
                                                                        A.       { l-[2-(2-Bromo-phenyl)-2-oxo-ethylcarbamoyl]-
                                                                     ethyl }-carbamic acid tert-butyl ester. Compound 2a was pre-
                                                                     pared according to Example 1 using the appropriate reagents,
                                                                     starting materials and methods known to those skilled in the
                                                                  65 art.
                               12c                                      B.    { 1-[ 4-(2-Bromo-phenyl)-1 H-irnidazol-2-yl]-ethyl }-
                                                                     carbamic acid tert-butyl ester. Following the procedure



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                                                                                                                           VI B-PAT00000042
                                               PTX-007, page 42 of 79

                                                       Appx14448
         Case: 24-1061                     Document: 17                     Page: 227                Filed: 12/28/2023




                                                         US 7,741,356 B2
                                  75                                                                 76
    described in Example 1 for the conversion of Compound la to
    Compound 1b, and using the appropriate reagents and meth-                                    -continued
    ods known to those skilled in the art, Cpd 12b, was prepared.
      C.        1-[4-(4-Bromo-phenyl)-1 H-imidazol-2-yl]-ethy-
    lamine. Using the procedure described for the conversion of
    Cpd 1e to 1f, Compound 12c was prepared.
       D.        [1-[ { l-[4-(2-Bromo-phenyl)-lH-im idazol-2-yl]-
    ethyl }-(3,4-dimethoxy-benzyl)-car bamoyl )-2-(4-carbam-
    oy l-2 ,6-dimethy l-phenyl )-ethy!J-carbamic acid te1t-butyl    10
    ester. Using the procedure describ,xl in Example 9, Step D,
    and substituting 1-[4-(4-bromo-phenyl)-lH-imidazo l-2-yl]-
    ethylamine for 1-(4-phenyl-1 H-imidazol-2-yl)-ethylamine,
    the product was prepared.
                                                                    15
        E. {2-(4-Carbamoyl-2,6-dimethyl-p henyl)-l-[ { 1-[4-(2-
    cyano-phenyl)-lH-imidazol-2 -yl]-ethyl}-(3,4-dimethoxy-
    benzyl)-carbamoyl]-ethyl}-ca rban1ic acid tert-butyl ester. To
    a solution of [1-[ { l-[4-(2-bromo-phenyl)-lH-im idazol-2-
    y !]-ethyl }-(3,4-dimethoxy-benzy1)-carbamoyl )-2-(4-car-       20
    bamoyl-2, 6-dimethy l-pheny l)-ethyl J-carbamic acid tert-bu-
    tyl ester (294 mg; 0.4 mmol) in DMF (2 mL) was added
    Zn(CN) 2 (28 mg; 0.24 mmol). The resulting mixture was
    degassed with Argon for 5 min, then Pd(PPh3 ) 4 (92 mg; 0.08
                                                                    25
    mmol) was added neat, and the system was immediately
    warmed to 100° C. After heating for 6 h, the reaction was
    cooled to rt and partitioned between EtOAc and water. The
    organic phase was dried over Na 2 SO4 , filtered, and concen-
    trated under reduced pressure. The crude material was sub- 30
    jected to reverse phase HPLC (water/acetonitrile/0.1 '¼, TE'\).
    The fractions of interest were combined, basified with satu-
    rated aqueous N aHCO3 and extracted twice with EtOAc. The
    EtOAc extracts were combined, dried over Na 2 SO 4 , filtered,
                                                                    35
    and concentrated to afford 146 mg (54%) of desired {2-(4-
    carbamoyl-2,6-dimethyl-phen yl)-1-[ { 1-[ 4-(2-cyano-phe-
    nyl)-l H-imidazol-2-yl]-ethyl }-(3,4-dimethoxy-benzyl)-car -
    bamoyl]-ethyl }-carbamic acid terr-butyl ester (HPLC:
    96%@ 254 nm and 97%@ 214 11111). This sample was of 40
    sufficient quality to use in the next reaction without further
    purification.
       F. 4-{2-Amino-2-[ { l-[4-(2-cyano-pbenyl)-lH-im idazol-
    2-yl]-ethyl}-(3,4-dimethoxy-b enzyl)-carban1oyl]-ethyl}-3,
                                                                   45
    5-dimethyl-benzamide. {2-(4-carbamoyl-2,6-dimethy l-phe-
    nyl)-l-[ { I -[4-(2-cyano-phenyl)-lH-imid azol-2-yl ]-ethyl}-
    (3,4-dimethoxy-benzy I)-carbamoy I]-ethyI}-carbamic acid
    tert-butyl ester may be BOC-deprotecl(..>d using the procedure
    described in Example 1 for the conversion of Cpd 1e to Cpd 50
    lf to give the title compound.                                                                         0


                            Example 13                                                         Me

                                                                    55          0
        3-(2-{ 1-[ [2-Amino-3-(4-carbamoy 1-2,6-dimethyl-
       phenyl)-propionyl]-(3,4-dime thoxy-benzyl)-amino]-
             ethyl }-1 H-imidazol-4-yl)-benzoic acid                      A.        l-[4-(3-Bromo-phenyl)-lH-im idazol-2-yl]-ethy-
                                                                       lamine. Using the procedure described in Example 12, and
                                                                    60 the appropriately substituted starting materials and reagents,
                                                                       1-[ 4-(3-bromo-phenyl)-JH-imid azol-2-yl]-ethylamine was
                                                                       prepared.
                                                                          B. { l-[4-(3-Bromo-phenyl)-1 H-imidazol-2-yl]-ethyl}-(3.
                                                                       4-dimethoxy-benzyl)-amine-. Using the procedure described
                                                                    65 in Example 3, and substituting 1-[ 4-(3-bromo-phenyl)-l H-
                                                                       imidazol-2-yl]-ethylamine for 1-(4-phenyl-1H-imidazol-2-
                                                                       yl)-ethylan1ine, the product was prepared.




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                                                  PTX-007, page 43 of 79
                                                                                                                               VI B-PAT00000043



                                                          Appx14449
   Case: 24-1061                      Document: 17                   Page: 228                 Filed: 12/28/2023




                                                     US 7,741,356 B2
                             77                                                                78
  C.           [1-[ {1-[4-(3-Bromo-phenyl)-lH-imidazol-2-yl]-
ethyl }-(3, 4-dimethoxy-benzyl)-carbamoyl ]-2-(4-carbam-                                    -continued
oy l-2,6-dimethy l-phenyl )-ethy l]-carbamic acid tert-butyl
ester. Using the procedure of Example l for the conversion of
Cpd ld to Cpd le, substituting {1-[4-(3-Bromo-phenyl)-IH- 5
imidazol-2-yl]-ethyl}-(3,4-dimethoxy-benzyl)-amine          for
Cpd ld and substituting 2-tert-Butoxycarbonylamino-3-(4-
carbamoyl-2,6-dimethyl-phenyl-propionic acid of Example
8 for 2-tert-Butoxycarbonylamino-3-(4-hydroxy-2,6-dim- 10
ethyl-phenyl)-propionic acid, the product was prepared.
   D. 3-(2-{ l-[[ 2-tert-Butoxycarbonylamino-3-(4-carbam-
oyl-2,6-dimethyl-phenyl)-propionyl]-(3,4-dimethoxy-ben-
zyl)-amino]-ethyl}-lH-imidazol-4-yl)-benzoic acid. To a
                                                                15
solution of [1-[ { 1-[4-(3-bromo-phenyl)-1H-in1idazol-2-yl]-
ethyl }-(3,4-dimethoxy-benzy1)-carbamoyl ]-2-(4-carbam-
oy l-2,6-dimethy I-phenyl )-ethy l]-carbamic acid tert-butyl
ester(290 mg; 0.40nunol) inDMF (5 mL)wasaddedK2 CO 3
(262 mg; 1.9 11111101) and the resulting mixture was degassed 20
with Argon for 5 min. At this time, Pd(OAc )2 (8.9 mg; 0.04
mmol) and 1, 1-bis(diphenylphosphino) ferrocene (46 mg;
0.083 mmol) were added. Carbon monoxide was then
bubbled through the resulting mixture for l O min at rt, the
reaction was capped, and wanned to 100° C. for 6 h. After 25
cooling to rt the mixture was partitioned between EtOAc and
water, filtered through Celite, and then separated. The aque-
ous phase was then washed with a second portion ofEtOAc.
The aqueous phase was then acidified to pH 5 with 2N citric 30
acid and the resulting aqueous solution extracted with EtOAc
(4x ). TI1ese latter EtOAc extracts were combined, dried over
Na 2 804 , filtered, and concentrated under reduced pressure to
give the crude product (HPLC: 87% at 254 nm).
                                                               35

   E. 3-(2-{ 1-[[2-Amino-3-(4-carbamoyl-2,6-dimethyl-phe-
nyl)-propionyl]-(3,4-dimethoxy-benzyl)-amino ]-ethy1}- lH-
imidazol-4-yl)-benzoic acid. 3-(2-{ l-[[2-tert-Butoxycarbo-
nylamino-3-(4-carbamoyl-2,6-dimelhyl-phenyl)-               40
propiony l]-(3 ,4-dimethoxy-benzyl)-amino ]-ethy I}-1 H-
imidazo 1-4-yl )-benzoic acid may be BOC-deprotected using
the procedure described in Example 1 for the conversion of
Cpd le to Cpd lfto give the title compound.
                                                               45
                                                                        0
                        Example 14

    4-(2-Amino-2-{ [2-hydroxy-1-(4-phenyl- l H-imida-
     zol-2-yl)-ethyl]-isopropyl-carbamoyl }-etbyl)-3,5-        50
                    dimethyl-benzamide




                                                                            0



                                                               60    A.     [2-Benzyloxy-1-(2-oxo-2-phenyl-ethylcarbamoyl-
                                                                  ethyl]-carbamic acid tert butyl ester. The product was pre-
                                                                  pared using the procedure described in Example 1 and sub-
                                                                  stituting N-a.-BOC-L-serine benzyl ester for N-a.-CBZ-L-
                                                                  alanine.
                                                               65    B. [2-Benzyloxy-1-(4-phenyl-l H-imidazol-2-yl-ethyl]-
                                                                  carbamic acid tert butyl ester. By the procedure described in
                                                                  Example l for the conversion of Cpd la to Cpd lb, [2-ben-



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                                                                                                                       VI B-PAT00000044
                                             PTX-007, page 44 of 79

                                                     Appx14450
    Case: 24-1061                       Document: 17                         Page: 229             Filed: 12/28/2023




                                                             US 7,741,356 B2
                             79                                                                    80
zyloxy-1-(2-oxo-2-phenyl-ethy lcarbamoyl-ethyl]-carbamic          zamide (TFA salt).A solution of[l-{[2-benzyloxy-1-(4-phe-
acid tert butyl esler was converted to the product.               nyl-lH-imidazol-2-yl)-ethyl]-isopropyl-carbamoyl }-2-(4-
   C.      [2-Benzyloxy-1-(4-phenyl-l H-imidazol-2-yl-ethy-       carbamoyl-2,6-dimethyl-phenyl)-ethyl]-carbamic acid tert-
lamine. [2-benzyloxy-1-( 4-phenyl-1 H-imidazol-2-yl-ethyl]-       butyl ester, (0.287 g, 0.439 mmol), in chlorofom1 (10 mL)
carbamic acid tert butyl ester may be BOC-deprotected using 5 was cooled in an ice bath and treated with 0.62 mL (4.4 mmol)
the procedure described in Example 1 fi.1r the conversion of      of iodotrimethylsilane. The reaction, which immediately
Cpd le to Cpd lf to give the product.                             clouded, was wam1ed slowly to room temperature while stir-
   D. [2-Benzyloxy-1-( 4-phenyl-1 H-imidazol-2-yl-ethyl]-         ring. After 16 h, the reaction was cooled in an ice bath to 5-10°
isopropyl-amine. By the procedure described in Example 1          C. and treated with 100 mL ofMeOH. The quenched mixture
for the conversion of Cpd le to Cpd 1d, [2-benzyloxy-1-( 4- 10 was stirred at 5-10° C. for 30 min, removed from the ice bath
phenyl-lH-imidazol-2-yl-ethylamine was converted to the           and stirred for an additional 30 min, and concentrated in
product.                                                          vacuo to obtain 0.488 g of orange residue that was subjected
   E.      [l-{[2-Benzyloxy-1-( 4-phenyl-lH-imidazol-2-yl)-       to reverse phase HPLC (water/acetonitrile/0.l % TFA). The
ethyl]-isopropyl-carbamoyl }-2-(4-carbamoyl-2,6-dimethyl-         fractions of interest were combined and the sample was lyo-
phenyl)-ethyl]-carbamic acid tert-butyl ester. Using the pro- 15 philized to afford 0.150 g (59%) of 4-(2-amino-2-{[2-hy-
cedure of Example 1 for the conversion of Cpd 1d to Cpd 1e,       droxy-l-(4-phenyl-1 H-imidazol-2-yl)-ethyl]-isopropyl-car-
substituting [2-benzyloxy-1-(4-phenyl-lH-imidazol-2-yl-           bamoyl }-ethyl)-3,5-dimethyl-benzamide (TFA salt) as a
ethyl]-isopropyl-amine for Cpd Id and substituting 2-tert-        white powder (HPLC: 99%@ 254 11111 and 100%@21411111).
Butoxycarbonylamino-3-(4-carbamoy l-2, 6-dimethy 1-phe-           MS (ES+) (relative intensity): 464.1 (lOO)(M+l).
ny l-propionic acid of Example 8 for                   2-tert- 20
butoxycarbonylamino-3-(4-hydroxy-2,6-dirnethyl-phenyl)-                                      Example 15
propionic acid, the product was prepared.
   F. 4-(2-Amino-2-{[2-hydroxy-l-( 4-phenyl-lH-irnidazol-              (S )-2-tert-Butoxycarbonylamino-3-(4-carbamoy 1-2,
2-yl)-ethy l]-isopropyl-carbamoyl }-ethy1)-3,5-dirnethyl-ben-                    6-dimethyl-phenyl)-propionic acid




                                                               HO~
                                                                      ~Br
                                                                  0




        ~Br 0tcBr
                                                     /                15c




                                       \ /Jo
                                       '\/                            MethodB
  HO~                             F3C/    '-o
            15a                                    15b

                                                                                             15d




             /BOC                                   /BOC


  HO,
      .._-1lr.,..o,     Me
                                             Jyo,M,                    ~

                  0                                      0
                  15e                                    15f                                            15g
                                                                            /Me
                                                                        0


                                                                             0




                                               0                                                   0

                                                                 8c                                                8d




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                                                                                                                            VI B-PAT00000045
                                                   PTX-007, page 45 of 79

                                                               Appx14451
     Case: 24-1061                       Document: 17                     Page: 230                 Filed: 12/28/2023




                                                      US 7,741,356 B2
                              81                                                                   82
   A. Trifluoromethanesulfonic acid 4-bromo-3,5-dimethyl-            tion of tris(dibenzylideneacetone )dipalladium (0) (0.074 g,
phenyl ester. To a cooled (0° C.) solution of 4-bromo-3,5-           0.08 mmol) and TEA (0.31 mL, 2.2 mo!), the reaction mixture
dimethylphenol (3.05 g, 15.2 mmol) in pyridine (8 mL) was            was heated at 110° C. for 24 h. At that time, the reaction was
added trifluoromethanesulfonic anhydride (5.0 g, 17.7 mmol)          quenched by addition of water, and then extracted with
dropwise. After completion of addition, the resulting mixture s
                                                                     EtOAc. The organic phase was washed with 1 N HCI, satu-
was stirred at 0° C. for 15 min, and then at rt overnight. The
                                                                     rated aqueous NaHCO3 , brine, and dried over MgSO4 . The
reaction was quenched by addition of water, and then
extracted with EtOAc. The organic extmcts were washed                mixture was concentrated to a residue, which was purified by
seqnentially with water, 2N HCl (2x), brine, and then dried          flash column chromatography (eluent: EtOAc:hexane-1: 1 to
over MgSO4 . Filtration and evaporation to dryness afforded 10 EtOAc only) to give Compound 15g (0.40 g, 57%) as a white
Compound 15b (5.30 g, 95%)asacolorless oil. 1 HNMR(300               solid. 1 H NMR (300 MHz, CD,OD): I\ 1.36 (9H, s), 2.26 (6H,
MHz, CDCl 3 ): I\ 2.45 (6H, s), 7.00 (2H, s).                        s), 3.83 (3H, s), 7.10 (IH, s), 7.56 (2H, s); 13 C NMR (75 MHz,
   B. 4-Bromo-3,5-dimethylbenzoic acid. To a solution of             DMSO-d6 ): I\ 17.6, 25.7, 50.2, 78.7, 124.9, 126.4, 128.3,
Compound 15b (6.57 g, 19.7 nm10l) in DMF (65 mL) were                131.2, 135.2, 135.5, 152.8, 164.3,169.6; MS (ES+) (relative
added K 2CO3 (13.1 g, 94.7 mmol), Pd(OAc) 2 (0.44 g, 1.97 1s intensity): 349.1 (38%)(M+l).
mmol) and 1,1'-bis(diphenylphosphino)ferrocene (2.29 g,
4.14 mmol). The resulting mixture was bubbled in gaseous                F. (S)-2-terl-Butoxycarbonylamino-3-(4-carbamoyl-2,6-
CO for 10 min and was heated to 60° C. for7.5 h with aCC\g)          dimethyl-phenyl)propionic acid methyl ester. Into a reactor
balloon. The cooled mixture was partitioned between aque-            charged with a solution of Compound 15g (0.56 g, 1.6 mmol)
ous NaHCO 3 and EtOAc, and filtered. The aqueous phase was 20 in degassed Mt.,-OH (80 mL) was added [Rh(cod)(R,R-DI-
sepamted, acidified with aqueous 6N HCI, extracted with              PAMP)tBF 4- under a stream of argon. The reactor was
EtOAc, and finally dried over Na 2 SO4 • Filtration and concen-      sealed and flushed with H 2 , stirred at 60° C. under 1000 psi of
tration of the filtrate resulted in the crnde Compound 15c as a      H2 for 14 d. The crude product was purified by flash column
brown residue, which was used in the next step without fur-          chromatography (eluent: EtOAc:hexane-1: 1) to afford Com-
ther purification.                                                25 pound 8c (0.54 g, 96%) as a white solid. ee: >99%; 1 H NMR
   C. 4-Bromo-3,5-dimethyl-benzamide. A suspension of
                                                                     (300 MHz, CDC1 3 ): I\ 1.36 (9H, s), 2.39 (6H, s), 3.11 (2H,
Compound 15c in DCM (40mL) was added SOC1 2 (3.1 mL,
42 mmol) and the mixture was heated at reflux for 2 h. Upon          1=7.2 Hz), 3.65 (3H, s), 4.53-4.56 (1 fl m), 5.12 (!H, d, J 8.7
removal of the solvent by evapomtion, the residue was dis-           Hz), 5.65 (1H, br s), 6.09 (1H, br s), 7.46 (2H, s); MS(ES+)
solved in DCM (40 mL) and ammonium hydroxide (28% 30 (relative intensity): 250.9 (100) (M-Boct.
NH 3 in water, 2.8 mL) was added. The mixture was heated at             G. (S)-2-tert-Butoxycarbonylamino-3-(4-carbamoyl-2,6-
50° C. for 2 hand concentrated. The residue was diluted with         dimethyl-phenyl)propionic acid. Into an ice-cooled solution
H 2 O, extracted with EtOAc, and the organic portion was dried       of Compound Sc (0.22 g;{):63 mmol) in THF (3.5 mL) was
over Na 2 SO4 . After filtration and evaporation, the residue was    added an aqueous LiOH solution (1 N, 3.5 mL) and stirred at
purified by flash colunm chramotagraphy (eluent: EtOAc) to 35
                                                                     0° C. Upon completion of the reaction, the reaction was
give the Compound 15d (2.90 g, 65% for 2 steps) as an
off-white solid. 1 HNMR(300MHz, CDl:N): I\ 2.45 (6H, s),             concentrated and the aqueous phase was neutralized with
5.94 (lH, brs), 6.71 (lH, hrs), 7.57 (2H, s); MS(ES+)(relative       cooled aqueous l N HCI at 0° C., and extracted with EtOAc.
intensity): 228.0 (100%) (M+l).                                      The combined extracts were dried over Na 2 SO4 overnight.
   Method B: A mixture of Compound 15b (3.33 g, 10 mmol), 40 Filtration and evaporation of the filtrate to dryness led to
PdCl 2 (0.053 g, 0.3 mmol), hexamethyldisilazane (HMDS,              Compound 8d (0.20 g, 94%) as a white solid. 1 H NMR (300
8.4 mL, 40 mmol), and dppp (0.12 g, 0.3 mmol) was bubbled            MHz, DMSO-d6 ): I\ 1.30 (9H, s), 2.32 (6H, s), 2.95 (1 H, dd,
with a gaseous CO for 5 min and then stirred in a CO balloon         J8.8, 13.9 Hz), 3.l O(lH, dd,16.2, 14.0 Hz), 4.02-4.12 (lH,
at 80° C. for4 h. To the reaction mixture was added MeOH (5          m). 7.18-7.23 (2H, m), 7.48 (2H, s), 7.80 (lH, s); MS(ES+)
mL). The mixture was stirred for 10 min, diluted with 2N 45
                                                                     (relative intensity): 236.9 (6) (M-Boc}'.
H 2 SO4 (200 mL), and then extracted with EtOAc. The EtOAc
extract was washed with saturated aqueous NaHCO3 , brine,
and then dried over Na2 SO4 . Filtration and evaporation of the
resultant filtrate gave a residue, which was purified by flash                                  Example 16
column chromatography (eluent: EtOAc) to give Compound 50
15d (1.60 g, 70%) as a white solid.                                       Racemic 2-tert-Butoxycarbony lamino-3-( 4-carbam-
   D. 2-tert-Butoxycarbonylaminoacrylic acid methyl ester.                      oy l-2,6-dimethy l-pheny l)-propionic acid
To a suspension ofN-Boc-serine methyl ester (Cpd 15e, 2.19
g, l Ommol) and EDC (2.01 g, 10.5 mmol) in DCM (70 mL)
was added CuCI (1.04 g, 10.5 mmol). The reaction mixture 55
was stirred at rt for 72 h. Upon removal of the solvent, the
                                                                                                        ..-,Me
residue was diluted with EtOAc, washed sequentially with                                              0
water and brine and then dried over MgSO4 . The crnde prod-
uct was purified by flash colunm chromatography (eluent:
                                                                                                            0
EtOAc:hexane-1:4) to give Compound 15e (1.90 g, 94%) as 60
a colorless oil. 1 H NMR (300 MHz, CDCl 3 ): I\ 1.49 (9H, s),
3.83 (3H, s), 5.73 (IH, d, J=l.5 Hz), 6.16 (lH, s), 7.02 (lH, s).
   E. (Z)-2-tert-Butoxycarbonylamino-3-(4-carbamoy J-2,6-
                                                                            0
dimethy I-phenyl )acrylic acid methyl ester. A flask charged
with Compound 15d(0.46 g, 2.0mmol), Compound 15f(0.80 65                                 Cpd 15g
g, 4.0 mmol), tri-o-tolylphosphine (0.098 g, 0.32 mmol),
DMF (8 mL) was purged with N 2 (g) 3 times. After the addi-_



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                                                                                                                              VI B-PAT00000046
                                               PTX-007, page 46 of 79

                                                        Appx14452
    Case: 24-1061                              Document: 17                  Page: 231                     Filed: 12/28/2023




                                                                 US 7,741,356 B2
                                   83                                                                       84
                             -continued                                                         TABLE VI-continued
                                               .,.,.Me
                                           0                                             Mass Spectral Data for Selected Compounds

                                                                                                    Theoretical            Measured
                                                  0                                Cpd                 MW                  MW(MH')

                                                                                   19                 633.2                   634.0
                                                                                   20                 599.3                   600.2
                                                                                   21                 634.3                   635.2
               0                                                        10         22                 634.3                   635.2
                                                                                   23                 598.3                   599.2
                             16a
                                                                                   24                 580.3                   581.l
                                                                                   25                 471.26                  472.4
                                                                                   26                 633.2                   634.0
                                                                                   27                 580.3                   581.l
                                                                        15         28                 598.3                   599.2
                                                                                   29                 599.3                   600.0
                                                                                   30                 680.3                   681.2
                                                                                   31                 512.2                   513
                                                                                   32                 498.3                   499.l
                                                                                   33                 498.3                   499.1
                                                      16b                          34                 528.3                   529.2
                                                                       20
                                                                                   35                 514.3                   515.1
                                                                                   36                 462.26                  463.4
                                                                                   37                 482.23                  483.4
    A. Racemic 2-tert-butoxycarbonylamino-3-(4-carbamoyl-                          38                 446.27                  447.5
2,6-dimethyl-phenyl)propionic acid methyl ester. To a reactor                      39                 450.26                  451.5
charged with a solution of Compound 15g (0.68 g, 1.95                              40                 530.3                   531.2
                                                               25                  41                 445.3                   446.l
11111101) in M"DH (80 mL) was added 10% Pd-C (0.5 g). The
                                                                                   42                 563.3                   564.2
reactor was conn"-cted to a hydrogenator and shaken under 51                       43                 504.23                  505.3
psi ofH 2 overnight. The mixture was filtered through a pad of                     44                 504.23                  505.3
Celite and the filtrate was concentrated to dryness to give                        45                 513.24                  514.3
Compound 16a (0.676 g, 99%) as a white solid. The 1 HNMR                           46                 492.27                  493.2
                                                                                   47                 479.25                  480.l
spectrum was identical to that of (S)-2-tert-butoxycarbony- 30                     48                 512,2                   513.2
lamino-3-( 4-carbamoyl-2, 6-dimethy1-phenyI)propionic acid                         49                 540.2                   541
methyl ester, Compound Sc.                                                         50                 539.25                  540.2
    B. Racemic 2-tert-butoxycarbonylamino-3-(4-carbamoyl-
                                                                                   51                 ,:;.s:w                 554.1
                                                                                   52                 526.3                   527.l
2,6-dimethyl-phenyl)propionic acid. Using the procedure 35                         53                 609.3                   610.2
described for Example 15, for the preparation of (S )-2-tert-                      54                 458.2                   459
Butoxycarbonylamino-3-(4-carbamoy1-2, 6-dimethy 1-phe-                             55                 458.2                   459
                                                                                   56                 474.3                   475.2
ny l)propionic acid, racemic 2-tert-butoxycarbonylamino-3-                         57                 469.25                  470.1
(4-carbamoyl-2,6-dimethyl-phenyl)propionic               acid.                     58                 543.2                   544.3
Compound 16b, was prepared.                                    40
                                                                                   59                 5133                    514.2
                                                                                   60                 445.3                   446.2
    Using the procedures of the Examples above and the appro-                      61                 456.2                   457.l
priate reagents, starting materials and purification methods                       62                 498.2                   499.]
known to those skilled in the art, other compounds of the                          63                 436.3                   437.l
present invention may be prepared including but not limited                        64                 601.3                   602.2
                                                                                   65                 422.l                   423.l
to:                                                            45                  66                 463.3                   464.5
                                                                                   67                 491.3                   492.l
                             TABLE VJ                                              68                 436.3                   437.l
                                                                                   69                 463.3                   464.l
               Ma.ss Spectral Data for Selected Compo,mds                          70                 454.2                   455.0
                                                                                   71                 456.2                   457.0
                           Theoretical                Measured         50          72                 498.2                   499.l
         Cpd                  MW                      MW(MW)                       73                 463.3                   464.2
                                                                                   74                 577.3                   578.6
                             538                         539                       75                 555.3                   555.8
                             520                         521                       76                 513.3                   514.2
                             573                         574                       77                 525.3                   526.3
          4                  541                         542           55          78                 497.3                   498.3
                             527                         528                       79                 525.3                   526.2
           6                 555                         556                       80                 512.2                   513.2
           7                 569                         570                       81                 484.2                   485.4
           8                 593                         594                       82                 438.24                  439.2
           9                 553                         554                       83                 486.24                  487.5
          10                 603                         604                       84                 438.24                  439.0
                                                                       60
          ]I                 589                         590                       85                 463.3                   464.2
          12                 587.2                       588.3                     86                 433.2                   434.2
          13                 589.3                       590.2                     87                 522.2                   523
          14                 569.3                       570.2                     88                 526.3                   527.4
          15                 500.2                       499.2                     89                 526.3                   527.4
          16                 475.3                       476.l                     90                 511.3                   512.4
          17                 583.28                      584.5         65          91                 493.2                   494.4
          18                 569.26                      570.2                     92                 469.2                   470.2




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                                                                                                                                      VI B-PAT0000004 7
                                                         PTX-007, page 47 of 79

                                                                 Appx14453
Case: 24-1061                         Document: 17                 Page: 232                        Filed: 12/28/2023




                                                       US 7,741,356 B2
                           85                                                                       86
                TABLE VI-continued                                                    TABLE VI-continued
         Mass Soectral Data for Selected Com201mds                             Mass Seectral Data for Selected Comeounds

                    Theoretical             Measured          5
                                                                                          Theoretical            Measured
  Cpd                  MW                  MW(MW)                        Cpd                 MW                  MW(MW)

   93                  469.2                 470.4                       166                420.25                  421.1
   94                  495.3                  496.2                      167                449.3                   450.2
   95                  495.3                  496.2                      168                433.3                   434.2
   96                 498.3                   499.2          10          169                415.2                   416.2
   97                  536.2                  537.2                      170                434.3                   435.3
   9X                  560.3                  561.2                      171                 392.2                  393.3
   99                  518.3                  519.2                      172                497.2                   498.3
  100                  518.3                  519.2                     173                 479.2                   480.3
  101                  546.2                  547.2                     174                 434.3                   435.3
   102                 528.3                  529.2          15         175                 484.2                   485.2
   103                 536.2                  537.2                     176                 420.2                   421.4
   104                 5lll.3                 511.2                     177                 454.2                   455.3
   105                 544.3                  545.3                     178                 433.3                   434.1
   106                496.3                  497.2                      179                 489.3                   490.l
  107                 481.3                  482.3                      180                 489.3                   489.9
  108                  523.3                 524.8                      181                 447.3                   448.1
  109                  509.3                                 20
                                             510.4                      182                 447.3                   448.3
   110                509.3                   510.3                     183                 433.3                   434.2
  111                 509.3                   510                       184                 433.3                   434.2
  112                 509.3                   510                       185                 405.2                   406.2
  113                 495.3                  496.4                      186                 387.2                   388.2
  114                 495.3                  496.1                      187                 406.2                   407.2
  115                 496.28                 497.4           25         188                 378.2                   379.2
  115                 496.28                 497.4                      189                 427.2                   428
  116                 438.24                 439.4                      190                 446.3                   447.4
  117                 438.24                 439.4                      191                 418.2                   419.4
  118                 436.2                  437.3                      192                 418.2                   419.3
  119                 394.2                  395.2                      193                 390.2                   391.3
  120                 525.3                  526.2           30         194                 406.2                   407.5
  121                 539.3                  540.3                      195                 378.2                   379.3
  122                 521.3                  522.3                      196                 419.2                  420.4
  123                 464                    465                        197                 433.3                  434.1
  124                 421                    422                        198                 350,;l                 351.l
  125                 45CJ.26                451.5                      199                 378.2                  379.2
  126                 456.23                 457.3           35         202                 391.2                  392
  127                 487.3                  488.5                      203                 391.2                  391.9
  128                 487.3                  488.6                      204                 378.2                  379
  129                 422.2                  423.3                      205                 406.2                  407
  13()                450                    451                        206                 392.2                  393.3
  131                 422.2                  423.3                      207                 392.2                  393.2
  132                 394.2                  395.2                      208                 378.2                  379.3
                                                             40
  133                 464.2                  465.3                      209                 378.2                  379.2
  134                 496.3                  497.4                      210                 364.2                  365.2
  135                 450.26                 451.3 7                    211                 364.2                  365.2
  136                 495.3                  496.4                      212                 350.2                  351.2
  137                 447.3                  448.4                      213                 350.2                  351.l
  138                 526.3                  527.4                      214                 378.2                  379.l
  139                 653.4                  654.5           45         215                 378.2                  379.1
  140                 462.3                  463.4                      216                 406.2                  407.2
  141                 488.17                 489.16                     217                 406.2                  407.l
  142                 450.26                 451.40                     218                 468.3                  469.4
  143                 447.3                  448.4                      219                 440.2                  441.3
  144                 419.2                  420.3                      220                 468.3                  469.4
  145                 496.28                 497.32          50         221                 440.2                  441.2
  146                 426.21                 427.39                     222                 392.2                  393.2
  147                 454.21                 455.22                     223                 420.3                  421.2
  148                 477.3                  478                        224                 420.3                  421.1
  149                 488.2                  489                        225                 392.2                  393.2
  150                 470.3                  471                        226                 539                    540
  151                 488.2                  489             55         227                 539                    540
  152                 398.2                  399                        228                 587                    588
  153                 393                    394                        229                 633                    634
  154                 392                    393                        230                 599.3                  599.8
  155                 454.21                 455.21                     231                 512.2                  513.2
  156                 470.27                 471.36                     239                 617.2                  618.2
  157                 477.2                  478.4                      242                 563.3                  564.2
  158                 468.2                                  60
                                             469.4                      246                 519.3                  520.0
  159                 496.3                  497.4                      247                 548.3                  549.2
  160                 429.2                  430.4                      248                 552.2                  553.2
  161                 420.2                  421.4                      249                 536.2                  537.0
  162                 448.3                  449.4                      250                 526.3                  527.2
  163                 438.24                 439.l                      251                 512.3                  513.2
  164                 556.23                 557.1           65         252                 554.3                  555.3
  165                 434.27                 435.1                      253                 540.2                  541.2




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                                                                                                                            VI B-PAT00000048
                                              PTX-007, page 48 of 79

                                                       Appx14454
Case: 24-1061                        Document: 17                   Page: 233                 Filed: 12/28/2023




                                                      US 7,741,356 B2
                          87                                                                  88
                                                                                BIOLOGICAL EXAMPLES
               TABLE VI-continued
                                                                 Opioid receptor binding affinity of the compounds of the
        Mass Spectral Data for Selected Compounds              present invention was determined according to the following
                                                             s procedures and the indicated results were obtained.
                   Theoretical             Measured
  Cpd                 MW                  MW(MWJ                                          Example 1
  254                 540.2                  541.2                    Rat Brain Delta Opioid Ri.,>ceptor Binding Assay
  255                 554.3                  555.3
                                                            10
  256                 529.2                  530.2
                                                                  Male, Wistar rats (150-250 g, VAF, Charles River, King-
  257                 543.2                  543.9
  260
                                                               ston, N.Y.) are killed by cervical dislocation, and their brains
                      542.2                  543.2
  261                 514.2                  515.1
                                                               removed and placed immediately in ice cold Tris HCl buffer
  262                 528.2                  529.1
                                                               (50 mM, pH 7.4). The forebrains are separated from the
  266                 512.2                  513.2          15 remainder of the brain by a coronal transection, beginning
  267                 535.2                  536.0             dorsally at the colliculi and passing ventrally through the
  268                 556.3                  557.2             midbrain-pontine junction. After dissection, the forebrains
  269                 525.2                  526.0             are homogenized in Tris buffer in a Tefloue® glass homog-
  270                 511.2                  512.2             enizer. The homogenate is diluted to a concentration of l g of
  271                 539.2                  540.2          20 forebrain tissue per 80 mL Tris and centrifuged at 39,000xg
  272                 525.2                  526.0             for 10 min. The pellet is resuspended in the same volume of
  273                 541.2                  542.4             Tris buffer containing 5 mM MgC1 2 with several brief pulses
  274                 618.3                  619.2             from a Polytron homogeni7£r. This particulate preparntion is
  275                 589.2                  590.2             used for the delta opioid binding assays. Following incuba-
  276                 559.2                  560.2          25 tion with the delta selective peptide ligand -4 nM [3 H]DP-
  277                 559.2                  560.2             DPE at25° C. for2.5 hin a 96-wellplatewith total volume of
  278                 617.2                  618.2             1 mL, the plate contents are filtered through Wallac filtennat
  279                 528.2                  528.9
                                                               B sheets on a Tomtec 96-well harvester. The filters are rinsed
  280                 583.3                  584.4
                                                               three times with 2 mL of 10 mM HEPES (pH 7.4 ), and dried
  281                 555.2                  556.2
                                                            30 in a microwave oven 2 min twice. To each sample area 2x50
  282                 569.3                  570.2
  283
                                                               µL of Betaplate Scint scintillation fluid (LKB) is added and
                      541.2                  542.2
  284                 555.2                  556.3
                                                               analyzed on a LKB (Wallac) 1205 Beta Plate liquid scintilla-
  285                 541.2                  542.4
                                                               tion counter.
  286                 516.2                  517.0                The data are used to calculate either the % inhibition com-
  287                 502.2                  503.1          35 pared to control binding (when only a single concentration of
  288                 648.6                  648.0             test compound is evaluated) or a K; value (when a range of
  289                 695.2                  695.7             concentrations is tested).% inhibition is calculated as: [(total
  290                 648.6                  648.0             dpm-test compound dpm)/(total dpm-nonspecific dpm)]
  291                 648.6                  648.0             * 100. Kd and Ki values were calculated using GraphPad
  292                 526.3                  527.4          40 PRISM data analysis program. The biological activity of the
  293                 562.2                 563.2              compounds of the present invention is shown in Table VII.
  294                562.2                  563.2
  295                568.3                  569.3                                        Exan1ple la
  296                638.3                  638.8
  297                513.2                  513.7           45           Rat Brain Delta Opioid Receptor Binding
  298                583.3                  583.8                                   Assay-Version la
  299                 612.3                 613.3
  300                608.3                  609.3                 Male, Wistar rats (150-250 g, VA.F, Charles River, King-
  301                644.3                  644.7              ston, N.Y.) were killed by cervical dislocation, and their
  303                515.2                  515.8           so brains removed and placed immediately in ice-cold Tris HCI
  304                501.2                  502.2              buffer (50 mM, pH 7 .4). 'The forebrains were separated from
  305                617.3                  617.8              the remainderofthe brain by a coronal transection. beginning
  306                661.3                  661.8              dorsally at the colliculi and passing ventrally through the
  307                566.3                  566.8              midbrain-pontine junction. After dissection, the forebrains
  308                661.3                  661.8           55 were homogenized in Tris buffer in a Teflon®-glass homog-
  309                649.3                  650.0              enizer. The homogenate was diluted to a concentration of 1 g
  310                641.3                  642.3              of forebrain tissue per 80 mL Tris and centrifuged at
  311                554.3                  555.3              39,000xg for 10 min. The pellet was resuspended in the same
  312                554.3                  555.3              volume of Tris buffer containing 5 mM MgC1 2 with several
  313                554.3                  555.3           60 brief pulses from a Polytron homogenizer. This particulate
  314                554.3                  555.3              preparation was used for the delta opioid binding assay. Fol-
  315                627.3                  628.3              lowing incubation with 0.1 nM of the delta selective ligand
                                                                3
  316                540.2                  541.3              [ H]naltrindole at 25° C. for 2.5 h in a 96-well plate with total
  317                540.2                  541.3              1 mL, the plate contents were filtered through Wallac filtem1at
  318                589.2                  590.2           65 B sheets on a Tomtec 96-well harvester. The filters were
                                                               rinsed three times with 2 mL of 10 mM HEP ES (pH 7.4 ), and
                                                               dried in a microwave oven. To each sample area, Betaplate



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                                                                                                                        VI B-PAT00000049
                                            PTX-007, page 49 of 79

                                                      Appx14455
    Case: 24-1061                      Document: 17                      Page: 234                    Filed: 12/28/2023




                                                     US 7,741,356 B2
                              89                                                                      90
Scint scintillation fluid (LKB) was added and the resulting           dried in a microwave oven. To each sample area, Betaplate
radioactivity quantified on a LKB (Wallac) 1205 BetaPlate             Scint scintillation fluid (LKB) was added and the resulting
liquid scintillation counter. Kd and Ki values were calculated        radioactivity quantified on a LKB (Wallac) 1205 BetaPlate
using the GraphPad PRISM data analysis program. The bio-              liquid scintillation counter. Kd and Ki values were calculated
logical activity of the compounds of the present invention is
                                                                      using the GraphPad PRISM data analysis program.
shown in Table VII.

                          Example 2                                                                TABLE VII
                                                                                                           rKi ll *
       Rat Brain Mu Opioid Receptor Binding Assay                10                     rKi6 •             Ver. la    rKi
                                                                           Cpd           (nM)               (nM)
   Male, Wistar rats (150-250 g, V:A.F. Charles River, King-                 1           13.2                            1.1
ston, N.Y.) are killed by cervical dislocation, and their brains             2
removed and placed immediately in ice cold Tris HCI buffer                   3
(50 mM, pH 7.4). The forebrains are separated from the 15                   4           11. 17                           2.41
                                                                            5          630, 183                          1.19
remainder of the brain by a coronal transection, beginning                   6           1.7
dorsally at the colliculi and passing ventrally through the                 7
midbrain-pontine junction. After dissection, the forebrains                  8        0.43. 0.15                         0.51
are homogeniz1-"<i in Tris buffer in a Teflon® glass homog-                 9            0.11                            0.16
                                                                           10
enizer. The homogenate is diluted to a concentration of 1 g of 20          11             0.54                           0.23
forebrain tissue per 80 mL Tris and centrifuged at 39,000xg                12             0.08
for IO min. The pellet is resuspended in the same volume of                13
Tris buffer containing 5 mM MgCl 2 with several brief pulses               14             0.36
                                                                           15
from a Polytron homogenizer. 'Il1is particulate preparation is             16
used for the mu-opioid binding assays. Following incubation 25             17            60                              0.22
with the mu selective peptide ligand .about. 0.8 nM [3 H]                  18          0.38-14.4                      0.75, 1.1
DAM GO at 25° C. for 2.5 h in a 96-well plate with total 1 mL,             19
                                                                           20
the plate contents are tlltered through Wallac filtermat B                 21
sheets on a 'Iomtec 96-well harvester. The filters are rinsed              22
three times with 2 mL of 10 mM HEPES (pH7.4 ), and dried 30                23
in a microwave oven 2 min twice. To each sample area 2x50                  24
                                                                           25
µL of Betaplate Scint scintillation fluid (LKB) is added and               26
analyzed on a LKB (Wallac) 1205 BetaPlate liquid scintilla-                27
tion counter.                                                              28
   The data are used to calculate either the % inhibition com- 35          29           28                             25
                                                                           30
pared lo control binding (when only a single concentration of              31
test compound is evaluated) or a K 1 value (when a range of                32
concentrations is tested). % inhibition is calculated as: [(total          33
                                                                           34
dpm-test compound dpmY(total dpm-nonspecific dpm)]
                                                                           35
* 100. Kd and Ki values were calculated using GraphPad 40                  36
PRISM data analysis program. The biological activity of the                37
compounds of the present invention is shown in Table VII.                  38
                                                                           39
                                                                           40
                         Example 2a                                        41
                                                                 45        42
          Rat Brain Mu Opioid Receptor Binding                             43
                    Assay-Version 2a                                       44
                                                                           45
                                                                           46
   Male, Wistar rats (150-250 g, VA.F, Charles River, King-                47
ston, N.Y.) were killed by cervical dislocation, and their so              48                               0.24        0.14
brains removed and placed immediately in ice-cold Tris HCI                 49
                                                                           50            0.58                           1.68
buffer (50 mM, pH 7.4). The forebrains were separated from                 51
the remainder of the brain by a coronal transection, beginning             52
dorsally at the colliculi and passing ventrally through the                53
                                                                           54
midbrain-pontine junction. After dissection, the forebrains 55
                                                                           55
were homogenized in Tris buffer in a Teflon®-glass homog-                  56
enizer. The homogenate was diluted to a concentration of 1 g               57
of forebrain tissue per 80 mL Tris and centrifuged at                      58
39,000xg for 10 min. The pellet was resuspended in the same                59
                                                                           60
volnme of Tris buffer containing 5 mM MgC1 2 with several 60               61
brief pulses from a Polytron homogenizer. This particulate                 62
preparation was used for the mu opioid binding assay. Fol-                 63
lowing incubation with 0.8 nM of the mu selective ligand                   64
 3                                                                         65
[ H]DAMGO at 25° C. for 2.5 h in a 96-well plate with total
                                                                           66
l mL, the plate contents were filtered through Wallac tlltennat 65         67
B sheets on a Tomtec 96-well harvester. 'Ihe filters were                  68
rinsed three times with 2 mL of 10 mM HEPES (pH 7.4 ), and



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                                                                                                                                  VI B-PAT00000050
                                              PTX-007, page 50 of 79

                                                      Appx14456
Case: 24-1061                 Document: 17                 Page: 235                    Filed: 12/28/2023




                                           US 7,741,356 B2
                   91                                                                   92
       TABLE VII-continued                                                 TABLE VII-continued
                        rKi o *                                                              rKi o *
      r Ki I\•          Ver. la      rKi µ •                             rKi *o              Ver. la      r Kiµ*
Cpd     (nM)             (nM)         (nM)                   Cpd          (nM)                (nM)          (nM)

 69                                                          144
 70                                                          145
 71                                                          146
 72                                                          147
 73                                                 10       149
 74                                                          150
 75     0.66                           0. 51                 151
 76                                                          152
 77                                                          l 53
 78                                                          154
 79                                                 15       155
 80                                                          156
 81                                                          157
 82                                                          158
 83                                                          159
 84                                                          160
 85                                                          161
                                                    20
 86                                                          162
 87                                                          163             4.51                             0.03
 88                                                          164           12()                              0.38
 89                                                          165            23.6                              0.07
 90                                                          166        5.58, 12.03                     0.03, 0.07
 91                                                          167        10000                                 3.15
 92                                                 25       168          8867                            5322
 93                                                          169        10000                              853
 94                                                          170            32.6                              0.48
 95                                                          171        10000                              141
 96                                                          172        10000                              150
 97                                                          173          5069                              45.7
 98                                                 30       174
 99                                                          175          166                                3.60
100                                                          176        10000                              156
101                                                          177          255                               13.4
102                                                          178          104                                0.6
103                                                          179        10000                             7116
104                                                 35       180         5221                             1209
105                                                          181          341                                1.3
106                                                          182         1859                                7
107                                                          183          604                                4
108                                                          184        10000                               19.5
109                                                          185          182                             6716
110                                                          186          515                             5314
                                                    40
111                                                          187         5198                              121
112                                                          188          541                              307
113                                                          189          360                              277
114    12                              0.26                  190           13.8                              2.61
115                                                          191          727.3                            189
116                                                          192            7.64                             0.09
117                                                 45       193          182.l                             21.l
118                                                          194           14.8                              0.06
119                                                          195          306.2                              9.29
120                                                          196
121                                                          197             4.27                            0.9
122                                                          198          5178                             152
123                                                 50       199            26.3                             0.3
124                                                          202            31.5                             5.9
125                                                          203            49.3                            29.1
126                                                          204
127                                                          205               4.44                           0.14
128                                                          206               5.8                            0.2
129                                                 55       207      5.3, 5.37. 14.7                  0.05, 0.08, 0.1
130                                                          208              33                              1.3
131                                                          209            708                             17
132                                                          210          1862                             420.3
133                                                          211            180                              5.9
134                                                          212          1278                             103
135                                                          213          5658                            1263
                                                    60
136                                                          214           308                              44
137                                                          215            l 26                             0.43
138                                                          216               1.14                          0.04
139                                                          217               5.4                           1.08
140                                                          218               1.45                           om
141                                                          219              87.83                          0.87
142                                                 65       220          6921                             157.2
143                                                          221               9.58                          0.36




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                                                                                                                     VI B-PAT00000051
                                   PTX-007, page 51 of 79

                                               Appx14457
      Case: 24-1061                                     Document: 17                            Page: 236                 Filed: 12/28/2023




                                                                           US 7,741,356 B2
                                        93                                                                                94
                                                                                                                      Example 3
                           TABLE VII-continued
                                                                                                    Human Mu Opioid Receptor Binding Assay
                                             r Ki 6 •
                         rKi 6 *              Ver. la             rKi µ *
       Cpd                (nM)                 (nMJ                (nM)
                                                                                               Membranes from Chinese Hamster Ovary cells expressing
                                                                                           the      human       µopioid     receptor     (Perkin       Elmer
       222               394                                        91.2                   #RBHOMM400UA) are homogenized in assay bufler (50
       223                 2.6                                       0.87
       224                 1.41                                      0.CI}
                                                                                           mM Tris, pH 7.5 with 5 mM MgCl 2 ) using a glass tissue
       225               112                                         0.73                  grinder, Teflon pestle and a Steadfast Stirrer (Fisher Scien-
       226                48                                                            10 tific). The concentration of membranes is adjusted to 300
       227             0.08, 0.46                                    0.96                  µg/mL in assay buffer and 100 fLL is dispensed into each well
       228                27.8                                       0.35
       229
                                                                                           of the assay plate, a 96 well round bottom polypropylene
       230                10                                                               plate. Compounds to be tested are solubilized in DMSO
       231              1070                                         6.19                  (Pierce), 10 mM, then diluted in assay buffer to 6x the desired
       239                 0.1                                       0.44                                                       3
                                                                                        15 final concentration. The ligand, H-Darngo (Perkin Elmer
       242                 0.18                                      0.59
       246                 0.035                                     0.15
                                                                                           #NET-902) is also diluted in assay buffer to 3.6 nM. In a
       247                 0.4                                       0.61                  second 96 well round bottom polypropylene plate, known as
       248                 0.44                                      0.11                  the premix plate, 60 µL of the 6x compound is combined with
       249                 0.18                                      0.12                  60 µL of3.6 nM 3 H-Dan1go. From this premix plate 50 fLL is
       250                 0.21                                      0.06
       249                                                                              20 transferred to the assay plate containing the membranes, in
                           0.18                                      0.12
       250                 0.21                                      0.06                  duplicate. The assay plate is incubated for 2 hat room tem-
       251                 0.26                                      0.08                  perature. A GF/C 96 well filter plate (Perkin Elmer
       249                 0.18                                      0.12                  #6005174) is pretreated with 0.3% polyethylenimine for 30
       250                 0.21                                      0.06
       251                 0.26                                      0.08
                                                                                           min. The contents of the assay plate are filtered through the
       256                 3.82                                      7.08               25 filter plate using a Packard Filtermate Harvester, and washed
       257                                     14.0                  1.22                  3 times with 0.9% saline that is 4 ° C. The filter plate is dried.
       260                 0.13                                      0.24                  the U11derside sealed, and 30 µL Microscint20 (Packard
       261                 8.01                                      0.79
       262                17.5                                       1.1
                                                                                           #6013621) added to each well. ATopcount-NXT Microplate
       266                                                                                 Scintillation Counter (Packard) is used to measure emitted
       267                  0.46                                     1.53               30 energies in the range of2.9 to 35 KeV. Results are compared
       268                                                                                 to maximum binding, wells receiving no inhibitors. Nonspe-
       269                 ll.61                6.24                 0.37
       270                 1.03                 4.47                 1.37
                                                                                           cific binding is determined in the presence of 1 µM unlabelled
       271                12.2                                       0.27                  Damgo (Tocris Ill 171 ). The. biological activity of the com-
       272                15.6                                       1.1                   pounds of the present invention is shown in Table VIII.
       273              1140                                      754                   35     The biological activity of the compounds of the present
       274
       275                0.47                                       0.69
                                                                                           invention may also be measured in a human delta opioid
       276              115                                         47                     receptor binding assay using the following example.
       277                0.14                                       0.44
       278               49                                         12                                                Example4
       279                5.2                                        0.137
                                                                                        40
       280               32                                          3
       281              721                                       399                              Human Delta Opioid Receptor Binding Assay
       282              907                                       185
       283             6735                                      3572                          This assay is designed to test the ability of a compound to
       284             1526                                      1033
       285             2897                                      1868
                                                                                           interfere with the binding of tritiated Naltrindole to the
       286                0. ll                                     0.05                45 human delta subtype 2 opioid receptor. Membranes from
       287                0.14                                      0.13                   Chinese Hamster Ovary cells expressing the human delta
       288                0.17                                      0.43                   subtype 2 opioid receptor (Perkin Elmer #RBHODM400UA)
       288                  0.17                                    0.43                   are homogenized in assay buffer (50 mM Tris, pH 7 .5 with 5
       289              0.1, 3.8                                    0.25
       290                 0.69
                                                                                           mM MgC1 2 ) using a glass tissue grinder, Teflon pestle and a
                                                                    0.43
       291                 0.12                                     0.47                so Steadfast Stirrer (Fisher Scientific). The concentration of
       292              100                                         0.65                   membranes is adjusted to 100 µg/mL in assay buffer and 100
       293             3175                                       646                      µL is dispensed into each well of the assay plate, a 96 well
       295                 3.95                                     0.18                   round bottom polypropylene plate. Compounds to be tested
       296                 2.2                                      0.49
                                                                                           are solubilized in DMSO (Pierce), 10 mM, then diluted in
       297               44                                         0.11
       298                                                                              55 assay buffer to 6x the desired final concentration. The ligand,
                         44                                         0.3                    3
       299                 1.16                                     0.44                     H-Naltrindole (Perkin Elmer #NET-1065) is also diluted in
       300                 0.29                                     0.09                   assay buffer to 6 nM. In a second 96 well round bottom
       301                 0.76                                     0.09                   polypropylene plate, known as the premix plate, 60 µL of the
       303                                     24.5                 3.87                   6x compound is combined with 60 µL of 6 nM 3 H-Naltrin-
       304                                    119                 161
                                                                                        60 dole. From this premix plate 50 µL is transferred to the assay
       305                                      1.24                0.2
       306                                      0.18                0.9
                                                                                           plate containing the membranes, in duplicate. The assay plate
       307                                      0.07                0.4                    is incubated for30 min at room temperature.A GF/C 96 well
       308                                      0.48                1.2                    filter plate (Perkin Elmer #6005174) is pretreated with 0.3%
       318             1220                                       357                      polyethylenimine for 30 min. The contents of the assay plate
                                                                                        65 are filtered through the filter plate using a Packard Filtermate
* The binding assays described above may be associated with a margin of error between
10-20'%,                                                                                   Harvester, and washed 3 times with 0.9% saline that is 4° C.
                                                                                           The filter plate is dried, the underside sealed, and 30 µL



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                                                                                                                                                     VI B-PAT00000052
                                                               PTX-007, page 52 of 79

                                                                             Appx14458
    Case: 24-1061                      Document: 17                   Page: 237                   Filed: 12/28/2023




                                                         US 7,741,356 B2
                             95                                                                   96
Microscint20 (Packard #6013621) added to each well. A Top-
count-NXT Microplate Scintillation Counter (Packard) is                              TABLE VIII-continued
used to measure emitted energies in the range of 2.9 to 35
                                                                                             hKi o •        hKi     *
KeV. Results are compared to maximum binding, wells                         Cpd                  (nMJ
receiving no inhibitors. Nonspecific binding is determined in    5
the presence ofl µM unlabelled Naltrindole (Sigma #Nl 15).                    65                 517          0.36
                                                                              66                 550          6.5
   Biological activity measured for select compounds of the                   67                 438          4.5
present invention are listed in Table VIII below, including o-                68                  59          0.6
and µ-opioid receptor binding (K;), as determined using the                   69                 272          4.4
                                                                 10           70                  85          2.6
procedures outlined above.                                                    71                 102          0.57
                                                                              72                  71          1.03
                        TABLE VIII                                            73                  151         1.9
                                                                              74                   63         9.8
                           hKili*             hKiµ*                           75                    8.5       2.6
          Cpd               (nMJ               (nM)              15           76                   43.1       1.6
                                                                              77                   13.5       1.8
                                                 3.6                          78                   28.9       2.4
                                                 2.9                          79                   11.5       1.7
                                                13                            80                    0.95      1.09
            4                                     55                          81                   15.7       1.7
            5                                     3.9                         82                   46         2.39
                                                                 20                                           4.67
            6                                     2                           83                   48
            7                                     6.8                         84                    9.6       1.1
                                              2.5. 4.4                        85                 1115         5.4
            9                                   10.9                          86                  400         I
           10                                   15.5                          87                   38.9      12.6
           11                                     5.1                         88                   16.2       5.8
           12                                     4.1            25           89                   19.3       9.2
           13                                     4.8                         90                    6.6       0.7
           14                                     4.7                         91                   15         4.8
           15                                  285                            92                    5.4       0,25
           16                                    16                           93                    9.5       0.9
           17                                     2.2                         94                  403         4.1
           18                                     1.7            30           95                  278         7.8
           19                                   18.2                          96                   14.6       9.7
           20                                   63                            97                    6.3      19.2
           21                                   37.6                          98                   54        48
           22                                 ~200                            99                   19.3      16
           23                                   34.3                         100                   88        20
           24                                    9.3             35          101                   47        24
           26                                   17                           102                    5.2       3.5
           27                                   30                           103                    9.7      23
           28                                   44                           104                  484       100
           29                                   38                           105                  742       410
           30                                   34                           106                  279       150
           31                                   19                           107                  584         2.95
                                                                 40
           32                                    6.8                         108                   43.3      23.5
           33                                    6.9                         109                   77         8.2
           34                                   19                           110                 ]402       191
           35                                    2.8                         111                  307         6.4
           36                                    5.6                         112                  135         9.5
           37                                  183                           113                             16
           38                                   )9               45          114                 49           1.39
           39                                    0,9                         115                321          68
           40                                  152                           116                 30.3         0.54
           41                                    1.6                         117                118           0.24
           42                                    5.8                         118             316. 212         1.04
           43                                    6.9                         119            >)0,000         185
           44                                    8.7             50          120                740          20.8
           45                                    1.2                         121                182          25.3
           46                                   35                           122                107          12.8
           47                                   22                           123                 84          47
           48                                    0.4                         124               1279           1.7
           49                                   48                           125                237           8.6
           50                                    1.4             55          126                164           7.8
           51                113                  2.7                        127                710          47
           52                 66                12.1                         128                             58
           53                 96                13.l                         129                             25.3
           54                172                  1.1                        130                  712         1.6
           55                 44                 1.8                         131                  675         3.1
           56                225                65.3                         132                            166
                                                                 60                                          11.5
           57                  2.2               0.66                        133                  108
           58                 70                 8.5                         134                  463       121
           59                120                 5.1                         135                 1040         7
           60                114                 2                           136                 1607       726
           61                243                 3                           137                            445
           62                 69                 2A                          138                 1183       104
           63                473                58               65          139                 1263        58
           64               1108               117                           140                  985        79




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                                                                                                                        VI B-PAT00000053
                                             PTX-007, page 53 of 79

                                                         Appx14459
Case: 24-1061              Document: 17                   Page: 238                   Filed: 12/28/2023




                                           US 7,741,356 B2
                 97                                                                  98
         TABLE VIII-continued                                               TABLE VIII-continued
               hKi6 •            hKi µ •                                           hKi 1> •
  Cpd           (nM)              (nM)                                Cpd           (nM)

  141             252               52                                270                               3.27
  142             454                8.2                              271                              15.5
  143              69                1.6                              272                               1.93
  144             251                1.3                              273                             325
  145             267                                                 274                           >1000
  146              71                             10                  289                               2.2
  147             241                                                 303                               3.8
  149             408                                                 304                              41
  150             992
  151            1295
  152         >10,000
  153         >10,000                             15                             Example 5
  154         >10,000
  155             345
  156             380                 0.59                        Delta Opioid Receptor Functional Assay:
                                                                  35
  157         >10,000                 2.2                     [    S]GTPyS Binding Assay in CHO-ho Cell
  158         >10,000                 0.23                                Membranes, Version 1
  159             400                 8.6
                                                  20
  160         >10000            >1000
  161         >10000             >1000               Preparation of Membranes
  162             173                 7.6
  163         301, 63                 0.67
                                                        CHO-hb cell membranes were purchased from Receptor
  164                               16.3             Biology, Inc. (Baltimore, Md.). 10 mg/ml of membrane pro-
  165             322                 0.45           tein suspended in 10 mM TRIS-HC pH 7.2, 2 mM EDTA,
  166          300,375          0.39. 0.5         25
                                                     10% sucrose.
  167                                 4.2
  190             285
                                                        Membranes were maintained at 4-8° C. A portion ( 1 ml) of
  191         >10,000                                membranes was added into 15 mL cold binding assay buffer.
  192                                0.62            The assay buffer contained 50 mM HEPES, pH 7.6, 5 mM
  193         >to,000                                MgC1 2 , 100 mM NaCl, 1 mM DTT and 1 rnM EDTA. The
  194             103                0.13         30
  195         >10,000                9.8
                                                     membrane suspension was homogenized with a Polytron for
  196                                                2 times and centrifuged at 3000 rpm for 10 min. The super-
  197                                                nent was then centrifuged at 18,000 rpm for 20 min. The
  198         >10.000              140               pellet was saved in a tube'and 10 ml assay buffer was added
  199             209                0.29
  203             501               13.7
                                                     into the tube. The pellet and buffer were mixed with a Poly-
  204                                7.7          35 tron.
  205
  206             275.4                              Incubation Procedure
  207             132.2                                 The pellet membranes (20 µg/ml) were preincubated with
  208                                1.2             SPA (10 mg/ml) at 25° C. for 45 min in the assay buffer. The
  209                               23
                                                  40 SPA ( 5 mg/ml) coupled with membnmes ( l Oµg/ml) was then
  210                                0.29
  211                                                incubated with 0.5 nM [35 S]GTPyS in the same HEPES
  212                              55                buffer containing 50 µM GDP in total volume of 200 µ1.
  213                           >)000                Increasing concentrations of receptor agonists were used to
  214                              29
  215
                                                     stimulate [35 S ]GTPyS binding. The basal binding was tested
                                    1.5
  216                                             45 in the absent agonists and no specific binding was tested in the
  217             506                                present 10 ~tM unlabeled GTPyS. The data were analyzed on
  218             189                3.92            a Top counter.
  219                               16.2
  22(J                             377               Data
  221                                0.42              The% of Basal=(stimulate-non specific)* 100/(basal-non
  222                              185            50
  223                                                specific). EC50 values were calculated using a Prism pro-
  224              81.3              0.65            gram.
  225                                1.4
  226                                7.91                                        Example 6
  227                                1.92
  228                               15.9          55
  229                               12                            Delta Opioid Receptor Functional Assay:
                                                                  5
  231                               28                       ["   S]GTPyS Binding Assay in NG 108-15 Cell
  239                                                                     Membranes, Version 2
  242                                2.35
  246                                5.63
  256                                2
  257
                                                  60 Preparation of Membranes
                                      3.4
  260                                 0.58              NG108-15 cell membranes were purchased from Applied
  261                           2.58, 1.3            Cell Sciences (Rockville, Md.). 8 mg/ml of membrane pro-
  262                                 3.24           tein suspended in 10 mM TRIS-HC pH 7.2, 2 mM EDTA,
  266                               69
  267
                                                     10% sucrose.
                                      6.88
  268                                 5.79        65    Membranes were maintained at 4-8° C.A portion (1 ml) of
  269                               21.5             membranes was added into 10 ml cold binding assay buffer.
                                                     The assay buffer contained 50 mM Tris, pH 7 .6, 5 mM MgC1 2 ,



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                                                                                                               VI B-PAT00000054
                                 PTX-007, page 54 of 79

                                             Appx14460
        Case: 24-1061                         Document: 17                          Page: 239                       Filed: 12/28/2023




                                                                US 7,741,356 B2
                                   99                                                                               100
    100 mM NaCl, 1 mM DTT and 1 mM EGL\. The membrane                   brane protein was suspended in 10 mM TRIS-HCl pH 7 .2, 2
    suspension was homogenized with a Polytron for 2 times and          mM EIY[L\, 10%, sucrose, and the suspension kept on ice. One
    centrifuged at 3000 rpm for l 0 min. The supement was then          ml of membranes was added to 15 ml cold binding assay
    centrifuged at 18,000 rpm for 20 min. The pellet was saved in       buffer containing 50 mM HEP ES, pH 7 .6, 5 mM MgCl 2 , 100
    a tube and 10 ml assay butler was added into the tube. The          mM NaCl, 1 rnM DTT and 1 mM EDTA. The membrane
    pellet and buffer were mixed with a Polytron.                       suspension was homogenized with a Polytron and centri-
    Incubation Procedure                                                fuged at 3,000 rpm for 10 min. 111e supernatant was then
       The pellet membranes (75 µg/ml) were preincubated with           centrifuged at 18,000 rpm for 20 min. The pellet was resus-
    SPA (10 mg/ml) at 25° C. for 45 min in the assay buffer. The        pended in 10 ml assay buffer with a Polytron.
    SPA (5 mg/ml) coupled with membranes (37.5 µg/ml) was 10                The membranes were preincubated with wheat gem1
    then incubated with 0.1 nM [35 S] GTPyS in the same Tris            agglutinin coated SPA beads (Amersham) at 25 ° C. for 45 min
    buffer containing 100 µM GDP in total volume of 200 µI.             in the assay buffer. The SPA bead (5 mg/ml) coupled mem-
    Increasing concentrations of receptor agonists were used to         branes (10 µg/ml) were then incubated with 0.5 nM [35 S]
    stimulate [35 S] GTPyS binding. 'D1e basal binding was tested       GTPyS in the assay buffer. The basal binding is that taking
    in the absent agonists and no specific binding was tested in the 15 place in the absence of added test compound; this umnodu-
    present 10 µM unlabeled GTPyS. The data were analyzed on            lated binding is considered as 100%, with agonist stimulated
    a Top counter.                                                      binding rising to levels significantly above this value. A range
    Data Analysis                                                       of concentrations of receptor agonists was used to stimulate
                                                                          35
                                                                        [    S]GTPyS binding. Both basal and non-specific binding
       ·me following parameters were calculated:
                                                                     20 was tested in the absence of agonist; non-specific binding
                                                                        determination included 10 µM unlabeled GTPyS.
         .     .    (test compoUJ1d cpm - non-5pecific cpm)
                                                                            Compounds were tested for function as antagonists by
     % St1mula11on= - - - - - - - - - - - - x 100                       evaluating their potential to inhibitagonist-stimulated GTPyS
                         (Basal cpm - non-specific cpm).
                                                                        binding. Radioactivity was quantified on a Packard Top-
     % Inhibition=(% stimulation by l µM SNC80 -                     25 Count. The following parameters were calculated:

         % stimulation by 1µM SNC80 in presence of test compound) x

                               100/(% Stimulationby 1 µM SNCS0-100)
                                                                                    _.      (test c01npound cpm- non-specific cpml
                                                                                  % Stimulation::::::---"--'--------'---'- x 100
                                                                                                 (Basal cpm - non-specific cpm).
                                                                           30
    % of Basal=(stimulate-non specific)*l00/(basal-non spe-                       % Inhibition=(% stimulation by l µM SNC80
    cific).                                                                           % stin1ulation by l µA1 SNC80 in pre~ence of test compouncD x

    EC 50 values were calculated using GraphPad P1ism.                                                           Tod;(% Stimulation by l µM SNC80         100}

                                                                           35
                               Example 7

        Mu Opioid Receptor Functional Assay: [35 S]GTPyS         EC 50 values were calculated using GraphPad Prism.
         Binding Assays in CHO-hMOR cell membranes.                Biological activity measured for select compounds of the
                        Versions 1 and 2                         present invention are listed in Table VllI below, including o-
                                                              40
                                                                 and µ-opioid receptor functional data (% I and EC50), as
       CHO-hMOR cell membranes were purchased from Recep-        detem1ined from a single set of experiments using the proce-
    tor Biology, Inc. (Baltimore, Md.). About 10 mg/ml ofmem-    dures outlined above.


                                                                                                   TABLE IX
                                                      DORGTP-         DORGTP-       DORGTP-          MORGTP        '.V!ORGTP                     MORGTP
                                                       binding          binding       binding         binding        binding        MORGTP        binding
                                                Cpd   Assay_vl        A.ssay_v2_     Assay v2         assay v2      assay_~ __v:2   assay_vl     assay __ vl
                                                No.   EC50 (n'.V!)    EC50 (nM)        (
                                                                                           0
                                                                                           /o I)     EC50 (nM)         (%1)         % of Basal     (%!)


                                                  1                        88          22.10
                                                  4                        46          66.12
                                                  5                   >10,000          47.12           71              7.87
                                                  8                   >10,000          94.03            1.2           13.95
                                                  9                         3.4        67.13
                                                 14                         0.6        59.70
                                                 17                         1.3        68.64            2.5             8.71
                                                 18                   >10,000         100
                                                 18                                                      1.0            7.54
                                                 20                   >10,000          78.74
                                                 29                   >10,000          79.05
                                                 48                   >10.000         108.36            2,2           24.53
                                                 50                         1.4        60.27
                                                 51                        27          66.04
                                                 75                         1.4        65.35
                                                114        35                                                                         717.59       13.20
                                                117        37                                                                         816.16        3.31
                                                122                                                                                   278.08       41.93
                                                130        16                                                                         866.39        l.62
                                                131        99                                                                         391.98       28.64




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1
                                                                                                                                                    VI B-PAT00000055
                                                      PTX-007, page 55 of 79

                                                                Appx14461
          Case: 24-1061                           Document: 17                        Page: 240                Filed: 12/28/2023




                                                               US 7,741,356 B2
                                   101                                                                         102

                                         TABLE IX-continued
           DORGTP-     DORGTP-       DORGTP-        MORGTP       MORGTP                           MORGTP
            binding     binding        binding       binding      binding        MORGTP            binding
    Cpd    Assay.YI    Assay~v2~-     A.ssay v2      assay v2    assay ____ v2   a.ssay" ___v 1   assay.-_vl
    No.    EC50 (nM)   EC50 (nM)        (%!)        EC50(nMJ       (%!)          % of Basal         (%!)

    146       27                                                                   740.77            2.79
    147        51                                                                  779.35            1.00
    149       44                                                                   753.53            1.00
    150       49                                                                   476.63           53.35
    151      350                                                                   606.38           24.19
    155      15()                                                                  655.93           14.32
    163       21                                                                  1286.00            1.00
    164     2500                                                                  1077.00            1.00
    165      231                                                                  1 l 82.00          1.00
    166       21                                                                  1448.00            1.00
    166       71                                                                  1425.00            1.00
    167                                                                            780.00           17.00
    170      115                                                                  1031.00           26.00
    173                                                                             147.00          85.00
    174        20                                                                   864.00          42.00
    175                                                                            471.00           53.00
    177                                                                             625.00          23.00
    178                                                                           1059.00           10.00
    181                                                                           J 304.0()          1.00
    182                                                                           1091.00            6.00
    183     2320                                                                   962.00           27.00
    184                                                                             862.00          13.00
    190     3830                                                                  109,194           70.00
    192       76                                                                   383.00           30.00
    193                                                                             182.00          54.00
    194       189                                                                   558.00           1.00
    195                                                                             378.00          34.00
    196        24                                                                   620.00           1.00
    197       140                                                                   582.00           1.00
    199       217                                                                  465.00           11.00
    202      1580                                                                   529.00           1.00
    203       515                                                                   331.00          20.Q(J
    205        32                                                                   566.00           1.(JO
    206        37                                                                  446.00            1.00
    207         8.65                                                             432. 1160          40.00
    207        12                                                                 1183.00           21.00
    208                                                                            475.00            1.00
    209                                                                             295.00          10.00
    210                                                                            414.00           10.00
    211                                                                             371.00          10.00
    214    26000                                                                    295.00           3.00
    215     1060                                                                    606.00           1.00
    216       16                                                                    666.00           1.00
    217       82                                                                    599.00           1.00
    218       20                                                                    599.00           1.00
    219     3560                                                                    611.00           1.00
    221      308                                                                   427.00           13.00
    223       56                                                                   495.00            1.00
    224      103                                                                    694.00           1.00
    225     2190                                                                    657.00           1.00
    226                >10,000           19.71
    227                >10.000           66.56         60.8         36.00
    230                                  48.93
    239                >10,000
    242                >10.000           91.45
    246                      0.3          47.01         4.5         21.30
    247                     44            41.89
    248                     15            31.72
    249                      8            20.14
    25(J                    10            34.93
    251                     18            53.94
    252                     32.1          66.00         4.15        24.00
    253                      J.35         52.00       251           28.00
    254                      6.27         62.00       316           42.00
    255                     i3.l          54.00         3.48        33.00
    256                >10.000            89.19        13           29.40
    257                      7.4          48.88         3.9         10.96
    260                >10.000           100.97         1.5          2.89
    261                     21            30.04        17            5.88
    267                      6            31.76
    269                     86            21.]8        48             1.00
    270                   1000            63.51        56             6.61
    275                      3            72.08
    286                      2.6          34.65




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1
                                                                                                                            VI B-PAT00000056
                                                      PTX-007, page 56 of 79

                                                                Appx14462
       Case: 24-1061                                   Document: 17                      Page: 241                      Filed: 12/28/2023




                                                                   US 7,741,356 B2
                                         103                                                                            104
                                               TABLE IX-continued
           DORGTP-        DORGTP-            DORGTP-     MORGfP      MORGTP                          MORGTP
            binding         binding           binding     binding     binding        MORGTP           binding
     Cpd   Assay ___ vl   Assay ___ v2 ---    Assay v2    assay v2   assay~v2        assay~vl        assay~vl
     No.   EC50 (nM)      EC50 (nM)            (%,I)     EC50(nM)      (%!)          % ofB:,sal        (%!)

     287                  >10,000              84.50
     288                  >10,000              74.54
     289                  >10,000              86.27
     290                  >10,000              52.41
     291                  >10,000              96.52
     295                        2.2            71.66         1.4       8.21
     296                        7.9            69.41         2.2       9.35
     299                        2.3                          1.0      12.11
     300                       32                            2.6      15.40
     301                  >10.000              109.56        2.6      76.20
     303                       95               23.85       30         1.00
     309                                                    23.0      47.00
     310                                                  3920        51.00
     Jll                            1.02       41.00
     312                                                    58.7       35.00
     313                            5.03       49           50.6       29.00
     316                                                    24.1       76




                                    Example 8                         "stressed" treatment groups. Each mouse in each group was
                                                                      weighed and vehicle, or test compound, was intragastrically
                                                                               25
          In Vivo Assay-Stress-induced Fecal Output (fecal            administered by oral intubation in 0.5% methylcellulose.
                            output for 1 hr)                          Mice were allowed access to water only ad lib. during the test
                                                                      period. After compound administrations, acclimated (con-
       This assay evaluates the fecal output in novel environment-    trol) as well as non-acclimated (stressed) mice were individu-
    stressed mice to that of acclimated controls.                  30 ally housed in a 20 cm widex20 cm deepxl5 cm tall cage,
       Methods: Adult, male, Crl:CD-1 (ICR) mice, weighing            with a wire mesh bottom. An absorbant cardboard is placed
    -30-35 g were used in these studies, with a minimum of 10
                                                                      beneath the cages. The number of fecal pellets excreted by
    mice per dose group. One group of mice was assigned as
                                                                      each mouse was determ-ined at hourly intervals following
    acclimated, or "non-stressed" controls. These control mice
    were transported from colony housing, where they were 35 placement of the mice in the individual cages. Raw Data"'# of
    housed 3/cage in polycarbonate cages with access to food and      fecal pellets/mouse/hr. 'll1e mean fecal pellet output for each
    water ad lib. to the procedure room. The mice were removed        test group was calculated and the results expressed as a per-
    from their home cages and individually housed in 20 cm            cent of mean fecal pellet output of the control group (the
    widex20 cm deepx15 cm tall cages, equipped with a wire            acclimated, non-stressed group, to which vehicle only was
    mesh bottom where they remained for a 16-18 hr period of 40 administered). ANOVA was performed and Tukey's Multiple
    acclimation to their novel environment. Mice were allowed         Comparison Test used to compare the means, which were
    access to food and water ad lib. during acclimation. The other    considered significantly different when P<0.05. Data is
    groups of mice were assigned as non-acclimated, or                shown in Table X, XI, and XII.

                                                                                                              '[I\BLEX

                                                                                                       Fecal Ou\]2ut (# 2ellets)

                                                                      Cpd       dose                                                                  cpd%
                                                                      No.      (mg/kg)     control     NES      cpd      NES % ctrl   cpd % control    NES

                                                                       18           30       ..,
                                                                                             0'         3.8      3.1        166.7        137.8          82.7
                                                                                                                                                        47.1
                                                                       50           30       2.3        7.0      3.3        304.3        143.5
                                                                       55           30       3.9       14.1      8.3        361.5        212.8          58.9
                                                                       57           30       3.9       14.l      7.6        361.5        194.9          53.9
                                                                       58           30       2.3        7.0      3.9        304.3        169.6          55.7
                                                                       75           30       3.1        9.1      6.4        293.5        206.5          70.3
                                                                       75           30       1.9        3.9      1.4        206.7         73.3          35.5
                                                                       78           30       3.6        7.3      3.3        202.8         91.7          45.2
                                                                       79           30       3.6        7.3      7.1        202.8        197.2          97.3
                                                                       80           30       3.6        7.3      5.5        202.8        152.8          75.3
                                                                       80           30       3.9       13.1     10.3        335.9        264.1          78.6
                                                                       85           30       5.4       12.0      7.9        222.2        146.3          65.8
                                                                       87           30       7.3       12.9     10.3        176.7        141.1          79.8
                                                                       89           30       5.0       11.6      6.4        232.0        128.0          55.2
                                                                       90           30       3.1       12.9     10.3        416.1        332.3          79.8
                                                                       91           30       3.1       12.9      8.9        416.1        287.1          69.0
                                                                       92           30       3.6       11.l      9.2        308.3        255.6          82.9
                                                                       93           30       3.6       11.l      s.n        308.3        138.9          45.0
                                                                       94           30       2.7        9.1      9.4        337.0        348.l         103.3
                                                                       95           30       2.7        9.1      8.5        337.0        314.8          93.4




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1
                                                                                                                                                      VI B-PAT00000057
                                                          PTX-007, page 57 of 79

                                                                     Appx14463
     Case: 24-1061                                            Document: 17                                               Page: 242                 Filed: 12/28/2023




                                                                                        US 7,741,356 B2
                                         105                                                                                                       106

                                   TABLE X-continued
                                     Fecal Ou!J2ut (# 12ellets)

Cpd      dose                                                                                                      cpd%
No.     (mg/kg)         control     NES              cpd           NES 11/0 ctrl         cpd % control              NES

  97         30                     12.9              4.8                176.7               65.8                   37.2
 102         30           5.7       15.0              3.4                263.2               59.6                   22.7
 103         30           7.3       12.9             10.2                176.7              139.7                   79.1
 107         30           5.7       15.0             13.1                263.2              229.8                   87.3
 111         30           7.2       10.3              4.4                143.1               60.8                   42.5
 112         30           7.2       10.3              7.2                143.1              100.0                   69.9
 114         30           7.2       10.3              7.8                143.l              108.3                   75.7
 118         30           5.4       12.0              7.2                222.2              133.7                   60.2
 133         30           5.5       12.1              9.9                220.0              180.fJ                  81.8
 143         10           3.7       13.6              9.1                367.6              245.9                   66.9
 143         30           7.5            9.2          5.2                122.7               69.3                   56.5
 144         30           3.7        13.6            11.5                367.6              310.8                   84.6
 178         30           3.2         8.8             5.5                275.0              171.9                   62.5
 192         10           5.4        12.5            1().5               231.5              194.4                   84.0
 194         10           5.4        12.5            11.8                231.5              218.5                   94.4
 194         30           8.1        11.0             4.2                135.8               51.9                   38.2
 194         30           3.l         4.8             4.9                154.3              157.5                  102.l
 194         30           3.7        14.0             6.2                378.4              167.6                   44.3
 196         10           3.7        14.0             '1.2               378.4              248.6                   65.7
 196         30           1.1         9.5             4.3                863.6              390.9                   45.3
 199         10           2.7        10.5             9.1                388.9              337.0                   86.7
 199         10           3.8        13.1            10.8                344.7              284.2                   82.4
 205         30           3.3         9.5             2.3                287.9               70.7                   24.6
 206         10           3.8        13.1             8.6                344.7              226.3                   65.6
 207         10           5.6         9.4             8.3                167.9              148.2                   88.3
 207         10           7.7        13.0             5.0                168.8               64.9                   38.5
 207         10           5.7        12.8             6.6                225.9              116.5                   51.6
 207         10           2.9        12.8             5.3                441.4              182.8                   41.4
 207         30           3.5                         3.2                                    91 .4
 207         30           3.5        13.0             6.4                371.4              184.1                   49.6
 216         10           3.6        10.3             4.9                286.1              136. l                  47.6
 218         30           2.7        10.5             3.7                388.9              137.6                   35.4
 223         30           3.1         4.8             5.0                154.3              160.7                  104.2
 224         10           3.6         6.9             3.5                191.7               97.2                   50.7
 225         30           3.1         4.8             7.3                154.3              234.7                  152.1




                                               TABLE XI
                        Dose-deoendent Mouse Fecal Pellet Ou!J2ut Test

 Cpd         # of12ellets          NES                                      Com12ound (mgl

 No.    control         NES       (%c1rl)            0.3           0.5 LO         3.0     5.0 6.0        10.0       30.0

  75                               235.7
  93     2.7             8.3       307.4                                           6.2                    5.5       3.2
  97     6.l            11.6       190.2                                          14                      7.5       3.5
  97     4.8            10.1       210.4                                           9.1                   10.4       2.3
 102     5.3            10.7       201.9                                           6.9                    4.5       2.22
 114     3.4            10         294.1                                           9.6                       7.7    5.4
 200     3.556           8.8       247.5                                           8.1                       8.2    5.8
 207     5.2            11.4       219.2             11.4                         12                         4.9
 207     4.8             8.6       179.2                           9.4                    8.6                6.7
 207     3.4            10.8       317.6                                                         7.5         5.5    3.5
 207     3.6             6.5       180.6                                           7.3                       4.8    3.4
 224     2.2             9.6       436.4                                 7.6       7.2                       4.2




                                                                                Tl\BLE XII
                                   Dose-de12endent Mouse Fecal Pellet Ou!J2ut Test: Com12uted Results

Cpd                         Com120W1d (% control)                                                                         Com12ound (% 1'cS)

No.    0.3        0.5     1.0      3.0         5.0           6.0         10.0     30.0     0.3         0.5         1.0       3.0    5.0    6.0    10.0     30

75                                223.8                              188.l        100
93                                229.6                              203.7        119                                        74.7                 66.27   38.55
97                                226.2                              123.0         57                                       119                   64.66   30.17
97                                189.6                              216.7         48                                        90.1                103      22.77




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                                                                                                                                                                  VI B-PAT00000058
                                                                           PTX-007, page 58 of 79

                                                                                         Appx14464
       Case: 24-1061                             Document: 17                               Page: 243                                  Filed: 12/28/2023




                                                              US 7,741,356 B2
                                    107                                                                                            108

                                                   TA.BLE XII-continued
                              Dose-de2endent Mouse Fecal Pellet Ou!J2ul Test: Com2nted Results

 Cpd                    ComQOWld (~lo control)                                              Comr,ound (% NES)

 No.    0.3    0.5     1.0    3.0     5.0    6.0    10.0   30.0        0.3   0.5     1.0       3.0          5.0          6.0      10.0      30

 102                         130.2                  84.9    42                                64.5                                42.06   20.77
 114                         282.4                 226.5   159                                96                                  77      54
 200                         227.8                 230.6   163                                92.05                               93.18   65.91
 207   219.2                 228.8                  94.2               JOO                   104.4                                42.98
 207           195.8                 179.2         139.6                     109                            JOO                   77.91
 207                                         220.6 161.8   103                                                          69.44     50.93    32.41
 207                         202.8                 133.3    94                               112.3                                73.85    52.31
 224                   345.5 327.3                 190.9                            79.17     75                                  43.75




                              Example 9
                                                                                                                                TABLE XIII
                                                                               20                              Mouse entire GI tract transit test
        In Vivo Assay: Stress-Induced Entire GI Tract                                                       (MEGIT or MEGIT-NES or MEGIT-RS*
              Transit (6 Hour Transit Time Test)
                                                                                                                                 MEGIT-NES           MEGIT        MEGIT-RS
                                                                                                                                   Entire GI        entire GI      entire GI
                                                                                                     dose                         transit 6 hr     transit 6 hr   transit 5 hr
                                                                                 (mg)                                 route        (%NES)             %ctrl         (%RS)
    Methods: The animals used in these studies are male CD- I 25
mice, ave_ wt. -30 g. Procedure: Mice were housed in LAM                 4         20       p.o.                            100
                                                                        18         30       p.o.       80
under 12h/12h light/dark cycle, food & water ad lib. On the             75         30       p.o.                 115
day before the experiments, the mice assigned to the "accli-            75         60       p.o.                   0
                                                                                            p.o.                   0
mated" (non-stressed) control group were placed into indi- 30           75        100
                                                                                                                            100
                                                                       227         20       p.o.
vidual wire mesh-bottomed cages, provided food and water               242         20       p.o.                            J(J(J

ad lib. The acclimated control group was in this new environ-          261         20       p.o.                             103.6
                                                                                   20       p.o.                             l 12.5
ment for 16-18 hrs prior to beginning the test. On the day of                               p.o.                               14.1
                                                                       289         20
the experiment, mice assigned to experimental groups \Vere
housed in home cages were transported to procedure room 35 *RS = restramt stress;
                                                                    NES = n0veJ environment stress
and remain in their home cages until the start of the transit
portion of the study. Mice were     intragastrically dosed  with
compounds (volume remains constant at 0.1 mL/10 g body                                             Example 10
wt) by oral gavage 30 minutes before carmine (a red vital dye 40
that does not have the drug-adsorbing properties of charcoal)                       In Vivo Assay: Upper GI tract transit
is administered (0.25 mL, 6% carmine in 0.5% methylcellu-
lose). A.fter the carmine marker was administered each mouse           Methods: The animals used in these studies were male
was placed in the novel environment cage. One hour after            CD-1 mice, ave. wt. -30 g. Mice were housed under 12h/12h
administration of carmine, the fecal pellet output of each 45 light/dark cycle, food & water ad lib. On the day of the
animal was recorded. At one-hour intervals thereafter the           experiment mice were assigned to experimental groups,
fecal pellets were examined for the presence of carmine-dye.        including one vehicle-only group (""Control). At 30 min
The number of mice that excreted a cannine-containing fecal         before administrntion of carmine dye, animals were dosed
                                                                    with vehicle or vehicle-plus-compouncl mice were returned
pellet at the end of each hour post carmine administration was
                                                                 so to their home cages after drug administration. After adminis-
recorded, until all mice had excreted carmine in a fecal pellet     tration of carmine, the animals were either returned to their
or the end of 6 hrs post carmine administration, whichever          home cages (non-stressed) or individually placed in the same
occurred first. A variant of this novel environn1ent stress         metal cages as used in the fecal output or entire GI tract transit
 (NES) paradigm is to use the same procedures of dye and            to induce a novel environment stress. One hour after adrnin-
compound administrations, but to use restraint (confinement 55 istration of carmine, mice were sacrificed by cervical dislo-
in a small plastic tube for 3 hr) as a stressor (RS restraint     00
                                                                    cation, the abdomen opened midventrally, the small intestine
stress), followed by two hours in an individual cage (total of      from pyloms to cecum was removed, the mesentery divided
 5 hr fecal transit time). Data is shown in Table XIII. The         in order to lay the intestine straight & fiat-without stretch-
                                                                    ing. The total length of intestine and the length of carrnine-
original data are quanta!, i.e. a mouse in the treatment group
                                                                 60 dyed intestine were measured in order to determine the per-
 either did, or did not exhibit entire GI tract transit (excrete
                                                                    cent of the upper GI tract over which transit had occurred as
 colored feces). The mouse entire GI tract (MEGIT) transit test     follows: {(Length of carmine-dyed intestine)/(Total length of
 can thus be done in mice that are all acclimated          (non-    intestine)} x l 00° % upper GI transit. The data expressed were
                                                                                                                  0



 stressed), in which case the data are expressed as % control       group means:t:SD (or s.e.m.) and data expressed as % of
 (vehicle only), or in mice that are exposed to NES or RS, in 65 control. Statistics: AN OVA with the Tukey-Kramer post-hoc
 which cases the data are expressed as% of the vehicle treated      test and means were considered significantly different when
 NES or RS group. Data is shown in Table XIII.                      P<0.05. Data is presented in Table XIV.



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                                                                                                                                                                      VI B-PAT00000059
                                                       PTX-007, page 59 of 79

                                                                       Appx14465
    Case: 24-1061                                  Document: 17                     Page: 244                      Filed: 12/28/2023




                                                               US 7,741,356 B2
                                      109                                                                         110
                                                                                      heteroaryl(C 1 _6 )alkyl; wherein when R 1 is phenyl(C 1 _6 )
                               TABLE XIV                                              alk1 1, phenyl is optionally fused to a heterocyclyl or
                                                                                      cycloalkyl;
                 Mouse Um,er GI Transit Test (MUGITI                              wherein when R 1 is C 1 _2 alkyl, said C 1 _2 alk1 I is optionally
                           dose                      upper GI lrJJ1sit
                                                                                      substituted with one to two substituents independently
       Cpd No.             (mg)          route          (%c1rl)                       selected from the group consisting of C 1_6 alkoxy, aryl,
                                                                                      cycloalk1 l, heterocyclyl, hydroxy, cyano, amino,
                               30        p.o.              77.3
           17                  30        p.o.              37.3
                                                                                      C 1 _6 alkylamino, (C 1 _6 alkyl)iamino, trifluoromethyl,
           18                  10        p.o.              99.6                       and carboxy;
           18                  50        p.o.              69.9              10   and further, wherein whenR 1 isC 3 _6 alkyl, saidC 3 _6 alkyl is
           18                            p.o.              94.2                       optionally substituted with one to three substituents
           18                  25        p.o.              83.0
           18              100           p.o.              41.2
                                                                                      independently selected from the group consisting of
           18               30           p.o.              37.5                       C 1 _6 alkoxy, aryl, cycloalkyl, heterocyclyl, hydroxy,
           18               30           p.o.              53.1                       cyano, amino, C 1 _6 alkylamino, (C 1 _6 alkyl) 2 amino, trif-
           48               30           p.o.             102.1              15       luoromethyl, and carboxy;
           75               30           p.o.              7l.l
           75               60           p.o.              56.0
                                                                                      wherein the cycloalkyl andheterocyclyl ofC 1 _2 alkyl and
           75              100           p.o.              45.6                           C 3 __ 6 alk1 1 are optionally substituted with one to two
          227               30           p.o.              93D                            substituents independently selected from the group
          256               30           p.o.              89.7                           consisting          of Cr_ 6 alkyl,        hydroxy(C 1 _6 )alkyl,
          261               30           p.o.              87.7
          270               30           p.o.              96.5
                                                                             20           Cr_ 6 alkoxy, hydroxy, cyano, amino, C 1 _6 alk1 lamino,
          287               30           p.o.              66.4                           (C 1_6 alkyl) 2 amino, trifluoromethyL carboxy, aryl
          289               30           p.o.              76.4                           (Cr_ 6 )alkoxycarbonyl, C 1 _6 alkoxycarbonyl, ami-
          315               30           p.o.              94.5                           nocarbonyl, C 1 _6 alkylaminocarbonyl, (C 1 _6 alkyl) 2
                                                                                          aminocarbonyl, and aminosulfonyl;
                                                                             25   furthennore, wherein the cycloalkyl and heterocyclyl ofR 1
                                Example 11                                            are optionally substituted with one to two substituents
                                                                                      independently selected from the group consisting of
                     Visceral Hyperalgesia Testing                                    C 1_6 alkyl, hydroxy(C 1 _6 )alkyL C 1 _6 alkoxy, hydroxy,
                                                                                      cyano, anuno, C 1 _6 alkylamino, (C 1 _6 alkyl) 2 amino, trif-
   Method: Rats were chronically instrumented with EMG 30                             luoromethyl,            carboxy,      aryl(C 1 _6 )alkoxycarbonyl,
electrodes in the muscles of the anterior abdominal wall.                             C 1 _6 alkoxycarbony 1, aminocarbony I,
Distention of an intra.colonic balloon, using a barostat appa-                    C 1 _6 alkylaminocarbonyl, (C 1 _6 alkyl) 2 aminocarbonyl, and
ratus, evoked increases in the EMG recordings that are related                        aminosulfonyl;
to the pressure. Control responses are compared with repeat                       furthermore, wherein the aryl and heteroaryl portion of the
stimulation 4 hours after zymosan is administered to the 35                           R 1 substituents aryl(C 1 _6 )alkyl and heteroaryl(C 1_6 )
colon (FIG. 1). Animals with 10% higher visceromotor                                  alkyl, are optionally substituted with one to three R 11
responses for al least two distending pressnres are considered                        substituents independently selected from the group con-
to exhibit visceral hyperalgesia.                                                     sisting of C 1_6 alkyl; hydroxy(C 1 _6 )alkyl; C 1 _6 alkoxy;
   Compound 18 in 5 rats at repeated distentions of 40 mmHg                           C 6 _ 10aryJ(C 1 _6 )alkyl; C 6 _10 aryl(C 1 _6 ) alkoxy; C 6 _10 aryl;
administered at 30 mg/kg, i.p., blocked the hyperalgesic 40                           heteroaryl optionally substituted with one to two sub-
response to colorectal balloon distention following zymosan                           stituents independently selected from the group consist-
(FIG. 2 and FIG. 3).                                                                  ing of C 1_4 alkyl, C1-4alkoxy, and carboxy; cycloalkyl;
   The agonistic or antagonistic activity of the compounds of                         heterocyclyl; C 6 _10aryloxy; heteroaryloxy; cycloalky-
the invention at the kappa opioid receptor can be determined                          loxy; heterocyclyloxy; amino; C 1 _6 alkylamino; (C: 1 _
by known methods, for example, by the procedure described 45                          6alkyl)iamino; C 3 _6 cycloalkylaminocarbonyl; hydroxy
in S. Giuliani, A. L,x:ci, M. Tramontana, C. A. Maggi, Role of                        (C 1 _6 ) alh.1 laminocarbony I; C 6 _10ary laminocarbony I
kappa opioid receptors in modulating cholinergic twitches in                          wherein C 6 _10aryl is optionally substituted with carboxy
the circular muscle of guinea-pig colon. Brit J Pharmacol                             or C 1 _4 alkoxycarbonyl; heterocyclylcarbonyl; carboxy;
119, 985-9 (November, 1996).                                                          C 1_6 alkoxycarbonyl; C 1 _6 alkoxycarbonyloxy; C 1 _6 alky-
                                                                             50       lcarbony l; C 1_6 alkylcarbony!amino; aminocarbonyl;
  What is claimed is:
                                                                                      C 1_6 alkylaminocarbonyl; (C 1_6 alkyl) 2 aminocarbonyl;
  1. A compound of Formula (I)                                                        cyano; halogen; trifluoromethyl; trifluoromethoxy; and
                                                                                      hydroxy;
                                                                                  provided that no more than one R 11 substituent is selected
                                                               Formula (I)
                                                                             55       from the group consisting of C 6 _10aryl(C 1 _6 )alkyl;
                          R2                  RJ                                      C 6 _10aryl(C 1_6 )alkoxy; C 6 _10aryl; heteroaryl optionally
                Rl                                                                    substituted with one to two substituents independently
           R6    '-N
                                                                                      selected from the group consisting of C1-4alkyl,
                                          Rs                                          C 1 _4 alkoxy, and carboxy; cycloalk1 l; heterocyclyl;
     R4                   L               ,                                  60       C 6 _10aryloxy; heteroaryloxy; cycloalkyloxy; C 6 _10 ary-
                                                                                      laminocarbonyl wherein C 6 _10aryl is optionally substi-
             N                                                                        tuted with carboxy or C 1_4 alkoxycarbonyl; heterocy-
          R'/' 'Rb
                                                                                      clylcarbonyl, and heterocyclyloxy;
                                                                                    2
                                                                                  R is hydrogen, C 1 _8 alkyl, hydroxy(C 1 _8 )alkyL C 6 _10aryl
wherein:                                                             65               (C 1 _6 )alkoxy(C 1 _6 )alh.1 1, or C 6 _10aryl(C 1 _8 )alkyl;
  R 1 is selected from the group consisting of hydrogen,                          wherein the C 6 _10 aryl group in the C 6 _10 aryl-containing
     C 1 _6 alkyl, cycloalkyl, heterocyclyl, aryl(C 1 _6 )alkyl, and                  substituents ofR2 are optionally substituted with one to



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                                                                                                                                                    VI B-PAT00000060
                                                      PTX-007, page 60 of 79

                                                                  Appx14466
  Case: 24-1061                         Document: 17                       Page: 245                   Filed: 12/28/2023




                                                       US 7,741,356 B2
                            111                                                                       112
  two substituents independently selected from the group                      benzimidazolyl, benzthiazolyl, benzoxazolyl, qninoliz-
  consisting of C 1_6 alkyl, C 1_6 alkoxy, hydroxy, amino,                    inyl, quinolinyl, isoquinolinyl and quinazolinyl;
                                                                                                                                          41
  C 1_6 alkylamino, (C 1_6 a]kyl) 2 ainino, aminocarbonyl,                wherein R4 is optionally substituted with one to three R
  C 1_6 alkylaminocarbonyl, (C 1 _6 alkyl) 2 aminocarbonyl,                   substituents independently selected from the group con-
  cyano, fluoro, chloro, bromo, trifluoromethyl, and trif-                    sisting of (C 1_6 )alkyl optionally substituted with amino,
  luoromethoxy; and, wherein the C 1 _6 alkyl and                             C 1_6 alkylamino, or (C 1_6 alkylhamino; (C 1_6 )alkoxy;
  C 1_6 alkoxy substituents of aryl are optionally substi-                    pheny1(C 1_6 )alkoxy;         phenyl(C 1_6 )alkylcarbony loxy
  tuted with hydroxy, amino, C 1_6 alkylamino, (C 1_6 alkyl)                  wherein Cl-6 alkyl is optionally substituted with amino;
                                                                              a non fosed 5-membered-heteroaryl(C 1_6 )alkylcarbony-
  2 amino, or aryl;
                                                                     10        loxy; a non fosed 5-membered-heteroaryl; hydroxy;
A is a-1, optionally substituted with R 3 and Rs;                             halogen; aminosulfonyl; formylamino; aminocarbonyl;
                                                                              C 1_6 alkylaminocarbonyl wherein (C 1_6 )alkyl is option-
                                                                              ally substituted with amino, C 1_6 alkylamino, or (C 1_6
                                                                 a-1
                                                                               alkyl) 2 amino; (C 1_6 alkylhmninocarbonyl wherein each
                                                                     15        (C 1_6 )alkyl is optionally substituted with amino,
                                                                              C 1_6 alkylamino, or (C 1_6 alk')'l) 2 amino; heterocyclylcar-
                                                                              bonvl wherein heterocyclyl is a 5- 7 membered nitrogen-
                                                                               containing ring and said heterocyclyl is attached to the
                                                                               carbonyl carbon via a nitrogen atom; carboxy; or cyano;
                                                                     20        and wherein the phenyl portion of phenyl(C 1_6 )alkylcar-
wherein                                                                       bony loxy is optionally substituted with (C 1_6 )alk')'l
A-BisN-C                                                                       (C 1_6 ) alkoxy, halogen, cyano, amino, or hydroxy;
                                                                          provided that no more than one R41 is C 1_6 alkyl substituted
R 3 is one to two substituents independently selected from
                                                                               with C 1_6 alkylamino or (C 1_6 alkyl) 2 amino; aminosulfo-
   the group consisting of C 1_6 alk-yl, aryl, aryl(C 1-6)alkyl,
                                                                               nyl; formylamino; aminocarbonyl; C 1_6 alkylaminocar-
   aryl(C 2 _6 )alkenyl, aryl(C 2 _6)alkynyl, heteroaryl, het- 25
                                                                               bonyl; (C 1_6 alkylhaminocarbonyl; helerocyclylcarbo-
   eroaryl(C1_6)alkyl, heteroaryl(C 2 _6 )alkenyl, heteroaryl
                                                                              nyl; hydroxy; carboxy; or a phenyl- or heteroaryl-
   (C 2 _6 )alkynyl, amino, C 1_6 alkylamino, (C 1_6alkyl) 2
                                                                               containing substituent;
   amino, arylamino, heteroarylamino, aryloxy, heteroary-
                                                                          Rs is a substituent on a nitrogen atom of ring A selected
   loxy, trifluoromethyl, and halogen;
                                                                     30        from the group consisting of hydrogen and C 14a]kyl;
wherein the aryl, heteroaryl, and the aryl and heteroaryl of               R 6 is hydrogen or C 1.. 6 alkyl;
   aryl(C 1_6 )alh.-yl, aryl(C 2 _6 )alkenyl, aryl(C 2 _6 )alkynyl,          7
                                                                           R is hydrogen or C 1_6 alkyl;
   heteroaryl(C 1_6 )alk-yl, heteroaryl(C 2 _6)alkenyl, het-              Ra and Rb are indepengeu.tly selected from the group con-
   eroaryl(C2_6)alkynyl, arylamino, heteroarylamino, ary-                      sisting of hydrogen, C 1_6 alkyl, and C 1_6 alkoxycarbonyl;
   loxy, and heteroaryloxy, are optionally substituted with 35                 alternatively, when R" and R 6 are each other than hydro-
   one to five tluoro substituents or one to three substituents                gen, Ra and Rb are optionally taken together with the
   independently selected from the group consisting of                         nitrogen atom to which they are both attached to fonn a
   cl-6alkyL hydroxy(C1-6)alkyl, C1_5alkoxy, c6-10aryl                         five to eight membered monocyclic ring;
   (C 1_6 )alkyl, C 6_10aryl(C 1_6)alkoxy, C 6 _10aryl, C 6 _10 ary-
                                                                           LisO;
   loxy, heteroaryl(C 1_6 )alh.-yl, heteroaryl(C 1_6 )alkoxy, het- 40      and phamiaceutically acceptable enantiomers, diastere-
   eroaryl,             heteroaryloxy,           C 6 _10arylamino,             omers, racemates, and salts thereof
   heteroarylan1ino, amino, C 1_6 alkylamino, (C 1_6 alkyl) 2              2. The compounds of claim 1 wherein R I is selected from
   amino, carboxy(C 1_6 )alkylamino, carboxy, C 1_6 alkyl-              the group consisting of hydrogen, C 1_6alkyl, aryl(C 14)alkyl,
   carbonyl,        C 1_6 alkoxycarbonyl,      C 1_6 alkylcarbony-      and heteroaryl(C 1_4)alkyl;
   lamino, aminocarbonyl, C 1_6alkylaminocarbonyl, (C 1_6 45               wherein the aryl and heteroaryl portion of aryl(C 1_4)alkyl
   alkyl) 2 aminocarbonyl, carboxy(C 1_6 )alkylaminocarbo-                     and heteroaryl(C 1_4) alkyl are optionally substituted
   nyl, cyano, halogen, trifluoromethyl, trifluoromethoxy,                     with one to three R 11 substituents independently
   hydroxy, C 1_6 alkylsulfonyl, and C 1_6 alh.-ylsulfony-                     selected from the group consisting of C 1_6 alkoxy; het-
   lamino; provided that no more thai1 one such substituent                    eroaryl optionally substituted with one to two substi-
                                               3
   on the aryl or heteroaryl portion of R is selected from                     tutents independently selected from the group consist-
                                                                     50
   the group consisting of C 6 _10aryl(C 1_6 )alkyl, C 5 _10aryl               ing of C 14allq·I, C 1_4alkoxy, and carboxy; carboxy;
   (C 1_6 )alkoxy, C 6 _ 10aryl, C 6 _10aryloxy, heteroaryl(C 1_6 )            C 1_4alkoxycarbonyl; C 14alkoxycarbonyloxy; aini-
   alk-yl, heteroaryl(C 1_6 )alkoxy, heteroaryl, heteroary-                    nocarbonyl; C 14alkylaminocarbonyl; C 3 _6 cycloalky-
   loxy, C 6_10arylamino, heteroarylamino;                                     laminocarbonyl; hydroxy(C 1_6 ) alkylaminocarbonyl;
and wherein C 1_6 alkyl and C 1_6 alkyl ofaryl(C 1_6 )alkyl and 55             C 6 _10arylaminocarbonyl wherein C 6 _ 10aryl is optionally
   heteroaryl(C 1_6 )alkyl are optionally substituted with a                   substituted with carboxy or C 1_4alkoxycarbonyl; hetero-
   substiluent selected from the group consisting of                           cyclylcarbonyl; cyano; halogen; trifluoromethoxy; and
   hydroxy,        carboxy,      C 1_4alkoxycarbonyl,       amino,             hydroxy; provided that no more than one R 11 is het-
   C 1_6 alkylamino, (C 1 _6 alkyl) 2 amino, aminocarbonyl,                    eroaryl (optionally substituted with one to two C 14alkyl
   (C 1_4)alkylan1inocarbonyl, di(C 1_4)alkylaminocarbo- 60                    substituents );      C 6 _10arylaminocarbonyl        wherein
   nyl, aryl, heteroaryl, arylamino, heteroarylamino, ary-                     C 6 _10aryl is optionally substituted with carboxy or
   loxy, heteroaryloxy, aryl(C 1-4)alkoxy, and heteroaryl                      C 1_4alkoxycarbonyl; or heterocyclylcarbonyl.
   (C 1_4)alkoxy;                                                          3. The compounds of claim 1 wherein R 1 is selected from
  4
R is C 6 _10aryl or a heteroaryl selected from the group                the group consisting of C 6_10aryl(C1-4)alkyl, pyridinyl(C 1_4)
   consisting offoryl, thienyl, pyrrolyl, oxazolyl, thiazolyl, 65 alkyl, and furanyl(C 1_4)alkyl; wherein C 6_10aryl, pyridinyl,
   imidazolyl, pyrazolyl, pyridinyl, pyrimidinyl, pyrazinyl,            and foranyl are optionally substituted with one to three R 11
   indolyl, isoindolyl, indolinyl, benzofuryl, benzothienyl:            substituents independently selected from the group consist-




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                                                                                                                                    VI B-PAT00000061
                                               PTX-007, page 61 of 79

                                                        Appx14467
    Case: 24-1061                        Document: 17                      Page: 246                 Filed: 12/28/2023




                                                       US 7,741,356 B2
                              113                                                                    114
ing of C 1 _3 alkoxy; tetrazolyl; carboxy; C 1-4alkoxycarbonyl;          (C 1 _6 )alkoxy, phenyl(C 1_6 )alkoxy; hydroxy; halogen; formy-
aminocarbonyl; C1-4alkylaminocarbonyL C 1_3 alkylami-                    lamino; aminocarbonyl; C 1 _6 alJ...')'laminocarbonyl; (C 1 _6
nocarbonyl; C 3 _6 cycloalkylaminocarbonyl; hydroxy(C 1 _4 )             alkyl) 2 aminocarbonyl; heterocyclylcarbonyl wherein hetero-
alkylaminocarbonyl;           C 6 _10arylaminocarbonyl       wherein     cyclyl is a 5-7 membered nitrogen-containing ring and said
C 6 _10aryl is optionally substituted with carboxy or                    heterocyclyl is attached to the carbonyl carbon via a nitrogen
C 1 -4alkoxycarbonyl; morpholin-4-ylcarbonyl; cyano; halo-               atom; carboxy; and cyano;
gen; and trifluoromethoxyl; provided that no more than one                  provided that no more than one R41 substituent is formy-
  11
R is C 6 _10 arylaminocarbonyl.                                                 lamino, aminocarbonyl, C 1 _6 alkylaminocarbonyl, (C 1 _
   4. The compounds of claim 1 wherein R 1 is selected from                      6alkyl) 2 aminocarbonyl, heterocyclylcarbonyl. hydroxy,
the group consisting of phenyl(C 1 _3 )alJ...')'I, pyridinyl(C 1 _3 ) 10        carboxy, or a phenyl-containing substituent.
alkyL and furanyl(C 1 _3 )a!J...')'I; wherein phenyl, pyridinyl, and        15. The compounds of claim 1 wherein R 4 is phenyl sub-
furanyl are optionally substituted with one to three R 11 sub-           stituted with one to three R.41 substituents independently
stituents independently selected from the group consisting of            selected from the group consisting of (C 1 _3 )alkyl, (C 1_3 )
C 1 _3 alkoxy;       tetrazolyl,      C 3 _6 cycloalkylaminocarbonyl;    alkoxy, phenyl(C 1 _3 )alkoxy, hydroxy, C 1 _6 alkylaminocarbo-
hydroxy(C 1 -4) alky laminocarbony1; C 6 _10ary laminocarbony1 1s nyl, and aminocarbonyl; provided that no more than one R41
wherein C 6 _10 aryl is optionally substituted with carboxy or           substituent is aminocarbonyl, C 1 _6 alkylaminocarbonyl,
C 1-4alkoxycarbonyl; morpholin-4-ylcarbonyl; chloro; fluoro;             hydroxy, or a phenyl-containing substituent.
trifluoromethoxy; C 1 _4 alkoxycarbonyl; and carboxy; pro-                  16. 'Ibe compounds of claim 1 wherein R 4 is phenyl sub-
vided that no more than one R 11 is C 6 _ 10arylaminocarbonyl.           stituted at the 4-position with hydroxy, C 1 _3 alkylaminocarbo-
   5. 111e compounds of claim 1 wherein R 1 is phenylmethyl, 20 nyl, or aminocarbonyl, and optionally substituted with one to
pyridinylmethyl, or furanylmethyl; wherein phenyl, pyridi-               two substituents independently selected from the group con-
nyl, and furanyl are optionally substituted with one to three            sisting of methyl, methoxy, and benzyloxy.
  11
R substituents independently selected from the group con-                   17. 'Ibe compounds of claim 1 wherein R 4 is phenyl sub-
sisting of methoxy; tetrazolyl; cyclopropylaminocarbonyl,                stituted at the 4-position with hydroxy, C 1 _3 alkylaminocarbo-
(2-hydroxyeth-1-yl)aminocarbonyl; methoxycarbonyl; phe- 25 nyl, or arninocarbonyl, and optionally substituted with one to
nylaminocarbonyl wherein phenyl is optionally substituted                two methyl substituents.
with carboxy; morpholin-4-ylcarbonyl; and carboxy.                          18. 'Ibe compounds of claim 1 wherein R 4 is phenyl sub-
                                                      2
    6. The compounds of claim 1 wherein R is a substituent               stituted at the 4-position with hydroxy, C 1 _3 alkylaminocarbo-
selected from the group consisting of hydrogen. C 1 -4alkyl,             nyl, or aminocarbonyl, and substituted at the 2- and 6-posi-
hydroxy(C 1 -4)alkyl, and phenyl(C 1 _ 6 ) alkoxy(C 1 -4)alkyl;       3o tions with methyl substituents.
   wherein said phenyl is optionally substituted with one to                19. The compounds of claim 1 wherein R 5 is hydrogen or
        two substituents independently selected from the group           methyl.
        consisting of C 1 _3 alkyl, C 1 _3 alkoxy, hydroxy. cyano,          20. The compounds o:l:daim 1 wherein R 5 is hydrogen.
        fluoro, chloro, bromo, trifluoromethyl, and trifluo-                21. The compounds of claim 1 wherein R 6 is hydrogen or
        romethoxy.                                                    35
                                                                         methyl.
    7. The compounds of claim 1 wherein R2 is a substituent                 22. The compounds of claim 1 wherein R 6 is hydrogen.
selected from the group consisting ofhydrogen and C 1 _4 alkyl.
                                                      2                     23. 'Ibe compounds of claim 1 wherein R 7 is hydrogen or
   8. The compounds of claim 1 wherein R is hydrogen or
                                                                         methyl.
methyl.
                                                                            24. The compounds of claim 1 wherein R 7 is hydrogen.
   9. The compounds of claim 1 wherein R3 is one to two 40
                                                                            25. "J11e compounds of claim 1 wherein Ra and Rb are
substituents independently selected from the group consist-
                                                                         independently selected from the group consisting of hydro-
ing ofC 1_6 alkyl, halogen, and aryl; wherein aryl is optionally
                                                                         gen and C 1 _3 alkyl; or, when R" and Rb are each other than
substituted with one to three substituents independently
                                                                         hydrogen, Ra and Rb are optionally taken together with the
selected from the gronp consisting of halogen, carboxy, ami-
                                                                         nitrogen atom to which they are both attached to form a five to
nocarbonyl, C 1 _3 alkylsnlfonylamino, cyano, hydroxy, amino, 45
                                                                         seven membered monocyclic ring.
C 1 _3 alkylamino, and (C 1 _3 alkyl) 2 amino.
                                                                            26. ]11e compounds of claim 1 wherein Ra and Rb are
    10. The compounds of claim 1 wherein R 3 is one to two
                                                                         independently hydrogen or methyl.
substituents independently selected from the group consist-
ing of C 1 _3 alJ...')'I, bromo, and phenyl; wherein phenyl is              27. TI1e compounds of claim 1 wherein Ra and R 6 are each
optionally substituted with one to three substituents indepen- 50 hydrogen.
dently selected from the group consisting of chloro, fluoro,                28. The compmmds of claim 1 that are present in their RR,
iodo, carboxy, aminocarbonyl, and cyano.                                 SS, RS, and SR configurations.
    11. The compounds of claim 1 wherein R 3 is one to two                  29. The compounds of claim 1 in their S,S configuration.
substituents independently selected from the group consist-                 30. A compound of Formula (Ia):
ing of methyl and phenyl; wherein phenyl is optionally sub- 55
stituted with one to three substituents independently selected
from the group consisting of chloro and carboxy.                                                                              Formula (la)
   12. The compounds of claim 1 wherein at least one R3
substituent is phenyl.
   13. The compounds of claim 1 wherein R3 is a substituent 60
selected from the group consisting of methyl and phenyl;
wherein phenyl is optionally substituted with one to two
substituents independently selected from the group consist-
ing of chloro and carboxy.
   14. The compounds of claim 1 wherein R4 is C 6 _10aryl 65
optionally substituted with one to three R 41 substituents inde-
pendently selected from the groupconsisting of (C 1 _3 )alJ...')'l,



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                                                                                                                                 VI B-PAT00000062
                                                PTX-007, page 62 of 79

                                                        Appx14468
  Case: 24-1061                          Document: 17                        Page: 247                    Filed: 12/28/2023




                                                        US 7,741,356 B2
                             115                                                                         116
wherein:                                                                           is optionally substituted witl1 carboxy or C 1 _4 alkoxycar-
R 1 is selected from the group consisting of hydrogen,                             bony1; morpholin-4-ylcarbonyl; cyano; halogen; trifluo-
     C 1 _6 alkyl, aryl(C 1 _4 )alkyl, and heteroaryl(C 1 -4)alkyl;                rornethoxy; C 1 _4 alkoxycarbonyl; or carboxy; provided
,vherein the aryl and heteroaryl portion of aryl(C 1_4 )alkyl                     that no more than one R 11 is C 6 _10arylaminocarbonyl;
     and heteroaryl(C 1-4) alkyl are optionally substituted 5                  R2 is hydrogen or C 1 _4 a]kyl;
    with one to three R11 substituents independently                          R3 is one to two substituents independently selected from
     selected from the group consisting of C 1 _6 alkoxy; het-                    the group consisting of C 1 _3 alkyl, bromo, and phenyl;
    eroaryl optionally substituted with one to two substitu-                      wherein phenyl is optionally substituted with one to
    ents independently selected from the group consisting of                      three substituents independently selected from the
    C 1_4 alkyl, C 1 _4 alkoxy, and carboxy; carboxy; 10                          group consisting of chloro, fluoro, carboxy, aminocar-
    C 1_4 alkoxycarbonyl; C 1 -4alkoxycarbonyloxy; ami-                           bonyl, and cyano;
    nocarbonyl; C 1 -4alky laminocarbony I; C3 _6 cycloalky-                  R4 is phenyl substituted with one to three substituents inde-
    laminocarbony l; hydroxy(C 1 _6 ) alk)' laminocarbonyl;                       pendently selected from the group consisting of (C: 1 _3 )
    C 6 _10arylaminocarbonyl wherein C 6 _10aryl is optionally                    alkyl, (C 1 _3 )alkoxy, phenyl(C 1 _3 )alkoxy, hydroxy,
     substituted with carboxy or C 14alkoxycarbonyl; hetero- 15                   C 1 _6 alkylaminocarbonyl, and aminocarbonyl; provided
    cyclylcarbonyl; cyano; halogen; trifluoromethoxy; and                         that no more than one R41 substituent is aminocarbonyl,
                                                           11
    hydroxy; provided that no more than one R is het-                             C 1 _6 alkylan1inocarbonyl, hydroxy, or a phenyl-contain-
    eroaryl (optionally substituted with one to two C 1 -4alkyl                   ing substituent;
                                                                                5
    substituents );          C 6 _10arylaminocarbonyl        wherein          R is hydrogen;
    C 6 _10aryl is optionally substituted with carboxy or 20                  Ra and Rb are independently hydrogen or methyl;
    C 1 _4 alkoxycarbonyl; or heterocyclylcarbonyl;                           and pharmaceutically acceptable enantiomers, diastere-
  2
R is selected from the group consisting of hydrogen,                              omers, racemates, and salts thereof.
    C 1 _4 alkyl, hydroxy(C 1 _4 ) alkyl, and phenyl(C 1 _6 )alkoxy           32. A compound of Formula (Ia) wherein:
    (C 1 _4 )alkyl;                                                           R is selected from the group consisting of phenyl(C 1 _J
                                                                                1

wherein said phenyl is optionally substituted with one to 25                      alkyl, pyridinyl(C 1 _3 ) alkyl, and furanyl(C 1 _3 )alkyl;
    two substituents independently selected from the group                        wherein phenyl. pyridinyl, and furanyl are optionally
    consisting of C 1 _3 alkyl, C 1 _3 alkoxy, hydroxy, cyano,                    substituted with one to three R 11 substituents indepen-
    fluoro, chloro, bromo. tritluoromethyl, and trifluo-                          dently selected from the group consisting of is
    romethoxy;                                                                    C 1 _3 alkoxy; tetrazolyl, C 3 _6 cycloalkylaminocarbonyl;
R3 is one to two substituents independently selected from 30                      hydroxy(C 1 _4 )alkylaminocarbonyl; C 6 _u,arylaminocar-
    the group consisting of C 1 _6 alk)'l, halogen, and aryl;                     bonyl wherein C 6 _10 aryl is optionally substituted with
    wherein aryl is optionally substituted with one to three                      carboxy or C 1 -4alkoxycarbonyl; morpholin-4-ylcarbo-
                                                                                  nyl: chloro; tluoro; tritlnoromethoxy; methoxycarbonyl;
    substituents independently selected from the group con-
                                                                                  and carboxy; provided" that no more than one R 11 is
    sisting of halogen, carboxy, aminocarbonyl. C 1 _3 alkyl-                     C 6 _10arylaminocarbonyl;
    sulfonylamino, cyano, hydroxy, amino, C 1 _3 alkylamino, 35               R2 is hydrogen or methyl;
    and (C 1 _3 alkyl) 2 amino:                                               R3 is one to two substituents independently selected from
  4                                                                 41
R is C 6 _ 10aryl optionally substituted with one to three R                      the group consisting of methyl and phenyl; wherein
    substituents independently selected from the group con-                       phenyl is optionally substituted with one to three sub-
    sisting of (C 1 _3 )alk)'I, (C 1 _6 ) alkoxy, phenyl(C 1 _6 )                 stituents independently selected from the group consist-
    alkoxy; hydroxy; halogen; formylamino; aminocarbo- 40                         ing of chloro and carboxy;
    nyl;           C 1 _6 alkylaminocarbonyl;          (C 1 _6 alkyl) 2         4
                                                                              R is phenyl substituted at the 4-position with hydroxy.
    aminocarbonyl; heterocyclylcarbonyl wherein hetero-                           C 1 _3 alkylaminocarbonyl, or aminocarbonyl, and option-
    cyclyl is a 5-7 membered nitrogen-containing ring and                         ally substituted with one to two substituents indepen-
    said heterocyclyl is attached to the carbonyl carbon via a                    dently selected from the group consisting of methyl.
    nitrogen atom; carboxy; and cyano:                                  45        methoxy, and benzyloxy;
provided that no more than one R41 substituent is fonny-                        5
                                                                              R is hydrogen;
    lamino, aminocarbonyl, C 1 _6 alkylaminocarbonyl, (C 1_6
                                                                              Ra and R6 are each hydrogen;
    alkyl)iaminocarbonyl, heterocyclylcarbonyl, hydroxy,
                                                                              and phamrnceutically acceptable enantiomers. diastere-
    carboxy, or a phenyl-containing substituent.
                                                                                  omers, racemates, and salts thereof.
R5 is hydrogen or methyl;
               6                                                              33. A compound according to claim 32 wherein R 1 is phe-
Ra and R are independently hydrogen or C 1 _3 alkyl; or,
                                                                           nylmethyl, pyridinylmethyl, or furanylmethyl; wherein phe-
    when Ra and Rb are each other than hydrogen, Ra and Rb
                                                                           nyl, pyridint'1, and furanyl are optionally substituted with one
    are optionally taken together with the nitrogen atom to                to three R 1 substituents independently selected from is the
    which they are both attached to form a five to seven                   group consisting of methoxy, tetrazolyl, cyclopropylan1i-
    membered monocyclic ring;                                           55 nocarbonyl, (2-hydroxyeth-1-yl)aminocarbonyl, phenylami-
and pharmaceutically acceptable enantiomers, cliastere-                    nocarbonyl wherein phenyl is optionally substituted with car-
    omers, racemates, and salts thereof.                                   boxy, morpholin-4-ylcarbonyl, rnethoxycarbonyl, and
31. A compound of Formula (Ia) wherein:                                    carboxy; provided that no more than one R 11 is phenylami-
  1
R is selected from the group consisting of C: 6 _1 0 aryl(C 1-4)           nocarbonyl.
   alkyl, pyridinyl(C 1 _4 ) alk)'l, and furanyl(C 1 _4 )alkyl; 60            34. A compound according to claim 32 ,vherein R4 is phe-
   wherein C 6 _10aryl, pyridinyl, and furanyl are optionally              nyl substituted at the 4-position with hydroxy, C 1 _3 alkylan1i-
    substituted with one to three R 11 substituents indepen-               nocarbonyl. or aminocarbony1, and optionally substituted
   dently selected from the group consisting of C 1 _3 alkoxy;             with one to two methyl substituents.
   tetrazolyl; carboxy; C 1 _3 alkoxycarbonyl; aminocarbo-                    35. A compound according to claim 32 wherein R4 is phe-
   nyl; C 1-4alkylaminocarbonyl; C 1 _3 alkylaminocarbonyl; 65 nyl substituted at the 4-position with hydroxy, C 1 _3 alkylami-
   C3 _6 cycloalkylaminocarbonyl; hydroxy(C: 14) alkylami-                 nocarbonyl, or aminocarbonyl, and substituted at the 2- and
   nocarbonyl; C 6 _10 arylaminocarbonyl wherein C 6 _10aryl               6-positions with methyl substituents.



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                                                                                                                                       VI B-PAT00000063
                                                 PTX-007, page 63 of 79

                                                          Appx14469
             Case: 24-1061                                   Document: 17                                Page: 248            Filed: 12/28/2023




                                                                               US 7,741,356 B2
                                           117                                                                                118
            36. A compound of Formula (lb)




                                                                                                               Formula (lb)
                                                             R2




                            IT
                            R4l            R
                                                 •',)"('XR''

                                                         R
                                                             L            NI
                                                                          Rs
                                                                                    R''




                              wherein Lis O and R 1 , R2 , R 3 - 1, R3 -2 , R\ R'\
                              Rb. and R41 are dependently selected from the
                                               group consisting of:
       Rl                         R2             R3-l                 R.i-2    R'          R4l                 Ra/Rb

       2-                         methyl         phenyl               H        H           2 ,6-dirnethyl-4-   H
       Aminocarbonyl-                                                                      runinocarbonyl
       phenylrnethyl
       2-Cyano-phenyl             methyl         phenyl               H        H          2,6-dimethyl-4-      H
       methyl                                                                             aininocarbonyl
       2-Bromo-phenyl             methyl         phenyl               H        H          2 ,6-dimothyl-4-     H
       methyl                                                                             aminocarbonyl
       J-Carboxy-4-               methyl         phenyl               H        II         4-aminocarbonyl      H
       methoxy-phenyl
       methyl
       3-Carboxy-4-               H              phenyl               H        H          4-aminocarbonyl      H
       methoxy-phenyl
       methyl
       3-Carboxy-4-               H              phenyl           H            H          2 ,6-dimethyl-4-     H
       methoxy-phenyl                                                                     aminocarbonyl
       methyl
       3-                     H                  phenyl           H            H          2.6-dimethyl-4-      H
       Methoxycarbonyl-                                                                   aminocarbonyl
       4-methoxy-
      phenylmethyl
       3-(1 H-tetrazol-5-     methyl             phenyl           H            H          2.6-dimethyl-4-      H
       yl)-4-methoxy-
      phenylmethyl
       3-                     methyl             phenyl           H            H          2,6-dimethyl-4-      H
      Methoxycarbonyt-                                                                    aminocarbonyl
      phenyhnethyl
       3-Methoxy              metl1yl            naphthalen-      H            H          2,6-dimethyl-4-      H
      carbonyl-                                  1-yl                                     aminocarbonyl
      phenylmethyl
      3-Carboxy-              methyl            naphthalen-       H            H          2,6-dimethyl-4-      H
      phenylmethyl                              1-yl
      3-Carboxy-              methyl            4-chloro-         Me           H          2 ,6-dimethyl-4-     H
      phenylmethyi                              phenyl
      4-Carboxy-              methyl            naphthalen-       H            H          2,6-dimethyl-4-      H
      phenylmethyl                               1-yl
      3-Methoxy-4-            methyl            phenyl            H            H          2,6-dimethyl-4-      H
      carboxy-                                                                            aminocarbonyl
      phenylmethyl
      3,4-Dihydroxy-          methyl            phenyl            H            H          2,6-dimethyl-4-      H
      phenylmethyl                                                                        hydro,;:y
      Piperidin-4-            methyl            phenyl            H            H          2.6-dimethyl-4-      H
      ylmethyl                                                                            hydroxy
      3-Methoxy               methyl            phenyl            H            H          2,6-dimethyl-4-      H
      carbonyl-4-                                                                         aminocarbony1
      methoxy-phenyl
      methyl
      3-Carboxy-4-            methyl            phenyl            H            H          2,6-dirnethyl-4-     H
      methoxy-                                                                            aminocarbonyl
      phenylmethyl
      3 ,4-Dimethoxy-         methyl            3-bmmo            H            H          2,6-dimethyl-4-      H
      phenylmethyl                              phenyl                                    amino carbonyl
      3 ,4-Dimethoxy-         methyl            3-carboxy         H            H          2,6-dimethyl-4-      H
      phenylmethyi                              phenyl                                    aminocarbonyl
      3 ,4-Dimethoxy-         benzyl            phenyl            H            H          2,6-dimethyl-4-      H
      phenylmethyl            oxy                                                         hydroxy
                              methyl
      3.4-Dirnethoxy-         methyl            3-tunino          H            H          2,6-dimethyl-4-      H
      phenyimethyl                              carbonyl                                  aminocarbonyl
                                                phenyl




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                                                                                                                                           VI B-PAT00000064
                                                                  PTX-007, page 64 of 79

                                                                               Appx14470
      Case: 24-1061                                  Document: 17                                 Page: 249            Filed: 12/28/2023




                                                                     US 7,741,356 B2
                                       119                                                                             120
                                                     -continued

                                                                                                        Formula (lb)
                                                       R2


                                          R',N~•x'''
                                                                N           RJ.2
                           ~
                                                       L
                                                                I
                                                                Rs

                    1/-#
                    R41

                      wherein Lis O and R 1 , R2 , R 3 ·1, R 3 -2 , RS, R'\
                      R". aud R41 are dependently selected from the
                                   group consisting of:
RI                    R2             RJ.1                  RJ.2         Rs         R41                  R"!Rb

3 ,4-Dimethoxy-           methyl          3-cyano           H          H           2,6-dimethyl-4-      H
phenylmethyl                              phenyl                                   runinocarbonyl
Isopropyl                 H               quinoxalin-       Me         H           2,6-dimethyl-4-      H
                                          8-yl                                     hydroxy
3,4-Dimethoxy-            methyl          2-bromo           H          H           2,6-dimethyl-4-      H
phenylmethyl                              phenyl                                   llJ:Ilinocarbonyl
3 ,4-Dimethoxy-           methyl          2-cya.no          H          H           2,6-dimethyl-4-      H
phenylmethyl                              phenyl                                   a.minocarbonyl
3,4-Dimethoxy-            methyl          2-amino                                  2,6-dimethyl-4-      H
phenylmethyl                              carbonyl                                 a.minoca.rbonyl
                                          phenyl
3 ,4-Dimethoxy-           methyl          2-carboxy         H          H           2,6-dimethyl-4-      H
phenylmethyl                              phenyl                                   aminocarbonyi
3,4-Dibenzyloxy-          methyl          phenyl            H          H           2,6-dimethyl-4-      H
phenylmethyl                                                                       hydroxy
[l,3]benzo            methyl              phenyl            H          H           2,6-dimethyl, 4-     H
dioxal-5-yl                                                                        hydroxy
4-Methoxy-                metliyl         phenyl            H          II          2,6-dimethyl-4-      H
phenylmethyl                                                                       hydroxy
3-Methoxy-            methyl              phenyl            H          H           2,6-dimethyl-4-      H
phenylmothyl                                                                       hydroxy
2,4-Dimethoxy-        methyl              phenyl            H          H           2 ,6-di.methyl -4-   H
phenylmethyl                                                                       hydroxy
3 ,4- Dirnethoxy-     H                   phenyl            H          H           2,6-dimethyl-4-      H
phenylmethyl                                                                       hydroxy
Isopropyl             H                  4-methyl           H          H           2,6-dimethyl-4-      H
                                         carbonyl                                  hydroxy
                                         phenyl
Isopropyl             H                  3-fluoro. 4-       Me         H           2,6-dimethyl-4·      H
                                         carboxy-                                  hydroxy
                                         phenyl
Isopropyl             H                  2-phenyl-          Me         H           2,6-dimethyl-4-      H
                                         ethyl                                     hydroxy
                      en-1-yl
Isopropyl             H                  4-hydroxy          Me         H           2 ,6-dimethyl-4-     H
                                         methyl                                    hydroxy
                                         phenyl
Benzhydryl            H                  phenyl             H          H           2,6-dimethyl-4-      H
                                                                                   hydroxy
Isopropyl             H                  4-cya.no           Me         H           2 ,6-dimothyl-4-     H
                                         phenyl                                    hydroxy
Benzyl                methyl             4-trifluoro        H         H            2,6-dimethyl-4-      H
                                         methyl                                    aminocarbonyl
                                         phenyl
Jsopropyl             H                  3-trifluoro        Me        H            2,6-dimethyl-4-      H
                                         metboxy                                   hydroxy
                                         phenyl
lsopropyl             H                  4-trifluoro        Me         H           2,6-dimcthyl-4·      H
                                         methoxy                                   hydroxy
                                         phenyl
Isopropyl             H                  3-methane          Me        H            2,6-dimethyl-4·      H
                                         sulfonyl                                  hydroxy
                                         amino
                                         phenyl
Isopropyl             H                  4-(2·              Me        H            2,6-dimethyl-4-      H
                                         carboxy                                   hydroxy
                                         ethyl)
                                         phenyl
lsopropyl             H                  3-amino-5-         Me        H            2.6-dimethyl-4·      H
                                         carboxy                                   hydroxy
                                         phenyl




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                                                                                                                                    VI B-PAT00000065
                                                            PTX-007, page 65 of 79

                                                                       Appx14471
      Case: 24-1061                              Document: 17                                     Page: 250           Filed: 12/28/2023




                                                                     US 7,741,356 B2
                                  121                                                                                 122
                                                  -continued




                 rr :x                 R1,N
                                                 ~
                                                   R2




                                                   L
                                                               N
                                                               ~s
                                                                             R3-l




                                                                             R''
                                                                                                       Formula (lb)




                 R4l              R          R


                   wherein Lis O a11d Rl, R 2 , R 3 "1 , R 3 · 2 , R 5 , Ra,
                   Rb, and R41 are dependently selected from the
                                group consjsting of:
R'                 R2             R3-l                   R3-2            R'         R41                Ra/Rb

3-Carboxy-             methyl         phenyl               H            H           2,6-dimethyl-4-    H
phenylme1 hyl                                                                       hydroxy
4-Carboxy-             methyl         phenyl               H            H           2,6-dirnethyl-4-   H
phenylrne1 hy!                                                                      carboxy
4-Carboxy-             methyl         phenyl               H            H           2,6-dirnethyl-4-   H
phenylmethyl                                                                        aminocarbonyl
4-Methoxy              methyl         phenyl               H            H           2.6-dimethyl-4-    !l
carbonyl-                                                                           aminocarbonyl
phenylmethyl
3-Methoxy              methyl         phenyl               H            H           2,6-dimethyl-4-    H
carbonyl-                                                                           hydroxy
phenylmethyl
1-Benzyloxy            methyl         phenyl               H            II          2,6-dimethyl-4-    H
carbonyl-                                                                           hydroxy
piperadin-4-
ylme1hyl
Furan-2-yl             methyl         phenyl               H            II          2,6-dimethyl-4-    H
methyl                                                                              hydroxy
Furan-3-yl             methyl         phenyl               H            H           2,6-dimethyl-4-    H
methyl                                                                              hydroxy
Cyclohexyl             methyl         phenyl               H            H           2,6-dimethyl-4-    H
methyl                                                                              hydroxy
Pyridin-4-yl           methyl         phenyl               H            H           2,6-dimethyl-4-    H
methyl                                                                              hydroxy
Benzyl             methyl             4-chloro             tv1e         H           2,6-dimel hyl-4-   H
                                      phenyl                                        aminocarbonyl
Benzyl             methyl             3-fluoro             H            H           2 ,6-dimethyl-4-   H
                                      phenyl                                        aminocarbonyl
isopropyi              H              3-cyano              Me           H           2.6-dimethyl-4-    H
                                      phenyl                                        hydroxy
Isopropyl          !-]                2,5-difluoro         Me           H           2 ,6-dimethyl-4-   H
                                      phenyl                                        hydroxy
Isopropyl          H                  4-methane            ?vie         H           2.6-dime1hyl-4-    l-1
                                      sulfonyl                                      hydroxy
                                      phenyl
Benzyl             benzyl             phenyl               H           H            2.6-dimethyl-4-    H
                   oxy                                                              arninocarbonyl
                   methyl
Isopropyl          H                  Br                   Mc           H           2 ,6-dimethyl-4-   H
                                                                                    hydroxy
Isopropyl          H                  4-dirnethyl          Me          H            2,6-dimethyl-4-    H
                                      amino                                         hydroxy
                                      phenyl
Isopropyl          H                  3-dimethyl           Me          H            2 ,6-dimethyl-4-   H
                                      amino                                         hydroxy
                                      carbonyl
                                      phenyl
Isopropyl          H                  3-hydroxy            Me          H            2,6-dimethyl-4-    H
                                      phenyl                                        hydroxy
lsopropyl          H                  4-amino              Me          H            2,6-dimethyl-4-    H
                                      carbonyl                                      hydroxy
                                      phenyl
Isopropyl          H                  3-chloro             Me          H            2,6-dimethyl-4-    H
                                      phenyl                                        hydroxy
Isopropyl          H                  2,4-difluoro         Me          H            2,6-dimethyl-4-    H
                                      phenyl                                        hydroxy
lsopropyl          H                  3-methane            ?vie        H            2.6-dimethyl-4-    H
                                      sulfonyl                                      hydroxy
                                      phenyl




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                                                                                                                                   VI B-PAT00000066
                                                           PTX-007, page 66 of 79

                                                                        Appx14472
      Case: 24-1061                                      Document: 17                             Page: 251             Filed: 12/28/2023




                                                                         US 7,741,356 B2
                                      123                                                                               124
                                                         -continued
                                                                                                         Formula (lb)
                                                         R2




                    CY±
                    R4l               R'
                                            '',)"<'XR''

                                                    Rb
                                                         L        Nj s
                                                                  R
                                                                              R''




                      wherein Lis O and R 1 , R2 , R3 - 1, R3 -2 , R 5 , Ra,
                      Rb, and R41 are dependently selected from the
                                   group consisting of:
 R'                   R2             R'·'                  R-'·2         Rs          R4J                 R"!Rb

 Isopropyl                H                3-amino            Me         H           2,6-dimethyl-4-     H
                                           ca,bonyl                                  hydroxy
                                           phenyl
 Benzyl                   methyl           4-trifluoro        Me         H           2,6-dimethyl-4-    H
                                           methyl                                    aminocarbonyl
                                           phenyl
3 ,4-Dimethoxy-           methyl           phenyl             H          H          2,6-dimethyl-4-     H
phenylmethyl                                                                        aminoca,bonyl
Benzyl                    methyl           4-fiuoro           H          H          2,6-dimethyl-4-     H
                                           phenyl                                   a,ninoc8Ibonyl
4-Dimethylrunino-         methyl           phenyl             H          Me         2,6-dimethyl-4-     H
phenylmethyl                                                                        hydroxy
4-Methylamino-            methyl           phenyl             H          H          2,6-dimethyl-4-     H
phenylmethyl                                                                        hydroxy
4-Methylca,bonyl      methyl               phenyl             H          H          2,6-dirnethyl-4-    H
amino-phenyl                                                                        hydroxy
methyl
4-Ca,boxy-            methyl               phenyl             H          H          2,6-dimcthyl-4-     H
pl1enylmethyl                                                                       hydroxy
4-Hydroxy-            methyl               phenyl             H          l!         2,6-dimethyl-4-     H
phenyimethyl                                                                        hydroxy
Benzyl                methyl               4-fiuoro           H          JI         2,6-dimethyl-4-     H
                                           phenyl                                   hydroxy
Isopropyl             methyl               4-fiuoro           H          H          2,6-dimethyl-4-     l!
                                           phenyl                                   hydroxy
lsopropyl             hydroxy              phenyl             H          H          2,6-dimothyl-4-     H
                      methyl                                                        aminoca,bonyl
lsopropyl             H                    phenyl             H          H          2,6-dimethyl, 4-    H
                                                                                    aminoc8Ibonyl
3 ,4-Dichloro-        H                    phenyl             H          H          2,6-dirnethyl-4-    H
phenylmethyl                                                                        hydroxy
4-Methyica,bonyl      methyl               phenyl             H          H          2 ,6-dimot hyl-4-   H
oxy-phenyl                                                                          hydroxy
methyl
4-Methoxy             methyl               phenyl             H          H          2.6-dimethyl-4-     H
carbonyl-                                                                           hydroxy
phenylrnethyl
3-Aminocarbonyl-      methyl               phenyl             H          H          2,6-dimethyl-4-     H
pheny !methyl                                                                       hydroxy
3-Cyano-phenyl        methyl               phenyl             H          H          2,6--dimethyl-4-    H
methyl                                                                              hydroxy
Pyridin-3-yl          methyl               phenyl             H          H          2 ,6-dimethyi-4-    H
methyl                                                                              hydroxy
Pyridin-2-yl          methyl               phenyl             H          H          2,6-dimethyl-4-     H
metl1yl                                                                             hydroxy
1-(R)-Phenylethyl     H                    phenyl             H          H          2,6-dimethyl-4-     H
                                                                                    aminoc8Ibonyl
1-(RJ-Phenylethyl     H                    phenyl             H          H          2,6-dimethyl-4-     H
                                                                                    aminoc8Ibonyl
2-Methoxy-            methyl               phenyl             H          H          2,6-dimethyl-4-     II
phenylmethyl                                                                        hydroxy
2,6-Dichloro-         methyl               phenyl             H          H          2,6-dimethyl-4-     H
phenylmethyl                                                                        hydroxy
3-Phenoxy-            methyl               phenyl             H          H          2 ,6-dimethyl-4-    H
phenylmethyl                                                                        hydroxy
Naphthalen-1-yl-      methyl               phenyl             H          H          2,6-dimethyl-4-     H
methyl                                                                              hydroxy
Naphthalen-2-yl-      methyl               phenyl             H          H          2 ,6-dimethyl-4-    H
metl1yl                                                                             hy<lroA·y
3-Bromo-phenyl        methyl               phenyl             H          H          2,6-dirnethyl-4-    H
methyl                                                                              hydroxy




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                                                                                                                                     VI B-PAT00000067
                                                              PTX-007, page 67 of 79

                                                                         Appx14473
      Case: 24-1061                                 Document: 17                                  Page: 252           Filed: 12/28/2023




                                                                       US 7,741,356 B2
                                    125                                                                               126
                                                    -continued
                                                                                                       Formula (lb)




                  rr
                                                      Rz


                                         R',N~XR'
                                                               N              R''
                                                      L          ~5



                  R41               R"
                                           '- Rb

                    wherein Lis O and R 1 , R 2 , R 3 - 1 • R 3 -2 , R 5 , Ra,
                    R,,, and R 41 are dependently selected from the
                                   group consisting of:
RI                  R2               R'-1                   R3-2           R'       R4'                R"!Rb

3 ,4-Dimethoxy-         methyl           phenyl              H            H         2,6-dimethyl-4-    H
phenylmcthyl                                                                        hydroxy
2 ,4-Dichloro-          methyl           phenyl              H            H         2,6-dimethyl-4-    H
phenylmethyl                                                                        hydroxy
Benzyl                  isobutyJ         phenyl              H            H         2,6-dimethyl-4-    H
                                                                                    hydroxy
Benzyl                  benzyl           phenyl              H            H         2,6-dimethyl-4-    H
                                                                                    hydroxy
Benzyl                  isopropyl        phenyl              H            H         2,6-dimethyl-4-    H
                                                                                    hydroxy
Benzyl                  H                phenyl              H            H         2 ,6-dimethyl-4-   H
                                                                                    arninocarbonyl
3-Phenyl                methyl           phenyl              H            H         2,6-dimethyl-4-    H
prop-1-yl                                                                           aminocarbonyl
2-Phcnylethyl           methyl           phenyl              H            H         2,6-dimethyl-4-    H
                                                                                    aminoca.rbonyl
1-Phenylethyl           methyl           phenyl              H            H         2,6-dimethyl-4-    H
dia.stereomer A                                                                     amino carbonyl
1-Phcnylethyl           methyl           phenyl              H            H         2-6-dimethyl-4-    H
diasteromer B                                                                       runinoca.rbonyl
Benzyl                  methyl           phenyl              H            H         2,6-dimethyi-4-    H
                                                                                    aminoca.rbonyl
Isopropyl               H                4-biphenyl          Me           H         2,6-dirnethyl-4-   H
                                                                                    hydroxy
Isopropyl               H                3-fluoro            Me           H         2,6-dirnethyl-4-   H
                                         phenyl                                     hydroxy
Isopropyl               H                2-fluoro            Me           H         2,6-dirnethyl-4-   H
                                         phenyl                                     hydroxy
Isopropyl               hydroxy          phenyl              H            H         2,6-dirnethyl-4-   H
                        methyl                                                      hydroxy
H                       hydroxy          phenyl              H            H         2 ,6-dimethyl-4-   H
                        methyl                                                      hydroxy
Isopropyl               3-(amino         phenyl              H            H         2,6-dimethyl-4-    H
                        methyl)                                                     hydroxy
                        phenyl
                        methyl
Isopropyl               3-amino          phenyl              H            H         2.6-dimethyl-4-    II
                        carbonyl                                                    hydroxy
                        phenyl
                        methyl
Isopropyl               3-cyano          phenyl              H            H         2,6-dimethyl-4-    H
                        phenyl                                                      hydroxy
                        methyl
Isopropyl               H                4-carboxy           Me           H         2,6-dimethyl-4-    H
                                         phenyl                                     hydroxy
Isopropyl               H                pyridin-3-yl        Me           H         2,6-dimethyl-4-    H
                                                                                    hydroxy
Isopropy!               H                4-methoxy           Me           H         2,6-dimethyl-4-    H
                                         phenyl                                     hydroxy
Isopropyl               H                3,5-difluoro        Me           H         2,6-dimethyl-4-    H
                                         phenyl                                     hydroxy
Cyclohexyl              methyl           phenyl              H            H         2,6-dimethyl-4-    H
                                                                                    aminocarbonyl
Carboxymethyl           H                phenyl              H            H         2,6--dimethyl-4-   H
                                                                                    hydroxy
Isopropyl               H                3-hydroxy           Me          H          2,6-dimethyl-4-    H
                                         methyl                                     hydroxy
                                         phenyl
lsopropyl               H                pyrimidin-5-        Me           H         2,6-dimethyl-4-    H
                                         yl                                         hydroxy




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                                                                                                                                   VI B-PAT00000068
                                                             PTX-007, page 68 of 79

                                                                          Appx14474
     Case: 24-1061                         Document: 17                                   Page: 253              Filed: 12/28/2023




                                                                US 7,741,356 B2
                              127                                                                                128
                                            -continued
                                                                                                  Formula (Ib)
                                             R2


                                  R',),,~txR'
                                                        N             RJ-2
                                                           I
            I"¾                              L          R'

             (.,#
            R41

              wherein Lis O and R1, R2 , R3- 1, R3 ~2 , R5, Ra,
              Rb, and R41 are dependently selected from the
                                group consis1ing of:
R'                R2              R3 l                 R'-2      Rs          R4l                  R"!Rb

Isopropyl         H               pyrimidin-5-         Me        ll          4-hydroxy            H
                                  yl
Isopropyl         H               3-carboxy            Me        H           2,6-dimethyl-4-      H
                                  phenyl                                     hydroxy
Isopropyl         H               3-biphenyl           Me        H           2,6-dimethyl-4-      I!
                                                                             hydroxy
Jsopropyl         I-l             2-methoxy            Me        H           2,6-dimethyl-4-      H
                                  phenyl                                     hydroxy
Isopropyl         benzyl          phenyl               H         H           3-aminocarbonyl      H
Isopropyl         isopropyl       phenyl               H         H           3-aminocarbonyl      H
Isopropyl         benzyl          phenyl               H         H           2,6-dimethyl-4-      H
                  oxy                                                        hydroxy
                  methyl
!sopropyl         isobutyl        phenyl               H         H           2,6-dimethyl-4-[2-   H
                                                                             (2,6-dimethyl-4-
                                                                             hydroxyphenyl)-1-
                                                                             an1ino-
                                                                             ethylcarbonxyloxy]
                                                                             phenyl
Isopropyl         isobutyl        phenyl               H         H           2 ,6-dimethyl-4-     H
                                                                             hydroxy
Isopropyl         H               3,5-dichloro         Me        H           2 ,6-dimethyl-4-     H
                                                       phenyl                                     hydroxy
Isopropyl         H               3-methoxy            Me        H           2,6-dimethyl-4-      H
                                  phenyl                                     hydroxy
Isopropyl         methyl          phenyl               H         H           2,6-dimethyl-4-      H
                                                                             aminocarbonyl
lsopropyl         H               2-biphenyl           Me        H           2,6-dimethyl-4-      H
                                                                             hydroxy
Isopropyl         H               thiophen-3-          Me        H           2,6-dimethyl-4-      H
                                  yl                                         hydroxy
Isopropyl         H               4-chloro             Me        H           2,6-dimethyl-4-      H
                                  phenyl                                     hydroxy
Isopropyl         H               3-methyl             Me        H           2,6-dimethyl-4-      H
                                  carbonyl                                   hydroxy
                                  amino
                                  phenyl
Isopropyl         H               4-trifluoro          Me        H           2,6-dimethyl-4-      H
                                  methyl                                     hydroxy
                                  phenyl
lsopropyl         H               naphtha!             Me        H           2,6-dimethyl-4-      H
                                  en-2-yl                                    hydroxy
Isopropyl         H               2-trifluoro          Me        H           2,6-dimethyl-4-      H
                                  methyl                                     hydroxy
                                  phenyl
Isopropyl         ]-]             thiophen-3-yl        Me        H           4-hydroxy            H
lsopropyl         ]-]             pyridin-3-yl         Me        H           4-hydroxy            H
lsopropyl         H               phenyl               Me        H           4-hydroxy            H
Isopropyl         H               2-ch!oro             Me        H           2,6-dimethyl-4-      H
                                  phenyl                                     hydroxy
Isopropyl         H               naphtha!             Me        H           2.6-dimethyl-4-      H
                                  en-1-yl                                    hydroxy
Isopropyl         benzyl          phenyl               H         H           3-cyano              H
lsopropyl         benzyl          phenyl               H         H           4-hydroxy            H
lsopropyl         benzyl          phenyl               H         H           2,6-dimethyl-4-      H
                                                                             hydroxy
lsopropyl         isopropyl       phenyl               H         H           3-cyano              H
Isopropyl         isopropyl       phenyl               H         H           4-hydroxy            H
Isopropyl         isopropyl       phenyl               H         H           2,6-dimethyl-4-      H
                                                                             hydroxy




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                                                                                                                              VI B-PAT00000069
                                                   PTX-007, page 69 of 79

                                                                Appx14475
     Case: 24-1061                                     Document: 17                               Page: 254           Filed: 12/28/2023




                                                                         US 7,741,356 B2
                                      129                                                                             130
                                                       -continued
                                                                                                       Formula (lb)




                    en:
                                                       R2


                                           R'y~NXR''

                                                       L
                                                                y
                                                                Rs
                                                                              R''

                    R41               R"     '   Rb


                      wherein Lis O and R 1, R2 , R3- 1, R3 "2 R5 , Ra,
                                                                     1

                      Rb, and R 41 are dependently selected from the
                                    group consisting of:
Rl                    R2              R3-l               R3-2    Rs                 R41                Ra/Rb

Isopropyl                 H                4-fiuoro         Me           H          2,6-dimethyl-4-    H
                                           phenyl                                   hydroxy
Isopropyl                 H                3,5-bis-         Me           I!         2,6-dimethyl-4-    H
                                           trifluoro                                hydroxy
                                           methyl
                                           phenyl
Isopropyl                 H                2-meL'1yl        Me           H          2,6-dimethyl-4-    H
                                           phenyl                                   hydroxy
Isopropyl                 H                phenyl           Me           H          2,6-dimethyl-4-    H
                                                                                    hydroxy
2-Dimethylamino-          H                phenyl           H            H          2,6-dimethyl-4-    H
1-methyl-eth-1-yl                                                                   hydroxy
Methyl                    isobutyl         phenyl           H            II         3-aminocarbonyl    H
Methyl                    i6obutyl         phenyl           H            II         3-cyano            H
Ethyl                     isopropyl        phenyl           H            H          2 ,6-dimethyl-4-   H
                                                                                    hydroxy
Methyl                    isopropyl        phenyl           H            H          4-hydroxy          H
H                         3-amino          phenyl           H            !I         2,6-dimethyl-4-    H
                          carbonyl                                                  hydroxy
                          phenyl
                          methyl
H                         3-cyano          phenyl           H            H          2,6-dimethyl-4-    H
                          phenyl                                                    hydroxy
                          methyl
Methyl                    isobutyl         phenyl           H            H          2 ,6-dimethyl-4-   H
                                                                                    hydroxy
H                         benzyl           phenyl           H            H          2 ,6-dimethyl-4-   H
                          oxy                                                       hydroxy
                                           methyl
H                         isobutyl         phenyl           H            H          2,6-dim~hyl-4-     H
                                                                                    hydroxy
H                         benzyi           phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    hydroxy
Isopropyl                 H                phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    aminocarbonyl
Methyl                    methyl           phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    morpholin-1-
                                                                                    ylcarbonyl
Methyl                methyl               phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    ethylamino
                                                                                    carbonyl
Methyl                methyl               phenyl           H            H          2,6-dirnethyl-4-   H
                                                                                    methylan1lno
                                                                                    carbonyl
H                         isopropyl        phenyl           H            H          3-aminocarbonyl    H
H                         isopropyl        phenyl           H            H          3-cvano            H
H                         isopropyl        phenyl           H            H          2,6:dimethyl-4-    H
                                                                                    hydroxy
H                     isopropyl            phenyl           H            H          4-hydroxy          H
Methyl                methyl               phenyl           H            H          4-aminosulfonyl    l!
Cydohexyl             H                    phenyl           H            H          2,6-dirnethyl-4-   H
                                                                                    hydroxy
Cyclohexyl            H                    phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    4-hydroxy
Cyclopropyl           H                    phenyl           H            H          2,6-dimethyl-4-    H
methyl                                                                              hydroxy
Cyclopropyl           H                    phenyl           H            H          4-hydroxy          H
methyl
Isopropyl             H                    phenyl           H            H          2,6-dimethyl-4-    H
                                                                                    hydroxy
Isopropyl             H                    phenyl           H            H          4-hydroxy          H




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                                                                                                                                   VI B-PATOOOOOO?O
                                                            PTX-007, page 70 of 79

                                                                         Appx14476
        Case: 24-1061                                      Document: 17                               Page: 255          Filed: 12/28/2023




                                                                           US 7,741,356 B2
                                           131                                                                           132
                                                           -continued
                                                                                                          Formula (lb)




                         ax
                                                            R2


                                                R'v~NXR''
                                                            L
                                                                     I
                                                                     N
                                                                     Rs
                                                                                 R''

                         R4l              R           R

                           wherein Lis O and R 1, R2 , R3 1, R3 -2 , R5 , Ra,
                           Rb, and R 41 are dependently selected from the
                                              group consisting of:
Rl                             R2               R'·l               R-'·2    R'         R41                R"!Rb

Methyl                         methyl           phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       aminocarbonyl
Ethyl                          methyl           phenyl             H        H          2 ,6-dimethyl-4-   H
                                                                                       aminocarbonyl
Methyl                         H                phenyl             H        H          4-hydroxy          H
Methyl                         H                phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       hydroxy
Methyl                         methyl           phenyl             H        H          4-aminocarbonyl    H
Methyl                         methyl           benzyl             H        H          4-hydroxy          H
Methyl                         mett,yl          benzyl             H        H          2,6-dirnethyl-4-   H
                                                                                       hydroxy
\1ethyl                        methyl           phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       hydroxy
H                              methyl           phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       hydroxy
Methyl                         methyl           phenyl             H        H          4-hydroxy          H
H                              methyl           phenyl             H        H          4-hydroxy          H
Ethyl                          methyl           phenyl             H        H          4-hydroxy          H
Ethyl                          methyl           phenyl             H        H          2.6-dimethyl-4-    H
                                                                                       hydroxy
Benzyl                         methyl           phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       hydroxy
Benzyl                         mett,yl          phenyl             H        H          4-hydroxy          !!
Isopropyl                      methyl           phenyl             H        H          2,6-dimethyl-4-    H
                                                                                       hydroxy
Isopropyl                      methyl           phenyl             H        H          4-hydroxy          H
2-Carboxy-                     methyl           phenyl             H        H          2,6-dimethyl-4-    ll
phenyl                                                                                 arninocarbonyl
methyl
3-Carboxy-                     methyl           phenyl             H        H          2,6-dimahyl-4-     H
phenyl                                                                                 aminocarbonyl
methyl
2-Bromo-4.5-                   methyl           phenyl             H        H          2,6-dimethyl-4-    H
dimethoxy-                                                                             aminocarbonyl
phenylrnethyl
2-Ca.rboxy-4.5-                methyl           phenyl             H        H          2,6-dimethyl-4-    H
dimethoxy-                                                                             aminocarbonyl
phenylmethyl
3-Carboxy-4-                   methyl           phenyl             H        II         H                  H
methoxy-phenyl
methyl
3-Casboxy-4-                   methyl           phenyl             H        H          2,6-dimethyl       H
methoxy-phenyl
methyl
3 · M ethoxycarbony I-         methyl           phenyl             H        H          2,6-dimethyl       II
4-mettwxy-
phenylmethyl
3,4-Dimethoxy-                 methyl           phenyl             H        H          2,6-dimethyl-4-    H
phenylmethyl                                                                           imidazol-2-yl
3 ,4-Dimethoxy-                methyl           phenyl             H        H          2 ,6-dimetbyl      H
phenylmethyl
3-Carboxy-4-                   methyl           4-chloro           H        H          2 ,6-dimethyl-4-   H
methoxy-phenyl                                                                         aminocarbonyl
methyl
3-Carboxy-4-                   methyl           4-chloro           H        H          2,6-dimethyl-4-    H
rnethoxy-phenyl                                                                        aminocarbonyl
methyl
3-Carboxy-4-                   methyl           4-chioro           H        H          2,6-dimethyl-4-    H
methoxy-phenyl                                                                         aminocarbonyl
mett1yl
4-Carboxy-                     methyl           4-chloro           Me       H          2,6-dimethyl-4-    H




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                                                                                                                                      VI B-PAT000000? 1
                                                                   PTX-007, page 71 of 79

                                                                            Appx14477
          Case: 24-1061                                   Document: 17                                    Page: 256            Filed: 12/28/2023
1'


                                                                              US 7,741,356 B2
                                            133                                                                                134
                                                          -continued
                                                                                                                Formula (lb)
                                                            R2

                                                ,,,N~NXR''
                                                                      N              R3-2
                                  ~                         L           I
                                                                      Rs

                           11-#
                           R41

                             wherein Lis O and R 1 , R2 , R3 - 1, R3 -2 , R5 , R'C:,
                             Rb' and R41 are dependently selected from the
                                          group consisting of:
     R'                      R2             R3-l                  R'-2         Rs           R4l                 Ra/Rb

     phenyimethyl                              phenyl                                       aminocarbonyl
     3-Carboxy-4-                methyl        4-chloro             Cl          H           2,6-dimethyl-4-     H
     methoxy-phenyl                            phenyl                                       aminocarbonyl
     methyl
     3-(lH-tetrazol-5-           methyl        phenyl               H           H           2 ,6-dimethyl-4-    H
     yl)-phenylmethyl                                                                       aminocarbonyl
     3-Carboxy-4-                methyl        phenyl               H           H           2.6-dimethyl-4-     H
     trifluoromethoxy-                                                                      aminocarbonyl
     phenylmethyl
     Bis-3,4-                    methyl        phenyl               H           H           2,6-dimethyl-4-     H
     trifluoromethoxy-                                                                      aminocarbonyl
     phenylmethyl
     3-Carboxy-                  methyl        phenyl               H           II          2,6-dimethyl-4-     !I
     phenylmethyl                                                                           aminocarbonyl
     Quinolin-4-yl               methyl        phenyl               H           H           2 .6-dimethyl-4-    H
     methyl                                                                                 hydroxy
     4-Melhoxy                   methyl        phenyl               H           H           2,6-dimethyl-4-     H
     naphthalen-1-                                                                          hydroxy
     ylmel:hyl
     4-Trifluoromethoxy-         methyl        phenyl               H           H           2.6-dimethyl-4-     H
     phenylmethyl                                                                           hydroxy
     4-Trifluoromethyl-          methyl        phenyl               H           H           2.6-dimetbyl-4-     H
     phenylmethyl                                                                           hydroxy
     4-Isopropyloxy-             methyl        phenyl               H           l!          2.6-dimethyl-4-     H
     pheny~nethyl                                                                           hydroxy
     3-Ethoxyphenyl-             methyl        phenyl               H           H           2 ,6-dimethyl-4-    H
     methyl                                                                                 hydroxy
     5-Methoxycarbonyl-          methyl        phenyl               H           H           2 ,6-dimethyl -4-   H
     pyridin-2-yl                                                                           aminocarbonyl
     methyl
     5-Carboxy-                  methyl        phenyl               H           H           2,6-dimethyl-4-     H
     pyridin-2-                                                                             aminocarbonyl
     ylmethyi
     6-Carboxy-                  methyl        phenyl               H           H           2,6-dimethyl-4-     H
     pyridin-3-                                                                             amino carbonyl
     ylmethyl
     6-Methoxycarbonyl-          methyl        phenyl               H           H           2,6-dimethyl-4-     H
     pyridin-3-                                                                             aminocarbonyl
     ylmethyl
     5-Carboxy-                  methyl        phenyl               H           H           2,6-dimethyl-4-     H
     furan-2-y!methyl                                                                       aminoca.rbonyl
     5-Methoxy                   methyl        phenyl               H           H           2,6-dimethyl-4-     H
     carbonyl-                                                                              aminoca.rbony[
     furan-2-y!methyl
     3,4-Dimethoxy-              hydroxy       phenyl               H           H           2,6-dimethyl-4-     H
     phenylmethyl                methyl                                                     aminocarbonyl
     Benzyl                      hydroxy       phenyl               H           H           2,6-dimethyl-4-     H
                                 methyl                                                     aminocarbonyl
     3-Carboxy-4-                methyl        phenyl               H           H           2,6-dimethyl-4-     H
     methoxy-phenyl                                                                         hydroxy
     methyl
     3-Carboxy-4-                methyl        phenyl               H           H           4-hydroxy           H
     methoxy-phenyl
     methyl
     3-Carboxy-4-                methyl        phenyl               H           H           4-hydroxy           H/Me
     methoxy-phenyl
     methyl
     3-Carboxy-4-                H             phenyl               H           H           4-hvdroxy           H
     methoxy-phenyl
     methyl




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                                                                                                                                            VI B-PAT00000072
                                                                   PTX-007, page 72 of 79

                                                                               Appx14478
     Case: 24-1061                                      Document: 17                              Page: 257           Filed: 12/28/2023




                                                                            US 7,741,356 B2
                                        135                                                                           136
                                                        -continued
                                                                                                       Formula (lb)
                                                        R2



                                             R',N~xR::
                      uX
                      R41              R            R
                                                        L          IR
                                                                   Rs




                        wherein Lis O and R 1 , R 2 , R3 - 1, R3 -2 , R 5 , Ra,
                        Rh, and R41 are dependently selected from 1.he
                                           group consisting of:
Rl                          R2               R3-l                 R3-2       Rs   R41                  Ra/Rb

3-Carboxy-4-                H                phenyl               H          H    4-hydroxy            HIMe
methoxy-phenyl
methyl
3-Carboxy-4-                H                phenyl               H          H    2,6-dimethyl-4-      H
methoxy-phenyl                                                                    hydroxy
methyl
3-Methoxycarbonyl-          methyl           phenyl               H          H    H                    H
4-methoxy-
phenylme1 l1yl
3-( l H-tetrazol-5-         methyl           phenyl               H          H    4-aminocB.rbonyl     H
yl)-phenylmethyl
3-Methoxycarbonyl-          methyl           phenyl               H          H    2,6-dirnethyl-4-     H
4-methoxy-                                                                        hydroxy
phenylmethyl
3-Methoxycarbonyl           methyl           phenyl               H          H    4-aminocarbonyl      H
3-Carboxy                   methyl           phenyl               H          H    4-aminocarbonyl      H
3-Methoxycarbonyl           H                phenyl               H          H    2,6-dimethyl-4-      H
                                                                                  arninocarbonyl
3-Carboxy                   H                phenyl               H          H    2 .6-dime1 t,yl-4-   H
                                                                                  aminocarbonyl
3-Carboxy-4-                methyl           phenyl               H          H    4-benzyloxy-         H/Me
methoxy-
phenylmethyl
3-Carboxy-4-                methyl           phenyl               H          H    4-aminocarbonyl      H
methoxy-
phenylmethyl
3-Carboxy-                  methyl           4-chloro             Me         H    4-aminocarbonyl      H
phenyl
3-Methoxycarbonyl-          methyl           phenyl               H          H    4-hydroxy            H
4-methoxy-
phenylme1hyl
5-Methoxycarbonyl-          methyl           phenyl               H          H    2,6-dime1 hyl-4-     H
furan-2-ylmethyl                                                                  hydroxy
5-Carboxy-furan-            methyl           phenyl               H          H    2,6-dimethyl-4-      H
2-ylmethyl                                                                        hydroxy
3-Carboxy-4-                methyl           3-bromo              H          H    2 ,6-dimethyl-4-     H
metl1oxy-                                    phenyl                               aminocarbonyl
phenylmethyl
3-Carboxy-4-                methyl           4-iodo               H          H    2,6-dimethyl-4-      H
methoxy-                                                                          ,m1.inocarbonyl
phenylmethyl
3-Carboxy-4-                methyl           2-bromo              H          H    2 ,6-dimethyl-4-     H
methoxy-                                     phenyl                               arninocarbonyl
phenylmethyl
3-Carboxy-4-                methyl           4-bromo              H          H    2,6-dimethyl-4-      H
methoxy-                                                                          aminocarbonyl
phenylmethyl
3-Carboxy-4-                methyl           phenyl               H          H    2 ,6-dimethyl        H
metl1oxy-
phenylmethyl
3-Carboxy-4-                methyl           4-chloro             metl1yl    H    4-hydroxy            H
methoxy-
phenylmetbyl
3-Aminocarbonyl-            methyl           phenyl               H          H    2 ,6-dimethyl-4-     H
4-methoxy                                                                         amino carbonyl
phenylmethyl
3-(Morpholin-4-             metl1yl          phenyl               H          H    2 .6-dimethyl-4-     H
ylcarbonyl)-4-                                                                    amino carbonyl
methoxy
phenylmethyl
-3-Aminocarbonyl-           methyl           phenyl               H          H    4-hydroxy            H




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                                                                                                                                   VI B-PAT00000073
                                                                  PTX-007, page 73 of 79

                                                                             Appx14479
         Case: 24-1061                                   Document: 17                                Page: 258            Filed: 12/28/2023
7




                                                                           us 7,741,356 82
                                            137                                                                           138
                                                         -continued
                                                                                                           Formula (lb)
                                                         Rl


                                                R',),,(XR''
                                                                    N           RJ-2
                                  '¾                     L          Rs
                                                                       I
                           11-#
                           R41

                             wherein Lis Oand R1, R2 , R3 - 1, R3 -2 , R5 , Ra,
                             Rb, and R41 are dependently selected from the
                                          group consisting of:
    Rl                       R2             R3-i               R-'-2   R'              R41                 Ra/Rb

    4-methoxv-
    phenylmethyl
    3-(Morpholin--4-             methyl         phenyl           H          H          4-hydroxy           H
    ylcarbonyl)-4-
    methoxy-
    phenylmethyl
    3-(2-Hyclro"y                metl1yl        phenyl           H          H          2 ,6-dimethyl-4-    I-l
    eth-1-yl-                                                                          aminocarbonyl
    aminocarbonyl)-
    4-methoxy
    phenylmethyl
    3-(Cyclopropyl               met11yl        phenyl           H          H          2 ,6-dimethyl-4-    I-l
    aminocarbonyl)-                                                                    aminocarbonyl
    4-methoxy-
    phenylmethyl
    3-(Phenylamino               methyl         phenyl           H          H          2 ,6-dimethyl-4-    I-l
    carbonyl)-4-                                                                       amino carbonyl
    methoxy-
    phenylmethyl
    5-Methoxycarbonyl-           methyl         phenyl           I-l        H          4-arninocarbonyl    H
    furan-2-ylmethyl
    5-Carboxy-furan-             methyl         phenyl           H          I-l        4-aminocarbonyl     I-l
    2-ylmethyl
    3-(Phenylamino               methyl         phenyl           H          I-l        2,6-dimethyl-4-     I-l
    carbonyl)-4-                                                                       hydroxy
    methoxy-
    phenylmethyl
    3-(3-carboxyphenyl           methyl         phenyl           H          I-I        2,6-dimerhyl-4-     H
    run inocarbony I)-                                                                 hydroxy
    4-me1hoxy-
    phenylmethyl
    3-(ll-I-Tetrazol-5-          methyl         phenyl           H          H          2,6-dimethyl--4-    H
    yl)-4-methoxy-                                                                     hydroxy
    phenylmethyl
    3-(4-Carboxyphenyl           methyl         phenyl           H          H          2.6--dimethyl--4-   H
    aminocarbonyl )-                                                                   hydroxy
    4-methoxy-
    phenylmethyl
    3-(2-t-Butyl-                methyl         phenyl           H          H          2,6-dimethyl-4-     H
    tetrazol-5-yli-4-                                                                  aminocarbonyl
    methoxy-
    phenylmethyl
    3-Methoxycarbonyl-           methyl         phenyl           H          H          2,6-dimethyl-4      Methoxy-
    4-methoxy-                                                                         amino carbonyl      carbonyl
    phenylmethyl
    2-Methoxycarbony I-          methyl         phenyl           H          H          2 ,6-dimethyl-4-    H
    pyridin-4-yl                                                                       amino carbonyl
    methyl
    4-Methoxycarbonyl            methyl         phenyl           H          H          2,6-dimethyl-4-     H
    pyridin-2-yl                                                                       aminocarbonyl
    methyl
    6-Methoxycarbonyl-           methyl         phenyl           H          H          2,6-dimethyl--4-    H
    pyridin-2-                                                                         aminocarbonyl
    ylmethyl
    3-M ethoxycarbony I-         methyl         phenyl           H          H          2,6-dirnethyl--4-   Methoxy-
    4-methoxy-                                                                         aminocarbonyl       carbonyl
    phenylmethyl
    2-Carboxy-                   methyl         phenyl           H          H          2,6-dimethyl--4-    H
    pyridin-4-                                                                         aminocarbonyl
    ylmethyl
                                                              and




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                                                                                                                                       VI B-PATOOOOOO? 4
                                                                PTX-007, page 74 of 79

                                                                           Appx14480
      Case: 24-1061                                    Document: 17                                Page: 259             Filed: 12/28/2023




                                                                              US 7,741,356 B2
                                       139                                                                               140

                                                       -continued
                                                                                                          Formula (lb)




                          wherein Lis O and R 1 , R2 , R 3 -1, R 3 -2 , R 5 , Ra,
                          R", and R41 are dependently selected from the
                                       group consisting of:
                          R2             R 3· 1                R 3·'          R5

6-Carboxy-                 methyl             phenyl             H             H    2 .6-dimethyl-4-      H.
pyridin-2-                                                                          aminocarbonyl
ylmethyl




     37. A compound ofFommla (Ic)




                                                                                           Fonnula (le)




              occ
                                                  R2
                                              )                        RJ-l
                                    R1,N          ···,,,,,<"X
                                                         N             R''
                                                  L      ~5




             R4l              R           R


         wherein L isOand R 1 1 R2 , R 3 - 1, R.3 - 2 , R5, R0 ,Rb, and R41 are dependcent1y
                         selected from the 0 rou12 consisting of:

R'                   R2             R''                 R3-2     Rs     R41                  Ra/Rb

3,4-Dimethoxy-       benzyloxy phenyl                   H        H      2,6-dimethyl-4-      H
phenylmethyl         methyl                                             hydroxy
Isopropyl            hydroxy   phenyl                   H        H      2,6-dimethyl-4-      H
                     methyl                                             hydroxy
Isopropyl            methyl    4-                                       2,6-dimethyl-4-      H
                                    fluorophenyl                        hydroxy
2-Phenylethyl        methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        aminocarbonyl
Benzyl               methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        arninocarbonyl
Cyclohexyl           methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        arninocarbonyl
Methyl               methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        a1ninocarbonyl
Methyl               methyl         phenyl              I-l      H      2,6-dimethyl-4-      H
                                                                        (morpholin-4-
                                                                        carbonyl)
Methyl               methyl         phenyl              H        I-I    2,6-dimethyl-4-      H
                                                                        ethyfamino
                                                                        carbonyl
Methyl               methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        methylamino
                                                                        carbonyl
Methyl               methyl         phenyl              H        H      4-aminocarbonyl      H
Methyl               methyl         phenyl              H        H      2,6-dimethyl-4-      H
                                                                        hydroxy
H                    methyl         phenyl              H        H      2,6-dimethy 1-4-     H
                                                                        hydroxy
Methyl               methyl         phenyl              H        H      4-hydroxy            H
H                    methyl         phenyl              H        H      4-hydroxy            H
Ethyl                methyl         phenyl              H        H      4-hydroxy            H
Ethyl                methyl         phenyl              H        H      2,6-dimethyl-4-      H




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                                                                                                                                      VIB-PAT00000075
                                                                PTX-007, page 75 of 79

                                                                              Appx14481
     Case: 24-1061                                           Document: 17                             Page: 260   Filed: 12/28/2023




                                                                                  US 7,741,356 B2
                                             141                                                                  142
                                              -continued

                                                                                              Forrnula (le)




               ax
                                                   R2

                                    Rl,N
                                              )
                                                   -.,,,,,,(~X   .        R.<-1




                                                   L          f
                                                              Rs          R''
               R4l             Ra
                                         '   Rb



         wherein L is O and R1, R2 , R3 - 1• R3 - 2 , R5 , Ra, Rb, and R41 are dependcently
                               selected from the group consisting of:


Rl                   R2             R3-L                     R3-2    Rs    R4l                  R"!Rb


                                                                           hydroxy
Benzyl               methyl         phenyl                   H       H     2,6-dimethyl-4-      H
                                                                           hydroxy
Benzyl               methyl         phenyl                   H       H     4-hydroxy            H
Isopropyl            methyl         phenyl                   H       H     4-hydroxy            H
Isopropyl            methyl         phenyl                   H       H     2.6-dimethyl-4-      H
                                                                           hydroxy
3-Carboxy-           methyl         4-                       !\1e    H     2,6-dimethyl-4-      H
phenyl                              chlorophenyl                           aminoca.rbonyl
methyl
3-Carboxy-           methyl         4-                       !\1e    H     4-aminocarbonyl      H
phenyl                              chlorophenyl
3-Ca.rboxy-4-        methyl         4-                       Me      H     2,6-dimelhyl-4-      I-I
methoxy-                            chlorophenyl                           ;uninocarbonyi
phenylmethyl
3-                   methyl         phenyl                   H       H     2,6-dimethyl-4-      H
Methoxycarbon-                                                             aminoca.rbonyl
yl-4-melhoxy-
phenylmethyi
3-                   methyl         phenyl                   H       H     4-aminocarbonyl      H
Me1.hoxycarbon-
yl-4-methoxy-
phenylmethyl
3-Carboxy-4-         methyl         phenyl                   H       H     2,6-dimethyl-4-      H
methoxy-                                                                   aminocarbonyl
phenyimethyl
3-Carboxy-4-         methyl         phenyl                   H       H     4-aminocarbonyl      H
methoxy-
phenylmethyl
3-Carboxy-4-         methyl         4-                       Me      H     4-hydroxy            H
methoxy-                            chlorophenyl
phenylmethyl
6-Methoxy-           methyl         phenyl                   H       H     2.6-dimethyl-4-      H
carbonyl-                                                                  aminocarbonyl
pyridin-2-yi
methyl
                                                       and
3-Carboxy-4-         rrwthyl        4-                       H       H     4-arninocarbonyl     H.
methoxy-                            chlorophenyl
phenylmethyl




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                                                                                                                               VI B-PAT00000076
                                                                     PTX-007, page 76 of 79

                                                                                  Appx14482
      Case: 24-1061                                 Document: 17                              Page: 261     Filed: 12/28/2023




                                                                        US 7,741,356 B2
                                        143                                                                 144
     38. A compound of Fommla (Id)
                                                                                                          -continued


                                                                        Forrnula (Id)   5




                                                                                        [(J




        wherein Lis O and R1, I<.2, R3 -t, R3 1 , R5 , R", R\ and R41 are               15
             dependently selected from the g.roup consisting of:

                                 R3-l
                                                                                                   0
3-Carboxy-4-  methyl             phenyl     H       H       4-arnino-     II.
methoxyphenyl                                               carbonyl
                                                                                        20
methyl


     39. A compound of Formula (Ie)

                                                                                        25

                                                                        Formula (le)




                                                                                        30




                                                                                        35


        wherein Lis O and R\ R2 , R3 - 1, R3 · 2 , R5 • Ra, Rb, and R41 a.re
             dependently selected from the orow, consisting of:


                                                                                        40
3-                      methyl     phenyl       H       H   4-amino-      H
Mcthoxycarbon-                                              carbonyl
yl-4-methoxy-
phenylmethyl
                                       and
3-C arboxy-4-           methyl     phenyl H             H   4-arnino-     H.            45
methoxy-                                                    carbonyl
phenylmethyl


     40. A compound selected from the group consisting of                                      0
                                                                                        50




                                                                                        55




                                                                                        60




                                                                                        65      0
          0




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                                                                                                                         VI B-PAT00000077
                                                             PTX-007, page 77 of 79

                                                                         Appx14483
Case: 24-1061                Document: 17                 Page: 262                Filed: 12/28/2023




                                       US 7,741,356 B2
                145                                                                146

                                                                               -continu~e:::d:...__ _ _ _ __



       Me01::

      Me
                ,,,,,r;
                    N'       ~HN
                                                 10                H o ~'¾
                                                                         o     I
                                                                                   #~Me
                                                                                                         p1·
                                                                                                         N       ~
                         0
                                                                    Me                  N               f
                                                                                                        HN
                                                                                                             I
           Me                                    15
                                                                                                0

  0

                OMe
       Me01'°¾
                #        Me
                                   pi ~
                                                 20          o                     . . o- the compound
                                                                      . . n compnsme           .        of claim 1
                                                       41. A compos1'.1oall acceptable c~mer. . rochloride salt
                                                    and a phannaceutlc d ~f claim 1 that is t?e !11il-phenyl)-pro-

      Mc
                    N~~ I     HN
                                                       42. TI1e co1~p~~~( 4-carbamoyl-2,6-~)~~thyl]-amino }-me-
                                                 ,; of 5-({I 2-Ammo~, 1-11!-imi<la,o[-2-y ltlori<lo.             .
                                                    pionyl H 1-(4-ph b~nzoic acid d1hydroc        the compound is
                         0                          thyl)-2-methoxy- ·tion of claim 41 ':her;%-carbamoyl-2.6-
                                                        h The compos1 lt of 5-({[2-Arnmo- -I 1H-imidazol-2-
                                                       43.
                                                           d chlonde sa          I] [l (4-pheny -       'd
                                                 30 the  Y ro 11e~1yl)-propiony
                                                    dimethyl-p                     - - hoxy-benzoic ac1 ·
                                                                      }-methyl)-2-met
                                                    vl)-ethyl]-ammo
  0
                                                      •                    *        *       *       *




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                                                                                                                 VI B-PAT00000078
                                   PTX-007, page 78 of 79

                                       Appx14484
            Case: 24-1061                     Document: 17                 Page: 263                 Filed: 12/28/2023




                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                 : 7,741,356 B2                                                                                           Page 1 of 1
APPLICATION NO.            : 11/079647
DATED                      : June 22, 2010
INVENTOR(S)                : Breslin et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page:

         The first or sole Notice should read --

         Subject to any disclaimer, the term of this patent is extended or adjusted under 35 U.S.C. 154(b)
         by 1107 days.




                                                                                    Signed and Sealed this
                                                                              Twenty-third Day of September, 2014



                                                                                                      Michelle K. Lee
                                                                              Deputy Director of the United States Patent and Ji-ademark Office




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                                                                                                                                VI B-PAT00000079
                                                  PTX-007, page 79 of 79

                                                          Appx14485
          Case: 24-1061    Document: 17     Page: 264   Filed: 12/28/2023




                          CERTIFICATE OF SERVICE
      I, Eric Dittmann, hereby certify that, on December 28, 2023, the

foregoing document was filed using the Court’s CM/ECF system and a copy

served on the parties’ counsel of record via ECF.



Date: December 28, 2023                      /s/ Eric W. Dittmann
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